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                                                                   1   Jeremy V. Richards (CA Bar No. 102300)
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                                                                   6   Attorneys for David K. Gottlieb, Chapter 7 Trustee of the Estates
                                                                       of Solyman Yashouafar and Massoud Aaron Yashouafar
                                                                   7

                                                                   8                                  UNITED STATES BANKRUPTCY COURT
                                                                                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                   9
                                                                                                        SAN FERNANDO VALLEY DIVISION
                                                                  10

                                                                  11   In re:                                                     Case No.: 1:16-bk-12255-GM
                                                                                                                                  Chapter 7
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   SOLYMAN YASHOUAFAR and MASSOUD
                                                                       AARON YASHOUAFAR,1                                         Jointly Administered
                                        LOS ANGELES, CALIFORNIA




                                                                  13
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                                                                                                          Debtors.                Case No.: 1:16-bk-12255-GM
                                                                  14                                                              Chapter 7
                                                                       In re:
                                                                  15                                                              Case No.: 1:16-bk-12408-GM
                                                                       SOLYMAN YASHOUAFAR,                                        Chapter 7
                                                                  16
                                                                                                          Debtor.                 SECOND AND FINAL APPLICATION OF
                                                                  17                                                              PACHULSKI STANG ZIEHL & JONES LLP
                                                                       In re:                                                     FOR INTERIM ALLOWANCE AND
                                                                  18                                                              PAYMENT OF COMPENSATION AND
                                                                       MASSOUD AARON YASHOUAFAR,                                  REIMBURSEMENT OF EXPENSES AS
                                                                  19                                                              COUNSEL TO DAVID K. GOTTLIEB,
                                                                                                          Debtor.                 CHAPTER 7 TRUSTEE; DECLARATION
                                                                  20                                                              OF JEREMY V. RICHARDS
                                                                       Affects:
                                                                  21                                                              Second Application Period
                                                                        Both Debtors                                                  December 1, 2018 – October 31, 2020
                                                                  22    Solyman Yashouafar
                                                                        Massoud Aaron Yashouafar                                 Employment Period
                                                                  23                                                                   September 16, 2016 – October 31, 2020
                                                                                                          Debtors.
                                                                  24                                                              Date: December 22, 2020
                                                                                                                                  Time: 10:00 a.m.
                                                                  25                                                              Place: Courtroom 303
                                                                                                                                         U.S. Bankruptcy Court
                                                                  26                                                                     21041 Burbank Blvd.
                                                                                                                                         Woodland Hills, CA 91367
                                                                  27
                                                                       1
                                                                        The Debtors, together with the last four digits of each Debtor’s social security number are: Solyman Yashouafar
                                                                  28   (5875) and Massoud Aron Yashouafar (6590).
                                                                                                                                 1
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                                                                   1            TO THE HONORABLE GERALDINE MUND, UNITED STATES BANKRUPTCY

                                                                   2   JUDGE, THE CHAPTER 7 TRUSTEE, THE DEBTORS AND THEIR COUNSEL, THE

                                                                   3   OFFICIAL COMMITTEE OF UNSECURED CREDITORS, THE OFFICE OF THE

                                                                   4   UNITED STATES TRUSTEE, AND ALL PARTIES REQUESTING SPECIAL NOTICE:

                                                                   5            Pachulski Stang Ziehl & Jones LLP (the “Firm” or “PSZJ”), counsel to David K. Gottlieb,

                                                                   6   the chapter 7 trustee and former chapter 11 trustee (the “Chapter 7 Trustee” or “Gottlieb”) for the

                                                                   7   Estates (individually, an “Estate” and, collectively, the “Estates”) of Massoud Aaron Yashouafar

                                                                   8   (“Massoud”) and Solyman Yashouafar (“Solyman,” and together with Massoud, the “Debtors”),

                                                                   9   hereby submits this Second and Final Application of Pachulski Stang Ziehl & Jones LLP for

                                                                  10   Allowance and Payment of Compensation and Reimbursement of Expenses as Counsel to David K.

                                                                  11   Gottlieb, Chapter 7 Trustee (the “Final Application”), for the period of September 16, 2016 through
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                                                                  12   October 31, 2020 (the “Employment Period”) pursuant to sections 330 of the Bankruptcy Code.2
                                        LOS ANGELES, CALIFORNIA




                                                                  13            For the Employment Period, the Firm seeks final allowance of compensation in the amount
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                                                                  14   of $1,404,583.50 and reimbursement of expenses in the amount of $74,768.49 for a total award of

                                                                  15   $1,479,351.99, in connection with the Firm’s first interim fee application (the “First Interim

                                                                  16   Application”)3, and additional final allowance of compensation for the Second Application Period in

                                                                  17   the amount of $428,484.50 and reimbursement of expenses in the amount of $18,207.08 for a total

                                                                  18   award of $446,691.58, in connection with its Final Application as explained below.

                                                                  19            The Firm’s attorneys and paralegals billed 2,279.90 hours to this matter during the

                                                                  20   Employment Period. Of the total amount sought herein, $428,484.50 is for fees incurred and

                                                                  21   $18,207.08 is for expenses advanced during the period December 1, 2018 through October 31, 2020

                                                                  22   (the “Second Fee Period” or “Second Application Period”). These amounts have not been the

                                                                  23   subject of prior interim applications.

                                                                  24            Additionally, the Firm is seeking an award of estimated fees and expenses in the amount of

                                                                  25   $20,000.00 for the period November 1, 2020, through December 22, 2020, which relates to

                                                                  26
                                                                       2
                                                                         All references to sections of the “Bankruptcy Code” are to sections of 11 U.S.C. §§ 101-1532, as amended. All
                                                                  27   references to “Bankruptcy Rules” are to the Federal Rules of Bankruptcy Procedure.
                                                                       3
                                                                        In connection with its First Interim Application, the Firm was awarded, on an interim basis, fees in the amount of
                                                                  28   $1,404,583.50 and expenses in the amount of $74,768.49 [Docket No. 677].
                                                                                                                                   1
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                                                                   1   (1) preparation of the Firm’s Final Application; and (2) appearing at the hearing on the Final

                                                                   2   Application. These amounts have not been the subject of prior interim applications. 4

                                                                   3

                                                                   4                                                APPLICATION SUMMARY

                                                                   5   A.         Summary of Employment Period Data (September 16, 2016 – October 31, 2020):

                                                                   6       1.    Total Fees Subject to Final Approval                                                              $1,833,068.00
                                                                   7       2.    Total Expenses Subject to Final Approval                                                             $92,975.57
                                                                           3.    Total Request                           (TOTAL: Lines 1 and 2)                                    $1,926,043.57
                                                                   8
                                                                           4.    Total Fees Paid per First Interim Application                                                      $684,157.77
                                                                   9       5.    Total Expenses Paid per First Interim Application                                                    $92,902.47
                                                                  10       6.    Total Previously Paid                (TOTAL: Lines 4 and 5)                                       ($777,060.24)
                                                                           7.    Total Due                                                                                         $1,148,983.33
                                                                  11
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                                                                           8.    Total Hours Billed                                                                                     2,279.90
                                                                  12       9.    Blended Hourly Rate Including Paralegals                                                                $843.10
                                        LOS ANGELES, CALIFORNIA




                                                                  13       10.   Blended Hourly Rate Excluding Paralegals                                                                $903.17
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                                                                  14

                                                                  15   B.         Summary of Second Application Period Data (December 1, 2018 – October 31, 2020)

                                                                  16              (these amounts are included in the totals for Section A above):

                                                                  17       1.      Fees                                                                                              $428,484.50
                                                                           2.      Expenses                                                                                           $18,207.08
                                                                  18
                                                                           3.      Total Request for Second Application Period                (TOTAL: Lines 1 and 2)                 $446,691.58
                                                                  19       4.      Total Hours Billed                                                                                     471.00
                                                                  20       5.      Blended Hourly Rate Including Paralegals                                                              $909.73
                                                                           6.      Blended Hourly Rate Excluding Paralegals                                                              $988.92
                                                                  21
                                                                       C.         Chapter 7 and 11 Fees and Expenses and Hours Billed
                                                                  22

                                                                  23              Of the total amount of fees listed in Section A above, (a) $1,714,869.00 in fees were incurred
                                                                  24   for the period September 16, 2016 through October 24, 2019 (the “Chapter 11 Period”), and
                                                                  25   $118,199.00 in fees were incurred during the period October 25, 2019 through October 31, 2020 (the
                                                                  26   “Chapter 7 Period”); (b) $84,448.87 in expenses were incurred during the Chapter 11 Period, and
                                                                  27
                                                                       4
                                                                           PSZJ will file a supplement to this Application on or before hearing date to support this additional fee request.
                                                                  28

                                                                                                                                      2
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                                                                   1   $8,526.70 in expenses were incurred during the Chapter 7 Period. 2,145.80 hours were billed by

                                                                   2   members of the Firm during the Chapter 11 Period, and 134.10 hours were billed by members of the

                                                                   3   Firm during the Chapter 7 Period.

                                                                   4   D.      Estimation of Fees and Expenses For the Period November 1, 2020 – December 22, 2020

                                                                   5   7.        Estimated Fees and Expenses                                                      $20,000.00
                                                                   6   E.      Employment of the Firm
                                                                   7
                                                                               The Firm was employed as counsel to Gottlieb, Chapter 11 Trustee, by order entered
                                                                   8
                                                                       November 15, 2016 with employment as counsel effective as of September 16, 2016 [Docket
                                                                   9
                                                                       No. 244]. The Firm continued to serve as the Trustee’s counsel following conversion of this case to
                                                                  10
                                                                       Chapter 7 proceedings on or about October 25, 2019. The Firm did not file a new employment
                                                                  11
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                                                                       application.
                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13
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                                                                                                         INTRODUCTORY STATEMENT
                                                                  14
                                                                               Local Bankruptcy Rule 2016-1 (1)(a) sets forth certain requirements that a professional must
                                                                  15
                                                                       satisfy in order to obtain an award for fees and costs. Additional standards to be employed in the
                                                                  16
                                                                       review of fee applications are set forth in the United States Trustee’s Guidelines for Reviewing
                                                                  17
                                                                       Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 (the
                                                                  18
                                                                       “Compensation Guidelines”). Finally, cases interpreting sections 330 and 331 of the Bankruptcy
                                                                  19
                                                                       Code have required that courts consider the twelve (12) factors that the Ninth Circuit Court of
                                                                  20
                                                                       Appeals articulated in Kerr v. Screen Extras Guild, 526 F, cert. denied, 425 U.S. 951, 96 S.Ct. 726
                                                                  21
                                                                       (1976). The Ninth Circuit’s primary method used to determine the reasonableness of fees is to
                                                                  22
                                                                       calculate the “lodestar.” In re Charles Russell Buckridge, Jr., 367 B.R. 191, 201 (C.D. Cal. 2007).
                                                                  23
                                                                       The lodestar is ascertained by multiplying the number of hours reasonably expended by a reasonable
                                                                  24
                                                                       hourly rate. Law Offices of David A. Boone v. Derham-Burk (In re Eliapo), 468 F.3d 592, 598
                                                                  25
                                                                       (9th Cir. 2006). As set forth more fully herein, this Application complies with all statutory guidelines
                                                                  26
                                                                       and Court-imposed requirements.
                                                                  27

                                                                  28

                                                                                                                          3
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                                                                   1           As of November 25, 2020, there was a total of $2,277,932.34 in funds held by the Massoud

                                                                   2   Estate, and $99.86 in funds held by the Solyman Estate.

                                                                   3

                                                                   4                         BRIEF NARRATIVE HISTORY AND POSTURE OF THE

                                                                   5                                CASE DURING THE EMPLOYMENT PERIOD

                                                                   6                                           [LBR 2016-1(a)(1)(A)]

                                                                   7           This Final Application describes fees incurred and expenses advanced during the Second Fee

                                                                   8   Period December 1, 2018 through October 31, 2020, and incorporates herein by reference PSZJ’s

                                                                   9   First Interim Application which described the fees and costs incurred during the First Interim Period.

                                                                  10   This is the Firm’s second and final application for fees and expenses in this case.

                                                                  11   A.      Summary of Assets and Abselet Settlement
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                                                                  12                    Major Assets
                                        LOS ANGELES, CALIFORNIA




                                                                  13           The Trustee began the administration of these cases well after the litigation related to the
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                                                                  14   major assets had begun. The major creditors, the Abselets, had commenced approximately seven

                                                                  15   law suits in three states, and taken numerous related actions to execute on liens and judgments. The

                                                                  16   Trustee and PSZJ spent initial work investigating the complex set of transfers and ensuing litigation,

                                                                  17   and then acted to preserve Estate assets, including intervening in existing litigation and commencing

                                                                  18   several new adversary proceedings in the Bankruptcy Court.

                                                                  19           The Debtors’ Estates had little unencumbered assets and were subject to tens of millions of

                                                                  20   dollars of claims. The Trustee has abandoned property burdensome to the Estates, recovered other

                                                                  21   property, and settled major disputes with the Abselets. As a result of the Trustee’s aggressive

                                                                  22   pursuit of Estate assets, which was led by PSZJ, he was able to ultimately settle with the Abselets.

                                                                  23   Without the work led by PSZJ, the Trustee would have had to succeed in litigation against the

                                                                  24   Abselets, succeed in pending litigation regarding the Debtor’s former residences and obtain a

                                                                  25   favorable determination in litigation pending in Oklahoma where at least four sets of parties asserted

                                                                  26   conflicting interests in the sales proceeds held by the Court in those proceedings. By virtue of the

                                                                  27   Trustee’s efforts and the efforts of PSZJ, he has eliminated risks as they relate to the Abselets’

                                                                  28   competing claims, reduced legal expenses, and increased the likelihood of favorable recoveries.

                                                                                                                          4
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                                                                   1           The following description of the major assets and summary of the Abselet settlement is

                                                                   2   derived from the motion for approval of the Abselet settlement agreement, and is set forth in more

                                                                   3   detail in that motion and the exhibits attached thereto.

                                                                   4           Encino Corporate Plaza. This matter was largely handled through a receivership appointed in

                                                                   5   the Abselets’ collection action pending in the California District Court. This action had been

                                                                   6   pending for some time before the Debtors’ bankruptcy cases were commenced; in fact, Howard

                                                                   7   Abselet had a judgment against the Yashoufars that he was already enforcing before the Trustee’s

                                                                   8   involvement and had taken action to levy on all of the major assets of the Debtors except the

                                                                   9   Rexford and Chalette Properties (that had been foreclosed on by a relative pre-bankruptcy). The

                                                                  10   Trustee determined that the Encino Corporate Plaza property had no realizable equity and was

                                                                  11   burdensome to the Estates, and therefore abandoned the property upon appropriate notice.
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                                                                  12           Roosevelt Lofts. The Trustee exerted efforts to collect on this asset, and the recovery was
                                        LOS ANGELES, CALIFORNIA




                                                                  13   divided up in the Abselet settlement.
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                                                                  14           Oklahoma litigation. The Firm performed significant work on this matter as the Trustee

                                                                  15   believed that the Abselets’ foreclosure on the ultimate ownership interests could be set aside because

                                                                  16   the stock appeared to be certificated and the Abselets had not taken possession of the stock

                                                                  17   certificates. The Trustee filed an adversary proceeding to set the foreclosure aside and Abselet

                                                                  18   removed that action to the California District Court. In a tentative ruling, Judge Walters of the

                                                                  19   California District Court made it quite clear that he was not going to set aside the foreclosure. In

                                                                  20   light of Judge Walter’s ruling, the parties, including the Trustee, went to mediation and ultimately

                                                                  21   entered into the Abselet settlement agreement. The Abselet settlement agreement resolved most of

                                                                  22   the major litigation issues in this case, other than the Trustee’s action against Elkwood and others to

                                                                  23   set aside the foreclosure sales of the Debtors’ Residences. The Abselet settlement agreement was

                                                                  24   approved by the Court, and the terms of the agreement are summarized below, and in greater detail

                                                                  25   in the motion seeking approval of the settlement.

                                                                  26           Debtor’s Former Residences. A major matter in this case was the Trustee’s adversary

                                                                  27   proceeding brought against Elkwood and Fieldbrook, and more specifically, against Elkwood to

                                                                  28   recover property on Rexford Avenue in Beverly Hills.

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                                                                   1           Other assets. Other assets included: Sky LV (funds turned over to Abselet as part of the

                                                                   2   settlement) and the JBCL Trust (the Trustee has recovered a small amount in that matter).

                                                                   3           Other major work in this case, described in more detail below, included extensive Section

                                                                   4   341(a) meetings of creditors; the Bankruptcy Rule 2004 examinations of Jack Nourafshan (as a

                                                                   5   prelude to the Elkwood adversary proceeding) and others, and work regarding motions to convert

                                                                   6   and the resolution of those motions.

                                                                   7                    The Claims of Howard and Israel Abselet

                                                                   8           Much of the work in this case related to the claims of the Abselets and their litigation against

                                                                   9   the Debtors’ assets, and the ultimate settlement of those issues. A more detailed description is set

                                                                  10   forth in the motion to approve that settlement filed with the Court, and summarized below.

                                                                  11           In 2008 and 2009, the Debtors borrowed money from Howard Abselet (“Howard Abselet”
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                                                                  12   or sometimes, “Abselet”) in the amount of $6,000,000 (“Howard Abselet’s Loan”). After the
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Debtors failed to repay Howard Abselet’s Loan, Howard Abselet commenced that action entitled
                                           ATTORNEYS AT LAW




                                                                  14   Howard L. Abselet v. Alliance Lending Group, Inc. et al., Case No. 2:11-cv-00815-JFW(JEMx) in

                                                                  15   the (“California District Court”) United States District Court for the Central District of California

                                                                  16   (“Howard Abselet’s Collection Action”). On or about August 10, 2012, Howard Abselet obtained

                                                                  17   a judgment (the “Judgment”) in Howard Abselet’s Collection Action against, among others, the

                                                                  18   Debtors.

                                                                  19           To enforce the Judgment, Howard Abselet obtained or pursued the following:

                                                                  20           ・ An abstract of judgment against Massoud’s residence at 910 North Rexford

                                                                  21           Drive, Beverly Hills, California 90210 (the “Rexford Property”) and

                                                                  22           Solyman’s then residence at 580 Chalette Drive, Beverly Hills, California

                                                                  23           90210 (the “Chalette Property,” and together with the Rexford Property, the

                                                                  24           “Residences”).

                                                                  25           ・ A charging lien against the Debtors’ interests in Encino Corporate Plaza, L.P.

                                                                  26           (“ECPLP”), which interests constitute 100% of the interests in ECPLP.

                                                                  27           ・ A charging lien issued by the United States District Court for the District of

                                                                  28           Nevada against the Debtors’ interest in various entities.

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                                                                   1            ・ On January 29, 2015, Howard Abselet levied on all of the Debtors’ stock (the “RLI

                                                                   2            Stock”) in Roosevelt Lofts, Inc. (“RLI”), all of the Debtors’ stock (the

                                                                   3            “ECPB Stock”) in ECP Building, Inc. (“ECP Building”), and all of the

                                                                   4            Debtors’ stock (the “APII Stock,” and collectively with the RLI Stock and the

                                                                   5            ECPB Stock, the “Stock”) in Alliance Property Investments, Inc. (“APII”);

                                                                   6            and on April 29, 2015, was the successful bidder at the execution sales of all

                                                                   7            of the Stock (the “Execution Sale”).

                                                                   8            ・ As set forth in the Settlement Agreement (“Settlement Agreement”), Howard Abselet also

                                                                   9   commenced other actions for the purpose of enforcing the Judgment.

                                                                  10            Howard Abselet asserted that the balance owed on the Judgment as of the Petition Date was

                                                                  11   approximately $10,646,470, and continued to accrue interest, associated fees, and costs.
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                                                                  12            In 2001, Sina Abselet (“Sina Abselet”), Howard Abselet’s father, lent the Debtors and their
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                                                                  13   companies, including S&R Equities (“S&R”) and Madison Equities (“Madison”) $2,000,000 (the
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                                                                  14   “$2M Loan”), which Israel Abselet (“Israel Abselet” and together with Howard Abselet, the

                                                                  15   “Abselets”), Howard Abselet’s brother, asserts was assigned to him by Sina Abselet. The $2M Loan

                                                                  16   was secured by deeds of trust against the Residences (as defined below). The principal balance of

                                                                  17   the $2M Loan was subsequently reduced by $250,000 but continued to accrue interest and default

                                                                  18   interest for a number of years. As of May 31, 2017, Israel Abselet asserted that the outstanding

                                                                  19   amount on the $2M Loan was approximately $3,892,531, and continued to accrue interest, fees, and

                                                                  20   costs.

                                                                  21                    The Oklahoma Action and Receivership and APII Stock

                                                                  22            Howard Abselet contended that he owns Alliance Property Investments, Inc. ("APII"). APII

                                                                  23   has a claim to approximately $19 million of proceeds (the “FNC Proceeds”) derived from a

                                                                  24   receiver's sale of the First National Center building in Oklahoma City, Oklahoma (the “First

                                                                  25   National Center”). The receiver's sale and disputes relating to ownership of the FNC Proceeds

                                                                  26   have been, and are being, overseen by the United States District Court, Western District of

                                                                  27   Oklahoma (the “Oklahoma District Court”). There were a number of material claims to the FNC

                                                                  28   Proceeds, including the following.

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                                                                   1           One or more entities purportedly controlled by the Neman family and related companies

                                                                   2   (collectively, the "Nemans") contended that they bought the First National Center, owned it outright

                                                                   3   at the time of the receiver's sale, and were entitled to all of the net proceeds. Howard Abselet, and

                                                                   4   the Barlava family and its companies (collectively, the "Barlavas"), contended that the Nemans

                                                                   5   were merely equitable mortgagees of the First National Center and, at most, were entitled to recover

                                                                   6   approximately $7 million of the FNC Proceeds.

                                                                   7           While it was undisputed that one or more of the Barlavas owned interests equivalent to 50%

                                                                   8   of the First National Center during or prior to the summer of 2012, Howard Abselet contended that

                                                                   9   the Barlavas sold their interests in the First National Center to the Debtors or their affiliates for

                                                                  10   $2 million before the Nemans made the equitable mortgage, and Howard Abselet was entitled to all

                                                                  11   of the FNC Proceeds through his ownership of APII. The Barlavas contended that they owned
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                                                                  12   interests equivalent to 50% of the First National Center at the time of receiver's sale, their ownership
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                                                                  13   was not subject to the lien of the Nemans' equitable mortgage, and they were entitled to half of the
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                                                                  14   FNC Proceeds and “equalizing distributions” due to alleged unequal "distributions" to the Debtors.

                                                                  15   Whether the Barlavas were paid a portion of their sale price ($1.35 million of $2M) for their interests

                                                                  16   in the First National Center also was at issue.

                                                                  17           APII’s interest in the FNC Proceeds was worth anywhere between $0 (i.e., if the Nemans

                                                                  18   owned the property outright on the date of the receiver's sale) and approximately $11 million (if

                                                                  19   APII was entitled to all of the FNC Proceeds, after paying off the Nemans' equitable mortgage).

                                                                  20           In January of 2015, pursuant to the Judgment, Howard Abselet purported to levy on the APII

                                                                  21   Stock and, at an ensuing execution sale, purported to purchase the stock for $20 (the “APII

                                                                  22   Execution Sale”). Subsequently, in Howard Abselet’s Collection Action, the Debtors challenged

                                                                  23   the APII Execution Sale, claiming, inter alia, that the APII Stock was certificated and that Howard

                                                                  24   Abselet had not properly levied on the APII Stock by causing the levying officer to take possession

                                                                  25   of the certificates representing the APII Stock. By order entered in January of 2016, the California

                                                                  26   District Court denied the Debtors’ motion to set aside the APII Execution Sale. The Trustee

                                                                  27   contended that the California District Court found that the Debtors were estopped from asserting that

                                                                  28   the APII Stock was certificated; Howard Abselet contended that no one, including the Trustee, could

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                                                                   1   contest Howard Abselet’s acquisition of the APII Stock at the APII Execution Sale. While the

                                                                   2   Debtors appealed the California District Court decision, the Trustee determined not to pursue the

                                                                   3   appeal.

                                                                   4             Instead, the Trustee commenced an adversary proceeding, Case No. 1:17-ap-01027 (the

                                                                   5   “APII/RLI Stock Action”) contending that the APII Stock was, at the relevant time, certificated,

                                                                   6   that the levy and execution sale of the stock were invalid for failure to take possession of the

                                                                   7   certificates and contending that, pursuant to the “strong arm powers” granted to the Trustee pursuant

                                                                   8   to Bankruptcy Code § 544(a), the Trustee was not estopped from arguing that the APII Stock was

                                                                   9   certificated. The Trustee contended that even if the certificates relied upon by the Debtors for the

                                                                  10   California District Court were in fact fabricated after the APII Execution Sale, there were in fact

                                                                  11   preexisting certificates representing the APII Stock issued in 2001.
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                                                                  12             Howard Abselet filed a motion with the California District Court seeking an order
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                                                                  13   withdrawing the reference of this adversary proceeding. The Trustee opposed the motion but, by
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                                                                  14   minute order entered June 1, 2017, the California District Court granted the motion. In doing so, the

                                                                  15   California District Court indicated that, in its opinion, it had already adjudicated the issues raised in

                                                                  16   the complaint, an indication that it might ultimately grant Howard Abselet’s motion to dismiss the

                                                                  17   complaint.

                                                                  18             Absent the Settlement, if Howard Abselet were to ultimately prevail on the issue of the

                                                                  19   validity of the APII Execution Sale in the adversary proceeding, FNC Proceeds he would receive

                                                                  20   (which, as discussed above, could be substantial) would not be credited against the Judgment. Under

                                                                  21   the Settlement, a portion of the FNC Proceeds would be paid to the Estates after the Minimum

                                                                  22   Threshold is satisfied, and all FNC Proceeds would be paid to the Estates after the Abselets' claims

                                                                  23   were satisfied.

                                                                  24                     Roosevelt Loft Funds

                                                                  25             As this Court is aware, a custodian was holding approximately $1.5 million of funds which,

                                                                  26   under the confirmed plan of reorganization of Roosevelt Lofts, LLC ("RLL"), would be payable to

                                                                  27   Roosevelt Lofts, Inc. ("RLI"), the sole member of RLL. It appeared from filings with the California

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                                                                   1   Secretary of State that Massoud and Solyman are the sole officers and directors of RLI. However,

                                                                   2   the ownership and control of RLI was disputed.

                                                                   3            Howard Abselet claimed to be the holder of at least approximately 46% of the RLI Stock by

                                                                   4   virtue of a purported levy on all the Debtors’ interests in RLI. It was undisputed that the Barlavas

                                                                   5   owned approximately 46% of the RLI Stock at one time. In proceedings pending before the

                                                                   6   California District Court, Howard Abselet asserted that the Barlavas sold their stock in RLI to the

                                                                   7   Debtors in 2012 and that his levy on the Debtors’ interests in RLI also extended to the 46% interest

                                                                   8   formerly owned by the Barlavas. The Trustee commenced an investigation into the Barlavas'

                                                                   9   ownership interests in RLI; documents reviewed by the Trustee indicated that the Barlavas likely

                                                                  10   sold their interests in RLI to the Debtors in August of 2012. Further, it appeared from the Trustee’s

                                                                  11   investigation that prior to that sale, the Barlavas may have received a disproportionately large share
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                                                                  12   of dividends made by RLI to its shareholders (and therefore may have owed funds to the other
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                                                                  13   shareholders as a result). The only others asserting ownership of stock in RLI were Hamid Joseph
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                                                                  14   Nourmand and/or his wife (collectively, “Nourmand”). At that time, the Trustee did not believe

                                                                  15   there were any reasons to challenge Nourmand’s interest in RLI, but Howard Abselet believed that

                                                                  16   Nourmand (the Abselets’ cousin) may have sold his interest in RLI to the Debtors, and was pursuing

                                                                  17   that claim. As more fully set forth below, the Trustee believed that Howard Abselet’s levy and the

                                                                  18   execution sale of the RLI Stock could have been set aside pursuant to Bankruptcy Code § 544(a)(1),

                                                                  19   (2) and applicable state law for the same reasons as the APII Stock.

                                                                  20                    APII Stock and RLI Stock Adversary Proceeding

                                                                  21            The Trustee’s initial efforts to resolve the disputed issues relating to the APII Stock and the

                                                                  22   RLI Stock with Howard Abselet were not successful. As referenced above, on March 24, 2017, the

                                                                  23   Trustee commenced the APII/RLI Stock Action to determine the Debtors’ Estates’ interest in the

                                                                  24   Stock.

                                                                  25            In response, Howard Abselet filed a motion with the California District Court to withdraw

                                                                  26   the reference of the APII/RLI Stock Action. The Trustee filed an objection and Howard Abselet

                                                                  27   filed a response. In short, Howard Abselet contended that the Trustee’s filing of the APII/RLI Stock

                                                                  28   Action was an attempt to circumvent the California District Court’s limited rulings that relate to the

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                                                                   1   Stock. The Trustee commenced the APII/RLI Stock Action because he believed that, as a chapter 11

                                                                   2   trustee of the Debtors’ Estates, he had independent claims to the Stock that were not subject to the

                                                                   3   California District Court’s rulings nor was the Trustee estopped by the Debtors’ prepetition conduct

                                                                   4   that caused the California District Court to issue its limited estoppel rulings regarding the Debtors

                                                                   5   and the Stock. In addition, Howard Abselet also filed with this Court a motion to dismiss the

                                                                   6   APII/RLI Stock Action.

                                                                   7                    Rexford/Chalette Action

                                                                   8           Prior to the Petition Date, Massoud and his spouse owned and he and his family resided at

                                                                   9   the Rexford Property, a Beverly Hills residence worth approximately $14 million. Also, Solyman

                                                                  10   and his spouse owned and he and his family resided at the Chalette Property, a Beverly Hills

                                                                  11   residence worth approximately $8 million to $9 million on the Petition Date. The Rexford Property
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                                                                  12   and Chalette Property were encumbered by certain deeds of trust that secured certain debts of the
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                                                                  13   Debtors.
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                                                                  14           Around January 2015, Massoud’s brother-in-law, Jack Nourafshan, through an entity he

                                                                  15   controls, purchased a promissory note that was secured by two separate deeds of trust against the

                                                                  16   Rexford Property and Chalette Property. Subsequently, Nourafshan, through other companies he

                                                                  17   controls acted to foreclose on the Rexford Property and Chalette Property. Nourafshan immediately

                                                                  18   rented the Rexford Property to Massoud under a two year lease at a rate of $25,000 per month.

                                                                  19   Nourafshan quickly sold the Chalette Property for a substantial profit (an approximate 90% return on

                                                                  20   an annualized basis in less than a couple of months). Massoud never paid any rent, the lease has

                                                                  21   since expired by its terms, yet Massoud and his family continued to enjoy the comforts of the

                                                                  22   Rexford Property.

                                                                  23           On April 25, 2017, the Trustee commenced an adversary proceedings against Elkwood

                                                                  24   Associates, LLC and Fieldbrook, Inc., 1:17-ap-01040 (the “Rexford/Chalette Action”), which was

                                                                  25   amended on May 11, 2017. By the Rexford/Chalette Action, the Trustee sought to (a) quiet title of

                                                                  26   the Rexford Property, (b) set aside the foreclosure sale of the Rexford Property, and (c) avoid the

                                                                  27   foreclosures of the Rexford Property and Chalette Property as actual and/or constructive fraudulent

                                                                  28   conveyances, in addition to other related relief.

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                                                                   1           As set forth in greater detail in the complaint, the Trustee alleged, among other things that

                                                                   2   (a) the foreclosure of the Rexford Property was void because the foreclosing party did not own the

                                                                   3   debt or security instruments relating to the Rexford Property, (b) irregularities in the foreclosure

                                                                   4   process requires setting aside the foreclosures, (c) the foreclosures were actually and constructively

                                                                   5   fraudulent due to the irregularities, lack of equivalent value, and (d) Massoud and Mr. Nourafshan

                                                                   6   (who controls the defendants) had a secret agreement and understanding as to how the Rexford

                                                                   7   Property and the Chalette Property, or their value, would be diverted from the Debtors’ creditors to

                                                                   8   the benefit of the Mr. Nourafshan’s family and/or Massoud, and to the detriment of those creditors,

                                                                   9   in addition to other reasons. The Trustee believed that part of this secret agreement and

                                                                  10   understanding would be that Massoud and his family would be permitted to live in the Rexford

                                                                  11   Property, rent free, for an indeterminate period of time but that the Chalette Property would be
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                                                                  12   delivered vacant so that Mr. Nourafshan and his family could make a quick, and sizeable profit and
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                                                                  13   return on their investment, which they did.
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                                                                  14                    Sky Las Vegas Sale Proceeds and JCBL Trust

                                                                  15           Prior to the entry of order of relief of the Debtors’ cases, Nevada Investment Properties, LP

                                                                  16   (“NIP”), the owner of certain real property known as “Sky Las Vegas,” located at 2700 Las Vegas

                                                                  17   Boulevard South, Las Vegas, Nevada (the “Las Vegas Property”), was in the process of selling the

                                                                  18   Las Vegas Property. During the pendency of these cases, the Las Vegas Property was in escrow to

                                                                  19   be sold by NIP to TAG Fund II, LLC, a Nevada limited liability company (“TAG”), or assignee, for

                                                                  20   a purchase price of $5.1 million.

                                                                  21           On or about January 11, 2000, Parinaz Yashouafar (“Parinaz”), Massoud’s spouse, settled a

                                                                  22   trust by way of a Declaration of Trust (the “JCBL Trust”). One of the Trust Assets was and is a

                                                                  23   20% ownership interest in Milbank Capital I (“Milbank Capital”), which in turn held a 50.5%

                                                                  24   interest in NIP. JCBL Trust’s share of the proceeds from the sale of the Las Vegas Property totaled

                                                                  25   approximately $479,500 (the “JCBL Proceeds”). Pursuant to that certain stipulation (the “JCBL

                                                                  26   Proceeds Stipulation”) [Docket. No. 200], entered into by and between, inter alia, the Trustee and

                                                                  27   the JCBL Trust and approved by order entered on November 15, 2016 [Docket. No. 243], the JCBL

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                                                                   1   Proceeds were held in an account at Pacific Western Bank, in the name of JCBL Trust, pending

                                                                   2   resolution of the Debtors’ Estates’ interest in such funds or further order of this Court.

                                                                   3           In addition, S&R and Madison (which were among the entities subject to Howard Abselet’s

                                                                   4   Nevada charging lien) each held: (1) a direct 4.35% limited partnership interest in NIP; and (2) a

                                                                   5   4.545% limited partnership interest in NIP through Milbank Capital I; for an aggregate holding of

                                                                   6   17.79%. S&R and Madison are owned by the Debtors. After the closing of the Las Vegas

                                                                   7   Property’s sale, the Trustee received approximately $645,000 on account of S&R’s and Madison’s

                                                                   8   interest in NIP (the “S&R and Madison Proceeds”).

                                                                   9                    The JCBL Trust Action

                                                                  10           The JCBL Trust was a fully revocable trust at the time it was created by Parinaz. On or

                                                                  11   about January 2, 2015, Parinaz amended the JCBL Trust (the “First JCBL Trust Amendment”).
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                                                                  12   By the execution of the First JCBL Trust Amendment, Parinaz caused the JCBL Trust to be
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                                                                  13   irrevocable.
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                                                                  14           On or about May 12, 2017, the Trustee commenced an adversary proceeding in this Court to

                                                                  15   determine the following: (a) setting aside the First JCBL Trust Amendment and the related transfer

                                                                  16   as an actual or constructive fraudulent transfer; (b) declaring that the right to revoke the JCBL Trust

                                                                  17   is property of Massoud’s Estate; (c) declaring that, upon exercise of the revocation of the JCBL

                                                                  18   Trust by the Trustee, the assets of the JCBL Trust (including, without limitation, the JCBL Proceeds)

                                                                  19   are, and will become property of Massoud’s Estate; and (d) and other related relief.

                                                                  20           9.       Overview of the Settlement Agreement

                                                                  21           The following is a brief summary of the terms and conditions of the Settlement Agreement,

                                                                  22   qualified in its entirety by the actual provisions of the Settlement Agreement itself (attached as an

                                                                  23   exhibit to the motion for approval of the agreement):

                                                                  24           The Trustee releases any and all claims that the Estates have, or may have, in and to the RLI

                                                                  25   Stock, the APII Stock, any and all rights and remedies relating to either of them, and the proceeds

                                                                  26   thereof (the “Abselet Shared Assets”). In exchange, the Estates will receive a portion of the net

                                                                  27   recoveries from the Abselet Shared Assets, as set forth below.

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                                                                   1           The Abselets will control the liquidation of the Abselet Shared Assets, subject to consultation

                                                                   2   with the Trustee. If the Abselets elect not to pursue the Abselet Shared Assets, the Trustee may

                                                                   3   liquidate them as assets of the Estates.

                                                                   4           The Trustee will control the prosecution and liquidation of assets of the Estates, which

                                                                   5   expressly include any and all claims and actions that arise out of the foreclosures on the Residences.

                                                                   6   The Abselets retain their independent rights to set aside the foreclosures of the Residences but any

                                                                   7   and all net recoveries are subject to the sharing provisions of the Settlement Agreement.

                                                                   8           As the Estates have no equity in S&R and Madison, the Estates’ equity interests in those

                                                                   9   assets are to be transferred to Israel Abselet on account of the $2M Loan. The Abselets will be

                                                                  10   charged with liquidating, winding up and dissolving Madison and S&R in accordance with

                                                                  11   applicable law.
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                                                                  12           It was anticipated that Israel Abselet, as a creditor or equity holder, would receive certain
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                                                                  13   monies from the liquidation of Madison and S&R by virtue of the $2M Loan. It was also anticipated
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                                                                  14   that Howard Abselet might receive some recoveries from the liquidation of ECPLP. Any and all net

                                                                  15   recoveries received from the foregoing sources are credited against the Minimum Threshold (i.e., the

                                                                  16   first $5 Million (irrespective of when received by Howard Abselet and Israel Abselet) and toward

                                                                  17   the payment of the Abselets’ claims in excess of $5 million. These recoveries do not, however, have

                                                                  18   to be shared with the Estates.

                                                                  19           Funds received from the liquidation of the Abselet Shared Assets (and any pursuit of claims

                                                                  20   by the Abselets relating to the foreclosure of the Residences), the Abselet Credited Assets, and the

                                                                  21   assets of the Estates (except the Estates’ share of net proceeds generated from the Abselet Shared

                                                                  22   Assets, which shall be retained by the Estates and not further shared with the Abselets), shall be

                                                                  23   shared and distributed by and between the Abselets and the Estates as follows: (a) first, pari passu,

                                                                  24   to reimburse the “Post-May 31 Fees” (i.e., the reasonable fees and costs incurred by the Abselets in

                                                                  25   collecting and liquidating the Abselet Shared Assets from and after May 31, 2017) and the Post-

                                                                  26   Order Fees (i.e., fees and expenses incurred by the Trustee (subject to ultimate allowance by the

                                                                  27   Bankruptcy Court) incurred in collecting and liquidating assets of the Estates (including, without

                                                                  28   limitation, any and all claims and actions arising out of the foreclosure of the Residences) from and

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                                                                   1   after May 31, 2017; (b) second, to the Abselets until they have received the Minimum Threshold

                                                                   2   (i.e., the first $5 million against their claims, which is $5 million of net proceeds received either

                                                                   3   from the Abselet Shared Assets (including any pursuit by the Abselets of claims relating to the

                                                                   4   foreclosure of the Residences), the Estates or the Abselet Credited Assets; (c) thereafter, until the

                                                                   5   Abselets’ claims are paid in full: (i) two-thirds to the Abselets; and (ii) one-third to the Trustee for

                                                                   6   the benefit of the Estates.

                                                                   7           Pursuant to the order (the “Approval Order”) approving the Settlement Agreement:

                                                                   8   (a) Howard Abselet’s claim will be allowed in the amount of approximately $11.8 million as of

                                                                   9   May 31, 2017, plus additional accruals and accretions, as more fully set forth therein and (b) Israel

                                                                  10   Abselet’s Claim is allowed in the approximate amount of $3.89 million as of May 31, 2017, plus

                                                                  11   additional accruals and accretions as more fully set forth therein.
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                                                                  12           Pursuant to paragraphs 4 and 5 of the Approval Order, the Trustee validates certain liens held
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                                                                  13   or asserted by the Abselets in and to various assets of the Estates and, pursuant to paragraph 6 of the
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                                                                  14   Approval Order, confirms Howard Abselet’s ownership of the ECP Building, the APII Stock and the

                                                                  15   RLI Stock (subject to all of Howard Abselet’s obligations under the Settlement Agreement).

                                                                  16           Subject to all of the terms and conditions of the Settlement Agreement, the parties thereto

                                                                  17   enter into mutual general releases. The Abselets’ recourse to the Estates and their assets is limited to

                                                                  18   those specific recoveries provided for under the Settlement Agreement.

                                                                  19   B.      Case Commencement
                                                                  20           On August 3, 2016, petitioning creditors Fereydoun Dayani, Yona Samih, and N&S

                                                                  21   Investment, LLC c/o Sina Navidbakhsh (the “Petitioning Creditors”) filed an involuntary petition for

                                                                  22   relief under chapter 11 of the Bankruptcy Code against debtor Solyman, bearing case number

                                                                  23   16-12555-GM. On September 9, 2016, the Petitioning Creditors and Solyman entered into a

                                                                  24   Stipulation for Entry of Order for Relief and Appointment of Chapter 11 Trustee [Dkt. No. 79],

                                                                  25   which stipulation was granted by Order entered on September 12, 2016 [Dkt. No. 82].

                                                                  26           On September 16, 2016, the United States Trustee (the “UST”) filed its Notice of

                                                                  27   Appointment of Chapter 11 Trustee appointing David K. Gottlieb as Chapter 11 Trustee in

                                                                  28   Solyman’s chapter 11 case [Dkt. No. 91]. On September 16, 2016, the UST filed an Application for

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                                                                   1   Order Approving Appointment of Trustee [Dkt. No. 93], which application was granted by Order

                                                                   2   entered on September 16, 2016 [Dkt. No. 94]. On September 19, 2016, the Court entered an Order

                                                                   3   for Relief and Order to File Schedules, Statements and Lists(s) [Dkt. No. 97].

                                                                   4           On August 3, 2016, the Petitioning Creditors filed an involuntary petition for relief under

                                                                   5   chapter 11 of title 11 of the Bankruptcy Code against Massoud, bearing case number 16-12408. On

                                                                   6   September 9, 2016, the Petitioning Creditors and Massoud entered into a Stipulation for Entry of

                                                                   7   Order for Relief under Chapter 11 and Appointment of Chapter 11 Trustee [Dkt. No. 92], which

                                                                   8   stipulation was granted by Order entered on September 20, 2016 [Dkt. No. 94].

                                                                   9           On September 16, 2016, the UST filed its Notice of Appointment of Chapter 11 Trustee,

                                                                  10   appointing David K. Gottlieb as Chapter 11 Trustee in Massoud’s chapter 11 case [Dkt. No. 104].

                                                                  11   On September 16, 2016, the UST filed an Application for Order Approving Appointment of Trustee
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                                                                  12   [Dkt. No. 106], which application was granted by Order entered on September 20, 2016 [Dkt.
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                                                                  13   No. 110].
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                                                                  14           On September 30, 2016, the Trustee filed the Motion for Order Directing Joint

                                                                  15   Administration of Related Cases Pursuant to Federal Rule of Bankruptcy Procedure 1015(b)

                                                                  16   [Docket No. 134]. By this motion, the Trustee sought authorization to jointly administer the

                                                                  17   chapter 11 cases of the Debtors for procedural purposes only. On October 18, 2016, the Court

                                                                  18   granted the motion by entry of orders [Docket No. 170] in the main case and [Docket No. 188] in

                                                                  19   Massoud’s case.

                                                                  20           On October 11, 2016, the Trustee filed his Application To Employ Pachulski Stang Ziehl &

                                                                  21   Jones LLP As General Bankruptcy Counsel Effective September 16, 2016 [Docket No. 159] (the

                                                                  22   “PSZJ Application”). By the PSZJ Application, the Trustee sought to retain Pachulski Stang Ziehl

                                                                  23   & Jones LLP as its general bankruptcy counsel. On November 15, 2016, the Court granted the PSZJ

                                                                  24   Application by entry of the Order Granting Debtors’ Application to Employ Pachulski Stang Ziehl

                                                                  25   and Jones LLP as General Bankruptcy Counsel [Docket No. 244].

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                                                                   1   C.      Summary of Significant Events During the Employment Period

                                                                   2                    Encino Corporate Plaza

                                                                   3           One of the Debtors’ interests was in an office building complex that was held by Encino

                                                                   4   Corporate Plaza, L.P., ECP Building, Inc., which held certain real property located at 16661 Ventura

                                                                   5   Blvd, Encino, CA commonly known as “Encino Corporate Plaza” (“ECP Property”). Prior to the

                                                                   6   petition date, a receiver had been appointed to oversee the sale of the ECP Property. The Trustee

                                                                   7   reviewed the Debtors’ direct and indirect interests in the ECP Property and determined that they

                                                                   8   were of little to no value or benefit to the Debtors’ Estates.

                                                                   9           The Trustee determined that (a) there was no equity in the ECP Property and (b) unless the

                                                                  10   ECP Property was abandoned to the Debtors prior to the closing of its pending sale, the Estates

                                                                  11   would incur a significant taxable gain, which would either consume a substantial portion, if not all of
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                                                                  12   the Estates’ net operating loss carryforwards (which would otherwise be available to shelter other
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                                                                  13   taxable gains of the Estates) or might even result in a net tax liability to the Estates. Accordingly,
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                                                                  14   the Trustee, in the exercise of his business judgment, determined that abandonment of the Estates’

                                                                  15   interests, if any, in ECPLP, ECP Building, and the ECP Property to the Debtors was appropriate

                                                                  16   under the circumstances.

                                                                  17           To that end, on October 26, 2016, the Trustee filed the Motion to Abandon All Direct and

                                                                  18   Indirect Interests in Encino Corporate Plaza, LP; ECP Building, Inc.; and The ECP Property

                                                                  19   Pursuant to 11 USC § 554 [Docket No. 191]. On November 21, 2016, the Court granted that motion

                                                                  20   [Docket No. 293].

                                                                  21                    Motion to Convert Cases to Chapter 7

                                                                  22           On October 26, 2016, the Trustee filed the Motion for Order Converting Cases to Chapter 7

                                                                  23   [Docket No. 192] (the “Conversion Motion”). The Trustee had concluded that it was not necessary

                                                                  24   to continue the administration of the Debtors’ Estates in chapter 11 and that the Debtors’ interests

                                                                  25   and the claims against their Estates could be addressed in the liquidation scenario under chapter 7.

                                                                  26           However, after the filing of the Conversion Motion, an official committee of unsecured

                                                                  27   creditors [Docket No. 207] (the “Committee”) was appointed by the UST. The Committee, like the

                                                                  28   Trustee has been engaged in reviewing the Debtors’ various interests and the claims against the

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                                                                   1   Estates, and also engaging in discussions with the Trustee’s professionals regarding the best way to

                                                                   2   maximize assets for the benefit of unsecured creditors and all parties in interests. The Trustee also

                                                                   3   began discussions with counsel to Howard Abselet about consensually resolving his claims against

                                                                   4   the Debtors’ Estates.

                                                                   5           After the expiration of the time to file objections or responses to the Conversion Motion, the

                                                                   6   Trustee and the Committee entered into a stipulation to continue the hearing on the Conversion

                                                                   7   Motion [Docket No. 299]. The Court subsequently approved the continuation of the Conversion

                                                                   8   Motion to November 29, 2016 [Docket No. 301], and again to April 4, 2017 [Docket No. 350]. The

                                                                   9   Trustee and the Committee submitted a stipulation requesting a further continuance of the

                                                                  10   Conversion Motion to a date in May 2017.

                                                                  11           On or about June 30, 2017 and July 10, 2017, the Debtors filed motions to convert their
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                                                                  12   chapter 11 cases to cases under chapter 7. See [Docket Nos. 472 and 478]. The Trustee did not
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                                                                  13   object but the Committee objected to the conversion motions. See [Docket No. 484]. At the hearing
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                                                                  14   on the conversion motions and thereafter, the Trustee, the Committee, and the Debtors agreed on the

                                                                  15   Trustee’s abandonment of the Debtors’ postpetition earnings in exchange for keeping these cases in

                                                                  16   chapter 11. See [Docket No. 497] (the “Abandonment Notice”). However, after the filing of the

                                                                  17   Abandonment Notice, Massoud amended his schedules of assets and liabilities to include a

                                                                  18   previously undisclosed whole life insurance policies of each of the Debtors. In response, the

                                                                  19   Committee sought an extension of the time to object to the Abandonment Notice so that it could

                                                                  20   determine whether the proposed abandonment should be reconsidered in light of the insurance

                                                                  21   policies.

                                                                  22                    Oklahoma Action and Receivership

                                                                  23           Contemporaneous with his appointment, the Trustee became aware of proceedings pending

                                                                  24   in the United States District Court for the Western District of Oklahoma (the “Oklahoma Action”)

                                                                  25   against the Debtors and various entities that they own directly or indirectly. In the Oklahoma

                                                                  26   Action, the Oklahoma District Court had appointed a receiver (the “FNC Receiver”) over the First

                                                                  27   National Center and the then pending efforts to sell the First National Center. The Trustee also

                                                                  28   became aware that there were a number of pending motions, and cross-motions for summary

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                                                                   1   judgment in the Oklahoma Action relating to the ultimate ownership of the First National Center, the

                                                                   2   resolution of which would impact the ultimate distribution of the net proceeds from the sale thereof.

                                                                   3            The Trustee advised the FNC Receiver that he had no objection to the sale of the First

                                                                   4   National Center, subject to no further disposition of net proceeds other than those that had been

                                                                   5   expressly approved by the Oklahoma District Court. The Trustee was informed and believed that

                                                                   6   there were approximately $19 million of net proceeds as to which there were numerous competing

                                                                   7   claims, including those asserted by the Neman Parties, the Barlava Parties and Howard Abselet, each

                                                                   8   of whom have claims against the Debtors’ Estates on account of various contracts or other business

                                                                   9   relationships with the Debtors. First Nation Center was sold by the FNC Receiver and the sale

                                                                  10   approved by the Oklahoma District Court. The net proceeds of the sale were held in escrow pending

                                                                  11   the resolution of the various claims and counter-claims pending in the Oklahoma Action.
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                                                                  12            At the outset of his appointment, the Trustee became aware that Howard Abselet had
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                                                                  13   purported to levy on the shares of APII Stock in or about January of 2015 and had purportedly
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                                                                  14   purchased the APII Stock for a nominal amount at a marshal’s sale held in April of 2015. The APII

                                                                  15   Stock was owned by the Debtors or their Estates. Roxanna Yashouafar Aboudi (“Roxanna”), a

                                                                  16   daughter of Solyman, subsequently brought a motion before the California District Court, (i.e., the

                                                                  17   court presiding over the ECP Property and receivership), where Abselet’s collection action is

                                                                  18   pending, seeking to set aside the levy on, and sale of the APII Stock. In that motion, Roxanna

                                                                  19   contended that she was in fact the owner of those shares (having received a transfer of them from the

                                                                  20   Debtors in March of 2014) and that furthermore the levy and foreclosure were invalid under

                                                                  21   applicable California law because the stock interests in APII were certificated and a valid levy could

                                                                  22   only be effected by taking possession of the stock certificates.5 In a decision rendered on

                                                                  23   January 14, 2016, Judge Walters of the California District Court denied Roxanna’s motion. The

                                                                  24   California District Court found that the transfer of shares from the Judgment Debtors to Roxanna

                                                                  25   “never occurred” and that both Roxanna and the Debtors are estopped from asserting that such a

                                                                  26   5
                                                                         See Cal. Com. Code § 8112(a). “The interest of a debtor in a certificated security may be reached by a creditor only by
                                                                  27   actual seizure of the security certificate by the officer making the attachment or levy, except as otherwise provided in
                                                                       subdivision (d). However, a certificated security for which the certificate has been surrendered to the issuer may be
                                                                       reached by a creditor by legal process upon the issuer.” Section 8112(d) addresses levy procedures when the stock
                                                                  28   certificates are held by a secured creditor and is inapplicable in this instance.
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                                                                   1   transfer took place. The Court further ruled that the Debtors “are estopped from arguing that the

                                                                   2   Alliance Property Investment Stock was certificated,” but made no factual determination as to

                                                                   3   whether or not the APII Stock was in fact certificated as of the date of Abselet’s levy and sale.

                                                                   4           After extensive efforts to obtain relevant documentation and to interview witnesses, the

                                                                   5   Trustee determined that the stock interests in APII were likely certificated as of the date of Abselet’s

                                                                   6   levy and sale and that, accordingly, the levy and sale of the APII Stock was invalid under applicable

                                                                   7   California law. Further, the Trustee believed that neither he nor the Debtors’ Estates he represents

                                                                   8   were bound by Judge Walters’ estoppel ruling by virtue of the so-called “strong-arm powers”

                                                                   9   invested in the Trustee pursuant to section 544 of the Bankruptcy Code. Specifically, pursuant to

                                                                  10   that provision, the Trustee is empowered with certain rights and remedies of hypothetical or actual

                                                                  11   creditors of the Debtors to set aside and invalidate improper or unperfected transfers, even if the
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                                                                  12   Debtors themselves would not have such powers.
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                                                                  13           Accordingly, absent a resolution with Abselet, the Trustee intended to file in due course an
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                                                                  14   adversary proceeding in the Debtors’ bankruptcy cases seeking to set aside and avoid Abselet’s levy

                                                                  15   on, and sale of the APII Stock which, if successful, would revest ownership of the APII Stock in the

                                                                  16   Debtors’ Estates. While the value of the APII Stock was uncertain (due in large part to the

                                                                  17   competing claims of the Neman Parties and the Barlava Parties to the net proceeds of sale of the

                                                                  18   First National Center), the stock, or the value thereof, it might have been a significant asset of the

                                                                  19   Debtors’ Estates. If the adversary proceeding were successful, Abselet would have had no direct

                                                                  20   interest in the net proceeds arising from the sale of the First National Center, and the Trustee would

                                                                  21   have replaced him as the real party in interest as the sole shareholder of APII, which in turn is the

                                                                  22   sole shareholder of FNB-1 (i.e., the entities that directly or indirectly own the property that was sold

                                                                  23   by the FNC Receiver in the Oklahoma Action).

                                                                  24           If, indeed, the Estates were determined to be the beneficial owners of the APII Stock, the

                                                                  25   Trustee would take control of FNB-1 and actively participate in the Oklahoma Action. It is quite

                                                                  26   possible that the Trustee, in the interests of the Debtors’ creditors, would have likely taken positions

                                                                  27   that were different to those that have heretofore been asserted by or on behalf of FNB-1. Further,

                                                                  28   assuming that the Debtors’ Estates had an interest in the outcome of the pending motions for

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                                                                   1   summary judgment by virtue of being the owners of the APII Stock, the Trustee would likely have

                                                                   2   taken a number of positions in these proceedings that were different from those previously taken by

                                                                   3   the Debtors. In particular, the Trustee is informed and believes that the Debtors had taken the

                                                                   4   position that beneficial ownership of the First National Center was transferred outright to the Neman

                                                                   5   Parties; in contrast, the Trustee would likely have advocated that the transfer of ownership in the

                                                                   6   First National Center constituted nothing more than an equitable mortgage. The Trustee would also

                                                                   7   likely have asserted that the Barlava Parties sold their interests in the First National Center to the

                                                                   8   Yashouafars as part of that transaction and, as a result, were owed no more than approximately

                                                                   9   $1.375 million of the Net Proceeds. (The Trustee was also concerned that certain parties in this

                                                                  10   litigation might have been asserting claims, such as fraudulent transfer claims, that are now the

                                                                  11   exclusive property of the Estates).
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                                                                  12           Since, absent settlement, the Trustee intended to commence an adversary proceeding and
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                                                                  13   contemplated bringing a motion for summary judgment to determine the key factual issue, namely
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                                                                  14   whether or not the APII Stock was certificated as of the date of Abselet’s levy and sale, the Trustee

                                                                  15   requested that the Oklahoma District Court consider deferring a ruling on the pending cross-motions

                                                                  16   for summary judgment until this Court had made determinations as to whether Abselet or the

                                                                  17   Debtors’ Estates owned the APII Stock.

                                                                  18                    Sky Las Vegas Sale Proceeds

                                                                  19           As previously mentioned, during the pendency of these cases, the Las Vegas Real Property

                                                                  20   was in escrow to be sold by NIP to TAG, for a purchase price of $5.1 million.

                                                                  21           As a result of the Debtors’ direct and indirect interest in the sale proceeds arising from the

                                                                  22   Real Property, the Trustee entered into a stipulation [Docket No. 200] with NIP, the Debtors, and

                                                                  23   JCBL regarding the disposition of the sale proceeds of the Real Property relating to the Debtors’

                                                                  24   Estates direct and indirect interest. The stipulation was approved by the court on November 15,

                                                                  25   2016 [Docket No. 243].

                                                                  26           As a result of the Stipulation, the Trustee held approximately $645,000 on account of S&R

                                                                  27   Equities’ and Madison Equities’ interest in NIP. In addition, JCBL also agreed that PWB would

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                                                                   1   continue to hold its share of the sale proceeds in the approximate amount of $322,512, pending

                                                                   2   resolution of the Debtors’ Estates’ interest in such funds or until further order of this Court.

                                                                   3                    The 2004 Motions and Discovery

                                                                   4           In an effort to obtain information about the Debtors’ assets and the various claims against the

                                                                   5   Estates, the Trustee filed motions pursuant to Bankruptcy Rule 2004 and also requested information

                                                                   6   from the Debtors’ current former counsel, all for the purpose of enabling the Trustee to make

                                                                   7   decisions about the best way to administer the Estates and preserve value for the benefit of all parties

                                                                   8   in interest.

                                                                   9           On November 2, 2016, the Trustee filed a motion pursuant to Bankruptcy Rule 2004 [Docket

                                                                  10   No. 208] (the “Original 2004 Motion”). By the Original 2004 Motion, the Trustee sought

                                                                  11   documents from certain entities and people and oral examinations of certain people relating to (a) the
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                                                                  12   purchase and sale of a loan held by Pacific Western Bank (“PWB”) that was secured by deeds of
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                                                                  13   trust against the Debtors’ Beverly Hills homes, (b) the purchase of the PWB’s loan by entities
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                                                                  14   controlled by Massoud’s brother-in-law, (c) the foreclosures of the Debtors’ homes by entities

                                                                  15   controlled by Massoud’s brother-in-law, and (d) the terms of Massoud’s lease of his former home

                                                                  16   from entities controlled by this brother-in-law.

                                                                  17           On November 16, the Court entered separate orders approving the Original 2004 Motion and

                                                                  18   directing the production of documents and the oral examination of parties with respect to seven

                                                                  19   different entities or people. See [Docket Nos. 251-258]. Since the entry of the foregoing orders, the

                                                                  20   Trustee, through counsel, has worked with the parties subject to the document production demands.

                                                                  21   In certain instances, the document production worked well and the Trustee received most, if not all,

                                                                  22   of the requested documents. However, certain of the other document productions had not been

                                                                  23   completed. The Trustee, through counsel, continued to work with parties’ counsel to resolve the

                                                                  24   production issues.

                                                                  25           After filing the Original 2004 Motion, the Trustee filed another motion on December 15,

                                                                  26   2016, pursuant to Bankruptcy Rule 2004, against Citivest Financial Services, Inc. [Docket No. 320]

                                                                  27   (the “Citivest 2004 Motion”). By the Citivest 2004 Motion, the Trustee sought the production of

                                                                  28   documents and examination of witnesses from the company that acted as the trustee under the deeds

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                                                                   1   of trust of the Debtors’ former Beverly Hills homes. On December 29, 2016, the Court entered an

                                                                   2   order approving the Citivest 2004 Motion [Docket No. 340].

                                                                   3           Despite the production issues, the Trustee scheduled his first oral examination relating to the

                                                                   4   Original 2004 Motion for the examination of Jack Nourafshan, Massoud’s brother-in-law and person

                                                                   5   in control of the entities that foreclosed against the Debtors’ homes and was lessor to Massoud. On

                                                                   6   April 13, 2017, the Trustee deposed Mr. Nourafshan, regarding the purchase of the loans against the

                                                                   7   Rexford Property and Chalette Property and their related foreclosure.

                                                                   8           On May 10, 2017, the Trustee filed a motion, pursuant to Bankruptcy Rule 2004, seeking the

                                                                   9   production of documents from Levene, Neale, Bender, Yoo &Brill L.L.P. (“Levene Neale”) and an

                                                                  10   oral examination of the person most knowledgeable regarding the subject matter of the document

                                                                  11   production. The examination sought documents relating to the alleged sale by the Barlava Family to
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                                                                  12   the Debtors of their interests in RLI and the possibility that distributions made by RLI to the Barlava
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                                                                  13   Family exceeded its entitlement as an approximately 46% shareholder.
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                                                                  14                    Further Events in the Pending Oklahoma Action and Receivership

                                                                  15           As mentioned, no less than four parties claimed ownership in some or all of the net proceeds

                                                                  16   from the sale of the First National Center, which proceeds totaled approximately $19 million:

                                                                  17   (a) judgment creditor Howard Abselet, by virtue of his purported levy on the Debtors’ stock interests

                                                                  18   in APII; (b) the Neman Family, by virtue of a purported sale of the equity interests in the First

                                                                  19   National Center to one or more entities controlled by the family; (c) the Barlava Family, which

                                                                  20   formerly owned a 50% interest in the First National Center (through an entity owned and controlled

                                                                  21   by them) and now claims that it was defrauded by the Debtors and Neman in connection with the

                                                                  22   sale of its interests; and (d) the Trustee, who claimed that Abselet’s levy on the stock of APII was

                                                                  23   invalid and may be set aside pursuant to Bankruptcy Code § 544(a)(1) and (2).

                                                                  24           Various motions and cross-motions for summary judgment remained pending before the

                                                                  25   Oklahoma District Court regarding the competing claims to ownership and the net sale proceeds.

                                                                  26   The Trustee also commenced the action before this Court seeking to set aside Abselet’s levy on the

                                                                  27   stock of APII. At the request of Howard Abselet, the Oklahoma District Court set a status

                                                                  28   conference in the Oklahoma Action for June 15, 2017. The Oklahoma District Court granted the

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                                                                   1   Trustee’s request that his counsel be permitted to appear at that hearing, pro hac vice, without

                                                                   2   assistance of local counsel. The Trustee had indicated to the Oklahoma District Court that he was

                                                                   3   appearing in order to assist the court in determining how to proceed with the Oklahoma Action and

                                                                   4   was not thereby submitting to the jurisdiction of the Oklahoma District Court.

                                                                   5                    Roosevelt Lofts Funds

                                                                   6           Debtor RLL was holding approximately $1.5 million of funds which, under its confirmed

                                                                   7   plan of reorganization, are payable to RLI, the sole member of RLL. However, a number of disputes

                                                                   8   arose as to the ownership and control of RLI. It appeared from filings with the California Secretary

                                                                   9   of State that Massoud and Solyman were the sole officers and directors of RLI.

                                                                  10           Howard Abselet claimed to be the holder of approximately 46% of the stock of RLI by virtue

                                                                  11   of a purported levy on the Debtors’ approximately 46% stock interests. As more fully set forth
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                                                                  12   below, the Trustee believed that the levy could be set aside pursuant to Bankruptcy Code
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                                                                  13   § 544(a)(1), (2) and applicable state law. The Barlava Family formerly owned approximately 46%
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                                                                  14   of the stock of RLI. In proceedings pending before the District Court, Abselet asserted that the

                                                                  15   Barlava Family sold its stock in RLI to the Debtors in 2012 and that his levy on the Debtors’

                                                                  16   interests in RLI also extended to the 46% interest formerly owned by the Barlava Family. The

                                                                  17   Trustee investigated the Barlava Family’s ownership interests in RLI; documents reviewed by the

                                                                  18   Trustee indicated that the Barlava Family likely sold its interests in RLI to the Debtors in August of

                                                                  19   2012. Further, it appeared from the Trustee’s investigation that prior to that sale, the Barlava Family

                                                                  20   may have received a disproportionately large share of dividends made by RLI to its shareholders

                                                                  21   (and therefore may owe funds to the other shareholders as a result). The final shareholder in RLI is

                                                                  22   Nourmand.

                                                                  23           This Court set a status conference in the Roosevelt Lofts matter for July 11, 2017 to

                                                                  24   determine, inter alia, the disposition of the funds still being held by Roosevelt Lofts’ counsel and

                                                                  25   payable to RLI under the Roosevelt Lofts plan of reorganization.

                                                                  26                    APII Stock and RLI Stock Adversary Proceeding

                                                                  27           The Trustee’s initial efforts to resolve the disputed issues relating to the APII Stock and the

                                                                  28   RLI Stock with Abselet were not successful. As a result, on March 24, 2017, the Trustee

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                                                                   1   commenced the APII/RLI Stock Action (adversary proceeding 1:17-ap-01027) to determine the

                                                                   2   Debtors’ Estates’ interest in the Stock.

                                                                   3           In response, Howard Abselet filed a motion with the United States District Court for the

                                                                   4   Central District of California to withdraw the California District Court’s reference of the APII/RLI

                                                                   5   Stock Action. The Trustee filed an objection and Howard Abselet filed a response. In short,

                                                                   6   Howard Abselet contended that the Trustee’s filing of the APII/RLI Stock Action was an attempt to

                                                                   7   circumvent the California District Court’s limited rulings that relate to the Stock. The Trustee

                                                                   8   commenced the APII/RLI Stock Action because he believed that, as a chapter 11 trustee of the

                                                                   9   Debtors’ Estates, he had independent claims to the Stock that are not subject to the California

                                                                  10   District Court’s rulings nor was the Trustee estopped by the Debtors’ prepetition conduct that caused

                                                                  11   the California District Court to issue its limited estoppel rulings regarding the Debtors and the Stock.
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                                                                  12   The California District Court scheduled a hearing on the motion to withdraw the reference for
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                                                                  13   May 22, 2017.
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                                                                  14           In addition to the above, Howard Abselet also filed with this Court a motion to dismiss the

                                                                  15   APII/RLI Stock Action. The Trustee prepared an objection to the motion to dismiss, which was

                                                                  16   scheduled for hearing on June 27, 2017.

                                                                  17           Notwithstanding the above, the Trustee continued to explore settlement opportunities with

                                                                  18   Howard Abselet regarding the APII /RLI Stock Action, the Oklahoma Action, and other related

                                                                  19   issues in these chapter 11 cases. To this end, a one-day mediation between the Trustee and Howard

                                                                  20   Abselet was held before Judge Mitchel Goldberg (Retired) on June 3, 2017.

                                                                  21                    Rexford/Chalette Action

                                                                  22           Prior to the Petition Date, Massoud and his spouse owned and he and his family resided at

                                                                  23   the Rexford Property, a single family residence located at 910 Rexford Drive, Beverly Hills, CA.

                                                                  24   Also, Solyman and his spouse owned and he and his family resided at the Chalette Property, a single

                                                                  25   family residence located at 580 Chalette Drive, Beverly Hills, CA. The Rexford Property and

                                                                  26   Chalette Property were encumbered by certain deeds of trust that secured certain payment

                                                                  27   obligations of the Debtors.

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                                                                   1           Around January 2015, Massoud’s brother in law, Jack Nourafshan, through entities he

                                                                   2   controls, purchased a promissory note that was secured by two separate deeds of trust against the

                                                                   3   Rexford Property and Chalette Property. Subsequently, Mr. Nourafshan foreclosed on the Rexford

                                                                   4   Property and Chalette Property. He then sold the Chalette Property for a substantial profit (an

                                                                   5   approximate 90% return on an annualized basis) and rented the Rexford Property to Massoud under

                                                                   6   a two year lease at a rate of $25,000 per month. Massoud has never paid any rent and the lease has

                                                                   7   since expired by its terms, yet Massoud and his family continue to enjoy the comforts of the Rexford

                                                                   8   Property.

                                                                   9           On April 25, 2017, the Trustee commenced the Rexford/Chalette Action against Elkwood

                                                                  10   Associates, LLC and Fieldbrook, Inc., which was amended on May 11, 2017.

                                                                  11           As set forth in greater detail in the complaint, the Trustee alleges that Massoud and Mr.
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                                                                  12   Nourafshan (who controls the defendants) had a secret agreement and understanding as to how the
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                                                                  13   Rexford Property and the Chalette Property, or their value, would be diverted from the Debtors’
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                                                                  14   creditors to the benefit of the Mr. Nourafshan’s family and/or Massoud, and to the detriment of those

                                                                  15   creditors. The Trustee believes that part of this secret agreement and understanding would be that

                                                                  16   Massoud and his family would be permitted to live in the Rexford Property, rent free, for an

                                                                  17   indeterminate period of time but that the Chalette Property would be delivered vacant so that Mr.

                                                                  18   Nourafshan and his family could make a quick, and sizeable profit and return on their investment,

                                                                  19   which they did.

                                                                  20           Prior to filing the amended complaint, the Trust attempted, unsuccessfully, to resolve or

                                                                  21   settle the claims asserted in the Rexford/Chalette Action.

                                                                  22                    Efforts to Obtain JCBL-Related Assets

                                                                  23           The “JCBL Trust” was a fully revocable trust at the time it was created by Parinaz,

                                                                  24   Massoud’s spouse. The JCBL Trust held nearly $480,000 on account of the sale of the trust’s

                                                                  25   interest in NIP, the owner of certain real property known as “Sky Las Vegas,” located at 2700 Las

                                                                  26   Vegas Boulevard South, Las Vegas, Nevada. On or about January 2, 2015, Parinaz amended the

                                                                  27   JCBL Trust pursuant to the First JCBL Trust Amendment, which caused the JCBL Trust to be

                                                                  28   irrevocable.

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                                                                   1           As previously mentioned, on or about May 12, 2017, the Trustee commenced an adversary

                                                                   2   proceeding (1:17-ap-01050-GM) against Massoud’s spouse, who acts as a trustee of the JCBL Trust,

                                                                   3   thereby seeking to: (a) set aside the First Amendment and the related transfer as an actual or

                                                                   4   constructive fraudulent transfer; (b) declare that the right to revoke the JCBL Trust is property of

                                                                   5   Massoud’s Estate; (c) declare that, upon exercise of the revocation of the JCBL Trust by the Trustee,

                                                                   6   the assets of the JCBL Trust (including, without limitation, the proceeds thereof) are, and will

                                                                   7   become property of Massoud’s Estate; and (d) and other related relief.

                                                                   8           On December 12, 2017, the Trustee filed a motion for summary judgment seeking the above-

                                                                   9   described relief. On April 9, 2018, the Court entered an order granting summary judgment to the

                                                                  10   Trustee as to fifty percent of the assets of the JCBL Trust and granting summary judgment to Parinaz

                                                                  11   Yashouafar as to fifty percent of the separate property of Parinaz Yashouafar [Dkt No. 42] (the
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                                                                  12   “Summary Judgment Order”). On June 25, 2018, the court entered an amended order directing
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                                                                  13   payment pursuant to the Summary Judgment Order and providing for dismissal of the action with
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                                                                  14   prejudice [Docket No. 50].

                                                                  15                    Motion to Dismiss Rexford/Chalette Action

                                                                  16           As set forth above, on April 25, 2017, the Trustee commenced the Rexford/Chalette Action,

                                                                  17   which was amended on May 11, 2017.

                                                                  18           On June 12, 2017, the Defendants filed a motion to dismiss [Docket No. 16] all of the claims

                                                                  19   in the Rexford/Chalette Action and the Trustee opposed such motion [Docket No 22]. On

                                                                  20   September 28, 2017, the Court’s memorandum decision [Docket No. 34] dismissed the complaint

                                                                  21   with leave to amend. On October 18, 2017, the Trustee filed the second amended complaint.

                                                                  22           Soda Partners, LLC filed its answer to the second amended complaint on November 7, 2017

                                                                  23   [Docket No. 42], the Abselets filed their answer on December 6, 2017 [Docket No. 48], and Citivest

                                                                  24   consented to entry of judgment December 22, 2017 disclaiming any interest in the subject properties

                                                                  25   [Docket No. 54]. On December 7, 2017, Elkwood and Fieldbrook filed a motion to dismiss the

                                                                  26   second amended complaint. After the Abselets filed their answer, they also filed a motion to

                                                                  27   withdraw the reference in the California District Court, which if granted would mean Judge Walter

                                                                  28   would preside over the Rexford/Chalette Action. If the reference were withdrawn, the Abselets

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                                                                   1   would have sought to have the Rexford/Chalette Action consolidated with the pending action they

                                                                   2   filed that relates to the properties; however, Judge Walter denied the request to withdraw the

                                                                   3   reference and this action remains in the Bankruptcy Court

                                                                   4           The Trustee deposed Thelma Guerrero, who was the subject of a 2004 application and order

                                                                   5   [Docket No. 255] but failed to appear at the previously scheduled deposition because she left the

                                                                   6   country without notice. Ms. Guerrero is a former employee of Elkwood and Fieldbrook, who was

                                                                   7   involved with the acquisition of the debt from Pacific Western Bank that served as a debt used to

                                                                   8   foreclose against the Debtors’ former homes.

                                                                   9                    Motion to Approve Abselet Settlement Agreement

                                                                  10           On August 1, 2017, the Trustee filed the Motion for Order Approving Chapter 11 Trustee’s

                                                                  11   Settlement with Howard Abselet and Israel Abselet (the “Settlement Motion”) [Docket No. 493].
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                                                                  12   As set forth in greater detail in the Settlement Motion, and discussed above, the Trustee entered into
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                                                                  13   a settlement agreement with the Abselets, Howard Abselet and Sina Abselet, regarding the
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                                                                  14   allowance of their claims and the sharing of assets among the parties. At the August 22, 2017

                                                                  15   hearing on the Settlement Motion, the Court approved the Settlement Motion subject to the

                                                                  16   resolution of objections by the Debtors and other parties in interest regarding the proposed form of

                                                                  17   order. The Trustee and the Abselets worked to incorporate comments and consensually resolve

                                                                  18   disputes regarding the form of the proposed order.

                                                                  19           The order approving the Settlement Motion was entered on October 10, 2017 [Docket No.

                                                                  20   554]. Since the approval of the Settlement Motion, the Trustee has performed the terms of the

                                                                  21   settlement to the extent possible.

                                                                  22                    Status of Plan of Reorganization [LBR 2016-1(a)(1)(A)(i)] and Conversion to

                                                                  23                    Chapter 7

                                                                  24           A Plan of Reorganization (“Plan”) has not been filed in these cases. These cases were

                                                                  25   converted to Chapter 7 proceedings on or about October 25, 2019.

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                                                                   1                    Continued Litigation, and Settlement, of the Rexford/Chalette Action, and

                                                                   2                    Events in the Bankruptcy Cases Since December 2017.

                                                                   3             As set forth above, the last remaining major assets in these cases were the Trustee’s claims

                                                                   4   related to the Rexford Home, claims disputed by the Abselets and others. Those disputes continued.

                                                                   5             On December 11, 2017, the Abselets filed a complaint commencing case no. 2:17-cv-8894-

                                                                   6   JFW (“Abselet District Court Action”) in the United States District Court for the Central District of

                                                                   7   California (“District Court”). On February 7, 2018, the District Court entered an order staying that

                                                                   8   action.

                                                                   9             The Trustee filed a Third Amended Complaint in the Rexford/Chalette Action (“Adversary

                                                                  10   Proceeding”) on March 5, 2018. Elkwood and Fieldbrook filed a First Amended Counterclaim and

                                                                  11   Cross-Claim (“Elkwood FACC”) in the Adversary Proceeding on August 7, 2018. The Abselets
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                                                                  12   filed a First Amended Counterclaim (“Abselet FACC”) in the Adversary Proceeding on October 10,
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                                                                  13   2018.
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                                                                  14             On April 30, 2019, the Bankruptcy Court entered an order in the Adversary Proceeding by

                                                                  15   which it granted the Trustee’s motion for summary judgment on his First Claim to Quiet Title to the

                                                                  16   Rexford Property and denied Elkwood’s and Fieldbrook’s motion for summary judgment on the

                                                                  17   same Claim (the “Summary Judgment Order”).

                                                                  18             On July 9, 2019, the Bankruptcy Court entered an order in the Adversary Proceeding by

                                                                  19   which it approved a stipulation between the Elkwood Parties, the Trustee and the Abselets

                                                                  20   dismissing the Eighth Counterclaim in the Abselet FACC.

                                                                  21             On September 10, 2019, the Bankruptcy Court entered an order (“Dismissal Order”) in the

                                                                  22   Adversary Proceeding by which it approved a stipulation between the Elkwood Parties, the Trustee

                                                                  23   and the Abselets dismissing certain, but not all, claims and counterclaims in the Adversary

                                                                  24   Proceeding. Under the Dismissal Order, all claims and counterclaims regarding the Chalette

                                                                  25   Property were dismissed with prejudice, as were certain, but not all, claims and counterclaims

                                                                  26   regarding the Rexford Property.

                                                                  27             On September 10, 2019, the Bankruptcy Court entered an order approving the withdrawal of

                                                                  28   proof of claim no. 28-1 that Elkwood had filed on June 21, 2017, in Massoud’s case. On

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                                                                   1   October 25, 2019, the Bankruptcy Court entered an order converting both of the Debtors’ Cases to

                                                                   2   Chapter 7. The Trustee continued to serve in both cases, as Chapter 7 Trustee.

                                                                   3           On November 13, 2019, the Bankruptcy Court entered a report and recommendation in the

                                                                   4   Adversary Proceeding (“R&R Order”) by which it recommended that the District Court enter a

                                                                   5   judgment (“Proposed Judgment”) and findings of fact and conclusions of law (“Proposed FF&CL”)

                                                                   6   on the Trustee’s First Claim to Quiet Title to the Rexford Property. On November 19, 2019, the

                                                                   7   R&R Order was filed with the District Court commencing case no. 2:19-cv-09915-JFW (the “R&R

                                                                   8   Action”).

                                                                   9           On March 20, 2020, the District Court entered an Order in the R&R Action that entered the

                                                                  10   Proposed Judgment (“Judgment”) and the Proposed FF&CL (“FF&CL”) in which the District Court,

                                                                  11   inter alia, quieted title to the Rexford Property in the name of the Trustee on behalf of Massoud’s
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                                                                  12   bankruptcy estate and also awarded the Trustee possession of the Rexford Property. Elkwood filed a
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                                                                  13   motion with the District Court seeking reconsideration of the decision to enter the Judgment.
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                                                                  14           The parties, after extensive negotiations, entered into a Settlement Agreement and Mutual

                                                                  15   Release, dated May 19, 2020, regarding the above disputes and litigation (“Settlement Agreement”).

                                                                  16   On May 21, 2020, the Trustee filed a “Notice of Motion and Motion of Chapter 7 Trustee for Order

                                                                  17   Approving Settlement with the Elkwood Parties and for Sale of Rexford Home Free and Clear of

                                                                  18   Liens, Claims and Encumberances; Memorandum of Points and Authorities; Declaration of David K.

                                                                  19   Gottlieb in Support Thereof,” [Docket No. 758] (“Settlement Motion”).

                                                                  20           Pursuant to the Settlement Agreement, the Trustee transfers or returns title to the Rexford

                                                                  21   Home to Elkwood, subject to a tax lien and a Chase lien, upon payment of $5.525 million to the

                                                                  22   Massoud Estate. The Abselets are parties to the Settlement Agreement for the purposes of

                                                                  23   dismissing their parallel action, the Abselet District Court Action, brought by them against Elkwood

                                                                  24   and related parties relating to the Rexford Home, and granting to and receiving from Elkwood and

                                                                  25   affiliates certain releases, but the Settlement Agreement does not affect any rights, claims and

                                                                  26   obligations by and between the Trustee and the Abselets, which continue to be governed by the

                                                                  27   Abselet Settlement Agreement (discussed above).

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                                                                   1           Some of the salient terms of the Settlement Agreement are as follows (the Settlement

                                                                   2   Agreement is attached to the Settlement Motion, and such motion and agreement are incorporated

                                                                   3   herein by reference):

                                                                   4           The Elkwood Parties will pay the Trustee $5,525,000.00.

                                                                   5           The parties will execute a stipulated judgment in the R&R Action.

                                                                   6           The Trustee will deliver an executed quitclaim deed to the Rexford Property.

                                                                   7           The parties will execute stipulations, with orders, to dismiss the Adversary Proceeding and

                                                                   8                    the Abselet District Court Action.

                                                                   9           The Trustee and Abselets will deliver to the Elkwood Parties withdrawals of notices of

                                                                  10                    pending actions (lis pendens).

                                                                  11           The Elkwood Parties will file a notice of withdrawal of proofs of claims.
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                                                                  12           The Parties agree to releases and waivers, as set forth in the Settlement Agreement.
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                                                                  13           On June 12, 2020, the Trustee filed a “Reply in Support of Motion for Order Approving
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                                                                  14   Settlement with the Elkwood Parties and for Sale of Rexford Home Free and Clear of Liens, Claims

                                                                  15   and Encumbrances” [Docket No. 770] (“Reply”). In the Reply, the Trustee acknowledged the

                                                                  16   secured claim of Soda Partners against the Rexford Property and agreed to pay that lien in the sum of

                                                                  17   $48,260.00 plus accrued interest as consideration for release of an Abstract of Judgment.

                                                                  18           On June 23, 2020, the Bankruptcy Court entered its “Order Granting Motion for Approval of

                                                                  19   Compromise of Controversy,” approving the Settlement Agreement (“Settlement Order”). [Docket

                                                                  20   No. 771]. The Settlement Order requested that Judge Maureen Tighe and the District Court enter

                                                                  21   orders to effectuate the settlement.

                                                                  22           As set forth in the “Chapter 7 Trustee’s Case Status Report” [Docket No. 779], as a result of

                                                                  23   the settlement of the Rexford Home litigation, the Trustee recovered approximately $1.55 million for

                                                                  24   the benefit of the Massoud Estate, which when added to existing funds in the Estate, brought the

                                                                  25   total cash balance in the Massoud Estate to approximately $1.92 million. The Solyman Estate has

                                                                  26   essentially no assets.

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                                                                   1             While most of the Applicant’s work since December 2017 related to the Rexford/Chalette

                                                                   2   litigation and its settlement, the Applicant performed other work for the Trustee during this time

                                                                   3   period.

                                                                   4             Applicant, on behalf of the Trustee, investigated and reviewed claims, made limited claim

                                                                   5   objections, and performed work regarding negotiations with claimants. Applicant also performed

                                                                   6   work regarding fee application and broker retention issues, and assisted the Trustee regarding case

                                                                   7   administration matters such as reports and status hearings.

                                                                   8

                                                                   9         NARRATIVE STATEMENT OF SERVICES RENDERED AND TIME EXPENDED

                                                                  10   A.        Services Performed and Time Expended During the Application Period Covered by this
                                                                                 Application
                                                                  11
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                                                                  12             Pursuant to the Compensation Guide and LBR 2016-1, the Firm has classified all services
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                                                                  13   performed for which compensation is sought for the Employment Period into one of several major
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                                                                  14   categories. The Firm attempted to place the services performed in the category that best relates to

                                                                  15   the service provided. However, because certain services may relate to more than one category,

                                                                  16   services pertaining to one category may in fact be included in another category. A description of

                                                                  17   services by category is provided below for the Second Fee Period. A similar description for the First

                                                                  18   Fee Period is set forth in the First Interim Fee Application.

                                                                  19             Some of the services performed by the Applicant during the Second Fee Period were

                                                                  20   performed for the Trustee in his capacity as Chapter 11 Trustee. Services after the conversion of this

                                                                  21   case to Chapter 7 proceedings on or about October 25, 2019 were performed for the Trustee in his

                                                                  22   capacity as Chapter 7 Trustee. The work during the Chapter 7 proceedings primarily consisted of

                                                                  23   litigating and settling the Rexford litigation, and some claim objection and fee application work.

                                                                  24   Applicant has broken out the detailed narrative below for the Second Fee Period between the

                                                                  25   Chapter 11 and Chapter 7 portions of the Second Fee Period.

                                                                  26                    Asset Disposition

                                                                  27             Time billed to this category relates to sales and other disposition of assets.

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                                                                   1           During the Chapter 11 portion of the Second Fee Period, the Firm, among other things: (1)

                                                                   2   reviewed and analyzed issues regarding an accounting of liquidation proceeds distribution; (2)

                                                                   3   reviewed and analyzed issues regarding the Rexford Property; (3) reviewed and analyzed issues

                                                                   4   regarding the sale of the Rexford property, including valuation issues; and corresponded and

                                                                   5   conferred regarding asset disposition issues.

                                                                   6           During the Chapter 7 portion of the Second Fee Period, the Firm, among other things:

                                                                   7   (1) reviewed and analyzed listing and sale issues relating to the Rexford property, and performed

                                                                   8   work regarding a listing agreement; (2) reviewed and analyzed valuation issues; (3) performed work

                                                                   9   regarding an application to employ broker; (4) performed work relating to a motion to approve

                                                                  10   settlement with Elkwood parties and regarding sale of Rexford Property; and (5) corresponded and

                                                                  11   conferred regarding asset disposition issues.
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                                                                  12           The Chapter 11 services comprised 2.50 hours and $2,564.00 of fees6. The Chapter 7
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                                                                  13   services comprised 8.80 hours and 8,564.00 of fees.
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                                                                  14           During the Second Fee Period, the Firm expended 11.3 hours on this category. The amount

                                                                  15   of fees attributable to this matter is $11,128.00.

                                                                  16                    Bankruptcy Litigation

                                                                  17           Time billed to this category relates to the various litigation issues arising in these cases.

                                                                  18           During the Chapter 11 portion of the Second Fee Period, the Firm, among other things: (1)

                                                                  19   reviewed and analyzed the Court’s tentative ruling in the Elkwood matter; (2) prepared for and

                                                                  20   attended a hearing on December 11, 2018 on cross motions for summary judgment in the Elkwood

                                                                  21   matter; (3) reviewed and analyzed ancillary remedies available to parties in the event title was

                                                                  22   quieted in favor of the Trustee regarding the Rexford matter; (4) reviewed and analyzed Elkwood

                                                                  23   redemption claim issues; (5) performed research regarding foreclosure and reimbursement issues;

                                                                  24   (6) reviewed and analyzed a memorandum relating to cross-motions for summary judgment;

                                                                  25   (7) reviewed and analyzed issues regarding sale of property and title insurance relating to the

                                                                  26   Rexford matter; (8) reviewed and analyzed an objection to form of judgment and performed work

                                                                  27
                                                                       6
                                                                        The Asset Disposition category includes a small amount of time in the Asset Analysis/Recovery category in the
                                                                  28   attached December 2018 bill.
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                                                                   1   regarding a response; (9) reviewed and analyzed form of order issues; (10) prepared for and attended

                                                                   2   a hearing on February 27, 2019 on the form of judgment in the Elkwood matter; (11) reviewed and

                                                                   3   analyzed a reply in support of motion to dismiss Elkwood complaint; (12) reviewed and analyzed the

                                                                   4   Court’s memorandum regarding Federal Rule of Civil Procedure 54(b) certification; (13) reviewed

                                                                   5   and analyzed evidence and pleadings regarding preparation for a status conference and trial in the

                                                                   6   Elkwood matter; (14) reviewed and analyzed redemption issues; (15) outlined trial issues;

                                                                   7   (16) reviewed and analyzed depositions and exhibits in preparation for trial; (17) reviewed and

                                                                   8   analyzed issues regarding the jurisdiction of the bankruptcy court to conduct the trial in the Elkwood

                                                                   9   matter; (18) performed work regarding a Statement of Admitted facts relating to Third Amended

                                                                  10   Complaint/Answer and Abselets’ First Amended Counterclaim/Answer in the Elkwood matter;

                                                                  11   (19) reviewed and analyzed reimbursement issues; (20) reviewed and analyzed a motion to clarify
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                                                                  12   partial summary judgment and performed work regarding a reply; (21) performed work regarding a
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                                                                  13   status report; (22) prepared for and attended a status conference on May 16, 2019; (23) performed
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                                                                  14   work regarding a joint pre-trial stipulation and order; (24) reviewed and analyzed a motion to

                                                                  15   withdraw the reference and performed work regarding an opposition to such motion; (25) performed

                                                                  16   work regarding preparation of witness examinations; (26) reviewed and analyzed issues regarding

                                                                  17   remedies against mortgagee in possession; (27) performed work regarding a proposed statement of

                                                                  18   decision; (28) reviewed and analyzed a settlement offer in the Elkwood matter, and performed work

                                                                  19   regarding a response; (29) attended to appraisal issues; (30) performed work regarding production of

                                                                  20   an expert report; (31) drafted a subpoena and notice of deposition of Russo; (32) reviewed and

                                                                  21   analyzed Abselet comments to pre-trial stipulation, and revised the stipulation; (33) prepared for and

                                                                  22   attended the Nourafshan deposition; (34) attended to appraisal testimony issues; (35) reviewed and

                                                                  23   analyzed writ of mandamus issues; (36) reviewed and analyzed issues regarding dismissal of

                                                                  24   litigation claims; (37) reviewed and analyzed appraiser deposition issues; (38) reviewed and

                                                                  25   analyzed issues regarding withdrawal of the reference; (39) reviewed and analyzed issues regarding

                                                                  26   indispensible parties; (40) prepared for and attended the depositions of C. Lipsey and F. Russo;

                                                                  27   (41) performed work regarding a revised pretrial stipulation; (42) reviewed and analyzed fraudulent

                                                                  28   transfer issues; (43) reviewed and analyzed a motion to stay trial and performed work regarding an

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                                                                   1   opposition; (44) performed work regarding stipulations relating to briefing, trial, and dismissal of

                                                                   2   claims; (45) reviewed and analyzed a motion for clarification regarding procedure for determination

                                                                   3   of redemption payment, and performed work regarding an opposition to such motion; (46) reviewed

                                                                   4   and analyzed a court order regarding scheduling issues; (47) reviewed and analyzed jurisdictional

                                                                   5   issues relating to entry of summary judgment; (48) performed work regarding a supplemental reply

                                                                   6   relating to trial stay motion; (49) performed work regarding an answer to petition for writ of

                                                                   7   mandamus; (50) prepared for and attended a hearing on September 24, 2019 regarding motions to

                                                                   8   stay and to clarify; (51) performed work regarding an order denying motion to stay; (52) reviewed

                                                                   9   and analyzed issues regarding a motion to transmit proposed findings of fact and conclusions of law

                                                                  10   to the District Court; (53) performed work regarding findings of fact and conclusions of law

                                                                  11   regarding quiet title, and performed work regarding a report and recommendations; (54) performed
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                                                                  12   work regarding a motion for issuance of report and recommendations; (55) reviewed and analyzed
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                                                                  13   ejectment issues; (56) reviewed and analyzed issues regarding scope of enforcement of quiet title
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                                                                  14   judgment; (57) performed work regarding a motion for leave to file additional briefing; (58)

                                                                  15   performed work regarding a judgment relating to quiet title; (59) performed work regarding a

                                                                  16   stipulation for leave to file additional briefing; (60) reviewed and analyzed claim preclusion issues;

                                                                  17   (61) reviewed and analyzed issues regarding the right to jury trial; (62) performed work regarding a

                                                                  18   supplemental brief; (63) reviewed and analyzed the Elkwood defendants’ opposition to motion for

                                                                  19   issuance of report and recommendations and performed work regarding a reply; and

                                                                  20   (64) corresponded and conferred regarding bankruptcy litigation issues.

                                                                  21            During the Chapter 7 portion of the Second Fee Period, the Firm, among other things:

                                                                  22   (1) attended to meet and confer issues; (2) performed work regarding a joint ex parte application for

                                                                  23   procedures relating to report and recommendations; (3) reviewed and analyzed a District Court

                                                                  24   minute order; (4) reviewed and analyzed issues regarding an extension of time relating to objection

                                                                  25   under Rule 9033; (5) reviewed and analyzed a motion to vacate judgment and a reply in support of

                                                                  26   motion; (6) drafted a statement regarding motion to vacate judgment; (7) performed work regarding

                                                                  27   a settlement analysis; (8) reviewed and analyzed settlement strategy issues; (9) reviewed and

                                                                  28   analyzed an objection to entry of proposed findings of fact and conclusions of law, and performed

                                                                                                                         35
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                                                                   1   work regarding a reply; (10) reviewed and analyzed an order adopting bankruptcy court findings and

                                                                   2   judgment; (11) performed work regarding a request for judicial notice regarding District Court

                                                                   3   ruling; (12) performed work regarding a settlement agreement in the Elkwood matter;

                                                                   4   (13) performed work regarding exhibits to settlement agreement; (14) reviewed and analyzed

                                                                   5   subordination issues; (15) reviewed and analyzed sale issues and settlement alternatives;

                                                                   6   (16) performed work regarding a motion to approve settlement with Elkwood parties; (17) attended

                                                                   7   to lien issues relating to the Elkwood settlement; (18) attended to issues regarding payment to Soda

                                                                   8   Partners; (19) prepared for and attended a hearing on June 23, 2020 on the Elkwood settlement

                                                                   9   motion; (20) attended to closing issues; (21) reviewed and analyzed a stipulated order and settlement

                                                                  10   agreement regarding funds distribution issues; and (22) corresponded and conferred regarding

                                                                  11   bankruptcy litigation issues.
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                                                                  12           The Chapter 11 services comprised 246.20 hours and $250,081.00 of fees. The Chapter 7
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                                                                  13   services comprised 44.40 hours and $48,390.50 of fees.
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                                                                  14           During the Second Fee Period, the Firm expended 290.60 hours on this category. The

                                                                  15   amount of fees attributable to this matter is $298,471.50.

                                                                  16                    Case Administration

                                                                  17           Time billed to this category primarily relates to case administration issues and miscellaneous

                                                                  18   case matters that are not easily classified within any other specific categories.

                                                                  19           During the Chapter 11 portion of the Second Fee Period, the Firm, among other things:

                                                                  20   (1) performed work regarding case status reports; (2) attended to scheduling issues; (3) reviewed and

                                                                  21   analyzed case conversion issues; (4) performed work regarding a summary of the Elkwood

                                                                  22   adversary proceeding for the United States Trustee; (5) performed work regarding a settlement

                                                                  23   motion; (6) prepared for and attended a hearing on October 8, 2019 on motions to convert;

                                                                  24   (7) eviewed and analyzed US Bank settlement agreement issues; and (8) conferred and corresponded

                                                                  25   regarding case administration issues.

                                                                  26           During the Chapter 7 portion of the Second Fee Period, the Firm, among other things:

                                                                  27   (1) reviewed and analyzed case conversion issues; (2) attended to notice issues; (3) attended to

                                                                  28   issues regarding appointment of Chapter 7 Trustee; (4) performed work regarding a Chapter 11

                                                                                                                          36
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                                                                   1   trustee final report; (5) performed work regarding an amended Chapter 11 trustee final report;

                                                                   2   (6) reviewed and analyzed issues regarding proposed findings of fact and conclusions of law in the

                                                                   3   Elkwood matter; (7) prepared for and attended Section 341(a) meetings on November 22, 2019;

                                                                   4   (8) performed work regarding a status conference report and attended to scheduling issues;

                                                                   5   (9) performed work regarding a motion to approve Elkwood settlement agreement; (10) performed

                                                                   6   work regarding a case status report for Trustee filing with the United States Trustee; (11) performed

                                                                   7   work regarding an analysis of outstanding fees and assets and liabilities; (12) performed work

                                                                   8   regarding a claims analysis; (13) reviewed and analyzed the allocation and distribution of Elkwood

                                                                   9   settlement proceeds; and (14) conferred and corresponded regarding case administration issues.

                                                                  10           The Chapter 11 services comprised 5.80 hours and $4,670.00 of fees. The Chapter 7 services

                                                                  11   comprised 16.80 hours and $14,359.00 of fees.
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                                                                  12           During the Second Fee Period, the Firm expended 22.60 hours on this category. The amount
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                                                                  13   of fees attributable to this matter is $19,029.00.
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                                                                  14                    Claims Administration/Objection

                                                                  15           Time billed to this category relates to matters concerning the administration of claims against

                                                                  16   the Debtors’ Estates and claim objections.

                                                                  17           During the Chapter 11 portion of the Second Fee Period, the Firm, among other things:

                                                                  18   (1) performed work regarding a claims spreadsheet; (2) reviewed and analyzed bar date order issues;

                                                                  19   (3) performed work regarding an objection to the Elkwood claim and counterclaim; (4) performed

                                                                  20   work regarding a settlement agreement relating to US Bank claims; and (5) corresponded and

                                                                  21   conferred regarding claim issues

                                                                  22           During the Chapter 7 portion of the Second Fee Period, the Firm, among other things:

                                                                  23   (1) reviewed and analyzed issues regarding an extension of time for the Elkwood parties to file

                                                                  24   proofs of claim; (2) responded to creditor inquiries; (3) reviewed and analyzed claims in preparation

                                                                  25   for potential objections; (4) reviewed and analyzed the Abselet settlement motion and agreement,

                                                                  26   and performed work regarding claim withdrawal issues; (5) reviewed and analyzed the Soda Partners

                                                                  27   and DMARC proofs of claims and related documents; (6) reviewed and analyzed large claims

                                                                  28   regarding evidence and objections; (7) attended to claims reconciliation issues; (8) performed work

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                                                                   1   regarding claim withdrawals regarding Soda Partners and Pakravan; (9) performed work regarding

                                                                   2   requests for additional documents from claimants; (10) reviewed and analyzed documentation

                                                                   3   regarding the Joshua Paradise claims; (11) reviewed and updated the claims register regarding

                                                                   4   reconciliation issues; and (12) corresponded and conferred regarding claim issues.

                                                                   5              The Chapter 11 services comprised 2.10 hours and $1,799.50 of fees. The Chapter 7 services

                                                                   6   comprised 40.30 hours and $30,222.50 of fees7.

                                                                   7              During the Second Fee Period, the Firm expended 42.40 hours on this category. The amount

                                                                   8   of fees attributable to this matter is $32,022.00.

                                                                   9                      Compensation of Professionals

                                                                  10              This category includes time related to compensation of the Firm.

                                                                  11              During the Chapter 11 portion of the Second Fee Period, the Firm, among other things: (1)
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                                                                  12   performed work regarding the Firm’s first interim fee application; (2) performed work regarding
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                                                                  13   exhibits to the Firm’s first interim fee application; (3) prepared for and attended a fee application
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                                                                  14   hearing on January 29, 2019; (4) performed work regarding an order on interim fee applications; and

                                                                  15   (5) corresponded and conferred regarding compensation of professionals issues.

                                                                  16              During the Chapter 7 portion of the Second Fee Period, the Firm, among other things:

                                                                  17   (1) performed work regarding the Firm’s Second and Final fee application; and (2) corresponded

                                                                  18   regarding compensation of professionals issues.

                                                                  19              The Chapter 11 services comprised 69.00 hours and $44,941.50 of fees. The Chapter 7

                                                                  20   services comprised 18.40 hours and $13,809.50 of fees8.

                                                                  21              During the Second Fee Period, the Firm expended 87.40 hours on this category. The amount

                                                                  22   of fees attributable to this matter is $58,751.00.

                                                                  23                      Compensation of Professionals/Others

                                                                  24              This category includes time related to compensation of professionals, other than the Firm.

                                                                  25              During the Chapter 11 portion of the Second Fee Period, the Firm, among other things:

                                                                  26   (1) performed work regarding a 45 day notice to professionals regarding first interim fee

                                                                  27
                                                                       7
                                                                           This category includes uncategorized time in attached the November 2020 invoice.
                                                                  28   8
                                                                           This category includes time in the Fee/Employment Application category.
                                                                                                                                  38
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                                                                   1   applications; (2) performed work regarding the BRG fee application; (3) attended to issues regarding

                                                                   2   the DSI fee application; (4) performed work regarding interim fee orders; and (5) corresponded and

                                                                   3   conferred regarding compensation of professionals issues.

                                                                   4              During the Chapter 7 portion of the Second Fee Period, the Firm, among other things:

                                                                   5   (1) reviewed and analyzed issues regarding DSI and BRG Chapter 11 fees and expenses; and

                                                                   6   (2) corresponded regarding compensation of professionals issues.

                                                                   7              The Chapter 11 services comprised 6.50 hours and $2,559.50 of fees. The Chapter 7 services

                                                                   8   comprised 0.40 hours and $158.00 of fees.

                                                                   9              During the Second Fee Period, the Firm expended 6.90 hours on this category. The amount

                                                                  10   of fees attributable to this matter is $2,717.50.

                                                                  11                       Retention of Professionals/Others
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                                                                  12              Time billed to this category relates to retention of professionals, other than the Firm.
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                                                                  13              During the Chapter 7 portion of the Second Fee Period, the Firm, among other things:
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                                                                  14   (1) performed work regarding applications to employ BRG and DSI in the Chapter 7 cases;

                                                                  15   (2) reviewed and analyzed issues regarding listing agreements; (3) performed work regarding an

                                                                  16   application to employ Hilton and Hyland as brokers for the sale of the Rexford Property;

                                                                  17   (4) reviewed and analyzed an objection to the proposed retention of Hilton and Hyland and

                                                                  18   performed work regarding a reply to such objection; (5) performed work regarding a notice of

                                                                  19   hearing on the application to employ Hilton and Hyland; and (6) conferred and corresponded

                                                                  20   regarding retention of professionals issues.

                                                                  21              The Chapter 7 services comprised 4.90 hours and $2,580.50 of fees9.

                                                                  22              During the Second Fee Period, the Firm expended 4.90 hours on this category. The amount

                                                                  23   of fees attributable to this matter is $2,580.50.

                                                                  24                       Settlement

                                                                  25              Time billed to this category relates to work regarding settlement issues.

                                                                  26              During the Chapter 11 portion of the Second Fee Period, the Firm, among other things:

                                                                  27   (1) performed work regarding accounting of settlement proceeds; (2) reviewed and analyzed a

                                                                  28   9
                                                                           This category includes time in the Retention of Professionals category.
                                                                                                                                    39
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                                                                   1   waterfall analysis under a settlement agreement; (3) reviewed and analyzed distribution and reserve

                                                                   2   issues; (4) reviewed and analyzed documents in support of Abselet accounting; (5) reviewed and

                                                                   3   analyzed reserve and waterfall issues; and (6) conferred and corresponded regarding settlement

                                                                   4   issues.

                                                                   5             The Chapter 11 services comprised 4.80 hours and $3,670.00 of fees.

                                                                   6             During the Second Fee Period, the Firm expended 4.80 hours on this category. The amount

                                                                   7   of fees attributable to this matter is $3,670.00.

                                                                   8                    Tax Issues

                                                                   9             Time billed to this category relates to work regarding tax issues.

                                                                  10             During the Chapter 7 portion of the Second Fee Period, the Firm, among other things,

                                                                  11   reviewed and analyzed issues regarding an estate tax estimate.
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                                                                  12             The Chapter 7 services comprised 0.10 hours and $114.50 of fees.
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                                                                  13             During the Second Fee Period, the Firm expended 0.10 hours on this category. The amount
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                                                                  14   of fees attributable to this matter is $114.50.

                                                                  15                    Detailed Listing of all Time Spent by the Professional on the Matters for Which

                                                                  16                    Compensation is Sought [LBR 2016-1(a)(1)(E), (G) and (I)]

                                                                  17             Exhibit “A” contains a summary, by category, of the Firm’s services and expenses in these

                                                                  18   cases that were incurred during the Second Fee Period. Such summary includes the time spent, rate

                                                                  19   and billing attributable to each person who performed compensable services for the Trustee.

                                                                  20   Exhibit “C” contains the Firm’s detailed time records during the Second Fee Period; and the First

                                                                  21   Interim Fee Application attached as Exhibit “D” contains the Firm’s detailed time records during

                                                                  22   the period September 16, 2016 – November 30, 2018 (the “First Interim Period”), as well as a

                                                                  23   summary, by category, of the Firm’s services and expenses in these cases that were incurred during

                                                                  24   the First Interim Period.

                                                                  25   B.        List of Expenses by Category [LBR 2016-1(a)(1)(F)]
                                                                  26             The Firm advanced costs in the amount of $18,133.98 during the Second Fee Period (the

                                                                  27   Court previously awarded costs for the First Interim Period in the amount of $74,768.49 as set forth

                                                                  28   in the First Interim Fee Application). The costs incurred during the Second Fee Period are

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                                                                   1   summarized in Exhibit “A” attached hereto, which provides a monthly breakdown that complies

                                                                   2   with the Compensation Guidelines. During the Second Fee Period, the Firm charged $.20 per page

                                                                   3   for photocopying, $.10 per page for scanning documents, and $1.00 per page for incoming and

                                                                   4   outgoing faxes. The Firm has also charged for unusual expenses, such as court costs and special

                                                                   5   messenger services, including Federal Express.

                                                                   6   C.      Hourly Rates [LBR-1(a)(1)(G)]
                                                                   7           The hourly rates of all professionals and paraprofessionals rendering services in these cases

                                                                   8   during the Second Fee Period are set forth on Exhibit “A” attached hereto.

                                                                   9   D.      Description of Professional Education and Experience [LBR 2016-1(a)(1)(H)]
                                                                  10           Exhibit “B” includes a description of the professional education and biographies of the

                                                                  11   professionals employed by the Firm who rendered the majority of the services in these cases during
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                                                                  12   the Second Fee Period.
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                                                                  13   E.      Client’s Declaration (LBR 2016-1(a)(1)(J))
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                                                                  14           A declaration will be filed regarding the Trustee’s review of this Application, as well as other

                                                                  15   fee applications filed with the Court.

                                                                  16   F.      Applicant’s Review of the Requirements of LBR 2016-1 [LBR 2016-1(a)(1)(K)]

                                                                  17           The attached declaration of Jeremy V. Richards includes a statement that the Applicant has

                                                                  18   reviewed the requirements of LBR 2016-1 and that the Application complies with such rule.

                                                                  19   G.      No Fee Sharing
                                                                  20           The Firm has no understanding, agreement, or arrangement of any kind to divide with or pay

                                                                  21   to anyone any of the fees to be awarded in these cases, except to the extent they are shared among

                                                                  22   members of the Firm.

                                                                  23   H.      Notice of Application and Hearing
                                                                  24           Pursuant to the Order Limiting Scope of Notice and Local Bankruptcy Rule 2016-1, notice of

                                                                  25   this Application has been served by NEF notice or by first class U.S. mail, as required, on (a) the

                                                                  26   Debtors, (b) the Office of the United States Trustee, (c) parties that have filed with the Court

                                                                  27   requests for notice of all matters in accordance with Bankruptcy Rule 2002(i), (d) counsel to the

                                                                  28   Official Committee of Unsecured Creditors, and (e) the United States of America. Copies of this

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                                                                   1   Application with all supporting documents also were served on the parties listed above. Therefore,

                                                                   2   notice should be deemed adequate under the circumstances and in accordance with Bankruptcy

                                                                   3   Rules 2002(a)(6) and 2002(c)(2).

                                                                   4

                                                                   5                 THE FEES AND EXPENSES REQUESTED SHOULD BE AWARDED

                                                                   6                                    BASED UPON APPLICABLE LAW

                                                                   7           The fees and expenses requested by this Application are an appropriate award for the Firm’s

                                                                   8   services in acting as counsel to the Trustee. The Firm had to analyze complex and wide-ranging

                                                                   9   litigation and act quickly in order to preserve net assets of the Estate. Absent the Firm’s efforts, it is

                                                                  10   probable that Abselet and others would have liquidated substantially all assets of these Estates in the

                                                                  11   satisfaction of their claims, leaving no possibility of any recovery for unsecured claimants. The
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                                                                  12   Firm performed its work in these cases despite the risk that the Estates would not have sufficient
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                                                                  13   funds to pay costs of administration in the event that the Trustee failed to prevail on the Trustee’s
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                                                                  14   asserted litigation claims or come to an agreed settlement with Abselet.

                                                                  15   A.      Factors in Evaluating Requests for Compensation
                                                                  16           Pursuant to section 330 of the Bankruptcy Code, the Court may award to a professional

                                                                  17   person reasonable compensation for actual, necessary services rendered, and reimbursement for

                                                                  18   actual, necessary expenses incurred. As set forth above, the fees for which the Firm requests

                                                                  19   compensation and the costs incurred for which the Firm requests reimbursement are for actual and

                                                                  20   necessary services rendered and costs incurred in these cases.

                                                                  21           The professional services rendered by the Firm have required an expenditure of substantial

                                                                  22   time and effort. During the Employment Period, 2,279.90 hours have been recorded by members of

                                                                  23   the Firm and more time was actually expended but either was not recorded or was written off. The

                                                                  24   Firm’s blended hourly rate in these cases for the Employment Period including paraprofessionals is

                                                                  25   $843.10.

                                                                  26           Moreover, time and labor devoted is only one of many pertinent factors in determining an

                                                                  27   award of fees and costs. Based on the skills brought to bear in these cases by the Firm and the

                                                                  28   results obtained and in light of the accepted lodestar approach, the Firm submits that the

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                                                                   1   compensation requested herein is reasonable and appropriate. The Firm assisted the Trustee in

                                                                   2   addressing a myriad of difficult and complex issues regarding litigation and potential causes of

                                                                   3   action, and resolving claims against the Debtors, all for the benefit of the creditors of these Estates.

                                                                   4   B.       The Lodestar Award Should be Calculated by Multiplying a Reasonable Hourly Rate
                                                                                by the Hours Expended
                                                                   5
                                                                                In determining the amount of allowable fees under section 330 (a) of the Bankruptcy Code,
                                                                   6
                                                                       courts are to be guided by the same “general principles” as are to be applied in determining awards
                                                                   7
                                                                       under the federal fee-shifting statutes, with “some accommodation to the peculiarities of bankruptcy
                                                                   8
                                                                       matters.” In re Manoa Finance Co., Inc., 853 F.2d 687, 691 (9th Cir. 1988); see Meronk v. Arter &
                                                                   9
                                                                       Hadden, LLP (In re Meronk), 249 B.R. 208, 213 (B.A.P. 9th Cir. 2000) (reiterating that Manoa
                                                                  10
                                                                       Finance is the controlling authority and characterizing the factor test10 identified in Johnson v.
                                                                  11
                                                                       Georgia Highway Express, Inc. 488 F.2d 714 (5th Cir. 1974) and Kerr v. Screen Extras Guild, Inc.
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                                                                  12
                                                                       526 F. 2d 67, 70 (9th Cir. 1975), cert. denied, 425 U.S. 951 (1976) as an “obsolete laundry list” now
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                                                                  13
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                                                                       subsumed within more refined analyses).
                                                                  14
                                                                                The United States Supreme Court has evaluated the lodestar approach and endorses its usage.
                                                                  15
                                                                       In Hensley v. Eckerhart, 461 U.S. 424 (1983), a civil rights case, the Supreme Court held that while
                                                                  16
                                                                       the Johnson factors might be considered in setting fees, the lodestar amount subsumed many of those
                                                                  17
                                                                       factors. Hensley at 434, n. 9.11 The following year, another civil rights case, Blum vs. Stenson, 465
                                                                  18
                                                                       U.S. 886 (1984), provided the so-called lodestar calculation:
                                                                  19
                                                                                         The initial estimate of a reasonable attorney’s fee is properly
                                                                  20                     calculated by multiplying the number of hours reasonably expended on
                                                                                         the litigation times a reasonable hourly rate . . . . Adjustments to that
                                                                  21                     fee then may be made as necessary in the particular case.
                                                                  22
                                                                       10
                                                                          The original twelve Johnson/Kerr factors were: (1) time and labor required, (2) novelty and difficulty of the questions
                                                                  23   involved, (3) skill requisite to perform the legal services properly, (4) the preclusion of other employment by the attorney
                                                                       due to acceptance of the case, (5) the customary fee, (6) whether the fee is fixed or contingent,(7) time limitations
                                                                  24   imposed by the client or the circumstances, (8) amount involved and results obtained, (9) experience, reputation, and
                                                                       ability of the attorneys (10) the “undesirability” of the case, (11) nature and length of the professional relationship with
                                                                  25   client, and (12) awards in similar cases.
                                                                       11
                                                                  26     For discussion of the Johnson/Kerr subsumed factors, see Morales v. City of San Rafael, 96 F.3d 359, 364 n.9 (9th Cir.
                                                                       1996) (“among the subsumed factors … are: (1) the novelty and complexity of the issues, (2) the special skill and
                                                                  27   experience of counsel, (3) the quality of representation, and (4) the results obtained”); Davis v. City & County of San
                                                                       Francisco, 976 F.2d 1536, 1549 (9th Cir. 1992), vacated in part on other grounds, 984 F.2d 345 (9th Cir. 1993)
                                                                       (extending City of Burlington v. Dague, 505 U.S. 557, 567 (1992), which held that sixth factor “whether the fee is fixed
                                                                  28   or contingent, may not be considered in the lodestar calculation”).
                                                                                                                                   43
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                                                                   1   Blum at 888.

                                                                   2           Then in 1986, the Supreme Court more explicitly indicated that the factors relevant to

                                                                   3   determining fees should be applied using the lodestar approach, rather than an ad hoc approach.

                                                                   4   While holding that the attorney’s fee provision of the Clean Air Act, 42 U.S.C. § 7401 et seq.,

                                                                   5   should be interpreted like that of the Civil Rights Act, the Supreme Court expressly rejected the ad

                                                                   6   hoc application of the factors set forth in Johnson and thus Kerr, stating that “the lodestar figure

                                                                   7   includes most, if not all, of the relevant factors constituting a ‘reasonable’ attorney’s fee . . .. ”

                                                                   8   Pennsylvania v. Del. Valley Citizens’ Council for Clean Air, 478 U.S. 546, 563-66 (1986); see also

                                                                   9   Blanchard v. Bergeron, 489 U.S. 87, 94 (1989) (“we have said repeatedly that the initial estimate of

                                                                  10   a reasonable attorney’s fee is properly calculated by multiplying the number of hours reasonably

                                                                  11   expended on the litigation times a reasonable hourly rate”).
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                                                                  12           While the lodestar approach is the primary basis for determining fee awards under the federal
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                                                                  13   fee-shifting statutes and Bankruptcy Code, some of the Johnson/Kerr factors, previously applied in
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                                                                  14   an ad hoc fashion, can still apply in calculating the appropriate hourly rate to use under the lodestar

                                                                  15   approach. Buckridge, 367 B.R. 191, 201 (C.D. Cal. 2007) (“a court is permitted to adjust the lodestar

                                                                  16   up or down using a multiplier based on the criteria listed in §330 and its consideration of the Kerr

                                                                  17   factors not subsumed within the initial calculations of the lodestar”); Dang v. Cross, 422 F.3d 800,

                                                                  18   812 (9th Cir. 2005) (court may “adjust the lodestar amount after considering other factors that bear

                                                                  19   on the reasonableness of the fee”); Unsecured Creditors’ Comm. v. Puget Sound Plywood, Inc., 924

                                                                  20   F.2d 955, 960 (9th Cir. 1991) (“Although Manoa suggests that starting with the ‘lodestar’ is

                                                                  21   customary, it does not mandate such an approach in all cases.… Fee shifting cases are persuasive,

                                                                  22   but due to the uniqueness of bankruptcy proceedings, they are not controlling”).

                                                                  23           Attached hereto as Exhibit “C” is a copy of the Firm’s time reports and records kept in the

                                                                  24   regular course of business reflecting the services rendered and the expenses incurred by the Firm

                                                                  25   during the Second Fee Period; similar reports and records were set forth in the First Interim Fee

                                                                  26   Application. The Firm’s time reports are initially handwritten or recorded via computer by the

                                                                  27   attorney or paralegal performing the described services. The time reports are organized on a daily

                                                                  28   basis. The Firm is sensitive to issues of “lumping,” and unless time was spent in one time frame on

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                                                                   1   a variety of different matters, separate time entries are set forth in the time reports. The Firm’s

                                                                   2   charges for its professional services are based upon the time, nature, extent and value of such

                                                                   3   services and the cost of comparable services in the Southern California region, other than in a case

                                                                   4   under the Bankruptcy Code.

                                                                   5

                                                                   6                                               CONCLUSION

                                                                   7           This is the Firm’s second and final request for compensation and reimbursement of expenses.

                                                                   8   The Firm believes that the services rendered for which compensation is sought in this Application

                                                                   9   have been beneficial to the creditors, that the costs incurred have been necessary and proper, and that

                                                                  10   the sums requested for the services rendered and the costs incurred are fair and reasonable.

                                                                  11           WHEREFORE, Pachulski Stang Ziehl & Jones LLP respectfully requests that this Court
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   (1) allow on final basis, fees in the total amount of $1,404,583.50 and reimbursement of costs in the
                                        LOS ANGELES, CALIFORNIA




                                                                  13   amount of $74,768.49 for the period September 16, 2016, through and including November 30,
                                           ATTORNEYS AT LAW




                                                                  14   2018, for a total award of $1,479,351.99; (2) further allow on a final basis, fees in the total amount

                                                                  15   of $428,484.50 and reimbursement of costs in the amount of $18,207.08 for the period December 1,

                                                                  16   2018, through and including October 31, 2020, for a total award of $446,691.58; (3) further allow on

                                                                  17   a final basis the estimated amount of $20,000.00 in fees and expenses to be incurred between

                                                                  18   November 1, 2020 and December 22, 2020; (5) authorize and order payment to the Firm from the

                                                                  19   estate of the net amount, due to the Firm in the amount of $1,168,983.33; and (6) grant such other

                                                                  20   and further relief as is appropriate in the circumstances of this case.

                                                                  21

                                                                  22   Dated: December 1, 2020                        PACHULSKI STANG ZIEHL & JONES LLP
                                                                  23                                                  By:        /s/ Jeremy V. Richards
                                                                                                                                 Jeremy V. Richards
                                                                  24
                                                                                                                                 John W. Lucas
                                                                  25
                                                                                                                                 Attorneys for David K. Gottlieb, Chapter 7
                                                                  26                                                             Trustee
                                                                  27

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                                                                                                                            45
                                                                       DOCS_LA:334036.4 32274/001
                                                                   Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                  Desc
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                                                                   1                                DECLARATION OF JEREMY V. RICHARDS

                                                                   2           I, Jeremy V. Richards, declare as follows:

                                                                   3           1.         I am an attorney at law duly authorized to practice in the State of California and

                                                                   4   before this court. I am a partner of the law firm of Pachulski Stang Ziehl & Jones LLP, general

                                                                   5   bankruptcy counsel for the Trustee.

                                                                   6           2.         I have personal knowledge of the facts set forth in the foregoing Application and, if

                                                                   7   called upon as a witness, I could and would competently testify as to all of the matters stated therein.

                                                                   8           3.         I have personally reviewed the information contained in the Application, and believe

                                                                   9   its contents to be true and correct to the best of my knowledge, information and belief.

                                                                  10           4.         The Firm is not charging the Trustee for outgoing faxes. The Firm’s photocopying

                                                                  11   machines automatically record the number of copies made when the person that is doing the copying
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   enters the client’s account number into a device attached to the photocopier. The Firm summarizes
                                        LOS ANGELES, CALIFORNIA




                                                                  13   each client’s photocopying charges on a daily basis. Whenever feasible, the Firm sends large
                                           ATTORNEYS AT LAW




                                                                  14   copying projects to an outside copy service that charges a reduced rate for photocopying.

                                                                  15           5.         Regarding providers of on-line legal research (e.g., LEXIS and WESTLAW), the

                                                                  16   Firm charges the standard usage rates these providers charge for computerized legal research. Any

                                                                  17   volume discount received by the Firm is passed on to the client.

                                                                  18           6.         The Firm does not charge for local or long distance calls placed by attorneys from

                                                                  19   their offices. The Firm only bills its clients for the actual costs charged the Firm by teleconferencing

                                                                  20   services in the event that a multiple party teleconference is initiated through the Firm.

                                                                  21           7.         The Firm believes the foregoing rates are the market rates that the majority of law

                                                                  22   firms charge clients for such services. In addition, the Firm believes that such charges are in

                                                                  23   accordance with the American Bar Association’s (“ABA”) guidelines, as set forth in the ABA’s

                                                                  24   Statement of Principles, dated January 12, 1995, regarding billing for disbursements and other

                                                                  25   charges.

                                                                  26           8.         I have personally reviewed the bills in this matter, and the bills represent true and

                                                                  27   correct charges to the best of my knowledge, information and belief.

                                                                  28

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                                                                   Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18             Desc
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                                                                   1           9.         Local Bankruptcy Rule 2016-1(a) (1) (K) Compliance -- I have reviewed Local
                                                                   2   Bankruptcy Rule 2016-1 and the Application complies with Local Bankruptcy Rule 2016-1.
                                                                   3
                                                                               I declare under penalty of perjury under the laws of the State of California and the United
                                                                   4
                                                                       States of America that the foregoing is true and correct.
                                                                   5
                                                                               Executed this 1st day of December, 2020 at Los Angeles, California.
                                                                   6

                                                                   7
                                                                                                                              /s/ Jeremy V. Richards________________
                                                                   8                                                          Jeremy V. Richards

                                                                   9

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                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




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                                           ATTORNEYS AT LAW




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                    EXHIBIT A
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                     SUMMARY OF SERVICE AND EXPENSES OF
                       PACHULSKI STANG ZIEHL & JONES LLP
      IN RESPECT TO SOLYMAN YASHOUAFAR AND MASSOUD AARON YASHOUAFAR




      I. SERVICES

      Attorney / Paralegal* / Clerk**          Rate     Hours             Total

      December 1, 2018 - October 31, 2020


               ASSET ANALYSIS

               Richards, Jeremy V.             1050       0.30 $        315.00

                              SUB TOTAL                   0.30 $        315.00

               BANKRUPTCY LITIGATION

               Richards, Jeremy V.             1050      19.20   $    20,160.00
               Richards, Jeremy V.             1095     187.50   $   205,312.50
               Richards, Jeremy V.             1145      33.40   $    38,243.00
               Kevane, Henry C.                1025       0.20   $       205.00
               Brown, Kenneth H.                975       0.30   $       292.50
               Parker, Daryl G.                 975       1.70   $     1,657.50
               Lucas, John W.                   725       5.10   $     3,697.50
               Lucas, John W.                   775      25.90   $    20,072.50
               Lucas, John W.                   825       3.80   $     3,135.00
               Glazer, Gabriel I.               835       0.70   $       584.50
               Forrester, Leslie A.             425       1.60   $       687.50
               Dassa, Beth D.                   395      11.20   $     4,424.00

                              SUB TOTAL                 290.60 $     298,471.50

               CASE ADMINISTRATION

               Richards, Jeremy V.             1095       4.60   $     5,037.00
               Richards, Jeremy V.             1145       6.50   $     7,442.50
               Greenwood, Gail S.               825       0.20   $       165.00
               Lucas, John W.                   725       0.70   $       507.50
               Lucas, John W.                   775       4.40   $     3,410.00
               Dassa, Beth D.                   375       0.30   $       112.50
               Dassa, Beth D.                   395       5.00   $     1,975.00
               Dassa, Beth D.                   425       0.80   $       340.00
               Lockwood, Nancy P.               395       0.10   $        39.50

                              SUB TOTAL                  22.60 $      19,029.00
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                     SUMMARY OF SERVICE AND EXPENSES OF
                       PACHULSKI STANG ZIEHL & JONES LLP
      IN RESPECT TO SOLYMAN YASHOUAFAR AND MASSOUD AARON YASHOUAFAR




            CLAIMS ADMINISTRATION/OBJECTIONS

            Richards, Jeremy V.           1095       1.40   $    1,533.00
            Richards, Jeremy V.           1145       3.50   $    4,007.50
            Caine, Andrew W.              1095       0.50   $      547.50
            Greenwood, Gail S.             825      25.30   $   20,872.50
            Lucas, John W.                 825       0.30   $      247.50
            Dassa, Beth D.                 375       0.50   $      187.50
            Dassa, Beth D.                 395       0.20   $       79.00
            Dassa, Beth D.                 425      10.70   $    4,547.50

                         SUB TOTAL                  42.40 $     32,022.00

            COMPENSATION OF PROFESSIONALS/OTHERS

            Richards, Jeremy V.           1050       0.30   $      315.00
            Richards, Jeremy V.           1095       2.60   $    2,847.00
            Ramseyer, William L.           725      44.60   $   32,335.00
            Ramseyer, William L.           775      16.60   $   12,865.00
            Lucas, John W.                 775       2.60   $    2,015.00
            Lucas, John W.                 825       0.80   $      660.00
            Dassa, Beth D.                 375       9.80   $    3,675.00
            Dassa, Beth D.                 395      15.60   $    6,162.00
            Dassa, Beth D.                 425       1.40   $      595.00

                         SUB TOTAL                  94.30 $     61,469.00

            SETTLEMENT

            Lucas, John W.                 725       1.00 $        725.00
            Lucas, John W.                 775       3.80 $      2,945.00

                         SUB TOTAL                   4.80 $      3,670.00

            RETENTION OF PROFESSIONALS/OTHER

            Richards, Jeremy V.           1145       0.70 $        801.50
            Dassa, Beth D.                 395       0.20 $         79.00
            Dassa, Beth D.                 425       4.00 $      1,700.00

                         SUB TOTAL                   4.90 $      2,580.50
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                     SUMMARY OF SERVICE AND EXPENSES OF
                       PACHULSKI STANG ZIEHL & JONES LLP
      IN RESPECT TO SOLYMAN YASHOUAFAR AND MASSOUD AARON YASHOUAFAR




            ASSET DISPOSITION

            Richards, Jeremy V.                  1095     1.70   $      1,861.50
            Richards, Jeremy V.                  1145     6.70   $      7,671.50
            Lucas, John W.                        775     0.50   $        387.50
            Dassa, Beth D.                        425     2.10   $        892.50

                          SUB TOTAL                      11.00 $       10,813.00

            TAX ISSUES

            Richards, Jeremy V.                  1145     0.10 $         114.50

                          SUB TOTAL                       0.10 $         114.50



                          TOTAL HOURS                   471.00

                          TOTAL SERVICES                             $428,484.50

      II. EXPENSES


            Attorney Service                                     $      5,200.00
            Bloomberg                                            $         96.00
            Business Meals                                       $         18.00
            Conference Call                                      $        105.32
            Federal Express                                      $        164.12
            Filing Fee                                           $         27.30
            Lexis/Nexis                                          $      1,592.42
            Legal Vision/Attorney Messenger Service              $      1,605.00
            Outside Services                                     $      2,500.00
            Pacer - Court Research                               $      1,178.30
            Postage                                              $        372.57
            Reproduction Expense                                 $      1,726.40
            Reproduction/Scan Copy                               $      1,458.00
            Transcripts                                          $      2,163.65

                          TOTAL EXPENSES                         $     18,207.08
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In re
            Solyman Yashouafar and
            Massoud Aaron Yashouafar
                                                          CURRENT APPLICATION
                                                          Fees Requested                              $   428,484.50
                       Debtors                            Expenses Requested                          $    18,207.08


CHAPTER              7
Case No. 16-12255 [Jointly Administered]
Counsel for David K. Gottlieb, Chapter 11 Trustee


FEE APPLICATION        December 1, 2018 - October 31, 2020



ATTORNEYS
                                                                        Current
                                                Year                    Hours          Total for
                                               Admitted     Rate         Billed       Application
Richards, Jeremy V.                             1979      1050.00     19.80       $     20,790.00
Richards, Jeremy V.                             1979      1095.00     197.80      $    216,591.00
Richards, Jeremy V.                             1979      1145.00     50.90       $     58,280.50
Caine, Andrew W.                                1983      1095.00     0.50        $         547.50
Kevane, Henry C.                                1986      1025.00     0.20        $         205.00
Brown, Kenneth H.                               1981      975.00      0.30        $         292.50
Parker, Daryl G.                                1970      975.00      1.70        $       1,657.50
Glazer, Gabriel I.                              2006      835.00      0.70        $         584.50
Greenwood, Gail S.                              1994      825.00      25.50       $     21,037.50
Lucas, John W.                                  2004      725.00      6.80        $       4,930.00
Lucas, John W.                                  2004      775.00      37.20       $     28,830.00
Lucas, John W.                                  2004      825.00      4.90        $       4,042.50
Ramseyer, William L.                            1980      725.00      44.60       $     32,335.00
Ramseyer, William L.                            1980      775.00      16.60       $     12,865.00



PARAPROFESSIONALS*/CLERK**
                                                                       Current
                                                Year                   Hours           Total for
                                               Admitted       Rate      Billed        Application
Forrester, Leslie A.                             N/A         425.00      1.30     $         552.50
Forrester, Leslie A.                             N/A         450.00      0.30     $         135.00
Dassa, Beth D.                                   N/A         375.00     10.60     $       3,975.00
Dassa, Beth D.                                   N/A         395.00     32.20     $     12,719.00
Dassa, Beth D.                                   N/A         425.00     19.00     $       8,075.00
Lockwood, Nancy P.                               N/A         395.00      0.10     $           39.50

                                                     TOTAL HOURS         471.00

                                          TOTAL FEES REQUESTED                    $    428,484.50

                                         BLENDED HOURLY RATE                      $         909.73
                                 INCLUDING PARAPROFESSIONALS

                                         BLENDED HOURLY RATE                      $         988.92
                                 EXCLUDING PARAPROFESSIONALS
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                                                                                                     OF SERVICE
                                                                              PACHULSKI STANG ZIEHL & JONES LLP
                                                               IN RESPECT TO SOLYMAN YASHOUAFAR MASSOUD AARON YASHOUAFAR




         2020           January        February        March            April            May               June          July            August        September     October                                     TOTAL
Asset Disposition       $ 4,809.00     $    2,748.00   $     114.50     $          -     $     850.00      $    42.50    $       -       $      -      $       -     $       -                                   $     8,564.00
Bankruptcy Litigation   $ 1,488.50     $    8,611.00   $ 1,603.00       $ 17,877.00      $   8,363.50      $ 3,091.50    $    343.50     $      -      $       -     $    135.00                                 $   41,513.00
Case Administration     $      85.00   $       42.50   $      85.00     $     4,966.00   $      85.00      $      -      $ 2,175.50      $   343.50    $       -     $    165.00                                 $     7,947.50
Claims Administration   $        -     $         -     $        -       $        42.50   $        -        $    85.00    $ 5,952.50      $      -      $ 12,780.00   $ 11,362.50                                 $   30,222.50
Compensation of
Professionals           $    660.00    $         -     $          -     $          -     $           -     $ 12,317.50   $      705.00   $     85.00   $       -     $     42.50                                 $    13,810.00
Retention of
Professionals/Other     $     42.50    $    1,275.00   $   1,184.00     $          -     $           -     $       -     $         -     $        -    $       -     $         -                                 $     2,501.50
Tax Issues              $       -      $         -     $        -       $          -     $           -     $       -     $      114.50   $        -    $       -     $         -                                 $       114.50

Totals                  $   7,085.00   $   12,676.50   $   2,986.50     $   22,885.50    $      9,298.50   $ 15,536.50   $   9,291.00    $   428.50    $ 12,780.00   $ 11,705.00                                 $   104,673.00



         2019           January        February        March            April            May               June          July            August        September     October       November       December       TOTAL
Asset Disposition       $        -     $        -      $        -       $          -     $      219.00     $       -     $ 1,811.00      $    219.00   $       -     $       -                                   $     2,249.00
Bankruptcy Litigation   $ 2,941.00     $ 13,696.00     $        -       $       219.00   $   54,404.50     $ 12,921.00   $ 8,253.00      $ 50,900.50   $ 51,359.00   $ 30,912.00   $        -     $   6,838.00   $  232,444.00
Case Administration     $      79.00   $     118.50    $     536.50     $        79.00   $       39.50     $       -     $ 1,007.50      $ 1,314.00    $       -     $ 1,666.00    $   4,924.00   $     697.50   $   10,461.50
Claims Administration   $        -     $        -      $        -       $          -     $       79.00     $       -     $ 1,314.00      $    219.00   $       -     $       -                    $        -     $     1,612.00
Compensation of
Professionals/Other     $ 10,899.50    $     276.50    $          -     $          -     $           -     $       -     $         -     $        -    $       -     $         -   $    158.00    $        -     $    11,334.00
Retention of
Professionals/Others    $        -     $        -      $          -     $          -     $           -     $       -     $         -     $        -    $       -     $     39.50   $     39.50    $        -     $        79.00
Settlement              $   1,395.00   $     387.50    $          -     $          -     $           -     $       -     $         -     $        -    $       -     $       -     $       -      $        -     $     1,782.50

Totals                  $ 15,314.50    $   14,478.50   $       536.50   $       298.00   $     54,742.00   $ 12,921.00   $ 12,385.50     $ 52,652.50   $ 51,359.00   $ 32,617.50   $   5,121.50   $   7,535.50   $   259,962.00



         2018           January        February        March            April            May               June          July            August        September     October       November       December       TOTAL
Asset Analysis          $         -    $        -      $          -     $          -     $           -     $       -     $         -     $        -                                               $    315.00    $      315.00
Bankruptcy Litigation   $         -    $     657.00    $          -     $          -     $           -     $       -     $         -     $        -    $       -     $         -   $        -     $ 23,857.50    $   24,514.50
Case Administration     $         -    $        -      $          -     $          -     $           -     $       -     $         -     $        -    $       -     $         -   $        -     $    620.00    $      620.00
Claims Administration   $         -    $        -      $          -     $          -     $           -     $       -     $         -     $        -    $       -     $         -   $        -     $    187.50    $      187.50
Compensation of
Professionals/Other     $         -    $         -     $          -     $          -     $           -     $       -     $         -     $        -    $       -     $         -   $        -     $ 36,325.00    $    36,325.00
Settlement              $         -    $         -     $          -     $          -     $           -     $       -     $         -     $        -    $       -     $         -   $   1,162.50   $    725.00    $     1,887.50

Totals                  $         -    $     657.00    $          -     $          -     $           -     $       -     $         -     $        -    $       -     $         -   $   1,162.50   $ 62,030.00    $    63,849.50



GRAND TOTAL                                                                                                                                                                                                      $   428,484.50
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                                                                        SUMMARY OF     57 ofOF
                                                                                   EXPENSES  750
                                                      PACHULSKI STANG ZIEHL & JONES LLP
                                       IN RESPECT TO SOLYMAN YASHOUAFAR MASSOUD AARON YASHOUAFAR




         2020         January    February        March        April       May           June         July           August   September        October   November     December        TOTAL

Filing Fee           $      -    $      -    $        -   $       -   $         -   $   27.30    $          -   $       -    $        -   $         -   $       -    $       -   $      27.30
Legal Vision/Court
                     $   65.00   $   75.00   $ 172.50 $           -   $         -   $       -    $          -   $       -    $        -   $         -   $       -    $       -   $     312.50
Messenger
Lexis-Nexis          $ 152.84    $   77.32   $    15.10 $         -   $         -   $       -    $          -   $       -    $        -   $         -   $       -                $     245.26
Pacer (Court
                     $   61.80   $   24.40   $     7.60 $      8.80   $   17.40     $     8.30   $   56.80 $            -    $     16.40 $       73.10 $        -                $     274.60
Research)
Postage              $    5.85   $      -    $    27.80 $         -   $ 129.50      $       -    $          -   $       -    $        -   $         -   $       -    $       -   $     163.15
Reproduction
                     $   28.60   $   44.00   $ 256.20 $        4.80   $ 338.40      $       -    $          -   $       -    $        -   $         -   $       -    $       -   $     672.00
Expense
Reproduction/Scan
                     $   17.00   $ 136.70    $ 301.90 $           -   $   31.80     $   18.50    $    2.20 $          1.40   $        -   $         -   $       -    $       -   $     509.50
Copy
Conference Call      $    5.56   $      -    $        -   $ 11.51     $         -   $   26.25    $          -   $       -    $        -   $         -   $       -                $      43.32

Federal Express      $      -    $      -    $    20.20 $         -   $    9.73     $   19.79    $    9.97 $            -    $        -   $         -   $       -    $       -   $      59.69


Totals               $ 336.65    $ 357.42    $ 801.30 $ 25.11         $ 526.83      $ 100.14     $   68.97 $          1.40   $     16.40 $       73.10 $        -    $       -   $    2,307.32



       2019           January     February       March        April       May           June         July           August    September   October       November December            TOTAL
Attorney Service     $     -     $      -    $        -   $       -   $         -   $       -    $          -                $ 5,200.00 $       -       $     -  $      -        $    5,200.00

Bloomberg            $      -    $      -    $        -   $       -   $         -   $       -    $          -   $       -    $     96.00 $          -   $       -    $       -   $      96.00

Business Meals       $      -    $      -    $        -   $       -   $         -   $       -    $          -   $    18.00   $        -   $         -   $       -    $       -   $      18.00

Legal Vision/Court   $ 260.00    $   65.00   $        -   $       -   $ 130.00      $ 327.50     $          -   $    75.00   $    257.50 $     112.50   $       -    $       -   $    1,227.50
Messenger
Lexis-Nexis          $      -    $   18.44   $        -   $       -   $ 313.34      $   21.83    $          -   $ 137.52     $    650.85 $     139.32   $       -    $    23.06 $     1,304.36

Pacer (Court         $ 102.00    $   54.10   $     7.40 $      8.80   $   25.40     $ 244.80     $   10.00 $         16.10   $    106.20 $       72.50 $    138.80   $    42.90 $      829.00
Research)
Postage              $   16.27   $      -    $        -   $       -   $         -   $     5.20   $   12.00 $            -    $      2.85 $        1.15 $    159.20   $       -   $     196.67
Reproduction         $ 193.60    $   15.60   $        -   $       -   $   14.20     $ 112.60     $   60.20 $          4.20   $     27.60 $       16.80 $    539.40   $     7.20 $      991.40
Expense

Reproduction/Scan
Copy                 $   93.80   $   49.20   $    20.00 $         -   $ 159.20      $ 102.20     $ 139.40 $ 118.20           $     46.90 $       83.90 $     34.40   $    32.40 $      879.60
Conference Call      $      -    $      -    $        -   $       -   $    5.46     $       -    $     2.06 $        11.84   $        -   $      41.58 $      1.06   $       -   $      62.00

Federal Express      $      -    $      -    $    15.15 $         -   $         -   $       -    $   15.11 $            -    $        -   $      26.21 $     34.38   $       -   $      90.85

Transcripts          $      -    $      -    $        -               $         -   $       -    $          -   $ 502.20     $   1,661.45 $         -                $       -   $    2,163.65


Totals               $ 665.67    $ 202.34    $    42.55 $      8.80   $ 647.60      $ 814.13     $ 238.77 $ 883.06           $   8,049.35 $    493.96   $   907.24   $   105.56 $ 13,059.03
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                                                            MONTHLY          Page
                                                                    SUMMARY OF     58 ofOF
                                                                               EXPENSES  750
                                                   PACHULSKI STANG ZIEHL & JONES LLP
                                    IN RESPECT TO SOLYMAN YASHOUAFAR MASSOUD AARON YASHOUAFAR




         2018        January   February       March       April       May           June       July           August   September       October   November December           TOTAL
Legal Vision/Court   $    -    $     -    $       -   $       -   $         -   $      -   $          -   $       -    $      -    $         -   $     -    $    65.00 $       65.00
Messenger

Lexis-Nexis          $    -    $     -    $       -   $       -   $         -   $      -   $          -   $       -    $      -    $         -   $     -    $    42.80 $       42.80
Pacer (Court         $    -    $     -    $       -   $       -   $         -   $      -   $          -   $       -    $      -    $         -   $     -    $    74.70 $       74.70
Research)

Postage              $    -    $     -    $       -   $       -   $         -   $      -   $          -   $       -    $      -    $         -   $   1.00   $    11.75 $       12.75
Reproduction         $    -    $     -    $       -   $       -   $         -   $      -   $          -   $       -    $      -    $         -   $     -    $    63.00 $       63.00
Expense
Reproduction/Scan    $    -    $     -    $       -   $       -   $         -   $      -   $          -   $       -    $      -    $         -   $     -    $    68.90 $       68.90
Copy
Federal Express      $    -    $     -    $       -   $       -   $         -   $      -   $          -   $       -    $      -    $         -   $     -    $    13.58 $       13.58


Outside Services     $    -    $     -    $       -   $       -   $         -   $      -   $          -   $       -    $      -    $         -   $     -    $ 2,500.00   $   2,500.00


Totals               $    -    $     -    $       -   $       -   $         -   $      -   $          -   $       -    $      -    $         -   $   1.00   $ 2,839.73   $   2,840.73

GRAND TOTAL                                                                                                                                                              $ 18,207.08
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                    EXHIBIT B
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10100 Santa Monica Blvd.
13th Floor                       Jeremy V. Richards
Los Angeles, CA 90067-4003
                                 Tel: 310.277.6910    |   jrichards@pszjlaw.com



EDUCATION                        Mr. Richards has extensive experience representing the major
Oxford University (B.A., first
                                 constituencies in bankruptcies, out-of-court workouts, and related litigation,
class honors, Jurisprudence,     with an emphasis on debtor and creditors' committee representations in
1979; B.C.L., first class        large, complex reorganizations. He has written and lectured extensively on
honors, Law, 1980)               insolvency and insolvency-related issues, and has served as director and
                                 program committee chair for the Turnaround Management Association
Harvard University (LL.M.
1981)
                                 Southern California chapter. Mr. Richards mediates cases for the United
                                 States Bankruptcy Court of the Central District of California. He is a graduate
David Blank Open                 of Oxford University (B.A. 1979; B.C.L. 1980) and was a Frank Knox Fellow at
Scholarship in                   Harvard Law School (1980-81), where he received his LL.M. He holds an AV
Jurisprudence, 1976-79;
                                 Preeminent Peer Rating, Martindale-Hubbell's highest recognition for ethical
Frank Knox Fellowship,
1980-81
                                 standards and legal ability; has been named a "Super Lawyer" in the field of
                                 Bankruptcy & Creditor/Debtor Rights every year since 2007 in a peer survey
BAR AND COURT                    conducted by Law & Politics and the publishers of Los Angeles magazine,
ADMISSIONS                       an honor bestowed on only 5% of Southern California attorneys; and was
                                 selected by Best Lawyers in America for both Bankruptcy and Creditor
1982, California
                                 Debtor Rights / Insolvency and Reorganization Law and Litigation -
                                 Bankruptcy. Mr. Richards is admitted to practice in California, and is a
                                 resident in our Los Angeles office.


                                 Representations
                                 Chapter 11 debtors: Woodside Homes (formerly one of the nation's largest
                                 privately owned homebuilders); People's Choice Home Loan (formerly a
                                 major national subprime lender and loan originator); Thorpe Insulation
                                 Company (formerly one of the largest California-based installers and
                                 distributors of insulation products); Peregrine Systems (major software
                                 developer/distributor); Murray, Inc. (paper products); Precision Specialty
                                 Metals

                                 Creditors' committees: AMC Entertainment; Qintex Entertainment;
                                 Weintraub Entertainment; Leisure Technology; First Capital Holdings; Loews
                                 Cineplex



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                     Jeremy V. Richards (Cont.)



                     Bondholder & equity committees: Barry's Jewelers; Sun World

                     Trustees: Georges Marciano (Guess Jeans cofounder); Triad America
                     Corporation; Oppenheimer Industries

                     Examiners: Metropolitan Mortgage (real estate investment and finance
                     entity); DVI, Inc. (equipment financer)

                     Secured creditors in Meruelo Maddux Properties

                     Provides regular insolvency advice to a major Hollywood studio and other
                     significant entertainment industry participants

                     Lead insolvency counsel to a national homebuilder in the successful out-of-
                     court restructure of more than $400M of debt


                     Professional Affiliations
                     Mediator, United States Bankruptcy Court, Central District of California -
                     Certified mediator with expertise in collaborative and facilitative mediation
                     of complex disputes


                     Programs and Lectures
                     California Bankruptcy Forum (real estate bankruptcy issues); Turnaround
                     Management Association (debtor-in-possession financing issues); Beverly
                     Hills Bar Association (entertainment bankruptcy issues)




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10100 Santa Monica Blvd.
13th Floor                   Andrew W. Caine
Los Angeles, CA 90067-4003
                             Tel: 310.277.6910   |   acaine@pszjlaw.com



EDUCATION                    As chair of Pachulski Stang Ziehl & Jones’s postconfirmation practice group,
Northwestern University
                             Mr. Caine oversees the entire spectrum of claims and avoidance litigation
(B.A. 1980)                  for debtors, creditors committees, trustees, liquidation or post-confirmation
                             trusts, and defendants, from “mega cases” to smaller, individual matters.
University of California     While many lawyers handle this type of work few, if any, can produce
School of Law, Los Angeles
                             outstanding recoveries for all parties by calling upon the same case
(J.D. 1983)
                             experience and litigation background, or utilize the proprietary avoidance
Phi Beta Kappa               and preference claim analysis software that Mr. Caine has helped to
                             develop. He also spends considerable time as “general counsel,” assisting
BAR AND COURT                liquidating trustees in the administration of postconfirmation estates/
ADMISSIONS                   corporate winddowns, and representing individuals and business entities in
1983, California             avoidance and claims litigation defense. He brings an experienced,
                             responsive approach to all such disputes that might result in litigation, and
CLERKSHIPS                   lectures nationally on such topics.
Judicial extern, Arthur      In addition, Mr. Caine has lead responsibility in litigation concerning a
Alarcon (9th Cir.)           variety of business, bankruptcy, and commercial law issues, as well as the
                             representation of debtors, trustees, creditors, and committees in chapter 11
                             reorganization cases. He handles matters in state and federal courts, with an
                             emphasis on disputes tried in bankruptcy court, including contested
                             reorganization matters.

                             Mr. Caine has written numerous articles and often lectures nationally on
                             bankruptcy and litigation, and is a past president and former chair and vice
                             president of education of the American Bankruptcy Institute, the world's
                             largest organization of insolvency professionals, with over 12,000 members.
                             He is a member of the Registry of Mediators for the United States
                             Bankruptcy Court for the District of Delaware, and a former member of the
                             Los Angeles Superior Court panel of business law arbitrators. He holds an
                             AV Preeminent Peer Rating, Martindale-Hubbell's highest rating for ethical
                             standards and legal ability, and has been named a "Super Lawyer" in the
                             field of Bankruptcy & Creditor/Debtor Rights every year since 2007 in a peer
                             survey conducted by Law & Politics and the publishers of Los Angeles




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                     Andrew W. Caine (Cont.)



                     magazine, an honor bestowed on only 5% of Southern California attorneys.
                     He has been named to Best Lawyers in America every year since the 2016
                     edition for the practice area of Bankruptcy and Creditor Debtor Rights/
                     Insolvency and Reorganization Law.

                     Mr. Caine is a graduate of Northwestern University and received his J.D.
                     from UCLA. Mr. Caine is admitted to practice in California and is a resident
                     in our Los Angeles office.


                     Representations
                     Chapter 11 debtors in Murray, Inc.; Fleming Distribution; Breed
                     Technologies; AmeriServe Food Distribution; HomePlace of America,
                     Inacom Corporation; TWA

                     Creditors' committee in Circuit City Stores; CB Holding Corporation (fka
                     Charlie Brown's); Madison Associates, fka Pannell Kerr Foster

                     Litigation: Hilton Hotels and Bass Hotels


                     Professional Affiliations
                     Member, Registry of Mediators for the United States Bankruptcy Court for
                     the District of Delaware

                     Chair, 2004-2005, American Bankruptcy Institute (ABI)

                     President, 2002-2003, ABI

                     Vice President of Education, 1999-2001, ABI

                     Associate editor, American Bankruptcy Institute Journal

                     Executive editor, ABI Website Editorial Board


                     Publications
                     Co-Author, "The Influence of Outcomes and Procedures on Formal Leaders,"
                     41 Journal of Personality and Social Psychology (No. 4 1981)




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150 California Street
15th Floor                Henry C. Kevane
San Francisco, CA
94111-4500                Tel: 415.263.7000   |   hkevane@pszjlaw.com



EDUCATION                 Mr. Kevane is the managing partner of the firm's San Francisco office. He
Brown University (A.B.,
                          has worked on transactional and bankruptcy matters with clients from a
magna cum laude, 1982)    variety of industries. In 2011, the Daily Journal profiled him in a special
                          supplement as one of the top 25 municipal lawyers in California for his work
Southwestern Law School   in chapter 9 bankruptcy cases. Mr. Kevane was inducted into the American
(J.D., magna cum laude,
                          College of Bankruptcy as a fellow in 2015. In 2020, he was selected as a
1986)
                          fellow of the American Bar Foundation, a global honorary society of
BAR AND COURT
                          lawyers, judges, law faculty and legal scholars who have demonstrated
ADMISSIONS                outstanding dedication to the highest principles of the legal profession and
                          to the welfare of society. Mr. Kevane is a graduate of Brown University and
1986, California          received his J.D. from Southwestern Law School, where he was editor in
                          chief of the Southwestern University Law Review. He holds an AV
                          Preeminent Peer Rating, Martindale-Hubbell's highest recognition for ethical
                          standards and legal ability, has been listed in Best Lawyers in America for
                          Bankruptcy and Creditor Debtor Rights / Insolvency and Reorganization Law
                          since 2006, and and is listed among the "Best Lawyers in America" and "San
                          Francisco's Best Lawyers" for his work in bankruptcy and creditor-debtor
                          rights law. Mr. Kevane is admitted to practice in California.


                          Representations
                          Creditors' committees in SeraCare Life Sciences, Guy F. Atkinson Company,
                          America West Airlines

                          Chapter 11 debtors in Verity Health System, Deltagen, Thorpe Insulation,
                          Point Blank Solutions, Champion Enterprises, Aegis Mortgage, Yipes
                          Communications, E/O Networks, Worlds of Wonder, Frederick & Nelson

                          Creditors' committees in the municipal restructurings of the County of
                          Orange, Heffernan Memorial Hospital District (chapter 9 debtor located in
                          Calexico, California), Palm Drive Healthcare District; West Contra Costa
                          Healthcare District, Valley Health System Adair County Hospital District
                          (Kentucky)



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                     Henry C. Kevane (Cont.)



                     Debtor's counsel to Mendocino Coast Health Care District in its chapter 9
                     case


                     Professional Affiliations
                     Fellow, American College of Bankruptcy

                     Fellow, American Bar Foundation

                     Director, Business Law Today (ABA Business Law Section)

                     Vice-chair, Business Bankruptcy Committee of the ABA Business Law
                     Section (2020 - present)

                     Chair, Asset Forfeiture & Bankruptcy Subcommittee of the Bankruptcy Court
                     Structure & Insolvency Committee of the ABA Business Law Section (2017-
                     present)

                     Co-chair, Programs Subcommittee of the ABA Business Law Section
                     Business Bankruptcy Committee (2015-2020)

                     Chair, Legislative Subcommittee of the ABA Business Law Section Business
                     Bankruptcy Committee (2014-15)

                     Chair, Bankruptcy Committees Subcommittee of the ABA Business Law
                     Section Business Bankruptcy Committee (2013-14)

                     Vice-chair, Individual Chapter 11 Subcommittee of the ABA Business Law
                     Section Business Bankruptcy Committee (2011-13)

                     Chair, State Bar of California Committee on Federal Courts (1996-2001)

                     Chair, State Bar of California Business Law Section Insolvency Law
                     Committee (1995-1999)


                     Programs and Lectures
                     American Intellectual Property Law Association, American Conference
                     Institute, ALI/ABA, Association of Insolvency & Restructuring Advisors


                     Publications
                     Asset Forfeiture and Insolvency: A Parallel Case Management Guide
                     American Bar Association Business Law Section, October 2019
                     Is a Bankruptcy Court’s Determination of Insider Status Reviewed Under the
                     Rigorous De Novo Standard or the More Deferential Clear-Error Standard?
                     45 ABA PREVIEW of United States Supreme Court Cases 42 (2017), October
                     27, 2017




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                     Henry C. Kevane (Cont.)



                     Does the FDCPA Cover a Party That Purchases Defaulted Debt for Its Own
                     Account?
                     44 ABA PREVIEW of United States Supreme Court Cases 218 (2017), April
                     14, 2017
                     Does the Bankruptcy Code Preclude Puerto Rico From Adopting a Local
                     Insolvency Scheme for Restructuring the Debts of Its Public Utilities?
                     43 PREVIEW of United States Supreme Court Cases 200 (2016), March 22,
                     2016
                     Legislative Update: "Indicative Rulings" Under New Bankruptcy Rule 8008
                     ABA Business Bankruptcy Committee e-Newsletter, July 2015
                     No More Ad Lib: The Nuts and Bolts of Ad Hoc Committees
                     Business Law Today, December 2014
                     Legislative Update: Senate Bill 2418
                     Bankruptcy Fairness and Employee Benefits Protection Act
                     ABA Business Bankruptcy Committee of the Business Law Section, June 11,
                     2014
                     Bond Insurers Become Active Participants in Chapter 9s
                     26 Journal of Corporate Renewal 24, May 2013
                     Debtor-in-Possession Financing
                     Funding a Chapter 11 Case
                     ABI, December 2012
                     What Just Happened? How Asset Forfeiture Affects Bankruptcy Distributions
                     Business Law Today, June 2012
                     Legislative Update: California Assembly Bill 506 on Bankruptcy Code
                     Chapter 9 Eligibility
                     American Bar Association Business Law Section Business Bankruptcy
                     Committee Newsletter, January 2012
                     Deploying the “Prepackaged” Plan of Adjustment in Chapter 9
                     Chapter 9 Bankruptcy Strategies (Thomson Reuters), October 2011
                     Across the Border: IP Entanglements in Chapter 15 Bankruptcies
                     May 2011
                     Chapter 9 Municipal Bankruptcy – The New “New Thing”?
                     Parts I & II
                     20 Business Law Today (May and June 2011)
                     "Legislative Solutions in the Orange County Chapter 9 Case," published in
                     course handbook, The Aftermath of Bankruptcy: Legislative Reform -- State
                     and Federal (1996)
                     "The Treatment of Financing Leases in a Chapter 9 Bankruptcy Case," in AGL
                     & F Tax-Exempt Leasing Letter (1996)
                     "The Legislative Side of the Orange County Chapter 9 Case" for Sacramento
                     County Bar Association (1996)
                     "Now What? Three Questions Facing the Municipal Bondholder Upon
                     Commencement of a Chapter 9 Case," published in course handbook,



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                     Henry C. Kevane (Cont.)



                     Municipal Bond Law for the Bankruptcy Practitioner (1996)
                     "Fee Shifting by (1) Oversecured Creditors in Bankruptcy Cases & (2)
                     Prevailing Parties in Civil Litigation," published in course handbook Getting
                     Paid What You Are Worth (1996)
                     "The Newsgatherer's Shield: Why Waste Space in the California
                     Constitution?" 15 Southwestern University Law Review 527 (1985)
                     Coauthor, "Principles of Equitable Subordination Under Section 510 of the
                     Bankruptcy Code," in Selected Issues in Bankruptcy Practice (1991)
                     Contributing author, Bankruptcy Practice: Annual Recent Developments
                     (Calif. Contin. Ed. Bar 1992-1998)




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150 California Street
15th Floor                       Kenneth H. Brown
San Francisco, CA
94111-4500                       Tel: 415.263.7000   |   kbrown@pszjlaw.com



EDUCATION                        Mr. Brown has extensive experience in bankruptcy and commercial
University of California at
                                 litigation. He has represented and advised debtors, unsecured creditors,
Santa Barbara (B.A., with        secured creditors, insurers, creditors’ committees, and trustees in large
high honors, 1977)               complex chapter 11 and chapter 15 cases and in related litigation in both
                                 state and federal court. Mr. Brown leads the firm’s litigation team in
Hastings College of Law,
                                 representations of the sex-abuse survivor committees in the chapter 11
University of California (J.D.
1981)
                                 bankruptcy cases involving the Roman Catholic Church. These matters
                                 involve the intersection of the First Amendment and the Religious Freedom
BAR AND COURT                    Restoration Act (“RFRA”) with Bankruptcy Code and focus on recovering
ADMISSIONS                       assets transferred by the debtor prior to filing bankruptcy as part of asset
                                 protection scheme to protect the assets from the claims of the victims of sex
1981, California
                                 abuse. The representations also require expertise in identifying, analyzing,
                                 and prosecuting claims against the management of the debtor for allowing
                                 or facilitating the sexual misconduct and abuse. Mr. Brown led the team that
                                 obtained a judgment in one of these cases worth in excess of $100 million.
                                 Mr. Brown also specializes in defending employers in WARN Act class-
                                 action litigation and advising them on the intersection of the WARN Act and
                                 bankruptcy. Mr. Brown also has extensive experience representing
                                 professional firms and their principals in dissolutions and bankruptcies.

                                 He is a graduate of U.C. Santa Barbara and received his J.D. at Hastings
                                 College of the Law, where he was articles editor for the Hastings Law
                                 Journal. Mr. Brown is a former director of the Bay Area Bankruptcy Forum, a
                                 former member of the State Bar of California Business Law Section
                                 Subcommittee on Debtor/Creditor Relations and Bankruptcy, and frequently
                                 serves as a mediator for the Bankruptcy Dispute Resolution Program for the
                                 Northern District of California and the San Francisco Bar Association. He
                                 holds an AV Preeminent Peer Rating, Martindale-Hubbell's highest
                                 recognition for ethical standards and legal ability. He has been listed in
                                 every editions of Best Lawyers in America since 2018 for his work in
                                 Bankruptcy and Creditor Debtor Rights / Insolvency and Reorganization Law
                                 and Litigation - Bankruptcy. Mr. Brown is admitted to practice in California
                                 and is a resident in our San Francisco office.



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                     Kenneth H. Brown (Cont.)



                     Representations
                     Law firm bankruptcies: Brobeck, Phleger & Harrison; Heller Ehrman, Landels
                     Ripley & Diamond

                     Creditors' committees in Boy Scouts of America; TK Holdings Inc. (Takata
                     Americas); The Weinstein Company ; USA Gymnastics

                     Committees in Catholic church bankruptcies: Christian Brothers Institute;
                     Archdiocese of Santa Fe; Archdiocese of Milwaukee; Catholic Diocese of
                     Fairbanks; Catholic Diocese of Wilmington; Diocese of Great Falls; Roman
                     Catholic Diocese of Rochester; Roman Catholic Diocese of San Diego

                     Cross-border case: Katsumi Iida


                     Professional Affiliations
                     Director, Bay Area Bankruptcy Forum (2001-)

                     Mediator, San Francisco Bar Association, Early Settlement Program
                     (1997-2003)

                     Bankruptcy Dispute Resolution Program, United States Bankruptcy Court for
                     the Northern District of California (1994-)

                     Member, State Bar of California Business Law Section Debtor/Creditor
                     Committee (1999-2002)


                     Programs and Lectures
                     Lecturer, American Bankruptcy Institute; Association of Insolvency &
                     Restructuring Advisors; Bar Association of San Francisco; Santa Clara
                     County Bar Association


                     Publications
                     The Estate's Potential Claims Against Management for Failure to Prevent
                     Sexual Misconduct
                     356 American Bankruptcy Trustee Journal 30 (No. 3 Summer 2019),
                     September 2019
                     Stranger in Paradise? The Role of a Foreign Bankruptcy Trustee in Chapter
                     15
                     27 ABI Journal No. 3 at 26 (April 2008), April 2008
                     "Discovery in Debt Collection Actions," in Debt Collection Practice in
                     California (2d ed. 2000)
                     "Tenants in Distress: Pitfalls and Opportunities for the Retail Landlord,"
                     Shopping Center Business (1998).
                     "Law Firm Break-Ups and Bankruptcies," 3 Legal Malpractice Report (No. 2
                     1992)




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                     Co-author, "Dissolutions of Professional Firms Under State Law," in program
                     materials for the Third Annual Northwest Bankruptcy Institute (1989)




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10100 Santa Monica Blvd.
13th Floor                   Daryl G. Parker
Los Angeles, CA 90067-4003
                             Tel: 310.277.6910   |   dparker@pszjlaw.com



EDUCATION                    Mr. Parker practices in the area of complex commercial, business, and real
Stanford University (B.A.,
                             estate litigation and transactions, including business-entity formation. He
with distinction, 1966)      also has extensive experience in all aspects of maritime law, including
                             litigation and transactions involving international cargo shipment and sales,
Stanford Law School (J.D.    bills of lading and letters of credit, ship mortgages, and ship sales. He has
1969)
                             worked on a number of real estate insolvency cases and loan workouts
Phi Beta Kappa               involving developers and homebuilders, dealing with loans, deeds of trust,
                             and priority issues. Mr. Parker has also assisted landlords and tenants where
BAR AND COURT                an actual or threatened tenant insolvency was involved. Mr. Parker is a
ADMISSIONS                   graduate of Stanford University (A.B. with distinction; JD) and a member of
1970, California             Phi Beta Kappa. He is admitted to practice in California, and holds an AV
                             Preeminent Peer Rating, Martindale-Hubbell's highest recognition for ethical
                             standards and legal ability. He was selected for inclusion in the 2018 and
                             2019 editions of Best Lawyers in America for his work in Bankruptcy and
                             Creditor Debtor Rights/Insolvency and Reorganization Law and Commercial
                             Transactions/UCC Law . Mr. Parker is a member of the American Association
                             for the Advancement of Science and the Maritime Law Association of the
                             United States and is a resident of our Los Angeles office.


                             Professional Affiliations
                             Member, American Association for the Advancement of Science

                             Member, Maritime Law Association of the United States




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10100 Santa Monica Blvd.
13th Floor                     Gabriel I. Glazer
Los Angeles, CA 90067-4003
                               Tel: 310.277.6910     |   gglazer@pszjlaw.com



PRACTICES                      Mr. Glazer regularly advises hedge funds, bondholders, and other creditors
Investors in Distressed Debt
                               and investors with respect to a wide variety of issues affecting distressed
                               entities, including covenant restrictions in credit agreements and
EDUCATION                      indentures, intercreditor disputes, collateral issues, and in related litigation.
                               Mr. Glazer counsels secured and unsecured creditors and equity holders
University of Arizona (B.A.,   both prior to and following the filing of a bankruptcy case, in out-of-court
magna cum laude, 2001)
                               workouts, exchange transactions, and in connection with other corporate
University of Southern         liability management transactions. He also represents various other parties
California Law School (J.D.    in chapter 11 bankruptcy cases, including operating debtors, creditor and
2006)                          equity committees, and asset purchasers. Mr. Glazer has guided clients
                               through some of the largest and most complex bankruptcy cases in the
BAR AND COURT                  country, including the PG&E, Caesars, and Lehman Brothers cases. He
ADMISSIONS
                               remains on the cutting edge of issues affecting distressed debt and has
2006, California               been actively involved in new legal developments affecting this area.

                               Mr. Glazer received his J.D. from the University of Southern California Law
                               School, where he served on the Southern California Law Review and
                               graduated in the top 10% of his class. He received his B.A., magna cum
                               laude, from the University of Arizona. In 2017, he was a recipient of the
                               M&A Advisor's 8th Annual Emerging Leaders Award, which recognizes the
                               achievements of young turnaround and financing professionals who have
                               reached a significant level of success and have made a notable contribution
                               to their industry and community. He has been selected for inclusion in Best
                               Lawyers in America every year since 2017 for his work in Bankruptcy and
                               Creditor Debtor Rights / Insolvency and Reorganization Law, as well as
                               Litigation - Bankruptcy. He was also named a “Southern California Super
                               Lawyer” in 2020; previously he was named a "Southern California Super
                               Lawyers Rising Star" every year between 2013 and 2019, and was included
                               on a select list of 100 lawyers receiving the highest point totals in the
                               Southern California Rising Stars nomination, research, and blue-ribbon
                               review process from 2015 - 2018.




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                     Gabriel I. Glazer (Cont.)



                     Mr. Glazer frequently speaks to the legal and investment communities about
                     issues and developments relevant to corporate bankruptcy and distressed
                     investments. In addition to speaking regularly to investment funds, Mr.
                     Glazer has spoken on multiple occasions at events sponsored by the State
                     Bar of California and the Financial Lawyers Conference. Mr. Glazer served
                     previously as chair of the Commercial Transactions Committee of the State
                     Bar of California Business Law Section and was the principal author of a
                     Statement of Position that facilitated the adoption of the Uniform Voidable
                     Transactions Act (which amended the former Uniform Fraudulent Transfer
                     Act) in California. He is admitted to practice in California and is resident in
                     our Los Angeles office.


                     Professional Affiliations
                     Member, Financial Lawyers Conference Board of Governors (2014-2017)

                     Chair, Commercial Transactions Committee of the State Bar of California
                     Business Law Section (2013-2014)

                     Member, International Insolvency Institute




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150 California Street
15th Floor                    John W. Lucas
San Francisco, CA
94111-4500                    Tel: 415.217.5108    |   jlucas@pszjlaw.com



EDUCATION                     Mr. Lucas represents debtors, creditors' committees, creditors, and trustees
University of California at
                              in chapter 11 cases and companies in out-of-court restructurings with an
Los Angeles (B.A. magna       emphasis on transportation, financial products, food services, retail,
cum laude,1992)               automotive, and technology. Mr. Lucas is a graduate of the University of
                              California at Los Angeles and received his J.D. from the University of
University of Oregon School
                              Oregon School of Law and was a member of the Oregon Law Review. Mr.
of Law (J.D. 2004)
                              Lucas is admitted to practice in California and New York and is a resident in
BAR AND COURT
                              our San Francisco office.
ADMISSIONS
2010, California              Representations
2005, New York                Chapter 11 debtors: Sedgwick LLP; Kona Grill; Tintri Inc.; A.M. Castle & Co.;
                              Blue Earth; NewZoom Inc.; Response Genetics; Tri-Valley Learning
CLERKSHIPS
                              Corporation; Elephant Bar Restaurants; Z'Tejas Restaurants; Highway
Law clerk, Judge Robert D.    Technologies; American Suzuki Motor Corporation; Global Aviation; Mesa
Drain (Bankr. S.D.N.Y.        Airlines; Lehman Brothers Holdings; Champion Enterprises; Heller Ehrman
2004-06)                      LLP; Lexington Precision; Silicon Graphics

                              Chapter 11 creditors: Cottonwood Cajon in Premier Golf Properties; Lehman
                              Commercial Paper Inc. and Lehman ALI Inc. in Palmdale Hills Property LLC
                              (“SunCal”); indenture trustee in Calpine; bondholders in Portrait
                              Corporations of America

                              Creditors’ committees: Boy Scouts of America; Uni-Pixel; Rdio Inc.; Yellow
                              Cab of San Francisco; Champps/Fox & Hound Restaurants; Trident
                              Microsystems (Far East) Ltd.

                              Trustees: Yashouafar; Evergreen International Aviation; Exigen (USA)

                              Section 363 asset sales: Represented buyers in Bartlett Mgt. Services (KFC
                              franchise); Quality Discount Ice Cream; Nurserymen’s Exchange




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                     John W. Lucas (Cont.)



                     Out-of-court restructurings: Security Capital Assurance Ltd. and a
                     professional sports franchise


                     Professional Affiliations
                     Board member, American Bankruptcy Institute (2019-)

                     Co-chair, American Bankruptcy Institute Annual Southwest Bankruptcy
                     Conference (2014-18)

                     Advisory Board Member, American Bankruptcy Institute Annual Southwest
                     Bankruptcy Conference (2011-14)


                     Publications
                     Debtor-in-Possession Financing
                     Funding a Chapter 11 Case
                     ABI, December 2012
                     Creditor's Self-Interest Precludes Fee Reimbursement From the Estate
                     September 2012
                     First Day Motions (3d ed.)
                     A Guide to the Critical First Days of a Bankruptcy Case
                     American Bankruptcy Institute, June 2012
                     "Approval of the DIP Financing Order" in Debtor-in-Possession Financing:
                     Funding a Chapter 11 Case (ABI 2012)
                     Coauthor, "The Role and Retention of the Chief Restructuring Officer," in The
                     Americas Restructuring and Insolvency Guide (2008/2009)
                     "The Article 9 Buyer’s Seller Rule & The Justification for Its Harsh Effects,"
                     83 Oregon Law Review 289 (2004)




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150 California Street
15th Floor                   Gail S. Greenwood
San Francisco, CA
94111-4500                   Tel: 415.263.7000    |   ggreenwood@pszjlaw.com



EDUCATION                    Ms. Greenwood specializes in bankruptcy-related litigation. She has over
Amherst College (B.A.,
                             eighteen years' experience in civil litigation and bankruptcy, including
magna cum laude, 1988)       representation of chapter 11 trustees, debtors, creditors, and creditors'
                             committees in significant business bankruptcies. Ms. Greenwood has won
University of California     summary judgments in the prosecution of multimillion-dollar breach-of-
School of Law, Los Angeles
                             fiduciary-duty claims and defense of multimillion-dollar preference and
(J.D. 1993).
                             fraudulent-transfer claims. She has also successfully prosecuted state-court
BAR AND COURT
                             fraud and alter-ego claims against a series of ever-changing private entities.
ADMISSIONS                   Ms. Greenwood is a magna cum laude graduate of Amherst College and
California, 1994             received her J.D. from UCLA School of Law, where she was editor of the
                             Environmental Law Journal. She is listed in the 2019 edition of Best Lawyers
                             in America for her work in Bankruptcy and Creditor Debtor Rights /
                             Insolvency and Reorganization Law. She is admitted to practice in California
                             and is a resident of our San Francisco office.


                             Representations
                             Creditors' committees and liquidating trustees: Liberty Asset Management,
                             Rdio Inc., Fox & Hound/Champps, ERG Intermediate Holdings, The Billing
                             Resource, Clement and Ann Marie Carinalli, Humboldt Creamery, At Home

                             Chapter 11 debtors: SFX Entertainment, NewZoom Inc., Heller Ehrman LLP


                             Professional Affiliations
                             Member, Bar Association of San Francisco Commercial Law & Bankruptcy
                             Committee (2008-)

                             Member, International Women's Insolvency & Restructuring Confederation
                             (IWIRC) (Membership Chair, 2019; Events co-chair, 2018; Secretary, 2016-17)




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10100 Santa Monica Blvd.
13th Floor                    William Ramseyer
Los Angeles, CA 90067-4003
                              Tel: 310.277.6910   |   wramseyer@pszjlaw.com



EDUCATION                     Mr. Ramseyer has had experience in many insolvency and litigation matters.
University of California at
                              He received his undergraduate degree from UCLA and his J.D. from the
Los Angeles (B.S.             University of Southern California. He holds an AV Preeminent Peer Rating,
Engineering, 1976)            Martindale-Hubbell's highest recognition for ethical standards and legal
                              ability, and was included in the 2019 edition of Best Lawyers in America for
University of Southern
                              bankruptcy litigation. Mr. Ramseyer is admitted to practice in California.
California Law School (J.D.
1980)
Order of the Coif

BAR AND COURT
ADMISSIONS
California, 1980




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                    EXHIBIT C
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     December 31, 2018
D. Gottlieb & Associates                                             Invoice 121032
17000 Ventura Blvd #300                                              Client  32274
Encino, CA 91316                                                     Matter  00001
                                                                             JVR
RE: Yashouafar

 ___________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 12/31/2018
                 FEES                                                 $62,030.00
                 EXPENSES                                              $2,829.45
                 TOTAL CURRENT CHARGES                                $64,859.45

                 BALANCE FORWARD                                    $1,478,443.22
                 TOTAL BALANCE DUE                                  $1,543,302.67
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  Summary of Services by Task Code
  Task Code            Description                                            Hours                       Amount

 AA                    Asset Analysis/Recovery[B120]                           0.30                       $315.00
 BL                    Bankruptcy Litigation [L430]                           24.30                  $23,857.50
 CA                    Case Administration [B110]                              1.00                       $620.00
 CO                    Claims Admin/Objections[B310]                           0.50                       $187.50
 CP                    Compensation Prof. [B160]                              54.30                  $36,175.00
 CPO                   Comp. of Prof./Others                                   0.40                       $150.00
 SE                    Settlement                                              1.00                       $725.00
                                                                              81.80                  $62,030.00

  Summary of Services by Professional
  ID           Name                                    Title          Rate             Hours              Amount

 BDD           Dassa, Beth D.                          Paralegal     375.00            10.60         $3,975.00
 JVR           Richards, Jeremy V.                     Partner      1050.00            19.80        $20,790.00
 JWL           Lucas, John W.                          Partner       725.00             6.80         $4,930.00
 WLR           Ramseyer, William L.                    Counsel       725.00            44.60        $32,335.00
                                                                                      81.80          $62,030.00




 Summary of Expenses
 Description                                                                                              Amount

Federal Express [E108]                                                                                     $13.58



Lexis/Nexis- Legal Research [E                                                                             $42.80



Legal Vision Atty Mess Service                                                                             $65.00



Outside Services                                                                                      $2,500.00
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 Summary of Expenses
 Description                                                                                   Amount



Pacer - Court Research                                                                          $74.70



Postage [E108]                                                                                   $1.47



Reproduction Expense [E101]                                                                     $63.00



Reproduction/ Scan Copy                                                                         $68.90



                                                                                           $2,829.45
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                                                                                       Hours           Rate        Amount

  Asset Analysis/Recovery[B120]
12/13/2018    JVR     AA        Review draft accounting of liquidation proceeds         0.30      1050.00          $315.00
                                distribution.
                                                                                        0.30                       $315.00

  Bankruptcy Litigation [L430]
12/07/2018    JVR     BL        Prepare for hearings on summary judgment motions.        1.30     1050.00       $1,365.00
12/08/2018    JVR     BL        Review and analyze Court's tentative ruling             1.50      1050.00       $1,575.00
                                (Elkwood litigation).
12/09/2018    JWL     BL        Review tentative ruling and respond to same with J.     1.50       725.00       $1,087.50
                                Richards.
12/10/2018    JVR     BL        Prepare for oral argument (Elkwood litigation).          6.50     1050.00       $6,825.00
12/10/2018    JWL     BL        Review tentative and prepare for summary judgment        2.00      725.00       $1,450.00
                                hearing in Elkwood matter (.9); discuss same with J.
                                Richards (.8).
12/11/2018    JVR     BL        Attend hearing on cross motions for summary              6.00     1050.00       $6,300.00
                                judgment (5.5); Telephone D. Gottlieb re same (.3);
                                Conference with J. Lucas re same (.2).
12/11/2018    JWL     BL        Call with J. Richards regarding Elkwood summary          0.40      725.00          $290.00
                                judgment hearing.
12/12/2018    JVR     BL        Research ancillary remedies available to parties in      0.60     1050.00          $630.00
                                the event title is quieted in favor of trustee
                                (Rexford).
12/13/2018    JVR     BL        Research and analysis re Elkwood "redemption"            3.00     1050.00       $3,150.00
                                claim.
12/13/2018    JWL     BL        Research regarding foreclosure and reimbursement         1.20      725.00          $870.00
                                issues.
12/19/2018    JVR     BL        Review testimony of J. Nourafshan re Rexford lease.      0.30     1050.00          $315.00
                                                                                       24.30                   $23,857.50

  Case Administration [B110]
12/17/2018    JWL     CA        Draft case status report.                               0.70       725.00          $507.50
12/18/2018    BDD     CA        Confer with J. Lucas and M. DesJardien re               0.20       375.00           $75.00
                                calendaring matters
12/20/2018    BDD     CA        Attend to misc. calendaring matters                      0.10      375.00           $37.50
                                                                                        1.00                       $620.00
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                                                                                        Hours           Rate        Amount

  Claims Admin/Objections[B310]
12/11/2018    BDD     CO        Update excel spreadsheet re claims                        0.50      375.00          $187.50
                                                                                         0.50                       $187.50

  Compensation Prof. [B160]
12/12/2018    BDD     CP        Email L. Gardizabal re PSZJ 1st interim fee              0.10       375.00           $37.50
                                application
12/12/2018    BDD     CP        Email J. Richards re PSZJ 1st interim fee application    0.10       375.00           $37.50
12/12/2018    BDD     CP        Begin reviewing bills (9/16/16 - 11/30/18) in            1.10       375.00          $412.50
                                preparation of PSZJ 1st interim fee application
12/12/2018    BDD     CP        Email J. RIchards re Nov. invoice                         0.10      375.00           $37.50
12/12/2018    BDD     CP        Email B. Ramseyer re PSZJ 1st interim fee                 0.10      375.00           $37.50
                                application
12/12/2018    BDD     CP        Email M. Kulick re PSZJ 1st interim fee application       0.10      375.00           $37.50
12/13/2018    BDD     CP        Work on draft of PSZJ 1st interim fee application         5.40      375.00       $2,025.00
                                (5.3); email W. Ramseyer re same (.10)
12/15/2018    WLR     CP        Review correspondence from Beth Dassa re invoices         0.20      725.00          $145.00
12/17/2018    JVR     CP        Draft e-mail to W. Ramseyer outlining facts for first     0.30     1050.00          $315.00
                                interim fee application.
12/17/2018    WLR     CP        Correspondence to Jeremy Richards re case                 0.20      725.00          $145.00
                                narrative
12/17/2018    WLR     CP        Review 1st interim fee application case narrative         1.00      725.00          $725.00
12/17/2018    WLR     CP        Review correspondence from Jeremy Richards re             0.30      725.00          $217.50
                                case assets and litigation
12/18/2018    WLR     CP        Draft 1st interim fee application                         1.50      725.00       $1,087.50
12/19/2018    WLR     CP        Draft 1st interim fee application                         0.40      725.00          $290.00
12/22/2018    WLR     CP        Draft 1st interim fee application                         5.70      725.00       $4,132.50
12/23/2018    WLR     CP        Draft 1st interim fee application                         0.50      725.00          $362.50
12/24/2018    WLR     CP        Draft 1st interim fee application                         4.40      725.00       $3,190.00
12/25/2018    WLR     CP        Draft 1st interim fee application                         5.50      725.00       $3,987.50
12/25/2018    WLR     CP        Correspondence to Beth Dassa and Jeremy Richards          0.20      725.00          $145.00
                                re Abselet settlement and asset valuation issues
12/26/2018    WLR     CP        Review correspondence from Beth Dassa re Abselet         0.10       725.00           $72.50
                                settlement
12/26/2018    WLR     CP        Review correspondence from Jeremy Richards re            0.10       725.00           $72.50
                                asset status and valuations
12/26/2018    WLR     CP        Draft 1st interim fee application                        4.50       725.00       $3,262.50
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                                                                                    Hours           Rate        Amount
12/26/2018    BDD     CP        Research Abselet settlement motion and email W.      0.20       375.00           $75.00
                                Ramseyer re same
12/26/2018    BDD     CP        Continue working on PSZJ fee app/exhibits re same     2.10      375.00          $787.50
12/27/2018    WLR     CP        Review and revise 1st interim fee application         2.30      725.00       $1,667.50
12/27/2018    BDD     CP        Email W. Ramseyer re fee application                  0.10      375.00           $37.50
12/28/2018    WLR     CP        Review and revise 1st interim fee application         2.20      725.00       $1,595.00
12/29/2018    WLR     CP        Review and revise 1st interim fee application         1.80      725.00       $1,305.00
12/30/2018    WLR     CP        Review and revise 1st interim fee application         4.50      725.00       $3,262.50
12/31/2018    WLR     CP        Review and revise 1st interim fee application         8.90      725.00       $6,452.50
12/31/2018    WLR     CP        Prepare memorandum re open fee application issues     0.30      725.00          $217.50
                                                                                    54.30                   $36,175.00

  Comp. of Prof./Others
12/12/2018    BDD     CPO       Preparation of 45 day notice re first interim fee    0.40       375.00          $150.00
                                applications
                                                                                     0.40                       $150.00

  Settlement
12/06/2018    JWL     SE        Call with DSI regarding accounting of settlement     0.50       725.00          $362.50
                                proceeds.
12/21/2018    JWL     SE        Review and compare waterfall analysis under          0.50       725.00          $362.50
                                settlement agreement.
                                                                                     1.00                       $725.00

  TOTAL SERVICES FOR THIS MATTER:                                                                          $62,030.00
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 Expenses


 11/16/2018   PO        Postage [E108]                                                  1.00



 12/03/2018   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30



 12/07/2018   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                     0.40



 12/10/2018   LN        32274.00001 Lexis Charges for 12-10-18                          0.51



 12/10/2018   LN        32274.00001 Lexis Charges for 12-10-18                          0.51



 12/10/2018   PO        32274.00001 :Postage Charges for 12-10-18                       0.47



 12/10/2018   RE2       SCAN/COPY ( 25 @0.10 PER PG)                                    2.50



 12/10/2018   RE2       SCAN/COPY ( 25 @0.10 PER PG)                                    2.50



 12/10/2018   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                    4.60



 12/10/2018   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                    1.10



 12/10/2018   RE2       SCAN/COPY ( 25 @0.10 PER PG)                                    2.50



 12/10/2018   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                    1.80



 12/12/2018   LV        Legal Vision Atty/Mess. Service- Inv. 04205, San Fernando      65.00
                        Bankruptcy Court, BDD
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 12/12/2018   RE2       SCAN/COPY ( 14 @0.10 PER PG)                           1.40



 12/12/2018   RE2       SCAN/COPY ( 12 @0.10 PER PG)                           1.20



 12/12/2018   RE2       SCAN/COPY ( 11 @0.10 PER PG)                           1.10



 12/12/2018   RE2       SCAN/COPY ( 13 @0.10 PER PG)                           1.30



 12/12/2018   RE2       SCAN/COPY ( 29 @0.10 PER PG)                           2.90



 12/12/2018   RE2       SCAN/COPY ( 18 @0.10 PER PG)                           1.80



 12/12/2018   RE2       SCAN/COPY ( 12 @0.10 PER PG)                           1.20



 12/12/2018   RE2       SCAN/COPY ( 13 @0.10 PER PG)                           1.30



 12/12/2018   RE2       SCAN/COPY ( 12 @0.10 PER PG)                           1.20



 12/12/2018   RE2       SCAN/COPY ( 25 @0.10 PER PG)                           2.50



 12/12/2018   RE2       SCAN/COPY ( 11 @0.10 PER PG)                           1.10



 12/12/2018   RE2       SCAN/COPY ( 15 @0.10 PER PG)                           1.50



 12/12/2018   RE2       SCAN/COPY ( 18 @0.10 PER PG)                           1.80



 12/12/2018   RE2       SCAN/COPY ( 24 @0.10 PER PG)                           2.40
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 12/12/2018   RE2       SCAN/COPY ( 11 @0.10 PER PG)                             1.10



 12/12/2018   RE2       SCAN/COPY ( 14 @0.10 PER PG)                             1.40



 12/13/2018   LN        32274.00001 Lexis Charges for 12-13-18                   0.51



 12/13/2018   LN        32274.00001 Lexis Charges for 12-13-18                  41.27



 12/13/2018   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20



 12/13/2018   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60



 12/13/2018   RE2       SCAN/COPY ( 23 @0.10 PER PG)                             2.30



 12/13/2018   RE2       SCAN/COPY ( 17 @0.10 PER PG)                             1.70



 12/13/2018   RE2       SCAN/COPY ( 23 @0.10 PER PG)                             2.30



 12/16/2018   RE        Reproduction Expense. [E101]                             2.90



 12/17/2018   RE        Reproduction Expense. [E101]                            17.60



 12/18/2018   FE        32274.00001 FedEx Charges for 12-18-18                  13.58



 12/18/2018   RE2       SCAN/COPY ( 161 @0.10 PER PG)                           16.10



 12/18/2018   RE2       SCAN/COPY ( 24 @0.10 PER PG)                             2.40
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 12/18/2018   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70



 12/18/2018   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70



 12/21/2018   OS        Lipsey Appraisel Service, JVR                         2,500.00



 12/26/2018   RE        Reproduction Expense. [E101]                              5.60



 12/29/2018   RE        Reproduction Expense. [E101]                              9.20



 12/29/2018   RE        Reproduction Expense. [E101]                              5.90



 12/29/2018   RE        Reproduction Expense. [E101]                             10.80



 12/31/2018   PAC       Pacer - Court Research                                   74.70



 12/31/2018   RE        Reproduction Expense. [E101]                             11.00

   Total Expenses for this Matter                                          $2,829.45
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Gottlieb, David K - Yashouafar                                                                           Invoice 121032
32274 - 00001                                                                                            December 31, 2018




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



 For current services rendered through 12/31/2018

 Total Fees                                                                                                             $62,030.00
Chargeable costs and disbursements                                                                                       $2,829.45
Total Due on Current Invoice.....................                                                                       $64,859.45


Outstanding Balance from prior Invoices as of 12/31/2018       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed           Balance Due


     114542                        09/30/2016                  $70,136.00                            $430.31            $70,566.31
     114911                        10/31/2016                  $98,085.50                           $7,280.89          $105,366.39
     115117                        11/30/2016                  $87,345.00                           $8,776.62           $96,121.62
     115185                        12/31/2016                  $73,344.00                           $2,031.97           $75,375.97
     115643                        01/31/2017                  $54,361.00                           $2,260.63           $56,621.63
     115896                        02/28/2017                  $50,737.50                            $803.31            $51,540.81
     116150                        03/31/2017                  $51,677.50                           $4,962.17           $56,639.67
     116402                        04/30/2017                 $104,852.00                           $9,398.28          $114,250.28
     116665                        05/31/2017                 $100,431.00                          $10,790.05          $110,024.54
     116970                        06/30/2017                  $47,800.00                           $3,522.61           $51,322.61
     117273                        07/31/2017                  $52,383.00                            $297.68            $52,680.68
     117433                        08/31/2017                  $92,699.00                           $3,787.46           $96,486.46
     117636                        09/30/2017                  $28,052.50                            $749.05            $28,801.55
     117926                        10/31/2017                  $30,300.50                           $1,696.72           $31,997.22
     118035                        11/30/2017                  $32,397.00                           $3,966.33           $36,363.33
     118167                        12/31/2017                  $57,147.50                           $1,632.63           $58,780.13
     118515                        01/31/2018                  $67,197.50                            $848.65            $68,046.15
     118713                        02/28/2018                  $45,600.00                            $342.55            $45,942.55
     119250                        03/31/2018                    $8,041.00                          $5,316.35           $13,357.35
     119446                        04/30/2018                    $7,267.50                           $980.08             $8,247.58
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32274 - 00001                                                                 December 31, 2018


     119720                  05/31/2018             $58,867.50            $1,062.74          $59,930.24
     119921                  06/30/2018             $72,507.50             $685.06           $73,192.56
     120014                  07/31/2018             $20,406.00            $1,651.37          $22,057.37
     120291                  08/31/2018             $64,740.00             $822.28           $65,562.28
     120437                  09/30/2018              $9,917.50             $880.04           $10,797.54
     120645                  10/31/2018              $9,515.00              $28.80            $9,543.80
     120779                  11/30/2018              $8,775.00              $51.60            $8,826.60


 Total Amount Due on Current and Prior Invoices                                           $1,543,302.67
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     January 31, 2019
D. Gottlieb & Associates                                             Invoice 121475
17000 Ventura Blvd #300                                              Client   32274
Encino, CA 91316                                                     Matter   00001
                                                                              JVR
RE: Yashouafar

 ___________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 01/31/2019
                 FEES                                                 $15,314.50
                 EXPENSES                                                $416.95
                 TOTAL CURRENT CHARGES                                $15,731.45

                 BALANCE FORWARD                                    $1,543,302.67
                 TOTAL BALANCE DUE                                  $1,559,034.12
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  Summary of Services by Task Code
  Task Code            Description                                            Hours                        Amount

 BL                    Bankruptcy Litigation [L430]                            3.80                      $2,941.00
 CA                    Case Administration [B110]                              0.20                         $79.00
 CP                    Compensation Prof. [B160]                              12.10                      $6,751.50
 CPO                   Comp. of Prof./Others                                   5.40                      $2,133.00
 FE                    Fee/Employment Application                              2.60                      $2,015.00
 SE                    Settlement                                              1.80                      $1,395.00
                                                                              25.90                      $15,314.50

  Summary of Services by Professional
  ID           Name                                   Title           Rate             Hours               Amount

 BDD           Dassa, Beth D.                         Paralegal      395.00            15.30             $6,043.50
 JVR           Richards, Jeremy V.                    Partner       1095.00             3.30             $3,613.50
 JWL           Lucas, John W.                         Partner        775.00             6.90             $5,347.50
 WLR           Ramseyer, William L.                   Counsel        775.00             0.40              $310.00
                                                                                      25.90              $15,314.50




 Summary of Expenses
 Description                                                                                               Amount

Pacer - Court Research                                                                                     $102.00



Postage [E108]                                                                                              $27.55



Reproduction Expense [E101]                                                                                $193.60



Reproduction/ Scan Copy                                                                                     $93.80
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 Summary of Expenses
 Description                                                                                  Amount

                                                                                              $416.95
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Gottlieb, David K - Yashouafar                                                                  Invoice 121475
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                                                                                        Hours           Rate        Amount

  Bankruptcy Litigation [L430]
01/25/2019    JVR     BL        Review memorandum re cross-motions for summary           0.40      1095.00          $438.00
                                judgment.
01/25/2019    JVR     BL        Conference with J. Lucas re judgment; Sale of            0.30      1095.00          $328.50
                                property; Title insurance; Additional remedies
                                (Rexford).
01/25/2019    JWL     BL        Review court's decision on Elkwood summary                2.50       775.00        $1,937.50
                                judgment motion (1.0); prepare judgment for the
                                same, including discussion with title agency (1.5).
01/30/2019    BDD     BL        Call with J. Lucas re Judgment Quieting Title of          0.10       395.00          $39.50
                                Real Property
01/30/2019    BDD     BL        Email M. Kulick re lodging of Judgment Quieting           0.10       395.00          $39.50
                                Title of Real Property
01/30/2019    BDD     BL        Email J. Lucas re lodgment of order quieting title of     0.10       395.00          $39.50
                                real property
01/31/2019    BDD     BL        Email M. Kulick re Judgment quieting title of real        0.10       395.00          $39.50
                                property
01/31/2019    BDD     BL        Email M. Kulick re judgment                               0.10       395.00          $39.50
01/31/2019    BDD     BL        Email J. Lucas re lodged judgment quieting title re       0.10       395.00          $39.50
                                real property
                                                                                         3.80                      $2,941.00

  Case Administration [B110]
01/18/2019    BDD     CA        Attend to misc. calendaring matters                       0.10       395.00          $39.50
01/22/2019    BDD     CA        Attend to misc. calendaring matters                       0.10       395.00          $39.50
                                                                                         0.20                        $79.00

  Compensation Prof. [B160]
01/02/2019    BDD     CP        Continue working on fee application; exhibits re         2.30        395.00         $908.50
                                same
01/03/2019    BDD     CP        Continue working on fee app and exhibits re same          3.10       395.00        $1,224.50
01/03/2019    BDD     CP        Email J. Richards, J. Lucas and W. Ramseyer re           0.20        395.00          $79.00
                                comments for fee app
01/03/2019    BDD     CP        Email J. Richards re PSZJ fee application                0.10        395.00          $39.50
01/03/2019    BDD     CP        Email J. Lucas re fee application                        0.10        395.00          $39.50
01/04/2019    WLR     CP        Review correspondence from Beth Dassa re first            0.20       775.00         $155.00
                                interim fee application
01/04/2019    WLR     CP        Review correspondence from John Lucas re first            0.20       775.00         $155.00
                                interim fee application
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                                                                                       Hours           Rate        Amount

01/07/2019    BDD     CP        Email M. Kulick re fee app Exhibit B                     0.10       395.00          $39.50
01/07/2019    BDD     CP        Email M. Kulick re Exhibit "C" to fee app                0.10       395.00          $39.50
01/07/2019    BDD     CP        Email M. Kulick re PSZJ fee application                 0.10        395.00          $39.50
01/07/2019    BDD     CP        Email M. Kulick re Exhibit "A" to PSZJ fee              0.10        395.00          $39.50
                                application
01/07/2019    BDD     CP        Email R. Johnson re PSZJ 1st interim fee application     0.10       395.00          $39.50
01/07/2019    BDD     CP        Continue working on PSZJ 1st interim fee                1.40        395.00         $553.00
                                application
01/07/2019    BDD     CP        Review/edit Exhibits A-C to fee application             0.80        395.00         $316.00
01/07/2019    BDD     CP        Email J. Lucas re PSZJ completed fee application        0.10        395.00          $39.50
01/07/2019    BDD     CP        Email J. Lucas re revisions to fee application          0.10        395.00          $39.50
01/08/2019    BDD     CP        Email J. Lucas re PSZJ finalized fee application        0.10        395.00          $39.50
01/08/2019    BDD     CP        Email M. Kulick re finalized fee application             0.10       395.00          $39.50
01/08/2019    BDD     CP        Email M. Kulick re service of fee application            0.10       395.00          $39.50
01/08/2019    BDD     CP        Email J. Lucas re PSZJ finalized fee application        0.10        395.00          $39.50
01/28/2019    JVR     CP        Prepare for fee application hearing.                     0.30     1095.00          $328.50
01/28/2019    JVR     CP        Telephone D. Gottlieb re fee application hearings.       0.20     1095.00          $219.00
01/29/2019    JVR     CP        Attend interim fee application hearings.                 2.00     1095.00         $2,190.00
01/30/2019    JVR     CP        Review fee order.                                        0.10     1095.00          $109.50
                                                                                       12.10                      $6,751.50

  Comp. of Prof./Others
01/03/2019    BDD     CPO       Email R. Johnson re funds remaining in estate            0.10       395.00          $39.50
01/03/2019    BDD     CPO       Email R. Johnson re D. Gottlieb fee application         0.10        395.00          $39.50
01/07/2019    BDD     CPO       Email J. Richards and W. Ramseyer re BRG fee            0.10        395.00          $39.50
                                application
01/07/2019    BDD     CPO       Email T. Jeremiassen re DSI's fee application           0.10        395.00          $39.50
01/07/2019    BDD     CPO       Email J. Richards re BRG signed fee application         0.10        395.00          $39.50
01/07/2019    BDD     CPO       Email J. Richards re filing of BRG's fee application    0.10        395.00          $39.50
01/07/2019    BDD     CPO       Calls with/email to R. Johnson re professional fees      0.20       395.00          $79.00
01/07/2019    BDD     CPO       Email R. Johnson re omnibus notice of fee                0.10       395.00          $39.50
                                applications
01/07/2019    BDD     CPO       Work on omnibus notice of fee applications               0.30       395.00         $118.50
01/07/2019    BDD     CPO       Email R. Johnson re D. Gottlieb fee application         0.10        395.00          $39.50
     Case 1:16-bk-12255-GM             Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                        Desc
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Gottlieb, David K - Yashouafar                                                                  Invoice 121475
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                                                                                        Hours           Rate        Amount
01/08/2019    BDD     CPO       Complete omnibus notice of fee application (.5);         0.60        395.00         $237.00
                                email J. Richards re same (.1)
01/08/2019    BDD     CPO       Email J. Lucas re Gottlieb fee application                0.10       395.00          $39.50
01/08/2019    BDD     CPO       Email J. Richards re omnibus fee notice                   0.10       395.00          $39.50
01/08/2019    BDD     CPO       Email M. Kulick re omnibus fee notice                     0.10       395.00          $39.50
01/08/2019    BDD     CPO       Email M. Kulick re BRG fee application                   0.10        395.00          $39.50
01/08/2019    BDD     CPO       Assemble/prep BRG's fee application for filing and       0.20        395.00          $79.00
                                email M. Kulick re same
01/23/2019    BDD     CPO       Preparation of D. Gottlieb ISO 1st interim fee            0.30       395.00         $118.50
                                applications
01/23/2019    BDD     CPO       Email J. Richards re Dec of D. Gottlieb ISO 1st           0.10       395.00          $39.50
                                interim fee apps
01/23/2019    BDD     CPO       Email D. Gottlieb re Dec ISO 1st interim fee apps         0.10       395.00          $39.50
01/24/2019    BDD     CPO       Email M. Kulick re Dec of D. Gottlieb ISO interim         0.10       395.00          $39.50
                                fee applications
01/24/2019    BDD     CPO       Email D. Gottlieb re declaration ISO interim fee          0.10       395.00          $39.50
                                applications
01/29/2019    BDD     CPO       Email J. Richards re order on interim fee                 0.10       395.00          $39.50
                                applications
01/29/2019    BDD     CPO       Email J. RIchards re tentative rulings on interim fee     0.10       395.00          $39.50
                                applications
01/30/2019    BDD     CPO       Preparation of 4 orders on interim fee applications;      1.50       395.00         $592.50
                                emails J. Richards re same
01/30/2019    BDD     CPO       Email M. Kulick re Judge Mund's 1/29 tentatives           0.10       395.00          $39.50
01/30/2019    BDD     CPO       Emails professionals re 1/29 tentatives                   0.10       395.00          $39.50
01/30/2019    BDD     CPO       Email D. Gottlieb re 1/29 tentatives                      0.10       395.00          $39.50
01/30/2019    BDD     CPO       Email M. Kulick re proof of service of tentatives         0.10       395.00          $39.50
                                (per Judge's order)
01/30/2019    BDD     CPO       Email M. Kulick re lodging fee orders (4)                 0.10       395.00          $39.50
                                                                                         5.40                      $2,133.00

  Fee/Employment Application
01/04/2019    JWL     FE        Prepare first interim fee application.                   2.00        775.00        $1,550.00
01/08/2019    JWL     FE        Review fee application for filing.                        0.60       775.00         $465.00
                                                                                         2.60                      $2,015.00
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                                                                                     Hours           Rate        Amount

  Settlement
01/02/2019    JWL     SE        Review settlement waterfall back up and respond to    0.50        775.00         $387.50
                                J. Richards' questions.
01/23/2019    JWL     SE        Work on waterfall under settlement agreement to       0.50        775.00         $387.50
                                determine distribution and reserve.
01/30/2019    JWL     SE        Call with Abselet's counsel regarding fees and         0.80       775.00         $620.00
                                reserves.
                                                                                      1.80                      $1,395.00

  TOTAL SERVICES FOR THIS MATTER:                                                                           $15,314.50
     Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18     Desc
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 Expenses


 12/18/2018   PO        Postage [E108] SF Mail                                  11.28



 01/03/2019   RE2       SCAN/COPY ( 54 @0.10 PER PG)                              5.40



 01/08/2019   PO        32274.00001 :Postage Charges for 01-08-19               15.80



 01/08/2019   RE        ( 886 @0.20 PER PG)                                    177.20



 01/08/2019   RE        ( 70 @0.20 PER PG)                                      14.00



 01/08/2019   RE        ( 12 @0.20 PER PG)                                        2.40



 01/08/2019   RE2       SCAN/COPY ( 70 @0.10 PER PG)                              7.00



 01/08/2019   RE2       SCAN/COPY ( 50 @0.10 PER PG)                              5.00



 01/08/2019   RE2       SCAN/COPY ( 70 @0.10 PER PG)                              7.00



 01/08/2019   RE2       SCAN/COPY ( 443 @0.10 PER PG)                           44.30



 01/17/2019   RE2       SCAN/COPY ( 116 @0.10 PER PG)                           11.60



 01/23/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20



 01/24/2019   PO        32274.00001 :Postage Charges for 01-24-19                 0.47
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 01/25/2019   RE2       SCAN/COPY ( 30 @0.10 PER PG)                              3.00



 01/25/2019   RE2       SCAN/COPY ( 30 @0.10 PER PG)                              3.00



 01/28/2019   RE2       SCAN/COPY ( 20 @0.10 PER PG)                              2.00



 01/28/2019   RE2       SCAN/COPY ( 45 @0.10 PER PG)                              4.50



 01/30/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20



 01/30/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20



 01/30/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20



 01/30/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20



 01/31/2019   PAC       Pacer - Court Research                                  102.00

   Total Expenses for this Matter                                            $416.95
     Case 1:16-bk-12255-GM                    Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                         Desc
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32274 - 00001                                                                                            January 31, 2019




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



 For current services rendered through 01/31/2019

 Total Fees                                                                                                                 $15,314.50
Chargeable costs and disbursements                                                                                            $416.95
Total Due on Current Invoice.....................                                                                           $15,731.45


Outstanding Balance from prior Invoices as of 01/31/2019       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed            Balance Due


     114542                        09/30/2016                  $70,136.00                            $430.31                $70,566.31
     114911                        10/31/2016                  $98,085.50                           $7,280.89           $105,366.39
     115117                        11/30/2016                  $87,345.00                           $8,776.62               $96,121.62
     115185                        12/31/2016                  $73,344.00                           $2,031.97               $75,375.97
     115643                        01/31/2017                  $54,361.00                           $2,260.63               $56,621.63
     115896                        02/28/2017                  $50,737.50                            $803.31                $51,540.81
     116150                        03/31/2017                  $51,677.50                           $4,962.17               $56,639.67
     116402                        04/30/2017                 $104,852.00                           $9,398.28           $114,250.28
     116665                        05/31/2017                 $100,431.00                          $10,790.05           $110,024.54
     116970                        06/30/2017                  $47,800.00                           $3,522.61               $51,322.61
     117273                        07/31/2017                  $52,383.00                            $297.68                $52,680.68
     117433                        08/31/2017                  $92,699.00                           $3,787.46               $96,486.46
     117636                        09/30/2017                  $28,052.50                            $749.05                $28,801.55
     117926                        10/31/2017                  $30,300.50                           $1,696.72               $31,997.22
     118035                        11/30/2017                  $32,397.00                           $3,966.33               $36,363.33
     118167                        12/31/2017                  $57,147.50                           $1,632.63               $58,780.13
     118515                        01/31/2018                  $67,197.50                            $848.65                $68,046.15
     118713                        02/28/2018                  $45,600.00                            $342.55                $45,942.55
     119250                        03/31/2018                    $8,041.00                          $5,316.35               $13,357.35
     119446                        04/30/2018                    $7,267.50                           $980.08                 $8,247.58
     Case 1:16-bk-12255-GM           Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18      Desc
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32274 - 00001                                                                January 31, 2019


     119720                  05/31/2018            $58,867.50            $1,062.74              $59,930.24
     119921                  06/30/2018            $72,507.50             $685.06               $73,192.56
     120014                  07/31/2018            $20,406.00            $1,651.37              $22,057.37
     120291                  08/31/2018            $64,740.00             $822.28               $65,562.28
     120437                  09/30/2018             $9,917.50             $880.04               $10,797.54
     120645                  10/31/2018             $9,515.00              $28.80                $9,543.80
     120779                  11/30/2018             $8,775.00              $51.60                $8,826.60
     121032                  12/31/2018            $62,030.00            $2,829.45              $64,859.45


 Total Amount Due on Current and Prior Invoices                                           $1,559,034.12
     Case 1:16-bk-12255-GM     Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18      Desc
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    March 12, 2019
D. Gottlieb & Associates                                            Invoice 121675
17000 Ventura Blvd #300                                             Client   32274
Encino, CA 91316                                                    Matter   00001
                                                                             JVR
RE: Yashouafar

 ___________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 02/28/2019
                 FEES                                                $15,641.00
                 EXPENSES                                              $462.34
                 TOTAL CURRENT CHARGES                               $16,103.34

                 BALANCE FORWARD                                    $781,973.88
                 TOTAL BALANCE DUE                                  $798,077.22
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Pachulski Stang Ziehl & Jones LLP                                                     Page:     2
Gottlieb, David K - Yashouafar                                                        Invoice 121675
32274 - 00001                                                                         March 12, 2019




  Summary of Services by Task Code
  Task Code            Description                                            Hours                       Amount

 BL                    Bankruptcy Litigation [L430]                           12.80                    $13,696.00
 CA                    Case Administration [B110]                              0.30                       $118.50
 CPO                   Comp. of Prof./Others                                   0.70                       $276.50
 SE                    Settlement                                              2.00                      $1,550.00
                                                                              15.80                     $15,641.00

  Summary of Services by Professional
  ID           Name                                   Title           Rate             Hours              Amount

 BDD           Dassa, Beth D.                         Paralegal      395.00             0.90             $355.50
 JVR           Richards, Jeremy V.                    Partner       1095.00            11.80           $12,921.00
 JWL           Lucas, John W.                         Partner        775.00             3.00            $2,325.00
 NPL           Lockwood, Nancy P. F.                  Paralegal      395.00             0.10              $39.50
                                                                                      15.80             $15,641.00




 Summary of Expenses
 Description                                                                                              Amount

Lexis/Nexis- Legal Research [E                                                                             $18.44



Legal Vision Atty Mess Service                                                                            $325.00



Pacer - Court Research                                                                                     $54.10



Reproduction Expense [E101]                                                                                $15.60



Reproduction/ Scan Copy                                                                                    $49.20
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Gottlieb, David K - Yashouafar                                             Invoice 121675
32274 - 00001                                                              March 12, 2019


 Summary of Expenses
 Description                                                                                Amount


                                                                                            $462.34
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Pachulski Stang Ziehl & Jones LLP                                                             Page:     4
Gottlieb, David K - Yashouafar                                                                Invoice 121675
32274 - 00001                                                                                 March 12, 2019


                                                                                      Hours           Rate       Amount

  Bankruptcy Litigation [L430]
02/01/2019    JVR     BL        Review objection to form of judgment.                   0.30     1095.00         $328.50
02/04/2019    JVR     BL        Research and draft opposition to objection to form     3.00      1095.00       $3,285.00
                                of order (Elkwood litigation).
02/04/2019    JVR     BL        Revise opposition to objection to form of judgment;    0.30      1095.00         $328.50
                                Revise judgment.
02/05/2019    JWL     BL        Review response to objection to judgment and            0.50      775.00         $387.50
                                court's scheduling order.
02/13/2019    JVR     BL        Review Elkwood Defendants' supplemental                 0.30     1095.00         $328.50
                                objections to forms of order/judgment.
02/13/2019    JVR     BL        Research re 2/27 hearing on form of order.              0.60     1095.00         $657.00
02/14/2019    JVR     BL        Prepare for oral argument on form of judgment           1.00     1095.00       $1,095.00
                                (Elkwood).
02/15/2019    JVR     BL        Revise oral argument outline - Elkwood form of          0.10     1095.00         $109.50
                                order.
02/25/2019    JVR     BL        Prepare for hearing on form of judgment (Elkwood).      0.40     1095.00         $438.00
02/26/2019    JVR     BL        Prepare for hearing on form of order/judgment.          0.80     1095.00         $876.00
02/27/2019    JVR     BL        Attend hearing on form of order/judgment                5.00     1095.00       $5,475.00
                                (Elkwood).
02/27/2019    JWL     BL        Review tentative and summary regarding judgment         0.50      775.00         $387.50
                                hearing.
                                                                                      12.80                    $13,696.00

  Case Administration [B110]
02/12/2019    BDD     CA        Email N. Lockwood re case admin issues                  0.10      395.00          $39.50
02/12/2019    BDD     CA        Email J. Richards and J. Lucas re case admin issues     0.10      395.00          $39.50
02/14/2019    NPL     CA        Review emails from B. Dassa regarding status case      0.10       395.00          $39.50
                                and outstanding matters.
                                                                                       0.30                      $118.50

  Comp. of Prof./Others
02/05/2019    BDD     CPO       Email J. Richards re orders on interim fee             0.10       395.00          $39.50
                                applications
02/05/2019    BDD     CPO       Emails D. Gottlieb re interim fee orders                0.20      395.00          $79.00
02/05/2019    BDD     CPO       Email J. Richards re entered fee orders                 0.10      395.00          $39.50
02/05/2019    BDD     CPO       Email M. Kulick re entered fee orders                   0.10      395.00          $39.50
02/05/2019    BDD     CPO       Email D. Gottlieb re entered fee orders                 0.10      395.00          $39.50
     Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                       Desc
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Gottlieb, David K - Yashouafar                                                                Invoice 121675
32274 - 00001                                                                                 March 12, 2019


                                                                                      Hours           Rate       Amount
02/05/2019    BDD     CPO       Email J. Lucas re fee orders                           0.10       395.00          $39.50
                                                                                       0.70                      $276.50

  Settlement
11/17/2018    JWL     SE        Review documents in support of Abselet accounting      1.50       775.00       $1,162.50
                                and respond to questions from client and D.Conniff.
02/15/2019    JWL     SE        Emails with PSZJ and Abselet regarding reserve.         0.20      775.00         $155.00
02/26/2019    JWL     SE        Review waterfall and discuss same with H. David        0.30       775.00         $232.50
                                and client.
                                                                                       2.00                    $1,550.00

  TOTAL SERVICES FOR THIS MATTER:                                                                            $15,641.00
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Gottlieb, David K - Yashouafar                                                      Invoice 121675
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 Expenses


 01/09/2019   LV        Legal Vision Atty/Mess. Service- Inv. 04437, San Fernando      65.00
                        Bankruptcy Court, B. Dassa



 01/24/2019   LV        Legal Vision Atty/Mess. Service- Inv. 04586, San Fernando      65.00
                        Bankruptcy Court, BDD



 01/31/2019   LV        Legal Vision Atty/Mess. Service- nv. 04639, San Fernando       65.00
                        Bankruptcy Court, BDD



 01/31/2019   LV        Legal Vision Atty/Mess. Service- nv. 04640, San Fernando       65.00
                        Bankruptcy Court, BDD



 02/01/2019   LN        32274.00001 Lexis Charges for 02-01-19                          9.22



 02/01/2019   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                    2.10



 02/04/2019   LN        32274.00001 Lexis Charges for 02-04-19                          9.22



 02/04/2019   RE2       SCAN/COPY ( 60 @0.10 PER PG)                                    6.00



 02/04/2019   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                    3.50



 02/04/2019   RE2       SCAN/COPY ( 25 @0.10 PER PG)                                    2.50



 02/04/2019   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00



 02/04/2019   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00
     Case 1:16-bk-12255-GM           Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18            Desc
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Gottlieb, David K - Yashouafar                                                      Invoice 121675
32274 - 00001                                                                       March 12, 2019




 02/04/2019   RE2       SCAN/COPY ( 56 @0.10 PER PG)                                    5.60



 02/05/2019   LV        Legal Vision Atty/Mess. Service- Inv. 04700, San Fernando      65.00
                        Bankruptcy Court, JVR



 02/05/2019   RE        ( 78 @0.20 PER PG)                                             15.60



 02/05/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                     0.40



 02/12/2019   RE2       SCAN/COPY ( 31 @0.10 PER PG)                                    3.10



 02/14/2019   RE2       SCAN/COPY ( 25 @0.10 PER PG)                                    2.50



 02/14/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60



 02/19/2019   RE2       SCAN/COPY ( 65 @0.10 PER PG)                                    6.50



 02/25/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                     0.70



 02/25/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60



 02/26/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10



 02/26/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                     0.70



 02/26/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10



 02/26/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                     0.70
     Case 1:16-bk-12255-GM           Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18    Desc
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 02/27/2019   RE2       SCAN/COPY ( 30 @0.10 PER PG)                             3.00



 02/27/2019   RE2       SCAN/COPY ( 48 @0.10 PER PG)                             4.80



 02/27/2019   RE2       SCAN/COPY ( 17 @0.10 PER PG)                             1.70



 02/28/2019   PAC       Pacer - Court Research                                  54.10

   Total Expenses for this Matter                                           $462.34
     Case 1:16-bk-12255-GM                    Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                      Desc
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Pachulski Stang Ziehl & Jones LLP                                                                      Page:     9
Gottlieb, David K - Yashouafar                                                                         Invoice 121675
32274 - 00001                                                                                          March 12, 2019




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



 For current services rendered through 03/12/2019

 Total Fees                                                                                                              $15,641.00
Chargeable costs and disbursements                                                                                          $462.34
Total Due on Current Invoice.....................                                                                        $16,103.34


Outstanding Balance from prior Invoices as of 02/28/2019       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed            Balance Due


     115185                        12/31/2016                  $73,344.00                          $2,031.97             $71,173.79
     116402                        04/30/2017                 $104,852.00                          $9,398.28            $114,250.28
     116970                        06/30/2017                  $47,800.00                          $3,522.61             $51,322.61
     117273                        07/31/2017                  $52,383.00                           $297.68              $52,680.68
     117433                        08/31/2017                  $92,699.00                          $3,787.46             $96,486.46
     117926                        10/31/2017                  $30,300.50                          $1,696.72             $31,997.22
     118167                        12/31/2017                  $57,147.50                          $1,632.63             $58,780.13
     118515                        01/31/2018                  $67,197.50                           $848.65              $68,046.15
     118713                        02/28/2018                  $45,600.00                           $342.55              $45,942.55
     119250                        03/31/2018                    $8,041.00                         $5,316.35             $13,357.35
     119446                        04/30/2018                    $7,267.50                          $980.08               $8,247.58
     119720                        05/31/2018                  $58,867.50                          $1,062.74             $59,930.24
     120437                        09/30/2018                    $9,917.50                          $880.04              $10,797.54
     120645                        10/31/2018                    $9,515.00                           $28.80               $9,543.80
     120779                        11/30/2018                    $8,775.00                           $51.60               $8,826.60
     121032                        12/31/2018                  $62,030.00                          $2,829.45             $64,859.45
     121475                        01/31/2019                  $15,314.50                           $416.95              $15,731.45


 Total Amount Due on Current and Prior Invoices                                                                         $798,077.22
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    March 31, 2019
D. Gottlieb & Associates                                            Invoice 121933
17000 Ventura Blvd #300                                             Client   32274
Encino, CA 91316                                                    Matter   00001
                                                                             JVR

RE: Yashouafar

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 03/31/2019
                 FEES                                                 $1,193.50
                 EXPENSES                                               $20.00
                 TOTAL CURRENT CHARGES                                $1,213.50

                 BALANCE FORWARD                                    $798,077.22
                 TOTAL BALANCE DUE                                  $799,290.72
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Gottlieb, David K - Yashouafar                                                        Invoice 121933
32274 - 00001                                                                         March 31, 2019




  Summary of Services by Task Code
  Task Code            Description                                            Hours                    Amount

 BL                    Bankruptcy Litigation [L430]                            0.60                     $657.00

 CA                    Case Administration [B110]                              0.70                     $536.50

                                                                               1.30                    $1,193.50


  Summary of Services by Professional
  ID           Name                                   Title           Rate             Hours            Amount

 BDD           Dassa, Beth D.                         Paralegal      395.00             0.10            $39.50
 JVR           Richards, Jeremy V.                    Partner       1095.00             0.70           $766.50
 JWL           Lucas, John W.                         Partner        775.00             0.50           $387.50
                                                                                       1.30            $1,193.50
 Summary of Expenses
 Description                                                                                            Amount
Reproduction/ Scan Copy                                                                                  $20.00
                                                                                                         $20.00
     Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                       Desc
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Gottlieb, David K - Yashouafar                                                                Invoice 121933
32274 - 00001                                                                                 March 31, 2019


                                                                                      Hours           Rate        Amount

  Bankruptcy Litigation [L430]
 02/15/2018   JVR     BL        Review reply in support of motion to dismiss           0.60      1095.00          $657.00
                                Elkwood/Fieldbrook complaint.

                                                                                       0.60                       $657.00

  Case Administration [B110]
 03/19/2019   JVR     CA        Telephone D. Gottlieb re case conversion.               0.10     1095.00          $109.50
 03/28/2019   BDD     CA        Confer with J. Lucas re status conference; email M.    0.10       395.00           $39.50
                                DesJardien re same
 03/28/2019   JWL     CA        Draft and file fifth status conference report.          0.50      775.00          $387.50

                                                                                       0.70                       $536.50

  TOTAL SERVICES FOR THIS MATTER:                                                                              $1,193.50
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Gottlieb, David K - Yashouafar                                             Invoice 121933
32274 - 00001                                                              March 31, 2019



 Expenses
03/28/2019   RE2       SCAN/COPY ( 192 @0.10 PER PG)                           19.20
03/28/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                              0.80
   Total Expenses for this Matter                                           $20.00
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Gottlieb, David K - Yashouafar                                                            Invoice 121933
32274 - 00001                                                                             March 31, 2019


                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        03/31/2019

Total Fees                                                                                             $1,193.50

Total Expenses                                                                                             20.00

Total Due on Current Invoice                                                                           $1,213.50

  Outstanding Balance from prior invoices as of        03/31/2019          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed             Balance Due
 115185                  12/31/2016                 $73,344.00            $2,031.97                   $71,173.79

 116402                  04/30/2017                $104,852.00            $9,398.28                  $114,250.28

 116970                  06/30/2017                 $47,800.00            $3,522.61                   $51,322.61

 117273                  07/31/2017                 $52,383.00             $297.68                    $52,680.68

 117433                  08/31/2017                 $92,699.00            $3,787.46                   $96,486.46

 117926                  10/31/2017                 $30,300.50            $1,696.72                   $31,997.22

 118167                  12/31/2017                 $57,147.50            $1,632.63                   $58,780.13

 118515                  01/31/2018                 $67,197.50             $848.65                    $68,046.15

 118713                  02/28/2018                 $45,600.00             $342.55                    $45,942.55

 119250                  03/31/2018                  $8,041.00            $5,316.35                   $13,357.35

 119446                  04/30/2018                  $7,267.50             $980.08                     $8,247.58

 119720                  05/31/2018                 $58,867.50            $1,062.74                   $59,930.24

 120437                  09/30/2018                  $9,917.50             $880.04                    $10,797.54

 120645                  10/31/2018                  $9,515.00              $28.80                     $9,543.80

 120779                  11/30/2018                  $8,775.00              $51.60                     $8,826.60

 121032                  12/31/2018                 $62,030.00            $2,829.45                   $64,859.45

 121475                  01/31/2019                 $15,314.50             $416.95                    $15,731.45

 121675                  03/12/2019                 $15,641.00             $462.34                    $16,103.34
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Gottlieb, David K - Yashouafar                                             Invoice 121933
32274 - 00001                                                              March 31, 2019


             Total Amount Due on Current and Prior Invoices:                           $799,290.72
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    April 30, 2019
D. Gottlieb & Associates                                            Invoice 122184
17000 Ventura Blvd #300                                             Client    32274
Encino, CA 91316                                                    Matter    00001
                                                                              JVR

RE: Yashouafar

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 04/30/2019
                 FEES                                                   $298.00
                 EXPENSES                                                $31.35
                 TOTAL CURRENT CHARGES                                  $329.35

                 BALANCE FORWARD                                    $799,290.72
                 TOTAL BALANCE DUE                                  $799,620.07
       Case 1:16-bk-12255-GM        Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18        Desc
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Gottlieb, David K - Yashouafar                                             Invoice 122184
32274 - 00001                                                              April 30, 2019




  Summary of Services by Professional
  ID        Name                              Title               Rate      Hours             Amount

 BDD        Dassa, Beth D.                    Paralegal          395.00      0.20              $79.00

 JVR        Richards, Jeremy V.               Partner           1095.00      0.20             $219.00

                                                                            0.40               $298.00
      Case 1:16-bk-12255-GM          Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18            Desc
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Gottlieb, David K - Yashouafar                                                  Invoice 122184
32274 - 00001                                                                   April 30, 2019


  Summary of Services by Task Code
  Task Code         Description                                         Hours                      Amount

 BL                 Bankruptcy Litigation [L430]                        0.20                        $219.00

 CA                 Case Administration [B110]                          0.20                         $79.00

                                                                                0.40                $298.00
     Case 1:16-bk-12255-GM          Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18        Desc
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Gottlieb, David K - Yashouafar                                             Invoice 122184
32274 - 00001                                                              April 30, 2019


  Summary of Expenses
  Description                                                                                    Amount
Federal Express [E108]                                                                      $15.15
Pacer - Court Research                                                                      $16.20

                                                                                                 $31.35
     Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                     Desc
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Gottlieb, David K - Yashouafar                                                            Invoice 122184
32274 - 00001                                                                             April 30, 2019


                                                                                  Hours           Rate        Amount

  Bankruptcy Litigation [L430]
 04/30/2019   JVR     BL        Review Court's memorandum re Fed.R.Civ.P. 54(b)    0.20      1095.00          $219.00
                                certification.

                                                                                   0.20                       $219.00

  Case Administration [B110]
 04/10/2019   BDD     CA        Attend to misc calendaring matters and email J.    0.10        395.00          $39.50
                                Lucas re same
 04/16/2019   BDD     CA        Attend to misc. calendaring matters                0.10        395.00          $39.50

                                                                                   0.20                        $79.00

  TOTAL SERVICES FOR THIS MATTER:                                                                            $298.00
     Case 1:16-bk-12255-GM           Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18        Desc
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Gottlieb, David K - Yashouafar                                              Invoice 122184
32274 - 00001                                                               April 30, 2019



 Expenses

 03/28/2019   FE        32274.00001 FedEx Charges for 03-28-19                  15.15


 04/30/2019   PAC       Pacer - Court Research                                  16.20

   Total Expenses for this Matter                                            $31.35
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Gottlieb, David K - Yashouafar                                                            Invoice 122184
32274 - 00001                                                                             April 30, 2019


                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        04/30/2019

Total Fees                                                                                                  $298.00

Total Expenses                                                                                                31.35

Total Due on Current Invoice                                                                                $329.35

  Outstanding Balance from prior invoices as of        04/30/2019          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed              Balance Due
 115185                  12/31/2016                 $73,344.00            $2,031.97                   $71,173.79

 116402                  04/30/2017                $104,852.00            $9,398.28                  $114,250.28

 116970                  06/30/2017                 $47,800.00            $3,522.61                   $51,322.61

 117273                  07/31/2017                 $52,383.00             $297.68                    $52,680.68

 117433                  08/31/2017                 $92,699.00            $3,787.46                   $96,486.46

 117926                  10/31/2017                 $30,300.50            $1,696.72                   $31,997.22

 118167                  12/31/2017                 $57,147.50            $1,632.63                   $58,780.13

 118515                  01/31/2018                 $67,197.50             $848.65                    $68,046.15

 118713                  02/28/2018                 $45,600.00             $342.55                    $45,942.55

 119250                  03/31/2018                  $8,041.00            $5,316.35                   $13,357.35

 119446                  04/30/2018                  $7,267.50             $980.08                     $8,247.58

 119720                  05/31/2018                 $58,867.50            $1,062.74                   $59,930.24

 120437                  09/30/2018                  $9,917.50             $880.04                    $10,797.54

 120645                  10/31/2018                  $9,515.00              $28.80                     $9,543.80

 120779                  11/30/2018                  $8,775.00              $51.60                     $8,826.60

 121032                  12/31/2018                 $62,030.00            $2,829.45                   $64,859.45

 121475                  01/31/2019                 $15,314.50             $416.95                    $15,731.45

 121675                  03/12/2019                 $15,641.00             $462.34                    $16,103.34
     Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18        Desc
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Gottlieb, David K - Yashouafar                                               Invoice 122184
32274 - 00001                                                                April 30, 2019

 121933                  03/31/2019              $1,193.50         $20.00                 $1,213.50

             Total Amount Due on Current and Prior Invoices:                             $799,620.07
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    May 31, 2019
D. Gottlieb & Associates                                            Invoice 122426
17000 Ventura Blvd #300                                             Client   32274
Encino, CA 91316                                                    Matter   00001
                                                                             JVR

RE: Yashouafar

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 05/31/2019
                 FEES                                                $54,742.00
                 EXPENSES                                              $616.74
                 TOTAL CURRENT CHARGES                               $55,358.74

                 BALANCE FORWARD                                    $799,620.07
                 TOTAL BALANCE DUE                                  $854,978.81
       Case 1:16-bk-12255-GM        Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18        Desc
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Gottlieb, David K - Yashouafar                                             Invoice 122426
32274 - 00001                                                              May 31, 2019




  Summary of Services by Professional
  ID        Name                              Title               Rate      Hours              Amount

 BDD        Dassa, Beth D.                    Paralegal          395.00     10.80            $4,266.00

 HCK        Kevane, Henry C.                  Partner           1025.00      0.20             $205.00

 JVR                                                                        42.30           $46,318.50
            Richards, Jeremy V.               Partner           1095.00
                                                                             5.10            $3,952.50
 JWL        Lucas, John W.                    Partner            775.00
                                                                           58.40             $54,742.00
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Gottlieb, David K - Yashouafar                                                  Invoice 122426
32274 - 00001                                                                   May 31, 2019


  Summary of Services by Task Code
  Task Code         Description                                         Hours                       Amount

 AD                 Asset Disposition [B130]                            0.20                        $219.00

 BL                 Bankruptcy Litigation [L430]                       57.90                      $54,404.50

 CA                 Case Administration [B110]                          0.10                         $39.50

 CO                 Claims Admin/Objections[B310]                       0.20                         $79.00

                                                                                58.40             $54,742.00
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Pachulski Stang Ziehl & Jones LLP                                          Page:     4
Gottlieb, David K - Yashouafar                                             Invoice 122426
32274 - 00001                                                              May 31, 2019


  Summary of Expenses
  Description                                                                                    Amount
Lexis/Nexis- Legal Research [E                                                          $313.34
Legal Vision Atty Mess Service                                                          $130.00
Reproduction Expense [E101]                                                                 $14.20
Reproduction/ Scan Copy                                                                 $159.20

                                                                                                $616.74
     Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                          Desc
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Gottlieb, David K - Yashouafar                                                                 Invoice 122426
32274 - 00001                                                                                  May 31, 2019


                                                                                       Hours           Rate        Amount

  Asset Disposition [B130]
 05/03/2019   JVR     AD        Telephone J. Eaton re Rexford property.                 0.20      1095.00          $219.00

                                                                                        0.20                       $219.00

  Bankruptcy Litigation [L430]
 05/03/2019   JVR     BL        Review pleadings and evidence re status                 2.30      1095.00         $2,518.50
                                conference / trial preparation (Elkwood litigation).
 05/03/2019   JWL     BL        Review court's decision on Rule 54(b) issues,           1.60        775.00        $1,240.00
                                redemption and preparations for trial.
 05/06/2019   JVR     BL        Outline trial issues.                                   1.70      1095.00         $1,861.50
 05/07/2019   JVR     BL        Review depositions and exhibits in preparation for      2.30      1095.00         $2,518.50
                                trial.
 05/07/2019   JVR     BL        Research authority of bankruptcy court to conduct       3.40      1095.00         $3,723.00
                                trial (Elkwood).
 05/08/2019   JVR     BL        Telephone H. David re Elkwood trial.                    0.40      1095.00          $438.00
 05/10/2019   JVR     BL        Telephone D. McCarthy and H. David re trial             0.50      1095.00          $547.50
                                setting.
 05/10/2019   JVR     BL        Telephone H. David re trial issues.                     0.10      1095.00          $109.50
 05/13/2019   JVR     BL        Research re jurisdiction of bankruptcy court to         0.40      1095.00          $438.00
                                conduct trial (Elkwood).
 05/13/2019   BDD     BL        Email J. Richards re project (Fieldbrook/Elkwood)       0.10        395.00          $39.50
 05/13/2019   BDD     BL        Email J. Richards re preparation of statement of        0.10        395.00          $39.50
                                admitted facts re 3rd Amended Complaint/Answer
                                and Abselets' First Amended Counterclaim/Answer
 05/13/2019   BDD     BL        Begin working on Statement of Admitted facts re         0.70        395.00         $276.50
                                3rd Amended Complaint/Answer and Abselets' First
                                Amended Counterclaim/Answer
                                (Fieldbrook/Elkwood adversary)
 05/14/2019   HCK     BL        Confer with J. Lucas re redemption / reimbursement      0.20      1025.00          $205.00
                                issues re QT judgment.
 05/14/2019   JVR     BL        Review motion for clarification.                        0.30      1095.00          $328.50
 05/14/2019   JVR     BL        Telephone D. McCarthy and H. David re status            0.40      1095.00          $438.00
                                conference issues.
 05/14/2019   JVR     BL        Draft status report.                                    0.30      1095.00          $328.50
 05/14/2019   BDD     BL        Work on Statement of Admitted Facts ISO Third           4.30        395.00        $1,698.50
                                Amended Complaint/Answer (4.2); email J.
                                Richards re same (.10)
 05/14/2019   JWL     BL        Review motion to clarify Elkwood judgment.              0.70        775.00         $542.50
     Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                         Desc
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Gottlieb, David K - Yashouafar                                                                Invoice 122426
32274 - 00001                                                                                 May 31, 2019


                                                                                      Hours           Rate        Amount
 05/15/2019   JVR     BL        Research re opposition to motion to clarify partial    2.60      1095.00         $2,847.00
                                summary judgment and supplemental order.
 05/15/2019   BDD     BL        Preparation of Statement of Admitted Facts ISO 1st     5.30        395.00        $2,093.50
                                Amended Counter Claim/Answer (5.2); email J.
                                Richards re same (.10)
 05/15/2019   JWL     BL        Review motion to clarify and outline response.         1.70        775.00        $1,317.50
 05/16/2019   JVR     BL        Attend status conference.                              3.50      1095.00         $3,832.50
 05/16/2019   JVR     BL        Draft Scheduling Order.                                0.30      1095.00          $328.50
 05/16/2019   JVR     BL        Prepare Joint Pre-Trial Order and research trial       2.50      1095.00         $2,737.50
                                issue.
 05/17/2019   JVR     BL        Revise scheduling order.                               0.10      1095.00          $109.50
 05/17/2019   JVR     BL        Draft joint pre-trial stipulation.                     3.60      1095.00         $3,942.00
 05/20/2019   JVR     BL        Draft pre-trial order.                                 2.60      1095.00         $2,847.00
 05/21/2019   JWL     BL        Work on trial preparations for Elkwood claims.         1.10        775.00         $852.50
 05/22/2019   JVR     BL        Draft notice of deposition (J. Nourafshan).            0.20      1095.00          $219.00
 05/22/2019   JVR     BL        Review Defendant's motion to withdraw reference.       0.40      1095.00          $438.00
 05/22/2019   JVR     BL        Research opposition to motion to withdraw              1.30      1095.00         $1,423.50
                                reference.
 05/22/2019   JVR     BL        Revise joint pretrial stipulation.                     1.80      1095.00         $1,971.00
 05/24/2019   JVR     BL        Draft pre-trial order.                                 0.80      1095.00          $876.00
 05/27/2019   JVR     BL        Prepare witness examinations and revise joint          3.60      1095.00         $3,942.00
                                pretrial order.
 05/29/2019   JVR     BL        Draft opposition to motion to withdraw reference.      1.80      1095.00         $1,971.00
 05/29/2019   JVR     BL        Revise pre-trial order.                                0.30      1095.00          $328.50
 05/30/2019   JVR     BL        Research and draft opposition to motion to withdraw    3.00      1095.00         $3,285.00
                                reference.
 05/31/2019   JVR     BL        Revise opposition to motion to withdraw reference.     0.40      1095.00          $438.00
 05/31/2019   JVR     BL        Research remedies against mortgagee in possession.     1.20      1095.00         $1,314.00

                                                                                      57.90                     $54,404.50

  Case Administration [B110]
 05/24/2019   BDD     CA        Email J. Lucas re misc. calendaring matters            0.10        395.00          $39.50

                                                                                       0.10                        $39.50
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Gottlieb, David K - Yashouafar                                                               Invoice 122426
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                                                                                     Hours           Rate         Amount

  Claims Admin/Objections[B310]
 05/15/2019   BDD     CO        Research bar date order and service re same; email    0.20        395.00           $79.00
                                to and call with J. Lucas re same

                                                                                      0.20                         $79.00

  TOTAL SERVICES FOR THIS MATTER:                                                                             $54,742.00
     Case 1:16-bk-12255-GM           Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18        Desc
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Gottlieb, David K - Yashouafar                                              Invoice 122426
32274 - 00001                                                               May 31, 2019



 Expenses

 05/03/2019   LN        32274.00001 Lexis Charges for 05-03-19                  4.48


 05/03/2019   RE2       SCAN/COPY ( 30 @0.10 PER PG)                            3.00


 05/03/2019   RE2       SCAN/COPY ( 25 @0.10 PER PG)                            2.50


 05/06/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 05/07/2019   LN        32274.00001 Lexis Charges for 05-07-19                102.58


 05/07/2019   RE2       SCAN/COPY ( 21 @0.10 PER PG)                            2.10


 05/07/2019   RE2       SCAN/COPY ( 46 @0.10 PER PG)                            4.60


 05/07/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                            1.10


 05/07/2019   RE2       SCAN/COPY ( 21 @0.10 PER PG)                            2.10


 05/07/2019   RE2       SCAN/COPY ( 19 @0.10 PER PG)                            1.90


 05/07/2019   RE2       SCAN/COPY ( 44 @0.10 PER PG)                            4.40


 05/07/2019   RE2       SCAN/COPY ( 19 @0.10 PER PG)                            1.90


 05/07/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                            1.40


 05/13/2019   RE2       SCAN/COPY ( 30 @0.10 PER PG)                            3.00


 05/13/2019   RE2       SCAN/COPY ( 92 @0.10 PER PG)                            9.20


 05/13/2019   RE2       SCAN/COPY ( 25 @0.10 PER PG)                            2.50


 05/13/2019   RE2       SCAN/COPY ( 59 @0.10 PER PG)                            5.90
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Gottlieb, David K - Yashouafar                                                     Invoice 122426
32274 - 00001                                                                      May 31, 2019



 05/14/2019   LV        Legal Vision Atty/Mess. Service- San Fernando Bankruptcy      65.00
                        Court, JVR


 05/14/2019   RE2       SCAN/COPY ( 23 @0.10 PER PG)                                   2.30


 05/14/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                   1.20


 05/14/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                   1.20


 05/14/2019   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                   1.30


 05/14/2019   RE2       SCAN/COPY ( 90 @0.10 PER PG)                                   9.00


 05/14/2019   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                   2.20


 05/15/2019   LN        32274.00001 Lexis Charges for 05-15-19                        45.66


 05/15/2019   LN        32274.00001 Lexis Charges for 05-15-19                         2.80


 05/15/2019   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                   4.60


 05/15/2019   RE2       SCAN/COPY ( 31 @0.10 PER PG)                                   3.10


 05/15/2019   RE2       SCAN/COPY ( 23 @0.10 PER PG)                                   2.30


 05/15/2019   RE2       SCAN/COPY ( 50 @0.10 PER PG)                                   5.00


 05/16/2019   RE2       SCAN/COPY ( 40 @0.10 PER PG)                                   4.00


 05/16/2019   RE2       SCAN/COPY ( 105 @0.10 PER PG)                                 10.50


 05/16/2019   RE2       SCAN/COPY ( 30 @0.10 PER PG)                                   3.00


 05/16/2019   RE2       SCAN/COPY ( 61 @0.10 PER PG)                                   6.10


 05/16/2019   RE2       SCAN/COPY ( 43 @0.10 PER PG)                                   4.30
     Case 1:16-bk-12255-GM           Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                Desc
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Gottlieb, David K - Yashouafar                                                      Invoice 122426
32274 - 00001                                                                       May 31, 2019



 05/16/2019   RE2       SCAN/COPY ( 34 @0.10 PER PG)                                    3.40


 05/17/2019   LN        32274.00001 Lexis Charges for 05-17-19                          1.12


 05/17/2019   LV        Legal Vision Atty/Mess. Service- Inv. 05777, San Fernando      65.00
                        Bankruptcy Court, JVR


 05/17/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40


 05/17/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20


 05/17/2019   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                    2.20


 05/17/2019   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30


 05/20/2019   LN        32274.00001 Lexis Charges for 05-20-19                         76.39


 05/20/2019   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30


 05/20/2019   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30


 05/20/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50


 05/20/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                    1.60


 05/20/2019   RE2       SCAN/COPY ( 44 @0.10 PER PG)                                    4.40


 05/20/2019   RE2       SCAN/COPY ( 23 @0.10 PER PG)                                    2.30


 05/22/2019   LN        32274.00001 Lexis Charges for 05-22-19                         24.51


 05/22/2019   RE        ( 14 @0.20 PER PG)                                              2.80


 05/22/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50


 05/22/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40
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Gottlieb, David K - Yashouafar                                              Invoice 122426
32274 - 00001                                                               May 31, 2019



 05/22/2019   RE2       SCAN/COPY ( 33 @0.10 PER PG)                            3.30


 05/22/2019   RE2       SCAN/COPY ( 35 @0.10 PER PG)                            3.50


 05/24/2019   RE        ( 24 @0.20 PER PG)                                      4.80


 05/24/2019   RE        ( 33 @0.20 PER PG)                                      6.60


 05/24/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                            1.40


 05/24/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                            1.50


 05/24/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                            1.40


 05/28/2019   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20


 05/28/2019   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10


 05/28/2019   RE2       SCAN/COPY ( 21 @0.10 PER PG)                            2.10


 05/28/2019   RE2       SCAN/COPY ( 33 @0.10 PER PG)                            3.30


 05/29/2019   LN        32274.00001 Lexis Charges for 05-29-19                 54.12


 05/29/2019   RE2       SCAN/COPY ( 37 @0.10 PER PG)                            3.70


 05/30/2019   LN        32274.00001 Lexis Charges for 05-30-19                  0.56


 05/30/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                            1.10


 05/30/2019   RE2       SCAN/COPY ( 23 @0.10 PER PG)                            2.30


 05/30/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                            1.00


 05/30/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                            1.50
     Case 1:16-bk-12255-GM           Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18        Desc
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Gottlieb, David K - Yashouafar                                              Invoice 122426
32274 - 00001                                                               May 31, 2019



 05/31/2019   LN        32274.00001 Lexis Charges for 05-31-19                   1.12


 05/31/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                             1.40


 05/31/2019   RE2       SCAN/COPY ( 17 @0.10 PER PG)                             1.70
   Total Expenses for this Matter                                           $616.74
     Case 1:16-bk-12255-GM              Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                   Desc
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Gottlieb, David K - Yashouafar                                                            Invoice 122426
32274 - 00001                                                                             May 31, 2019


                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        05/31/2019

Total Fees                                                                                             $54,742.00

Total Expenses                                                                                               616.74

Total Due on Current Invoice                                                                           $55,358.74

  Outstanding Balance from prior invoices as of        05/31/2019          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed              Balance Due
 115185                  12/31/2016                 $73,344.00            $2,031.97                   $71,173.79

 116402                  04/30/2017                $104,852.00            $9,398.28                  $114,250.28

 116970                  06/30/2017                 $47,800.00            $3,522.61                   $51,322.61

 117273                  07/31/2017                 $52,383.00             $297.68                    $52,680.68

 117433                  08/31/2017                 $92,699.00            $3,787.46                   $96,486.46

 117926                  10/31/2017                 $30,300.50            $1,696.72                   $31,997.22

 118167                  12/31/2017                 $57,147.50            $1,632.63                   $58,780.13

 118515                  01/31/2018                 $67,197.50             $848.65                    $68,046.15

 118713                  02/28/2018                 $45,600.00             $342.55                    $45,942.55

 119250                  03/31/2018                  $8,041.00            $5,316.35                   $13,357.35

 119446                  04/30/2018                  $7,267.50             $980.08                     $8,247.58

 119720                  05/31/2018                 $58,867.50            $1,062.74                   $59,930.24

 120437                  09/30/2018                  $9,917.50             $880.04                    $10,797.54

 120645                  10/31/2018                  $9,515.00              $28.80                     $9,543.80

 120779                  11/30/2018                  $8,775.00              $51.60                     $8,826.60

 121032                  12/31/2018                 $62,030.00            $2,829.45                   $64,859.45

 121475                  01/31/2019                 $15,314.50             $416.95                    $15,731.45

 121675                  03/12/2019                 $15,641.00             $462.34                    $16,103.34
     Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18        Desc
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Gottlieb, David K - Yashouafar                                               Invoice 122426
32274 - 00001                                                                May 31, 2019

 121933                  03/31/2019              $1,193.50         $20.00                 $1,213.50

 122184                  04/30/2019               $298.00          $31.35                      $329.35

             Total Amount Due on Current and Prior Invoices:                             $854,978.81
     Case 1:16-bk-12255-GM     Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18       Desc
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    June 30, 2019
D. Gottlieb & Associates                                            Invoice 122696
17000 Ventura Blvd #300                                             Client    32274
Encino, CA 91316                                                    Matter    00001
                                                                              JVR

RE: Yashouafar

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 06/30/2019
                 FEES                                                $12,921.00
                 EXPENSES                                               $844.99
                 TOTAL CURRENT CHARGES                               $13,765.99

                 BALANCE FORWARD                                    $854,978.81
                 TOTAL BALANCE DUE                                  $868,744.80
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Gottlieb, David K - Yashouafar                                             Invoice 122696
32274 - 00001                                                              June 30, 2019




  Summary of Services by Professional
  ID        Name                              Title               Rate      Hours              Amount

 JVR        Richards, Jeremy V.               Partner           1095.00     11.80           $12,921.00

                                                                           11.80             $12,921.00
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Gottlieb, David K - Yashouafar                                                  Invoice 122696
32274 - 00001                                                                   June 30, 2019


  Summary of Services by Task Code
  Task Code         Description                                         Hours                       Amount

 BL                 Bankruptcy Litigation [L430]                       11.80                      $12,921.00

                                                                                11.80             $12,921.00
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Gottlieb, David K - Yashouafar                                             Invoice 122696
32274 - 00001                                                              June 30, 2019


  Summary of Expenses
  Description                                                                                    Amount
Conference Call [E105]                                                                       $5.46
Lexis/Nexis- Legal Research [E                                                              $21.83
Legal Vision Atty Mess Service                                                          $327.50
Pacer - Court Research                                                                  $270.20
Postage [E108]                                                                               $5.20
Reproduction Expense [E101]                                                             $112.60
Reproduction/ Scan Copy                                                                 $102.20

                                                                                                $844.99
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Gottlieb, David K - Yashouafar                                                               Invoice 122696
32274 - 00001                                                                                June 30, 2019


                                                                                     Hours           Rate         Amount

  Bankruptcy Litigation [L430]
 06/03/2019   JVR     BL        Research remedies against mortgagee in possession.    1.40      1095.00         $1,533.00
 06/03/2019   JVR     BL        Telephone D. McCarthy and H. David re meet &          0.10      1095.00           $109.50
                                confer re motion to withdraw reference.
 06/04/2019   JVR     BL        Draft opposition to Elkwood motion to clarify.        0.80      1095.00           $876.00
 06/05/2019   JVR     BL        Research and draft opposition to Elkwood motion to    2.30      1095.00         $2,518.50
                                clarify.
 06/06/2019   JVR     BL        Review reply in support of motion to withdraw         0.30      1095.00           $328.50
                                reference.
 06/07/2019   JVR     BL        Draft opposition to Elkwood motion to clarify.        1.30      1095.00         $1,423.50
 06/10/2019   JVR     BL        Revise opposition to motion to clarify.               0.20      1095.00           $219.00
 06/12/2019   JVR     BL        Revise opposition to motion to clarify orders.        0.40      1095.00           $438.00
 06/13/2019   JVR     BL        Telephone conference with C. Lipsay re rental         0.30      1095.00           $328.50
                                evaluation (910 Rexford).
 06/17/2019   JVR     BL        Draft proposed statement of decision.                 1.40      1095.00         $1,533.00
 06/25/2019   JVR     BL        Revise joint pretrial stipulation.                    0.70      1095.00           $766.50
 06/25/2019   JVR     BL        Revise opposition to motion for clarification.        0.40      1095.00           $438.00
 06/26/2019   JVR     BL        Review and analyze Elkwood settlement offer (.4);     1.00      1095.00         $1,095.00
                                Draft e-mail to client and H. David re same (.6).
 06/26/2019   JVR     BL        Revise opposition to motion for clarification.        0.40      1095.00           $438.00
 06/26/2019   JVR     BL        Draft e-mail to client and H. David re Elkwood        0.40      1095.00           $438.00
                                settlement offer.
 06/27/2019   JVR     BL        Review e-mails from H. David re miscellaneous         0.20      1095.00           $219.00
                                litigation issues.
 06/28/2019   JVR     BL        Review memorandum denying motion to withdraw          0.20      1095.00           $219.00
                                reference.

                                                                                     11.80                     $12,921.00

  TOTAL SERVICES FOR THIS MATTER:                                                                             $12,921.00
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Gottlieb, David K - Yashouafar                                                     Invoice 122696
32274 - 00001                                                                      June 30, 2019



 Expenses

 05/10/2019   CC        Conference Call [E105] AT&T Conference Call, JVR               3.58


 05/14/2019   CC        Conference Call [E105] AT&T Conference Call, JVR               1.88


 06/03/2019   LN        32274.00001 Lexis Charges for 06-03-19                        19.91


 06/03/2019   LV        Legal Vision Atty/Mess. Service- Inv. 05947, Los Angeles      82.50
                        District Court, Nancy


 06/03/2019   RE        ( 400 @0.20 PER PG)                                           80.00


 06/03/2019   RE        ( 35 @0.20 PER PG)                                             7.00


 06/03/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                   1.40


 06/03/2019   RE2       SCAN/COPY ( 50 @0.10 PER PG)                                   5.00


 06/03/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                   1.20


 06/04/2019   LN        32274.00001 Lexis Charges for 06-04-19                         0.96


 06/04/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                   1.50


 06/04/2019   RE2       SCAN/COPY ( 113 @0.10 PER PG)                                 11.30


 06/04/2019   RE2       SCAN/COPY ( 458 @0.10 PER PG)                                 45.80


 06/04/2019   RE2       SCAN/COPY ( 239 @0.10 PER PG)                                 23.90


 06/05/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                   1.50


 06/05/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                    0.30


 06/06/2019   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                   1.70
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Gottlieb, David K - Yashouafar                                                      Invoice 122696
32274 - 00001                                                                       June 30, 2019



 06/10/2019   LN        32274.00001 Lexis Charges for 06-10-19                           0.96


 06/12/2019   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                     1.00


 06/14/2019   PO        32274.00001 :Postage Charges for 06-14-19                        5.20


 06/17/2019   RE        ( 128 @0.20 PER PG)                                             25.60


 06/17/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                     1.40


 06/17/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                     1.40


 06/18/2019   LV        Legal Vision Atty/Mess. Service- Inv. 06105, Los Angeles        82.50
                        District Court, JVR


 06/18/2019   LV        Legal Vision Atty/Mess. Service- Inv. 06106, San Fernando       97.50
                        Bankruptcy, JVR


 06/24/2019   LV        Legal Vision Atty/Mess. Service- Inv. 05946, San Fernando       65.00
                        Bankruptcy Court, Nancy


 06/25/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                     1.50


 06/26/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                     1.10


 06/26/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                     1.10


 06/26/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                     1.10


 06/30/2019   PAC       Pacer - Court Research                                         270.20

   Total Expenses for this Matter                                                   $844.99
     Case 1:16-bk-12255-GM              Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                   Desc
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Pachulski Stang Ziehl & Jones LLP                                                         Page:     8
Gottlieb, David K - Yashouafar                                                            Invoice 122696
32274 - 00001                                                                             June 30, 2019


                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        06/30/2019

Total Fees                                                                                             $12,921.00

Total Expenses                                                                                               844.99

Total Due on Current Invoice                                                                           $13,765.99

  Outstanding Balance from prior invoices as of        06/30/2019          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed              Balance Due
 115185                  12/31/2016                 $73,344.00            $2,031.97                   $71,173.79

 116402                  04/30/2017                $104,852.00            $9,398.28                  $114,250.28

 116970                  06/30/2017                 $47,800.00            $3,522.61                   $51,322.61

 117273                  07/31/2017                 $52,383.00             $297.68                    $52,680.68

 117433                  08/31/2017                 $92,699.00            $3,787.46                   $96,486.46

 117926                  10/31/2017                 $30,300.50            $1,696.72                   $31,997.22

 118167                  12/31/2017                 $57,147.50            $1,632.63                   $58,780.13

 118515                  01/31/2018                 $67,197.50             $848.65                    $68,046.15

 118713                  02/28/2018                 $45,600.00             $342.55                    $45,942.55

 119250                  03/31/2018                  $8,041.00            $5,316.35                   $13,357.35

 119446                  04/30/2018                  $7,267.50             $980.08                     $8,247.58

 119720                  05/31/2018                 $58,867.50            $1,062.74                   $59,930.24

 120437                  09/30/2018                  $9,917.50             $880.04                    $10,797.54

 120645                  10/31/2018                  $9,515.00              $28.80                     $9,543.80

 120779                  11/30/2018                  $8,775.00              $51.60                     $8,826.60

 121032                  12/31/2018                 $62,030.00            $2,829.45                   $64,859.45

 121475                  01/31/2019                 $15,314.50             $416.95                    $15,731.45

 121675                  03/12/2019                 $15,641.00             $462.34                    $16,103.34
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Gottlieb, David K - Yashouafar                                                Invoice 122696
32274 - 00001                                                                 June 30, 2019

 121933                  03/31/2019               $1,193.50         $20.00                 $1,213.50

 122184                  04/30/2019                $298.00          $31.35                      $329.35

 122426                   05/31/2019             $54,742.00        $616.74                $55,358.74

             Total Amount Due on Current and Prior Invoices:                              $868,744.80
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    July 31, 2019
D. Gottlieb & Associates                                            Invoice 122865
17000 Ventura Blvd #300                                             Client    32274
Encino, CA 91316                                                    Matter    00001
                                                                              JVR

RE: Yashouafar

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 07/31/2019
                 FEES                                                $12,385.50
                 EXPENSES                                               $236.71
                 TOTAL CURRENT CHARGES                               $12,622.21

                 BALANCE FORWARD                                    $868,744.80
                 TOTAL BALANCE DUE                                  $881,367.01
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Gottlieb, David K - Yashouafar                                             Invoice 122865
32274 - 00001                                                              July 31, 2019




  Summary of Services by Professional
  ID        Name                              Title               Rate      Hours              Amount

 JVR        Richards, Jeremy V.               Partner           1095.00      9.40           $10,293.00

 JWL        Lucas, John W.                    Partner            775.00      2.70            $2,092.50

                                                                           12.10             $12,385.50
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Gottlieb, David K - Yashouafar                                                  Invoice 122865
32274 - 00001                                                                   July 31, 2019


  Summary of Services by Task Code
  Task Code         Description                                         Hours                       Amount

 AD                 Asset Disposition [B130]                            1.80                       $1,811.00

 BL                 Bankruptcy Litigation [L430]                        7.80                       $8,253.00

 CA                 Case Administration [B110]                          1.30                       $1,007.50

 CO                 Claims Admin/Objections[B310]                       1.20                       $1,314.00

                                                                                12.10             $12,385.50
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Gottlieb, David K - Yashouafar                                             Invoice 122865
32274 - 00001                                                              July 31, 2019


  Summary of Expenses
  Description                                                                                    Amount
Federal Express [E108]                                                                      $15.11
Pacer - Court Research                                                                      $10.00
Postage [E108]                                                                              $12.00
Reproduction Expense [E101]                                                                 $60.20
Reproduction/ Scan Copy                                                                 $139.40

                                                                                                $236.71
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Gottlieb, David K - Yashouafar                                                                 Invoice 122865
32274 - 00001                                                                                  July 31, 2019


                                                                                       Hours           Rate        Amount

  Asset Disposition [B130]
 07/11/2019   JWL     AD        Calls and emails regarding disposition of Rexford       0.50        775.00         $387.50
                                property.
 07/25/2019   JVR     AD        Telephone L. May re sale of 910 N. Rexford (.4);        0.50      1095.00          $547.50
                                Draft e-mail to L. May re same (.1).
 07/29/2019   JVR     AD        Telephone G. Levy re valuation of 910 N. Rexford        0.80      1095.00          $876.00
                                (.4); Review comps and other information re same
                                (.4).

                                                                                        1.80                      $1,811.00

  Bankruptcy Litigation [L430]
 07/01/2019   JVR     BL        Draft response to Elkwood settlement proposal.          0.90      1095.00          $985.50
 07/01/2019   JVR     BL        Revise opposition to motion to clarify order.           0.40      1095.00          $438.00
 07/01/2019   JVR     BL        Telephone D. Coniff re sale of Rexford/settlement       0.50      1095.00          $547.50
                                proposals.
 07/01/2019   JVR     BL        Prepare for trial.                                      0.40      1095.00          $438.00
 07/02/2019   JVR     BL        Draft e-mail to H. David, D. Coniff, D. Gottlieb re     0.20      1095.00          $219.00
                                valuation issues (.1); Revise settlement
                                counterproposal (.1).
 07/02/2019   JVR     BL        Revise Joint Pre-Trial Stipulation                      1.70      1095.00         $1,861.50
 07/08/2019   JVR     BL        Draft e-mail to H. David re appraisal issues.           0.10      1095.00          $109.50
 07/08/2019   JVR     BL        Conference with J. Lucas re litigation issues.          0.20      1095.00          $219.00
 07/08/2019   JVR     BL        Review settlement offer (.1); Draft e-mail to client    0.30      1095.00          $328.50
                                and h. David re same (.2).
 07/08/2019   JWL     BL        Call with J. Richards regarding production under the    0.30        775.00         $232.50
                                Elkwood litigation.
 07/19/2019   JWL     BL        Follow up on production of expert report.               0.60        775.00         $465.00
 07/24/2019   JVR     BL        Draft e-mail to trustee and H. David re Elkwood         0.20      1095.00          $219.00
                                settlement proposal.
 07/24/2019   JVR     BL        Review Elkwood petition for mandamus.                   0.30      1095.00          $328.50
 07/25/2019   JVR     BL        Telephone D. Gottlieb re Elkwood settlement             0.20      1095.00          $219.00
                                proposal.
 07/25/2019   JVR     BL        Prepare for Elkwood trial.                              0.60      1095.00          $657.00
 07/26/2019   JVR     BL        Draft e-mail to H. David re Elkwood settlement          0.10      1095.00          $109.50
                                offer.
 07/26/2019   JVR     BL        Prepare for trial.                                      0.30      1095.00          $328.50
 07/26/2019   JVR     BL        Telephone H. David re Elkwood settlement proposal       0.30      1095.00          $328.50
     Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                        Desc
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Gottlieb, David K - Yashouafar                                                               Invoice 122865
32274 - 00001                                                                                July 31, 2019


                                                                                     Hours           Rate         Amount
                                (.2); Draft e-mail to D. McCarthy re same (.1).
 07/31/2019   JVR     BL        Telephone C. Lipsey re appraisal issues.              0.20      1095.00           $219.00

                                                                                      7.80                      $8,253.00

  Case Administration [B110]
 07/01/2019   JWL     CA        Draft seventh case status report.                     0.80        775.00          $620.00
 07/23/2019   JWL     CA        Draft summary of Elkwood adversary proceeding         0.50        775.00          $387.50
                                the UST.

                                                                                      1.30                      $1,007.50

  Claims Admin/Objections[B310]
 07/30/2019   JVR     CO        Draft objection to Elkwood claim and counterclaim.    1.20      1095.00         $1,314.00

                                                                                      1.20                      $1,314.00

  TOTAL SERVICES FOR THIS MATTER:                                                                             $12,385.50
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Gottlieb, David K - Yashouafar                                              Invoice 122865
32274 - 00001                                                               July 31, 2019



 Expenses

 07/01/2019   FE        32274.00001 FedEx Charges for 07-01-19                 15.11


 07/01/2019   PO        Postage [E108] SF Mail                                 12.00


 07/01/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80


 07/01/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80


 07/01/2019   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40


 07/01/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                             0.70


 07/01/2019   RE2       SCAN/COPY ( 192 @0.10 PER PG)                          19.20


 07/02/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                            1.50


 07/02/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                            1.60


 07/03/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                             0.70


 07/03/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40


 07/15/2019   RE        ( 10 @0.20 PER PG)                                      2.00


 07/15/2019   RE2       SCAN/COPY ( 13 @0.10 PER PG)                            1.30


 07/19/2019   RE        ( 291 @0.20 PER PG)                                    58.20


 07/24/2019   RE2       SCAN/COPY ( 18 @0.10 PER PG)                            1.80


 07/24/2019   RE2       SCAN/COPY ( 1082 @0.10 PER PG)                        108.20


 07/31/2019   PAC       Pacer - Court Research                                 10.00
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Gottlieb, David K - Yashouafar                                             Invoice 122865
32274 - 00001                                                              July 31, 2019


   Total Expenses for this Matter                                          $236.71
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Gottlieb, David K - Yashouafar                                                            Invoice 122865
32274 - 00001                                                                             July 31, 2019


                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        07/31/2019

Total Fees                                                                                             $12,385.50

Total Expenses                                                                                               236.71

Total Due on Current Invoice                                                                           $12,622.21

  Outstanding Balance from prior invoices as of        07/31/2019          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed              Balance Due
 115185                  12/31/2016                 $73,344.00            $2,031.97                   $71,173.79

 116402                  04/30/2017                $104,852.00            $9,398.28                  $114,250.28

 116970                  06/30/2017                 $47,800.00            $3,522.61                   $51,322.61

 117273                  07/31/2017                 $52,383.00             $297.68                    $52,680.68

 117433                  08/31/2017                 $92,699.00            $3,787.46                   $96,486.46

 117926                  10/31/2017                 $30,300.50            $1,696.72                   $31,997.22

 118167                  12/31/2017                 $57,147.50            $1,632.63                   $58,780.13

 118515                  01/31/2018                 $67,197.50             $848.65                    $68,046.15

 118713                  02/28/2018                 $45,600.00             $342.55                    $45,942.55

 119250                  03/31/2018                  $8,041.00            $5,316.35                   $13,357.35

 119446                  04/30/2018                  $7,267.50             $980.08                     $8,247.58

 119720                  05/31/2018                 $58,867.50            $1,062.74                   $59,930.24

 120437                  09/30/2018                  $9,917.50             $880.04                    $10,797.54

 120645                  10/31/2018                  $9,515.00              $28.80                     $9,543.80

 120779                  11/30/2018                  $8,775.00              $51.60                     $8,826.60

 121032                  12/31/2018                 $62,030.00            $2,829.45                   $64,859.45

 121475                  01/31/2019                 $15,314.50             $416.95                    $15,731.45

 121675                  03/12/2019                 $15,641.00             $462.34                    $16,103.34
     Case 1:16-bk-12255-GM             Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18        Desc
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Gottlieb, David K - Yashouafar                                                Invoice 122865
32274 - 00001                                                                 July 31, 2019

 121933                  03/31/2019               $1,193.50         $20.00                 $1,213.50

 122184                  04/30/2019                $298.00          $31.35                      $329.35

 122426                   05/31/2019             $54,742.00        $616.74                $55,358.74

 122696                   06/30/2019             $12,921.00        $844.99                $13,765.99

             Total Amount Due on Current and Prior Invoices:                              $881,367.01
     Case 1:16-bk-12255-GM     Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18       Desc
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    August 31, 2019
D. Gottlieb & Associates                                            Invoice 123054
17000 Ventura Blvd #300                                             Client   32274
Encino, CA 91316                                                    Matter   00001
                                                                             JVR

RE: Yashouafar

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 08/31/2019
                 FEES                                                $52,652.50
                 EXPENSES                                               $780.28
                 TOTAL CURRENT CHARGES                               $53,432.78

                 BALANCE FORWARD                                    $881,367.01
                 TOTAL BALANCE DUE                                  $934,799.79
       Case 1:16-bk-12255-GM        Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18     Desc
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Gottlieb, David K - Yashouafar                                             Invoice 123054
32274 - 00001                                                              August 31, 2019




  Summary of Services by Professional
  ID        Name                              Title               Rate      Hours               Amount

 GIG        Glazer, Gabriel I.                Partner            835.00      0.70              $584.50

 JVR        Richards, Jeremy V.               Partner           1095.00     42.40            $46,428.00

                                                                             6.90             $5,347.50
 JWL        Lucas, John W.                    Partner            775.00
                                                                             0.30              $292.50
 KHB        Brown, Kenneth H.                 Partner            975.00
                                                                           50.30              $52,652.50
      Case 1:16-bk-12255-GM          Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18         Desc
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Pachulski Stang Ziehl & Jones LLP                                               Page:     3
Gottlieb, David K - Yashouafar                                                  Invoice 123054
32274 - 00001                                                                   August 31, 2019


  Summary of Services by Task Code
  Task Code         Description                                         Hours                       Amount

 AD                 Asset Disposition [B130]                            0.20                        $219.00

 BL                 Bankruptcy Litigation [L430]                       48.70                      $50,900.50

 CA                 Case Administration [B110]                          1.20                       $1,314.00

 CO                 Claims Admin/Objections[B310]                       0.20                        $219.00

                                                                                50.30             $52,652.50
     Case 1:16-bk-12255-GM          Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18     Desc
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Gottlieb, David K - Yashouafar                                             Invoice 123054
32274 - 00001                                                              August 31, 2019


  Summary of Expenses
  Description                                                                                    Amount
Conference Call [E105]                                                                       $2.06
Lexis/Nexis- Legal Research [E                                                         $137.52
Pacer - Court Research                                                                   $16.10
Reproduction Expense [E101]                                                                  $4.20
Reproduction/ Scan Copy                                                                $118.20
Transcript [E116]                                                                      $502.20

                                                                                                $780.28
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Gottlieb, David K - Yashouafar                                                                Invoice 123054
32274 - 00001                                                                                 August 31, 2019


                                                                                      Hours           Rate       Amount

  Asset Disposition [B130]
 08/12/2019   JVR     AD        Telephone J. Eaton re purchase of 910 N. Rexford.      0.20      1095.00         $219.00

                                                                                       0.20                      $219.00

  Bankruptcy Litigation [L430]
 08/01/2019   JVR     BL        Revise objection to Elkwood claim and                  0.20      1095.00         $219.00
                                counter-claim.
 08/02/2019   JVR     BL        Draft subpoena and notice of deposition (F. Russo).    0.20      1095.00         $219.00
 08/02/2019   JVR     BL        Prepare for trial.                                     2.30      1095.00        $2,518.50
 08/02/2019   JWL     BL        Review and comment on pretrial statement for           1.50       775.00        $1,162.50
                                Elkwood trial.
 08/05/2019   JVR     BL        Conference with KNB re trial issues.                   0.40      1095.00         $438.00
 08/06/2019   JVR     BL        Review Elkwood counter-settlement proposal (.2);       0.50      1095.00         $547.50
                                Draft analysis to client (.3).
 08/06/2019   JVR     BL        Prepare for deposition of J. Nourafshan.               0.80      1095.00         $876.00
 08/06/2019   JVR     BL        Draft response to Elkwood counter proposal.            0.20      1095.00         $219.00
 08/07/2019   JVR     BL        Revise settlement counter proposal.                    0.10      1095.00         $109.50
 08/07/2019   JVR     BL        Review additional materials provided by Elkwood re     0.20      1095.00         $219.00
                                Chase cure and reinstatement.
 08/07/2019   JVR     BL        Prepare for Nourafshan deposition.                     0.40      1095.00         $438.00
 08/08/2019   JVR     BL        Draft e-mail to D. McCarthy re settlement offer.       0.10      1095.00         $109.50
 08/08/2019   JVR     BL        Prepare for Nourafshan deposition.                     0.80      1095.00         $876.00
 08/08/2019   JVR     BL        Review Abselet comments to draft Pre-Trial             0.30      1095.00         $328.50
                                Stipulation.
 08/08/2019   JVR     BL        Revise Pre-Trial Stipulation.                          0.50      1095.00         $547.50
 08/09/2019   JVR     BL        Telephone H. David and H. Gamzo re Pre-Trial           0.40      1095.00         $438.00
                                Stipulation.
 08/09/2019   JVR     BL        Revise Pre-Trial Stipulation.                          0.60      1095.00         $657.00
 08/09/2019   JVR     BL        Review settlement offer (Elkwood litigation).          0.10      1095.00         $109.50
 08/09/2019   JVR     BL        Draft e-mail to D. Gottlieb re settlement proposal.    0.10      1095.00         $109.50
 08/12/2019   JVR     BL        Prepare for Nourafshan deposition.                     0.40      1095.00         $438.00
 08/12/2019   JVR     BL        Revise pre-trial stipulation.                          0.10      1095.00         $109.50
 08/12/2019   JVR     BL        Deposition of J. Nourafshan.                           1.30      1095.00        $1,423.50
 08/12/2019   JVR     BL        Telephone D. Coniff, H. David, D. Gottlieb re          0.50      1095.00         $547.50
                                Elkwood settlement offer.
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                                                                                        Hours           Rate       Amount
 08/12/2019   JVR     BL        Draft e-mail to D. McCarthy re inspection of 910 N.      0.10      1095.00         $109.50
                                Rexford.
 08/12/2019   JVR     BL        Revise pre-trial stipulation.                            0.60      1095.00         $657.00
 08/13/2019   JVR     BL        Review property appraisals.                              0.40      1095.00         $438.00
 08/13/2019   JVR     BL        Prepare for trial.                                       0.60      1095.00         $657.00
 08/13/2019   JVR     BL        Meeting with C. Lipsey re appraisal testimony.           0.80      1095.00         $876.00
 08/19/2019   JVR     BL        Review petition for writ of mandamus and research        2.30      1095.00        $2,518.50
                                cases cited thereon (2.); Draft e-mail to client re
                                same (.3).
 08/19/2019   JVR     BL        Telephone H. David and D. Coniff re trial issues.        0.70      1095.00         $766.50
 08/19/2019   JVR     BL        Research issues relating to partial dismissal of         1.00      1095.00        $1,095.00
                                claims.
 08/20/2019   JVR     BL        Research issues relating to dismissal of certain         0.70      1095.00         $766.50
                                litigation claims and draft e-mail to client re same.
 08/20/2019   JVR     BL        Review defendants' edits to draft pre-trial order.       0.30      1095.00         $328.50
 08/20/2019   JWL     BL        Research regarding withdrawal reference issues.          1.10       775.00         $852.50
 08/21/2019   JVR     BL        Prepare for appraiser deposition.                        1.70      1095.00        $1,861.50
 08/21/2019   JVR     BL        Review and respond to e-mails re trial valuation         0.30      1095.00         $328.50
                                issues.
 08/21/2019   JVR     BL        Telephone D. Gottlieb, D. Coniff and H. David re         0.50      1095.00         $547.50
                                Elkwood litigation and trial issues.
 08/21/2019   JVR     BL        Conference with J. Lucas re trial and related issues.    0.40      1095.00         $438.00
 08/21/2019   JVR     BL        Conference with J. Lucas re trial issues (.2); Draft     0.30      1095.00         $328.50
                                e-mail to H. David re same (.1).
 08/21/2019   KHB     BL        Confer with John Lucas re indispensable party            0.30       975.00         $292.50
                                issues.
 08/21/2019   JWL     BL        Research regarding indispensable parties (2.6); call     2.90       775.00        $2,247.50
                                with K. Brown regarding same (.3);
 08/22/2019   JVR     BL        Attend deposition of C. Lipsey.                          5.00      1095.00        $5,475.00
 08/22/2019   JVR     BL        Prepare for deposition of defendants' appraiser.         2.00      1095.00        $2,190.00
 08/22/2019   JVR     BL        Review defendant's motion to stay trial.                 0.20      1095.00         $219.00
 08/23/2019   JVR     BL        Take deposition of F. Russo, appraiser.                  1.60      1095.00        $1,752.00
 08/23/2019   JVR     BL        Revise pretrial stipulation.                             1.30      1095.00        $1,423.50
 08/23/2019   JVR     BL        Revise joint pretrial stipulation.                       1.50      1095.00        $1,642.50
 08/23/2019   JVR     BL        Telephone H. Gamzo re discovery and trial issues.        0.20      1095.00         $219.00
 08/24/2019   JVR     BL        Draft e-mail to H. David re trial issues (.1); Draft     0.20      1095.00         $219.00
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                                                                                        Hours           Rate        Amount
                                e-mail to D. McCarthy re same (.1).
 08/25/2019   JVR     BL        Revise joint pretrial order.                             1.30      1095.00        $1,423.50
 08/26/2019   GIG     BL        Emails with J. Richards re fraudulent transfer           0.20       835.00          $167.00
                                defenses
 08/26/2019   GIG     BL        Review prior analysis of California fraudulent           0.30       835.00          $250.50
                                transfer statute and commentaries on defenses
 08/26/2019   JVR     BL        Telephone H. David, H. Gamzo and D. Coniff re            0.40      1095.00          $438.00
                                trial preparation.
 08/26/2019   JVR     BL        Revise Joint Pretrial Stipulation (.8); Research         2.40      1095.00        $2,628.00
                                various defenses under Bankruptcy Code and UVTA
                                (1.6).
 08/26/2019   JWL     BL        Call with J. Richards regarding trial preparation and    0.60       775.00          $465.00
                                research regarding same (.6).
 08/27/2019   GIG     BL        Emails with J. Richards re fraudulent transfer           0.20       835.00          $167.00
                                defenses
 08/27/2019   JVR     BL        Draft opposition to motion to stay trial.                0.40      1095.00          $438.00
 08/27/2019   JVR     BL        Review letter from D. McCarthy re dismissal of           0.10      1095.00          $109.50
                                claims.
 08/27/2019   JVR     BL        Revise Pre-Trial order.                                  0.70      1095.00          $766.50
 08/27/2019   JWL     BL        Work on fraudulent transfer trial preparations.          0.80       775.00          $620.00
 08/28/2019   JVR     BL        Telephone D. Gottlieb re trial options (.3); Draft       1.20      1095.00        $1,314.00
                                e-mail to client and H. David re same (.1);
                                Conference call with client, H. David and D. Coniff
                                re same (.5); Telephone D. Gottlieb re same (.3).
 08/28/2019   JVR     BL        Telephone H. David, D. Coniff and H. Gamzo re            0.50      1095.00          $547.50
                                dismissal of claims; trial.
 08/30/2019   JVR     BL        Review and edit various stipulations re briefing,        0.60      1095.00          $657.00
                                trial, dismissal of claims.

                                                                                        48.70                     $50,900.50

  Case Administration [B110]
 08/21/2019   JVR     CA        Draft 9019 settlement motion.                            1.20      1095.00        $1,314.00

                                                                                         1.20                      $1,314.00

  Claims Admin/Objections[B310]
 08/23/2019   JVR     CO        Review draft settlement agreement (US Bank               0.20      1095.00          $219.00
                                claims).

                                                                                         0.20                       $219.00
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  TOTAL SERVICES FOR THIS MATTER:                                                        $52,652.50
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 Expenses

 07/09/2019   CC        Conference Call [E105] AT&T Conference Call, JVR        2.06


 08/02/2019   LN        32274.00001 Lexis Charges for 08-02-19                  0.72


 08/06/2019   RE        ( 7 @0.20 PER PG)                                       1.40


 08/06/2019   RE2       SCAN/COPY ( 70 @0.10 PER PG)                            7.00


 08/06/2019   RE2       SCAN/COPY ( 70 @0.10 PER PG)                            7.00


 08/06/2019   RE2       SCAN/COPY ( 70 @0.10 PER PG)                            7.00


 08/06/2019   RE2       SCAN/COPY ( 70 @0.10 PER PG)                            7.00


 08/08/2019   RE        ( 14 @0.20 PER PG)                                      2.80


 08/08/2019   RE2       SCAN/COPY ( 46 @0.10 PER PG)                            4.60


 08/08/2019   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40


 08/08/2019   RE2       SCAN/COPY ( 138 @0.10 PER PG)                          13.80


 08/08/2019   RE2       SCAN/COPY ( 486 @0.10 PER PG)                          48.60


 08/12/2019   TR        Transcript [E116] TSG Reporting, Inv.811633, JVR      502.20


 08/16/2019   LN        32274.00001 Lexis Charges for 08-16-19                  0.18


 08/19/2019   LN        32274.00001 Lexis Charges for 08-19-19                 39.74


 08/20/2019   LN        32274.00001 Lexis Charges for 08-20-19                 22.51


 08/20/2019   LN        32274.00001 Lexis Charges for 08-20-19                  0.56
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 08/20/2019   RE2       SCAN/COPY ( 36 @0.10 PER PG)                             3.60


 08/21/2019   LN        32274.00001 Lexis Charges for 08-21-19                  38.05


 08/23/2019   RE2       SCAN/COPY ( 24 @0.10 PER PG)                             2.40


 08/23/2019   RE2       SCAN/COPY ( 29 @0.10 PER PG)                             2.90


 08/26/2019   LN        32274.00001 Lexis Charges for 08-26-19                   0.55


 08/26/2019   LN        32274.00001 Lexis Charges for 08-26-19                  35.21


 08/26/2019   RE2       SCAN/COPY ( 24 @0.10 PER PG)                             2.40


 08/26/2019   RE2       SCAN/COPY ( 23 @0.10 PER PG)                             2.30


 08/26/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                             1.10


 08/26/2019   RE2       SCAN/COPY ( 22 @0.10 PER PG)                             2.20


 08/27/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                             1.60


 08/27/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                             1.10


 08/27/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20


 08/31/2019   PAC       Pacer - Court Research                                  16.10

   Total Expenses for this Matter                                           $780.28
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                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        08/31/2019

Total Fees                                                                                            $52,652.50

Total Expenses                                                                                              780.28

Total Due on Current Invoice                                                                          $53,432.78

  Outstanding Balance from prior invoices as of        08/31/2019          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed              Balance Due
 115185                  12/31/2016                 $73,344.00            $2,031.97                   $71,173.79

 116402                  04/30/2017                $104,852.00            $9,398.28                  $114,250.28

 116970                  06/30/2017                 $47,800.00            $3,522.61                   $51,322.61

 117273                  07/31/2017                 $52,383.00             $297.68                    $52,680.68

 117433                  08/31/2017                 $92,699.00            $3,787.46                   $96,486.46

 117926                  10/31/2017                 $30,300.50            $1,696.72                   $31,997.22

 118167                  12/31/2017                 $57,147.50            $1,632.63                   $58,780.13

 118515                  01/31/2018                 $67,197.50             $848.65                    $68,046.15

 118713                  02/28/2018                 $45,600.00             $342.55                    $45,942.55

 119250                  03/31/2018                  $8,041.00            $5,316.35                   $13,357.35

 119446                  04/30/2018                  $7,267.50             $980.08                     $8,247.58

 119720                  05/31/2018                 $58,867.50            $1,062.74                   $59,930.24

 120437                  09/30/2018                  $9,917.50             $880.04                    $10,797.54

 120645                  10/31/2018                  $9,515.00              $28.80                     $9,543.80

 120779                  11/30/2018                  $8,775.00              $51.60                     $8,826.60

 121032                  12/31/2018                 $62,030.00            $2,829.45                   $64,859.45

 121475                  01/31/2019                 $15,314.50             $416.95                    $15,731.45

 121675                  03/12/2019                 $15,641.00             $462.34                    $16,103.34
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 121933                  03/31/2019               $1,193.50         $20.00                 $1,213.50

 122184                  04/30/2019                $298.00          $31.35                      $329.35

 122426                   05/31/2019             $54,742.00        $616.74                $55,358.74

 122696                   06/30/2019             $12,921.00        $844.99                $13,765.99

 122865                   07/31/2019             $12,385.50        $236.71                $12,622.21

             Total Amount Due on Current and Prior Invoices:                              $934,799.79
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    September 30, 2019
D. Gottlieb & Associates                                            Invoice 123299
17000 Ventura Blvd #300                                             Client  32274
Encino, CA 91316                                                    Matter  00001
                                                                            JVR

RE: Yashouafar

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 09/30/2019
                 FEES                                                $51,359.00
                 EXPENSES                                             $2,696.69
                 TOTAL CURRENT CHARGES                               $54,055.69

                 BALANCE FORWARD                                    $934,799.79
                 TOTAL BALANCE DUE                                  $988,855.48
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  Summary of Services by Professional
  ID        Name                              Title               Rate      Hours               Amount

 DGP        Parker, Daryl G.                  Counsel            975.00      1.70          $1,657.50

 JVR        Richards, Jeremy V.               Partner           1095.00     41.70         $45,661.50

                                                                             4.50          $3,487.50
 JWL        Lucas, John W.                    Partner            775.00
                                                                             1.30           $552.50
 LAF        Forrester, Leslie A.              Other              425.00
                                                                           49.20           $51,359.00
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  Summary of Services by Task Code
  Task Code         Description                                         Hours                        Amount

 BL                 Bankruptcy Litigation [L430]                       49.20                   $51,359.00

                                                                                49.20           $51,359.00
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  Summary of Expenses
  Description                                                                                   Amount
Bloomberg                                                                                $96.00
Working Meals [E111]                                                                     $18.00
Conference Call [E105]                                                                   $11.84
Lexis/Nexis- Legal Research [E                                                          $650.85
Legal Vision Atty Mess Service                                                           $75.00
Pacer - Court Research                                                                  $106.20
Postage [E108]                                                                            $2.85

Reproduction Expense [E101]                                                              $27.60
Reproduction/ Scan Copy                                                                  $46.90
Transcript [E116]                                                                      $1,661.45

                                                                                            $2,696.69
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                                                                                         Hours           Rate         Amount

  Bankruptcy Litigation [L430]
 09/03/2019   JVR     BL        Review edits to proposed scheduling and dismissal         0.20      1095.00           $219.00
                                stipulations.
 09/03/2019   JVR     BL        Research re litigation of redemption issues.              0.90      1095.00           $985.50
 09/04/2019   JVR     BL        Research and revise opposition to motion for              2.50      1095.00       $2,737.50
                                clarification re procedure for determination of
                                redemption payment.
 09/10/2019   JVR     BL        Review court order re scheduling - 0.1; telephone         0.30      1095.00           $328.50
                                call with court clerk re same - 0.1; respond to emails
                                re same - 0.1
 09/10/2019   JVR     BL        Research jurisdictional issues re entry of summary        1.30      1095.00       $1,423.50
                                judgment
 09/11/2019   JVR     BL        Draft supplemental reply re trial stay motion             2.80      1095.00       $3,066.00
 09/12/2019   JVR     BL        Draft answer to petition for writ of mandamus             1.20      1095.00       $1,314.00
 09/13/2019   JVR     BL        Review answer to petition for writ of mandamus            0.80      1095.00           $876.00
 09/17/2019   JVR     BL        Review reply ISO motion for stay -- 1.0; review           4.20      1095.00       $4,599.00
                                reply ISO motion for clarification/amendment -- 0.8;
                                review supplemental reply brief in stay motion -- 2.4
 09/18/2019   JVR     BL        Review supplemental reply re stay motion                  0.70      1095.00           $766.50
 09/19/2019   JVR     BL        Draft settlement counter-proposal.                        0.20      1095.00           $219.00
 09/19/2019   JVR     BL        Review defendants' supplemental reply.                    0.30      1095.00           $328.50
 09/19/2019   JVR     BL        Research and analyze arguments raised in reply in         3.30      1095.00       $3,613.50
                                support of stay motion.
 09/19/2019   JVR     BL        Review reply in support of petition for writ.             0.20      1095.00           $219.00
 09/23/2019   JVR     BL        Prepare for 9/24 hearings.                                1.60      1095.00       $1,752.00
 09/24/2019   JVR     BL        Prepare for and attend hearing on motion for stay /       6.00      1095.00       $6,570.00
                                motion to clarify.
 09/25/2019   LAF     BL        Legal research re: Motion to transmit proposed            1.30       425.00           $552.50
                                findings of fact and conclusions of law to district
                                court.
 09/25/2019   JVR     BL        Draft order denying motion to clarify (.3); Draft         6.50      1095.00       $7,117.50
                                findings of fact and conclusions of law re quiet title
                                (4.8); Draft report and recommendation (1.4).
 09/25/2019   JWL     BL        Call with J. Richards regarding hearing results and       0.40       775.00           $310.00
                                next steps.
 09/26/2019   JVR     BL        Draft FFCL; motion for issuance of report and             5.60      1095.00       $6,132.00
                                recommendations; report and recommendations;
                                research Federal Rules of Civil Procedure 54(g) and
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Gottlieb, David K - Yashouafar                                                                   Invoice 123299
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                                                                                         Hours           Rate         Amount
                                ejectment issues raised by defendants.
 09/26/2019   JWL     BL        Research regarding effect of quiet title claims.          1.60       775.00       $1,240.00
 09/27/2019   DGP     BL        Legal research re ejectment and quiet title actions,      1.50       975.00       $1,462.50
                                possible splitting of cause of action; prepare e-mail
                                to Mr. Richards re same.
 09/27/2019   JWL     BL        Research regarding scope of enforcement of quiet          2.50       775.00       $1,937.50
                                title judgment.
 09/28/2019   DGP     BL        Read, consider and respond to e-mail from Mr.             0.20       975.00           $195.00
                                Richards re legal research on ejectment and quiet
                                title causes of action, possible splitting of cause of
                                action defense.
 09/29/2019   JVR     BL        Research and draft motion for issuance of report and      2.30      1095.00       $2,518.50
                                recommendation.
 09/30/2019   JVR     BL        Telephone conference with B. McCarthy regarding           0.20      1095.00           $219.00
                                settlement.
 09/30/2019   JVR     BL        Revise findings of fact; motion for issuance of report    0.60      1095.00           $657.00
                                and recommendation.

                                                                                         49.20                   $51,359.00

  TOTAL SERVICES FOR THIS MATTER:                                                                               $51,359.00
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 Expenses

 08/19/2019   CC        Conference Call [E105] AT&T Conference Call, JVR               4.22


 08/22/2019   BM        Business Meal [E111] Californa Plaza, Working Meal, JVR       18.00


 08/26/2019   CC        Conference Call [E105] AT&T Conference Call, JVR               2.97


 08/27/2019   LV        Legal Vision Atty/Mess. Service- Inv. 06576,USBC              75.00
                        Bankruptcy Court, JVR


 08/28/2019   CC        Conference Call [E105] AT&T Conference Call, JVR               4.65


 09/04/2019   PO        32274.00001 :Postage Charges for 09-04-19                      2.05


 09/09/2019   TR        Transcript [E116] TSG Reporting, Inv. 671734, JVR            465.80


 09/10/2019   LN        32274.00001 Lexis Charges for 09-10-19                        15.24


 09/13/2019   PO        32274.00001 :Postage Charges for 09-13-19                      0.80


 09/17/2019   LN        32274.00001 Lexis Charges for 09-17-19                        31.12


 09/19/2019   LN        32274.00001 Lexis Charges for 09-19-19                        63.53


 09/19/2019   LN        32274.00001 Lexis Charges for 09-19-19                        79.41


 09/23/2019   RE2       SCAN/COPY ( 57 @0.10 PER PG)                                   5.70


 09/23/2019   RE2       SCAN/COPY ( 62 @0.10 PER PG)                                   6.20


 09/23/2019   TR        Transcript [E116] Magna Legal Services, Inv. 533888, JVR     602.75


 09/24/2019   LN        32274.00001 Lexis Charges for 09-24-19                        15.88


 09/24/2019   RE        ( 60 @0.20 PER PG)                                            12.00
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 09/24/2019   RE        ( 15 @0.20 PER PG)                                      3.00


 09/24/2019   RE2       SCAN/COPY ( 64 @0.10 PER PG)                            6.40


 09/24/2019   RE2       SCAN/COPY ( 17 @0.10 PER PG)                            1.70


 09/24/2019   RE2       SCAN/COPY ( 18 @0.10 PER PG)                            1.80


 09/24/2019   TR        Transcript [E116] Echo Reporting, Inc., JVR           592.90


 09/25/2019   BB        32274.00001 Bloomberg Charges for 09-25-19             30.00


 09/25/2019   BB        32274.00001 Bloomberg Charges for 09-25-19              6.00


 09/25/2019   BB        32274.00001 Bloomberg Charges for 09-25-19             30.00


 09/25/2019   BB        32274.00001 Bloomberg Charges for 09-25-19             30.00


 09/25/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                            1.20


 09/25/2019   RE2       SCAN/COPY ( 20 @0.10 PER PG)                            2.00


 09/26/2019   LN        32274.00001 Lexis Charges for 09-26-19                 95.29


 09/26/2019   LN        32274.00001 Lexis Charges for 09-26-19                 47.65


 09/26/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                            1.40


 09/26/2019   RE2       SCAN/COPY ( 13 @0.10 PER PG)                            1.30


 09/26/2019   RE2       SCAN/COPY ( 21 @0.10 PER PG)                            2.10


 09/26/2019   RE2       SCAN/COPY ( 17 @0.10 PER PG)                            1.70


 09/27/2019   LN        32274.00001 Lexis Charges for 09-27-19                227.33
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 09/27/2019   LN        32274.00001 Lexis Charges for 09-27-19                  75.40


 09/27/2019   RE        ( 63 @0.20 PER PG)                                      12.60


 09/27/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20


 09/27/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                             1.50


 09/27/2019   RE2       SCAN/COPY ( 17 @0.10 PER PG)                             1.70


 09/28/2019   RE2       SCAN/COPY ( 98 @0.10 PER PG)                             9.80


 09/28/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20


 09/30/2019   PAC       Pacer - Court Research                                 106.20

   Total Expenses for this Matter                                         $2,696.69
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                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        09/30/2019

Total Fees                                                                                            $51,359.00

Total Expenses                                                                                           2,696.69

Total Due on Current Invoice                                                                          $54,055.69

  Outstanding Balance from prior invoices as of        09/30/2019          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed             Balance Due
 115185                  12/31/2016                 $73,344.00            $2,031.97                   $71,173.79

 116402                  04/30/2017                $104,852.00            $9,398.28                  $114,250.28

 116970                  06/30/2017                 $47,800.00            $3,522.61                   $51,322.61

 117273                  07/31/2017                 $52,383.00             $297.68                    $52,680.68

 117433                  08/31/2017                 $92,699.00            $3,787.46                   $96,486.46

 117926                  10/31/2017                 $30,300.50            $1,696.72                   $31,997.22

 118167                  12/31/2017                 $57,147.50            $1,632.63                   $58,780.13

 118515                  01/31/2018                 $67,197.50             $848.65                    $68,046.15

 118713                  02/28/2018                 $45,600.00             $342.55                    $45,942.55

 119250                  03/31/2018                  $8,041.00            $5,316.35                   $13,357.35

 119446                  04/30/2018                  $7,267.50             $980.08                     $8,247.58

 119720                  05/31/2018                 $58,867.50            $1,062.74                   $59,930.24

 120437                  09/30/2018                  $9,917.50             $880.04                    $10,797.54

 120645                  10/31/2018                  $9,515.00              $28.80                     $9,543.80

 120779                  11/30/2018                  $8,775.00              $51.60                     $8,826.60

 121032                  12/31/2018                 $62,030.00            $2,829.45                   $64,859.45

 121475                  01/31/2019                 $15,314.50             $416.95                    $15,731.45

 121675                  03/12/2019                 $15,641.00             $462.34                    $16,103.34
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 121933                  03/31/2019               $1,193.50         $20.00                 $1,213.50

 122184                  04/30/2019                $298.00          $31.35                   $329.35

 122426                   05/31/2019             $54,742.00        $616.74                $55,358.74

 122696                   06/30/2019             $12,921.00        $844.99                $13,765.99

 122865                   07/31/2019             $12,385.50        $236.71                $12,622.21

 123054                   08/31/2019             $52,652.50        $780.28                $53,432.78

             Total Amount Due on Current and Prior Invoices:                              $988,855.48
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     October 31, 2019
D. Gottlieb & Associates                                             Invoice 123524
17000 Ventura Blvd #300                                              Client   32274
Encino, CA 91316                                                     Matter   00001
                                                                              JVR

RE: Yashouafar

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 10/31/2019
                 FEES                                                 $32,617.50
                 EXPENSES                                                $744.88
                 TOTAL CURRENT CHARGES                                $33,362.38

                 BALANCE FORWARD                                     $988,855.48
                 TOTAL BALANCE DUE                                  $1,022,217.86
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Gottlieb, David K - Yashouafar                                             Invoice 123524
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  Summary of Services by Professional
  ID        Name                              Title               Rate      Hours               Amount

 BDD        Dassa, Beth D.                    Paralegal          395.00      2.20              $869.00

 JVR        Richards, Jeremy V.               Partner           1095.00     26.80         $29,346.00

                                                                             3.10             $2,402.50
 JWL        Lucas, John W.                    Partner            775.00
                                                                           32.10              $32,617.50
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  Summary of Services by Task Code
  Task Code         Description                                              Hours                        Amount

 BL                 Bankruptcy Litigation [L430]                            29.20                       $30,912.00

 CA                 Case Administration [B110]                               2.80                        $1,666.00

 RPO                Ret. of Prof./Other                                      0.10                          $39.50

                                                                                     32.10              $32,617.50
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Gottlieb, David K - Yashouafar                                             Invoice 123524
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  Summary of Expenses
  Description                                                                                 Amount
Conference Call [E105]                                                                   $35.00
Federal Express [E108]                                                                   $26.21
Lexis/Nexis- Legal Research [E                                                          $139.32
Legal Vision Atty Mess Service                                                          $370.00
Pacer - Court Research                                                                   $72.50
Postage [E108]                                                                            $1.15
Reproduction Expense [E101]                                                              $16.80

Reproduction/ Scan Copy                                                                  $83.90

                                                                                              $744.88
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                                                                                          Hours           Rate        Amount

  Bankruptcy Litigation [L430]
 10/01/2019   JVR     BL        Draft motion for leave to file additional briefing (9th    0.60      1095.00          $657.00
                                Circuit).
 10/01/2019   JVR     BL        Revise FFCL; report and recommendation and                 1.30      1095.00         $1,423.50
                                motion for issuance of report and recommendation.
 10/01/2019   JVR     BL        Draft judgment regarding Quiet Title.                      0.70      1095.00          $766.50
 10/01/2019   JVR     BL        Draft stipulation for leave to file additional briefing    0.30      1095.00          $328.50
                                (9th Circuit).
 10/02/2019   JVR     BL        Review stipulation requesting additional briefing          0.30      1095.00          $328.50
                                (9th Circuit).
 10/02/2019   JVR     BL        Research claim preclusion issues raised by                 1.60      1095.00         $1,752.00
                                defendants and revise motion for issuance of report
                                and recommendations.
 10/02/2019   JVR     BL        Draft judgment regarding summary judgment.                 0.90      1095.00          $985.50
 10/03/2019   JVR     BL        Revise stipulation requesting additional briefing.         0.30      1095.00          $328.50
 10/03/2019   JVR     BL        Review Quiet Title judgment.                               0.20      1095.00          $219.00
 10/03/2019   JVR     BL        Revise motion for issuance of report and                   1.30      1095.00         $1,423.50
                                recommendation, and prepare same for filing.
 10/03/2019   JVR     BL        Research supplemental brief regarding right to jury        1.60      1095.00         $1,752.00
                                trial.
 10/04/2019   JVR     BL        Draft supplemental brief (9th Circuit).                    2.00      1095.00         $2,190.00
 10/07/2019   JVR     BL        Revise supplemental brief (9th Cir.).                      2.30      1095.00         $2,518.50
 10/08/2019   JVR     BL        Review 9/24/19 transcript.                                 0.80      1095.00          $876.00
 10/10/2019   JWL     BL        Review issues relating to 9th Cir. objection               0.80        775.00         $620.00
                                regarding writ.
 10/14/2019   JVR     BL        Review 10/10/19 settlement offer.                          0.20      1095.00          $219.00
 10/14/2019   JVR     BL        Research and revise supplemental brief (9th Circuit).      3.20      1095.00         $3,504.00
 10/15/2019   JVR     BL        Revise 9th Circuit supplemental brief.                     2.00      1095.00         $2,190.00
 10/17/2019   JVR     BL        Revise supplemental brief (9th Circuit).                   0.80      1095.00          $876.00
 10/17/2019   JVR     BL        Review petitioners' supplemental brief.                    0.30      1095.00          $328.50
 10/18/2019   JVR     BL        Review Elkwood defendants' opposition to motion            0.70      1095.00          $766.50
                                for issuance of report and recommendation.
 10/18/2019   JWL     BL        Review Elkwood response to motion for findings             0.80        775.00         $620.00
                                and conclusions of law.
 10/21/2019   JVR     BL        Draft reply in support of motion for issuance of           3.20      1095.00         $3,504.00
                                report and recommendation.
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Gottlieb, David K - Yashouafar                                                                 Invoice 123524
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                                                                                       Hours           Rate         Amount
 10/22/2019   JVR     BL        Revise reply ISO motion for issuance of report and      0.20      1095.00           $219.00
                                recommendation.
 10/22/2019   JVR     BL        Conference with J. Lucas re reply ISO motion for        0.10      1095.00           $109.50
                                issuance of report and recommendation.
 10/22/2019   JWL     BL        Revise reply to Elkwood objection regarding motion      1.50        775.00        $1,162.50
                                for request to make findings and conclusions of law.
 10/23/2019   JVR     BL        Telephone I. Abselet, D. Coniff, H. David and D.        0.50      1095.00           $547.50
                                Gottlieb re condition of 910 N. Rexford.
 10/23/2019   JVR     BL        Revise reply ISO motion for issuance of report.         0.30      1095.00           $328.50
 10/24/2019   JVR     BL        Revise reply ISO motion for issuance of report and      0.30      1095.00           $328.50
                                recommendation.
 10/30/2019   BDD     BL        Email J. Richards re Trustee's Final Report and         0.10        395.00           $39.50
                                Schedule of Postpetition Debt

                                                                                       29.20                      $30,912.00

  Case Administration [B110]
 10/08/2019   JVR     CA        Attend hearing on motions to convert (telephonic        0.50      1095.00           $547.50
                                appearance).
 10/18/2019   JVR     CA        Review revised US Bank Borrower and Trustee             0.30      1095.00           $328.50
                                settlement agreements.
 10/28/2019   BDD     CA        Research info re case conversion for J. Richards and    0.20        395.00           $79.00
                                email J. Richards re same
 10/28/2019   BDD     CA        Preparation of Dec of D. Gottlie re Rule 1019           0.50        395.00          $197.50
                                statement and email J. Richards re same
 10/28/2019   BDD     CA        Email J. Richards re 341a notice in ch. 7 case          0.10        395.00           $39.50
 10/28/2019   BDD     CA        Confer with L. Cantor re ch. 7 trustee issues and       0.20        395.00           $79.00
                                email J. Richards re same
 10/28/2019   BDD     CA        Attend to misc. calendaring matters                     0.10        395.00           $39.50
 10/28/2019   BDD     CA        Email J. Richards re Notice of Ch. 7 Bankruptcy         0.10        395.00           $39.50
                                Case
 10/29/2019   BDD     CA        Email J. Richards re case conversion                    0.10        395.00           $39.50
 10/29/2019   BDD     CA        Email J. Richards re ch. 11 trustee final report        0.10        395.00           $39.50
 10/29/2019   BDD     CA        Email J. Richards re appointment of D. Gottlieb as      0.10        395.00           $39.50
                                ch. 7 trustee
 10/29/2019   BDD     CA        Edits to ch. 11 trustee final report                    0.20        395.00           $79.00
 10/31/2019   BDD     CA        Email J. Richards re ch. 11 trustee final report        0.10        395.00           $39.50
 10/31/2019   BDD     CA        Email D. Gottlieb re ch. 11 trustee final report        0.10        395.00           $39.50
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                                                                                      Hours           Rate        Amount
 10/31/2019   BDD     CA        Confer with R. Johnson re Ch. 11 Trustee final         0.10        395.00          $39.50
                                report

                                                                                       2.80                      $1,666.00

  Ret. of Prof./Other
 10/29/2019   BDD     RPO       re applications to employ BRG and DSI in ch. 7 case    0.10        395.00          $39.50

                                                                                       0.10                        $39.50

  TOTAL SERVICES FOR THIS MATTER:                                                                            $32,617.50
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 Expenses

 09/04/2019   LV        Legal Vision Atty/Mess. Service- Inv. 06642,San Fernando        75.00
                        Bankruptcy Court, G. Downing.


 09/09/2019   LV        Legal Vision Atty/Mess. Service- - Inv. 06665,San Fernando      75.00
                        Bankruptcy Court, JVR


 09/18/2019   LV        Legal Vision Atty/Mess. Service- Inv. 06732, San Fernando      107.50
                        Bankruptcy Court, JVR


 10/01/2019   RE2       SCAN/COPY ( 37 @0.10 PER PG)                                      3.70


 10/01/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                      1.20


 10/01/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                       0.40


 10/01/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                      1.10


 10/01/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                       0.80


 10/02/2019   PO        32274.00001 :Postage Charges for 10-02-19                         1.15


 10/02/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                       0.80


 10/02/2019   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                      1.40


 10/02/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                       0.80


 10/02/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                      1.20


 10/02/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                       0.80


 10/02/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                       0.40


 10/02/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                       0.50
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 10/03/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                     0.80


 10/03/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30


 10/03/2019   RE2       SCAN/COPY ( 30 @0.10 PER PG)                                    3.00


 10/03/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30


 10/03/2019   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                    2.40


 10/03/2019   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50


 10/03/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                     0.40


 10/03/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30


 10/03/2019   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                     0.40


 10/03/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30


 10/03/2019   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30


 10/03/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20


 10/03/2019   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                     0.80


 10/03/2019   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00


 10/04/2019   LV        Legal Vision Atty/Mess. Service- San Fernando Bankruptcy     112.50
                        Court, JVR


 10/04/2019   RE2       SCAN/COPY ( 73 @0.10 PER PG)                                    7.30


 10/04/2019   RE2       SCAN/COPY ( 68 @0.10 PER PG)                                    6.80


 10/07/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60
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 10/07/2019   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60


 10/07/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                             1.10


 10/08/2019   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50


 10/09/2019   CC        Conference Call [E105] CourtCall, JVR                  35.00


 10/10/2019   RE2       SCAN/COPY ( 26 @0.10 PER PG)                             2.60


 10/14/2019   LN        32274.00001 Lexis Charges for 10-14-19                 45.60


 10/14/2019   RE2       SCAN/COPY ( 20 @0.10 PER PG)                             2.00


 10/14/2019   RE2       SCAN/COPY ( 24 @0.10 PER PG)                             2.40


 10/15/2019   RE2       SCAN/COPY ( 63 @0.10 PER PG)                             6.30


 10/16/2019   RE2       SCAN/COPY ( 23 @0.10 PER PG)                             2.30


 10/16/2019   RE2       SCAN/COPY ( 44 @0.10 PER PG)                             4.40


 10/17/2019   RE2       SCAN/COPY ( 16 @0.10 PER PG)                             1.60


 10/18/2019   FE        32274.00001 FedEx Charges for 10-18-19                 26.21


 10/18/2019   RE        ( 84 @0.20 PER PG)                                     16.80


 10/18/2019   RE2       SCAN/COPY ( 31 @0.10 PER PG)                             3.10


 10/18/2019   RE2       SCAN/COPY ( 11 @0.10 PER PG)                             1.10


 10/18/2019   RE2       SCAN/COPY ( 51 @0.10 PER PG)                             5.10


 10/18/2019   RE2       SCAN/COPY ( 46 @0.10 PER PG)                             4.60
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 10/21/2019   RE2       SCAN/COPY ( 25 @0.10 PER PG)                             2.50


 10/22/2019   LN        32274.00001 Lexis Charges for 10-22-19                  78.10


 10/23/2019   LN        32274.00001 Lexis Charges for 10-23-19                  15.62


 10/25/2019   RE2       SCAN/COPY ( 19 @0.10 PER PG)                             1.90


 10/31/2019   PAC       Pacer - Court Research                                  72.50

   Total Expenses for this Matter                                           $744.88
     Case 1:16-bk-12255-GM              Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                Desc
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Gottlieb, David K - Yashouafar                                                            Invoice 123524
32274 - 00001                                                                             October 31, 2019


                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        10/31/2019

Total Fees                                                                                             $32,617.50

Total Expenses                                                                                               744.88

Total Due on Current Invoice                                                                           $33,362.38

  Outstanding Balance from prior invoices as of        10/31/2019          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed              Balance Due
 115185                  12/31/2016                 $73,344.00            $2,031.97                   $71,173.79

 116402                  04/30/2017                $104,852.00            $9,398.28                  $114,250.28

 116970                  06/30/2017                 $47,800.00            $3,522.61                   $51,322.61

 117273                  07/31/2017                 $52,383.00             $297.68                    $52,680.68

 117433                  08/31/2017                 $92,699.00            $3,787.46                   $96,486.46

 117926                  10/31/2017                 $30,300.50            $1,696.72                   $31,997.22

 118167                  12/31/2017                 $57,147.50            $1,632.63                   $58,780.13

 118515                  01/31/2018                 $67,197.50             $848.65                    $68,046.15

 118713                  02/28/2018                 $45,600.00             $342.55                    $45,942.55

 119250                  03/31/2018                  $8,041.00            $5,316.35                   $13,357.35

 119446                  04/30/2018                  $7,267.50             $980.08                      $8,247.58

 119720                  05/31/2018                 $58,867.50            $1,062.74                   $59,930.24

 120437                  09/30/2018                  $9,917.50             $880.04                    $10,797.54

 120645                  10/31/2018                  $9,515.00              $28.80                      $9,543.80

 120779                  11/30/2018                  $8,775.00              $51.60                      $8,826.60

 121032                  12/31/2018                 $62,030.00            $2,829.45                   $64,859.45

 121475                  01/31/2019                 $15,314.50             $416.95                    $15,731.45

 121675                  03/12/2019                 $15,641.00             $462.34                    $16,103.34
     Case 1:16-bk-12255-GM             Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18     Desc
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Gottlieb, David K - Yashouafar                                                Invoice 123524
32274 - 00001                                                                 October 31, 2019

 121933                  03/31/2019               $1,193.50         $20.00                  $1,213.50

 122184                  04/30/2019                $298.00          $31.35                   $329.35

 122426                   05/31/2019             $54,742.00        $616.74                $55,358.74

 122696                   06/30/2019             $12,921.00        $844.99                $13,765.99

 122865                   07/31/2019             $12,385.50        $236.71                $12,622.21

 123054                   08/31/2019             $52,652.50        $780.28                $53,432.78

 123299                   09/30/2019             $51,359.00       $2,696.69               $54,055.69

             Total Amount Due on Current and Prior Invoices:                            $1,022,217.86
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     December 11, 2019
D. Gottlieb & Associates                                             Invoice 123684
17000 Ventura Blvd #300                                              Client  32274
Encino, CA 91316                                                     Matter  00001
                                                                             JVR

RE: Yashouafar

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 11/30/2019
                 FEES                                                  $5,121.50
                 EXPENSES                                                $912.76
                 TOTAL CURRENT CHARGES                                 $6,034.26

                 BALANCE FORWARD                                    $1,022,217.86
                 TOTAL BALANCE DUE                                  $1,028,252.12
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Gottlieb, David K - Yashouafar                                             Invoice 123684
32274 - 00001                                                              December 11, 2019




  Summary of Services by Professional
  ID        Name                              Title               Rate      Hours              Amount

 BDD        Dassa, Beth D.                    Paralegal          395.00      2.70         $1,066.50

 JVR        Richards, Jeremy V.               Partner           1095.00      2.50         $2,737.50

                                                                             1.70         $1,317.50
 JWL        Lucas, John W.                    Partner            775.00
                                                                            6.90           $5,121.50
      Case 1:16-bk-12255-GM               Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18        Desc
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Gottlieb, David K - Yashouafar                                                       Invoice 123684
32274 - 00001                                                                        December 11, 2019


  Summary of Services by Task Code
  Task Code         Description                                              Hours                       Amount

 CA                 Case Administration [B110]                               6.40                    $4,924.00

 CPO                Comp. of Prof./Others                                    0.40                        $158.00

 RPO                Ret. of Prof./Other                                      0.10                         $39.50

                                                                                     6.90            $5,121.50
     Case 1:16-bk-12255-GM          Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18    Desc
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Gottlieb, David K - Yashouafar                                             Invoice 123684
32274 - 00001                                                              December 11, 2019


  Summary of Expenses
  Description                                                                                  Amount
Conference Call [E105]                                                                   $6.58
Federal Express [E108]                                                                  $34.38
Pacer - Court Research                                                                 $138.80
Postage [E108]                                                                         $159.20
Reproduction Expense [E101]                                                            $539.40
Reproduction/ Scan Copy                                                                 $34.40

                                                                                               $912.76
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Gottlieb, David K - Yashouafar                                                                  Invoice 123684
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                                                                                        Hours           Rate        Amount

  Case Administration [B110]
 11/04/2019   JVR     CA        Revise Chapter 11 Trustee report.                        0.20      1095.00          $219.00
 11/04/2019   BDD     CA        Email J. Richards re Ch. 11 Trustee final report         0.10       395.00           $39.50
 11/04/2019   BDD     CA        Revisions to ch. 11 trustee report and email J.          0.40       395.00          $158.00
                                Richards re same
 11/04/2019   BDD     CA        Email D. Gottlieb re Ch. 11 Trustee final report and     0.10       395.00           $39.50
                                accounting
 11/05/2019   BDD     CA        Revisions to ch. 11 trustee final report and email R.    0.10       395.00           $39.50
                                Johnson re same
 11/06/2019   BDD     CA        Email N. Brown re ch. 11 trustee final report            0.10       395.00           $39.50
 11/06/2019   BDD     CA        Email R. Johnson re ch. 11 trustee final report          0.10       395.00           $39.50
 11/06/2019   BDD     CA        Email N. Brown re ch. 11 final report                    0.10       395.00           $39.50
 11/07/2019   BDD     CA        Email R. Johnson re revised ch. 11 trustee final         0.10       395.00           $39.50
                                report
 11/07/2019   BDD     CA        Revisions to ch. 11 trustee final report and email J.    0.20       395.00           $79.00
                                Richards re same
 11/07/2019   BDD     CA        Email N. Brown re ch. 11 trustee's amended final         0.10       395.00           $39.50
                                report
 11/07/2019   BDD     CA        Email J. Richards re ch. 11 trustee's amended final      0.10       395.00           $39.50
                                report
 11/08/2019   BDD     CA        Email J. Richards re further revisions to ch. 11         0.10       395.00           $39.50
                                trustee amended report
 11/10/2019   BDD     CA        Email N. Brown re addition of BakerHostetler to ch.      0.10       395.00           $39.50
                                11 trustee amended final report
 11/11/2019   BDD     CA        Email N. Brown re BakerHostetler fees for ch. 11         0.10       395.00           $39.50
                                final report (amended)
 11/11/2019   BDD     CA        Email J. Richards re finalized amended ch. 11            0.10       395.00           $39.50
                                trustee final report
 11/11/2019   BDD     CA        Email N. Brown re filing/service of ch. 11 amended       0.10       395.00           $39.50
                                trustee final report
 11/13/2019   JWL     CA        Review court's proposed findings/conclusions of law      0.60       775.00          $465.00
                                in Elkwood matter.
 11/14/2019   BDD     CA        Confer with J. Lucas re                                  0.10       395.00           $39.50
 11/15/2019   BDD     CA        Email J. Richards re procedure for getting report and    0.10       395.00           $39.50
                                recommendation to District Court
 11/15/2019   JWL     CA        Draft eighth status conference statement.                1.10       775.00          $852.50
 11/22/2019   JVR     CA        Attend Debtor's 341(a) hearings.                         2.30      1095.00       $2,518.50
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Gottlieb, David K - Yashouafar                                                              Invoice 123684
32274 - 00001                                                                               December 11, 2019


                                                                                     6.40                   $4,924.00

  Comp. of Prof./Others
 11/04/2019   BDD     CPO       Email T. Jeremiassen re DSI fees through 10/24       0.10       395.00          $39.50
 11/04/2019   BDD     CPO       Email V. Calder at DSI re BRG fees through 10/24     0.10       395.00          $39.50
 11/05/2019   BDD     CPO       Email V. Calder re BRG ch. 11 fees/expenses          0.10       395.00          $39.50
 11/05/2019   BDD     CPO       Email T. Jeremiassen re DSI ch. 11 fees/expenses     0.10       395.00          $39.50

                                                                                     0.40                       $158.00

  Ret. of Prof./Other
 11/04/2019   BDD     RPO       Confer with R. Johnson re employment of DSI in ch.   0.10       395.00          $39.50
                                7 case

                                                                                     0.10                        $39.50

  TOTAL SERVICES FOR THIS MATTER:                                                                         $5,121.50
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Gottlieb, David K - Yashouafar                                              Invoice 123684
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 Expenses

 10/16/2019   CC        Conference Call [E105] AT&T Conference Call, JVR        6.58


 11/06/2019   FE        32274.00001 FedEx Charges for 11-06-19                  9.97


 11/06/2019   PO        32274.00001 :Postage Charges for 11-06-19              73.75


 11/06/2019   RE        ( 10 @0.20 PER PG)                                      2.00


 11/06/2019   RE        ( 540 @0.20 PER PG)                                   108.00


 11/06/2019   RE        ( 5 @0.20 PER PG)                                       1.00


 11/06/2019   RE        ( 792 @0.20 PER PG)                                   158.40


 11/06/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                            1.20


 11/06/2019   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40


 11/06/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                            1.20


 11/06/2019   RE2       SCAN/COPY ( 9 @0.10 PER PG)                             0.90


 11/08/2019   PO        32274.00001 :Postage Charges for 11-08-19              73.45


 11/11/2019   FE        32274.00001 FedEx Charges for 11-11-19                  9.94


 11/11/2019   RE        ( 1332 @0.20 PER PG)                                  266.40


 11/11/2019   RE        ( 18 @0.20 PER PG)                                      3.60


 11/11/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                            1.20


 11/11/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                            1.20
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Gottlieb, David K - Yashouafar                                              Invoice 123684
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 11/15/2019   RE2       SCAN/COPY ( 64 @0.10 PER PG)                             6.40


 11/18/2019   FE        32274.00001 FedEx Charges for 11-18-19                  14.47


 11/18/2019   PO        Postage [E108] Postage                                  12.00


 11/18/2019   RE2       SCAN/COPY ( 7 @0.10 PER PG)                              0.70


 11/18/2019   RE2       SCAN/COPY ( 24 @0.10 PER PG)                             2.40


 11/18/2019   RE2       SCAN/COPY ( 168 @0.10 PER PG)                           16.80


 11/30/2019   PAC       Pacer - Court Research                                 138.80

   Total Expenses for this Matter                                           $912.76
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Gottlieb, David K - Yashouafar                                                            Invoice 123684
32274 - 00001                                                                             December 11, 2019


                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        11/30/2019

Total Fees                                                                                             $5,121.50

Total Expenses                                                                                            912.76

Total Due on Current Invoice                                                                           $6,034.26

  Outstanding Balance from prior invoices as of        12/11/2019          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed             Balance Due
 115185                  12/31/2016                 $73,344.00            $2,031.97                   $71,173.79

 116402                  04/30/2017                $104,852.00            $9,398.28                 $114,250.28

 116970                  06/30/2017                 $47,800.00            $3,522.61                   $51,322.61

 117273                  07/31/2017                 $52,383.00             $297.68                    $52,680.68

 117433                  08/31/2017                 $92,699.00            $3,787.46                   $96,486.46

 117926                  10/31/2017                 $30,300.50            $1,696.72                   $31,997.22

 118167                  12/31/2017                 $57,147.50            $1,632.63                   $58,780.13

 118515                  01/31/2018                 $67,197.50             $848.65                    $68,046.15

 118713                  02/28/2018                 $45,600.00             $342.55                    $45,942.55

 119250                  03/31/2018                  $8,041.00            $5,316.35                   $13,357.35

 119446                  04/30/2018                  $7,267.50             $980.08                     $8,247.58

 119720                  05/31/2018                 $58,867.50            $1,062.74                   $59,930.24

 120437                  09/30/2018                  $9,917.50             $880.04                    $10,797.54

 120645                  10/31/2018                  $9,515.00              $28.80                     $9,543.80

 120779                  11/30/2018                  $8,775.00              $51.60                     $8,826.60

 121032                  12/31/2018                 $62,030.00            $2,829.45                   $64,859.45

 121475                  01/31/2019                 $15,314.50             $416.95                    $15,731.45

 121675                  03/12/2019                 $15,641.00             $462.34                    $16,103.34
     Case 1:16-bk-12255-GM             Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18    Desc
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Gottlieb, David K - Yashouafar                                                Invoice 123684
32274 - 00001                                                                 December 11, 2019

 121933                  03/31/2019               $1,193.50         $20.00                 $1,213.50

 122184                  04/30/2019                $298.00          $31.35                   $329.35

 122426                   05/31/2019             $54,742.00        $616.74                $55,358.74

 122696                   06/30/2019             $12,921.00        $844.99                $13,765.99

 122865                   07/31/2019             $12,385.50        $236.71                $12,622.21

 123054                   08/31/2019             $52,652.50        $780.28                $53,432.78

 123299                   09/30/2019             $51,359.00       $2,696.69               $54,055.69

 123524                   10/31/2019             $32,617.50        $744.88                $33,362.38

             Total Amount Due on Current and Prior Invoices:                           $1,028,252.12
     Case 1:16-bk-12255-GM     Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18          Desc
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     December 31, 2019
D. Gottlieb & Associates                                             Invoice 124025
17000 Ventura Blvd #300                                              Client  32274
Encino, CA 91316                                                     Matter  00001
                                                                             JVR

RE: Yashouafar

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 12/31/2019
                 FEES                                                  $7,535.50
                 EXPENSES                                              $5,305.56
                 TOTAL CURRENT CHARGES                                $12,841.06

                 BALANCE FORWARD                                    $1,028,252.12
                 TOTAL BALANCE DUE                                  $1,041,093.18
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Gottlieb, David K - Yashouafar                                             Invoice 124025
32274 - 00001                                                              December 31, 2019




  Summary of Services by Professional
  ID        Name                              Title               Rate      Hours              Amount

 JVR        Richards, Jeremy V.               Partner           1095.00      4.90         $5,365.50

 JWL        Lucas, John W.                    Partner            775.00      2.80         $2,170.00

                                                                            7.70           $7,535.50
      Case 1:16-bk-12255-GM          Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18        Desc
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Gottlieb, David K - Yashouafar                                                  Invoice 124025
32274 - 00001                                                                   December 31, 2019


  Summary of Services by Task Code
  Task Code         Description                                         Hours                       Amount

 BL                 Bankruptcy Litigation [L430]                        6.80                    $6,838.00

 CA                 Case Administration [B110]                          0.90                        $697.50

                                                                                7.70            $7,535.50
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Gottlieb, David K - Yashouafar                                             Invoice 124025
32274 - 00001                                                              December 31, 2019


  Summary of Expenses
  Description                                                                                  Amount
Attorney Service [E107]                                                                $5,200.00
Lexis/Nexis- Legal Research [E                                                           $23.06
Pacer - Court Research                                                                   $42.90
Reproduction Expense [E101]                                                               $7.20
Reproduction/ Scan Copy                                                                  $32.40

                                                                                            $5,305.56
     Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                        Desc
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Gottlieb, David K - Yashouafar                                                                 Invoice 124025
32274 - 00001                                                                                  December 31, 2019


                                                                                       Hours           Rate        Amount

  Bankruptcy Litigation [L430]
 12/03/2019   JVR     BL        Review e-mail from D. McCarthy re objections to         0.50      1095.00          $547.50
                                report and recommendations (.1); Research
                                procedure re same (.2); Review e-mails from H.
                                David re same (.1); Draft response to D. McCarthy
                                (.1).
 12/05/2019   JVR     BL        Research re opposition to objections to proposed        1.30      1095.00       $1,423.50
                                findings/conclusions/judgment.
 12/06/2019   JVR     BL        Telephone H. David and D. McCarthy re meet and          0.30      1095.00          $328.50
                                confer (report and recommendations).
 12/10/2019   JVR     BL        Draft revisions to joint ex parte application for       1.00      1095.00       $1,095.00
                                procedures (report and recommendation).
 12/11/2019   JVR     BL        Revise ex parte application.                            0.30      1095.00          $328.50
 12/11/2019   JVR     BL        Review District Court's minute order (.2); Research     0.50      1095.00          $547.50
                                same (.3).
 12/12/2019   JVR     BL        Respond to e-mails from H. David re entry of            0.20      1095.00          $219.00
                                judgment.
 12/12/2019   JVR     BL        Telephone D. Gottlieb re entry of judgment.             0.20      1095.00          $219.00
 12/12/2019   JWL     BL        Research regarding effect of Rule 9033.                 0.80       775.00          $620.00
 12/13/2019   JVR     BL        Telephone H. David and D. Coniff re entry of            0.40      1095.00          $438.00
                                judgment (.2); Meet and confer conference cal with
                                H. David, D. McCarthy and D. Coniff re same (.2).
 12/13/2019   JWL     BL        Research regarding extension of time to objection       1.10       775.00          $852.50
                                under Rule 9033.
 12/17/2019   JVR     BL        Review 9th Circuit order dismissing petition for        0.10      1095.00          $109.50
                                writ.
 12/17/2019   JVR     BL        Review draft stipulation and order re District Court    0.10      1095.00          $109.50
                                briefing.

                                                                                        6.80                    $6,838.00

  Case Administration [B110]
 12/02/2019   JWL     CA        Work on status conference report and scheduling.        0.90       775.00          $697.50

                                                                                        0.90                       $697.50

  TOTAL SERVICES FOR THIS MATTER:                                                                             $7,535.50
     Case 1:16-bk-12255-GM           Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18          Desc
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Gottlieb, David K - Yashouafar                                                    Invoice 124025
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 Expenses

 09/13/2019   AS        Attorney Service [E107] Lipsey Appraisal Service, JVR      5,200.00


 12/02/2019   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                   2.10


 12/03/2019   RE        ( 36 @0.20 PER PG)                                             7.20


 12/03/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                   1.20


 12/03/2019   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                   1.90


 12/03/2019   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                   2.10


 12/05/2019   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                   4.60


 12/05/2019   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                   4.60


 12/05/2019   RE2       SCAN/COPY ( 64 @0.10 PER PG)                                   6.40


 12/05/2019   RE2       SCAN/COPY ( 64 @0.10 PER PG)                                   6.40


 12/11/2019   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                   1.20


 12/12/2019   LN        32274.00001 Lexis Charges for 12-12-19                        23.06


 12/18/2019   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                   1.90


 12/31/2019   PAC       Pacer - Court Research                                        42.90
   Total Expenses for this Matter                                               $5,305.56
     Case 1:16-bk-12255-GM              Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18               Desc
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Gottlieb, David K - Yashouafar                                                            Invoice 124025
32274 - 00001                                                                             December 31, 2019


                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        12/31/2019

Total Fees                                                                                             $7,535.50

Total Expenses                                                                                          5,305.56

Total Due on Current Invoice                                                                          $12,841.06

  Outstanding Balance from prior invoices as of        12/31/2019          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed             Balance Due
 115185                  12/31/2016                 $73,344.00            $2,031.97                   $71,173.79

 116402                  04/30/2017                $104,852.00            $9,398.28                 $114,250.28

 116970                  06/30/2017                 $47,800.00            $3,522.61                   $51,322.61

 117273                  07/31/2017                 $52,383.00             $297.68                    $52,680.68

 117433                  08/31/2017                 $92,699.00            $3,787.46                   $96,486.46

 117926                  10/31/2017                 $30,300.50            $1,696.72                   $31,997.22

 118167                  12/31/2017                 $57,147.50            $1,632.63                   $58,780.13

 118515                  01/31/2018                 $67,197.50             $848.65                    $68,046.15

 118713                  02/28/2018                 $45,600.00             $342.55                    $45,942.55

 119250                  03/31/2018                  $8,041.00            $5,316.35                   $13,357.35

 119446                  04/30/2018                  $7,267.50             $980.08                     $8,247.58

 119720                  05/31/2018                 $58,867.50            $1,062.74                   $59,930.24

 120437                  09/30/2018                  $9,917.50             $880.04                    $10,797.54

 120645                  10/31/2018                  $9,515.00              $28.80                     $9,543.80

 120779                  11/30/2018                  $8,775.00              $51.60                     $8,826.60

 121032                  12/31/2018                 $62,030.00            $2,829.45                   $64,859.45

 121475                  01/31/2019                 $15,314.50             $416.95                    $15,731.45

 121675                  03/12/2019                 $15,641.00             $462.34                    $16,103.34
     Case 1:16-bk-12255-GM             Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18    Desc
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Pachulski Stang Ziehl & Jones LLP                                             Page:     8
Gottlieb, David K - Yashouafar                                                Invoice 124025
32274 - 00001                                                                 December 31, 2019

 121933                  03/31/2019               $1,193.50         $20.00                 $1,213.50

 122184                  04/30/2019                $298.00          $31.35                   $329.35

 122426                   05/31/2019             $54,742.00        $616.74                $55,358.74

 122696                   06/30/2019             $12,921.00        $844.99                $13,765.99

 122865                   07/31/2019             $12,385.50        $236.71                $12,622.21

 123054                   08/31/2019             $52,652.50        $780.28                $53,432.78

 123299                   09/30/2019             $51,359.00       $2,696.69               $54,055.69

 123524                   10/31/2019             $32,617.50        $744.88                $33,362.38

 123684                   12/11/2019              $5,121.50        $912.76                 $6,034.26

             Total Amount Due on Current and Prior Invoices:                           $1,041,093.18
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     January 31, 2020
D. Gottlieb & Associates                                             Invoice 124307
17000 Ventura Blvd #300                                              Client   32274
Encino, CA 91316                                                     Matter   00001
                                                                              JVR

RE: Yashouafar

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 01/31/2020
                 FEES                                                  $7,085.00
                 EXPENSES                                                $332.15
                 TOTAL CURRENT CHARGES                                 $7,417.15

                 BALANCE FORWARD                                    $1,041,093.18
                 TOTAL BALANCE DUE                                  $1,048,510.33
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Pachulski Stang Ziehl & Jones LLP                                          Page:     2
Gottlieb, David K - Yashouafar                                             Invoice 124307
32274 - 00001                                                              January 31, 2020




  Summary of Services by Professional
  ID        Name                              Title               Rate      Hours               Amount

 BDD        Dassa, Beth D.                    Paralegal          425.00      0.30              $127.50

 JVR        Richards, Jeremy V.               Partner           1145.00      5.50             $6,297.50

                                                                             0.80              $660.00
 JWL        Lucas, John W.                    Partner            825.00
                                                                            6.60               $7,085.00
      Case 1:16-bk-12255-GM               Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18         Desc
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Pachulski Stang Ziehl & Jones LLP                                                    Page:     3
Gottlieb, David K - Yashouafar                                                       Invoice 124307
32274 - 00001                                                                        January 31, 2020


  Summary of Services by Task Code
  Task Code         Description                                              Hours                       Amount

 AD                 Asset Disposition [B130]                                 4.20                       $4,809.00

 BL                 Bankruptcy Litigation [L430]                             1.30                       $1,488.50

 CA                 Case Administration [B110]                               0.20                         $85.00

 FE                 Fee/Employment Application                               0.80                        $660.00

 RPO                Ret. of Prof./Other                                      0.10                         $42.50

                                                                                     6.60               $7,085.00
     Case 1:16-bk-12255-GM          Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18     Desc
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Pachulski Stang Ziehl & Jones LLP                                          Page:     4
Gottlieb, David K - Yashouafar                                             Invoice 124307
32274 - 00001                                                              January 31, 2020


  Summary of Expenses
  Description                                                                                 Amount
Conference Call [E105]                                                                    $1.06
Lexis/Nexis- Legal Research [E                                                          $152.84
Legal Vision Atty Mess Service                                                           $65.00
Pacer - Court Research                                                                   $61.80
Postage [E108]                                                                            $5.85
Reproduction Expense [E101]                                                              $28.60
Reproduction/ Scan Copy                                                                  $17.00

                                                                                              $332.15
     Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                        Desc
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Pachulski Stang Ziehl & Jones LLP                                                              Page:     5
Gottlieb, David K - Yashouafar                                                                 Invoice 124307
32274 - 00001                                                                                  January 31, 2020


                                                                                       Hours           Rate        Amount

  Asset Disposition [B130]
 01/06/2020   JVR     AD        Telephone conference with D. Gottlieb, H. David, I.     0.50      1145.00          $572.50
                                Abselet, D. Coniff.
 01/22/2020   JVR     AD        Telephone L. May re listing issues.                     0.30      1145.00          $343.50
 01/22/2020   JVR     AD        Telephone H. David and D. Coniff re listing and sale    1.10      1145.00         $1,259.50
                                of property.
 01/22/2020   JVR     AD        Review broker listing proposals.                        0.20      1145.00          $229.00
 01/22/2020   JVR     AD        Telephone R. Smith re listing issues.                   0.30      1145.00          $343.50
 01/23/2020   JVR     AD        Review additional information from R. Smith and         0.10      1145.00          $114.50
                                draft e-mail to client and H. David re same.
 01/24/2020   JVR     AD        Telephone C. Lipsey re Rexford current valuation.       0.20      1145.00          $229.00
 01/27/2020   JVR     AD        Revise listing agreement and draft addendum             0.60      1145.00          $687.00
                                (Rexford).
 01/28/2020   JVR     AD        Draft e-mail to G. Levy re draft listing agreement      0.20      1145.00          $229.00
                                (Rexford).
 01/29/2020   JVR     AD        Telephone L. May and G. Levy re Rexford listing         0.20      1145.00          $229.00
                                agreement.
 01/29/2020   JVR     AD        Revise listing agreement.                               0.20      1145.00          $229.00
 01/30/2020   JVR     AD        Telephone D. Gottlieb re sale of Rexford.               0.20      1145.00          $229.00
 01/30/2020   JVR     AD        Revise listing agreement.                               0.10      1145.00          $114.50

                                                                                        4.20                      $4,809.00

  Bankruptcy Litigation [L430]
 01/06/2020   JVR     BL        Review motion to vacate judgment.                       0.30      1145.00          $343.50
 01/10/2020   JVR     BL        Draft statement re motion to vacate judgment.           0.20      1145.00          $229.00
 01/24/2020   JVR     BL        Review reply in support of motion to vacate             0.10      1145.00          $114.50
                                judgment.
 01/29/2020   JVR     BL        Draft e-mail to client and H. David re settlement       0.50      1145.00          $572.50
                                analysis.
 01/29/2020   JVR     BL        Telephone D. McCarthy re settlement.                    0.20      1145.00          $229.00

                                                                                        1.30                      $1,488.50

  Case Administration [B110]
 01/06/2020   BDD     CA        Email J. Lucas and attend to misc. calendaring          0.10        425.00          $42.50
                                matters
 01/07/2020   BDD     CA        Attend to misc. calendaring matters                     0.10        425.00          $42.50
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Gottlieb, David K - Yashouafar                                                              Invoice 124307
32274 - 00001                                                                               January 31, 2020


                                                                                     0.20                          $85.00

  Fee/Employment Application
 01/31/2020   JWL     FE        Work on second interim fee application.              0.80        825.00           $660.00

                                                                                     0.80                         $660.00

  Ret. of Prof./Other
 01/22/2020   BDD     RPO       Research for J. Richards re listing agreements and   0.10        425.00            $42.50
                                email J. Richards re same

                                                                                     0.10                          $42.50

  TOTAL SERVICES FOR THIS MATTER:                                                                              $7,085.00
     Case 1:16-bk-12255-GM           Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18           Desc
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Pachulski Stang Ziehl & Jones LLP                                                 Page:     7
Gottlieb, David K - Yashouafar                                                    Invoice 124307
32274 - 00001                                                                     January 31, 2020



 Expenses

 12/13/2019   CC        Conference Call [E105] AT&T Conference Call, JVR               1.06


 01/06/2020   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                   1.10


 01/06/2020   RE2       SCAN/COPY ( 26 @0.10 PER PG)                                   2.60


 01/14/2020   LV        Legal Vision Atty/Mess. Service- Inv. 07383 LA District       65.00
                        Court JVR


 01/14/2020   PO        32274.00001 :Postage Charges for 01-14-20                      5.85


 01/14/2020   RE        ( 117 @0.20 PER PG)                                           23.40


 01/14/2020   RE        ( 26 @0.20 PER PG)                                             5.20


 01/21/2020   LN        32274.00001 Lexis Charges for 01-21-20                       141.52


 01/24/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                   1.20


 01/27/2020   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                   1.60


 01/29/2020   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                   1.60


 01/30/2020   LN        32274.00001 Lexis Charges for 01-30-20                        11.32


 01/30/2020   RE2       SCAN/COPY ( 59 @0.10 PER PG)                                   5.90


 01/30/2020   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                   1.60


 01/30/2020   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                   1.40


 01/31/2020   PAC       Pacer - Court Research                                        61.80
   Total Expenses for this Matter                                                 $332.15
     Case 1:16-bk-12255-GM              Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                Desc
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Pachulski Stang Ziehl & Jones LLP                                                         Page:     8
Gottlieb, David K - Yashouafar                                                            Invoice 124307
32274 - 00001                                                                             January 31, 2020


                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        01/31/2020

Total Fees                                                                                              $7,085.00

Total Expenses                                                                                               332.15

Total Due on Current Invoice                                                                            $7,417.15

  Outstanding Balance from prior invoices as of        01/31/2020          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed              Balance Due
 115185                  12/31/2016                 $73,344.00            $2,031.97                    $71,173.79

 116402                  04/30/2017                $104,852.00            $9,398.28                  $114,250.28

 116970                  06/30/2017                 $47,800.00            $3,522.61                    $51,322.61

 117273                  07/31/2017                 $52,383.00             $297.68                     $52,680.68

 117433                  08/31/2017                 $92,699.00            $3,787.46                    $96,486.46

 117926                  10/31/2017                 $30,300.50            $1,696.72                    $31,997.22

 118167                  12/31/2017                 $57,147.50            $1,632.63                    $58,780.13

 118515                  01/31/2018                 $67,197.50             $848.65                     $68,046.15

 118713                  02/28/2018                 $45,600.00             $342.55                     $45,942.55

 119250                  03/31/2018                  $8,041.00            $5,316.35                    $13,357.35

 119446                  04/30/2018                  $7,267.50             $980.08                      $8,247.58

 119720                  05/31/2018                 $58,867.50            $1,062.74                    $59,930.24

 120437                  09/30/2018                  $9,917.50             $880.04                     $10,797.54

 120645                  10/31/2018                  $9,515.00              $28.80                      $9,543.80

 120779                  11/30/2018                  $8,775.00              $51.60                      $8,826.60

 121032                  12/31/2018                 $62,030.00            $2,829.45                    $64,859.45

 121475                  01/31/2019                 $15,314.50             $416.95                     $15,731.45

 121675                  03/12/2019                 $15,641.00             $462.34                     $16,103.34
     Case 1:16-bk-12255-GM             Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18     Desc
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Gottlieb, David K - Yashouafar                                                Invoice 124307
32274 - 00001                                                                 January 31, 2020

 121933                  03/31/2019               $1,193.50         $20.00                  $1,213.50

 122184                  04/30/2019                $298.00          $31.35                       $329.35

 122426                   05/31/2019             $54,742.00        $616.74                 $55,358.74

 122696                   06/30/2019             $12,921.00        $844.99                 $13,765.99

 122865                   07/31/2019             $12,385.50        $236.71                 $12,622.21

 123054                   08/31/2019             $52,652.50        $780.28                 $53,432.78

 123299                   09/30/2019             $51,359.00       $2,696.69                $54,055.69

 123524                   10/31/2019             $32,617.50        $744.88                 $33,362.38

 123684                   12/11/2019              $5,121.50        $912.76                  $6,034.26

 124025                   12/31/2019              $7,535.50       $5,305.56                $12,841.06

             Total Amount Due on Current and Prior Invoices:                            $1,048,510.33
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     February 29, 2020
D. Gottlieb & Associates                                             Invoice 124504
17000 Ventura Blvd #300                                              Client   32274
Encino, CA 91316                                                     Matter   00001
                                                                              JVR

RE: Yashouafar

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 02/29/2020
                 FEES                                                 $12,676.50
                 EXPENSES                                                $287.98
                 TOTAL CURRENT CHARGES                                $12,964.48

                 BALANCE FORWARD                                    $1,048,510.33
                 TOTAL BALANCE DUE                                  $1,061,474.81
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Gottlieb, David K - Yashouafar                                             Invoice 124504
32274 - 00001                                                              February 29, 2020




  Summary of Services by Professional
  ID        Name                              Title               Rate      Hours              Amount

 BDD        Dassa, Beth D.                    Paralegal          425.00      3.10          $1,317.50

 JVR        Richards, Jeremy V.               Partner           1145.00      9.20         $10,534.00

                                                                             1.00              $825.00
 JWL        Lucas, John W.                    Partner            825.00
                                                                           13.30           $12,676.50
      Case 1:16-bk-12255-GM               Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18         Desc
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Pachulski Stang Ziehl & Jones LLP                                                    Page:     3
Gottlieb, David K - Yashouafar                                                       Invoice 124504
32274 - 00001                                                                        February 29, 2020


  Summary of Services by Task Code
  Task Code         Description                                              Hours                        Amount

 AD                 Asset Disposition [B130]                                 2.40                        $2,748.00

 BL                 Bankruptcy Litigation [L430]                             7.80                        $8,611.00

 CA                 Case Administration [B110]                               0.10                          $42.50

 RPO                Ret. of Prof./Other                                      3.00                        $1,275.00

                                                                                     13.30           $12,676.50
     Case 1:16-bk-12255-GM          Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18     Desc
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Pachulski Stang Ziehl & Jones LLP                                          Page:     4
Gottlieb, David K - Yashouafar                                             Invoice 124504
32274 - 00001                                                              February 29, 2020


  Summary of Expenses
  Description                                                                                  Amount
Conference Call [E105]                                                                    $5.56
Lexis/Nexis- Legal Research [E                                                           $77.32
Pacer - Court Research                                                                   $24.40
Reproduction Expense [E101]                                                              $44.00
Reproduction/ Scan Copy                                                                 $136.70

                                                                                               $287.98
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Gottlieb, David K - Yashouafar                                                                Invoice 124504
32274 - 00001                                                                                 February 29, 2020


                                                                                      Hours           Rate         Amount

  Asset Disposition [B130]
 02/03/2020   JVR     AD        Review revised listing agreement (.1); Review          0.20      1145.00           $229.00
                                comments of D. Coniff re same (.1).
 02/04/2020   JVR     AD        Revise listing agreement and addendum (.6);            0.70      1145.00           $801.50
                                Telephone G. Levy re same (.1).
 02/05/2020   JVR     AD        Telephone G. Levy re listing agreement.                0.40      1145.00           $458.00
 02/06/2020   JVR     AD        Telephone L. May re listing agreement.                 0.10      1145.00           $114.50
 02/11/2020   JVR     AD        Revise application to employ broker.                   0.60      1145.00           $687.00
 02/13/2020   JVR     AD        Revise application to employ broker (.3); Telephone    0.40      1145.00           $458.00
                                G. Levy re same (.1).

                                                                                       2.40                       $2,748.00

  Bankruptcy Litigation [L430]
 02/04/2020   JVR     BL        Draft e-mail to D. Gottlieb re settlement strategy.    0.10      1145.00           $114.50
 02/04/2020   JVR     BL        Review and respond to e-mails re settlement.           0.20      1145.00           $229.00
 02/11/2020   JVR     BL        Telephone D. McCarthy re settlement.                   0.10      1145.00           $114.50
 02/24/2020   JVR     BL        Review objection to entry of proposed FFCL and         1.20      1145.00          $1,374.00
                                judgment (.7); Research same (.5).
 02/24/2020   JWL     BL        Research regarding scope of relief of quiet title      1.00        825.00          $825.00
                                claim.
 02/25/2020   JVR     BL        Draft reply to objections and findings and             1.30      1145.00          $1,488.50
                                conclusions.
 02/26/2020   JVR     BL        Revise response to objections to proposed findings     2.00      1145.00          $2,290.00
                                and conclusions.
 02/27/2020   JVR     BL        Telephone D. McCarthy re settlement.                   0.10      1145.00           $114.50
 02/27/2020   JVR     BL        Revise response to objections to proposed findings     1.80      1145.00          $2,061.00
                                and judgment.

                                                                                       7.80                       $8,611.00

  Case Administration [B110]
 02/19/2020   BDD     CA        Attend to misc. calendaring matters                    0.10        425.00           $42.50

                                                                                       0.10                         $42.50

  Ret. of Prof./Other
 02/03/2020   BDD     RPO       Email J. Richards re real estate broker retention      0.10        425.00           $42.50
                                application
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Pachulski Stang Ziehl & Jones LLP                                                             Page:     6
Gottlieb, David K - Yashouafar                                                                Invoice 124504
32274 - 00001                                                                                 February 29, 2020


                                                                                      Hours           Rate         Amount
 02/03/2020   BDD     RPO       Email J. Richards re listing agreement for broker      0.10        425.00           $42.50
                                retention application
 02/10/2020   BDD     RPO       Work on application/declarations to retain Hilton &    1.60        425.00          $680.00
                                Hyland as brokers (re sale of 910 N. Rexford,
                                Beverly Hills) (1.50); email J. Richards re same
                                (.10)
 02/11/2020   BDD     RPO       Continue working on/finalizing App to Employ           1.20        425.00          $510.00
                                broker re 910 N. Rexford Dr and emails J. Richards
                                re same

                                                                                       3.00                       $1,275.00

  TOTAL SERVICES FOR THIS MATTER:                                                                            $12,676.50
     Case 1:16-bk-12255-GM           Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18     Desc
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Pachulski Stang Ziehl & Jones LLP                                           Page:     7
Gottlieb, David K - Yashouafar                                              Invoice 124504
32274 - 00001                                                               February 29, 2020



 Expenses

 01/06/2020   CC        Conference Call [E105] AT&T Conference Call, JVR         5.56


 02/03/2020   RE2       SCAN/COPY ( 16 @0.10 PER PG)                             1.60


 02/10/2020   RE2       SCAN/COPY ( 16 @0.10 PER PG)                             1.60


 02/10/2020   RE2       SCAN/COPY ( 16 @0.10 PER PG)                             1.60


 02/11/2020   RE2       SCAN/COPY ( 15 @0.10 PER PG)                             1.50


 02/11/2020   RE2       SCAN/COPY ( 21 @0.10 PER PG)                             2.10


 02/11/2020   RE2       SCAN/COPY ( 16 @0.10 PER PG)                             1.60


 02/18/2020   RE2       SCAN/COPY ( 15 @0.10 PER PG)                             1.50


 02/18/2020   RE2       SCAN/COPY ( 21 @0.10 PER PG)                             2.10


 02/18/2020   RE2       SCAN/COPY ( 13 @0.10 PER PG)                             1.30


 02/19/2020   RE2       SCAN/COPY ( 14 @0.10 PER PG)                             1.40


 02/19/2020   RE2       SCAN/COPY ( 38 @0.10 PER PG)                             3.80


 02/20/2020   RE2       SCAN/COPY ( 7 @0.10 PER PG)                              0.70


 02/24/2020   RE2       SCAN/COPY ( 32 @0.10 PER PG)                             3.20


 02/25/2020   LN        32274.00001 Lexis Charges for 02-25-20                 77.32


 02/26/2020   RE2       SCAN/COPY ( 518 @0.10 PER PG)                          51.80


 02/26/2020   RE2       SCAN/COPY ( 440 @0.10 PER PG)                          44.00
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Gottlieb, David K - Yashouafar                                              Invoice 124504
32274 - 00001                                                               February 29, 2020



 02/27/2020   RE        ( 220 @0.20 PER PG)                                     44.00


 02/27/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20


 02/27/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20


 02/27/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20


 02/27/2020   RE2       SCAN/COPY ( 98 @0.10 PER PG)                             9.80


 02/27/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20


 02/27/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20


 02/27/2020   RE2       SCAN/COPY ( 11 @0.10 PER PG)                             1.10


 02/29/2020   PAC       Pacer - Court Research                                  24.40
   Total Expenses for this Matter                                           $287.98
     Case 1:16-bk-12255-GM              Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                Desc
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Pachulski Stang Ziehl & Jones LLP                                                         Page:     9
Gottlieb, David K - Yashouafar                                                            Invoice 124504
32274 - 00001                                                                             February 29, 2020


                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        02/29/2020

Total Fees                                                                                             $12,676.50

Total Expenses                                                                                                287.98

Total Due on Current Invoice                                                                           $12,964.48

  Outstanding Balance from prior invoices as of        02/29/2020          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed              Balance Due
 115185                  12/31/2016                 $73,344.00            $2,031.97                   $71,173.79

 116402                  04/30/2017                $104,852.00            $9,398.28                  $114,250.28

 116970                  06/30/2017                 $47,800.00            $3,522.61                   $51,322.61

 117273                  07/31/2017                 $52,383.00             $297.68                    $52,680.68

 117433                  08/31/2017                 $92,699.00            $3,787.46                   $96,486.46

 117926                  10/31/2017                 $30,300.50            $1,696.72                   $31,997.22

 118167                  12/31/2017                 $57,147.50            $1,632.63                   $58,780.13

 118515                  01/31/2018                 $67,197.50             $848.65                    $68,046.15

 118713                  02/28/2018                 $45,600.00             $342.55                    $45,942.55

 119250                  03/31/2018                  $8,041.00            $5,316.35                   $13,357.35

 119446                  04/30/2018                  $7,267.50             $980.08                      $8,247.58

 119720                  05/31/2018                 $58,867.50            $1,062.74                   $59,930.24

 120437                  09/30/2018                  $9,917.50             $880.04                    $10,797.54

 120645                  10/31/2018                  $9,515.00              $28.80                      $9,543.80

 120779                  11/30/2018                  $8,775.00              $51.60                      $8,826.60

 121032                  12/31/2018                 $62,030.00            $2,829.45                   $64,859.45

 121475                  01/31/2019                 $15,314.50             $416.95                    $15,731.45

 121675                  03/12/2019                 $15,641.00             $462.34                    $16,103.34
     Case 1:16-bk-12255-GM             Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18     Desc
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Pachulski Stang Ziehl & Jones LLP                                             Page:    10
Gottlieb, David K - Yashouafar                                                Invoice 124504
32274 - 00001                                                                 February 29, 2020

 121933                  03/31/2019               $1,193.50         $20.00                  $1,213.50

 122184                  04/30/2019                $298.00          $31.35                    $329.35

 122426                   05/31/2019             $54,742.00        $616.74                $55,358.74

 122696                   06/30/2019             $12,921.00        $844.99                $13,765.99

 122865                   07/31/2019             $12,385.50        $236.71                $12,622.21

 123054                   08/31/2019             $52,652.50        $780.28                $53,432.78

 123299                   09/30/2019             $51,359.00       $2,696.69               $54,055.69

 123524                   10/31/2019             $32,617.50        $744.88                $33,362.38

 123684                   12/11/2019              $5,121.50        $912.76                  $6,034.26

 124025                   12/31/2019              $7,535.50       $5,305.56               $12,841.06

 124307                   01/31/2020              $7,085.00        $332.15                  $7,417.15

             Total Amount Due on Current and Prior Invoices:                            $1,061,474.81
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     March 31, 2020
D. Gottlieb & Associates                                             Invoice 124747
17000 Ventura Blvd #300                                              Client   32274
Encino, CA 91316                                                     Matter   00001
                                                                              JVR

RE: Yashouafar

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 03/31/2020
                 FEES                                                  $2,986.50
                 EXPENSES                                                $786.20
                 TOTAL CURRENT CHARGES                                 $3,772.70

                 BALANCE FORWARD                                    $1,061,474.81
                 TOTAL BALANCE DUE                                  $1,065,247.51
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Pachulski Stang Ziehl & Jones LLP                                          Page:     2
Gottlieb, David K - Yashouafar                                             Invoice 124747
32274 - 00001                                                              March 31, 2020




  Summary of Services by Professional
  ID        Name                              Title               Rate      Hours             Amount

 BDD        Dassa, Beth D.                    Paralegal          425.00      1.10            $467.50

 JVR        Richards, Jeremy V.               Partner           1145.00      2.20           $2,519.00

                                                                            3.30             $2,986.50
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Pachulski Stang Ziehl & Jones LLP                                                    Page:     3
Gottlieb, David K - Yashouafar                                                       Invoice 124747
32274 - 00001                                                                        March 31, 2020


  Summary of Services by Task Code
  Task Code         Description                                              Hours                     Amount

 AD                 Asset Disposition [B130]                                 0.10                      $114.50

 BL                 Bankruptcy Litigation [L430]                             1.40                     $1,603.00

 CA                 Case Administration [B110]                               0.20                       $85.00

 RP                 Retention of Prof. [B160]                                0.70                      $801.50

 RPO                Ret. of Prof./Other                                      0.90                      $382.50

                                                                                     3.30             $2,986.50
     Case 1:16-bk-12255-GM          Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18    Desc
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Pachulski Stang Ziehl & Jones LLP                                          Page:     4
Gottlieb, David K - Yashouafar                                             Invoice 124747
32274 - 00001                                                              March 31, 2020


  Summary of Expenses
  Description                                                                                   Amount
Federal Express [E108]                                                                  $20.20
Legal Vision Atty Mess Service                                                         $172.50
Pacer - Court Research                                                                      $7.60
Postage [E108]                                                                          $27.80
Reproduction Expense [E101]                                                            $256.20
Reproduction/ Scan Copy                                                                $301.90

                                                                                               $786.20
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Pachulski Stang Ziehl & Jones LLP                                                             Page:     5
Gottlieb, David K - Yashouafar                                                                Invoice 124747
32274 - 00001                                                                                 March 31, 2020


                                                                                      Hours           Rate      Amount

  Asset Disposition [B130]
 03/02/2020   JVR     AD        Review and respond to e-mail from D. McCarthy re       0.10      1145.00        $114.50
                                listing agreement (Rexford).

                                                                                       0.10                     $114.50

  Bankruptcy Litigation [L430]
 03/19/2020   JVR     BL        Telephone D. McCarthy re settlement (.2); Draft        0.30      1145.00        $343.50
                                e-mail to client re same (.1).
 03/20/2020   JVR     BL        Review order adopting bankruptcy court findings        0.10      1145.00        $114.50
                                and judgment.
 03/20/2020   JVR     BL        Telephone H. David and D. Coniff re settlement.        0.20      1145.00        $229.00
 03/23/2020   JVR     BL        Draft request for judicial notice re district court    0.30      1145.00        $343.50
                                ruling.
 03/23/2020   JVR     BL        Draft demand letter to D. McCarthy re turnover of      0.10      1145.00        $114.50
                                Rexford Home.
 03/23/2020   JVR     BL        dReview settlement proposal (Rexford litigation).      0.10      1145.00        $114.50
 03/23/2020   JVR     BL        Telephone D. Coniff re settlement and title issues.    0.20      1145.00        $229.00
 03/23/2020   JVR     BL        Draft e-mail to D. McCarthy re settlement.             0.10      1145.00        $114.50

                                                                                       1.40                    $1,603.00

  Case Administration [B110]
 03/05/2020   BDD     CA        Attend to calendaring matters                          0.10       425.00         $42.50
 03/23/2020   BDD     CA        Attend to misc. calendaring matters                    0.10       425.00         $42.50

                                                                                       0.20                      $85.00

  Retention of Prof. [B160]
 03/05/2020   JVR     RP        Revise notice re hearing on application to employ      0.10      1145.00        $114.50
                                Hilton & Hyland.
 03/16/2020   JVR     RP        Draft reply to objection to retention of Hilton &      0.60      1145.00        $687.00
                                Hyland.

                                                                                       0.70                     $801.50

  Ret. of Prof./Other
 03/04/2020   BDD     RPO       Call to clerk re hearing on application to employ      0.10       425.00         $42.50
                                Hilton & Hyland as brokers and email J. Richards re
                                same
     Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                        Desc
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Gottlieb, David K - Yashouafar                                                                 Invoice 124747
32274 - 00001                                                                                  March 31, 2020


                                                                                       Hours           Rate        Amount
 03/04/2020   BDD     RPO       Preparation of Notice of Hearing on Application to      0.50       425.00          $212.50
                                Employ Hilton & Hyland as real estate brokers (.30);
                                email J. Richards re same (.10); call to BK clerk re
                                same (.10)
 03/05/2020   BDD     RPO       Revisions to Notice of Hearing on Application to        0.20       425.00           $85.00
                                Employ Hilton & Hyland as real estate brokers (.10);
                                emails J. Richards and N. Brown re same (.10)
 03/16/2020   BDD     RPO       Email J. Richards re reply to opp to Trustee's          0.10       425.00           $42.50
                                application to employ Hilton & Hyland as real estate
                                brokers

                                                                                        0.90                       $382.50

  TOTAL SERVICES FOR THIS MATTER:                                                                               $2,986.50
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Pachulski Stang Ziehl & Jones LLP                                                      Page:     7
Gottlieb, David K - Yashouafar                                                         Invoice 124747
32274 - 00001                                                                          March 31, 2020



 Expenses

 02/19/2020   LV        Legal Vision Atty/Mess. Service- Inv. 50717, delivery to          75.00
                        San Fernando Bankruptcy Court, JVR


 03/02/2020   PO        32274.00001 :Postage Charges for 03-02-20                         25.60


 03/02/2020   RE        ( 257 @0.20 PER PG)                                               51.40


 03/02/2020   RE        ( 1024 @0.20 PER PG)                                             204.80


 03/02/2020   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                       1.60


 03/02/2020   RE2       SCAN/COPY ( 116 @0.10 PER PG)                                     11.60


 03/03/2020   LV        Legal Vision Atty/Mess. Service- Inv. 50760, delivery to Los      97.50
                        Angeles Bankruptcy Court, NB


 03/03/2020   RE2       SCAN/COPY ( 56 @0.10 PER PG)                                       5.60


 03/06/2020   FE        32274.00001 FedEx Charges for 03-06-20                            10.23


 03/12/2020   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                       1.60


 03/23/2020   FE        32274.00001 FedEx Charges for 03-23-20                             9.97


 03/23/2020   PO        32274.00001 :Postage Charges for 03-23-20                          2.20


 03/23/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                        0.80


 03/23/2020   RE2       SCAN/COPY ( 1806 @0.10 PER PG)                                   180.60


 03/23/2020   RE2       SCAN/COPY ( 118 @0.10 PER PG)                                     11.80


 03/23/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                        0.10
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Pachulski Stang Ziehl & Jones LLP                                           Page:     8
Gottlieb, David K - Yashouafar                                              Invoice 124747
32274 - 00001                                                               March 31, 2020



 03/23/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10


 03/23/2020   RE2       SCAN/COPY ( 248 @0.10 PER PG)                           24.80


 03/23/2020   RE2       SCAN/COPY ( 633 @0.10 PER PG)                           63.30


 03/31/2020   PAC       Pacer - Court Research                                   7.60

   Total Expenses for this Matter                                           $786.20
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Pachulski Stang Ziehl & Jones LLP                                                         Page:     9
Gottlieb, David K - Yashouafar                                                            Invoice 124747
32274 - 00001                                                                             March 31, 2020


                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        03/31/2020

Total Fees                                                                                             $2,986.50

Total Expenses                                                                                             786.20

Total Due on Current Invoice                                                                           $3,772.70

  Outstanding Balance from prior invoices as of        03/31/2020          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed             Balance Due
 115185                  12/31/2016                 $73,344.00            $2,031.97                   $71,173.79

 116402                  04/30/2017                $104,852.00            $9,398.28                  $114,250.28

 116970                  06/30/2017                 $47,800.00            $3,522.61                   $51,322.61

 117273                  07/31/2017                 $52,383.00             $297.68                    $52,680.68

 117433                  08/31/2017                 $92,699.00            $3,787.46                   $96,486.46

 117926                  10/31/2017                 $30,300.50            $1,696.72                   $31,997.22

 118167                  12/31/2017                 $57,147.50            $1,632.63                   $58,780.13

 118515                  01/31/2018                 $67,197.50             $848.65                    $68,046.15

 118713                  02/28/2018                 $45,600.00             $342.55                    $45,942.55

 119250                  03/31/2018                  $8,041.00            $5,316.35                   $13,357.35

 119446                  04/30/2018                  $7,267.50             $980.08                     $8,247.58

 119720                  05/31/2018                 $58,867.50            $1,062.74                   $59,930.24

 120437                  09/30/2018                  $9,917.50             $880.04                    $10,797.54

 120645                  10/31/2018                  $9,515.00              $28.80                     $9,543.80

 120779                  11/30/2018                  $8,775.00              $51.60                     $8,826.60

 121032                  12/31/2018                 $62,030.00            $2,829.45                   $64,859.45

 121475                  01/31/2019                 $15,314.50             $416.95                    $15,731.45

 121675                  03/12/2019                 $15,641.00             $462.34                    $16,103.34
     Case 1:16-bk-12255-GM             Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18    Desc
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Pachulski Stang Ziehl & Jones LLP                                             Page:    10
Gottlieb, David K - Yashouafar                                                Invoice 124747
32274 - 00001                                                                 March 31, 2020

 121933                  03/31/2019               $1,193.50         $20.00                 $1,213.50

 122184                  04/30/2019                $298.00          $31.35                     $329.35

 122426                   05/31/2019             $54,742.00        $616.74                $55,358.74

 122696                   06/30/2019             $12,921.00        $844.99                $13,765.99

 122865                   07/31/2019             $12,385.50        $236.71                $12,622.21

 123054                   08/31/2019             $52,652.50        $780.28                $53,432.78

 123299                   09/30/2019             $51,359.00       $2,696.69               $54,055.69

 123524                   10/31/2019             $32,617.50        $744.88                $33,362.38

 123684                   12/11/2019              $5,121.50        $912.76                 $6,034.26

 124025                   12/31/2019              $7,535.50       $5,305.56               $12,841.06

 124307                   01/31/2020              $7,085.00        $332.15                 $7,417.15

 124504                   02/29/2020             $12,676.50        $287.98                $12,964.48

             Total Amount Due on Current and Prior Invoices:                           $1,065,247.51
     Case 1:16-bk-12255-GM     Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18        Desc
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     April 30, 2020
D. Gottlieb & Associates                                             Invoice 124898
17000 Ventura Blvd #300                                              Client    32274
Encino, CA 91316                                                     Matter    00001
                                                                               JVR

RE: Yashouafar

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 04/30/2020
                 FEES                                                 $22,885.50
                 EXPENSES                                                 $28.70
                 TOTAL CURRENT CHARGES                                $22,914.20

                 BALANCE FORWARD                                    $1,065,247.51
                 TOTAL BALANCE DUE                                  $1,088,161.71
       Case 1:16-bk-12255-GM        Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18        Desc
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Gottlieb, David K - Yashouafar                                             Invoice 124898
32274 - 00001                                                              April 30, 2020




  Summary of Services by Professional
  ID        Name                              Title               Rate      Hours              Amount

 BDD        Dassa, Beth D.                    Paralegal          425.00      0.20              $85.00

 JVR        Richards, Jeremy V.               Partner           1145.00     18.40           $21,068.00

                                                                             2.10            $1,732.50
 JWL        Lucas, John W.                    Partner            825.00
                                                                           20.70             $22,885.50
      Case 1:16-bk-12255-GM          Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18            Desc
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Gottlieb, David K - Yashouafar                                                  Invoice 124898
32274 - 00001                                                                   April 30, 2020


  Summary of Services by Task Code
  Task Code         Description                                         Hours                       Amount

 BL                 Bankruptcy Litigation [L430]                       16.20                      $17,877.00

 CA                 Case Administration [B110]                          4.40                       $4,966.00

 CO                 Claims Admin/Objections[B310]                       0.10                         $42.50

                                                                                20.70             $22,885.50
     Case 1:16-bk-12255-GM          Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18        Desc
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Gottlieb, David K - Yashouafar                                             Invoice 124898
32274 - 00001                                                              April 30, 2020


  Summary of Expenses
  Description                                                                                    Amount
Lexis/Nexis- Legal Research [E                                                              $15.10
Pacer - Court Research                                                                       $8.80
Reproduction Expense [E101]                                                                  $4.80

                                                                                                 $28.70
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Gottlieb, David K - Yashouafar                                                                 Invoice 124898
32274 - 00001                                                                                  April 30, 2020


                                                                                       Hours           Rate        Amount

  Bankruptcy Litigation [L430]
 04/01/2020   JVR     BL        Review and revise Elkwood settlement agreement.         1.30      1145.00         $1,488.50
 04/02/2020   JVR     BL        Review exhibits to settlement agreement.                1.30      1145.00         $1,488.50
 04/02/2020   JVR     BL        Review H. David edits and comments to settlement        1.80      1145.00         $2,061.00
                                agreement; Revise same.
 04/02/2020   JVR     BL        Revise settlement agreement.                            0.30      1145.00          $343.50
 04/02/2020   JVR     BL        Review comments of Abselet counsel re settlement        0.40      1145.00          $458.00
                                agreement exhibits.
 04/03/2020   JVR     BL        Telephone H. David and D. Coniff re settlement          1.00      1145.00         $1,145.00
                                structure issues.
 04/03/2020   JVR     BL        Telephone H. David and D. Coniff re settlement          0.20      1145.00          $229.00
                                agreement.
 04/04/2020   JWL     BL        Review Clear Channel case regarding lien                0.50        825.00         $412.50
                                subordination issues.
 04/06/2020   JVR     BL        Review revisions to settlement agreement (.2); Draft    0.40      1145.00          $458.00
                                e-mail to D. McCarthy re same (.1); Telephone H.
                                David and D. Coniff re same (.1).
 04/06/2020   JVR     BL        Review further edits to settlement agreement.           0.20      1145.00          $229.00
 04/08/2020   JVR     BL        Revise and edit settlement agreement exhibits.          0.80      1145.00          $916.00
 04/08/2020   JVR     BL        Revise settlement agreement exhibits.                   0.30      1145.00          $343.50
 04/09/2020   JVR     BL        Telephone D. Coniff and H. David re settlement.         0.90      1145.00         $1,030.50
 04/09/2020   JVR     BL        Draft e-mail to D. McCarthy re settlement               0.30      1145.00          $343.50
                                agreement.
 04/10/2020   JVR     BL        Telephone D. Coniff and H. David re settlement          0.10      1145.00          $114.50
                                agreement.
 04/10/2020   JVR     BL        Review e-mail from D. McCarthy re settlement            0.10      1145.00          $114.50
                                agreement.
 04/13/2020   JVR     BL        Telephone D. McCarthy, D. Coniff and H. David re        0.50      1145.00          $572.50
                                structure of settlement agreement.
 04/14/2020   JVR     BL        Review e-mail from D. McCarthy re settlement            0.10      1145.00          $114.50
                                structure.
 04/14/2020   JVR     BL        Telephone D. Coniff and H. David re settlement          0.20      1145.00          $229.00
                                structure.
 04/14/2020   JVR     BL        Review cases re Clear Channel decision (.4);            0.50      1145.00          $572.50
                                Respond to e-mail from D. McCarthy re settlement
                                structure (.1).
 04/14/2020   JWL     BL        Research regarding sale issues and settlement           1.60        825.00        $1,320.00
                                alternatives.
     Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                          Desc
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Pachulski Stang Ziehl & Jones LLP                                                              Page:      6
Gottlieb, David K - Yashouafar                                                                 Invoice 124898
32274 - 00001                                                                                  April 30, 2020


                                                                                       Hours           Rate         Amount
 04/15/2020   JVR     BL        Draft e-mail to D. McCarthy re settlement structure.    0.10      1145.00           $114.50
 04/16/2020   JVR     BL        Review motion to vacate judgment.                       0.10      1145.00           $114.50
 04/18/2020   JVR     BL        Review e-mail from D. McCarthy re settlement            0.20      1145.00           $229.00
                                structure (.1).
 04/20/2020   JVR     BL        Review e-mail from D. McCarthy re settlement            0.10      1145.00           $114.50
                                issues.
 04/20/2020   JVR     BL        Review revised settlement documents.                    0.40      1145.00           $458.00
 04/21/2020   JVR     BL        Review e-mail from H. David re settlement               0.10      1145.00           $114.50
                                structure.
 04/22/2020   JVR     BL        Review comments of D. McCarthy and H. David re          0.20      1145.00           $229.00
                                settlement agreement.
 04/22/2020   JVR     BL        Revise settlement motion.                               1.80      1145.00         $2,061.00
 04/23/2020   JVR     BL        Review revisions to settlement agreement and            0.30      1145.00           $343.50
                                exhibits.
 04/27/2020   JVR     BL        Review revised settlement agreement and exhibits.       0.10      1145.00           $114.50

                                                                                       16.20                     $17,877.00

  Case Administration [B110]
 04/08/2020   BDD     CA        Attend to misc. calendaring matters                     0.10        425.00           $42.50
 04/21/2020   JVR     CA        Draft motion to approve Elkwood settlement              4.30      1145.00         $4,923.50
                                agreement.

                                                                                        4.40                      $4,966.00

  Claims Admin/Objections[B310]
 04/08/2020   BDD     CO        Email J. Richards re Elkwood parties extension to       0.10        425.00           $42.50
                                file proofs of claim

                                                                                        0.10                         $42.50

  TOTAL SERVICES FOR THIS MATTER:                                                                               $22,885.50
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Gottlieb, David K - Yashouafar                                              Invoice 124898
32274 - 00001                                                               April 30, 2020



 Expenses

 04/04/2020   LN        32274.00001 Lexis Charges for 04-04-20                   7.55


 04/14/2020   LN        32274.00001 Lexis Charges for 04-14-20                   7.55


 04/17/2020   RE        ( 24 @0.20 PER PG)                                       4.80


 04/30/2020   PAC       Pacer - Court Research                                   8.80
   Total Expenses for this Matter                                            $28.70
     Case 1:16-bk-12255-GM              Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                   Desc
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Gottlieb, David K - Yashouafar                                                            Invoice 124898
32274 - 00001                                                                             April 30, 2020


                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        04/30/2020

Total Fees                                                                                             $22,885.50

Total Expenses                                                                                               28.70

Total Due on Current Invoice                                                                           $22,914.20

  Outstanding Balance from prior invoices as of        04/30/2020          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed              Balance Due
 115185                  12/31/2016                 $73,344.00            $2,031.97                   $71,173.79

 116402                  04/30/2017                $104,852.00            $9,398.28                  $114,250.28

 116970                  06/30/2017                 $47,800.00            $3,522.61                   $51,322.61

 117273                  07/31/2017                 $52,383.00             $297.68                    $52,680.68

 117433                  08/31/2017                 $92,699.00            $3,787.46                   $96,486.46

 117926                  10/31/2017                 $30,300.50            $1,696.72                   $31,997.22

 118167                  12/31/2017                 $57,147.50            $1,632.63                   $58,780.13

 118515                  01/31/2018                 $67,197.50             $848.65                    $68,046.15

 118713                  02/28/2018                 $45,600.00             $342.55                    $45,942.55

 119250                  03/31/2018                  $8,041.00            $5,316.35                   $13,357.35

 119446                  04/30/2018                  $7,267.50             $980.08                     $8,247.58

 119720                  05/31/2018                 $58,867.50            $1,062.74                   $59,930.24

 120437                  09/30/2018                  $9,917.50             $880.04                    $10,797.54

 120645                  10/31/2018                  $9,515.00              $28.80                     $9,543.80

 120779                  11/30/2018                  $8,775.00              $51.60                     $8,826.60

 121032                  12/31/2018                 $62,030.00            $2,829.45                   $64,859.45

 121475                  01/31/2019                 $15,314.50             $416.95                    $15,731.45

 121675                  03/12/2019                 $15,641.00             $462.34                    $16,103.34
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Pachulski Stang Ziehl & Jones LLP                                             Page:      9
Gottlieb, David K - Yashouafar                                                Invoice 124898
32274 - 00001                                                                 April 30, 2020

 121933                  03/31/2019               $1,193.50         $20.00                 $1,213.50

 122184                  04/30/2019                $298.00          $31.35                      $329.35

 122426                   05/31/2019             $54,742.00        $616.74                $55,358.74

 122696                   06/30/2019             $12,921.00        $844.99                $13,765.99

 122865                   07/31/2019             $12,385.50        $236.71                $12,622.21

 123054                   08/31/2019             $52,652.50        $780.28                $53,432.78

 123299                   09/30/2019             $51,359.00       $2,696.69               $54,055.69

 123524                   10/31/2019             $32,617.50        $744.88                $33,362.38

 123684                   12/11/2019              $5,121.50        $912.76                     $6,034.26

 124025                   12/31/2019              $7,535.50       $5,305.56               $12,841.06

 124307                   01/31/2020              $7,085.00        $332.15                     $7,417.15

 124504                   02/29/2020             $12,676.50        $287.98                $12,964.48

 124747                   03/31/2020              $2,986.50        $786.20                     $3,772.70

             Total Amount Due on Current and Prior Invoices:                            $1,088,161.71
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     May 31, 2020
D. Gottlieb & Associates                                             Invoice 125122
17000 Ventura Blvd #300                                              Client   32274
Encino, CA 91316                                                     Matter   00001
                                                                              JVR

RE: Yashouafar

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 05/31/2020
                 FEES                                                  $9,298.50
                 EXPENSES                                                $538.34
                 TOTAL CURRENT CHARGES                                 $9,836.84

                 BALANCE FORWARD                                    $1,088,161.71
                 TOTAL BALANCE DUE                                  $1,097,998.55
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Gottlieb, David K - Yashouafar                                             Invoice 125122
32274 - 00001                                                              May 31, 2020




  Summary of Services by Professional
  ID        Name                              Title               Rate      Hours              Amount

 BDD        Dassa, Beth D.                    Paralegal          425.00      2.20             $935.00

 JVR        Richards, Jeremy V.               Partner           1145.00      6.80            $7,786.00

                                                                             0.70             $577.50
 JWL        Lucas, John W.                    Partner            825.00
                                                                            9.70              $9,298.50
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Gottlieb, David K - Yashouafar                                                  Invoice 125122
32274 - 00001                                                                   May 31, 2020


  Summary of Services by Task Code
  Task Code         Description                                         Hours                       Amount

 AD                 Asset Disposition [B130]                            2.00                        $850.00

 BL                 Bankruptcy Litigation [L430]                        7.50                       $8,363.50

 CA                 Case Administration [B110]                          0.20                         $85.00

                                                                                9.70               $9,298.50
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Gottlieb, David K - Yashouafar                                             Invoice 125122
32274 - 00001                                                              May 31, 2020


  Summary of Expenses
  Description                                                                                    Amount
Conference Call [E105]                                                                      $11.51
Federal Express [E108]                                                                       $9.73
Pacer - Court Research                                                                      $17.40
Postage [E108]                                                                          $129.50
Reproduction Expense [E101]                                                             $338.40
Reproduction/ Scan Copy                                                                     $31.80

                                                                                                $538.34
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Gottlieb, David K - Yashouafar                                                                 Invoice 125122
32274 - 00001                                                                                  May 31, 2020


                                                                                       Hours           Rate        Amount

  Asset Disposition [B130]
 05/13/2020   BDD     AD        Email J. Richards re Motion to Approve Settlement       0.10        425.00          $42.50
                                with Elkwood parties and for sale of Rexford home
 05/14/2020   BDD     AD        Preparation of Notice of Filing of 9019 Motion with     1.10        425.00         $467.50
                                Elkwood parties and sale of Rexford home (1.0);
                                email J. Richards re seame (.10)
 05/14/2020   BDD     AD        Email N. Brown re 9019 motion with Elkwood              0.10        425.00          $42.50
                                parties and sale of Rexford property
 05/18/2020   BDD     AD        Email G. Downing re Notice of Filing of 9019            0.10        425.00          $42.50
                                motion re Elkwood and sale of Rexford property
 05/19/2020   BDD     AD        Email J. Richards re Notice of filing of 9019 motion    0.10        425.00          $42.50
                                re Elkwood parties and sale of Rexford property
 05/19/2020   BDD     AD        Email N. Brown and M. Kulick re 9019 Motion with        0.10        425.00          $42.50
                                Elkwood parties and sale of Rexford property
 05/19/2020   BDD     AD        Email J. Richards re 9019 Motion with Elkwood           0.10        425.00          $42.50
                                parties and sale of Rexford property
 05/21/2020   BDD     AD        Emails J. Richards and G.Downiing re 9019 filing        0.20        425.00          $85.00
                                (sale of Reford property)
 05/23/2020   BDD     AD        Email J. Richards re service of Notice of motion re     0.10        425.00          $42.50
                                sale of Rexford property (in both cases)

                                                                                        2.00                       $850.00

  Bankruptcy Litigation [L430]
 05/04/2020   JVR     BL        Review and respond to e-mails re settlement             0.20      1145.00          $229.00
                                structure.
 05/06/2020   JVR     BL        Review e-mail from D. McCarthy re settlement            0.10      1145.00          $114.50
                                issues.
 05/06/2020   JVR     BL        Telephone H. David and D. Coniff re settlement          0.10      1145.00          $114.50
                                agreement.
 05/07/2020   JVR     BL        Review revisions to settlement agreement.               0.20      1145.00          $229.00
 05/08/2020   JVR     BL        Review e-mails from D. McCarthy and H. David re         0.20      1145.00          $229.00
                                settlement agreement.
 05/08/2020   JVR     BL        Telephone D. Coniff and H. David re settlement (.2);    0.30      1145.00          $343.50
                                Draft e-mail to D. McCarthy re same (.1).
 05/09/2020   JVR     BL        Review e-mail from D. McCarthy re settlement (.1);      0.20      1145.00          $229.00
                                Review draft responses from H. David (.1).
 05/10/2020   JVR     BL        Review e-mails from D. McCarthy and H. David re         0.20      1145.00          $229.00
                                settlement.
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Gottlieb, David K - Yashouafar                                                                Invoice 125122
32274 - 00001                                                                                 May 31, 2020


                                                                                      Hours           Rate        Amount
 05/11/2020   JVR     BL        Review edits to Elkwood settlement agreement (.2);     0.40      1145.00          $458.00
                                Draft e-mail to H. David re same (.1); Review edits
                                to settlement motion (.1).
 05/12/2020   JVR     BL        Review e-mails re revised settlement agreement and     0.20      1145.00          $229.00
                                review revisions to same.
 05/12/2020   JVR     BL        Revise settlement agreement and analyze same.          0.80      1145.00          $916.00
 05/12/2020   JVR     BL        Revise settlement motion.                              0.20      1145.00          $229.00
 05/12/2020   JVR     BL        Revise settlement agreement (.6); Draft declaration    1.40      1145.00         $1,603.00
                                in support of settlement (.8).
 05/13/2020   JVR     BL        Review revisions to settlement agreement.              0.20      1145.00          $229.00
 05/13/2020   JVR     BL        Revise compromise motion.                              0.10      1145.00          $114.50
 05/16/2020   JVR     BL        Review revised settlement agreement.                   0.20      1145.00          $229.00
 05/18/2020   JVR     BL        Revise settlement agreement.                           0.20      1145.00          $229.00
 05/18/2020   JVR     BL        Review revisions to settlement agreement and           0.30      1145.00          $343.50
                                exhibits.
 05/18/2020   JVR     BL        Revise settlement agreement.                           0.20      1145.00          $229.00
 05/18/2020   JVR     BL        Prepare settlement motion, settlement agreement and    0.80      1145.00          $916.00
                                exhibits for filing.
 05/21/2020   JVR     BL        Review final settlement agreement exhibits.            0.20      1145.00          $229.00
 05/21/2020   JWL     BL        Call with counsel to Soda Partners regarding lien      0.50        825.00         $412.50
                                and settlement of Rexford property (.3) and review
                                of lien abstract regarding the same (.2);
 05/22/2020   JVR     BL        Verify Soda Partners lien priority.                    0.10      1145.00          $114.50
 05/28/2020   JWL     BL        Emails with Ronald Richards regarding settlement       0.20        825.00         $165.00
                                of lien under sale (.2);

                                                                                       7.50                      $8,363.50

  Case Administration [B110]
 05/22/2020   BDD     CA        Email J. Richards re calendaring matters               0.10        425.00          $42.50
 05/22/2020   BDD     CA        Email M. DesJardien re calendaring matters             0.10        425.00          $42.50

                                                                                       0.20                        $85.00

  TOTAL SERVICES FOR THIS MATTER:                                                                              $9,298.50
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Gottlieb, David K - Yashouafar                                              Invoice 125122
32274 - 00001                                                               May 31, 2020



 Expenses

 04/13/2020   CC        Conference Call [E105] AT&T Conference Call, JVR        6.87


 04/13/2020   CC        Conference Call [E105] AT&T Conference Call, JVR        4.64


 05/21/2020   FE        32274.00001 FedEx Charges for 05-21-20                  9.73


 05/21/2020   PO        32274.00001 :Postage Charges for 05-21-20             129.50


 05/21/2020   RE        ( 795 @0.20 PER PG)                                   159.00


 05/21/2020   RE        ( 87 @0.20 PER PG)                                     17.40


 05/21/2020   RE        ( 810 @0.20 PER PG)                                   162.00


 05/21/2020   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40


 05/21/2020   RE2       SCAN/COPY ( 18 @0.10 PER PG)                            1.80


 05/21/2020   RE2       SCAN/COPY ( 84 @0.10 PER PG)                            8.40


 05/21/2020   RE2       SCAN/COPY ( 17 @0.10 PER PG)                            1.70


 05/21/2020   RE2       SCAN/COPY ( 39 @0.10 PER PG)                            3.90


 05/21/2020   RE2       SCAN/COPY ( 18 @0.10 PER PG)                            1.80


 05/21/2020   RE2       SCAN/COPY ( 17 @0.10 PER PG)                            1.70


 05/21/2020   RE2       SCAN/COPY ( 84 @0.10 PER PG)                            8.40


 05/21/2020   RE2       SCAN/COPY ( 17 @0.10 PER PG)                            1.70


 05/31/2020   PAC       Pacer - Court Research                                 17.40
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Gottlieb, David K - Yashouafar                                             Invoice 125122
32274 - 00001                                                              May 31, 2020


   Total Expenses for this Matter                                          $538.34
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Gottlieb, David K - Yashouafar                                                            Invoice 125122
32274 - 00001                                                                             May 31, 2020


                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        05/31/2020

Total Fees                                                                                                 $9,298.50

Total Expenses                                                                                               538.34

Total Due on Current Invoice                                                                               $9,836.84

  Outstanding Balance from prior invoices as of        05/31/2020          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed              Balance Due
 115185                  12/31/2016                 $73,344.00            $2,031.97                   $71,173.79

 116402                  04/30/2017                $104,852.00            $9,398.28                  $114,250.28

 116970                  06/30/2017                 $47,800.00            $3,522.61                   $51,322.61

 117273                  07/31/2017                 $52,383.00             $297.68                    $52,680.68

 117433                  08/31/2017                 $92,699.00            $3,787.46                   $96,486.46

 117926                  10/31/2017                 $30,300.50            $1,696.72                   $31,997.22

 118167                  12/31/2017                 $57,147.50            $1,632.63                   $58,780.13

 118515                  01/31/2018                 $67,197.50             $848.65                    $68,046.15

 118713                  02/28/2018                 $45,600.00             $342.55                    $45,942.55

 119250                  03/31/2018                  $8,041.00            $5,316.35                   $13,357.35

 119446                  04/30/2018                  $7,267.50             $980.08                     $8,247.58

 119720                  05/31/2018                 $58,867.50            $1,062.74                   $59,930.24

 120437                  09/30/2018                  $9,917.50             $880.04                    $10,797.54

 120645                  10/31/2018                  $9,515.00              $28.80                     $9,543.80

 120779                  11/30/2018                  $8,775.00              $51.60                     $8,826.60

 121032                  12/31/2018                 $62,030.00            $2,829.45                   $64,859.45

 121475                  01/31/2019                 $15,314.50             $416.95                    $15,731.45

 121675                  03/12/2019                 $15,641.00             $462.34                    $16,103.34
     Case 1:16-bk-12255-GM             Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18        Desc
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Pachulski Stang Ziehl & Jones LLP                                             Page:    10
Gottlieb, David K - Yashouafar                                                Invoice 125122
32274 - 00001                                                                 May 31, 2020

 121933                  03/31/2019               $1,193.50         $20.00                 $1,213.50

 122184                  04/30/2019                $298.00          $31.35                      $329.35

 122426                   05/31/2019             $54,742.00        $616.74                $55,358.74

 122696                   06/30/2019             $12,921.00        $844.99                $13,765.99

 122865                   07/31/2019             $12,385.50        $236.71                $12,622.21

 123054                   08/31/2019             $52,652.50        $780.28                $53,432.78

 123299                   09/30/2019             $51,359.00       $2,696.69               $54,055.69

 123524                   10/31/2019             $32,617.50        $744.88                $33,362.38

 123684                   12/11/2019              $5,121.50        $912.76                     $6,034.26

 124025                   12/31/2019              $7,535.50       $5,305.56               $12,841.06

 124307                   01/31/2020              $7,085.00        $332.15                     $7,417.15

 124504                   02/29/2020             $12,676.50        $287.98                $12,964.48

 124747                   03/31/2020              $2,986.50        $786.20                     $3,772.70

 124898                   04/30/2020             $22,885.50         $28.70                $22,914.20

             Total Amount Due on Current and Prior Invoices:                            $1,097,998.55
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     June 30, 2020
D. Gottlieb & Associates                                             Invoice 125558
17000 Ventura Blvd #300                                              Client    32274
Encino, CA 91316                                                     Matter    00001
                                                                               JVR

RE: Yashouafar

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 06/30/2020
                 FEES                                                 $15,536.50
                 EXPENSES                                                $147.84
                 TOTAL CURRENT CHARGES                                $15,684.34

                 BALANCE FORWARD                                    $1,097,998.55
                 TOTAL BALANCE DUE                                  $1,113,682.89
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Gottlieb, David K - Yashouafar                                             Invoice 125558
32274 - 00001                                                              June 30, 2020




  Summary of Services by Professional
  ID        Name                              Title               Rate      Hours              Amount

 BDD        Dassa, Beth D.                    Paralegal          425.00      1.20             $510.00

 JVR        Richards, Jeremy V.               Partner           1145.00      2.70            $3,091.50

 WLR                                                                        15.40           $11,935.00
            Ramseyer, William L.              Counsel            775.00
                                                                           19.30             $15,536.50
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Gottlieb, David K - Yashouafar                                                  Invoice 125558
32274 - 00001                                                                   June 30, 2020


  Summary of Services by Task Code
  Task Code         Description                                         Hours                       Amount

 AD                 Asset Disposition [B130]                            0.10                         $42.50

 BL                 Bankruptcy Litigation [L430]                        2.70                       $3,091.50

 CO                 Claims Admin/Objections[B310]                       0.20                         $85.00

 CP                 Compensation Prof. [B160]                          16.30                      $12,317.50

                                                                                19.30             $15,536.50
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Gottlieb, David K - Yashouafar                                             Invoice 125558
32274 - 00001                                                              June 30, 2020


  Summary of Expenses
  Description                                                                                    Amount
Conference Call [E105]                                                                      $26.25
Federal Express [E108]                                                                      $19.79
Legal Vision Atty Mess Service                                                              $75.00
Pacer - Court Research                                                                       $8.30
Reproduction/ Scan Copy                                                                     $18.50

                                                                                                $147.84
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Gottlieb, David K - Yashouafar                                                               Invoice 125558
32274 - 00001                                                                                June 30, 2020


                                                                                     Hours           Rate        Amount

  Asset Disposition [B130]
 06/08/2020   BDD     AD        Email M. Vivoli (creditor) re 9019 Motion             0.10        425.00          $42.50

                                                                                      0.10                        $42.50

  Bankruptcy Litigation [L430]
 06/03/2020   JVR     BL        Draft e-mail clarifying timing and manner of          0.20      1145.00          $229.00
                                payment to Soda Partners.
 06/10/2020   JVR     BL        Draft reply ISO settlement motion.                    1.00      1145.00         $1,145.00
 06/11/2020   JVR     BL        Revise approval order and reply ISO settlement        0.30      1145.00          $343.50
                                motion.
 06/22/2020   JVR     BL        Review tentative ruling re settlement.                0.10      1145.00          $114.50
 06/23/2020   JVR     BL        Prepare for hearing on settlement motion.             0.30      1145.00          $343.50
 06/23/2020   JVR     BL        Attend hearing on settlement motion.                  0.50      1145.00          $572.50
 06/23/2020   JVR     BL        Review closing documents.                             0.30      1145.00          $343.50

                                                                                      2.70                      $3,091.50

  Claims Admin/Objections[B310]
 06/02/2020   BDD     CO        Email G. Downing re call from creditor                0.10        425.00          $42.50
 06/23/2020   BDD     CO        Email J. Richards re Order on Motion to Approve       0.10        425.00          $42.50
                                Compromise

                                                                                      0.20                        $85.00

  Compensation Prof. [B160]
 06/08/2020   WLR     CP        Review correspondence from Jeremy Richards and        0.20        775.00         $155.00
                                reply re final fee application
 06/08/2020   BDD     CP        Emails J. Richards and B. Ramseyer re fee             0.60        425.00         $255.00
                                application, and obtain pleadings/invoices re same
 06/08/2020   BDD     CP        Email accounting re PSZJ 2nd interim fee              0.10        425.00          $42.50
                                application
 06/08/2020   BDD     CP        Email N. Brown re PSZJ 2nd interim fee application    0.10        425.00          $42.50
 06/11/2020   WLR     CP        Draft final fee application                           4.40        775.00        $3,410.00
 06/14/2020   WLR     CP        Draft final fee application                           2.70        775.00        $2,092.50
 06/14/2020   WLR     CP        Review and revise final fee application               1.30        775.00        $1,007.50
 06/15/2020   WLR     CP        Review and analyze case history, settlement           1.00        775.00         $775.00
                                agreements and exhibits
     Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18               Desc
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Pachulski Stang Ziehl & Jones LLP                                                   Page:     6
Gottlieb, David K - Yashouafar                                                      Invoice 125558
32274 - 00001                                                                       June 30, 2020


                                                                            Hours           Rate         Amount
 06/15/2020   WLR     CP        Review and revise final fee application      1.30        775.00        $1,007.50
 06/15/2020   BDD     CP        Email W. Ramseyer re PSZJ fee application    0.10        425.00           $42.50
 06/16/2020   WLR     CP        Review and revise final fee application      2.80        775.00        $2,170.00
 06/20/2020   WLR     CP        Review and revise final fee application      1.70        775.00        $1,317.50

                                                                            16.30                     $12,317.50

  TOTAL SERVICES FOR THIS MATTER:                                                                    $15,536.50
     Case 1:16-bk-12255-GM           Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                Desc
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Pachulski Stang Ziehl & Jones LLP                                                   Page:     7
Gottlieb, David K - Yashouafar                                                      Invoice 125558
32274 - 00001                                                                       June 30, 2020



 Expenses

 03/17/2020   LV        Legal Vision Atty/Mess. Service- Inv. 50815, San Fernando       75.00
                        Bankruptcy Court, JVR


 06/12/2020   FE        32274.00001 FedEx Charges for 06-12-20                           9.87


 06/12/2020   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                      0.90


 06/12/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                     1.20


 06/23/2020   RE2       SCAN/COPY ( 84 @0.10 PER PG)                                     8.40


 06/25/2020   CC        Conference Call [E105] Court Call, JVR                          26.25


 06/25/2020   FE        32274.00001 FedEx Charges for 06-25-20                           9.92


 06/26/2020   RE2       SCAN/COPY ( 80 @0.10 PER PG)                                     8.00


 06/30/2020   PAC       Pacer - Court Research                                           8.30
   Total Expenses for this Matter                                                   $147.84
     Case 1:16-bk-12255-GM              Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                   Desc
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Pachulski Stang Ziehl & Jones LLP                                                         Page:     8
Gottlieb, David K - Yashouafar                                                            Invoice 125558
32274 - 00001                                                                             June 30, 2020


                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        06/30/2020

Total Fees                                                                                             $15,536.50

Total Expenses                                                                                               147.84

Total Due on Current Invoice                                                                           $15,684.34

  Outstanding Balance from prior invoices as of        06/30/2020          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed              Balance Due
 115185                  12/31/2016                 $73,344.00            $2,031.97                   $71,173.79

 116402                  04/30/2017                $104,852.00            $9,398.28                  $114,250.28

 116970                  06/30/2017                 $47,800.00            $3,522.61                   $51,322.61

 117273                  07/31/2017                 $52,383.00             $297.68                    $52,680.68

 117433                  08/31/2017                 $92,699.00            $3,787.46                   $96,486.46

 117926                  10/31/2017                 $30,300.50            $1,696.72                   $31,997.22

 118167                  12/31/2017                 $57,147.50            $1,632.63                   $58,780.13

 118515                  01/31/2018                 $67,197.50             $848.65                    $68,046.15

 118713                  02/28/2018                 $45,600.00             $342.55                    $45,942.55

 119250                  03/31/2018                  $8,041.00            $5,316.35                   $13,357.35

 119446                  04/30/2018                  $7,267.50             $980.08                     $8,247.58

 119720                  05/31/2018                 $58,867.50            $1,062.74                   $59,930.24

 120437                  09/30/2018                  $9,917.50             $880.04                    $10,797.54

 120645                  10/31/2018                  $9,515.00              $28.80                     $9,543.80

 120779                  11/30/2018                  $8,775.00              $51.60                     $8,826.60

 121032                  12/31/2018                 $62,030.00            $2,829.45                   $64,859.45

 121475                  01/31/2019                 $15,314.50             $416.95                    $15,731.45

 121675                  03/12/2019                 $15,641.00             $462.34                    $16,103.34
     Case 1:16-bk-12255-GM             Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18        Desc
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Pachulski Stang Ziehl & Jones LLP                                             Page:     9
Gottlieb, David K - Yashouafar                                                Invoice 125558
32274 - 00001                                                                 June 30, 2020

 121933                  03/31/2019               $1,193.50         $20.00                 $1,213.50

 122184                  04/30/2019                $298.00          $31.35                      $329.35

 122426                   05/31/2019             $54,742.00        $616.74                $55,358.74

 122696                   06/30/2019             $12,921.00        $844.99                $13,765.99

 122865                   07/31/2019             $12,385.50        $236.71                $12,622.21

 123054                   08/31/2019             $52,652.50        $780.28                $53,432.78

 123299                   09/30/2019             $51,359.00       $2,696.69               $54,055.69

 123524                   10/31/2019             $32,617.50        $744.88                $33,362.38

 123684                   12/11/2019              $5,121.50        $912.76                     $6,034.26

 124025                   12/31/2019              $7,535.50       $5,305.56               $12,841.06

 124307                   01/31/2020              $7,085.00        $332.15                     $7,417.15

 124504                   02/29/2020             $12,676.50        $287.98                $12,964.48

 124747                   03/31/2020              $2,986.50        $786.20                     $3,772.70

 124898                   04/30/2020             $22,885.50         $28.70                $22,914.20

 125122                   05/31/2020              $9,298.50        $538.34                     $9,836.84

             Total Amount Due on Current and Prior Invoices:                            $1,113,682.89
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     July 31, 2020
D. Gottlieb & Associates                                             Invoice 125559
17000 Ventura Blvd #300                                              Client    32274
Encino, CA 91316                                                     Matter    00001
                                                                               JVR

RE: Yashouafar

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 07/31/2020
                 FEES                                                  $9,291.00
                 EXPENSES                                                 $68.97
                 TOTAL CURRENT CHARGES                                 $9,359.97

                 BALANCE FORWARD                                    $1,113,682.89
                 TOTAL BALANCE DUE                                  $1,123,042.86
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Gottlieb, David K - Yashouafar                                             Invoice 125559
32274 - 00001                                                              July 31, 2020




  Summary of Services by Professional
  ID        Name                              Title               Rate      Hours              Amount

 AWC        Caine, Andrew W.                  Partner           1095.00      0.50             $547.50

 BDD        Dassa, Beth D.                    Paralegal          425.00      5.60            $2,380.00

 JVR                                                                         4.80            $5,496.00
            Richards, Jeremy V.               Partner           1145.00
                                                                             0.30             $247.50
 JWL        Lucas, John W.                    Partner            825.00
 WLR                                                                         0.80             $620.00
            Ramseyer, William L.              Counsel            775.00
                                                                           12.00              $9,291.00
      Case 1:16-bk-12255-GM             Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18            Desc
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Gottlieb, David K - Yashouafar                                                     Invoice 125559
32274 - 00001                                                                      July 31, 2020


  Summary of Services by Task Code
  Task Code         Description                                            Hours                       Amount

                                                                           0.20                        $229.00

 BL                 Bankruptcy Litigation [L430]                           0.30                        $343.50

 CA                 Case Administration [B110]                             1.90                       $2,175.50

 CO                 Claims Admin/Objections[B310]                          8.50                       $5,723.50

 CP                 Compensation Prof. [B160]                              1.00                        $705.00

 TI                 Tax Issues [B240]                                      0.10                        $114.50

                                                                                   12.00              $9,291.00
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Pachulski Stang Ziehl & Jones LLP                                          Page:      4
Gottlieb, David K - Yashouafar                                             Invoice 125559
32274 - 00001                                                              July 31, 2020


  Summary of Expenses
  Description                                                                                    Amount
Federal Express [E108]                                                                       $9.97
Pacer - Court Research                                                                      $56.80
Reproduction/ Scan Copy                                                                      $2.20

                                                                                                 $68.97
     Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                              Desc
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Gottlieb, David K - Yashouafar                                                                     Invoice 125559
32274 - 00001                                                                                      July 31, 2020


                                                                                           Hours           Rate        Amount



 07/27/2020   JVR               Review miscellaneous claims re objections.                  0.20      1145.00          $229.00

                                                                                            0.20                       $229.00

  Bankruptcy Litigation [L430]
 07/01/2020   JVR     BL        Review declaration in support of entry of order             0.10      1145.00          $114.50
                                vacating quiet title judgment.
 07/02/2020   JVR     BL        Review stipulated order and settlement agreement re         0.20      1145.00          $229.00
                                funds distribution.

                                                                                            0.30                       $343.50

  Case Administration [B110]
 07/07/2020   JVR     CA        Draft case report for trustee filing with UST.              0.40      1145.00          $458.00
 07/07/2020   JVR     CA        Prepare analysis of outstanding assets/liabilities/fees.    0.50      1145.00          $572.50
 07/10/2020   JVR     CA        Update outstanding fee analysis.                            0.10      1145.00          $114.50
 07/13/2020   JVR     CA        Revise asset/liability analysis.                            0.30      1145.00          $343.50
 07/19/2020   JVR     CA        Revise liability estimates.                                 0.10      1145.00          $114.50
 07/23/2020   JVR     CA        Review claims analysis.                                     0.30      1145.00          $343.50
 07/27/2020   JVR     CA        Review claims analysis.                                     0.20      1145.00          $229.00

                                                                                            1.90                      $2,175.50

  Claims Admin/Objections[B310]
 07/17/2020   BDD     CO        Email J. Richards re claims schedule                        0.10        425.00          $42.50
 07/22/2020   BDD     CO        Perform claims analysis per J. Richards request and         2.80        425.00        $1,190.00
                                email J. Richards re same
 07/22/2020   JWL     CO        Call with creditor Van Nuys Plywood regarding               0.30        825.00         $247.50
                                status of discharge and potential distribution (.3);
 07/24/2020   AWC     CO        Review claims analysis to prepare for potential             0.50      1095.00          $547.50
                                objections.
 07/27/2020   BDD     CO        Review and provide claims per J. Richards request           0.70        425.00         $297.50
 07/28/2020   JVR     CO        Review claims re objections.                                2.30      1145.00         $2,633.50
 07/28/2020   BDD     CO        Work on chart re M. Yashouafar claims and emails            1.80        425.00         $765.00
                                J. Richards re same

                                                                                            8.50                      $5,723.50
     Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                      Desc
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Gottlieb, David K - Yashouafar                                                             Invoice 125559
32274 - 00001                                                                              July 31, 2020


                                                                                   Hours           Rate        Amount

  Compensation Prof. [B160]
 07/10/2020   WLR     CP        Correspondence to Beth Dassa re final fee           0.20        775.00         $155.00
                                application
 07/10/2020   WLR     CP        Draft final fee application re May and June 2020    0.60        775.00         $465.00
                                events
 07/10/2020   BDD     CP        Emails B. Ramseyer and J. Richards re PSZJ fee      0.20        425.00          $85.00
                                application

                                                                                    1.00                       $705.00

  Tax Issues [B240]
 07/13/2020   JVR     TI        Review estate tax estimate.                         0.10      1145.00          $114.50

                                                                                    0.10                       $114.50

  TOTAL SERVICES FOR THIS MATTER:                                                                           $9,291.00
     Case 1:16-bk-12255-GM           Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18        Desc
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Gottlieb, David K - Yashouafar                                              Invoice 125559
32274 - 00001                                                               July 31, 2020



 Expenses

 07/17/2020   FE        32274.00001 FedEx Charges for 07-17-20                   9.97


 07/17/2020   RE2       SCAN/COPY ( 22 @0.10 PER PG)                             2.20


 07/31/2020   PAC       Pacer - Court Research                                  56.80

   Total Expenses for this Matter                                            $68.97
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Gottlieb, David K - Yashouafar                                                            Invoice 125559
32274 - 00001                                                                             July 31, 2020


                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        07/31/2020

Total Fees                                                                                                 $9,291.00

Total Expenses                                                                                                68.97

Total Due on Current Invoice                                                                               $9,359.97

  Outstanding Balance from prior invoices as of        07/31/2020          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed              Balance Due
 115185                  12/31/2016                 $73,344.00            $2,031.97                   $71,173.79

 116402                  04/30/2017                $104,852.00            $9,398.28                  $114,250.28

 116970                  06/30/2017                 $47,800.00            $3,522.61                   $51,322.61

 117273                  07/31/2017                 $52,383.00             $297.68                    $52,680.68

 117433                  08/31/2017                 $92,699.00            $3,787.46                   $96,486.46

 117926                  10/31/2017                 $30,300.50            $1,696.72                   $31,997.22

 118167                  12/31/2017                 $57,147.50            $1,632.63                   $58,780.13

 118515                  01/31/2018                 $67,197.50             $848.65                    $68,046.15

 118713                  02/28/2018                 $45,600.00             $342.55                    $45,942.55

 119250                  03/31/2018                  $8,041.00            $5,316.35                   $13,357.35

 119446                  04/30/2018                  $7,267.50             $980.08                     $8,247.58

 119720                  05/31/2018                 $58,867.50            $1,062.74                   $59,930.24

 120437                  09/30/2018                  $9,917.50             $880.04                    $10,797.54

 120645                  10/31/2018                  $9,515.00              $28.80                     $9,543.80

 120779                  11/30/2018                  $8,775.00              $51.60                     $8,826.60

 121032                  12/31/2018                 $62,030.00            $2,829.45                   $64,859.45

 121475                  01/31/2019                 $15,314.50             $416.95                    $15,731.45

 121675                  03/12/2019                 $15,641.00             $462.34                    $16,103.34
     Case 1:16-bk-12255-GM             Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18        Desc
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Pachulski Stang Ziehl & Jones LLP                                             Page:      9
Gottlieb, David K - Yashouafar                                                Invoice 125559
32274 - 00001                                                                 July 31, 2020

 121933                  03/31/2019               $1,193.50         $20.00                 $1,213.50

 122184                  04/30/2019                $298.00          $31.35                      $329.35

 122426                   05/31/2019             $54,742.00        $616.74                $55,358.74

 122696                   06/30/2019             $12,921.00        $844.99                $13,765.99

 122865                   07/31/2019             $12,385.50        $236.71                $12,622.21

 123054                   08/31/2019             $52,652.50        $780.28                $53,432.78

 123299                   09/30/2019             $51,359.00       $2,696.69               $54,055.69

 123524                   10/31/2019             $32,617.50        $744.88                $33,362.38

 123684                   12/11/2019              $5,121.50        $912.76                     $6,034.26

 124025                   12/31/2019              $7,535.50       $5,305.56               $12,841.06

 124307                   01/31/2020              $7,085.00        $332.15                     $7,417.15

 124504                   02/29/2020             $12,676.50        $287.98                $12,964.48

 124747                   03/31/2020              $2,986.50        $786.20                     $3,772.70

 124898                   04/30/2020             $22,885.50         $28.70                $22,914.20

 125122                   05/31/2020              $9,298.50        $538.34                     $9,836.84

 125558                   06/30/2020             $15,536.50        $147.84                $15,684.34

             Total Amount Due on Current and Prior Invoices:                            $1,123,042.86
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     August 31, 2020
D. Gottlieb & Associates                                             Invoice 125885
17000 Ventura Blvd #300                                              Client   32274
Encino, CA 91316                                                     Matter   00001
                                                                              JVR

RE: Yashouafar

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 08/31/2020
                 FEES                                                    $428.50
                 EXPENSES                                                 $28.70
                 TOTAL CURRENT CHARGES                                   $457.20

                 BALANCE FORWARD                                    $1,123,042.86
                 TOTAL BALANCE DUE                                  $1,123,500.06
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Gottlieb, David K - Yashouafar                                             Invoice 125885
32274 - 00001                                                              August 31, 2020




  Summary of Services by Professional
  ID        Name                              Title               Rate      Hours            Amount

 BDD        Dassa, Beth D.                    Paralegal          425.00      0.20             $85.00

 JVR        Richards, Jeremy V.               Partner           1145.00      0.30            $343.50

                                                                            0.50              $428.50
      Case 1:16-bk-12255-GM          Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18         Desc
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Gottlieb, David K - Yashouafar                                                  Invoice 125885
32274 - 00001                                                                   August 31, 2020


  Summary of Services by Task Code
  Task Code         Description                                         Hours                     Amount

 CA                 Case Administration [B110]                          0.30                      $343.50

 CP                 Compensation Prof. [B160]                           0.20                       $85.00

                                                                                0.50              $428.50
     Case 1:16-bk-12255-GM          Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18     Desc
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Gottlieb, David K - Yashouafar                                             Invoice 125885
32274 - 00001                                                              August 31, 2020


  Summary of Expenses
  Description                                                                                    Amount
Filing Fee [E112]                                                                        $27.30
Reproduction/ Scan Copy                                                                      $1.40

                                                                                                 $28.70
     Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                    Desc
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Gottlieb, David K - Yashouafar                                                             Invoice 125885
32274 - 00001                                                                              August 31, 2020


                                                                                   Hours           Rate       Amount

  Case Administration [B110]
 08/10/2020   JVR     CA        Review and revise allocation and distribution of    0.30      1145.00         $343.50
                                Elkwood settlement proceeds.

                                                                                    0.30                      $343.50

  Compensation Prof. [B160]
 08/31/2020   BDD     CP        Email W. Ramseyer re fee application                0.10       425.00          $42.50
 08/31/2020   BDD     CP        Email J. Richards re fee application                0.10       425.00          $42.50

                                                                                    0.20                       $85.00

  TOTAL SERVICES FOR THIS MATTER:                                                                            $428.50
     Case 1:16-bk-12255-GM           Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18     Desc
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Gottlieb, David K - Yashouafar                                              Invoice 125885
32274 - 00001                                                               August 31, 2020



 Expenses

 06/15/2020   FF        Filing Fee [E112] One Legal, JKH                        13.65


 06/16/2020   FF        Filing Fee [E112]One Legal, JKH                         13.65


 08/07/2020   RE2       SCAN/COPY ( 14 @0.10 PER PG)                             1.40

   Total Expenses for this Matter                                            $28.70
     Case 1:16-bk-12255-GM              Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                Desc
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Gottlieb, David K - Yashouafar                                                            Invoice 125885
32274 - 00001                                                                             August 31, 2020


                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        08/31/2020

Total Fees                                                                                                  $428.50

Total Expenses                                                                                                28.70

Total Due on Current Invoice                                                                                $457.20

  Outstanding Balance from prior invoices as of        08/31/2020          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed              Balance Due
 115185                  12/31/2016                 $73,344.00            $2,031.97                   $71,173.79

 116402                  04/30/2017                $104,852.00            $9,398.28                  $114,250.28

 116970                  06/30/2017                 $47,800.00            $3,522.61                   $51,322.61

 117273                  07/31/2017                 $52,383.00             $297.68                    $52,680.68

 117433                  08/31/2017                 $92,699.00            $3,787.46                   $96,486.46

 117926                  10/31/2017                 $30,300.50            $1,696.72                   $31,997.22

 118167                  12/31/2017                 $57,147.50            $1,632.63                   $58,780.13

 118515                  01/31/2018                 $67,197.50             $848.65                    $68,046.15

 118713                  02/28/2018                 $45,600.00             $342.55                    $45,942.55

 119250                  03/31/2018                  $8,041.00            $5,316.35                   $13,357.35

 119446                  04/30/2018                  $7,267.50             $980.08                     $8,247.58

 119720                  05/31/2018                 $58,867.50            $1,062.74                   $59,930.24

 120437                  09/30/2018                  $9,917.50             $880.04                    $10,797.54

 120645                  10/31/2018                  $9,515.00              $28.80                     $9,543.80

 120779                  11/30/2018                  $8,775.00              $51.60                     $8,826.60

 121032                  12/31/2018                 $62,030.00            $2,829.45                   $64,859.45

 121475                  01/31/2019                 $15,314.50             $416.95                    $15,731.45

 121675                  03/12/2019                 $15,641.00             $462.34                    $16,103.34
     Case 1:16-bk-12255-GM             Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18     Desc
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Pachulski Stang Ziehl & Jones LLP                                             Page:     8
Gottlieb, David K - Yashouafar                                                Invoice 125885
32274 - 00001                                                                 August 31, 2020

 121933                  03/31/2019               $1,193.50         $20.00                 $1,213.50

 122184                  04/30/2019                $298.00          $31.35                      $329.35

 122426                   05/31/2019             $54,742.00        $616.74                $55,358.74

 122696                   06/30/2019             $12,921.00        $844.99                $13,765.99

 122865                   07/31/2019             $12,385.50        $236.71                $12,622.21

 123054                   08/31/2019             $52,652.50        $780.28                $53,432.78

 123299                   09/30/2019             $51,359.00       $2,696.69               $54,055.69

 123524                   10/31/2019             $32,617.50        $744.88                $33,362.38

 123684                   12/11/2019              $5,121.50        $912.76                 $6,034.26

 124025                   12/31/2019              $7,535.50       $5,305.56               $12,841.06

 124307                   01/31/2020              $7,085.00        $332.15                 $7,417.15

 124504                   02/29/2020             $12,676.50        $287.98                $12,964.48

 124747                   03/31/2020              $2,986.50        $786.20                 $3,772.70

 124898                   04/30/2020             $22,885.50         $28.70                $22,914.20

 125122                   05/31/2020              $9,298.50        $538.34                 $9,836.84

 125558                   06/30/2020             $15,536.50        $147.84                $15,684.34

 125559                   07/31/2020              $9,291.00         $68.97                 $9,359.97

             Total Amount Due on Current and Prior Invoices:                            $1,123,500.06
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     September 30, 2020
D. Gottlieb & Associates                                             Invoice 126022
17000 Ventura Blvd #300                                              Client  32274
Encino, CA 91316                                                     Matter  00001
                                                                             JVR

RE: Yashouafar

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 09/30/2020
                 FEES                                                 $12,780.00
                 EXPENSES                                                 $16.40
                 TOTAL CURRENT CHARGES                                $12,796.40

                 BALANCE FORWARD                                    $1,123,500.06
                 TOTAL BALANCE DUE                                  $1,136,296.46
       Case 1:16-bk-12255-GM        Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18     Desc
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Pachulski Stang Ziehl & Jones LLP                                          Page:     2
Gottlieb, David K - Yashouafar                                             Invoice 126022
32274 - 00001                                                              September 30, 2020




  Summary of Services by Professional
  ID        Name                              Title               Rate      Hours               Amount

 BDD        Dassa, Beth D.                    Paralegal          425.00      0.20               $85.00

 GSG        Greenwood, Gail S.                Counsel            825.00     14.00         $11,550.00

 JVR                                                                         1.00          $1,145.00
            Richards, Jeremy V.               Partner           1145.00
                                                                           15.20           $12,780.00
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Gottlieb, David K - Yashouafar                                                 Invoice 126022
32274 - 00001                                                                  September 30, 2020


  Summary of Services by Task Code
  Task Code         Description                                        Hours                        Amount

 CO                 Claims Admin/Objections[B310]                     15.20                   $12,780.00

                                                                               15.20           $12,780.00
     Case 1:16-bk-12255-GM          Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18     Desc
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Gottlieb, David K - Yashouafar                                             Invoice 126022
32274 - 00001                                                              September 30, 2020


  Summary of Expenses
  Description                                                                                   Amount
Pacer - Court Research                                                                  $16.40

                                                                                                $16.40
     Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                       Desc
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Gottlieb, David K - Yashouafar                                                                Invoice 126022
32274 - 00001                                                                                 September 30, 2020


                                                                                      Hours           Rate         Amount

  Claims Admin/Objections[B310]
 09/08/2020   BDD     CO        Attend to calendaring matters with M. DesJardien       0.10       425.00            $42.50
                                and email J. Richards and J. Lucas re same
 09/20/2020   JVR     CO        Draft outline of claims objection issues.              0.20      1145.00           $229.00
 09/21/2020   JVR     CO        Telephone G. Greenwood re claims objections (.3);      0.50      1145.00           $572.50
                                Draft e-mail re same (.2).
 09/21/2020   BDD     CO        Email G. Greenwood re claims spreadsheet               0.10       425.00            $42.50
 09/21/2020   GSG     CO        Confer with J. Richards re claim objections.           0.10       825.00            $82.50
 09/21/2020   GSG     CO        Review claims spreadsheet and emails re claims         0.30       825.00           $247.50
                                subject to disallowance.
 09/21/2020   GSG     CO        Review settlement motion and settlement re             0.70       825.00           $577.50
                                Elkwood parties; notes re same.
 09/22/2020   GSG     CO        Review Abselet settlement motion and agreement;        1.80       825.00       $1,485.00
                                email H. David re withdrawal of proofs of claim.
 09/22/2020   GSG     CO        Prepare form of claim withdrawal re Abselet claims.    0.50       825.00           $412.50
 09/22/2020   GSG     CO        Emails to/from H. David re claim withdrawal and        0.20       825.00           $165.00
                                confer with M. Renck re filing.
 09/22/2020   GSG     CO        Review Elkwood settlement re adversary and district    3.30       825.00       $2,722.50
                                court proceedings and related documents pertaining
                                to release of claims; review Soda Partners and
                                DMARC proofs of claim re basis and timing.
 09/23/2020   JVR     CO        Telephone G. Greenwood re claims objections.           0.30      1145.00           $343.50
 09/23/2020   GSG     CO        Review large claims re supporting evidence and         1.70       825.00       $1,402.50
                                objections.
 09/23/2020   GSG     CO        Telephone call with J. Richards re claim               0.30       825.00           $247.50
                                reconciliation and factual background.
 09/23/2020   GSG     CO        Revise claim register re disputed and withdrawn or     0.20       825.00           $165.00
                                released claims.
 09/24/2020   GSG     CO        Prepare claim withdrawals re Soda Partners and         0.70       825.00           $577.50
                                Pakravan et al.
 09/24/2020   GSG     CO        Emails to/from claimants re claim reconciliation.      0.50       825.00           $412.50
 09/24/2020   GSG     CO        Review Massoud claim register re Barlava               0.20       825.00           $165.00
                                claimants.
 09/25/2020   GSG     CO        Telephone call with counsel for Pakravan and emails    0.30       825.00           $247.50
                                re same.
 09/25/2020   GSG     CO        Email Chester Tower claimant re additional             0.40       825.00           $330.00
                                documents or withdrawal of claim.
 09/25/2020   GSG     CO        Email Joshua Holdings re additional documents or       0.40       825.00           $330.00
     Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                     Desc
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Gottlieb, David K - Yashouafar                                                              Invoice 126022
32274 - 00001                                                                               September 30, 2020


                                                                                    Hours           Rate         Amount
                                withdrawal of claim.
 09/29/2020   GSG     CO        Emails to/from claimants re responses and            0.60       825.00           $495.00
                                documentation.
 09/30/2020   GSG     CO        Emails re withdrawal of claims; review and file      0.30       825.00           $247.50
                                same.
 09/30/2020   GSG     CO        Review documentation re Joshua Paradise claim and    1.20       825.00           $990.00
                                OK litigation; notes re same.
 09/30/2020   GSG     CO        Revise/update claim register re reconciliation.      0.30       825.00           $247.50

                                                                                    15.20                   $12,780.00

  TOTAL SERVICES FOR THIS MATTER:                                                                          $12,780.00
     Case 1:16-bk-12255-GM           Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18     Desc
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Gottlieb, David K - Yashouafar                                              Invoice 126022
32274 - 00001                                                               September 30, 2020



 Expenses

 09/30/2020   PAC       Pacer - Court Research                                  16.40

   Total Expenses for this Matter                                            $16.40
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Pachulski Stang Ziehl & Jones LLP                                                         Page:     8
Gottlieb, David K - Yashouafar                                                            Invoice 126022
32274 - 00001                                                                             September 30, 2020


                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        09/30/2020

Total Fees                                                                                            $12,780.00

Total Expenses                                                                                                 16.40

Total Due on Current Invoice                                                                          $12,796.40

  Outstanding Balance from prior invoices as of        09/30/2020          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed             Balance Due
 115185                  12/31/2016                 $73,344.00            $2,031.97                   $71,173.79

 116402                  04/30/2017                $104,852.00            $9,398.28                  $114,250.28

 116970                  06/30/2017                 $47,800.00            $3,522.61                   $51,322.61

 117273                  07/31/2017                 $52,383.00             $297.68                    $52,680.68

 117433                  08/31/2017                 $92,699.00            $3,787.46                   $96,486.46

 117926                  10/31/2017                 $30,300.50            $1,696.72                   $31,997.22

 118167                  12/31/2017                 $57,147.50            $1,632.63                   $58,780.13

 118515                  01/31/2018                 $67,197.50             $848.65                    $68,046.15

 118713                  02/28/2018                 $45,600.00             $342.55                    $45,942.55

 119250                  03/31/2018                  $8,041.00            $5,316.35                   $13,357.35

 119446                  04/30/2018                  $7,267.50             $980.08                     $8,247.58

 119720                  05/31/2018                 $58,867.50            $1,062.74                   $59,930.24

 120437                  09/30/2018                  $9,917.50             $880.04                    $10,797.54

 120645                  10/31/2018                  $9,515.00              $28.80                     $9,543.80

 120779                  11/30/2018                  $8,775.00              $51.60                     $8,826.60

 121032                  12/31/2018                 $62,030.00            $2,829.45                   $64,859.45

 121475                  01/31/2019                 $15,314.50             $416.95                    $15,731.45

 121675                  03/12/2019                 $15,641.00             $462.34                    $16,103.34
     Case 1:16-bk-12255-GM             Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18     Desc
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Gottlieb, David K - Yashouafar                                                Invoice 126022
32274 - 00001                                                                 September 30, 2020

 121933                  03/31/2019               $1,193.50         $20.00                 $1,213.50

 122184                  04/30/2019                $298.00          $31.35                   $329.35

 122426                   05/31/2019             $54,742.00        $616.74                $55,358.74

 122696                   06/30/2019             $12,921.00        $844.99                $13,765.99

 122865                   07/31/2019             $12,385.50        $236.71                $12,622.21

 123054                   08/31/2019             $52,652.50        $780.28                $53,432.78

 123299                   09/30/2019             $51,359.00       $2,696.69               $54,055.69

 123524                   10/31/2019             $32,617.50        $744.88                $33,362.38

 123684                   12/11/2019              $5,121.50        $912.76                 $6,034.26

 124025                   12/31/2019              $7,535.50       $5,305.56               $12,841.06

 124307                   01/31/2020              $7,085.00        $332.15                 $7,417.15

 124504                   02/29/2020             $12,676.50        $287.98                $12,964.48

 124747                   03/31/2020              $2,986.50        $786.20                 $3,772.70

 124898                   04/30/2020             $22,885.50         $28.70                $22,914.20

 125122                   05/31/2020              $9,298.50        $538.34                 $9,836.84

 125558                   06/30/2020             $15,536.50        $147.84                $15,684.34

 125559                   07/31/2020              $9,291.00         $68.97                 $9,359.97

 125885                   08/31/2020               $428.50          $28.70                   $457.20

             Total Amount Due on Current and Prior Invoices:                            $1,136,296.46
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     October 31, 2020
D. Gottlieb & Associates                                             Invoice 126402
17000 Ventura Blvd #300                                              Client   32274
Encino, CA 91316                                                     Matter   00001
                                                                              JVR

RE: Yashouafar

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 10/31/2020
                 FEES                                                 $11,705.00
                 EXPENSES                                                 $73.10
                 TOTAL CURRENT CHARGES                                $11,778.10

                 BALANCE FORWARD                                    $1,136,296.46
                 TOTAL BALANCE DUE                                  $1,148,074.56
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Gottlieb, David K - Yashouafar                                             Invoice 126402
32274 - 00001                                                              October 31, 2020




  Summary of Services by Professional
  ID        Name                              Title              Rate       Hours               Amount

 BDD        Dassa, Beth D.                    Paralegal         425.00       4.90             $2,082.50

 GSG        Greenwood, Gail S.                Counsel           825.00      11.50             $9,487.50

 LAF        Forrester, Leslie A.              Other             450.00       0.30              $135.00

                                                                           16.70              $11,705.00
      Case 1:16-bk-12255-GM          Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18         Desc
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Gottlieb, David K - Yashouafar                                                  Invoice 126402
32274 - 00001                                                                   October 31, 2020


  Summary of Services by Task Code
  Task Code         Description                                        Hours                         Amount

                                                                         0.30                        $135.00

 CA                 Case Administration [B110]                           0.20                        $165.00

 CO                 Claims Admin/Objections[B310]                       16.10                      $11,362.50

 CP                 Compensation Prof. [B160]                            0.10                         $42.50

                                                                        16.70                      $11,705.00
     Case 1:16-bk-12255-GM          Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18     Desc
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Pachulski Stang Ziehl & Jones LLP                                          Page:     4
Gottlieb, David K - Yashouafar                                             Invoice 126402
32274 - 00001                                                              October 31, 2020


  Summary of Expenses
  Description                                                                                 Amount
Pacer - Court Research                                                                   $73.10

                                                                                         $73.10
     Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                          Desc
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Gottlieb, David K - Yashouafar                                                                   Invoice 126402
32274 - 00001                                                                                    October 31, 2020


                                                                                         Hours           Rate        Amount



 10/15/2020   LAF               Research re: Los Angeles superior court dockets.          0.30        450.00         $135.00

                                                                                          0.30                       $135.00

  Case Administration [B110]
 10/27/2020   GSG     CA        Review claim spreadsheet and email J. Richards re         0.20        825.00         $165.00
                                same.

                                                                                          0.20                       $165.00

  Claims Admin/Objections[B310]
 10/12/2020   GSG     CO        Review email and claims registers re additional           0.30        825.00         $247.50
                                objections.

 10/13/2020   GSG     CO        Email and telephone call with Nahouray re Chester         0.30        825.00         $247.50
                                Tower claim and settlement.

 10/13/2020   GSG     CO        Review stipulation re Barlava claims and stay of          1.30        825.00        $1,072.50
                                actions; review First National/Barlava proof of claim
                                re damages and underlying complaints.

 10/13/2020   GSG     CO        Confer with J. Richards re claims and reconciliation.     0.20        825.00         $165.00

 10/13/2020   GSG     CO        Review settlements re Oklahoma action and                 1.20        825.00         $990.00
                                releases.

 10/14/2020   BDD     CO        Call with and email to G. Greenwood re                    0.20        425.00          $85.00
                                filed/scheduled claims information

 10/14/2020   GSG     CO        Review Oklahoma stip from unrelated claimant (.5);        0.80        825.00         $660.00
                                email M.A. Yashouafar re FNB II claim and
                                Oklahoma litigation and Chester Tower claim (.3).

 10/14/2020   GSG     CO        Review claims registers, claims, and schedules re         1.30        825.00        $1,072.50
                                reconciliation of allowable claims.

 10/14/2020   GSG     CO        Review additional claims against Solyman                  0.60        825.00         $495.00
                                designating M.A. as debtor; confer with B. Dassa re
                                revised spreadsheet.

 10/15/2020   GSG     CO        Telephone call with M. Yashouafar re claim                0.20        825.00         $165.00
                                objections.

 10/15/2020   GSG     CO        Review state court dockets (.2) and Oklahoma action       0.70        825.00         $577.50
                                (.5) re claim status and dismissals of Barlava claims.

 10/15/2020   GSG     CO        Prepare withdrawal stip re First Nat’l Building II        0.90        825.00         $742.50
                                (.6); email claimant’s counsel re withdrawal (.3).
     Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                       Desc
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Pachulski Stang Ziehl & Jones LLP                                                             Page:     6
Gottlieb, David K - Yashouafar                                                                Invoice 126402
32274 - 00001                                                                                 October 31, 2020


                                                                                      Hours           Rate         Amount

 10/15/2020   GSG     CO        Email Chester Tower re compromise.                     0.30        825.00          $247.50

 10/19/2020   GSG     CO        Emails to/from Chester Tower/Nahouray.                 0.20        825.00          $165.00

 10/19/2020   GSG     CO        Draft stipulation re compromise and allowance of       1.40        825.00         $1,155.00
                                Chester Tower claim; emails to/from claimant and
                                confer with M. Renck re filing.

 10/23/2020   GSG     CO        Telephone call and email Barlava counsel re FNB II     0.50        825.00          $412.50
                                claim.

 10/23/2020   GSG     CO        Review FNB II documents; emails to/from Baum           0.50        825.00          $412.50
                                and Jablon re objection to proof of claim.

 10/25/2020   GSG     CO        Confer with J. Richards re claim status and FNB II.    0.20        825.00          $165.00

 10/26/2020   BDD     CO        Call with/emails to G. Greenwood re claims analysis    3.40        425.00         $1,445.00
                                and updates/revisions to spreadsheet in connection
                                therewith

 10/26/2020   GSG     CO        Confer with B. Dassa re claim reconciliation and       0.40        825.00          $330.00
                                spreadsheet; review same.

 10/27/2020   BDD     CO        Further revisions to spreadsheet re claims analysis    1.20        425.00          $510.00
                                and emails G. Greenwood re same

                                                                                      16.10                      $11,362.50

  Compensation Prof. [B160]
 10/26/2020   BDD     CP        Emails J. Richards re PSZJ fee application             0.10        425.00           $42.50

                                                                                       0.10                         $42.50

  TOTAL SERVICES FOR THIS MATTER:                                                                            $11,705.00
     Case 1:16-bk-12255-GM           Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18     Desc
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Gottlieb, David K - Yashouafar                                              Invoice 126402
32274 - 00001                                                               October 31, 2020



 Expenses
 10/31/2020   PAC       Pacer - Court Research                                  73.10

   Total Expenses for this Matter                                            $73.10
     Case 1:16-bk-12255-GM              Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                Desc
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Gottlieb, David K - Yashouafar                                                            Invoice 126402
32274 - 00001                                                                             October 31, 2020


                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        10/31/2020

Total Fees                                                                                             $11,705.00

Total Expenses                                                                                               73.10

Total Due on Current Invoice                                                                           $11,778.10

  Outstanding Balance from prior invoices as of        10/31/2020          (May not include recent payments)

A/R Bill Number          Invoice Date                Fees Billed        Expenses Billed              Balance Due
 115185                  12/31/2016                 $73,344.00            $2,031.97                   $71,173.79

 116402                  04/30/2017                $104,852.00            $9,398.28                  $114,250.28

 116970                  06/30/2017                 $47,800.00            $3,522.61                   $51,322.61

 117273                  07/31/2017                 $52,383.00             $297.68                    $52,680.68

 117433                  08/31/2017                 $92,699.00            $3,787.46                   $96,486.46

 117926                  10/31/2017                 $30,300.50            $1,696.72                   $31,997.22

 118167                  12/31/2017                 $57,147.50            $1,632.63                   $58,780.13

 118515                  01/31/2018                 $67,197.50             $848.65                    $68,046.15

 118713                  02/28/2018                 $45,600.00             $342.55                    $45,942.55

 119250                  03/31/2018                  $8,041.00            $5,316.35                   $13,357.35

 119446                  04/30/2018                  $7,267.50             $980.08                      $8,247.58

 119720                  05/31/2018                 $58,867.50            $1,062.74                   $59,930.24

 120437                  09/30/2018                  $9,917.50             $880.04                    $10,797.54

 120645                  10/31/2018                  $9,515.00              $28.80                      $9,543.80

 120779                  11/30/2018                  $8,775.00              $51.60                      $8,826.60

 121032                  12/31/2018                 $62,030.00            $2,829.45                   $64,859.45

 121475                  01/31/2019                 $15,314.50             $416.95                    $15,731.45

 121675                  03/12/2019                 $15,641.00             $462.34                    $16,103.34
     Case 1:16-bk-12255-GM            Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18     Desc
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Gottlieb, David K - Yashouafar                                               Invoice 126402
32274 - 00001                                                                October 31, 2020

 121933                  03/31/2019              $1,193.50         $20.00                  $1,213.50

 122184                  04/30/2019               $298.00          $31.35                       $329.35

 122426                  05/31/2019             $54,742.00        $616.74                $55,358.74

 122696                  06/30/2019             $12,921.00        $844.99                $13,765.99

 122865                  07/31/2019             $12,385.50        $236.71                $12,622.21

 123054                  08/31/2019             $52,652.50        $780.28                $53,432.78

 123299                  09/30/2019             $51,359.00       $2,696.69               $54,055.69

 123524                  10/31/2019             $32,617.50        $744.88                $33,362.38

 123684                  12/11/2019              $5,121.50        $912.76                  $6,034.26

 124025                  12/31/2019              $7,535.50       $5,305.56               $12,841.06

 124307                  01/31/2020              $7,085.00        $332.15                  $7,417.15

 124504                  02/29/2020             $12,676.50        $287.98                $12,964.48

 124747                  03/31/2020              $2,986.50        $786.20                  $3,772.70

 124898                  04/30/2020             $22,885.50         $28.70                $22,914.20

 125122                  05/31/2020              $9,298.50        $538.34                  $9,836.84

 125558                  06/30/2020             $15,536.50        $147.84                $15,684.34

 125559                  07/31/2020              $9,291.00         $68.97                  $9,359.97

 125885                  08/31/2020               $428.50          $28.70                       $457.20

 126022                  09/30/2020             $12,780.00         $16.40                $12,796.40

             Total Amount Due on Current and Prior Invoices:                           $1,148,074.56
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                                                                   1   Jeremy V. Richards (CA Bar No. 102300)
                                                                       John W. Lucas (CA Bar No. 271038)
                                                                   2   PACHULSKI STANG ZIEHL & JONES LLP
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                                                                   5            jlucas@pszjlaw.com

                                                                   6   Attorneys for David K. Gottlieb, Chapter 11 Trustee of the
                                                                       Estates of Solyman Yashouafar and Massoud Aaron Yashouafar
                                                                   7
                                                                                                      UNITED STATES BANKRUPTCY COURT
                                                                   8                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                   9                                    SAN FERNANDO VALLEY DIVISION

                                                                  10   In re:                                                     Case No.: 1:16-bk-12255-GM
                                                                  11   SOLYMAN YASHOUAFAR and MASSOUD                             Chapter 11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       AARON YASHOUAFAR,1
                                                                  12                                                              Jointly Administered
                                                                                                          Debtors.
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                              Case No.: 1:16-bk-12255-GM
                                           ATTORNEYS AT LAW




                                                                       In re:
                                                                  14                                                              Chapter 11
                                                                       SOLYMAN YASHOUAFAR,
                                                                  15                                                              Case No.: 1:16-bk-12408-GM
                                                                                                          Debtor.
                                                                  16                                                              Chapter 11
                                                                       In re:
                                                                  17                                                              FIRST APPLICATION OF PACHULSKI
                                                                       MASSOUD AARON YASHOUAFAR,                                  STANG ZIEHL & JONES LLP FOR
                                                                  18                                                              INTERIM ALLOWANCE AND PAYMENT
                                                                                                          Debtor.                 OF COMPENSATION AND
                                                                  19                                                              REIMBURSEMENT OF EXPENSES AS
                                                                       Affects:                                                   COUNSEL TO DAVID K. GOTTLIEB,
                                                                  20                                                              CHAPTER 11 TRUSTEE; DECLARATION
                                                                        Both Debtors                                             OF JEREMY V. RICHARDS
                                                                  21    Solyman Yashouafar
                                                                        Massoud Aaron Yashouafar                                 (First Interim Period: September 16, 2016 through
                                                                  22                                                              November 30, 2018)
                                                                                                          Debtors.
                                                                  23                                                              [Local Bankruptcy Rule 2016-1(a)]
                                                                  24                                                              Date: January 29, 2019
                                                                                                                                  Time: 10:00 a.m.
                                                                  25                                                              Place: Courtroom 303
                                                                                                                                         U.S. Bankruptcy Court
                                                                  26                                                                     21041 Burbank Blvd.
                                                                                                                                         Woodland Hills, CA 91367
                                                                  27
                                                                       1
                                                                        The Debtors, together with the last four digits of each Debtor’s social security number are: Solyman Yashouafar
                                                                  28   (5875) and Massoud Aron Yashouafar (6590).


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P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




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                                           ATTORNEYS AT LAW




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                                                                   1           TO THE HONORABLE GERALDINE MUND, UNITED STATES BANKRUPTCY

                                                                   2   JUDGE, THE CHAPTER 11 TRUSTEE, THE DEBTORS AND THEIR COUNSEL, THE

                                                                   3   OFFICIAL COMMITTEE OF UNSECURED CREDITORS, THE OFFICE OF THE

                                                                   4   UNITED STATES TRUSTEE, AND ALL PARTIES REQUESTING SPECIAL NOTICE:

                                                                   5           Pachulski Stang Ziehl & Jones LLP (the “Firm” or “PSZJ”), counsel to David K. Gottlieb,

                                                                   6   the chapter 11 trustee (the “Chapter 11 Trustee”) for the Estates (individually, an “Estate” and,

                                                                   7   collectively, the “Estates”) of Massoud Aaron Yashouafar (“Massoud”) and Solyman Yashouafar

                                                                   8   (“Solyman,” and together with Massoud, the “Debtors”), hereby submits this First Application of

                                                                   9   Pachulski Stang Ziehl & Jones LLP for Interim Allowance and Payment of Compensation and

                                                                  10   Reimbursement of Expenses as Counsel for the Chapter 11 Trustee During the First Interim Period

                                                                  11   (the “Application”), for the period of September 16, 2016 through November 30, 2018 (the “First
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                                                                  12   Interim Period”) pursuant to sections 330 of the Bankruptcy Code.2
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                             I.
                                           ATTORNEYS AT LAW




                                                                  14                                        INTRODUCTORY STATEMENT

                                                                  15           Local Bankruptcy Rule 2016-1 (1)(a) sets forth certain requirements that a professional must

                                                                  16   satisfy in order to obtain an award for fees and costs. Additional standards to be employed in the

                                                                  17   review of fee applications are set forth in the United States Trustee’s Guidelines for Reviewing

                                                                  18   Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 (the

                                                                  19   “Compensation Guidelines”). Finally, cases interpreting sections 330 and 331 of the Bankruptcy

                                                                  20   Code have required that courts consider the twelve (12) factors that the Ninth Circuit Court of

                                                                  21   Appeals articulated in Kerr v. Screen Extras Guild, 526 F, cert. denied, 425 U.S. 951, 96 S.Ct. 726

                                                                  22   (1976). The Ninth Circuit’s primary method used to determine the reasonableness of fees is to

                                                                  23   calculate the “lodestar.” In re Charles Russell Buckridge, Jr., 367 B.R. 191, 201 (C.D. Cal. 2007).

                                                                  24   The lodestar is ascertained by multiplying the number of hours reasonably expended by a reasonable

                                                                  25   hourly rate. Law Offices of David A. Boone v. Derham-Burk (In re Eliapo), 468 F.3d 592, 598

                                                                  26

                                                                  27
                                                                       2
                                                                         All references to sections of the “Bankruptcy Code” are to sections of 11 U.S.C. §§ 101-1532, as amended. All
                                                                  28   references to “Bankruptcy Rules” are to the Federal Rules of Bankruptcy Procedure.
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                                                                   1   (9th Cir. 2006). As set forth more fully herein, this Application complies with all statutory guidelines

                                                                   2   and Court-imposed requirements.

                                                                   3           By this Application, Applicant seeks approval and payment of $1,404,583.50 in fees for the

                                                                   4    First Interim Period, and costs in the amount of $74,768.49, for an aggregate total of $1,479,351.99.

                                                                   5           Pursuant to the Order Limiting Scope of Notice [Docket No. 245] entered on November 15,

                                                                   6   2016, notice of this Application has been served by NEF notice or by first class U.S. mail, as

                                                                   7   required, on (a) the Trustee, (b) the Office of the United States Trustee, (c) parties that have filed

                                                                   8   with the Court requests for notice of all matters in accordance with Bankruptcy Rule 2002(i), (d) the

                                                                   9   United State of America; and (e) any party with a pecuniary interest in the subject matter of this

                                                                  10   particular matter. Notice of this Application was also served on counsel for the Official Committee

                                                                  11   of Unsecured Creditors.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                                      II.
                                        LOS ANGELES, CALIFORNIA




                                                                  13     AMOUNT OF MONEY ON HAND IN THE ESTATE AND THE ESTIMATED AMOUNT
                                           ATTORNEYS AT LAW




                                                                  14            OF ACCRUED EXPENSES OF ADMINISTRATION [LBR 2016-1(a)(1)(A)(iii)]

                                                                  15           As of December 31, 2018, there was a total of $209,877.13 in funds held by the Estates. As

                                                                  16    set forth in greater detail below, the Trustee estimates that he will receive approximately $1,150,000

                                                                  17    per the terms of the settlement with the Abselets, which results from a settlement in the non-

                                                                  18    bankruptcy action that was pending in the district court in Oklahoma. In the event the Trustee is

                                                                  19    successful in the Rexford/Elkwood litigation, he anticipates that the Estates will recover additional

                                                                  20    value that will be used to pay administrative expenses and also distributions to unsecured creditors.

                                                                  21    At the time the Trustee engaged PSZJ as counsel in these cases, it was not clear there would be

                                                                  22    sufficient unencumbered assets to pay administrative expense claims or general unsecured claims.

                                                                  23    Other than the fees and expenses of estate professionals, the Trustee estimates there are no other

                                                                  24    accrued administrative expenses. Applicant intends to supplement this information as necessary at

                                                                  25    or before the hearing on this Application.

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                                                                   1                                                              III.

                                                                   2            PRELIMINARY SUMMARY OF COMPENSATION DATA FOR THIS APPLICATION

                                                                   3                                              [LBR 2016-1(a)(1)(B) and (C)]

                                                                   4       A.      ORDER RE EMPLOYMENT ENTERED: November 15, 2016 with employment as

                                                                   5               counsel to the Chapter 11 Trustee effective as of September 16, 2016 [Docket No. 244].

                                                                   6       B.      PERIOD OF EMPLOYMENT COVERED BY THIS APPLICATION: September 16,

                                                                   7               2016 through November 30, 2018.

                                                                   8       C.      HOURS OF PROFESSIONAL TIME WHICH ARE THE SUBJECT OF THIS

                                                                   9               APPLICATION: 1,808.90

                                                                  10       D.      FEES REQUESTED BY THIS APPLICATION: $1,404,583.50

                                                                  11       E.      EXPENSES REQUESTED BY THIS APPLICATION: $74,768.493
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                                                                  12       F.      AMOUNT OF PRE-PETITION RETAINER RECEIVED: NONE
                                        LOS ANGELES, CALIFORNIA




                                                                  13       G.      AMOUNT OF FEES AND EXPENSES PREVIOUSLY AWARDED: $0
                                           ATTORNEYS AT LAW




                                                                  14       H.      AMOUNT OF FEES AND EXPENSES PAID POST-PETITION: $0

                                                                  15       I.      BLENDED RATE: $776.48 (Including Paraprofessionals)

                                                                  16                                         $817.42 (Excluding Paraprofessionals)

                                                                  17

                                                                  18                    BRIEF NARRATIVE HISTORY AND POSTURE OF THE CASE DURING

                                                                  19                                            THE FIRST INTERIM PERIOD

                                                                  20                                                   [LBR 2016-1(a)(1)(A)]

                                                                  21   A.          Summary of Assets and Abselet Settlement
                                                                  22               1.      Major Assets

                                                                  23               The Trustee began the administration of these cases well after the litigation related to the

                                                                  24   major assets had begun. The major creditors, the Abselets, had commenced approximately seven

                                                                  25   law suits in three states, and taken numerous related actions to execute on liens and judgments. The

                                                                  26   Trustee and PSZJ spent initial work investigating the complex set of transfers and ensuing litigation,

                                                                  27

                                                                  28   3
                                                                           Expenses originally totaled $75,056.23. The Firm has written off $287.74 in business meals.
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                                                                   1   and then acted to preserve Estate assets, including intervening in existing litigation and commencing

                                                                   2   several new adversary proceedings in the Bankruptcy Court.

                                                                   3           The Debtors’ Estates had little unencumbered assets and were subject to tens of millions of

                                                                   4   dollars of claims. The Trustee has abandoned property burdensome to the Estates, recovered other

                                                                   5   property, and settled major disputes with the Abselets, which will allow recovery by the Estates of

                                                                   6   additional funds. As a result of the Trustee’s aggressive pursuit of Estate assets, which was led by

                                                                   7   PSZJ, he was able to ultimately settle with the Abselets. Without the work led by PSZJ, the Trustee

                                                                   8   would have had to succeed in litigation against the Abselets, succeed in pending litigation regarding

                                                                   9   the Debtor’s former residences and obtain a favorable determination in litigation pending in

                                                                  10   Oklahoma where at least four sets of parties asserted conflicting interests in the sales proceeds held

                                                                  11   by the Court in those proceedings. By virtue of the Trustee’s efforts and the efforts of PSZJ, he has
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                                                                  12   eliminated risks as they relate to the Abselets’ competing claims, reduced legal expenses, and
                                        LOS ANGELES, CALIFORNIA




                                                                  13   increased the likelihood of favorable recoveries.
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                                                                  14           The following description of the major assets and summary of the Abselet settlement is

                                                                  15   derived from the motion for approval of the Abselet settlement agreement, and is set forth in more

                                                                  16   detail in that motion and the exhibits attached thereto.

                                                                  17           Encino Corporate Plaza. This matter was largely handled through a receivership appointed in

                                                                  18   the Abselets’ collection action pending in the California District Court. This action had been

                                                                  19   pending for some time before the Debtors’ bankruptcy cases were commenced; in fact, Howard

                                                                  20   Abselet had a judgment against the Yashouafars that he was already enforcing before the Trustee’s

                                                                  21   involvement and had taken action to levy on all of the major assets of the Debtors except the

                                                                  22   Rexford and Chalette Properties (that had been foreclosed on by a relative pre-bankruptcy). The

                                                                  23   Trustee determined that the Encino Corporate Plaza property had no realizable equity and was

                                                                  24   burdensome to the Estates, and therefore abandoned the property upon appropriate notice.

                                                                  25           Roosevelt Lofts. The Trustee exerted efforts to collect on this asset, and the recovery was

                                                                  26   divided up in the Abselet settlement.

                                                                  27           Oklahoma litigation. The Firm performed significant work on this matter as the Trustee

                                                                  28   believed that the Abselets’ foreclosure on the ultimate ownership interests could be set aside because

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                                                                   1   the stock appeared to be certificated and the Abselets had not taken possession of the stock

                                                                   2   certificates. The Trustee filed an adversary proceeding to set the foreclosure aside and Abselet

                                                                   3   removed that action to the California District Court. In a tentative ruling, Judge Walters of the

                                                                   4   California District Court made it quite clear that he was not going to set aside the foreclosure. In

                                                                   5   light of Judge Walter’s ruling, the parties, including the Trustee, went to mediation and ultimately

                                                                   6   entered into the Abselet settlement agreement. The Abselet settlement agreement resolves most of

                                                                   7   the major litigation issues in this case, other than the Trustee’s action against Elkwood and others to

                                                                   8   set aside the foreclosure sales of the Debtors’ Residences. The Abselet settlement agreement has

                                                                   9   been approved by the Court, and the terms of the agreement are summarized below, and in greater

                                                                  10   detail in the motion seeking approval of the settlement.

                                                                  11           Debtor’s Former Residences. A major remaining matter in this case is the Trustee’s
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                                                                  12   adversary proceeding brought against Elkwood and Fieldbrook, and more specifically, against
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Elkwood to recover property on Rexford Avenue in Beverly Hills. The Court recently issued a
                                           ATTORNEYS AT LAW




                                                                  14   tentative ruling on cross motions for summary judgment, held almost 3 hours of oral argument and

                                                                  15   has taken the matter under submission, indicating a ruling can be expected early in 2019.

                                                                  16           Other assets. Other assets include: Sky LV (funds turned over to Abselet as part of the

                                                                  17   settlement) and the JBCL Trust (the Trustee has recovered a small amount in that matter).

                                                                  18           Other major work in this case, described in more detail below, included extensive Section

                                                                  19   341(a) meetings of creditors; the Bankruptcy Rule 2004 examinations of Jack Nourafshan (as a

                                                                  20   prelude to the Elkwood adversary proceeding) and others, and work regarding motions to convert

                                                                  21   and the resolution of those motions.

                                                                  22           2.       The Claims of Howard and Israel Abselet

                                                                  23           Much of the work in this case related to the claims of the Abselets and their litigation against

                                                                  24   the Debtors’ assets, and the ultimate settlement of those issues. A more detailed description is set

                                                                  25   forth in the motion to approve that settlement filed with the Court, and summarized below.

                                                                  26           In 2008 and 2009, the Debtors borrowed money from Howard Abselet (“Howard Abselet”

                                                                  27   or sometimes, “Abselet”) in the amount of $6,000,000 (“Howard Abselet’s Loan”). After the

                                                                  28   Debtors failed to repay Howard Abselet’s Loan, Howard Abselet commenced that action entitled

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                                                                   1   Howard L. Abselet v. Alliance Lending Group, Inc. et al., Case No. 2:11-cv-00815-JFW(JEMx) in

                                                                   2   the (“California District Court”) United States District Court for the Central District of California

                                                                   3   (“Howard Abselet’s Collection Action”). On or about August 10, 2012, Howard Abselet obtained

                                                                   4   a judgment (the “Judgment”) in Howard Abselet’s Collection Action against, among others, the

                                                                   5   Debtors.

                                                                   6           To enforce the Judgment, Howard Abselet obtained or pursued the following:

                                                                   7           ・ An abstract of judgment against Massoud’s residence at 910 North Rexford

                                                                   8           Drive, Beverly Hills, California 90210 (the “Rexford Property”) and

                                                                   9           Solyman’s then residence at 580 Chalette Drive, Beverly Hills, California

                                                                  10           90210 (the “Chalette Property,” and together with the Rexford Property, the

                                                                  11           “Residences”).
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                                                                  12           ・ A charging lien against the Debtors’ interests in Encino Corporate Plaza, L.P.
                                        LOS ANGELES, CALIFORNIA




                                                                  13           (“ECPLP”), which interests constitute 100% of the interests in ECPLP.
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                                                                  14           ・ A charging lien issued by the United States District Court for the District of

                                                                  15           Nevada against the Debtors’ interest in various entities.

                                                                  16           ・ On January 29, 2015, Howard Abselet levied on all of the Debtors’ stock (the “RLI

                                                                  17           Stock”) in Roosevelt Lofts, Inc. (“RLI”), all of the Debtors’ stock (the

                                                                  18           “ECPB Stock”) in ECP Building, Inc. (“ECP Building”), and all of the

                                                                  19           Debtors’ stock (the “APII Stock,” and collectively with the RLI Stock and the

                                                                  20           ECPB Stock, the “Stock”) in Alliance Property Investments, Inc. (“APII”);

                                                                  21           and on April 29, 2015, was the successful bidder at the execution sales of all

                                                                  22           of the Stock (the “Execution Sale”).

                                                                  23           ・ As set forth in the Settlement Agreement (“Settlement Agreement”), Howard Abselet also

                                                                  24   commenced other actions for the purpose of enforcing the Judgment.

                                                                  25           Howard Abselet asserted that the balance owed on the Judgment as of the Petition Date was

                                                                  26   approximately $10,646,470, and continued to accrue interest, associated fees, and costs.

                                                                  27           In 2001, Sina Abselet (“Sina Abselet”), Howard Abselet’s father, lent the Debtors and their

                                                                  28   companies, including S&R Equities (“S&R”) and Madison Equities (“Madison”) $2,000,000 (the

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                                                                   1   “$2M Loan”), which Israel Abselet (“Israel Abselet” and together with Howard Abselet, the

                                                                   2   “Abselets”), Howard Abselet’s brother, asserts was assigned to him by Sina Abselet. The $2M Loan

                                                                   3   was secured by deeds of trust against the Residences (as defined below). The principal balance of

                                                                   4   the $2M Loan was subsequently reduced by $250,000 but continued to accrue interest and default

                                                                   5   interest for a number of years. As of May 31, 2017, Israel Abselet asserted that the outstanding

                                                                   6   amount on the $2M Loan was approximately $3,892,531, and continued to accrue interest, fees, and

                                                                   7   costs.

                                                                   8            3.      The Oklahoma Action and Receivership and APII Stock

                                                                   9            Howard Abselet contends that he owns Alliance Property Investments, Inc. ("APII"). APII

                                                                  10   has a claim to approximately $19 million of proceeds (the “FNC Proceeds”) derived from a

                                                                  11   receiver's sale of the First National Center building in Oklahoma City, Oklahoma (the “First
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                                                                  12   National Center”). The receiver's sale and disputes relating to ownership of the FNC Proceeds
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                                                                  13   have been, and are being, overseen by the United States District Court, Western District of
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                                                                  14   Oklahoma (the “Oklahoma District Court”). There are a number of material claims to the FNC

                                                                  15   Proceeds, including the following.

                                                                  16            One or more entities purportedly controlled by the Neman family and related companies

                                                                  17   (collectively, the "Nemans") contend that they bought the First National Center, owned it outright

                                                                  18   at the time of the receiver's sale, and are entitled to all of the net proceeds. Howard Abselet, and the

                                                                  19   Barlava family and its companies (collectively, the "Barlavas"), contend that the Nemans are merely

                                                                  20   equitable mortgagees of the First National Center and, at most, are entitled to recover approximately

                                                                  21   $7 million of the FNC Proceeds.

                                                                  22            While it is undisputed that one or more of the Barlavas owned interests equivalent to 50% of

                                                                  23   the First National Center during or prior to the summer of 2012, Howard Abselet contends that the

                                                                  24   Barlavas sold their interests in the First National Center to the Debtors or their affiliates for $2

                                                                  25   million before the Nemans made the equitable mortgage, and Howard Abselet is entitled to all of the

                                                                  26   FNC Proceeds through his ownership of APII. The Barlavas contend that they owned interests

                                                                  27   equivalent to 50% of the First National Center at the time of receiver's sale, their ownership was not

                                                                  28   subject to the lien of the Nemans' equitable mortgage, and they are entitled to half of the FNC

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                                                                   1   Proceeds and “equalizing distributions” due to alleged unequal "distributions" to the Debtors.

                                                                   2   Whether the Barlavas were paid a portion of their sale price ($1.35 million of $2M) for their interests

                                                                   3   in the First National Center also is at issue.

                                                                   4             APII’s interest in the FNC Proceeds is worth anywhere between $0 (i.e., if the Nemans

                                                                   5   owned the property outright on the date of the receiver's sale) and approximately $11 million (if

                                                                   6   APII is entitled to all of the FNC Proceeds, after paying off the Nemans' equitable mortgage).

                                                                   7             In January of 2015, pursuant to the Judgment, Howard Abselet purported to levy on the APII

                                                                   8   Stock and, at an ensuing execution sale, purported to purchase the stock for $20 (the “APII

                                                                   9   Execution Sale”). Subsequently, in Howard Abselet’s Collection Action, the Debtors challenged

                                                                  10   the APII Execution Sale, claiming, inter alia, that the APII Stock was certificated and that Howard

                                                                  11   Abselet had not properly levied on the APII Stock by causing the levying officer to take possession
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                                                                  12   of the certificates representing the APII Stock. By order entered in January of 2016, the California
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                                                                  13   District Court denied the Debtors’ motion to set aside the APII Execution Sale. The Trustee
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                                                                  14   contends that the California District Court found that the Debtors were estopped from asserting that

                                                                  15   the APII Stock is certificated; Howard Abselet contends that no one, including the Trustee, may

                                                                  16   contest Howard Abselet’s acquisition of the APII Stock at the APII Execution Sale. While the

                                                                  17   Debtors appealed the California District Court decision, the Trustee determined not to pursue the

                                                                  18   appeal.

                                                                  19             Instead, the Trustee commenced an adversary proceeding, Case No. 1:17-ap-01027 (the

                                                                  20   “APII/RLI Stock Action”) contending that the APII Stock was, at the relevant time, certificated,

                                                                  21   that the levy and execution sale of the stock were invalid for failure to take possession of the

                                                                  22   certificates and contending that, pursuant to the “strong arm powers” granted to the Trustee pursuant

                                                                  23   to Bankruptcy Code § 544(a), the Trustee was not estopped from arguing that the APII Stock was

                                                                  24   certificated. The Trustee contended that even if the certificates relied upon by the Debtors for the

                                                                  25   California District Court were in fact fabricated after the APII Execution Sale, there were in fact

                                                                  26   preexisting certificates representing the APII Stock issued in 2001.

                                                                  27             Howard Abselet filed a motion with the California District Court seeking an order

                                                                  28   withdrawing the reference of this adversary proceeding. The Trustee opposed the motion but, by

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                                                                   1   minute order entered June 1, 2017, the California District Court granted the motion. In doing so, the

                                                                   2   California District Court indicated that, in its opinion, it had already adjudicated the issues raised in

                                                                   3   the complaint, an indication that it might ultimately grant Howard Abselet’s motion to dismiss the

                                                                   4   complaint.

                                                                   5           Absent the Settlement, if Howard Abselet were to ultimately prevail on the issue of the

                                                                   6   validity of the APII Execution Sale in the adversary proceeding, FNC Proceeds he receives (which,

                                                                   7   as discussed above, could be substantial) would not be credited against the Judgment. Under the

                                                                   8   Settlement, a portion of the FNC Proceeds will be paid to the Estates after the Minimum Threshold

                                                                   9   is satisfied, and all FNC Proceeds will be paid to the Estates after the Abselets' claims are satisfied.

                                                                  10           4.       Roosevelt Loft Funds

                                                                  11           As this Court is aware, a custodian was holding approximately $1.5 million of funds which,
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                                                                  12   under the confirmed plan of reorganization of Roosevelt Lofts, LLC ("RLL"), are payable to
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                                                                  13   Roosevelt Lofts, Inc. ("RLI"), the sole member of RLL. It appears from filings with the California
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                                                                  14   Secretary of State that Massoud and Solyman are the sole officers and directors of RLI. However,

                                                                  15   the ownership and control of RLI was disputed.

                                                                  16           Howard Abselet claims to be the holder of at least approximately 46% of the RLI Stock by

                                                                  17   virtue of a purported levy on all the Debtors’ interests in RLI. It is undisputed that the Barlavas

                                                                  18   owned approximately 46% of the RLI Stock at one time. In proceedings pending before the

                                                                  19   California District Court, Howard Abselet asserts that the Barlavas sold their stock in RLI to the

                                                                  20   Debtors in 2012 and that his levy on the Debtors’ interests in RLI also extended to the 46% interest

                                                                  21   formerly owned by the Barlavas. The Trustee commenced an investigation into the Barlavas'

                                                                  22   ownership interests in RLI; documents reviewed by the Trustee indicate that the Barlavas likely sold

                                                                  23   their interests in RLI to the Debtors in August of 2012. Further, it appears from the Trustee’s

                                                                  24   investigation that prior to that sale, the Barlavas may have received a disproportionately large share

                                                                  25   of dividends made by RLI to its shareholders (and therefore may owe funds to the other shareholders

                                                                  26   as a result). The only others asserting ownership of stock in RLI are Hamid Joseph Nourmand

                                                                  27   and/or his wife (collectively, “Nourmand”). At this time, the Trustee does not believe there are any

                                                                  28   reasons to challenge Nourmand’s interest in RLI, but Howard Abselet believes that Nourmand (the

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                                                                   1   Abselets’ cousin) may have sold his interest in RLI to the Debtors, and is pursuing that claim. As

                                                                   2   more fully set forth below, the Trustee believed that Howard Abselet’s levy and the execution sale of

                                                                   3   the RLI Stock could have been set aside pursuant to Bankruptcy Code § 544(a)(1), (2) and

                                                                   4   applicable state law for the same reasons as the APII Stock.

                                                                   5            5.      APII Stock and RLI Stock Adversary Proceeding

                                                                   6            The Trustee’s initial efforts to resolve the disputed issues relating to the APII Stock and the

                                                                   7   RLI Stock with Howard Abselet were not successful. As referenced above, on March 24, 2017, the

                                                                   8   Trustee commenced the APII/RLI Stock Action to determine the Debtors’ Estates’ interest in the

                                                                   9   Stock.

                                                                  10            In response, Howard Abselet filed a motion with the California District Court to withdraw

                                                                  11   the reference of the APII/RLI Stock Action. The Trustee filed an objection and Howard Abselet
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                                                                  12   filed a response. In short, Howard Abselet contended that the Trustee’s filing of the APII/RLI Stock
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                                                                  13   Action was an attempt to circumvent the California District Court’s limited rulings that relate to the
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                                                                  14   Stock. The Trustee commenced the APII/RLI Stock Action because he believed that, as a chapter 11

                                                                  15   trustee of the Debtors’ Estates, he has independent claims to the Stock that are not subject to the

                                                                  16   California District Court’s rulings nor is the Trustee estopped by the Debtors’ prepetition conduct

                                                                  17   that caused the California District Court to issue its limited estoppel rulings regarding the Debtors

                                                                  18   and the Stock. In addition, Howard Abselet also filed with this Court a motion to dismiss the

                                                                  19   APII/RLI Stock Action.

                                                                  20            6.      Rexford/Chalette Action

                                                                  21            Prior to the Petition Date, Massoud and his spouse owned and he and his family resided at

                                                                  22   the Rexford Property, a Beverly Hills residence worth approximately $14 million. Also, Solyman

                                                                  23   and his spouse owned and he and his family resided at the Chalette Property, a Beverly Hills

                                                                  24   residence worth approximately $8 million to $9 million on the Petition Date. The Rexford Property

                                                                  25   and Chalette Property were encumbered by certain deeds of trust that secured certain debts of the

                                                                  26   Debtors.

                                                                  27            Around January 2015, Massoud’s brother-in-law, Jack Nourafshan, through an entity he

                                                                  28   controls, purchased a promissory note that was secured by two separate deeds of trust against the

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                                                                   1   Rexford Property and Chalette Property. Subsequently, Nourafshan, through other companies he

                                                                   2   controls acted to foreclose on the Rexford Property and Chalette Property. Nourafshan immediately

                                                                   3   rented the Rexford Property to Massoud under a two year lease at a rate of $25,000 per month.

                                                                   4   Nourafshan quickly sold the Chalette Property for a substantial profit (an approximate 90% return on

                                                                   5   an annualized basis in less than a couple of months). Massoud has never paid any rent, the lease has

                                                                   6   since expired by its terms, yet Massoud and his family continued to enjoy the comforts of the

                                                                   7   Rexford Property.

                                                                   8           On April 25, 2017, the Trustee commenced an adversary proceedings against Elkwood

                                                                   9   Associates, LLC and Fieldbrook, Inc., 1:17-ap-01040 (the “Rexford/Chalette Action”), which was

                                                                  10   amended on May 11, 2017. By the Rexford/Chalette Action, the Trustee seeks to (a) quiet title of

                                                                  11   the Rexford Property, (b) set aside the foreclosure sale of the Rexford Property, and (c) avoid the
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                                                                  12   foreclosures of the Rexford Property and Chalette Property as actual and/or constructive fraudulent
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                                                                  13   conveyances, in addition to other related relief.
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                                                                  14           As set forth in greater detail in the complaint, the Trustee alleges, among other things that

                                                                  15   (a) the foreclosure of the Rexford Property was void because the foreclosing party did not own the

                                                                  16   debt or security instruments relating to the Rexford Property, (b) irregularities in the foreclosure

                                                                  17   process requires setting aside the foreclosures, (c) the foreclosures were actually and constructively

                                                                  18   fraudulent due to the irregularities, lack of equivalent value, and (d) Massoud and Mr. Nourafshan

                                                                  19   (who controls the defendants) had a secret agreement and understanding as to how the Rexford

                                                                  20   Property and the Chalette Property, or their value, would be diverted from the Debtors’ creditors to

                                                                  21   the benefit of the Mr. Nourafshan’s family and/or Massoud, and to the detriment of those creditors,

                                                                  22   in addition to other reasons. The Trustee believes that part of this secret agreement and

                                                                  23   understanding would be that Massoud and his family would be permitted to live in the Rexford

                                                                  24   Property, rent free, for an indeterminate period of time but that the Chalette Property would be

                                                                  25   delivered vacant so that Mr. Nourafshan and his family could make a quick, and sizeable profit and

                                                                  26   return on their investment, which they did.

                                                                  27           7.       Sky Las Vegas Sale Proceeds and JCBL Trust

                                                                  28           Prior to the entry of order of relief of the Debtors’ cases, Nevada Investment Properties, LP

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                                                                   1   (“NIP”), the owner of certain real property known as “Sky Las Vegas,” located at 2700 Las Vegas

                                                                   2   Boulevard South, Las Vegas, Nevada (the “Las Vegas Property”), was in the process of selling the

                                                                   3   Las Vegas Property. During the pendency of these cases, the Las Vegas Property was in escrow to

                                                                   4   be sold by NIP to TAG Fund II, LLC, a Nevada limited liability company (“TAG”), or assignee, for

                                                                   5   a purchase price of $5.1 million.

                                                                   6            On or about January 11, 2000, Parinaz Yashouafar (“Parinaz”), Massoud’s spouse, settled a

                                                                   7   trust by way of a Declaration of Trust (the “JCBL Trust”). One of the Trust Assets was and is a

                                                                   8   20% ownership interest in Milbank Capital I (“Milbank Capital”), which in turn holds a 50.5%

                                                                   9   interest in NIP. JCBL Trust’s share of the proceeds from the sale of the Las Vegas Property totaled

                                                                  10   approximately $479,500 (the “JCBL Proceeds”). Pursuant to that certain stipulation (the

                                                                  11   “JCBL Proceeds Stipulation”) [Docket. No. 200], entered into by and between, inter alia, the
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                                                                  12   Trustee and the JCBL Trust and approved by order entered on November 15, 2016 [Docket. No.
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                                                                  13   243], the JCBL Proceeds were held in an account at Pacific Western Bank, in the name of JCBL
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                                                                  14   Trust, pending resolution of the Debtors’ Estates’ interest in such funds or further order of this

                                                                  15   Court.

                                                                  16            In addition, S&R and Madison (which are among the entities subject to Howard Abselet’s

                                                                  17   Nevada charging lien) each hold: (1) a direct 4.35% limited partnership interest in NIP; and (2) a

                                                                  18   4.545% limited partnership interest in NIP through Milbank Capital I; for an aggregate holding of

                                                                  19   17.79%. S&R and Madison are owned by the Debtors. After the closing of the Las Vegas

                                                                  20   Property’s sale, the Trustee received approximately $645,000 on account of S&R’s and Madison’s

                                                                  21   interest in NIP (the “S&R and Madison Proceeds”).

                                                                  22            8.      The JCBL Trust Action

                                                                  23            The JCBL Trust was a fully revocable trust at the time it was created by Parinaz. On or

                                                                  24   about January 2, 2015, Parinaz amended the JCBL Trust (the “First JCBL Trust Amendment”).

                                                                  25   By the execution of the First JCBL Trust Amendment, Parinaz caused the JCBL Trust to be

                                                                  26   irrevocable.

                                                                  27            On or about May 12, 2017, the Trustee commenced an adversary proceeding in this Court to

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                                                                   1   determine the following: (a) setting aside the First JCBL Trust Amendment and the related transfer

                                                                   2   as an actual or constructive fraudulent transfer; (b) declaring that the right to revoke the JCBL Trust

                                                                   3   is property of Massoud’s Estate; (c) declaring that, upon exercise of the revocation of the JCBL

                                                                   4   Trust by the Trustee, the assets of the JCBL Trust (including, without limitation, the JCBL Proceeds)

                                                                   5   are, and will become property of Massoud’s Estate; and (d) and other related relief.

                                                                   6           9.       Overview of the Settlement Agreement

                                                                   7           The following is a brief summary of the terms and conditions of the Settlement Agreement,

                                                                   8   qualified in its entirety by the actual provisions of the Settlement Agreement itself (attached as an

                                                                   9   exhibit to the motion for approval of the agreement):

                                                                  10           The Trustee releases any and all claims that the Estates have, or may have, in and to the RLI

                                                                  11   Stock, the APII Stock, any and all rights and remedies relating to either of them, and the proceeds
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                                                                  12   thereof (the “Abselet Shared Assets”). In exchange, the Estates will receive a portion of the net
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                                                                  13   recoveries from the Abselet Shared Assets, as set forth below.
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                                                                  14           The Abselets will control the liquidation of the Abselet Shared Assets, subject to consultation

                                                                  15   with the Trustee. If the Abselets elect not to pursue the Abselet Shared Assets, the Trustee may

                                                                  16   liquidate them as assets of the Estates.

                                                                  17           The Trustee will control the prosecution and liquidation of assets of the Estates, which

                                                                  18   expressly include any and all claims and actions that arise out of the foreclosures on the Residences.

                                                                  19   The Abselets retain their independent rights to set aside the foreclosures of the Residences but any

                                                                  20   and all net recoveries are subject to the sharing provisions of the Settlement Agreement.

                                                                  21           As the Estates have no equity in S&R and Madison, the Estates’ equity interests in those

                                                                  22   assets are to be transferred to Israel Abselet on account of the $2M Loan. The Abselets will be

                                                                  23   charged with liquidating, winding up and dissolving Madison and S&R in accordance with

                                                                  24   applicable law.

                                                                  25           It is anticipated that Israel Abselet, as a creditor or equity holder, will receive certain monies

                                                                  26   from the liquidation of Madison and S&R by virtue of the $2M Loan. It is also anticipated that

                                                                  27   Howard Abselet may receive some recoveries from the liquidation of ECPLP. Any and all net

                                                                  28   recoveries received from the foregoing sources are credited against the Minimum Threshold (i.e., the

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                                                                   1   first $5 Million (irrespective of when received by Howard Abselet and Israel Abselet) and toward

                                                                   2   the payment of the Abselets’ claims in excess of $5 million. These recoveries do not, however, have

                                                                   3   to be shared with the Estates.

                                                                   4           Funds received from the liquidation of the Abselet Shared Assets (and any pursuit of claims

                                                                   5   by the Abselets relating to the foreclosure of the Residences), the Abselet Credited Assets, and the

                                                                   6   assets of the Estates (except the Estates’ share of net proceeds generated from the Abselet Shared

                                                                   7   Assets, which shall be retained by the Estates and not further shared with the Abselets), shall be

                                                                   8   shared and distributed by and between the Abselets and the Estates as follows: (a) first, pari passu,

                                                                   9   to reimburse the “Post-May 31 Fees” (i.e., the reasonable fees and costs incurred by the Abselets in

                                                                  10   collecting and liquidating the Abselet Shared Assets from and after May 31, 2017) and the Post-

                                                                  11   Order Fees (i.e., fees and expenses incurred by the Trustee (subject to ultimate allowance by the
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                                                                  12   Bankruptcy Court) incurred in collecting and liquidating assets of the Estates (including, without
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                                                                  13   limitation, any and all claims and actions arising out of the foreclosure of the Residences) from and
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                                                                  14   after May 31, 2017; (b) second, to the Abselets until they have received the Minimum Threshold

                                                                  15   (i.e., the first $5 million against their claims, which is $5 million of net proceeds received either

                                                                  16   from the Abselet Shared Assets (including any pursuit by the Abselets of claims relating to the

                                                                  17   foreclosure of the Residences), the Estates or the Abselet Credited Assets; (c) thereafter, until the

                                                                  18   Abselets’ claims are paid in full: (i) two-thirds to the Abselets; and (ii) one-third to the Trustee for

                                                                  19   the benefit of the Estates.

                                                                  20           Pursuant to the order (the “Approval Order”) approving the Settlement Agreement: (a)

                                                                  21   Howard Abselet’s claim will be allowed in the amount of approximately $11.8 million as of May 31,

                                                                  22   2017, plus additional accruals and accretions, as more fully set forth therein and (b) Israel Abselet’s

                                                                  23   Claim is allowed in the approximate amount of $3.89 million as of May 31, 2017, plus additional

                                                                  24   accruals and accretions as more fully set forth therein.

                                                                  25           Pursuant to paragraphs 4 and 5 of the Approval Order, the Trustee validates certain liens held

                                                                  26   or asserted by the Abselets in and to various assets of the Estates and, pursuant to paragraph 6 of the

                                                                  27   Approval Order, confirms Howard Abselet’s ownership of the ECP Building, the APII Stock and the

                                                                  28   RLI Stock (subject to all of Howard Abselet’s obligations under the Settlement Agreement).

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                                                                   1           Subject to all of the terms and conditions of the Settlement Agreement, the parties thereto

                                                                   2   enter into mutual general releases. The Abselets’ recourse to the Estates and their assets is limited to

                                                                   3   those specific recoveries provided for under the Settlement Agreement.

                                                                   4           As of December 31, 2018, the Estates are entitled to approximately $1,150,000 pursuant to

                                                                   5   the terms of the waterfall distribution set forth in the Settlement Agreement, which is net of the

                                                                   6   funds the Trustee has on hand. The $1.15 million is an estimate and subject to reserves and

                                                                   7   adjustments as the Trustee and his professionals and the Abselets’ and their professionals continue to

                                                                   8   incur fees and expenses that will be paid per the terms of the Settlement Agreement and this Court’s

                                                                   9   consideration of such fees and expenses of Estate professionals. The Estates could also recover up

                                                                  10   to $10 million if the Trustee is successful in the Rexford/Chalette litigation.

                                                                  11   B.      Case Commencement
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                                                                  12           On August 3, 2016, petitioning creditors Fereydoun Dayani, Yona Samih, and N&S
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                                                                  13   Investment, LLC c/o Sina Navidbakhsh (the “Petitioning Creditors”) filed an involuntary petition for
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                                                                  14   relief under chapter 11 of the Bankruptcy Code against debtor Solyman, bearing case number 16-

                                                                  15   12555-GM. On September 9, 2016, the Petitioning Creditors and Solyman entered into a Stipulation

                                                                  16   for Entry of Order for Relief and Appointment of Chapter 11 Trustee [Dkt. No. 79], which

                                                                  17   stipulation was granted by Order entered on September 12, 2016 [Dkt. No. 82].

                                                                  18           On September 16, 2016, the United States Trustee (the “UST”) filed its Notice of

                                                                  19   Appointment of Chapter 11 Trustee appointing David K. Gottlieb as Chapter 11 Trustee in

                                                                  20   Solyman’s chapter 11 case [Dkt. No. 91]. On September 16, 2016, the UST filed an Application for

                                                                  21   Order Approving Appointment of Trustee [Dkt. No. 93], which application was granted by Order

                                                                  22   entered on September 16, 2016 [Dkt. No. 94]. On September 19, 2016, the Court entered an Order

                                                                  23   for Relief and Order to File Schedules, Statements and Lists(s) [Dkt. No. 97].

                                                                  24           On August 3, 2016, the Petitioning Creditors filed an involuntary petition for relief under

                                                                  25   chapter 11 of title 11 of the Bankruptcy Code against Massoud, bearing case number 16-12408. On

                                                                  26   September 9, 2016, the Petitioning Creditors and Massoud entered into a Stipulation for Entry of

                                                                  27   Order for Relief under Chapter 11 and Appointment of Chapter 11 Trustee [Dkt. No. 92], which

                                                                  28   stipulation was granted by Order entered on September 20, 2016 [Dkt. No. 94].

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                                                                   1           On September 16, 2016, the UST filed its Notice of Appointment of Chapter 11 Trustee,

                                                                   2   appointing David K. Gottlieb as Chapter 11 Trustee in Massoud’s chapter 11 case [Dkt. No. 104].

                                                                   3   On September 16, 2016, the UST filed an Application for Order Approving Appointment of Trustee

                                                                   4   [Dkt. No. 106], which application was granted by Order entered on September 20, 2016 [Dkt. No.

                                                                   5   110].

                                                                   6           On September 30, 2016, the Trustee filed the Motion for Order Directing Joint

                                                                   7   Administration of Related Cases Pursuant to Federal Rule of Bankruptcy Procedure 1015(b)

                                                                   8   [Docket No. 134]. By this motion, the Trustee sought authorization to jointly administer the chapter

                                                                   9   11 cases of the Debtors for procedural purposes only. On October 18, 2016, the Court granted the

                                                                  10   motion by entry of orders [Docket No. 170] in the main case and [Docket No. 188] in Massoud’s

                                                                  11   case.
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                                                                  12           On October 11, 2016, the Trustee filed his Application To Employ Pachulski Stang Ziehl &
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                                                                  13   Jones LLP As General Bankruptcy Counsel Effective September 16, 2016 [Docket No. 159] (the
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                                                                  14   “PSZJ Application”). By the PSZJ Application, the Trustee sought to retain Pachulski Stang Ziehl

                                                                  15   & Jones LLP as its general bankruptcy counsel. On November 15, 2016, the Court granted the PSZJ

                                                                  16   Application by entry of the Order Granting Debtors’ Application to Employ Pachulski Stang Ziehl

                                                                  17   and Jones LLP as General Bankruptcy Counsel [Docket No. 244].

                                                                  18   C.      Summary of Significant Events During the First Interim Period
                                                                  19                a. Encino Corporate Plaza

                                                                  20           One of the Debtors’ interests was in an office building complex that was held by Encino

                                                                  21   Corporate Plaza, L.P., ECP Building, Inc., which held certain real property located at 16661 Ventura

                                                                  22   Blvd, Encino, CA commonly known as “Encino Corporate Plaza” (“ECP Property”). Prior to the

                                                                  23   petition date, a receiver had been appointed to oversee the sale of the ECP Property. The Trustee

                                                                  24   reviewed the Debtors’ direct and indirect interests in the ECP Property and determined that they

                                                                  25   were of little to no value or benefit to the Debtors’ Estates.

                                                                  26           The Trustee determined that (a) there was no equity in the ECP Property and (b) unless the

                                                                  27   ECP Property was abandoned to the Debtors prior to the closing of its pending sale, the Estates

                                                                  28   would incur a significant taxable gain, which would either consume a substantial portion, if not all of

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                                                                   1   the Estates’ net operating loss carryforwards (which would otherwise be available to shelter other

                                                                   2   taxable gains of the Estates) or might even result in a net tax liability to the Estates. Accordingly,

                                                                   3   the Trustee, in the exercise of his business judgment, determined that abandonment of the Estates’

                                                                   4   interests, if any, in ECPLP, ECP Building, and the ECP Property to the Debtors was appropriate

                                                                   5   under the circumstances.

                                                                   6           To that end, on October 26, 2016, the Trustee filed the Motion to Abandon All Direct and

                                                                   7   Indirect Interests in Encino Corporate Plaza, LP; ECP Building, Inc.; and The ECP Property

                                                                   8   Pursuant to 11 USC § 554 [Docket No. 191]. On November 21, 2016, the Court granted that motion

                                                                   9   [Docket No. 293].

                                                                  10                b. Motion to Convert Cases to Chapter 7

                                                                  11           On October 26, 2016, the Trustee filed the Motion for Order Converting Cases to Chapter 7
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                                                                  12   [Docket No. 192] (the “Conversion Motion”). The Trustee had concluded that it was not necessary
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                                                                  13   to continue the administration of the Debtors’ Estates in chapter 11 and that the Debtors’ interests
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                                                                  14   and the claims against their Estates could be addressed in the liquidation scenario under chapter 7.

                                                                  15           However, after the filing of the Conversion Motion, an official committee of unsecured

                                                                  16   creditors [Docket No. 207] (the “Committee”) was appointed by the UST. The Committee, like the

                                                                  17   Trustee has been engaged in reviewing the Debtors’ various interests and the claims against the

                                                                  18   Estates, and also engaging in discussions with the Trustee’s professionals regarding the best way to

                                                                  19   maximize assets for the benefit of unsecured creditors and all parties in interests. The Trustee also

                                                                  20   began discussions with counsel to Howard Abselet about consensually resolving his claims against

                                                                  21   the Debtors’ Estates.

                                                                  22           After the expiration of the time to file objections or responses to the Conversion Motion, the

                                                                  23   Trustee and the Committee entered into a stipulation to continue the hearing on the Conversion

                                                                  24   Motion [Docket No. 299]. The Court subsequently approved the continuation of the Conversion

                                                                  25   Motion to November 29, 2016 [Docket No. 301], and again to April 4, 2017 [Docket No. 350]. The

                                                                  26   Trustee and the Committee submitted a stipulation requesting a further continuance of the

                                                                  27   Conversion Motion to a date in May 2017.

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                                                                   1           On or about June 30, 2017 and July 10, 2017, the Debtors filed motions to convert their

                                                                   2   chapter 11 cases to cases under chapter 7. See [Docket Nos. 472 and 478]. The Trustee did not

                                                                   3   object but the Committee objected to the conversion motions. See [Docket No. 484]. At the hearing

                                                                   4   on the conversion motions and thereafter, the Trustee, the Committee, and the Debtors agreed on the

                                                                   5   Trustee’s abandonment of the Debtors’ postpetition earnings in exchange for keeping these cases in

                                                                   6   chapter 11. See [Docket No. 497] (the “Abandonment Notice”). However, after the filing of the

                                                                   7   Abandonment Notice, Massoud amended his schedules of assets and liabilities to include a

                                                                   8   previously undisclosed whole life insurance policies of each of the Debtors. In response, the

                                                                   9   Committee sought an extension of the time to object to the Abandonment Notice so that it could

                                                                  10   determine whether the proposed abandonment should be reconsidered in light of the insurance

                                                                  11   policies.
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                                                                  12                c. Oklahoma Action and Receivership
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                                                                  13           Contemporaneous with his appointment, the Trustee became aware of proceedings pending
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                                                                  14   in the United States District Court for the Western District of Oklahoma (the “Oklahoma Action”)

                                                                  15   against the Debtors and various entities that they own directly or indirectly. In the Oklahoma

                                                                  16   Action, the Oklahoma District Court had appointed a receiver (the “FNC Receiver”) over the First

                                                                  17   National Center and the then pending efforts to sell the First National Center. The Trustee also

                                                                  18   became aware that there were a number of pending motions, and cross-motions for summary

                                                                  19   judgment in the Oklahoma Action relating to the ultimate ownership of the First National Center, the

                                                                  20   resolution of which would impact the ultimate distribution of the net proceeds from the sale thereof.

                                                                  21           The Trustee advised the FNC Receiver that he had no objection to the sale of the First

                                                                  22   National Center, subject to no further disposition of net proceeds other than those that had been

                                                                  23   expressly approved by the Oklahoma District Court. The Trustee was informed and believed that

                                                                  24   there were approximately $19 million of net proceeds as to which there were numerous competing

                                                                  25   claims, including those asserted by the Neman Parties, the Barlava Parties and Howard Abselet, each

                                                                  26   of whom have claims against the Debtors’ Estates on account of various contracts or other business

                                                                  27   relationships with the Debtors. First Nation Center was sold by the FNC Receiver and the sale

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                                                                   1   approved by the Oklahoma District Court. The net proceeds of the sale were held in escrow pending

                                                                   2   the resolution of the various claims and counter-claims pending in the Oklahoma Action.

                                                                   3            At the outset of his appointment, the Trustee became aware that Howard Abselet had

                                                                   4   purported to levy on the shares of APII Stock in or about January of 2015 and had purportedly

                                                                   5   purchased the APII Stock for a nominal amount at a marshal’s sale held in April of 2015. The APII

                                                                   6   Stock was owned by the Debtors or their Estates. Roxanna Yashouafar Aboudi (“Roxanna”), a

                                                                   7   daughter of Solyman, subsequently brought a motion before the California District Court, (i.e., the

                                                                   8   court presiding over the ECP Property and receivership), where Abselet’s collection action is

                                                                   9   pending, seeking to set aside the levy on, and sale of the APII Stock. In that motion, Roxanna

                                                                  10   contended that she was in fact the owner of those shares (having received a transfer of them from the

                                                                  11   Debtors in March of 2014) and that furthermore the levy and foreclosure were invalid under
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                                                                  12   applicable California law because the stock interests in APII were certificated and a valid levy could
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                                                                  13   only be effected by taking possession of the stock certificates.4 In a decision rendered on January
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                                                                  14   14, 2016, Judge Walters of the California District Court denied Roxanna’s motion. The California

                                                                  15   District Court found that the transfer of shares from the Judgment Debtors to Roxanna “never

                                                                  16   occurred” and that both Roxanna and the Debtors are estopped from asserting that such a transfer

                                                                  17   took place. The Court further ruled that the Debtors “are estopped from arguing that the Alliance

                                                                  18   Property Investment Stock was certificated,” but made no factual determination as to whether or not

                                                                  19   the APII Stock was in fact certificated as of the date of Abselet’s levy and sale.

                                                                  20            After extensive efforts to obtain relevant documentation and to interview witnesses, the

                                                                  21   Trustee determined that the stock interests in APII were likely certificated as of the date of Abselet’s

                                                                  22   levy and sale and that, accordingly, the levy and sale of the APII Stock was invalid under applicable

                                                                  23   California law. Further, the Trustee believed that neither he nor the Debtors’ Estates he represents

                                                                  24   were bound by Judge Walters’ estoppel ruling by virtue of the so-called “strong-arm powers”

                                                                  25   invested in the Trustee pursuant to section 544 of the Bankruptcy Code. Specifically, pursuant to

                                                                  26   4
                                                                         See Cal. Com. Code § 8112(a). “The interest of a debtor in a certificated security may be reached by a creditor only by
                                                                  27   actual seizure of the security certificate by the officer making the attachment or levy, except as otherwise provided in
                                                                       subdivision (d). However, a certificated security for which the certificate has been surrendered to the issuer may be
                                                                       reached by a creditor by legal process upon the issuer.” Section 8112(d) addresses levy procedures when the stock
                                                                  28   certificates are held by a secured creditor and is inapplicable in this instance.
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                                                                   1   that provision, the Trustee is empowered with certain rights and remedies of hypothetical or actual

                                                                   2   creditors of the Debtors to set aside and invalidate improper or unperfected transfers, even if the

                                                                   3   Debtors themselves would not have such powers.

                                                                   4           Accordingly, absent a resolution with Abselet, the Trustee intended to file in due course an

                                                                   5   adversary proceeding in the Debtors’ bankruptcy cases seeking to set aside and avoid Abselet’s levy

                                                                   6   on, and sale of the APII Stock which, if successful, would revest ownership of the APII Stock in the

                                                                   7   Debtors’ Estates. While the value of the APII Stock was uncertain (due in large part to the

                                                                   8   competing claims of the Neman Parties and the Barlava Parties to the net proceeds of sale of the

                                                                   9   First National Center), the stock, or the value thereof, it might have been a significant asset of the

                                                                  10   Debtors’ Estates. If the adversary proceeding were successful, Abselet would have had no direct

                                                                  11   interest in the net proceeds arising from the sale of the First National Center, and the Trustee would
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                                                                  12   have replaced him as the real party in interest as the sole shareholder of APII, which in turn is the
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                                                                  13   sole shareholder of FNB-1 (i.e., the entities that directly or indirectly own the property that was sold
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                                                                  14   by the FNC Receiver in the Oklahoma Action).

                                                                  15           If, indeed, the Estates were determined to be the beneficial owners of the APII Stock, the

                                                                  16   Trustee would take control of FNB-1 and actively participate in the Oklahoma Action. It is quite

                                                                  17   possible that the Trustee, in the interests of the Debtors’ creditors, would have likely taken positions

                                                                  18   that were different to those that have heretofore been asserted by or on behalf of FNB-1. Further,

                                                                  19   assuming that the Debtors’ Estates had an interest in the outcome of the pending motions for

                                                                  20   summary judgment by virtue of being the owners of the APII Stock, the Trustee would likely have

                                                                  21   taken a number of positions in these proceedings that were different from those previously taken by

                                                                  22   the Debtors. In particular, the Trustee is informed and believes that the Debtors had taken the

                                                                  23   position that beneficial ownership of the First National Center was transferred outright to the Neman

                                                                  24   Parties; in contrast, the Trustee would likely have advocated that the transfer of ownership in the

                                                                  25   First National Center constituted nothing more than an equitable mortgage. The Trustee would also

                                                                  26   likely have asserted that the Barlava Parties sold their interests in the First National Center to the

                                                                  27   Yashouafars as part of that transaction and, as a result, were owed no more than approximately

                                                                  28   $1.375 million of the Net Proceeds. (The Trustee was also concerned that certain parties in this

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                                                                   1   litigation might have been asserting claims, such as fraudulent transfer claims, that are now the

                                                                   2   exclusive property of the Estates).

                                                                   3           Since, absent settlement, the Trustee intended to commence an adversary proceeding and

                                                                   4   contemplated bringing a motion for summary judgment to determine the key factual issue, namely

                                                                   5   whether or not the APII Stock was certificated as of the date of Abselet’s levy and sale, the Trustee

                                                                   6   requested that the Oklahoma District Court consider deferring a ruling on the pending cross-motions

                                                                   7   for summary judgment until this Court had made determinations as to whether Abselet or the

                                                                   8   Debtors’ Estates owned the APII Stock.

                                                                   9                  d. Sky Las Vegas Sale Proceeds

                                                                  10           As previously mentioned, during the pendency of these cases, the Las Vegas Real Property

                                                                  11   was in escrow to be sold by NIP to TAG, for a purchase price of $5.1 million.
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                                                                  12           As a result of the Debtors’ direct and indirect interest in the sale proceeds arising from the
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                                                                  13   Real Property, the Trustee entered into a stipulation [Docket No. 200] with NIP, the Debtors, and
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                                                                  14   JCBL regarding the disposition of the sale proceeds of the Real Property relating to the Debtors’

                                                                  15   Estates direct and indirect interest. The stipulation was approved by the court on November 15,

                                                                  16   2016 [Docket No. 243].

                                                                  17           As a result of the Stipulation, the Trustee held approximately $645,000 on account of S&R

                                                                  18   Equities’ and Madison Equities’ interest in NIP. In addition, JCBL also agreed that PWB would

                                                                  19   continue to hold its share of the sale proceeds in the approximate amount of $322,512, pending

                                                                  20   resolution of the Debtors’ Estates’ interest in such funds or until further order of this Court.

                                                                  21                  e. The 2004 Motions and Discovery

                                                                  22           In an effort to obtain information about the Debtors’ assets and the various claims against the

                                                                  23   Estates, the Trustee filed motions pursuant to Bankruptcy Rule 2004 and also requested information

                                                                  24   from the Debtors’ current former counsel, all for the purpose of enabling the Trustee to make

                                                                  25   decisions about the best way to administer the Estates and preserve value for the benefit of all parties

                                                                  26   in interest.

                                                                  27           On November 2, 2016, the Trustee filed a motion pursuant to Bankruptcy Rule 2004 [Docket

                                                                  28   No. 208] (the “Original 2004 Motion”). By the Original 2004 Motion, the Trustee sought

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                                                                   1   documents from certain entities and people and oral examinations of certain people relating to (a) the

                                                                   2   purchase and sale of a loan held by Pacific Western Bank (“PWB”) that was secured by deeds of

                                                                   3   trust against the Debtors’ Beverly Hills homes, (b) the purchase of the PWB’s loan by entities

                                                                   4   controlled by Massoud’s brother-in-law, (c) the foreclosures of the Debtors’ homes by entities

                                                                   5   controlled by Massoud’s brother-in-law, and (d) the terms of Massoud’s lease of his former home

                                                                   6   from entities controlled by this brother-in-law.

                                                                   7           On November 16, the Court entered separate orders approving the Original 2004 Motion and

                                                                   8   directing the production of documents and the oral examination of parties with respect to seven

                                                                   9   different entities or people. See [Docket Nos. 251-258]. Since the entry of the foregoing orders, the

                                                                  10   Trustee, through counsel, has worked with the parties subject to the document production demands.

                                                                  11   In certain instances, the document production worked well and the Trustee received most, if not all,
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                                                                  12   of the requested documents. However, certain of the other document productions had not been
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                                                                  13   completed. The Trustee, through counsel, continued to work with parties’ counsel to resolve the
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                                                                  14   production issues.

                                                                  15           After filing the Original 2004 Motion, the Trustee filed another motion on December 15,

                                                                  16   2016, pursuant to Bankruptcy Rule 2004, against Citivest Financial Services, Inc. [Docket No. 320]

                                                                  17   (the “Citivest 2004 Motion”). By the Citivest 2004 Motion, the Trustee sought the production of

                                                                  18   documents and examination of witnesses from the company that acted as the trustee under the deeds

                                                                  19   of trust of the Debtors’ former Beverly Hills homes. On December 29, 2016, the Court entered an

                                                                  20   order approving the Citivest 2004 Motion [Docket No. 340].

                                                                  21           Despite the production issues, the Trustee scheduled his first oral examination relating to the

                                                                  22   Original 2004 Motion for the examination of Jack Nourafshan, Massoud’s brother-in-law and person

                                                                  23   in control of the entities that foreclosed against the Debtors’ homes and was lessor to Massoud. On

                                                                  24   April 13, 2017, the Trustee deposed Mr. Nourafshan, regarding the purchase of the loans against the

                                                                  25   Rexford Property and Chalette Property and their related foreclosure.

                                                                  26           On May 10, 2017, the Trustee filed a motion, pursuant to Bankruptcy Rule 2004, seeking the

                                                                  27   production of documents from Levene, Neale, Bender, Yoo &Brill L.L.P. (“Levene Neale”) and an

                                                                  28   oral examination of the person most knowledgeable regarding the subject matter of the document

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                                                                   1   production. The examination sought documents relating to the alleged sale by the Barlava Family to

                                                                   2   the Debtors of their interests in RLI and the possibility that distributions made by RLI to the Barlava

                                                                   3   Family exceeded its entitlement as an approximately 46% shareholder.

                                                                   4                    f.          Further Events in the Pending Oklahoma Action and Receivership

                                                                   5           As mentioned, no less than four parties claimed ownership in some or all of the net proceeds

                                                                   6   from the sale of the First National Center, which proceeds totaled approximately $19 million: (a)

                                                                   7   judgment creditor Howard Abselet, by virtue of his purported levy on the Debtors’ stock interests in

                                                                   8   APII; (b) the Neman Family, by virtue of a purported sale of the equity interests in the First National

                                                                   9   Center to one or more entities controlled by the family; (c) the Barlava Family, which formerly

                                                                  10   owned a 50% interest in the First National Center (through an entity owned and controlled by them)

                                                                  11   and now claims that it was defrauded by the Debtors and Neman in connection with the sale of its
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                                                                  12   interests; and (d) the Trustee, who claimed that Abselet’s levy on the stock of APII was invalid and
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                                                                  13   may be set aside pursuant to Bankruptcy Code § 544(a)(1) and (2).
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                                                                  14           Various motions and cross-motions for summary judgment remained pending before the

                                                                  15   Oklahoma District Court regarding the competing claims to ownership and the net sale proceeds.

                                                                  16   The Trustee also commenced the action before this Court seeking to set aside Abselet’s levy on the

                                                                  17   stock of APII. At the request of Howard Abselet, the Oklahoma District Court set a status

                                                                  18   conference in the Oklahoma Action for June 15, 2017. The Oklahoma District Court granted the

                                                                  19   Trustee’s request that his counsel be permitted to appear at that hearing, pro hac vice, without

                                                                  20   assistance of local counsel. The Trustee had indicated to the Oklahoma District Court that he was

                                                                  21   appearing in order to assist the court in determining how to proceed with the Oklahoma Action and

                                                                  22   was not thereby submitting to the jurisdiction of the Oklahoma District Court.

                                                                  23           g.       Roosevelt Lofts Funds

                                                                  24           Debtor RLL was holding approximately $1.5 million of funds which, under its confirmed

                                                                  25   plan of reorganization, are payable to RLI, the sole member of RLL. However, a number of disputes

                                                                  26   arose as to the ownership and control of RLI. It appeared from filings with the California Secretary

                                                                  27   of State that Massoud and Solyman were the sole officers and directors of RLI.

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                                                                   1           Howard Abselet claimed to be the holder of approximately 46% of the stock of RLI by virtue

                                                                   2   of a purported levy on the Debtors’ approximately 46% stock interests. As more fully set forth

                                                                   3   below, the Trustee believed that the levy could be set aside pursuant to Bankruptcy Code

                                                                   4   § 544(a)(1), (2) and applicable state law. The Barlava Family formerly owned approximately 46%

                                                                   5   of the stock of RLI. In proceedings pending before the District Court, Abselet asserted that the

                                                                   6   Barlava Family sold its stock in RLI to the Debtors in 2012 and that his levy on the Debtors’

                                                                   7   interests in RLI also extended to the 46% interest formerly owned by the Barlava Family. The

                                                                   8   Trustee investigated the Barlava Family’s ownership interests in RLI; documents reviewed by the

                                                                   9   Trustee indicated that the Barlava Family likely sold its interests in RLI to the Debtors in August of

                                                                  10   2012. Further, it appeared from the Trustee’s investigation that prior to that sale, the Barlava Family

                                                                  11   may have received a disproportionately large share of dividends made by RLI to its shareholders
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                                                                  12   (and therefore may owe funds to the other shareholders as a result). The final shareholder in RLI is
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                                                                  13   Nourmand.
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                                                                  14           This Court set a status conference in the Roosevelt Lofts matter for July 11, 2017 to

                                                                  15   determine, inter alia, the disposition of the funds still being held by Roosevelt Lofts’ counsel and

                                                                  16   payable to RLI under the Roosevelt Lofts plan of reorganization.

                                                                  17           h.       APII Stock and RLI Stock Adversary Proceeding

                                                                  18           The Trustee’s initial efforts to resolve the disputed issues relating to the APII Stock and the

                                                                  19   RLI Stock with Abselet were not successful. As a result, on March 24, 2017, the Trustee

                                                                  20   commenced the APII/RLI Stock Action (adversary proceeding 1:17-ap-01027) to determine the

                                                                  21   Debtors’ Estates’ interest in the Stock.

                                                                  22           In response, Howard Abselet filed a motion with the United States District Court for the

                                                                  23   Central District of California to withdraw the California District Court’s reference of the APII/RLI

                                                                  24   Stock Action. The Trustee filed an objection and Howard Abselet filed a response. In short,

                                                                  25   Howard Abselet contended that the Trustee’s filing of the APII/RLI Stock Action was an attempt to

                                                                  26   circumvent the California District Court’s limited rulings that relate to the Stock. The Trustee

                                                                  27   commenced the APII/RLI Stock Action because he believed that, as a chapter 11 trustee of the

                                                                  28   Debtors’ Estates, he had independent claims to the Stock that are not subject to the California

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                                                                   1   District Court’s rulings nor was the Trustee estopped by the Debtors’ prepetition conduct that caused

                                                                   2   the California District Court to issue its limited estoppel rulings regarding the Debtors and the Stock.

                                                                   3   The California District Court scheduled a hearing on the motion to withdraw the reference for May

                                                                   4   22, 2017.

                                                                   5           In addition to the above, Howard Abselet also filed with this Court a motion to dismiss the

                                                                   6   APII/RLI Stock Action. The Trustee prepared an objection to the motion to dismiss, which was

                                                                   7   scheduled for hearing on June 27, 2017.

                                                                   8           Notwithstanding the above, the Trustee continued to explore settlement opportunities with

                                                                   9   Howard Abselet regarding the APII /RLI Stock Action, the Oklahoma Action, and other related

                                                                  10   issues in these chapter 11 cases. To this end, a one-day mediation between the Trustee and Howard

                                                                  11   Abselet was held before Judge Mitchel Goldberg (Retired) on June 3, 2017.
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                                                                  12           i.       Rexford/Chalette Action
                                        LOS ANGELES, CALIFORNIA




                                                                  13           Prior to the Petition Date, Massoud and his spouse owned and he and his family resided at
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                                                                  14   the Rexford Property, a single family residence located at 910 Rexford Drive, Beverly Hills, CA.

                                                                  15   Also, Solyman and his spouse owned and he and his family resided at the Chalette Property, a single

                                                                  16   family residence located at 580 Chalette Drive, Beverly Hills, CA. The Rexford Property and

                                                                  17   Chalette Property were encumbered by certain deeds of trust that secured certain payment

                                                                  18   obligations of the Debtors.

                                                                  19           Around January 2015, Massoud’s brother in law, Jack Nourafshan, through entities he

                                                                  20   controls, purchased a promissory note that was secured by two separate deeds of trust against the

                                                                  21   Rexford Property and Chalette Property. Subsequently, Mr. Nourafshan foreclosed on the Rexford

                                                                  22   Property and Chalette Property. He then sold the Chalette Property for a substantial profit (an

                                                                  23   approximate 90% return on an annualized basis) and rented the Rexford Property to Massoud under

                                                                  24   a two year lease at a rate of $25,000 per month. Massoud has never paid any rent and the lease has

                                                                  25   since expired by its terms, yet Massoud and his family continue to enjoy the comforts of the Rexford

                                                                  26   Property.

                                                                  27           On April 25, 2017, the Trustee commenced the Rexford/Chalette Action against Elkwood

                                                                  28   Associates, LLC and Fieldbrook, Inc., which was amended on May 11, 2017.

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                                                                   1           As set forth in greater detail in the complaint, the Trustee alleges that Massoud and Mr.

                                                                   2   Nourafshan (who controls the defendants) had a secret agreement and understanding as to how the

                                                                   3   Rexford Property and the Chalette Property, or their value, would be diverted from the Debtors’

                                                                   4   creditors to the benefit of the Mr. Nourafshan’s family and/or Massoud, and to the detriment of those

                                                                   5   creditors. The Trustee believes that part of this secret agreement and understanding would be that

                                                                   6   Massoud and his family would be permitted to live in the Rexford Property, rent free, for an

                                                                   7   indeterminate period of time but that the Chalette Property would be delivered vacant so that Mr.

                                                                   8   Nourafshan and his family could make a quick, and sizeable profit and return on their investment,

                                                                   9   which they did.

                                                                  10           Prior to filing the amended complaint, the Trust attempted, unsuccessfully, to resolve or

                                                                  11   settle the claims asserted in the Rexford/Chalette Action.
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                                                                  12           j.       Efforts to Obtain JCBL-Related Assets
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                                                                  13           The “JCBL Trust” was a fully revocable trust at the time it was created by Parinaz,
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                                                                  14   Massoud’s spouse. The JCBL Trust held nearly $480,000 on account of the sale of the trust’s

                                                                  15   interest in NIP, the owner of certain real property known as “Sky Las Vegas,” located at 2700 Las

                                                                  16   Vegas Boulevard South, Las Vegas, Nevada. On or about January 2, 2015, Parinaz amended the

                                                                  17   JCBL Trust pursuant to the First JCBL Trust Amendment, which caused the JCBL Trust to be

                                                                  18   irrevocable.

                                                                  19           As previously mentioned, on or about May 12, 2017, the Trustee commenced an adversary

                                                                  20   proceeding (1:17-ap-01050-GM) against Massoud’s spouse, who acts as a trustee of the JCBL Trust,

                                                                  21   thereby seeking to: (a) set aside the First Amendment and the related transfer as an actual or

                                                                  22   constructive fraudulent transfer; (b) declare that the right to revoke the JCBL Trust is property of

                                                                  23   Massoud’s Estate; (c) declare that, upon exercise of the revocation of the JCBL Trust by the Trustee,

                                                                  24   the assets of the JCBL Trust (including, without limitation, the proceeds thereof) are, and will

                                                                  25   become property of Massoud’s Estate; and (d) and other related relief.

                                                                  26           The Trustee does not believe there are any disputed issues. In fact, Massoud’s joint tax

                                                                  27   return reflects that the JCBL Trust was reported as community property and not the separate

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                                                                   1   property of Parinaz. The Trustee’s counsel has attempted to engage in discussions with Parinaz’s

                                                                   2   counsel about consensually resolving the complaint but has not received any meaningful response.

                                                                   3           On December 12, 2017, the Trustee filed a motion for summary judgment seeking the above-

                                                                   4   described relief. On April 9, 2018, the Court entered an order granting summary judgment to the

                                                                   5   Trustee as to fifty percent of the assets of the JCBL Trust and granting summary judgment to Parinaz

                                                                   6   Yashouafar as to fifty percent of the separate property of Parinaz Yashouafar [Dkt No. 42] (the

                                                                   7   “Summary Judgment Order”). On June 25, 2018, the court entered an amended order directing

                                                                   8   payment pursuant to the Summary Judgment Order and providing for dismissal of the action with

                                                                   9   prejudice [Docket No. 50].

                                                                  10           k.       Motion to Dismiss Rexford/Chalette Action

                                                                  11           As set forth above, on April 25, 2017, the Trustee commenced the Rexford/Chalette Action,
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                                                                  12   which was amended on May 11, 2017.
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                                                                  13           On June 12, 2017, the Defendants filed a motion to dismiss [Docket No. 16] all of the claims
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                                                                  14   in the Rexford/Chalette Action and the Trustee opposed such motion [Docket No 22]. On

                                                                  15   September 28, 2017, the Court’s memorandum decision [Docket No. 34] dismissed the complaint

                                                                  16   with leave to amend. On October 18, 2017, the Trustee filed the second amended complaint.

                                                                  17           Soda Partners, LLC filed its answer to the second amended complaint on November 7, 2017

                                                                  18   [Docket No. 42], the Abselets filed their answer on December 6, 2017 [Docket No. 48], and Citivest

                                                                  19   consented to entry of judgment December 22, 2017 disclaiming any interest in the subject properties

                                                                  20   [Docket No. 54]. On December 7, 2017, Elkwood and Fieldbrook filed a motion to dismiss the

                                                                  21   second amended complaint. After the Abselets filed their answer, they also filed a motion to

                                                                  22   withdraw the reference in the California District Court, which if granted would mean Judge Walter

                                                                  23   would preside over the Rexford/Chalette Action. If the reference were withdrawn, the Abselets

                                                                  24   would have sought to have the Rexford/Chalette Action consolidated with the pending action they

                                                                  25   filed that relates to the properties; however, Judge Walter denied the request to withdraw the

                                                                  26   reference and this action remains in the Bankruptcy Court

                                                                  27           The Trustee deposed Thelma Guerrero, who was the subject of a 2004 application and order

                                                                  28   [Docket No. 255] but failed to appear at the previously scheduled deposition because she left the

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                                                                   1   country without notice. Ms. Guerrero is a former employee of Elkwood and Fieldbrook, who was

                                                                   2   involved with the acquisition of the debt from Pacific Western Bank that served as a debt used to

                                                                   3   foreclose against the Debtors’ former homes.

                                                                   4           l.       Motion to Approve Abselet Settlement Agreement

                                                                   5           On August 1, 2017, the Trustee filed the Motion for Order Approving Chapter 11 Trustee’s

                                                                   6   Settlement with Howard Abselet and Israel Abselet (the “Settlement Motion”) [Docket No. 493].

                                                                   7   As set forth in greater detail in the Settlement Motion, and discussed above, the Trustee entered into

                                                                   8   a settlement agreement with the Abselets, Howard Abselet and Sina Abselet, regarding the

                                                                   9   allowance of their claims and the sharing of assets among the parties. At the August 22, 2017

                                                                  10   hearing on the Settlement Motion, the Court approved the Settlement Motion subject to the

                                                                  11   resolution of objections by the Debtors and other parties in interest regarding the proposed form of
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                                                                  12   order. The Trustee and the Abselets worked to incorporate comments and consensually resolve
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                                                                  13   disputes regarding the form of the proposed order.
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                                                                  14           The order approving the Settlement Motion was entered on October 10, 2017 [Docket No.

                                                                  15   554]. Since the approval of the Settlement Motion, the Trustee has been performing the terms of the

                                                                  16   settlement to the extent possible at this juncture in these cases. As proceeds are recovered, they will

                                                                  17   be shared and distributed per the terms of the settlement.

                                                                  18           m.       Status of Plan of Reorganization [LBR 2016-1(a)(1)(A)(i)]

                                                                  19           A Plan of Reorganization (“Plan”) has not been filed in these cases. It is anticipated that the

                                                                  20   assets in these cases will be liquidated and distributed, either through a Plan or through other means,

                                                                  21   after consultation with the Committee. The Trustee does not presently have a timeline for

                                                                  22   confirmation of a Plan; however, the Trustee will have a better estimate of the timeline for moving

                                                                  23   forward to complete these cases once the Rexford/Chalette Action has concluded.

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                                                                   1                                                     IV.

                                                                   2         NARRATIVE STATEMENT OF SERVICES RENDERED AND TIME EXPENDED

                                                                   3   A.      Services Performed and Time Expended During the Application Period Covered by this
                                                                               Application
                                                                   4

                                                                   5           Pursuant to the Compensation Guide and LBR 2016-1, the Firm has classified all services

                                                                   6   performed for which compensation is sought for the First Interim Period into one of several major

                                                                   7   categories. The Firm attempted to place the services performed in the category that best relates to

                                                                   8   the service provided. However, because certain services may relate to more than one category,

                                                                   9   services pertaining to one category may in fact be included in another category.

                                                                  10          i.        Asset Analysis and Recovery
                                                                  11           This category pertains to the identification and review of potential assets including causes of
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                                                                  12   action and non-litigation recoveries. During the First Interim Period, the Firm: (1) reviewed and
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                                                                  13   analyzed case background issues; (2) reviewed and analyzed the Oklahoma litigation and competing
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                                                                  14   claims to the Oklahoma property; (3) reviewed and analyzed title issues regarding the Rexford,

                                                                  15   Chalette, Sunset and Bedford properties; (4) reviewed and analyzed issues regarding the RLI, Las

                                                                  16   Vegas Paradise and FNC assets; (5) conferred with various professionals regarding analysis of case

                                                                  17   assets and litigation; (6) reviewed and analyzed testimony of Massoud regarding ownership of the

                                                                  18   Rexford Property; (7) reviewed and analyzed pleadings relating to the alleged transfer of APII and

                                                                  19   ECP Stock and related appeals; (8) reviewed and analyzed ownership of the Residences and pre-

                                                                  20   petition transfers and drafted an outline of discovery regarding ownership issues; (9) reviewed and

                                                                  21   analyzed documents relating to ownership of Sky Las Vegas; (10) reviewed and analyzed trust and

                                                                  22   settlement documents; (11) reviewed and analyzed documents regarding asset transfers; (12)

                                                                  23   reviewed and analyzed financial statements and tax returns; (13) reviewed and analyzed documents

                                                                  24   regarding beneficial ownership of Oklahoma building; (14) reviewed and analyzed settlement issues

                                                                  25   regarding Oklahoma claims; (15) reviewed and analyzed joint obligor and anti-deficiency issues;

                                                                  26   (16) performed research regarding chain of title concerning the Rexford and Chalette Properties;

                                                                  27   (17) performed work regarding a stipulation and order relating to disposition of Sky Las Vegas

                                                                  28   funds; (18) performed work regarding a motion to abandon interests in ECPLP; (19) reviewed and

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                                                                   1   analyzed title documents regarding Lancaster and Bellflower properties; (20) performed work

                                                                   2   regarding a Bankruptcy Rule 2004 motion related to the Rexford and Chalette Properties; (21)

                                                                   3   coordinated with an asset investigator regarding asset search issues; (22) prepared questions for

                                                                   4   continued Section 341(a) hearings; (23) reviewed and analyzed fraudulent transfer and foreclosure

                                                                   5   issues regarding Residences; (24) reviewed and analyzed documents and issues regarding the

                                                                   6   validity of foreclosures relating to the Rexford and Chalette Properties and the possibility of setting

                                                                   7   aside foreclosures; (25) performed research regarding defects in the Rexford and Chalette

                                                                   8   foreclosures; (26) reviewed and analyzed issues regarding the effect on junior liens of setting aside

                                                                   9   residence foreclosure sales; (27) reviewed and analyzed the Abelset levy on RLI and APII Stock;

                                                                  10   (28) reviewed and analyzed documents regarding perfection of Abselet liens; (29) performed

                                                                  11   research regarding date of issuance of APII Stock; (30) reviewed and analyzed Abselet foreclosure
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                                                                  12   on APII Stock; (31) reviewed and analyzed issues regarding the need for share certificate; (32)
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                                                                  13   reviewed and analyzed issues regarding “strong arm” powers; (33) reviewed and analyzed settlement
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                                                                  14   options relating to Abselet; (34) performed factual research regarding certification of APII Stock;

                                                                  15   (35) reviewed and analyzed a transcript of Oklahoma proceedings regarding motion to expunge

                                                                  16   liens; (36) reviewed and analyzed additional documents produced by the Debtors regarding the

                                                                  17   perfection of Abselet liens in APII Stock; (37) reviewed and analyzed the survival of junior liens

                                                                  18   upon avoidance of foreclosure sale and the priority of avoided foreclosure sale over junior

                                                                  19   lienholders; (38) prepared a memorandum regarding lien priority issues related to the Residences;

                                                                  20   (39) performed factual research regarding Barlava claims to Oklahoma property proceeds; (40)

                                                                  21   reviewed and analyzed issues regarding the Barlava sale of interests in RLI; (41) reviewed and

                                                                  22   analyzed the sale of Barlava RLI interests to Yashouafar; (42) reviewed and analyzed the validity of

                                                                  23   Abselet recorded abstracts of judgment; (43) reviewed and analyzed the effect of assignment of

                                                                  24   Chalette note and deed of trust on Rexford and Chalette foreclosures; (44) reviewed and analyzed

                                                                  25   documents regarding RLI reserve disbursements; (45) reviewed and analyzed perfection of Abselet

                                                                  26   judgment liens; (46) drafted a settlement proposal regarding Rexford and Chalette fraudulent

                                                                  27   transfers; (47) reviewed and analyzed tenancy in common agreements; (48) performed research

                                                                  28   regarding perfection of Abselet and DMARC judgment liens; (49) reviewed and analyzed documents

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                                                                   1   and evidence regarding set aside of Abselet ownership of APII and RLI Stock, and sale of Barlava’s

                                                                   2   interests to the Debtors; (50) performed research regarding set aside of Rexford foreclosures under

                                                                   3   state law; (51) performed research regarding the validity of Elkwood foreclosure related to Rexford

                                                                   4   Property; (52) performed research regarding the ability of the Estate to block marshaling by a junior

                                                                   5   secured creditor; (53) reviewed and analyzed issues regarding the Barlava sale of interests in RLI

                                                                   6   and assertion of mediation pending; (54) reviewed and analyzed issues regarding the disposition of

                                                                   7   reserve funds; (55) reviewed and analyzed documents regarding the buyout of Barlava interests in

                                                                   8   RLI, and performed research regarding the Barlava Family agreement to sell interests in RLI; (56)

                                                                   9   reviewed and analyzed the complaint by Figueroa Tower against US Bank; (57) researched

                                                                  10   ownership of the JCBL trust; (58) reviewed and analyzed RLI mediation issues; (59) monitored

                                                                  11   Oklahoma mediation status; (60) reviewed and analyzed Abselet settlement distribution issues; (61)
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                                                                  12   attended to settlement fund accounting issues; and (62) corresponded and conferred regarding asset
                                        LOS ANGELES, CALIFORNIA




                                                                  13   analysis and recovery issues.
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                                                                  14           During the First Interim Period, the Firm expended 173.00 hours on this category. The

                                                                  15   amount of fees attributable to this matter is $166,091.00.

                                                                  16         ii.        Asset Disposition
                                                                  17           Time billed to this category relates to sale and other disposition of assets.

                                                                  18           During the First Interim Period, the Firm, among other things: (1) reviewed and analyzed

                                                                  19   issues regarding the sale of Encino Corporate Plaza; (2) reviewed and analyzed documents relating

                                                                  20   to the sale of Encino Corporate Plaza; (3) reviewed and analyzed issues and documents relating to

                                                                  21   sale of Oklahoma property, escrow and title insurance; (4) performed work regarding a motion to

                                                                  22   approve waiver and consent relating to Oklahoma property; (5) reviewed and analyzed issues

                                                                  23   regarding the sale of Sky Las Vegas property; (6) drafted a stipulation relating to disposition of net

                                                                  24   proceeds of the sale of Sky Las Vegas property; (7) performed work regarding an order approving

                                                                  25   motion to approve waiver and consent relating to Oklahoma property; (8) reviewed and analyzed a

                                                                  26   contract for purchase and sale relating to Encino Corporate Plaza and reviewed and revised a motion

                                                                  27   to abandon interests in Encino Corporate Plaza; (9) prepared for and attended a hearing on October

                                                                  28   27, 2016 regarding the Encino Corporate Plaza sale; (10) performed work regarding an abandonment

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                                                                   1   order; (11) reviewed and analyzed issues regarding appeals from Encino Corporate Plaza sale order;

                                                                   2   (12) reviewed and analyzed standing issues regarding appeal; (13) performed work regarding a

                                                                   3   response relating to Encino Corporate Plaza sale order appeal; (14) reviewed and analyzed closing

                                                                   4   issues relating to sale of Oklahoma property; (15) reviewed and analyzed discovery issues regarding

                                                                   5   foreclosure of Debtor’s Residences; and (16) corresponded and conferred regarding asset disposition

                                                                   6   issues.

                                                                   7             During the First Interim Period, the Firm expended 29.40 hours on this category. The

                                                                   8   amount of fees attributable to this matter is $24,633.00.

                                                                   9        iii.        Appeals
                                                                  10             Time billed to this category relates to appellate matters.

                                                                  11             During the First Interim Period, the Firm, among other things: (1) performed work regarding
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                                                                  12   correspondence to the Clerk of the Ninth Circuit Court of Appeals; (2) reviewed and analyzed the
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Debtors’ opposition to ex parte application to sell Encino Corporate Plaza; (3) reviewed and
                                           ATTORNEYS AT LAW




                                                                  14   analyzed issues regarding the Roosevelt Loft matter; and (4) corresponded regarding appellate

                                                                  15   issues.

                                                                  16             During the First Interim Period, the Firm expended 0.70 hours on this category. The amount

                                                                  17   of fees attributable to this matter is $699.50.

                                                                  18        iv.         Bankruptcy Litigation
                                                                  19             Time billed to this category relates to the various litigation issues arising in these cases.

                                                                  20             During the First Interim Period, the Firm, among other things: (1) reviewed and analyzed

                                                                  21   case background pleadings; (2) prepared for and attended a hearing on September 19, 2016 on a

                                                                  22   motion to withdraw reference; (3) performed work regarding Bankruptcy Rule 2004 applications

                                                                  23   relating to Pacific Western Bank and the Rexford and Chalette Properties: (4) prepared for and

                                                                  24   attended a hearing on October 11, 2016 on the motion to approve consent and waiver agreement

                                                                  25   relating to Oklahoma property; (5) performed work regarding an order approving waiver and consent

                                                                  26   agreement; (6) performed work regarding orders compelling production of documents and

                                                                  27   examinations of witnesses; (7) performed work regarding the ISO Bankruptcy Rule 2004 motion; (8)

                                                                  28   performed work regarding exhibits, notices and declarations relating to Bankruptcy Rule 2004

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                                                                   1   motions; (9) attended to issues regarding the inclusion of Parinaz Yashouafar among parties to be

                                                                   2   examined and required to produce documents; (10) performed work regarding order related to the

                                                                   3   stipulation concerning JCBL Trust; (11) performed work regarding subpoenas related to Bankruptcy

                                                                   4   Rule 2004 motion; (12) reviewed and analyzed issues regarding “badges of fraud” related to transfer

                                                                   5   of the Residences; (13) reviewed and analyzed issues regarding control of non-Debtor affiliates; (14)

                                                                   6   performed work regarding a Bankruptcy Rule 2004 motion related to Coldwell Banker; (15)

                                                                   7   performed work regarding a Bankruptcy Rule 2004 motion related to the Debtors’ children; (16)

                                                                   8   reviewed and analyzed discovery issues related to the Debtors’ families; (17) attended to issues

                                                                   9   regarding document production and deposition dates; (18) performed work regarding an order

                                                                  10   related to production of documents by Tri Center Corporation; (19) performed work regarding a

                                                                  11   second Bankruptcy Rule 2004 motion related to the Debtors’ children and Illulian; (20) performed
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                                                                  12   research regarding Bankruptcy Rule 2004 motions; (21) performed research regarding fraudulent
                                        LOS ANGELES, CALIFORNIA




                                                                  13   transfer and foreclosure issues; (22) reviewed and analyzed the Rexford foreclosure process; (23)
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                                                                  14   reviewed and analyzed issues regarding inaccurate statement of amount due in notice of foreclosure

                                                                  15   sale; (24) reviewed and analyzed documents related to the Chalette and Rexford Properties; (25)

                                                                  16   performed work regarding the Coldwell Banker document production; (26) reviewed and analyzed

                                                                  17   documents produced by Coldwell Banker; (27) performed work regarding service of entered

                                                                  18   Bankruptcy Rule 2004 orders; (28) performed research regarding foreclosure and title issues; (29)

                                                                  19   performed work regarding a Bankruptcy Rule 2004 motion related to P. Nourafsham; (30) performed

                                                                  20   work regarding Bankruptcy Rule 2004 motions related to Citivest Financial, E. Mazzarino, R.M.

                                                                  21   Sandoval, and Fieldbrook; (31) reviewed and analyzed potential causes of action related to

                                                                  22   foreclosure of Residences; (32) attended to issues regarding the Pacific Western Bank document

                                                                  23   production, and reviewed and analyzed document production by Pacific Western Bank; (33)

                                                                  24   performed wok regarding a motion to extend the time to file nondischargeability complaint; (34)

                                                                  25   reviewed and analyzed a second production of documents by Pacific Western Bank; (35) reviewed

                                                                  26   and analyzed documents produced by Citivest; (36) reviewed and analyzed the Debtors’ opposition

                                                                  27   to motions to withdraw the reference regarding the Abselet non-dischargeability complaint; (37)

                                                                  28   attended to issues regarding the Reliable document production; (38) reviewed and analyzed

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                                                                   1   discovery responses relating to Fieldbrook and Elkwood; (39) reviewed and analyzed Reliable and

                                                                   2   Elkwood documents; (40) reviewed and analyzed RLI and APII Stock levy issues; (41) reviewed and

                                                                   3   analyzed stock lien perfection issues; (42) performed work regarding a response to Abselet’s

                                                                   4   Bankruptcy Rule 2004 motion for the examination of J. & P. Nourafsham; (43) performed work

                                                                   5   regarding a reply related to Sina Bankruptcy Rule 2004 motion and Debtors’ objection regarding

                                                                   6   privilege defense; (44) performed research regarding encumbering of APII and RLI Stock and

                                                                   7   foreclosure of Rexford Property; (45) reviewed and analyzed updated Reliable document production

                                                                   8   and missing document issues; (46) attended to settlement issues relating to Abselet; (47) attended to

                                                                   9   litigation strategy issues; (48) drafted a complaint to avoid sales of APII and RLI Stock and recover

                                                                  10   the Stock interests; (49) reviewed and analyzed Oklahoma lawsuits and motions for summary

                                                                  11   judgment; (50) drafted a motion for summary judgment regarding APII and RLI Stock foreclosures;
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                                                                  12   (51) prepared for the Thelma Guerrero deposition; (52) reviewed and analyzed deposition transcripts
                                        LOS ANGELES, CALIFORNIA




                                                                  13   regarding ownership and transfer of ownership of the First National Center; (53) reviewed and
                                           ATTORNEYS AT LAW




                                                                  14   analyzed documents in preparation for the deposition of Jack Nourafsham; (54) performed work

                                                                  15   regarding exhibits to declaration in support of motion for summary judgment relating to Abselet lien

                                                                  16   avoidance; (55) prepared for and attended hearings on discovery motions; (56) reviewed and

                                                                  17   summarized depositions and motions for summary judgment; (57) reviewed and analyzed the

                                                                  18   Abselet motion to withdraw reference; (58) performed work regarding an opposition to Abselet

                                                                  19   motion to withdraw the reference; (59) reviewed and analyzed the Abselet reply to opposition to

                                                                  20   motion to withdraw reference related to stock sale avoidance litigation; (60) drafted a complaint to

                                                                  21   avoid Rexford Property transfer; (61) reviewed and analyzed issues regarding the Massoud, Neiman

                                                                  22   and Barlava deposition transcripts; (62) reviewed and analyzed issues regarding defective

                                                                  23   foreclosure; (63) reviewed and analyzed issues regarding the assignment of Chalette deed of trust

                                                                  24   and note; (64) prepared for and conducted the deposition of Jack Nourafshan; (65) reviewed and

                                                                  25   analyzed statute of limitations issues related to action to avoid foreclosure; (66) reviewed and

                                                                  26   analyzed the Jack Nourafshan deposition transcript; (67) reviewed and analyzed issues regarding

                                                                  27   Chalette transfers and quiet title; (68) performed work regarding a notice of lis pendens; (69)

                                                                  28   performed work regarding a chronology of events relating to the Rexford and Chalette Properties;

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                                                                   1   (70) attended to issues regarding a supplemental objection to motion to withdraw reference; (71)

                                                                   2   performed research regarding assignment of notes and deeds of trust; (72) reviewed and analyzed the

                                                                   3   Abselet motion to dismiss adversary complaint relating to APII and RLI Stock; (73) reviewed and

                                                                   4   analyzed issues regarding avoidability of failed execution of stock; (74) performed research

                                                                   5   regarding extent of trustee powers under Section 544(a); (75) reviewed and analyzed estoppel issues;

                                                                   6   (76) performed work regarding a joint status report in the Abselet matter; (77) performed research

                                                                   7   regarding opposition to motion to dismiss RLI Stock complaint and drafted an objection to motion to

                                                                   8   dismiss; (78) performed work regarding a Bankruptcy Rule 2004 motion regarding Levene Neale;

                                                                   9   (79) reviewed and analyzed issues regarding Elkwood complaint amendments; (80) performed work

                                                                  10   regarding negotiations related to Elkwood; (81) reviewed and analyzed a settlement offer from Jack

                                                                  11   Nourafshan; (82) revised the Rexford/Chalette complaint against Nourafshan; (83) performed
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                                                                  12   research and revised the amended Rexford/Chalette complaint; (84) reviewed and analyzed issues
                                        LOS ANGELES, CALIFORNIA




                                                                  13   regarding spitting obligations relating to notes and deeds of trust; (85) reviewed and analyzed issues
                                           ATTORNEYS AT LAW




                                                                  14   regarding standard for recovery of avoided transactions; (86) performed research regarding

                                                                  15   avoidance of irrevocable trust; (87) performed work regarding a complaint to revoke JCBL trust;

                                                                  16   (88) performed work regarding a proposed statement of decision relating to the Abselet motion to

                                                                  17   withdraw reference; (89) reviewed and analyzed documents and deposition transcript regarding

                                                                  18   transfers out of JCBL trust by J. Yashouafar; (90) performed work regarding a mediation statement

                                                                  19   in the Abselet matter; (91) attended to issues regarding documents produced by Reliable Properties;

                                                                  20   (92) reviewed and analyzed deposition transcript from Abselet examination of Jack Nourafshan; (93)

                                                                  21   reviewed and analyzed the Nourafshan supplemental production of documents; (94) reviewed and

                                                                  22   analyzed the Ed Mazzarino deposition transcript; (95) prepared for and attended a hearing on motion

                                                                  23   to withdraw reference; (96) reviewed and analyzed order withdrawing reference in the Abselet

                                                                  24   matter; (97) performed work regarding a common interest agreement relating to Abselet; (98)

                                                                  25   performed work regarding a motion to approve Abselet compromise; (99) performed work regarding

                                                                  26   the status report for the Elkwood adversary; (100) prepared for and telephonically attended a status

                                                                  27   conference in the Oklahoma matter; (101) reviewed and analyzed a motion to dismiss the Elkwood

                                                                  28   complaint; (102) reviewed and analyzed documents produced by Levene Neale; (103) performed

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                                                                   1   work regarding an opposition to Elkwood motion to dismiss; (104) performed work regarding a

                                                                   2   stipulation to continue Elkwood status conference; (105) reviewed and analyzed issues regarding

                                                                   3   foreclosure without ability to enforce note; (106) reviewed and analyzed answer to JCBL trust

                                                                   4   complaint; (107) performed work regarding a status report in the JCBL matter; (108) performed

                                                                   5   work regarding a Bankruptcy Rule 9019 motion relating to the Abselet settlement; (109) reviewed

                                                                   6   and analyzed the Elkwood reply regarding opposition to motion to dismiss; (110) reviewed and

                                                                   7   analyzed issues regarding Bankruptcy Rule 9019 objections and responses; (111) performed work

                                                                   8   regarding reply to settlement objections relating to the Abselet matter; (112) performed research and

                                                                   9   prepared responses to evidentiary objections relating to motion to approve settlement; (113)

                                                                  10   performed work regarding a stipulation concerning status conference relating to APII District Court

                                                                  11   litigation; (114) performed work regarding an amended Elkwood complaint; (115) reviewed and
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                                                                  12   analyzed the tentative ruling regarding settlement and motion to dismiss; (116) prepared for and
                                        LOS ANGELES, CALIFORNIA




                                                                  13   attended a hearing on the motion to approve Abselet settlement; (117) prepared for and appeared at
                                           ATTORNEYS AT LAW




                                                                  14   hearings on April 18, 2017 regarding the distribution of RLI funds, and on August 28, 2017 on the

                                                                  15   motion to dismiss Elkwood complaint; (118) reviewed and analyzed the Barlava claims to Roosevelt

                                                                  16   Lofts and Oklahoma proceeds; (119) reviewed and analyzed issues regarding effect of tendering

                                                                  17   deed after foreclosure sale and reviewed and analyzed validity of Elkwood and Fieldbrook

                                                                  18   foreclosures; (120) performed work regarding a motion for leave to amend Elkwood complaint;

                                                                  19   (121) reviewed and analyzed Elkwood and Fieldbrook claims; (122) reviewed and analyzed

                                                                  20   enforcement of Elkwood quiet title claim; (123) performed work regarding a stipulation to continue

                                                                  21   time for filing status report in the Abselet state court action; (124) performed work regarding a

                                                                  22   motion to compel the Debtors to turn over documents to the Trustee; (125) performed work

                                                                  23   regarding an order approving abandonment of assets; (126) prepared for and attended a hearing on

                                                                  24   September 19, 2017 on motions to dismiss and approve Abselet settlement; (127) performed

                                                                  25   research regarding property rights and fraudulent transfer issues related to JCBL trust; (128)

                                                                  26   reviewed and analyzed issues regarding amending trust and fraudulent transfer; (129) reviewed and

                                                                  27   analyzed the opinion regarding the motion to dismiss Elkwood complaint; (130) performed work

                                                                  28   regarding the Chase Bankruptcy Rule 2004 motion; (131) performed work regarding a second

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                                                                   1   amended Elkwood complaint in response to Court order regarding motion to dismiss; (132)

                                                                   2   performed work regarding a stipulation and order relating to dismissal of action concerning

                                                                   3   avoidance of RLI Stock execution; (133) prepared for and attended a hearing on the motion to

                                                                   4   withdraw of counsel in the JCBL action and status conference; (134) performed work regarding a

                                                                   5   motion for summary judgment in the JCBL matter; (135) performed work regarding declarations and

                                                                   6   a statement of undisputed facts related to motion for summary judgment in the JCBL matter; (136)

                                                                   7   performed work regarding a stipulation to extend the time to answer amended Elkwood complaint;

                                                                   8   (137) performed work regarding a request for notice relating to Rexford Property; (138) performed

                                                                   9   work regarding a subpoena for Thelma Guerreo regarding Elkwood litigation; (139) performed work

                                                                  10   regarding proposed findings of fact and conclusions of law relating to motion for summary

                                                                  11   judgment; (140) reviewed and revised motion to compel turnover of Debtor information; (141)
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                                                                  12   reviewed and analyzed tax issues relating to JCBL trust; (142) performed work regarding
                                        LOS ANGELES, CALIFORNIA




                                                                  13   stipulations for Citivest and Quality Loan disclaiming any interest in the Rexford and Chalette
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                                                                  14   Properties; (143) reviewed and analyzed the Abselet answer to amended complaint; (144) reviewed

                                                                  15   and analyzed a motion to dismiss second amended complaint relating to Rexford and Chalette

                                                                  16   Properties; (145) performed research regarding the Elkwood motion to dismiss; (146) reviewed and

                                                                  17   analyzed issues regarding promissory notes, mortgage note assignment and use of parol evidence;

                                                                  18   (147) performed work regarding an opposition to Elkwood motion to dismiss; (148) performed work

                                                                  19   regarding a stipulation to continue Elkwood motion to dismiss; (149) reviewed and analyzed the

                                                                  20   Abselet complaint for quiet title and performed work regarding an answer; (150) performed work

                                                                  21   regarding a joint statement regarding withdrawal of reference motion by Abselet; (151) performed

                                                                  22   work regarding an interested party disclosure for the Abselet Elkwood action; (152) performed work

                                                                  23   regarding a joint status report for Abselet Elkwood litigation; (153) reviewed and analyzed the

                                                                  24   Elkwood opposition to motion to withdraw reference; (154) reviewed and analyzed authorities cited

                                                                  25   in the Elkwood motion to dismiss filed in the District Court action; (155) attended to issues

                                                                  26   regarding the objection to withdraw reference for Elkwood action and motion to dismiss District

                                                                  27   Court Elkwood action; (156) drafted a stipulation regarding Quality Loans participation in the

                                                                  28   Elkwood proceeding; (157) performed research regarding a reply in support of motion for summary

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                                                                   1   judgment; (158) performed work regarding evidentiary objections related to reply in support of

                                                                   2   summary judgment motion concerning JCBL Trust; (159) drafted a request for judicial notice in

                                                                   3   support of summary judgment motion; (160) reviewed and analyzed the objection filed by Abselet

                                                                   4   regarding Elkwood motion to dismiss District Court action, motion to stay, and motion to withdraw

                                                                   5   reference; (161) drafted a stipulation dismissing Elkwood action relating to Chase; (162) prepared

                                                                   6   for and participated in the deposition of Thelma Guerrero; (163) reviewed and analyzed Thelma

                                                                   7   Guerrero deposition transcript; (164) reviewed and analyzed Section 341 hearing transcript in

                                                                   8   preparation for hearing on JCBL summary judgment motion; (165) reviewed and analyzed the

                                                                   9   Court’s tentative ruling on JCBL summary judgment motion; (166) reviewed and analyzed the

                                                                  10   District Court order staying Abselet quiet title action and regarding Abselet motion to withdraw

                                                                  11   reference; (167) prepared for and attended a hearing on February 12, 2018 regarding the motion for
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                                                                  12   summary judgment; (168) reviewed and analyzed the FNC discovery related request; (169) reviewed
                                        LOS ANGELES, CALIFORNIA




                                                                  13   and analyzed the Elkwood reply regarding motion to dismiss and drafted a response; (170) reviewed
                                           ATTORNEYS AT LAW




                                                                  14   and analyzed a joint privilege memorandum related to Elkwood litigation; (171) reviewed and

                                                                  15   analyzed the Court’s tentative ruling on the Elkwood motion to dismiss second amended complaint;

                                                                  16   (172) prepared for and attended a hearing on February 27, 2018 on the Elkwood motion to dismiss;

                                                                  17   (173) reviewed and revised the complaint in the Elkwood matter in response to Court’s ruling; (174)

                                                                  18   performed work regarding a Third Amended Complaint in the Elkwood matter; (175) drafted a

                                                                  19   stipulation to stay the JCBL litigation; (176) performed work regarding a settlement agreement

                                                                  20   resolving the JCBL litigation; (177) reviewed and analyzed the deposition stipulation between

                                                                  21   Abselet and Yashouafars; (178) performed work regarding a status report for the Elkwood

                                                                  22   proceeding; (179) reviewed and analyzed issues regarding right to jury trial in the Elkwood matter;

                                                                  23   (180) reviewed and analyzed the memorandum decision relating to the JCBL summary judgment

                                                                  24   motion; (181) reviewed and analyzed the answer to Elkwood complaint and counterclaim; (182)

                                                                  25   performed work regarding an answer to the Elkwood counterclaim; (183) performed work regarding

                                                                  26   a summary judgment motion in the Elkwood matter; (184) prepared for and attended a Rule 26(f)

                                                                  27   conference with representatives of Elkwood and Abselet parties; (185) attended to discovery issues

                                                                  28   in the Elkwood matter; (186) prepared for and attended a status conference on May 1, 2018

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                                                                   1   regarding the Elkwood adversary proceeding; (187) performed work regarding initial disclosures for

                                                                   2   Elkwood proceedings; (188) performed work regarding a response to Elkwood document request;

                                                                   3   (189) performed work regarding a summary judgment scheduling order; (190) attended to issues

                                                                   4   regarding witnesses for the Elkwood matter; (191) drafted a summary judgment motion in the

                                                                   5   Elkwood matter; (192) performed work regarding responses to Elkwood interrogatories; (193)

                                                                   6   reviewed and analyzed Pacific Western Bank documents; (194) performed work regarding the

                                                                   7   Massoud deposition notice; (195) performed work regarding an order for turnover of JCBL funds;

                                                                   8   (196) reviewed and analyzed documents produced by Massoud; (197) prepared for and attended the

                                                                   9   deposition of Massoud; (198) reviewed and analyzed issues regarding interpretation of contracts in

                                                                  10   California; (199) reviewed and analyzed the Massoud deposition transcript; (200) reviewed and

                                                                  11   analyzed the Elkwood summary judgment motion and performed work regarding an objection; (201)
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                                                                  12   prepared answer to Elkwood counter claims; (202) reviewed and analyzed Abselet objection to
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Elkwood summary judgment motion; (203) reviewed and analyzed Elkwood opposition to Trustee’s
                                           ATTORNEYS AT LAW




                                                                  14   motion for summary judgment; (204) performed work regarding a reply to Elkwood’s objection to

                                                                  15   summary judgment motion; (205) reviewed and analyzed Abselet counterclaims; (206) reviewed and

                                                                  16   analyzed appraisal regarding Rexford Property; (207) reviewed and analyzed issues regarding

                                                                  17   enforcement of deeds of trust without underlying right; (208) reviewed and analyzed the Elkwood

                                                                  18   motion to dismiss regarding Abselet claims; (209) prepared for and attended a status conference on

                                                                  19   October 10, 2018 regarding the Elkwood litigation; (210) reviewed and analyzed the Elkwood reply

                                                                  20   to Abselet objection to motion to dismiss; and (211) corresponded and conferred regarding

                                                                  21   bankruptcy litigation issues.

                                                                  22                 During the First Interim Period, the Firm expended 1,186.50 hours on this category5. The

                                                                  23   amount of fees attributable to this matter is $893,365.00.

                                                                  24            v.          Case Administration
                                                                  25              Time billed to this category primarily relates to case administration issues and miscellaneous

                                                                  26   case matters that are not easily classified within any other specific categories. During the First

                                                                  27   Interim Period, the Firm, among other things: (1) reviewed and analyzed case background issues

                                                                  28   5
                                                                           The BL category includes 16.1 hours of uncategorized time in the attached April 2017 bill.
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                                                                   1   and documents; (2) attended to case strategy issues; (3) maintained a memorandum of critical dates;

                                                                   2   (4) maintained service lists; (5) maintained document control; (6) performed work regarding a joint

                                                                   3   administration motion; (7) prepared for and attended an initial debtor’s interview on September 23,

                                                                   4   2016; (8) performed work regarding a motion related to Oklahoma sale; (9) performed work

                                                                   5   regarding motions to limit notice; (10) prepared for and attended a Section 341(a) meeting on

                                                                   6   October 19, 2016 regarding Massoud; (11) performed work regarding a motion to abandon interests

                                                                   7   in Encino Corporate Plaza; (12) attended to issues regarding a motion to convert case; (13)

                                                                   8   performed work regarding an order limiting notice; (14) performed work regarding a reply to

                                                                   9   opposition to motion to abandon interests in Encino Corporate Plaza; (15) prepared for and attended

                                                                  10   continued Section 341(a) meetings on November 8, 2016 regarding Massoud and Solyman; (16)

                                                                  11   attended to issues regarding a possible global settlement; (17) prepared for and attended a hearing on
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                                                                  12   November 15, 2016 regarding the motion to abandon interests in Encino Corporate Plaza; (18)
                                        LOS ANGELES, CALIFORNIA




                                                                  13   performed work regarding an abandonment order; (19) performed work regarding a stipulation and
                                           ATTORNEYS AT LAW




                                                                  14   order to continue hearing on motion to convert; (20) prepared for and met with the client regarding

                                                                  15   case status and settlement options; (21) prepared for and met with counsel for Abselet regarding case

                                                                  16   overview and strategy issues; (22) reviewed and analyzed issues regarding certificated securities law

                                                                  17   perfection, judgment, and levy issues; (23) prepared for and attended a meeting with the Trustee and

                                                                  18   Debtors’ representatives regarding settlement issues; (24) performed work regarding pro hac vice

                                                                  19   applications; (25) performed work regarding a statement to the Oklahoma District Court regarding

                                                                  20   status of bankruptcy cases; (26) performed work regarding a status report; (27) performed work

                                                                  21   regarding a notice of continued status conference; (28) attended to mediation issues; (29) performed

                                                                  22   work regarding a motion for leave to appear at Oklahoma status conference without local counsel;

                                                                  23   (30) performed work regarding a Second status conference report; (31) performed work regarding a

                                                                  24   notice of withdrawal of conversion motion; (32) drafted a response to District Court Order to Show

                                                                  25   Cause regarding contempt; (33) prepared for and attended a status conference on May 30, 2017; (34)

                                                                  26   reviewed and analyzed the Committee’s opposition to motion to convert case to Chapter 7; (35)

                                                                  27   prepared for and attended a hearing on July 25, 2017 on the motion to convert; (36) performed work

                                                                  28   regarding a notice of abandonment relating to post-petition earnings; (37) drafted a Third case status

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                                                                   1   report; (38) performed work regarding a motion to compel the Debtors to provide information

                                                                   2   necessary to case administration; (39) attended to issues regarding the Debtors’ whole life insurance

                                                                   3   policies; (40) attended to issues regarding United States Trustee fees; (41) performed work regarding

                                                                   4   a stay relief stipulation in the Zokai matter; (42) reviewed and analyzed the Abselet settlement

                                                                   5   agreement regarding issues relating to waterfall allocation among the parties; and (43) conferred and

                                                                   6   corresponded regarding case administration issues.

                                                                   7           During the First Interim Period, the Firm expended 159.40 hours on this category6. The

                                                                   8   amount of fees attributable to this matter is $125,720.50.

                                                                   9        vi.         Claims Administration/Objection
                                                                  10           Time billed to this category relates to matters concerning the administration of claims against

                                                                  11   the Debtors’ Estates and claim objections. During the First Interim Period, the Firm, among other
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                                                                  12   things: (1) reviewed and analyzed documents relating to petitioning creditors’ claims; (2) reviewed
                                        LOS ANGELES, CALIFORNIA




                                                                  13   and analyzed issues regarding a class action suit related to Paradise Spa; (3) reviewed and analyzed
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                                                                  14   issues regarding the Edmond Lavi claim; (4) reviewed and analyzed issues regarding the Debtors’

                                                                  15   exemption claims; (5) reviewed and analyzed the Barlava non-dischargeability complaint; (6)

                                                                  16   reviewed and analyzed schedules and an appraisal summary regarding Debtor’s exemption claims;

                                                                  17   (7) reviewed and analyzed the U.S. Bank claim; (8) performed research regarding avoidability of

                                                                  18   foreclosure and effect on related liens; (9) performed work regarding settlement of the Abselet

                                                                  19   claims; (10) responded to creditor inquiries; (11) reviewed and analyzed pleadings and documents

                                                                  20   regarding Abselet foreclosure on APII and RLI Stock; (12) reviewed and analyzed issues regarding

                                                                  21   Barlava claims; (13) reviewed and analyzed the Abselet judgment and performed research regarding

                                                                  22   entitlement to judgment enforcement fees; (14) reviewed and analyzed issues regarding the Abselet

                                                                  23   claims; (15) performed work regarding a claims bar date motion; (16) reviewed and analyzed

                                                                  24   documents relating to the claim of Sina Abselet; (17) reviewed and analyzed the DMARC proof of

                                                                  25   claim; (18) reviewed and analyzed the validity of the DMARC judgment liens; (19) attended to

                                                                  26   issues regarding mediation of Abselet claims; (20) performed work regarding a mediation brief in

                                                                  27
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                                                                        The Case Administration category includes a small amount of time listed in the attached bill for September 2016 in the
                                                                  28   General Creditors Committee category.
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                                                                   1   the Abselet matter; (21) prepared for and attended the Abselet mediation on June 3, 2017; (22)

                                                                   2   performed work regarding a settlement agreement with Abselet and motion to approve settlement

                                                                   3   agreement; (23) reviewed and analyzed objections to the proposed settlement with Abselet; (24)

                                                                   4   reviewed and analyzed Massoud amendment to schedules; (25) reviewed and analyzed trust and

                                                                   5   insurance policies, and effect of exemption on insurance policies and spendthrift trusts; (26)

                                                                   6   performed work regarding revisions to the Abselet settlement agreement; (27) attended to issues

                                                                   7   regarding reservation of rights related to Abselet settlement; (28) reviewed and analyzed issues

                                                                   8   regarding spendthrift trusts; (29) performed work regarding an order approving Abselet settlement;

                                                                   9   (30) performed work regarding a claim review; (31) reviewed and analyzed tax documents; and (32)

                                                                  10   corresponded and conferred regarding claim issues.

                                                                  11           During the First Interim Period, the Firm expended 85.00 hours on this category. The
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                                                                  12   amount of fees attributable to this matter is $75,390.00.
                                        LOS ANGELES, CALIFORNIA




                                                                  13        vii.        Compensation of Professionals
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                                                                  14           This category includes time related to compensation of the Firm. During the First Interim

                                                                  15   Period, the Firm, among other things: (1) performed work regarding an order employing the Firm;

                                                                  16   (2) performed work relating to its First interim fee application; and (3) corresponded and conferred

                                                                  17   regarding compensation of professionals issues.

                                                                  18           During the First Interim Period, the Firm expended 2.90 hours on this category. The amount

                                                                  19   of fees attributable to this matter is $1,597.50.

                                                                  20       viii.        Financial Filings
                                                                  21           This category includes time related to compliance with reporting requirements. During the

                                                                  22   First Interim Period, the Firm, among other things: (1) reviewed and analyzed the Debtors’

                                                                  23   schedules and statements; (2) performed work regarding a request for documents and information

                                                                  24   from the Debtors; (3) performed work regarding monthly operating reports; (4) reviewed and

                                                                  25   analyzed the Debtor’s exemption claims; (5) performed work regarding a stipulation to continue

                                                                  26   deadline to respond to Debtors’ claim exemptions; (6) reviewed and analyzed schedules regarding

                                                                  27   secured claim issues; and (7) corresponded and conferred regarding financial filings issues.

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                                                                   1           During the First Interim Period, the Firm expended 7.40 hours on this category. The amount

                                                                   2   of fees attributable to this matter is $3,296.50.

                                                                   3        ix.         Financing
                                                                   4           This category includes time related to Debtor in Possession financing and use of cash

                                                                   5   collateral issues, and other financing issues. During the First Interim Period, the Firm, among other

                                                                   6   things, reviewed and analyzed refinancing issues related to Encino Corporate Plaza.

                                                                   7           During the First Interim Period, the Firm expended 2.00 hours on this category. The amount

                                                                   8   of fees attributable to this matter is $1,990.00.

                                                                   9         x.         General Business Advice
                                                                  10           Time billed to this category relates to general business advice. During the First Interim

                                                                  11   Period, the Firm, among other things, reviewed and analyzed foreclosure issues.
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                                                                  12           During the First Interim Period, the Firm expended 1.00 hours on this category. The amount
                                        LOS ANGELES, CALIFORNIA




                                                                  13   of fees attributable to this matter is $995.00.
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                                                                  14        xi.         Litigation (Non-Bankruptcy)
                                                                  15           This category includes time related to work on State Court and other non-Bankruptcy Court

                                                                  16   litigation. During this period, the Firm, among other things: (1) reviewed and analyzed the Carla

                                                                  17   Ridge complaint; (2) reviewed and analyzed issues regarding the Barlava/Roosevelt Lofts litigation;

                                                                  18   (3) reviewed and analyzed pleadings and discovery in the Oklahoma litigation; (4) performed

                                                                  19   research; (5) performed work regarding a notice of withdrawal of appeal in the Abselet versus

                                                                  20   Alliance matter; (6) performed work regarding a response to receiver’s emergency application for

                                                                  21   relief; (7) reviewed and analyzed pleadings filed in the Oklahoma Action regarding parties’

                                                                  22   positions, issues framed, evidence presented and court rulings; (8) reviewed and analyzed issues

                                                                  23   regarding a First amended complaint in the Carla Ridge matter; (9) performed research regarding a

                                                                  24   Los Angeles Superior Court action and regarding rules for the Western District of Oklahoma; (10)

                                                                  25   reviewed and analyzed rulings on motions for summary judgment in the Oklahoma litigation; (11)

                                                                  26   performed work regarding a trial brief in the Oklahoma litigation; and (12) conferred and

                                                                  27   corresponded regarding non-bankruptcy litigation issues.

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                                                                   1              During the First Interim Period, the Firm expended 9.80 hours on this category. The amount

                                                                   2   of fees attributable to this matter is $6,485.50.

                                                                   3        xii.         Plan & Disclosure Statement
                                                                   4              Time billed to this category relates to the plan and disclosure statement drafting and approval

                                                                   5   process. During the First Interim Period, the Firm, among other things, reviewed and analyzed

                                                                   6   issues regarding a plan.

                                                                   7              During the First Interim Period, the Firm expended 0.40 hours on this category. The amount

                                                                   8   of fees attributable to this matter is $407.00.

                                                                   9       xiii.         Retention of Professionals
                                                                  10              Time billed to this category relates primarily to retention of the Firm. During the First

                                                                  11   Interim Period, the Firm, among other things: (1) performed work regarding its retention
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                                                                  12   application; (2) performed research regarding potential conflicts; (3) performed work regarding
                                        LOS ANGELES, CALIFORNIA




                                                                  13   exhibits to its retention application; (4) performed work regarding the Coldwell Banker matter; and
                                           ATTORNEYS AT LAW




                                                                  14   (5) conferred and corresponded regarding retention of professionals issues.

                                                                  15              During the First Interim Period, the Firm expended 13.90 hours on this category7. The

                                                                  16   amount of fees attributable to this matter is $7,582.00.

                                                                  17       xiv.          Retention of Professionals/Others
                                                                  18              Time billed to this category relates to retention of professionals, other than the Firm. During

                                                                  19   the First Interim Period, the Firm, among other things: (1) performed work regarding the application

                                                                  20   to employ Coldwell Banker as broker for the sale of Rowland Heights property; (2) performed work

                                                                  21   regarding the application to employ BRG as accounts; (3) performed work regarding the application

                                                                  22   to employ VanHorn as auctioneer for sale of property at Encino and Beverly Hills Residences; (4)

                                                                  23   performed work regarding the retention of Coldwell Banker and BHHS Troth as co-brokers for the

                                                                  24   sale of Lancaster properties; and (5) conferred and corresponded regarding retention of professionals

                                                                  25   issues.

                                                                  26

                                                                  27
                                                                       7
                                                                        A small amount of time in the RP category in the attached January 2017 bill relates to the retention of Coldwell Banker,
                                                                  28   and in the attached March 2018 bill relates to appraiser retention.
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                                                                   1           During the First Interim Period, the Firm expended 25.70 hours on this category. The

                                                                   2   amount of fees attributable to this matter is $8,512.50.

                                                                   3        xv.          Relief from Stay/Stay Litigation
                                                                   4           Time billed to this category relates to the automatic stay and relief from stay matters. During

                                                                   5   the First Interim Period, the Firm, among other things: (1) reviewed and analyzed issues regarding a

                                                                   6   status conference relating to Abselet’s motion for relief from stay; (2) performed work regarding a

                                                                   7   stipulation to continue hearing on the Abselet motion; (3) prepared for and attended a hearing on

                                                                   8   September 27, 2016 regarding the Abselet relief from stay motion; (4) reviewed and analyzed

                                                                   9   Debtors’ opposition to Abselet Section 543 motion; (5) prepared for and attended a hearing on

                                                                  10   October 25, 2016 on the Abselet Section 543 motion; (6) reviewed and analyzed the Pakravan

                                                                  11   motion for relief from stay; (7) prepared for and attended a telephonic hearing on October 26, 2016
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                                                                  12   regarding the form of order on the Abselet Section 543 motion; (8) reviewed and analyzed a motion
                                        LOS ANGELES, CALIFORNIA




                                                                  13   for relief from stay relating to BMW; (9) reviewed and analyzed issues regarding the order on the
                                           ATTORNEYS AT LAW




                                                                  14   Abselet relief from stay motion; (10) reviewed and analyzed the Paradise Spa Owners Association

                                                                  15   relief from stay motion and the Debtors’ opposition to such motion; (11) attended to issues regarding

                                                                  16   a relief from stay request relating to Lancaster property; (12) reviewed and analyzed the Elkwood

                                                                  17   relief from stay motion; (13) performed research and drafted an objection to the Elkwood relief from

                                                                  18   stay motion; (14) reviewed and analyzed statute of limitations issues; (15) reviewed and analyzed the

                                                                  19   tentative decision regarding the Elkwood relief from stay motion; (16) prepared for and attended a

                                                                  20   hearing on June 5, 2018 on the Elkwood relief from stay motion; and (17) corresponded and

                                                                  21   conferred regarding relief from stay issues.

                                                                  22              During the First Interim Period, the Firm expended 55.90 hours on this category. The

                                                                  23   amount of fees attributable to this matter is $48,245.00.

                                                                  24       xvi.          Settlement
                                                                  25              Time billed to this category relates to work regarding settlement issues. During the First

                                                                  26   Interim Period, the Firm, among other things: (1) performed work regarding a Bankruptcy Rule

                                                                  27   9019 motion to approve settlement agreement in the Abselet matter; (2) negotiated with Abselet

                                                                  28   regarding the form of the settlement agreement; (3) performed work regarding an order approving

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                                                                   1   settlement; (4) performed work regarding the declaration of the Trustee in support of proposed

                                                                   2   settlement; (5) performed work regarding an assignment agreement relating to partnership interests;

                                                                   3   (6) reviewed and analyzed objections to proposed settlement and performed work regarding a reply

                                                                   4   to objections; (7) performed work regarding a supplemental notice relating to a continued hearing on

                                                                   5   the settlement motion; (8) performed work regarding a notice of amendment to settlement

                                                                   6   agreement; (9) performed work regarding the JCBL settlement motion; (10) performed work

                                                                   7   regarding an accounting waterfall analysis of distribution of funds under the Abselet settlement; and

                                                                   8   (11) conferred and corresponded regarding settlement issues.

                                                                   9              During the First Interim Period, the Firm expended 54.50 hours on this category. The

                                                                  10   amount of fees attributable to this matter is $38,180.50.

                                                                  11         xvii.         Tax Issues
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                                                                  12              Time billed to this category relates to tax issues. During the First Interim Period, the Firm,
                                        LOS ANGELES, CALIFORNIA




                                                                  13   among other things: (1) reviewed and analyzed background facts regarding tax issues; (2) reviewed
                                           ATTORNEYS AT LAW




                                                                  14   and analyzed issues regarding tax liability related to foreclosure; (3) reviewed and analyzed the

                                                                  15   opposition to motion to abandon Encino Corporate Plaza partnership interests; and (4) corresponded

                                                                  16   and conferred regarding tax issues.

                                                                  17              During the First Interim Period, the Firm expended 1.40 hours on this category. The amount

                                                                  18   of fees attributable to this matter is $1,393.00.

                                                                  19        xviii.         Detailed Listing of all Time Spent by the Professional on the Matters for Which
                                                                                           Compensation is Sought [LBR 2016-1(a)(1)(E), (G) and (I)]
                                                                  20
                                                                                  Exhibit “A” contains a summary, by category, of the Firm’s services and expenses in these
                                                                  21
                                                                       cases that were incurred during the First Interim Period. Such summary includes the time spent, rate
                                                                  22
                                                                       and billing attributable to each person who performed compensable services for the Debtor.
                                                                  23
                                                                       Exhibit “C” contains the Firm’s detailed time records during the First Interim Period.
                                                                  24
                                                                       B.         List of Expenses by Category [LBR 2016-1(a)(1)(F)]
                                                                  25
                                                                                  The Firm advanced costs in the amount of $74,768.498. The costs incurred are summarized
                                                                  26
                                                                       in Exhibit “A” attached hereto, which provides a monthly breakdown for the Application Period
                                                                  27

                                                                  28   8
                                                                           Expenses originally totaled $75,056.23. The Firm has written off $287.74 in business meals.
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                                                                   1   that complies with the Compensation Guidelines. During the Application Period, the Firm charged

                                                                   2   $.20 per page for photocopying, $.10 per page for scanning documents, and $1.00 per page for

                                                                   3   incoming and outgoing faxes. The Firm has also charged for unusual expenses, such as court costs

                                                                   4   and special messenger services, including Federal Express.

                                                                   5   C.      Hourly Rates [LBR-1(a)(1)(G)]
                                                                   6           The hourly rates of all professionals and paraprofessionals rendering services in these cases

                                                                   7   are set forth on Exhibit “A” attached hereto.

                                                                   8   D.      Description of Professional Education and Experience [LBR 2016-1(a)(1)(H)]
                                                                   9           Exhibit “B” includes a description of the professional education and biographies of the

                                                                  10   professionals employed by the Firm who rendered the majority of the services in these cases.

                                                                  11   E.      Client’s Declaration (LBR 2016-1(a)(1)(J))
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12           A declaration will be filed regarding the Trustee’s review of this Application, as well as other
                                        LOS ANGELES, CALIFORNIA




                                                                  13   fee applications filed with the Court.
                                           ATTORNEYS AT LAW




                                                                  14   F.      Applicant’s Review of the Requirements of LBR 2016-1 [LBR 2016-1(a)(1)(K)]

                                                                  15           The attached declaration of Jeremy V. Richards includes a statement that the Applicant has

                                                                  16   reviewed the requirements of LBR 2016-1 and that the Application complies with such rule.

                                                                  17   G.      No Fee Sharing
                                                                  18           The Firm has no understanding, agreement, or arrangement of any kind to divide with or pay

                                                                  19   to anyone any of the fees to be awarded in these cases, except to the extent they are shared among

                                                                  20   members of the Firm.

                                                                  21   H.      Notice of Application and Hearing
                                                                  22           Pursuant to the Order Limiting Scope of Notice and Local Bankruptcy Rule 2016-1, notice of

                                                                  23   this Application has been served by NEF notice or by first class U.S. mail, as required, on (a) the

                                                                  24   Trustee, (b) the Office of the United States Trustee, (c) parties that have filed with the Court requests

                                                                  25   for notice of all matters in accordance with Bankruptcy Rule 2002(i), (d) the Debtors’ twenty largest

                                                                  26   unsecured creditors, and (d) the United States of America. Copies of this Application with all

                                                                  27   supporting documents also was served on the parties listed above. Therefore, notice should be

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                                                                   1   deemed adequate under the circumstances and in accordance with Bankruptcy Rules 2002(a)(6) and

                                                                   2   2002(c)(2).

                                                                   3                                                      V.

                                                                   4                 THE FEES AND EXPENSES REQUESTED SHOULD BE AWARDED

                                                                   5                                     BASED UPON APPLICABLE LAW

                                                                   6           The fees and expenses requested by this Application are an appropriate award for the Firm’s

                                                                   7   services in acting as counsel to the Trustee. The Firm had to analyze complex and wide-ranging

                                                                   8   litigation and act quickly in order to preserve net assets of the Estate. Absent the Firm’s efforts, it is

                                                                   9   probable that Abselet and others would have liquidated substantially all assets of these Estates in the

                                                                  10   satisfaction of their claims, leaving no possibility of any recovery for unsecured claimants. The

                                                                  11   Firm performed its work in these cases despite the risk that the Estates would not have sufficient
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   funds to pay costs of administration in the event that the Trustee failed to prevail on the Trustee’s
                                        LOS ANGELES, CALIFORNIA




                                                                  13   asserted litigation claims or come to an agreed settlement with Abselet.
                                           ATTORNEYS AT LAW




                                                                  14   A.      Factors in Evaluating Requests for Compensation
                                                                  15           Pursuant to section 330 of the Bankruptcy Code, the Court may award to a professional

                                                                  16   person reasonable compensation for actual, necessary services rendered, and reimbursement for

                                                                  17   actual, necessary expenses incurred. As set forth above, the fees for which the Firm requests

                                                                  18   compensation and the costs incurred for which the Firm requests reimbursement are for actual and

                                                                  19   necessary services rendered and costs incurred in these cases.

                                                                  20           The professional services rendered by the Firm have required an expenditure of substantial

                                                                  21   time and effort. During the First Interim Period, 1,808.90 hours have been recorded by members of

                                                                  22   the Firm and more time was actually expended but either was not recorded or was written off. The

                                                                  23   Firm’s blended hourly rate in these cases for the First Interim Period including paraprofessionals is

                                                                  24   $776.48.

                                                                  25           Moreover, time and labor devoted is only one of many pertinent factors in determining an

                                                                  26   award of fees and costs. Based on the skills brought to bear in these cases by the Firm and the

                                                                  27   results obtained and in light of the accepted lodestar approach, the Firm submits that the

                                                                  28   compensation requested herein is reasonable and appropriate. The Firm assisted the Trustee in

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                                                                   1   addressing a myriad of difficult and complex issues regarding litigation and potential causes of

                                                                   2   action, and resolving claims against the Debtors, all for the benefit of the creditors of these Estates.

                                                                   3   B.       The Lodestar Award Should be Calculated by Multiplying a Reasonable Hourly Rate
                                                                                by the Hours Expended
                                                                   4
                                                                                In determining the amount of allowable fees under section 330 (a) of the Bankruptcy Code,
                                                                   5
                                                                       courts are to be guided by the same “general principles” as are to be applied in determining awards
                                                                   6
                                                                       under the federal fee-shifting statutes, with “some accommodation to the peculiarities of bankruptcy
                                                                   7
                                                                       matters.” In re Manoa Finance Co., Inc., 853 F.2d 687, 691 (9th Cir. 1988); see Meronk v. Arter &
                                                                   8
                                                                       Hadden, LLP (In re Meronk), 249 B.R. 208, 213 (B.A.P. 9th Cir. 2000) (reiterating that Manoa
                                                                   9
                                                                       Finance is the controlling authority and characterizing the factor test9 identified in Johnson v.
                                                                  10
                                                                       Georgia Highway Express, Inc. 488 F.2d 714 (5th Cir. 1974) and Kerr v. Screen Extras Guild, Inc.
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       526 F. 2d 67, 70 (9th Cir. 1975), cert. denied, 425 U.S. 951 (1976) as an “obsolete laundry list” now
                                                                  12
                                                                       subsumed within more refined analyses).
                                        LOS ANGELES, CALIFORNIA




                                                                  13
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                                                                                The United States Supreme Court has evaluated the lodestar approach and endorses its usage.
                                                                  14
                                                                       In Hensley v. Eckerhart, 461 U.S. 424 (1983), a civil rights case, the Supreme Court held that while
                                                                  15
                                                                       the Johnson factors might be considered in setting fees, the lodestar amount subsumed many of those
                                                                  16
                                                                       factors. Hensley at 434, n. 9.10 The following year, another civil rights case, Blum vs. Stenson, 465
                                                                  17
                                                                       U.S. 886 (1984), provided the so-called lodestar calculation:
                                                                  18

                                                                  19                     The initial estimate of a reasonable attorney’s fee is properly
                                                                                         calculated by multiplying the number of hours reasonably expended on
                                                                  20                     the litigation times a reasonable hourly rate . . . . Adjustments to that
                                                                                         fee then may be made as necessary in the particular case.
                                                                  21

                                                                  22
                                                                       9
                                                                         The original twelve Johnson/Kerr factors were: (1) time and labor required, (2) novelty and difficulty of the questions
                                                                  23   involved, (3) skill requisite to perform the legal services properly, (4) the preclusion of other employment by the attorney
                                                                       due to acceptance of the case, (5) the customary fee, (6) whether the fee is fixed or contingent,(7) time limitations
                                                                  24   imposed by the client or the circumstances, (8) amount involved and results obtained, (9) experience, reputation, and
                                                                       ability of the attorneys (10) the “undesirability” of the case, (11) nature and length of the professional relationship with
                                                                  25   client, and (12) awards in similar cases.
                                                                       10
                                                                  26     For discussion of the Johnson/Kerr subsumed factors, see Morales v. City of San Rafael, 96 F.3d 359, 364 n.9 (9th Cir.
                                                                       1996) (“among the subsumed factors … are: (1) the novelty and complexity of the issues, (2) the special skill and
                                                                  27   experience of counsel, (3) the quality of representation, and (4) the results obtained”); Davis v. City & County of San
                                                                       Francisco, 976 F.2d 1536, 1549 (9th Cir. 1992), vacated in part on other grounds, 984 F.2d 345 (9th Cir. 1993)
                                                                       (extending City of Burlington v. Dague, 505 U.S. 557, 567 (1992), which held that sixth factor “whether the fee is fixed
                                                                  28   or contingent, may not be considered in the lodestar calculation”).
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                                                                   1   Blum at 888.

                                                                   2           Then in 1986, the Supreme Court more explicitly indicated that the factors relevant to

                                                                   3   determining fees should be applied using the lodestar approach, rather than an ad hoc approach.

                                                                   4   While holding that the attorney’s fee provision of the Clean Air Act, 42 U.S.C. § 7401 et seq.,

                                                                   5   should be interpreted like that of the Civil Rights Act, the Supreme Court expressly rejected the ad

                                                                   6   hoc application of the factors set forth in Johnson and thus Kerr, stating that “the lodestar figure

                                                                   7   includes most, if not all, of the relevant factors constituting a ‘reasonable’ attorney’s fee . . .. ”

                                                                   8   Pennsylvania v. Del. Valley Citizens’ Council for Clean Air, 478 U.S. 546, 563-66 (1986); see also

                                                                   9   Blanchard v. Bergeron, 489 U.S. 87, 94 (1989) (“we have said repeatedly that the initial estimate of

                                                                  10   a reasonable attorney’s fee is properly calculated by multiplying the number of hours reasonably

                                                                  11   expended on the litigation times a reasonable hourly rate”).
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                                                                  12           While the lodestar approach is the primary basis for determining fee awards under the federal
                                        LOS ANGELES, CALIFORNIA




                                                                  13   fee-shifting statutes and Bankruptcy Code, some of the Johnson/Kerr factors, previously applied in
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                                                                  14   an ad hoc fashion, can still apply in calculating the appropriate hourly rate to use under the lodestar

                                                                  15   approach. Buckridge, 367 B.R. 191, 201 (C.D. Cal. 2007) (“a court is permitted to adjust the lodestar

                                                                  16   up or down using a multiplier based on the criteria listed in §330 and its consideration of the Kerr

                                                                  17   factors not subsumed within the initial calculations of the lodestar”); Dang v. Cross, 422 F.3d 800,

                                                                  18   812 (9th Cir. 2005) (court may “adjust the lodestar amount after considering other factors that bear

                                                                  19   on the reasonableness of the fee”); Unsecured Creditors’ Comm. v. Puget Sound Plywood, Inc., 924

                                                                  20   F.2d 955, 960 (9th Cir. 1991) (“Although Manoa suggests that starting with the ‘lodestar’ is

                                                                  21   customary, it does not mandate such an approach in all cases.… Fee shifting cases are persuasive,

                                                                  22   but due to the uniqueness of bankruptcy proceedings, they are not controlling”).

                                                                  23           Attached hereto as Exhibit “C” is a copy of the Firm’s time reports and records kept in the

                                                                  24   regular course of business reflecting the services rendered and the expenses incurred by the Firm

                                                                  25   during the First Interim Period. The Firm’s time reports are initially handwritten or recorded via

                                                                  26   computer by the attorney or paralegal performing the described services. The time reports are

                                                                  27   organized on a daily basis. The Firm is sensitive to issues of “lumping,” and unless time was spent

                                                                  28   in one time frame on a variety of different matters, separate time entries are set forth in the time

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                                                                   1   reports. The Firm’s charges for its professional services are based upon the time, nature, extent and

                                                                   2   value of such services and the cost of comparable services in the Southern California region, other

                                                                   3   than in a case under the Bankruptcy Code.

                                                                   4                                                    VI.

                                                                   5                                              CONCLUSION

                                                                   6           This is the Firm’s first interim request for compensation and reimbursement of expenses.

                                                                   7   The Firm believes that the services rendered for which compensation is sought in this Application

                                                                   8   have been beneficial to the creditors, that the costs incurred have been necessary and proper, and that

                                                                   9   the sums requested for the services rendered and the costs incurred are fair and reasonable.

                                                                  10           WHEREFORE, Pachulski Stang Ziehl & Jones LLP respectfully requests that this Court on

                                                                  11   an interim basis: (1) allow fees in the total amount of $1,404,583.50 and reimbursement of costs in
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   the total amount of $74,768.49 for the period September 16, 2016 through and including November
                                        LOS ANGELES, CALIFORNIA




                                                                  13   30, 2018, for a total award of $1,479,351.99; and (2) authorize payment to the Firm in the amount of
                                           ATTORNEYS AT LAW




                                                                  14   $1,479,351.99 to the extent the Trustee receives or recovers funds in such amount.

                                                                  15
                                                                       Dated: January 8, 2019                        PACHULSKI STANG ZIEHL & JONES LLP
                                                                  16
                                                                                                                     By:        /s/ Jeremy V. Richards
                                                                  17                                                            Jeremy V. Richards
                                                                  18                                                            John W. Lucas

                                                                  19                                                            Attorneys for David K. Gottlieb, Chapter 11
                                                                                                                                Trustee
                                                                  20

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                                                                   1                                DECLARATION OF JEREMY V. RICHARDS

                                                                   2           I, Jeremy V. Richards, declare as follows:

                                                                   3           1.         I am an attorney at law duly authorized to practice in the State of California and

                                                                   4   before this court. I am a partner of the law firm of Pachulski Stang Ziehl & Jones LLP, general

                                                                   5   bankruptcy counsel for the Trustee.

                                                                   6           2.         I have personal knowledge of the facts set forth in the foregoing Application and, if

                                                                   7   called upon as a witness, I could and would competently testify as to all of the matters stated therein.

                                                                   8           3.         I have personally reviewed the information contained in the Application, and believe

                                                                   9   its contents to be true and correct to the best of my knowledge, information and belief.

                                                                  10           4.         The Firm is not charging the Trustee for outgoing faxes. The Firm’s photocopying

                                                                  11   machines automatically record the number of copies made when the person that is doing the copying
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   enters the client’s account number into a device attached to the photocopier. The Firm summarizes
                                        LOS ANGELES, CALIFORNIA




                                                                  13   each client’s photocopying charges on a daily basis. Whenever feasible, the Firm sends large
                                           ATTORNEYS AT LAW




                                                                  14   copying projects to an outside copy service that charges a reduced rate for photocopying.

                                                                  15           5.         Regarding providers of on-line legal research (e.g., LEXIS and WESTLAW), the

                                                                  16   Firm charges the standard usage rates these providers charge for computerized legal research. Any

                                                                  17   volume discount received by the Firm is passed on to the client.

                                                                  18           6.         The Firm does not charge for local or long distance calls placed by attorneys from

                                                                  19   their offices. The Firm only bills its clients for the actual costs charged the Firm by teleconferencing

                                                                  20   services in the event that a multiple party teleconference is initiated through the Firm.

                                                                  21           7.         The Firm believes the foregoing rates are the market rates that the majority of law

                                                                  22   firms charge clients for such services. In addition, the Firm believes that such charges are in

                                                                  23   accordance with the American Bar Association’s (“ABA”) guidelines, as set forth in the ABA’s

                                                                  24   Statement of Principles, dated January 12, 1995, regarding billing for disbursements and other

                                                                  25   charges.

                                                                  26           8.         I have personally reviewed the bills in this matter, and the bills represent true and

                                                                  27   correct charges to the best of my knowledge, information and belief.

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                                                                   1           9.         Local Bankruptcy Rule 2016-1(a) (1) (K) Compliance -- I have reviewed Local
                                                                   2   Bankruptcy Rule 2016-1 and the Application complies with Local Bankruptcy Rule 2016-1.
                                                                   3
                                                                               I declare under penalty of perjury under the laws of the State of California and the United
                                                                   4
                                                                       States of America that the foregoing is true and correct.
                                                                   5
                                                                               Executed this 8th day of January, 2019 at Los Angeles, California.
                                                                   6

                                                                   7
                                                                                                                              /s/ Jeremy V. Richards________________
                                                                   8                                                          Jeremy V. Richards

                                                                   9

                                                                  10

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P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




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                                           ATTORNEYS AT LAW




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                     SUMMARY OF SERVICE AND EXPENSES OF
                       PACHULSKI STANG ZIEHL & JONES LLP
      IN RESPECT TO SOLYMAN YASHOUAFAR AND MASSOUD AARON YASHOUAFAR




      I. SERVICES

      Attorney / Paralegal* / Clerk**           Rate      Hours             Total

      September 16, 2016 - November 30, 2018


               ASSET ANALYSIS

               Pachulski, Richard M.            1145       4.70   $      5,381.50
               Richards, Jeremy V.               995      40.10   $     39,899.50
               Richards, Jeremy V.              1025     104.10   $    106,702.50
               Richards, Jeremy V.              1050       2.10   $      2,205.00
               Gruber, Richard J.                975       1.20   $      1,170.00
               Barton, David J.                  950       1.00   $        950.00
               Kevane, Henry C.                  950       0.90   $        855.00
               Brown, Kenneth H.                 895       0.50   $        447.50
               Kim, Jonathan J.                  725      24.10   $     17,472.50
               Lucas, John W.                    675       7.50   $      5,062.50
               Forrester, Leslie A.              375       0.60   $        225.00
               Jeffries, Patricia J.             350       0.20   $         70.00

                              SUB TOTAL                  187.00 $      180,441.00

               BANKRUPTCY LITIGATION

               Richards, Jeremy V.               995      18.20   $     18,109.00
               Richards, Jeremy V.              1025     127.50   $    130,687.50
               Richards, Jeremy V.              1050      54.60   $     57,330.00
               Kornfeld, Alan J.                 995       0.90   $        895.50
               Kevane, Henry C.                  975       2.60   $      2,535.00
               Kevane, Henry C.                  950       2.70   $      2,565.00
               Cantor, Linda F.                  925       1.10   $      1,017.50
               Brown, Kenneth H.                 895       0.60   $        537.00
               Brown, Kenneth H.                 925       0.40   $        370.00
               Parker, Daryl G.                  875       1.00   $        875.00
               Kim, Jonathan J.                  725      61.10   $     44,297.50
               Kim, Jonathan J.                  750      84.00   $     63,000.00
               Kim, Jonathan J.                  775      98.20   $     76,105.00
               Bove, Maria                       750       4.90   $      3,675.00
               Greenwood, Gail S.                725      11.90   $      8,627.50
               Glazer, Gabriel I.                695       3.70   $      2,571.50
               Lucas, John W.                    675      58.80   $     39,690.00
               Lucas, John W.                    695     313.50   $    217,882.50
               Lucas, John W.                    725     245.80   $    178,205.00
               Rosell, Jason H.                  575       8.20   $      4,715.00
               Golden, Steven W.                 450       0.50   $        225.00
               Forrester, Leslie A.              350       1.00   $        350.00
               Forrester, Leslie A.              375       4.20   $      1,575.00
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                     SUMMARY OF SERVICE AND EXPENSES OF
                       PACHULSKI STANG ZIEHL & JONES LLP
      IN RESPECT TO SOLYMAN YASHOUAFAR AND MASSOUD AARON YASHOUAFAR




            Forrester, Leslie A.               395       2.10   $        829.50
            Dassa, Beth D.                     325      25.70   $      8,352.50
            Dassa, Beth D.                     350      26.60   $      9,310.00
            Dassa, Beth D.                     375       7.80   $      2,925.00
            Jeffries, Patricia J.              325       1.20   $        390.00
            Jeffries, Patricia J.              350       0.80   $        280.00
            Jeffries, Patricia J.              375       0.80   $        300.00

                            SUB TOTAL                 1170.40 $      878,227.50

            CASE ADMINISTRATION

            Richards, Jeremy V.                995      54.90   $     54,625.50
            Richards, Jeremy V.               1025      27.40   $     28,085.00
            Richards, Jeremy V.               1050       0.70   $        735.00
            Kevane, Henry C.                   950       2.50   $      2,375.00
            Lucas, John W.                     675      26.70   $     18,022.50
            Lucas, John W.                     695      13.00   $      9,035.00
            Lucas, John W.                     725       3.50   $      2,537.50
            Forrester, Leslie A.               375       2.10   $        787.50
            Dassa, Beth D.                     325      20.10   $      6,532.50
            Dassa, Beth D.                     350       6.20   $      2,170.00
            Dassa, Beth D.                     375       3.20   $      1,200.00
            Jeffries, Patricia J.              325       0.50   $        162.50
            Jeffries, Patricia J.              350       0.50   $        175.00

                            SUB TOTAL                  161.30 $      126,443.00

            CLAIMS ADMINISTRATION/OBJECTIONS

            Richards, Jeremy V.                995       2.20   $      2,189.00
            Richards, Jeremy V.               1025      52.60   $     53,915.00
            Kim, Jonathan J.                   750       1.30   $        975.00
            Lucas, John W.                     675       4.20   $      2,835.00
            Lucas, John W.                     695      19.80   $     13,761.00
            Dassa, Beth D.                     350       2.10   $        735.00
            Jeffries, Patricia J.              350       2.80   $        980.00

                            SUB TOTAL                   85.00 $       75,390.00

            COMPENSATION OF PROFESSIONALS

            Lucas, John W.                     725       1.60 $        1,160.00
            Dassa, Beth D.                     325       1.00 $          325.00
            Dassa, Beth D.                     375       0.30 $          112.50

                            SUB TOTAL                    2.90 $        1,597.50
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     1:16-bk-12255-GM     Doc
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                     SUMMARY OF SERVICE AND EXPENSES OF
                       PACHULSKI STANG ZIEHL & JONES LLP
      IN RESPECT TO SOLYMAN YASHOUAFAR AND MASSOUD AARON YASHOUAFAR




            GENERAL CREDITORS COMMITTEE

            Dassa, Beth D.                    325       0.20 $          65.00

                           SUB TOTAL                    0.20 $          65.00

            PLAN & DISCLOSURE STATEMENT

            Richards, Jeremy V.               995       0.10 $          99.50
            Richards, Jeremy V.              1025       0.30 $         307.50

                           SUB TOTAL                    0.40 $         407.00

            STAY LITIGATION

            Richards, Jeremy V.               995       9.10   $      9,054.50
            Richards, Jeremy V.              1025       0.30   $        307.50
            Richards, Jeremy V.              1050      16.80   $     17,640.00
            Kevane, Henry C.                  975       0.20   $        195.00
            Lucas, John W.                    675       0.20   $        135.00
            Lucas, John W.                    695       0.40   $        278.00
            Lucas, John W.                    725      28.00   $     20,300.00
            Forrester, Leslie A.              395       0.50   $        197.50

                           SUB TOTAL                   55.50 $       48,107.50

            RELIEF FROM STAY

            Dassa, Beth D.                    325       0.10 $          32.50
            Dassa, Beth D.                    350       0.30 $         105.00

                           SUB TOTAL                    0.40 $         137.50

            RETENTION OF PROFESSIONALS

            Richards, Jeremy V.              1050       0.10   $        105.00
            Kevane, Henry C.                  925       0.50   $        462.50
            Brandt, Gina F.                   725       2.60   $      1,885.00
            Lucas, John W.                    675       2.50   $      1,687.50
            Lucas, John W.                    695       2.10   $      1,459.50
            Dassa, Beth D.                    325       5.40   $      1,755.00
            Jeffries, Patricia J.             325       0.70   $        227.50

                           SUB TOTAL                   13.90 $        7,582.00

            ASSET DISPOSITION

            Richards, Jeremy V.               995      15.40 $       15,323.00
            Richards, Jeremy V.              1025       0.90 $          922.50
            Lucas, John W.                    675      11.80 $        7,965.00
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     1:16-bk-12255-GM       Doc
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                     SUMMARY OF SERVICE AND EXPENSES OF
                       PACHULSKI STANG ZIEHL & JONES LLP
      IN RESPECT TO SOLYMAN YASHOUAFAR AND MASSOUD AARON YASHOUAFAR




            Dassa, Beth D.                      325       1.10 $         357.50
            Jeffries, Patricia J.               325       0.20 $          65.00

                            SUB TOTAL                    29.40 $       24,633.00

            APPEALS

            Richards, Jeremy V.                 995       0.60 $         597.00
            Richards, Jeremy V.                1025       0.10 $         102.50

                            SUB TOTAL                     0.70 $         699.50

            TAX ISSUES

            Richards, Jeremy V.                 995       1.40 $        1,393.00

                            SUB TOTAL                     1.40 $        1,393.00

            FINANCIAL FILINGS

            Richards, Jeremy V.                 995       1.20   $      1,194.00
            Richards, Jeremy V.                1025       0.10   $        102.50
            Dassa, Beth D.                      325       5.40   $      1,755.00
            Dassa, Beth D.                      350       0.70   $        245.00

                            SUB TOTAL                     7.40 $        3,296.50

            LITIGATION/NON BANKRUPTCY

            Richards, Jeremy V.                 995       1.40   $      1,393.00
            Richards, Jeremy V.                1025       2.80   $      2,870.00
            Richards, Jeremy V.                1050       0.50   $        525.00
            Forrester, Leslie A.                375       0.50   $        187.50
            Dassa, Beth D.                      325       4.00   $      1,300.00
            Dassa, Beth D.                      350       0.60   $        210.00

                            SUB TOTAL                     9.80 $        6,485.50

            RETENTION OF PROFESSIONALS/OTHERS

            Dassa, Beth D                       325      19.30 $        6,272.50
            Dassa, Beth D.                      350       6.40 $        2,240.00

                            SUB TOTAL                    25.70 $        8,512.50

            FINANCING
            Richards, Jeremy V.                 995       2.00 $        1,990.00

                            SUB TOTAL                     2.00 $        1,990.00
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     1:16-bk-12255-GM    Doc
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                     SUMMARY OF SERVICE AND EXPENSES OF
                       PACHULSKI STANG ZIEHL & JONES LLP
      IN RESPECT TO SOLYMAN YASHOUAFAR AND MASSOUD AARON YASHOUAFAR




            GENERAL BUSINESS ADVICE

            Gruber, Richard J.                    995       1.00 $           995.00

                          SUB TOTAL                         1.00 $           995.00

            SETTLEMENT

            Lucas, John W.                        695      44.40 $        30,858.00
            Lucas, John W.                        725      10.10 $         7,322.50

                          SUB TOTAL                        54.50 $        38,180.50

                          TOTAL HOURS                   1,808.90

                          TOTAL SERVICES                               $1,404,583.50

      II. EXPENSES

            Air Fare                                               $       1,196.51
            Attorney Service                                       $         576.00
            Auto Travel Expense                                    $          36.46
            Bloomberg                                              $       1,345.50
            Conference Call                                        $         396.69
            Courtlink                                              $          58.80
            Delivery/Courier Service                               $          56.00
            Federal Express                                        $         944.42
            Guest Parking                                          $         120.00
            Incoming Faxes                                         $           1.00
            Lexis/Nexis                                            $       5,395.37
            Legal Vision/Attorney Messenger Service                $       3,124.00
            Outside Reproduction Expense                           $       2,159.35
            Outside Services                                       $      19,789.95
            Pacer - Court Research                                 $       2,141.20
            Postage                                                $       1,796.96
            Reproduction Expense                                   $       8,880.60
            Reproduction/Scan Copy                                 $       5,305.20
            Filing Fee                                             $         669.00
            Research                                               $         329.70
            Transcripts                                            $       7,475.71
            Travel Expense                                         $          98.00
            Westlaw                                                $      12,872.07

                          TOTAL EXPENSES                           $      74,768.49

                          TOTAL SERVICES AND EXPENSES              $    1,479,351.99
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In re
            Solyman Yashouafar and
            Massoud Aaron Yashouafar
                                                            CURRENT APPLICATION
                                                            Fees Requested                           $ 1,404,583.50
                        Debtors                             Expenses Requested                       $    74,768.49


CHAPTER            11
Case No. 16-12255 [Jointly Administered]
Counsel for David K. Gottlieb, Chapter 11 Trustee


FEE APPLICATION         September 16, 2016 - November 30, 2018



ATTORNEYS
                                                                        Current
                                                                        Hours          Total for
                                            Year Admitted     Rate       Billed       Application
Pachulski, Richard M.                           1979        1145.00   4.70        $       5,381.50
Richards, Jeremy V.                             1979        995.00    146.60      $    145,867.00
Richards, Jeremy V.                             1979        1025.00   316.10      $    324,002.50
Richards, Jeremy V.                             1979        1050.00   74.80       $     78,540.00
Gruber, Richard J.                              1982        975.00    1.20        $       1,170.00
Gruber, Richard J.                              1982        995.00    1.00        $         995.00
Kevane, Henry C.                                1986        925.00    0.50        $         462.50
Kevane, Henry C.                                1986        950.00    6.10        $       5,795.00
Kevane, Henry C.                                1986        975.00    2.80        $       2,730.00
Kornfeld, Alan J.                               1996        995.00    0.90        $         895.50
Barton, David J.                                1981        950.00    1.00        $         950.00
Cantor, Linda F.                                1991        925.00    1.10        $       1,017.50
Brown, Kenneth H.                               1981        895.00    1.10        $         984.50
Brown, Kenneth H.                               1981        925.00    0.40        $         370.00
Parker, Daryl G.                                1970        875.00    1.00        $         875.00
Brandt, Gina F.                                 1976        725.00    2.60        $       1,885.00
Kim, Jonathan J.                                1996        725.00    85.20       $     61,770.00
Kim, Jonathan J.                                1996        750.00    85.30       $     63,975.00
Kim, Jonathan J.                                1996        775.00    98.20       $     76,105.00
Greenwood, Gail S.                              1994        725.00    11.90       $       8,627.50
Bove, Maria                                     2001        750.00    4.90        $       3,675.00
Lucas, John W.                                  2004        675.00    111.70      $     75,397.50
Lucas, John W.                                  2004        695.00    393.20      $    273,274.00
Lucas, John W.                                  2004        725.00    289.00      $    209,525.00
Glazer, Gabriel I.                              2006        695.00    3.70        $       2,571.50
Rosell, Jason H.                                2011        575.00    8.20        $       4,715.00
Golden, Steven W.                               2015        450.00    0.50        $         225.00



PARAPROFESSIONALS*/CLERK**
                                                                       Current
                                                                       Hours           Total for
                                            Year Admitted     Rate      Billed        Application
Forrester, Leslie A.                             N/A          350        1.00           350.00
Forrester, Leslie A.                             N/A          375        7.40          2,775.00
Forrester, Leslie A.                             N/A          395        2.60          1,027.00
Dassa, Beth D.                                   N/A          325       82.30         26,747.50
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Dassa, Beth D.                      N/A         350     42.90         15,015.00
Dassa, Beth D.                      N/A         375     11.30          4,237.50
Jeffries, Patricia J.               N/A         325      2.60           845.00
Jeffries, Patricia J.               N/A         350      4.30          1,505.00
Jeffries, Patricia J.               N/A         375      0.80           300.00

                                          TOTAL HOURS   1808.90

                               TOTAL FEES REQUESTED               $ 1,404,583.50

                                BLENDED HOURLY RATE               $        776.48
                        INCLUDING PARAPROFESSIONALS

                                BLENDED HOURLY RATE               $        817.42
                        EXCLUDING PARAPROFESSIONALS
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                                                               IN RESPECT TO SOLYMAN YASHOUAFAR MASSOUD AARON YASHOUAFAR




           2018         January        February        March            April              May               June           July            August         September      October        November       December       TOTAL
Asset Analysis          $    525.00    $     210.00    $   1,470.00                                                                                                                                                    $     2,205.00
Bankruptcy Litigation   $ 65,570.00    $ 45,172.50     $   6,048.50     $       7,267.50   $     26,582.50   $ 66,377.50    $ 19,656.00     $ 64,140.00    $   7,635.00   $   6,545.00   $   3,605.00                  $  318,599.50
Case Administration     $ 1,522.50     $     427.50    $     800.00     $            -     $        187.50   $       -      $    225.00     $     75.00    $   1,010.00   $     150.00   $      75.00                  $     4,472.50
Compensation of
Professionals           $       -      $          -    $          -     $            -     $           -     $        -     $         -     $        -     $   1,272.50   $         -    $        -                    $     1,272.50
Stay Litigation         $    105.00    $          -    $          -     $            -     $     32,252.50   $   5,975.00   $         -     $        -     $        -     $         -    $        -                    $    38,332.50
Retention of
Professionals           $         -    $          -    $       105.00   $            -     $           -     $        -     $         -     $        -     $        -     $         -    $        -                    $       105.00
Litigation/Non
Bankruptcy              $         -    $          -    $        -       $            -     $           -     $        -     $      525.00   $        -     $        -     $        -     $        -                    $       525.00
Settlement              $         -    $          -    $   1,087.50     $            -     $           -     $        -     $         -     $        -     $        -     $   2,610.00   $   3,625.00                  $     7,322.50

Totals                  $ 67,722.50    $   45,810.00   $   9,511.00     $       7,267.50   $     59,022.50   $ 72,352.50    $ 20,406.00     $ 64,215.00    $   9,917.50   $   9,305.00   $   7,305.00                  $   372,834.50

           2017         January        February        March            April              May               June           July            August         September      October        November       December       TOTAL
Appeals                 $    102.50    $         -     $        -       $          -       $         -       $       -      $       -       $       -      $       -      $       -      $       -      $       -      $      102.50
Asset Analysis          $ 20,607.50    $ 31,642.50     $ 10,455.00      $ 27,982.50        $   15,785.00     $ 1,435.00     $    410.00     $    317.50    $    205.00    $       -      $    307.50    $    102.50    $  109,250.00
Asset Disposition       $    922.50    $         -     $        -       $          -       $         -       $       -      $       -       $       -      $       -      $       -      $       -      $       -      $      922.50
Bankruptcy Litigation   $ 10,776.50    $    8,548.50   $ 30,747.50      $ 66,762.50        $   61,942.00     $ 29,535.00    $ 18,516.00     $ 72,434.00    $ 23,347.00    $ 29,788.00    $ 32,054.50    $ 54,953.00    $  439,404.50
Case Administration     $ 5,421.50     $    5,000.00   $   6,405.00     $     1,712.50     $   13,375.00     $     70.00    $ 5,816.00      $    557.50    $ 3,783.00     $       -      $     35.00    $    452.00    $   42,627.50
Claims Administration   $ 13,893.50    $    4,484.00   $   1,230.00     $     7,399.50     $    8,311.00     $ 13,632.50    $ 7,277.50      $ 11,920.50    $    717.50    $       -      $       -      $ 1,500.00     $   70,366.00
Financial Filings       $       -      $         -     $        -       $          -       $      105.00     $       -      $       -       $    102.50    $       -      $       -      $       -      $    140.00    $      347.50
General Business
Advice                  $         -    $          -    $          -     $        995.00    $           -     $        -     $         -     $        -     $        -     $         -    $        -     $        -     $       995.00
Litigation/Non
Bankruptcy              $         -    $          -    $   2,427.50     $            -     $       327.50    $        -     $         -     $        -     $        -     $    512.50    $        -     $        -     $     3,267.50
Plan & Disclosure
Statement               $         -    $          -    $       307.50   $            -     $          -      $        -     $         -     $        -     $        -     $         -    $        -     $        -     $       307.50
Stay Litigation         $         -    $          -    $          -     $            -     $       585.50    $        -     $         -     $        -     $        -     $         -    $        -     $        -     $       585.50
Relief from Stay        $         -    $          -    $       105.00   $            -     $          -      $        -     $         -     $        -     $        -     $         -    $        -     $        -     $       105.00
Retention of
Professionals           $   1,459.50   $          -    $          -     $            -     $           -     $        -     $         -     $        -     $        -     $         -    $        -     $        -     $     1,459.50
Retention of
Professionals/Others    $   2,240.00   $          -    $          -     $            -     $           -     $        -     $       -       $        -     $        -     $         -    $        -     $        -     $     2,240.00
Settlement              $        -     $          -    $          -     $            -     $           -     $   3,127.50   $ 20,363.50     $   7,367.00   $        -     $         -    $        -     $        -     $    30,858.00

Totals                  $ 55,423.50    $   49,675.00   $ 51,677.50      $ 104,852.00       $   100,431.00    $ 47,800.00    $ 52,383.00     $ 92,699.00    $ 28,052.50    $ 30,300.50    $ 32,397.00    $ 57,147.50    $   702,838.50

           2016         January        February        March            April              May               June           July            August         September      October        November       December       TOTAL
Appeals                 $         -    $          -    $          -     $            -     $           -     $        -     $         -     $        -     $     99.50    $    497.50    $       -      $       -      $       597.00
Asset Analysis          $         -    $          -    $          -     $            -     $           -     $        -     $         -     $        -     $ 15,033.00    $ 19,318.00    $ 31,749.50    $ 2,885.50     $   68,986.00
Asset Disposition       $         -    $          -    $          -     $            -     $           -     $        -     $         -     $        -     $ 9,733.50     $ 8,808.50     $    660.00    $ 4,508.50     $   23,710.50
Bankruptcy Litigation   $         -    $          -    $          -     $            -     $           -     $        -     $         -     $        -     $ 4,812.50     $ 30,971.50    $ 26,854.00    $ 57,585.50    $  120,223.50
Case Administration     $         -    $          -    $          -     $            -     $           -     $        -     $         -     $        -     $ 38,787.50    $ 14,410.00    $ 23,262.50    $ 2,883.00     $   79,343.00
Claims Administration   $         -    $          -    $          -     $            -     $           -     $        -     $         -     $        -     $    497.50    $ 1,492.50     $ 2,497.50     $    536.50    $     5,024.00
Compensation of
Professionals           $         -    $          -    $          -     $            -     $           -     $        -     $         -     $        -     $        -     $        -     $    325.00    $       -      $       325.00
Financial Filings       $         -    $          -    $          -     $            -     $           -     $        -     $         -     $        -     $        -     $   1,714.00   $    812.50    $    422.50    $     2,949.00
Financing               $         -    $          -    $          -     $            -     $           -     $        -     $         -     $        -     $        -     $   1,990.00   $       -      $       -      $     1,990.00
General Creditors'
Committee               $         -    $          -    $          -     $            -     $           -     $        -     $         -     $        -     $     65.00    $         -    $        -     $        -     $        65.00
Litigation/Non
Bankruptcy              $         -    $          -    $          -     $            -     $           -     $        -     $         -     $        -     $        -     $   1,490.50   $        -     $   1,202.50   $     2,693.00
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                                                                  PACHULSKI STANG ZIEHL & JONES LLP
                                                   IN RESPECT TO SOLYMAN YASHOUAFAR MASSOUD AARON YASHOUAFAR




Plan & Disclosure
Statement              $   -       $   -       $    -       $   -       $   -       $   -       $   -       $   -       $        -     $        -     $     99.50    $      -      $        99.50
Stay Litigation        $   -       $   -       $    -       $   -       $   -       $   -       $   -       $   -       $   3,781.00   $   5,074.50   $    199.00    $   135.00    $     9,189.50
Relief from Stay       $   -       $   -       $    -       $   -       $   -       $   -       $   -       $   -       $      32.50   $        -     $       -      $      -      $        32.50
Tax Issues             $       -   $       -   $        -   $       -   $       -   $       -   $       -   $       -   $     895.50   $      99.50   $    398.00    $        -    $     1,393.00
Retention of
Professionals          $   -       $   -       $    -       $   -       $   -       $   -       $   -       $   -       $   1,780.00   $   4,237.50   $        -     $       -     $     6,017.50
Retention of
Professionals/Others   $   -       $   -       $    -       $   -       $   -       $   -       $   -       $   -       $   2,600.00   $    487.50    $   3,185.00                 $     6,272.50
Meeting of Creditors

Totals                 $   -       $   -       $    -       $   -       $   -       $   -       $   -       $   -       $ 78,117.50    $ 90,591.50    $ 90,042.50    $ 70,159.00   $   328,910.50


GRAND TOTAL                                                                                                                                                                        $ 1,404,583.50
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                                             IN RESPECT TO SOLYMAN YASHOUAFAR MASSOUD AARON YASHOUAFAR




2018            January       February March          April            May           June            July           August          September   October       November    December TOTAL

Auto Travel     $         -   $     -    $      -     $           -    $        -    $          -    $        -     $    36.46      $      -    $         -   $     -     $     -   $      36.46
Expense
Bloomberg       $         -   $     -    $    30.00   $           -    $     120.40 $           -    $        -     $          -    $      -    $         -   $     -     $     -   $    150.40

Courtlink       $         -   $     -    $      -     $           -    $      1.03   $       30.44   $        -     $          -    $      -    $         -   $     -     $     -   $      31.47

Legal           $         -   $     -    $      -     $           -    $     65.00 $         95.00   $        -     $    65.00      $      -    $         -   $     -     $     -   $    225.00
Vision/Court
Messenger



Lexis-Nexis     $ 401.31      $ 49.12    $    12.15   $           -    $     580.13 $       229.34   $        -     $   405.27      $      -    $         -   $     -               $   1,677.32


Pacer (Court    $    78.90    $ 49.60    $    19.50   $         3.20   $     132.40 $        23.00   $      21.90   $    54.40      $   24.00   $    0.50     $   22.60             $    430.00
Research)

Postage         $    26.31    $ 13.19    $     5.99   $           -    $      4.70   $       22.71   $      33.10   $    30.50      $   24.70   $         -   $     -     $     -   $    161.20
Reproduction    $ 224.60      $     -    $      -     $           -    $     14.00 $         78.60   $      70.00   $    18.40      $   345.60 $          -   $     -     $     -   $    751.20
Expense

Reproduction/S $     64.70    $129.20    $   234.60   $        65.10   $     87.60 $        182.80   $   269.00     $   264.60      $   324.70 $    28.30     $   29.00 $       -   $   1,679.60
can Copy


Conference Call $         -   $ 50.00    $      -     $         2.64   $        -    $        3.77   $        -     $        6.88   $      -    $         -   $     -               $      63.29

Federal         $    39.28    $ 14.24    $    14.11   $        24.33   $     64.17 $         23.13   $      14.31   $    14.31      $   52.70   $         -   $     -               $    260.58
Express
Outside         $         -   $     -    $ 5,000.00   $           -    $        -    $          -    $        -     $          -    $      -    $         -   $     -               $   5,000.00
Services

Postage

Research        $         -   $ 37.20    $      -     $           -    $        -    $          -    $        -     $          -    $      -    $         -   $     -     $     -   $      37.20

Transcripts     $         -   $     -    $      -     $       887.45   $        -    $          -    $ 1,264.80 $              -    $      -    $         -   $     -               $   2,152.25

Totals          $ 835.10      $342.55    $ 5,316.35   $       982.72   $   1,069.43 $       688.79   $ 1,673.11     $   895.82      $   771.70 $    28.80     $   51.60 $       -   $ 12,655.97




2017            January       February March          April            May        June               July           August          September   October       November    December TOTAL
Air Fare        $       -     $    -   $        -     $           -    $ 1,196.51 $             -    $        -     $          -    $      -    $       -     $     -     $    -   $ 1,196.51

Attorney        $         -   $     -    $      -     $           -    $        -    $          -    $        -     $   576.00      $      -    $         -   $     -     $     -   $    576.00
Service
Auto Travel
Expense
Bloomberg       $         -   $     -    $   102.60   $       307.80   $     73.20 $            -    $        -     $          -    $      -    $         -   $     -     $     -   $    483.60

Courtlink       $         -   $     -    $      -     $           -    $     17.21 $            -    $        -     $        2.22   $    3.75   $         -   $     -     $   0.83 $       24.01

Delivery/Courier $        -   $     -    $      -     $        56.00   $        -    $          -    $        -     $          -    $      -    $         -   $     -     $     -   $      56.00

Guest Parking   $         -   $     -    $      -     $           -    $        -    $      120.00   $        -     $          -    $      -    $         -   $     -     $     -   $    120.00

Legal           $         -   $ 65.00    $   392.50   $        78.00   $     390.00 $        55.00   $      65.00   $   130.00      $   120.00 $    65.00     $   23.00             $   1,383.50
Vision/Court
Messenger

Lexis-Nexis     $         -   $ 92.00    $     1.62   $       782.95   $     232.85 $       137.56   $   143.68     $   288.30      $   272.34 $ 169.32       $     -     $ 678.43 $    2,799.05


Pacer (Court    $    87.80    $ 14.40    $   219.90   $       183.50   $     154.50 $        64.30   $      27.80   $    89.40      $   51.20   $   45.30     $   12.90 $     49.40 $   1,000.40
Research)

Postage         $     0.47    $   5.74   $    21.34   $        33.74   $     205.81 $           -    $        -     $   164.12      $   14.18   $   41.70     $   48.79 $     64.80 $    600.69
Reproduction    $    35.60    $   5.20   $   178.00   $        65.00   $     608.60 $        28.80   $        -     $   414.80      $      -    $ 285.00      $   66.40 $ 631.00 $      2,318.40
Expense
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                                                            PACHULSKI STANG ZIEHL & JONES LLP
                                             IN RESPECT TO SOLYMAN YASHOUAFAR MASSOUD AARON YASHOUAFAR




Reproduction/S $    51.90     $117.20    $   679.00   $       360.20   $     423.50 $      104.30   $      61.20   $   168.40   $   260.80 $    31.40     $   206.60 $ 140.50 $     2,605.00
can Copy
Conference Call $         -   $ 41.77    $      -     $         8.03   $        -   $          -    $       9.66   $   160.00   $      -    $   35.00     $    3.60   $     -   $    258.06

Federal         $    8.68     $   8.77   $    78.22   $        65.63   $     156.24 $       78.81   $        -     $    39.92   $   13.32   $         -   $   62.78 $     54.22 $    566.59
Express
Filing Fee      $         -   $     -    $    50.00   $       350.00   $        -   $       40.00   $        -     $        -   $      -    $         -   $   38.00 $       -   $    478.00


Incoming Faxes $          -   $     -    $      -     $           -    $        -   $          -    $        -     $        -   $      -    $         -   $      -    $   0.40 $        0.40


Research        $   24.00     $ 82.00    $      -     $           -    $        -   $          -    $        -     $        -   $      -    $         -   $      -    $     -   $    106.00


Travel Expense $          -   $     -    $      -     $           -    $     50.00 $           -    $        -     $        -   $      -    $         -   $      -    $     -   $      50.00


Transcripts     $         -   $     -    $      -     $   1,642.60 $            -   $          -    $        -     $        -   $      -    $         -   $ 3,530.86 $      -   $   5,173.46


Outside         $         -   $     -    $   626.10   $       655.40   $   4,674.60 $ 2,606.10      $        -     $ 1,758.10   $      -    $1,024.00     $      -    $     -   $ 11,344.30
Services
Westlaw         $2,072.00     $495.00    $ 2,830.12   $   4,472.05 $       2,551.91 $          -    $        -     $        -   $      -    $         -   $      -    $     -   $ 12,421.08

Totals          $2,280.45     $927.08    $ 5,179.40   $   9,060.90 $ 10,734.93 $ 3,234.87           $   307.34     $ 3,791.26   $   735.59 $1,696.72      $ 3,992.93 $1,619.58 $ 43,561.05

2016            January       February March          April            May          June            July           August       September   October       November    December TOTAL
Auto Travel
Expense
Bloomberg       $         -   $     -    $      -     $           -    $        -   $          -    $        -     $        -   $      -    $         -   $   341.50 $ 370.00 $      711.50

Courtlink       $         -   $     -    $      -     $           -    $        -   $          -    $        -     $        -   $      -    $         -   $      -    $   3.32 $        3.32

Legal           $         -   $     -    $      -     $           -    $        -   $          -    $        -     $        -   $   130.00 $ 455.00       $   422.50 $ 508.00 $     1,515.50
Vision/Court
Messenger

Lexis-Nexis     $         -   $     -    $      -     $           -    $        -   $          -    $        -     $        -   $      -    $         -   $   199.00 $ 720.00 $      919.00


Pacer (Court    $         -   $     -    $      -     $           -    $        -   $          -    $        -     $        -   $   177.20 $ 244.30       $   219.40 $    69.90 $    710.80
Research)

Postage         $         -   $     -    $      -     $           -    $        -   $          -    $        -     $        -   $    5.41   $ 827.88      $   196.44 $    5.34 $    1,035.07
Reproduction    $         -   $     -    $      -     $           -    $        -   $          -    $        -     $        -   $    5.20   $4,957.60     $   766.00 $    82.20 $   5,811.00
Expense
Reproduction/S $          -   $     -    $      -     $           -    $        -   $          -    $        -     $        -   $   112.50 $ 402.60       $   370.80 $ 134.70 $     1,020.60
can Copy
Conference Call $         -   $     -    $      -     $           -    $        -   $          -    $        -     $        -   $   33.93   $   35.00     $    3.99   $   2.42 $       75.34

Federal         $         -   $     -    $      -     $           -    $        -   $          -    $        -     $        -   $   12.42   $   42.08     $   44.47 $     18.28 $    117.25
Express
Filing Fee      $         -   $     -    $      -     $           -    $        -   $          -    $        -     $        -   $      -    $ 191.00      $      -    $     -   $    191.00


Incoming Faxes $          -   $     -    $      -     $           -    $        -   $          -    $        -     $        -   $      -    $    0.60     $      -    $     -   $       0.60


Research        $         -   $     -    $      -     $           -    $        -   $          -    $        -     $        -   $      -    $ 159.00      $   27.50 $       -   $    186.50


Travel Expense $          -   $     -    $      -     $           -    $        -   $          -    $        -     $        -   $   16.00   $   24.00     $    8.00   $     -   $      48.00


Transcripts     $         -   $     -    $      -     $           -    $        -   $          -    $        -     $        -   $      -    $ 150.00      $      -    $     -   $    150.00


Outside         $         -   $     -    $      -     $           -    $        -   $          -    $        -     $        -   $ 2,159.35 $          -   $      -    $     -   $   2,159.35
Reproduction
Expense
Outside         $         -   $     -    $      -     $           -    $        -   $          -    $        -     $        -   $      -    $         -   $ 3,445.65 $      -   $   3,445.65
Services
Westlaw         $         -   $     -    $      -     $           -    $        -   $          -    $        -     $        -   $      -    $         -   $   332.99 $ 118.00 $      450.99

Totals          $         -   $     -    $      -     $           -    $        -   $          -    $        -     $        -   $ 2,652.01 $7,489.06      $ 6,378.24 $2,032.16 $ 18,551.47

GRAND                                                                                                                                                                           $ 74,768.49
TOTAL
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                         EXHIBIT B
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10100 Santa Monica Blvd.
13th Floor                     Richard M. Pachulski
Los Angeles, CA 90067-4003
                               Tel: 310.277.6910   |   rpachulski@pszjlaw.com



EDUCATION                      Mr. Pachulski is widely regarded as one of the preeminent corporate
University of California at
                               restructuring attorneys in America. He was recently named an “Attorney of
Los Angeles (B.A., summa       the Year” by American Lawyer Media’s Recorder, and has been lead counsel
cum laude, 1976)               on several deals that have been recognized as “Deal of the Year” by The
                               M&A Advisor, Turnaround & Workouts and Global M&A Network. Over the
Stanford University (J.D.
                               past few years, he was lead counsel in the corporate restructurings of
1979)
                               American Suzuki Motor Corporation, Solyndra LLC, and Mesa Airlines.
Phi Beta Kappa; Pi Gamma       Additionally, Mr. Pachulski also recently was lead bankruptcy counsel to
Mu                             Lehman Brothers in a matter involving over $2 billion due to Lehman
                               Brothers.
BAR AND COURT
ADMISSIONS                     For the past four decades, Mr. Pachulski has represented debtors and
1979, California               creditors' committees in both out-of-court workouts and in-court
                               proceedings. In addition, he has extensive experience in business
CLERKSHIPS                     reorganizations, as well as debtor/creditor litigation across numerous
                               industries. During the 1980s, he was a well-known chapter 7 and chapter 11
Judicial extern, Robert M.     trustee. His work over this time span led to inclusion in the American
Takasugi (C.D. Cal. 1978-79)
                               College of Bankruptcy, an honorary association of the nation’s most
                               esteemed bankruptcy and insolvency professionals.

                               Other career highlights include representation of the debtors in MagnaChip
                               Semiconductor, Breed Technologies, Sizzler International, Covad
                               Communications and Peregrine Systems; representation of the Circuit City
                               Creditors’ Committee and, thereafter, the Circuit City Liquidating Trustee;
                               representation of the ad hoc bondholders' committee in Adelphia
                               Corporation; and lead counsel in the restructuring of the debts of
                               internationally acclaimed singer-songwriter Toni Braxton. In total, he has
                               assisted in tens of billions of dollars in restructurings during his career.

                               Several national publications and organizations frequently recognize Mr.
                               Pachulski for his work in the restructuring and turnaround field. For
                               example, Chambers USA repeatedly ranks him as a top-tier national
                               bankruptcy/restructuring attorney; Best Lawyers in America has listed him
                               among the nation’s top bankruptcy attorneys every year since 1995; K&R



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                     Richard M. Pachulski (Cont.)



                     Restructuring Register and Turnaround & Workouts listed him as one of
                     America's top restructuring professionals; California Law Business listed
                     him as one of “California's 100 Most Influential Attorneys;” and Los Angeles
                     Business Journal listed him as one of fifteen top banking & finance
                     “turnaround artists.” He also holds an “AV Preeminent Peer Rating,”
                     Martindale-Hubbell's highest recognition for ethical standards and legal
                     ability. In 2016, he was named to Thomson Reuters’ “Top 10: 2016 Southern
                     California Super Lawyers” list and in 2018 was listed by Who's Who Legal
                     among "Thought Leaders - Restructuring & Insolvency."

                     Mr. Pachulski is a graduate of UCLA, and received his J.D. from Stanford
                     University. He is admitted to practice in California, and is a resident in our
                     Los Angeles office.


                     Representations
                     Chapter 11 debtors in American Suzuki Motor Corporation; Highway
                     Technolgies; Peregrine Systems; Breed Technologies; Solyndra; Covad
                     Communications Group, Commonwealth Equity Trust; Sizzler International;
                     Toni Braxton; Mesa Air Group; MagnaChip Semiconductor

                     Creditors' committees in Circuit City; First Executive Corporation; Northpoint
                     Communications

                     Ad hoc bondholders' committee in Adelphia Communications

                     Lehman Brothers in Palmdale Hills Property

                     Trustees in Triad America Corporation and Ezri Namvar


                     Professional Affiliations
                     Fellow, American College of Bankruptcy

                     Member, Financial Lawyers Conference Board of Governors (1989-92)


                     Publications
                     Coauthor, "Chapter 11 - The Bank of Last Resort," 45 Business Lawyer 261
                     (1989)
                     Coauthor, "Plan Wars - The Use of Chapter 11 to Coax Continued Financing
                     From a Reluctant Lender," 738 PLI/Comm. 7 (1996)




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10100 Santa Monica Blvd.
13th Floor                       Jeremy V. Richards
Los Angeles, CA 90067-4003
                                 Tel: 310.277.6910    |   jrichards@pszjlaw.com



EDUCATION                        Mr. Richards has extensive experience representing the major
Oxford University (B.A., first
                                 constituencies in bankruptcies, out-of-court workouts, and related litigation,
class honors, Jurisprudence,     with an emphasis on debtor and creditors' committee representations in
1979; B.C.L., first class        large, complex reorganizations. He has written and lectured extensively on
honors, Law, 1980)               insolvency and insolvency-related issues, and has served as director and
                                 program committee chair for the Turnaround Management Association
Harvard University (LL.M.
1981)
                                 Southern California chapter. Mr. Richards mediates cases for the United
                                 States Bankruptcy Court of the Central District of California. He is a graduate
David Blank Open                 of Oxford University (B.A. 1979; B.C.L. 1980) and was a Frank Knox Fellow at
Scholarship in                   Harvard Law School (1980-81), where he received his LL.M. He holds an AV
Jurisprudence, 1976-79;
                                 Preeminent Peer Rating, Martindale-Hubbell's highest recognition for ethical
Frank Knox Fellowship,
1980-81
                                 standards and legal ability; has been named a "Super Lawyer" in the field of
                                 Bankruptcy & Creditor/Debtor Rights every year since 2007 in a peer survey
BAR AND COURT                    conducted by Law & Politics and the publishers of Los Angeles magazine,
ADMISSIONS                       an honor bestowed on only 5% of Southern California attorneys; and was
                                 selected by Best Lawyers in America for both Bankruptcy and Creditor
1982, California
                                 Debtor Rights / Insolvency and Reorganization Law and Litigation -
                                 Bankruptcy. Mr. Richards is admitted to practice in California, and is a
                                 resident in our Los Angeles office.


                                 Representations
                                 Chapter 11 debtors: Woodside Homes (formerly one of the nation's largest
                                 privately owned homebuilders); People's Choice Home Loan (formerly a
                                 major national subprime lender and loan originator); Thorpe Insulation
                                 Company (formerly one of the largest California-based installers and
                                 distributors of insulation products); Peregrine Systems (major software
                                 developer/distributor); Murray, Inc. (paper products); Precision Specialty
                                 Metals

                                 Creditors' committees: AMC Entertainment; Qintex Entertainment;
                                 Weintraub Entertainment; Leisure Technology; First Capital Holdings; Loews
                                 Cineplex



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                     Jeremy V. Richards (Cont.)



                     Bondholder & equity committees: Barry's Jewelers; Sun World

                     Trustees: Georges Marciano (Guess Jeans cofounder); Triad America
                     Corporation; Oppenheimer Industries

                     Examiners: Metropolitan Mortgage (real estate investment and finance
                     entity); DVI, Inc. (equipment financer)

                     Secured creditors in Meruelo Maddux Properties

                     Provides regular insolvency advice to a major Hollywood studio and other
                     significant entertainment industry participants

                     Lead insolvency counsel to a national homebuilder in the successful out-of-
                     court restructure of more than $400M of debt


                     Professional Affiliations
                     Mediator, United States Bankruptcy Court, Central District of California -
                     Certified mediator with expertise in collaborative and facilitative mediation
                     of complex disputes


                     Programs and Lectures
                     California Bankruptcy Forum (real estate bankruptcy issues); Turnaround
                     Management Association (debtor-in-possession financing issues); Beverly
                     Hills Bar Association (entertainment bankruptcy issues)




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10100 Santa Monica Blvd.
13th Floor                    David J. Barton
Los Angeles, CA 90067-4003
                              Tel: 310.277.6910    |   dbarton@pszjlaw.com



EDUCATION                     Mr. Barton practices business law, representing both public and private
University of California at
                              clients in a variety of transactions and specializing in middle-market
Los Angeles (B.A., summa      company M&A, reorganizations, and work-outs. Mr. Barton has extensive
cum laude, 1978)              experience in both domestic and international transactions, including
                              Australia, Canada, and Mexico. From 1992 to 1997, Mr. Barton was vice
Leningrad State University,
                              president, general counsel, and secretary of Sizzler and remained in charge
USSR (Certificate of
Participation, 1977)
                              of the company’s legal affairs throughout its chapter 11 reorganization. Mr.
                              Barton holds an AV Preeminent Peer Rating, Martindale-Hubbell's highest
Harvard University (J.D.      rating for ethical standards and legal ability, and was named to the 2019
1981)                         edition of Best Lawyers in the practice area of Bankruptcy and Creditor
Phi Beta Kappa; Pi Gamma      Debtor Rights/Insolvency and Reorganization Law. He holds a bachelor’s
Mu; Mu Alpha Gamma;           degree from UCLA and received his J.D. from Harvard Law School in 1981.
Regents Scholar               He is a resident of our Los Angeles office.

BAR AND COURT
ADMISSIONS                    Professional Affiliations
1981, California              Member, Transactions Committee of the Business Law Section of the State
                              Bar (2012-2015)

                              Co-chair, Corporate and Securities Law Committee Insider Trading
                              Procedures Practice Area Group (1997)

                              Member, American Corporate Counsel Association Corporate and Securities
                              Committee (1995-1997)

                              Representative of Sizzler International, Inc., California Business Roundtable
                              (1992-1993)

                              Member, State Bar of California Business Law Section Corporations
                              Committee (1989-1992)

                              Member, State Bar of California Business Law Section Partnership
                              Committee (1986-1989)




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                     David J. Barton (Cont.)



                     Programs and Lectures
                     Speaker, “Assessing, Building and Preserving and Transferring Value in
                     California LLCs,” Lorman Education Services (November 2007)

                     Lecturer, Export Marketing Seminars, Los Angeles District Office of U.S.
                     Department of Commerce (June-July 1990)

                     Moderator, "Organizing and Advising California Partnerships," Continuing
                     Education of the Bar and California State Bar Business Law Section (May
                     1989)


                     Publications
                     SEC Disclosure, Filing Requirements for Public Companies in Chapter 11
                     Journal of Corporate Renewal, January 2009
                     Tougher SEC Standards Are Clogging the PIPEline
                     Journal of Corporate Renewal, May 2007
                     "Keeping the Debtor in 'Suspense': California Corporate Status in Chapter
                     11," 30 California Bankruptcy Journal 379 (2010)
                     "Rule 144A: Why Foreign Companies Are 'Taking the Plunge' into the U.S.
                     Private Placement Market," Int'l Executive 9 (Nov./Dec.1990)
                     "California's Real Estate License Requirement: Obstacles and Risks for Real
                     Estate Syndicators," 5 California Business Law Practitioner 145 (Fall 1990)
                     "Recent Development, Taxation of Foreign Income —Decree of the Supreme
                     Soviet of U.S.S.R. of May 12, 1978," 20 Harvard International Law Journal
                     213 (1979)
                     Consultant, Advising California Partnerships ch. 2 (CEB 2d ed.)




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10100 Santa Monica Blvd.
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34th Floor
New York, NY 10017-2024       Alan J. Kornfeld
                              Tel: 310.277.6910    |   Tel: 212.561.7700    |     akornfeld@pszjlaw.com



EDUCATION                     Alan Kornfeld is a senior litigation partner. His practice focuses principally
University of California at
                              on complex litigation matters in bankruptcy courts. Mr. Kornfeld has tried a
Los Angeles (A.B. 1976)       diverse set of matters, including contested confirmations, DIP financing and
                              cash collateral motions, sale motions, rejection motions, and incentive plan
University of California at   motions. Mr. Kornfeld has also handled a wide variety of commercial
Los Angeles (J.D. 1987)
                              disputes in state and federal courts and has tried adversary actions and
Phi Beta Kappa; Pi Gamma      claim objections in bankruptcy courts. He was selected for inclusion in the
Mu                            2017-2019 editions of Best Lawyers in America for both Bankruptcy and
                              Creditor Debtor Rights / Insolvency and Reorganization Law and Litigation -
BAR AND COURT                 Bankruptcy. He is a graduate of UCLA where he received his A.B. in 1976
ADMISSIONS                    and his J.D. in 1987. Mr. Kornfeld is admitted to practice in New York,
1987, California              California and the District of Columbia.
2004, New York
                              Representations
                              Lead trial counsel for the creditors' committees in DJK Residential (plan
                              confirmation); LandSource Communities Development (DIP financing); Neff
                              Corporation (plan confirmation); Freedom Communications (financing,
                              professional retention, plan disputes)




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150 California Street
15th Floor                Henry C. Kevane
San Francisco, CA
94111-4500                Tel: 415.263.7000   |   hkevane@pszjlaw.com



EDUCATION                 Mr. Kevane is the managing partner of the firm's San Francisco office. He
Brown University (A.B.,
                          has worked on transactional and bankruptcy matters with clients from a
magna cum laude, 1982)    variety of industries, and is listed among the "Best Lawyers in America" and
                          "San Francisco's Best Lawyers" for his work in bankruptcy and creditor-
Southwestern Law School   debtor rights law. He has also been named a "Northern California Super
(J.D., magna cum laude,
                          Lawyer" every year since 2004 in a peer survey conducted by Law & Politics
1986)
                          and the publishers of San Francisco magazine, an honor bestowed on only
BAR AND COURT
                          5% of Northern California attorneys. In 2011, the Daily Journal profiled him
ADMISSIONS                in a special supplement as one of the top 25 municipal lawyers in California
                          for his work in chapter 9 bankruptcy cases. Mr. Kevane was inducted into
1986, California          the American College of Bankruptcy as a fellow in 2015. He is a graduate of
                          Brown University and received his J.D. from Southwestern Law School,
                          where he was editor in chief of the Southwestern University Law Review. He
                          holds an AV Preeminent Peer Rating, Martindale-Hubbell's highest
                          recognition for ethical standards and legal ability, and has been listed in
                          Best Lawyers in America for Bankruptcy and Creditor Debtor Rights /
                          Insolvency and Reorganization Law since 2006. Mr. Kevane is admitted to
                          practice in California.


                          Representations
                          Creditors' committees in SeraCare Life Sciences; Guy F. Atkinson Company;
                          America West Airlines

                          Chapter 11 debtors in Deltagen; Thorpe Insulation; Point Blank Solutions;
                          Champion Enterprises, Aegis Mortgage; Yipes Communications; E/O
                          Networks; Worlds of Wonder; Frederick & Nelson

                          Participated in the municipal restructurings of the County of Orange,
                          Heffernan Memorial Hospital District (chapter 9 debtor located in Calexico,
                          California); Palm Drive Healthcare District; West Contra Costa Healthcare
                          District; Valley Health System, Adair County Hospital District (Kentucky)




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                     Henry C. Kevane (Cont.)



                     Debtor's counsel to Mendocino Coast Health Care District in its chapter 9
                     case


                     Professional Affiliations
                     Fellow, American College of Bankruptcy

                     Director, Business Law Today (ABA Business Law Section)

                     Chair, Bankruptcy Committees Subcommittee of the ABA Business Law
                     Section Business Bankruptcy Committee

                     Vice chair, Individual Chapter 11 Subcommittee of the ABA Business Law
                     Section Business Bankruptcy Committee

                     Chair, State Bar of California Committee on Federal Courts (1996-2001)

                     Chair, State Bar of California Business Law Section Insolvency Law
                     Committee (1995-1999)


                     Programs and Lectures
                     American Intellectual Property Law Association, American Conference
                     Institute, ALI/ABA, Association of Insolvency & Restructuring Advisors


                     Publications
                     Is a Bankruptcy Court’s Determination of Insider Status Reviewed Under the
                     Rigorous De Novo Standard or the More Deferential Clear-Error Standard?
                     45 ABA PREVIEW of United States Supreme Court Cases 42 (2017), October
                     27, 2017
                     Does the FDCPA Cover a Party That Purchases Defaulted Debt for Its Own
                     Account?
                     44 ABA PREVIEW of United States Supreme Court Cases 218 (2017), April
                     14, 2017
                     Does the Bankruptcy Code Preclude Puerto Rico From Adopting a Local
                     Insolvency Scheme for Restructuring the Debts of Its Public Utilities?
                     43 PREVIEW of United States Supreme Court Cases 200 (2016), March 22,
                     2016
                     Legislative Update: "Indicative Rulings" Under New Bankruptcy Rule 8008
                     ABA Business Bankruptcy Committee e-Newsletter, July 2015
                     No More Ad Lib: The Nuts and Bolts of Ad Hoc Committees
                     Business Law Today, December 2014
                     Legislative Update: Senate Bill 2418
                     Bankruptcy Fairness and Employee Benefits Protection Act
                     ABA Business Bankruptcy Committee of the Business Law Section, June 11,
                     2014




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                     Henry C. Kevane (Cont.)



                     Bond Insurers Become Active Participants in Chapter 9s
                     26 Journal of Corporate Renewal 24, May 2013
                     Debtor-in-Possession Financing
                     Funding a Chapter 11 Case
                     December 2012
                     What Just Happened? How Asset Forfeiture Affects Bankruptcy Distributions
                     Business Law Today, June 2012
                     Legislative Update: California Assembly Bill 506 on Bankruptcy Code
                     Chapter 9 Eligibility
                     American Bar Association Business Law Section Business Bankruptcy
                     Committee Newsletter, January 2012
                     Deploying the “Prepackaged” Plan of Adjustment in Chapter 9
                     Chapter 9 Bankruptcy Strategies, October 2011
                     Across the Border: IP Entanglements in Chapter 15 Bankruptcies
                     May 2011
                     Chapter 9 Municipal Bankruptcy – The New “New Thing”?
                     Parts I & II
                     20 Business Law Today (May and June 2011)
                     "Legislative Solutions in the Orange County Chapter 9 Case," published in
                     course handbook, The Aftermath of Bankruptcy: Legislative Reform -- State
                     and Federal (1996)
                     "The Treatment of Financing Leases in a Chapter 9 Bankruptcy Case," in AGL
                     & F Tax-Exempt Leasing Letter (1996)
                     "The Legislative Side of the Orange County Chapter 9 Case" for Sacramento
                     County Bar Association (1996)
                     "Now What? Three Questions Facing the Municipal Bondholder Upon
                     Commencement of a Chapter 9 Case," published in course handbook,
                     Municipal Bond Law for the Bankruptcy Practitioner (1996)
                     "Fee Shifting by (1) Oversecured Creditors in Bankruptcy Cases & (2)
                     Prevailing Parties in Civil Litigation," published in course handbook Getting
                     Paid What You Are Worth (1996)
                     "The Newsgatherer's Shield: Why Waste Space in the California
                     Constitution?" 15 Southwestern University Law Review 527 (1985)
                     Coauthor, "Principles of Equitable Subordination Under Section 510 of the
                     Bankruptcy Code," in Selected Issues in Bankruptcy Practice (1991)
                     Contributing author, Bankruptcy Practice: Annual Recent Developments
                     (Calif. Contin. Ed. Bar 1992-1998)




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13th Floor                      Linda F. Cantor
Los Angeles, CA 90067-4003
                                Tel: 310.277.6910   |    lcantor@pszjlaw.com



EDUCATION                       Ms. Cantor’s practice focuses on representing companies and creditor
University of Michigan (A.B.,
                                representatives in financial restructurings and bankruptcy reorganizations.
with high distinction)          Ms. Cantor has substantial experience representing debtors, trustees,
                                secured creditors and official creditors' committees in chapter 11 bankruptcy
University of Michigan (M.S.    cases. She is a graduate of the University of Michigan, where she later
W.)
                                received her J.D. She holds an AV Preeminent Peer Rating, Martindale-
University of Michigan (J.D.,   Hubbell's highest recognition for ethical standards and legal ability, and was
cum laude)                      listed among the Top Women Attorneys in Southern California for
                                Bankruptcy by Super Lawyers. She was also listed in the 2018 and 2019
BAR AND COURT                   editions of Best Lawyers. Ms. Cantor, a member of the firm since 1990, is
ADMISSIONS                      admitted to practice in Illinois and California, and is a resident in our Los
1988, Illinois                  Angeles office.
1991, California
                                Representations
                                Chapter 11 debtors in American Suzuki Motor Corporation, Woodside
                                Homes (formerly one of the nation’s largest privately owned homebuilders),
                                OwnIt Mortgage Solutions (formerly a major national subprime lender and
                                loan originator), Prime Measurement Products, Whitehouse Hotels
                                (developer of the Ritz Carlton Hotel and related developments in New
                                Orleans, Louisiana), Breed Technologies (manufacturer of crash sensors and
                                airbag systems), American Rice, Focal Communications, Gateway
                                Educational Products (developer of “Hooked on Phonics”), Imperial
                                Aluminum; Vulcan Metal Products, Dana Corporation, Ocean Park Hotels,
                                Arlie & Company

                                Chapter 11 trustees in New Val Ford dba Magic Ford (formerly the nation’s
                                5th largest Ford dealership), 21st Century Film Corporation, NSB Film
                                Corporation, Georges Marciano; The Tulving Company; Penthouse Global
                                Media




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                     Linda F. Cantor (Cont.)



                     Court-appointed receiver in Mazda and Kia Superstores

                     Creditors' committees in Loews Cineplex Entertainment, B.U.M.
                     International, The Boston Stores, Madison Associates (formerly Pannell Kerr
                     Foster), C&R Clothiers


                     Programs and Lectures
                     ABI Winter Leadership Conference (issues arising in hotel bankruptcy
                     cases);

                     ABI Southwest Bankruptcy Conference (post-confirmation/jurisdiction);

                     California Bankruptcy Forum (ethics matters)


                     Publications
                     "The Impact of Bankruptcy on Entertainment License Agreements:
                     Protecting the Rights of Debtor Licensees," 19 California Bankruptcy Journal
                     225 (1991)




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10100 Santa Monica Blvd.
13th Floor                     Gabriel I. Glazer
Los Angeles, CA 90067-4003
                               Tel: 310.277.6910   |   gglazer@pszjlaw.com



PRACTICES                      Mr. Glazer regularly advises hedge funds, bondholders, and other creditors
Investors in Distressed Debt
                               with respect to a wide variety of issues affecting secured and unsecured
                               investors in distressed debt, including covenant restrictions in credit
EDUCATION                      agreements and indentures, intercreditor disputes, collateral issues, and in
                               related litigation. Mr. Glazer counsels creditors both prior to and following
University of Arizona (B.A.,   the filing of a bankruptcy case, and in out-of-court workouts. He also
magna cum laude, 2001)
                               represents various other parties in chapter 11 bankruptcy cases, including
University of Southern         operating debtors, creditor and equity committees, and asset purchasers.
California Law School (J.D.    Mr. Glazer has guided clients through some of the largest and most complex
2006)                          bankruptcy cases in the country, including the Caesars and Lehman Brothers
                               cases. He remains on the cutting edge of distressed debt and has been
BAR AND COURT                  actively involved in new legal developments affecting this area in real time.
ADMISSIONS
2006, California               Mr. Glazer received his J.D. from the University of Southern California Law
                               School, where he served on the Southern California Law Review and
                               graduated in the top 10% of his class. He received his B.A., magna cum
                               laude, from the University of Arizona. In 2017, he was a recipient of the
                               M&A Advisor's 8th Annual Emerging Leaders Award, which recognizes the
                               achievements of young turnaround and financing professionals who have
                               reached a significant level of success and have made a notable contribution
                               to their industry and community. He has been selected for inclusion in The
                               Best Lawyers in America every year since 2017 for his work in Bankruptcy
                               and Creditor Debtor Rights / Insolvency and Reorganization Law. He has
                               also been named a "Southern California Super Lawyers Rising Star" since
                               2013 and was included on a select list of 100 lawyers receiving the highest
                               point totals in the Southern California Rising Stars nomination, research,
                               and blue-ribbon review process from 2015 - 2018.

                               Mr. Glazer frequently speaks to and educates the legal and investment
                               communities about issues and developments relevant to corporate
                               bankruptcy and distressed investments. In addition to speaking regularly to
                               investment funds, Mr. Glazer has spoken on multiple occasions at events
                               sponsored by the State Bar of California and the Financial Lawyers




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                     Gabriel I. Glazer (Cont.)



                     Conference. Mr. Glazer served previously as Chair of the Commercial
                     Transactions Committee of the State Bar of California Business Law Section
                     and was the principal author of a Statement of Position that facilitated the
                     adoption of the Uniform Voidable Transactions Act (which amended the
                     former Uniform Fraudulent Transfer Act) in California. He is admitted to
                     practice in California and is a resident in our Los Angeles office.


                     Representations
                     Chapter 11 debtor counsel: Rising Sun Enterprises; Meruelo Maddux
                     Properties

                     Creditors' committee counsel: Ownit Mortgage Solutions; Mi Pueblo San
                     Jose

                     Trust counsel: Ownit Liquidating Trust (established in chapter 11 case of
                     Ownit Mortgage Solutions); Thorpe Insulation; J.T. Thorpe; Western
                     Asbestos Company (asbestos-related settlement trusts in chapter 11 cases)

                     Examiner counsel: Extended Stay Hotels


                     Professional Affiliations
                     Member, Financial Lawyers Conference Board of Governors (2014-2017)

                     Chair, Commercial Transactions Committee of the State Bar of California
                     Business Law Section (2013-2014)

                     Member, International Insolvency Institute




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150 California Street
15th Floor                    John W. Lucas
San Francisco, CA
94111-4500                    Tel: 415.217.5108   |    jlucas@pszjlaw.com



EDUCATION                     Mr. Lucas represents debtors, creditors' committees, creditors, and trustees
University of California at
                              in chapter 11 cases and companies in out-of-court restructurings with an
Los Angeles (B.A. magna       emphasis on transportation, financial products, food services, retail,
cum laude,1992)               automotive, and technology. Mr. Lucas is a graduate of the University of
                              California at Los Angeles and received his J.D. from the University of
University of Oregon School
                              Oregon School of Law and was a member of the Oregon Law Review. Mr.
of Law (J.D. 2004)
                              Lucas is admitted to practice in California and New York and is a resident in
BAR AND COURT
                              our San Francisco office.
ADMISSIONS
2010, California              Representations
2005, New York                Chapter 11 debtors: Sedgwick LLP; Tintri Inc.; A.M. Castle & Co.; Blue Earth;
                              NewZoom Inc.; Response Genetics; Tri-Valley Learning Corporation;
CLERKSHIPS
                              Elephant Bar Restaurants; Z'Tejas Restaurants; Highway Technologies;
Law clerk, Judge Robert D.    American Suzuki Motor Corporation; Global Aviation; Mesa Airlines;
Drain (Bankr. S.D.N.Y.        Lehman Brothers Holdings; Champion Enterprises; Heller Ehrman LLP;
2004-06)                      Lexington Precision; Silicon Graphics

                              Chapter 11 creditors: Cottonwood Cajon in Premier Golf Properties; Lehman
                              Commercial Paper Inc. and Lehman ALI Inc. in Palmdale Hills Property LLC
                              (“SunCal”); indenture trustee in Calpine; bondholders in Portrait
                              Corporations of America

                              Creditors’ committees: Uni-Pixel; Rdio Inc.; Yellow Cab of San Francisco;
                              Champps/Fox & Hound Restaurants; Trident Microsystems (Far East) Ltd.

                              Trustees: Yashouafar; Evergreen International Aviation; Exigen (USA)

                              Section 363 asset sales: Represented buyers in Bartlett Mgt. Services (KFC
                              franchise); Quality Discount Ice Cream; Nurserymen’s Exchange

                              Out-of-court restructurings: Security Capital Assurance Ltd. and a
                              professional sports franchise




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                     John W. Lucas (Cont.)



                     Professional Affiliations
                     Co-chair, American Bankruptcy Institute Annual Southwest Bankruptcy
                     Conference (2014-18)

                     Advisory Board Member, American Bankruptcy Institute Annual Southwest
                     Bankruptcy Conference (2011-14)


                     Publications
                     Debtor-in-Possession Financing
                     Funding a Chapter 11 Case
                     December 2012
                     Creditor's Self-Interest Precludes Fee Reimbursement From the Estate
                     September 2012
                     First Day Motions (3d ed.)
                     A Guide to the Critical First Days of a Bankruptcy Case
                     American Bankruptcy Institute, June 2012
                     "Approval of the DIP Financing Order" in Debtor-in-Possession Financing:
                     Funding a Chapter 11 Case (ABI 2012)
                     Coauthor, "The Role and Retention of the Chief Restructuring Officer," in The
                     Americas Restructuring and Insolvency Guide (2008/2009)
                     "The Article 9 Buyer’s Seller Rule & The Justification for Its Harsh Effects,"
                     83 Oregon Law Review 289 (2004)




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13th Floor                   Richard J. Gruber
Los Angeles, CA 90067-4003
                             Tel: 310.277.6910    |   rgruber@pszjlaw.com



EDUCATION                    Mr. Gruber is a transactional lawyer who specializes in representing clients
Brandeis University (B.A.,
                             in connection with real estate and general business matters (both in
magna cum laude, 1977).      bankruptcy and non-bankruptcy contexts). His expertise includes handling
                             asset purchases and sales and other personal-property transactions, the
University of California     organization and sale of businesses, and all aspects of real-estate purchase
School of Law, Los Angeles
                             and sale transactions, drafting and negotiating commercial leases, and real
(J.D. 1982).
                             estate and personal-property financing documentation. He also negotiates
BAR AND COURT
                             and prepares partnership and limited liability company formation
ADMISSIONS                   agreements, and provides general counseling in the corporate partnership
                             and limited liability company areas. He is a graduate of Brandeis University
1982, California.            and received his J.D. from UCLA. He holds an AV Preeminent Peer Rating,
                             Martindale-Hubbell's highest recognition for ethical standards and legal
                             ability. Mr. Gruber is admitted to practice in California and is a resident in
                             our Los Angeles office.




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EDUCATION                    Mr. Parker practices in the area of complex commercial, business, and real
Stanford University (B.A.,
                             estate litigation and transactions, including business-entity formation. He
with distinction, 1966)      also has extensive experience in all aspects of maritime law, including
                             litigation and transactions involving international cargo shipment and sales,
Stanford Law School (J.D.    bills of lading and letters of credit, ship mortgages, and ship sales. He has
1969)
                             worked on a number of real estate insolvency cases and loan workouts
Phi Beta Kappa               involving developers and homebuilders, dealing with loans, deeds of trust,
                             and priority issues. Mr. Parker has also assisted landlords and tenants where
BAR AND COURT                an actual or threatened tenant insolvency was involved. Mr. Parker is a
ADMISSIONS                   graduate of Stanford University (A.B. with distinction; JD) and a member of
1970, California             Phi Beta Kappa. He is admitted to practice in California, and holds an AV
                             Preeminent Peer Rating, Martindale-Hubbell's highest recognition for ethical
                             standards and legal ability. He was selected for inclusion in the 2018 and
                             2019 editions of Best Lawyers in America for his work in Bankruptcy and
                             Creditor Debtor Rights/Insolvency and Reorganization Law and Commercial
                             Transactions/UCC Law . Mr. Parker is a member of the American Association
                             for the Advancement of Science and the Maritime Law Association of the
                             United States and is a resident of our Los Angeles office.


                             Professional Affiliations
                             Member, American Association for the Advancement of Science

                             Member, Maritime Law Association of the United States




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Los Angeles, CA 90067-4003
                               Tel: 310.277.6910    |   jkim@pszjlaw.com



EDUCATION                      Mr. Kim has represented both debtors and creditors on a wide range of
Duke University (A.B., magna
                               issues in chapter 11 cases, bankruptcy litigation, and federal court appeals,
cum laude, 1992)               with substantial experience in plan, corporate/transactional, and litigation
                               matters. He is a graduate of Duke University and received his J.D. from
Harvard University Law         Harvard. He is a member of the Financial Lawyers Conference. Mr. Kim is
School (J.D., cum laude,
                               admitted to practice in California, and is a resident in our Los Angeles office.
1995)

BAR AND COURT                  Representations
ADMISSIONS
1995, California               Chapter 11 debtors: Woodside Homes; Ownit Mortgage Solutions; Murray
                               Inc.; Peregrine Systems


                               Publications
                               The Enforceability of a Make-Whole Provision in Bankruptcy: It Says What It
                               Says
                               Journal of Corporate Renewal
                               May 9, 2017
                               Navigating Corporate Bankruptcy in the Electronic Age
                               Bankruptcy Law 360, January 15, 2015
                               Potential Risks and Lessons for Debtor-Licensors in Chapter 15 Cases Based
                               on Recent Fourth Circuit Decision
                               International Bar Association: Insolvency and Restructuring International,
                               September 2014
                               Authored or coauthored program materials for: “The Great Debate” (ABI
                               Annual Bankruptcy Battleground West Conference, March 2011); "Trends
                               and Issues in Commercial Real Estate Lending Covenants and
                               Documentation” (California Bankruptcy Forum 2011); “The Mootness
                               Doctrine as Applied to Bankruptcy Sales” (August 2009); “Retail Debtor
                               Cases – Recent Issues” (Bloomberg Bankruptcy Law Seminar, May 2008);




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                     Jonathan J. Kim (Cont.)



                     “Report From the Front: Creditors Committees After BAPCPA” (ABI Mid-
                     Atlantic Conference 2006)




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150 California Street
15th Floor                   Gail S. Greenwood
San Francisco, CA
94111-4500                   Tel: 415.263.7000    |   ggreenwood@pszjlaw.com



EDUCATION                    Ms. Greenwood specializes in bankruptcy-related litigation. She has over
Amherst College (B.A.,
                             eighteen years' experience in civil litigation and bankruptcy, including
magna cum laude, 1988)       representation of chapter 11 trustees, debtors, creditors, and creditors'
                             committees in significant business bankruptcies. Ms. Greenwood has won
University of California     summary judgments in the prosecution of multimillion-dollar breach-of-
School of Law, Los Angeles
                             fiduciary-duty claims and defense of multimillion-dollar preference and
(J.D. 1993).
                             fraudulent-transfer claims. She has also successfully prosecuted state-court
BAR AND COURT
                             fraud and alter-ego claims against a series of ever-changing private entities.
ADMISSIONS                   Ms. Greenwood is a magna cum laude graduate of Amherst College and
California, 1994             received her J.D. from UCLA School of Law, where she was editor of the
                             Environmental Law Journal. She is listed in the 2019 edition of Best Lawyers
                             in America for her work in Bankruptcy and Creditor Debtor Rights /
                             Insolvency and Reorganization Law. She is admitted to practice in California
                             and is a resident of our San Francisco office.


                             Representations
                             Creditors' committees and liquidating trustees: Liberty Asset Management,
                             Rdio Inc., Fox & Hound/Champps, ERG Resources, The Billing Resource,
                             Clement and Ann Marie Carinelli, Humboldt Creamery

                             Chapter 11 debtors: SFX Entertainment, NewZoom Inc., Heller Ehrman LLP


                             Professional Affiliations
                             Member, Bar Association of San Francisco Commercial Law & Bankruptcy
                             Committee (2008-)

                             Member, International Women's Insolvency & Restructuring Confederation
                             (IWIRC) (Secretary, 2016-18; Events co-chair, 2018-19)




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10100 Santa Monica Blvd.
13th Floor                     Gillian N. Brown
Los Angeles, CA 90067-4003
                               Tel: 310.277.6910    |   gbrown@pszjlaw.com



EDUCATION                      Ms. Brown has litigated matters in California state courts, federal district
University of California at
                               courts, and federal bankruptcy courts. She is a graduate of the University of
Berkeley (B.A., with honors,   California at Berkeley and attended the Centro Studi della Boston University
1994)                          in Padova, Italy. At Boalt Hall School of Law, she was a notes & comments
                               editor for the California Law Review and book review editor for the Berkeley
Berkeley Law/Boalt Hall
                               Women's Law Review.
School of Law, University of
California, Berkeley (J.D.     Ms. Brown's practice includes representing clients in general business
1999)                          litigation, including contract disputes, business tort litigation, and unfair
Phi Beta Kappa; Alumni         competition actions. She has also prosecuted and defended class actions
Scholar                        and complex litigation, defended employees and employers in employment
                               discrimination matters, and represented both debtors and creditors'
BAR AND COURT                  committees in bankruptcy litigation. Since 2004, Ms. Brown has represented
ADMISSIONS                     sex abuse survivors in bankruptcy cases involving the Roman Catholic
1999, California               Church. Ms. Brown was named a "Southern California Super Lawyers Rising
                               Star" every year from 2004 - 2008. She was named a "Southern California
2008, Washington, D.C.
                               Super Lawyer" in 2015 and in 2018. She is fluent in Italian.
2010, New York
                               Ms. Brown is a resident in our Los Angeles office.
CLERKSHIPS
Law clerk, Judge William M.    Representations
Hoeveler (S.D. Fla.
1999-2000)                     Business litigation: Trial verdict in excess of $2 million in Mortgage Lenders
                               Network USA v. Wells Fargo Bank (Bankr. D. Del. 2009); Trial counsel in
                               successful litigation finding investment pool assets worth $120 million to be
                               property of the chapter 11 estate, Official Committee v. Catholic Diocese of
                               Wilmington, Inc. (In re Catholic Diocese of Wilmington, Inc.), 432 B.R. 135
                               (Bankr. D. Del. 2010)

                               Committees of sex abuse survivors: Catholic Diocese of Spokane; Diocese of
                               Davenport; Roman Catholic Bishop of San Diego; Society of Jesus, Oregon
                               Province; Catholic Bishop of Northern Alaska; Catholic Diocese of
                               Wilmington; Archdiocese of Milwaukee; Christian Brothers of Ireland Inc.




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                     Gillian N. Brown (Cont.)



                     and Christian Brothers Institute; Roman Catholic Church of the Diocese of
                     Gallup; Roman Catholic Bishop of Helena, Montana; Roman Catholic Bishop
                     of Stockton

                     Class actions/complex litigation: plaintiff class in In re Structured Settlement
                     Litigation; defense of FUJIFILM Holdings America Corporation


                     Professional Affiliations
                     President, Beverly Hills Bar Foundation (2014-2015)

                     Board of Directors, Beverly Hills Bar Foundation (2011-2014)

                     Board of Directors, Boalt Hall Alumni Association (2010 - 2013)

                     Advisory Board, Western Center on Law & Poverty (2007 - 2012)

                     Member, American Bar Association Electronic Discovery Working Group
                     (2011 - 2014)

                     Member, International Women's Insolvency and Restructuring
                     Confederation


                     Publications
                     E-Discovery Issues
                     Business Credit, October 2008




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                                 Jason Rosell
                                 Tel: 415.263.7000    |   jrosell@pszjlaw.com



                                 Jason Rosell represents debtors and creditors in chapter 11 cases with an
                                 emphasis on technology. Mr. Rosell received his B.S. in Computer
                                 Information Systems and M.B.A at Arizona State University's W.P. Carey
                                 School of Business; he received his J.D. at Sandra Day O’Connor College of
150 California Street            Law, also part of Arizona State University. He served as a legal extern for the
15th Floor                       Honorable Redfield T. Baum, Bankruptcy Court for the District of Arizona,
San Francisco, CA                and is admitted to practice in California and New York. Mr. Rosell has been
94111-4500                       named a "Rising Star" in Super Lawyers for the past four years. Mr. Rosell is
                                 resident in our San Francisco office.

EDUCATION                        Representations
W.P. Carey School of
Business, Arizona State
                                 Chapter 11 debtors: Brinkmann Corporation, NewZoom, Hipcricket, Digital
University (B.S., summa cum      Domain Media, Mesa Air Group, Solyndra
laude, 2003)
                                 Creditors' committees: Cobalt International Energy, Rdio, SFX
W.P. Carey School of             Entertainment, Haggen Holdings, Residential Capital, AMF Bowling
Business, Arizona State          Worldwide
University (M.B.A. 2005)
                                 Ad hoc committees: Energy Future Holdings
Sandra Day O’Connor
College of Law, Arizona State
University (J.D., magna cum
laude, 2009)
                                 Professional Affiliations
                                 Board member, Turnaround Management Ass'n - Northern California
BAR AND COURT                    Chapter
ADMISSIONS
California, 2010                 Board member, Bay Area Bankruptcy Forum

New York, 2011

CLERKSHIPS
Legal extern, Judge Redfield
T. Baum (Bankr. D. Ariz. 2009)




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780 Third Avenue
34th Floor                       Steven W. Golden
New York, NY 10017-2024
                                 Tel: 212.561.7700    |   sgolden@pszjlaw.com



EDUCATION                        Steven Golden represents debtors, secured creditors, unsecured creditors,
Emory University (B.A. 2009)
                                 and committees in corporate bankruptcy proceedings. He received his B.A.
                                 from Emory University, his J.D. from Georgia State University College of
Georgia State University         Law, and his LL.M. from St. John's University School of Law. Mr. Golden
College of Law (J.D. 2014)       served as a judicial intern for the Honorable Margaret H. Murphy,
St. John's University School     Bankruptcy Court for the Northern District of Georgia, and is admitted to
of Law (American Bankruptcy      practice in New York, Maryland and Texas. Mr. Golden is resident in our
Institute Scholar, LL.M. 2015)   New York office.

BAR AND COURT
ADMISSIONS                       Representations
2015 Maryland                    Chapter 11 debtors: Tri-Valley Learning Corp. (N.D. Cal.)
2015 New York
                                 Postconfirmation trustees: International Shipholding (S.D.N.Y.), Adeptus (N.
2016 Texas                       D. Tex.)

CLERKSHIPS                       Creditors' committees: Cafe Holdings Corp. (Fatz Cafe) (D.S.C.), Erin Energy
                                 (S.D. Tex.), Haggen Holdings (D. Del), Diocese of Great Falls-Billings (D.
Judicial intern, Judge
Margaret H. Murphy (Bankr.       Mont.), Luca International (S.D. Tex), International Shipholding (S.D.N.Y.),
N.D. Ga. 2013)                   Last Call Guarantor (Fox & Hound) (D. Del.), CarrierWeb (N.D. Ga.),
                                 Hampshire Group (D. Del.), Big Apple Circus (S.D.N.Y.), Payless Shoes (E.D.
                                 Mo.), BCBG Max Azria (S.D.N.Y.), Ignite Restaurant Group (S.D. Tex.), Cobalt
                                 International Energy (S.D. Tex.), Bon-Ton Stores (D. Del.), The Weinstein
                                 Company (D. Del.)

                                 Crossborder representation: Argent Energy (S.D. Tex.)

                                 Creditors in: Black Elk (S.D. Tex.) (counsel to five large unsecured creditors
                                 and predecessors-in-title to the debtor), Seadrill (S.D. Tex.)

                                 Appeals: Baker Botts v ASARCO LLC (of counsel to law professor
                                 consortium); Bank of America v. Caulkett (of counsel to law professor
                                 consortium), Czyzewski v. Jevic Holding Corp. (counsel to respondent
                                 creditors' committee)



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                     Steven W. Golden (Cont.)



                     Professional Affiliations
                     Turnaround Management Association


                     Publications
                     Sections 327 Through 330
                     Recent Developments in the Law of Employment and Compensation of
                     Bankruptcy Professionals
                     2018 Norton Annual Survey of Bankruptcy Law 547, December 2018
                     The Delaware of Asia
                     Singapore Establishes Itself as a New Restructuring Center
                     American Bankruptcy Institute Journal (Aug. 2017), 2017
                     The Role of Insolvency Practitioners in the United States
                     Presented to the INSOL International Seoul One-Day Seminar, February
                     2017
                     Headed Through the Boomerang Tube: Professional Compensation After
                     ASARCO
                     2016 Norton Survey of Bankruptcy Law 220
                     “In Art We Trust: The Intersection of Trust and Bankruptcy Law in Detroit,”
                     48 Texas Tech Law Review 313 (Spring 2016)
                     “The End of Fees for Fees: The Supreme Court Speaks in ASARCO,” 24
                     Norton Journal of Bankruptcy Law & Practice 634 (December 2015)
                     “A Lease by Any Other Name: Section 365 and Oil and Gas Leases,” 13 ABI
                     Young and New Members Committee Newsletter (June 2015)
                     “Let’s Keep This Between Us: Protecting PII in Bankruptcy Sales,” ABI
                     Business Reorganization Committee Newsletter (February 2015)
                     “Absolutely Absolute? The Extension of 203 N. LaSalle to Insiders,” 11 ABI
                     Unsecured Trade Creditors Committee Newsletter (June 2013)
                     Coauthor, "Stripping Down and Stripping Off in Chapter 11 and Chapter 13:
                     Does Caulkett Change the Calculus?" 26 Norton Journal of Bankruptcy Law
                     & Practice art. 4 (No. 2 April 2017)
                     Coauthor with Robert J. Feinstein, "2016 Second Circuit Review," Norton
                     Bankruptcy Law Adviser (No. 2 February 2017)
                     Coauthor, "Recent Developments in Section 327-330: Employment and
                     Compensation of Bankruptcy Professionals," 2016 Norton Annual Survey of
                     Bankruptcy Law 14 (2016).
                     Coauthor, “Rule 3002.Fun: Does the Rule Need Negative Notice,” Vol. 32 ABI
                     Journal 36 (July 2013)
                     Coeditor, Bankruptcy Claims Handbook,” American Bar Association
                     Business Bankruptcy Committee (2013)




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780 Third Avenue
34th Floor                    Maria A. Bove
New York, NY 10017-2024
                              Tel: 212.561.7700    |   mbove@pszjlaw.com



EDUCATION                     Ms. Bove received her B.A. (German/Political Science) from Hunter College
Hunter College (B.A., summa
                              in 1995 (summa cum laude; Phi Beta Kappa) and her J.D. from Boston
cum laude, 1995)              University School of Law in 2000. Ms. Bove clerked for the Honorable Robert
                              E. Gerber of the Bankruptcy Court for the Southern District of New York from
Boston University School of   2000-2001 and 2005-2006. She is member of the New York bar and is a
Law (J.D. 2000)
                              resident in our New York office.
Phi Beta Kappa

BAR AND COURT                 Representations
ADMISSIONS
                              Chapter 11 debtors: Digital Domain Media, Highway Technologies, Mesa Air
New York, 2001                Group, Global Aviation (conflicts counsel), Woodside Homes, Dunmore
                              Homes, Mortgage Lenders Network, G+G Retail, Penthouse Magazine
CLERKSHIPS                    publisher General Media (named one of the "Top 10 Successful
Law clerk, Judge Robert E.    Restructurings of 2004" by Turnarounds & Workouts), boxer Mike Tyson,
Gerber (Bankr. S.D.N.Y.       Dice (named one of the "Top 10 Successful Restructurings of 2003" by
2000-01, 2005-06)             Turnarounds & Workouts), ACandS, Dana Corporation (conflicts counsel)

                              Chapter 11 creditors: Lehman Commercial Paper Inc. and Lehman ALI Inc. in
                              Palmdale Hills Property (“SunCal”), California Power Exchange in Enron

                              Creditors’ committees: Chrysler (conflicts counsel), DJK Residential/SIRVA,
                              Foss Manufacturing, Pennsylvania Fashions

                              National Association of Bankruptcy Trustees as amicus curiae in USACM
                              Liquidating Trust v. Deloitte & Touche (9th Circuit), Bondi (extraordinary
                              commissioner of Parmalat Finanziaria S.p.A.) v. Citigroup (Parmalat) (NJ
                              Supreme Court), Peterson (chapter 7 trustee for Lancelot Investors Fund) v.
                              McGladrey (7th Circuit), and Kirschner (trustee of the Refco Litigation Trust)
                              v. KPMG (NY Court of Appeals)

                              Investors in cases against independent auditors in accountant liability cases




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                     Maria A. Bove (Cont.)



                     Liquidating trustee in Dairy Mart Convenience Stores


                     Publications
                     Co-editor, "Trustees and Examiners," Norton Bankruptcy Law & Practice (3d
                     ed. 2007)
                     "A Balance of Power: Examining the Nexus Between Regulatory and
                     Bankruptcy Jurisdiction," Norton Annual Survey of Bankruptcy Law (2005)
                     "Equitable Subordination," Norton Annual Survey of Bankruptcy Law
                     ( (2003)
                     "Section 363(h): The Bankruptcy Code Can’t Please All the People All the
                     Time, Or Can It?" Norton Annual Survey of Bankruptcy Law (2000)




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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    September 30, 2016
JVR                                                                 Invoice 114542
                                                                    Client  32274
                                                                    Matter  00001
                                                                            JVR
RE: Yashouafar

___________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 09/30/2016
                 FEES                                                $70,136.00
                 EXPENSES                                               $430.31
                 TOTAL CURRENT CHARGES                               $70,566.31

                 TOTAL BALANCE DUE                                   $70,566.31
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32274     00001                                                                            September 30, 2016




 Summary of Services by Task Code
 Task Code              Description                                                Hours                    Amount

 AA                     Asset Analysis/Recovery[B120]                               9.70                   $9,651.50
 AD                     Asset Disposition [B130]                                   11.30                   $9,733.50
 AP                     Appeals [B430]                                              0.10                         $99.50
 BL                     Bankruptcy Litigation [L430]                                5.30                   $4,812.50
 CA                     Case Administration [B110]                                 50.30                  $38,787.50
 CO                     Claims Admin/Objections[B310]                               0.50                        $497.50
 GC                     General Creditors Comm. [B150]                              0.20                         $65.00
 RFS                    Relief from Stay                                            0.10                         $32.50
 RP                     Retention of Prof. [B160]                                   4.40                   $1,780.00
 SL                     Stay Litigation [B140]                                      3.80                   $3,781.00
 TI                     Tax Issues [B240]                                           0.90                        $895.50
                                                                                   86.60                  $70,136.00

 Summary of Services by Professional
 ID           Name                                       Title             Rate             Hours               Amount

 BDD          Dassa, Beth D.                             Paralegal        325.00             9.50         $3,087.50
 JVR          Richards, Jeremy V.                        Partner          995.00            46.80        $46,566.00
 JWL          Lucas, John W.                             Partner          675.00            28.50        $19,237.50
 LFC          Cantor, Linda F.                           Partner          925.00             1.10         $1,017.50
 PJJ          Jeffries, Patricia J.                      Paralegal        325.00             0.70           $227.50
                                                                                           86.60          $70,136.00




 Summary of Expenses
Description                                                                                                     Amount

Legal Vision Atty Mess Service                                                                                  $130.00



Pacer - Court Research                                                                                          $177.20
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32274     00001                                                               September 30, 2016


 Summary of Expenses
Description                                                                                        Amount

Postage [E108]                                                                                       $5.41



Reproduction Expense [E101]                                                                          $5.20



Reproduction/ Scan Copy                                                                            $112.50



                                                                                                   $430.31
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32274     00001                                                                                  September 30, 2016


                                                                                         Hours          Rate          Amount
  Asset Analysis/Recovery[B120]
09/19/2016    JVR     AA        Meeting with H. David re background facts.                1.40       995.00      $1,393.00
09/19/2016    JVR     AA        Draft e-mail to Debtors' counsel re turnover of           0.20       995.00           $199.00
                                documents and assets.
09/22/2016    JVR     AA        Draft e-mail to B. Davidoff re discovery and              0.10       995.00            $99.50
                                documents (Oklahoma property).
09/22/2016    JVR     AA        Telephone D. Conniff and D. Gottlieb re case              0.80       995.00           $796.00
                                overview; Abselet claims.
09/22/2016    JVR     AA        Conference with J. Lucas re Oklahoma action and           0.70       995.00           $696.50
                                related issues.
09/22/2016    JVR     AA        Research and analysis re competing claims to              2.30       995.00      $2,288.50
                                Oklahoma property.
09/22/2016    JVR     AA        Conference with J. Lucas re Oklahoma litigation.          0.30       995.00           $298.50
09/23/2016    JVR     AA        Review e-mail and exhibits from B. Davidoff re            0.20       995.00           $199.00
                                refinancing of Encino Corporate Plaza.
09/26/2016    JVR     AA        Telephone H. Weg re asset search.                         0.10       995.00            $99.50
09/26/2016    JVR     AA        Telephone D. Coniff re background facts and assets.       0.80       995.00           $796.00
09/27/2016    JVR     AA        Draft requests for documents from debtor.                 0.30       995.00           $298.50
09/28/2016    JVR     AA        Draft e-mail to J. Melissinos re miscellaneous assets.    0.10       995.00            $99.50
09/28/2016    JVR     AA        Research and analyze title to 910 N. Rexford, 580         1.60       995.00      $1,592.00
                                Galette, 9439 Sunset and 722 N. Bedford.
09/28/2016    JVR     AA        Conference with J. Lucas re RLI, LV Paradise and          0.40       995.00           $398.00
                                FNC assets.
09/29/2016    JVR     AA        Telephone D. Gottlieb re ownership of debtors'            0.40       995.00           $398.00
                                houses.
                                                                                          9.70                   $9,651.50

  Asset Disposition [B130]
09/20/2016    JVR     AD        Telephone S. Nabor re sale of Encino Corporate            0.30       995.00           $298.50
                                Plaza.
09/21/2016    JVR     AD        Telephone G. Markow, B. Hoffman, D. Wallace, N.           0.70       995.00           $696.50
                                Daniels and D. Gottlieb re sale of Encino Corporate
                                Plaza.
09/21/2016    JVR     AD        Telephone D. Gottlieb re sale of Encino Corporate         0.30       995.00           $298.50
                                Plaza.
09/21/2016    JVR     AD        Draft e-mail to G. Markow re documents requested          0.20       995.00           $199.00
                                from receiver (ECP).
09/22/2016    JVR     AD        Review documents in data room (Encino Corporate           0.70       995.00           $696.50
                                Plaza).
09/23/2016    JVR     AD        Review and respond to e-mails from D. Gottlieb re         0.20       995.00           $199.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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                                                                                          Hours          Rate          Amount
                                ECP sale/refinancing.
09/26/2016    JVR     AD        Telephone D. Wallace, G. Markow, D. Gottlieb and           0.30       995.00           $298.50
                                H. N. Daniels re sale of ECP (.2); Telephone D.
                                Gottlieb re same (.1).
09/27/2016    JVR     AD        Review documents relating to sale of Oklahoma              0.20       995.00           $199.00
                                property.
09/27/2016    JVR     AD        Review property profiles (910 N. Rexford and 580           0.60       995.00           $597.00
                                Chalette).
09/28/2016    JVR     AD        Telephone conference with J. Melissino, A.                 1.10       995.00      $1,094.50
                                Yashouafar and L. Swedlow re Oklahoma litigation
                                and sale.
09/28/2016    JVR     AD        Telephone conference with J. Bucock, L. Price and          0.80       995.00           $796.00
                                D. Gottlieb re sale of FNC Building in Oklahoma.
09/28/2016    JVR     AD        Telephone D. Gottlieb re Oklahoma sale and related         0.40       995.00           $398.00
                                assets.
09/28/2016    JVR     AD        Review documents relating to Oklahoma escrow,              0.50       995.00           $497.50
                                sale and title insurance (.3); Draft e-mail to E. Offer
                                re title policy issues (.2).
09/29/2016    PJJ     AD        Research sale pleadings for J. Lucas.                      0.20       325.00            $65.00
09/29/2016    JVR     AD        Revise Waiver and Consent (Oklahoma sale) and              0.30       995.00           $298.50
                                review related documents.
09/29/2016    JVR     AD        Revise motion to approve Waiver and Consent                0.20       995.00           $199.00
                                (Oklahoma).
09/30/2016    JWL     AD        Prepare motion for waiver and related motion to            4.30       675.00      $2,902.50
                                shorten time (3.8); discuss same with J. Richards
                                (.5);
                                                                                          11.30                   $9,733.50

  Appeals [B430]
09/27/2016    JVR     AP        Draft letter to Clerk of Court, 9th Circuit re pending     0.10       995.00            $99.50
                                appeals.
                                                                                           0.10                         $99.50

  Bankruptcy Litigation [L430]
09/16/2016    LFC     BL        Review pleadings in case (1.1)(BL)                         1.10       925.00      $1,017.50
09/19/2016    JVR     BL        Attend hearing on motion to withdraw reference.            2.60       995.00      $2,587.00
09/30/2016    JVR     BL        Conference with J. Lucas re 2004 application               0.40       995.00           $398.00
                                (Pacific Western Bank).
09/30/2016    JWL     BL        Review background info for 2004 application                1.20       675.00           $810.00
                                against Pacific Western Bank.
                                                                                           5.30                   $4,812.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
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                                           648 Filed
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                                                                                        Hours          Rate          Amount
  Case Administration [B110]
09/16/2016    JVR     CA        Telephone M. Goodfried, J. Melissinos, B Davidoff,       1.00       995.00           $995.00
                                D. Gottlieb and R. Pachulski re background facts.
09/18/2016    JVR     CA        Review pleadings re background facts.                    0.90       995.00           $895.50
09/19/2016    JVR     CA        Telephone D. Gottlieb re background facts and            0.80       995.00           $796.00
                                issues.
09/19/2016    JVR     CA        Draft memo to file re meeting with H. David              0.60       995.00           $597.00
                                regarding background facts.
09/20/2016    JVR     CA        Conference with J. Lucas re background facts.            0.80       995.00           $796.00
09/20/2016    JVR     CA        Telephone D. Gottlieb re background facts, issues        0.80       995.00           $796.00
                                and strategy.
09/20/2016    JVR     CA        Review pleadings, orders, pending motions, tax           6.70       995.00      $6,666.50
                                returns and documents re background facts.
09/20/2016    JWL     CA        Review Yashuafar documents; emails and calls with        6.50       675.00      $4,387.50
                                J. Richards regarding the same.
09/21/2016    JVR     CA        Conference with B. Dassa re case management              0.20       995.00           $199.00
                                issues.
09/21/2016    JVR     CA        Telephone A. McDow re background facts.                  0.60       995.00           $597.00
09/21/2016    JVR     CA        Conference with J. Lucas re background facts.            0.40       995.00           $398.00
09/21/2016    JVR     CA        Review documents and pleadings re background             2.30       995.00      $2,288.50
                                facts and issues.
09/21/2016    BDD     CA        Email to J. Richards re critical dates memo              0.10       325.00            $32.50
09/21/2016    BDD     CA        Confer with N. Brown re NEF filings for J. Richards      0.10       325.00            $32.50
09/21/2016    BDD     CA        Email to M. Kulick re service lists                      0.10       325.00            $32.50
09/21/2016    JWL     CA        Review CA and OK actions; emails to JVR                  6.50       675.00      $4,387.50
                                regarding same; calls with JVR regarding same.
09/22/2016    JVR     CA        Telephone D. Gottlieb re case overview.                  0.40       995.00           $398.00
09/22/2016    BDD     CA        Preparation of NEF form for JVR; coordinate with         0.30       325.00            $97.50
                                N. Brown re same
09/22/2016    BDD     CA        Attend to misc. calendaring matters with M.              0.20       325.00            $65.00
                                DesJardien
09/22/2016    BDD     CA        Review case dockets re critical dates; preparation of    0.70       325.00           $227.50
                                critical dates memos; email to J. Richards re same
09/22/2016    BDD     CA        Email to M. Desjardien re calendaring matters            0.10       325.00            $32.50
09/22/2016    BDD     CA        Preparation of Motion for Jt. Administration and         3.20       325.00      $1,040.00
                                exhibits re same
09/22/2016    JWL     CA        Review Barlava actions; emails and calls with J.         2.70       675.00      $1,822.50
                                Richards regarding same.
09/23/2016    JVR     CA        Attend Debtors' IDIs and meeting with Debtors'           6.00       995.00      $5,970.00
                                counsel and accountant re case issues.
     Case
     Case 1:16-bk-12255-GM
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                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
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                                                                                       Hours          Rate          Amount
09/23/2016    JVR     CA        Review Abselet motions to disqualify debtors'           0.20       995.00           $199.00
                                counsel.
09/23/2016    JVR     CA        Review Debtors' 7 day packages.                         0.10       995.00            $99.50
09/26/2016    BDD     CA        Email to J. Richards re calendaring matters             0.10       325.00            $32.50
09/26/2016    BDD     CA        Email to J. Richards re motion for jt administration    0.10       325.00            $32.50
09/26/2016    BDD     CA        Attend to misc. calendaring matters                     0.20       325.00            $65.00
09/26/2016    BDD     CA        Update critical dates memos; email to J. Richards re    0.30       325.00            $97.50
                                same
09/26/2016    BDD     CA        Email to J. Lucas re Yashouafar NEFs                    0.10       325.00            $32.50
09/26/2016    BDD     CA        Email to M. Kulick re NEF requests for J. Lucas         0.10       325.00            $32.50
09/28/2016    JWL     CA        Review case background for Sambria and LV               2.30       675.00      $1,552.50
                                Paradise cases (1.5) and discuss same with J.
                                Richards (.2); prepare joint admin motion (.6);
09/29/2016    JVR     CA        Revise joint administration motions.                    0.20       995.00           $199.00
09/29/2016    BDD     CA        Email to J. Richards re Motion to Limit Notice          0.10       325.00            $32.50
09/29/2016    JWL     CA        Draft motion to authorize waiver of Okla. sale and      4.00       675.00      $2,700.00
                                prepare motion to shorten for the same.
09/30/2016    PJJ     CA        Prepare notices of appearance for J. Lucas.             0.50       325.00           $162.50
                                                                                       50.30                  $38,787.50

  Claims Admin/Objections[B310]
09/21/2016    JVR     CO        Review petitioning creditor's promissory notes.         0.30       995.00           $298.50
09/22/2016    JVR     CO        Telephone A. LeVeque re class action suit (Paradise     0.20       995.00           $199.00
                                Spa).
                                                                                        0.50                        $497.50

  General Creditors Comm. [B150]
09/21/2016    BDD     GC        Meet with J. Richards to discuss case                   0.20       325.00            $65.00
                                                                                        0.20                         $65.00

  Relief from Stay
09/22/2016    BDD     RFS       Email to J. Richards re status conference               0.10       325.00            $32.50
                                hearing/Abselet's motion for relief from stay
                                                                                        0.10                         $32.50

  Retention of Prof. [B160]
09/26/2016    BDD     RP        Email to J. Richards re PSZJ employment                 0.10       325.00            $32.50
                                application
     Case
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          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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                                                                                        Hours          Rate          Amount
09/26/2016    BDD     RP        Preparation of PSZJ retention application; exhibits;     3.30       325.00      $1,072.50
                                declarations re same; email to J. Richards re same
09/28/2016    JWL     RP        Work on PSZJ retention application.                      0.50       675.00           $337.50
09/29/2016    JWL     RP        Revise PSZJ retention application.                       0.50       675.00           $337.50
                                                                                         4.40                   $1,780.00

  Stay Litigation [B140]
09/26/2016    JVR     SL        Telephone H. David re pending motions for relief         0.50       995.00           $497.50
                                from stay.
09/26/2016    JVR     SL        Draft stipulations to continue hearing on Abselet        0.30       995.00           $298.50
                                362/543 motions.
09/27/2016    JVR     SL        Attend hearings on Abselet relief from stay hearings.    3.00       995.00      $2,985.00
                                                                                         3.80                   $3,781.00

  Tax Issues [B240]
09/23/2016    JVR     TI        Review and respond to e-mail from B. Davidoff re         0.10       995.00            $99.50
                                estate tax issues.
09/26/2016    JVR     TI        Telephone D. Gottlieb re tax issues.                     0.10       995.00            $99.50
09/26/2016    JVR     TI        Telephone T. Jeremiason and D. Gottlieb re               0.70       995.00           $696.50
                                background facts (tax issues).
                                                                                         0.90                        $895.50

 TOTAL SERVICES FOR THIS MATTER:                                                                              $70,136.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
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Expenses
 09/22/2016   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 09/22/2016   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 09/22/2016   RE2       SCAN/COPY ( 23 @0.10 PER PG)                               2.30

 09/22/2016   RE2       SCAN/COPY ( 333 @0.10 PER PG)                             33.30

 09/22/2016   RE2       SCAN/COPY ( 27 @0.10 PER PG)                               2.70

 09/22/2016   RE2       SCAN/COPY ( 24 @0.10 PER PG)                               2.40

 09/26/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 09/26/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 09/26/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 09/26/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 09/26/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 09/26/2016   RE2       SCAN/COPY ( 15 @0.10 PER PG)                               1.50

 09/26/2016   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10

 09/27/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 09/27/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 09/28/2016   PO        32274.00001 :Postage Charges for 09-28-16                  2.79



 09/28/2016   RE2       SCAN/COPY ( 15 @0.10 PER PG)                               1.50



 09/28/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20



 09/28/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10



 09/28/2016   RE2       SCAN/COPY ( 16 @0.10 PER PG)                               1.60
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
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 09/28/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30

 09/28/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20

 09/28/2016   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                    1.60

 09/28/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30

 09/28/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30

 09/28/2016   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                    1.60

 09/28/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10

 09/28/2016   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                    1.60

 09/29/2016   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                    1.80

 09/29/2016   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                    1.90

 09/29/2016   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                    1.90

 09/29/2016   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                    1.90

 09/29/2016   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                    1.90

 09/29/2016   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                    1.90

 09/29/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10

 09/29/2016   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                    1.90

 09/29/2016   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                    1.90



 09/30/2016   LV        Legal Vision Atty/Mess. Service- Inv. 44082, San Fernando      65.00
                        Bankruptcy Court, JVR



 09/30/2016   LV        Legal Vision Atty/Mess. Service- Inv. 44083, San Fernando      65.00
                        Bankruptcy Court, JVR



 09/30/2016   PAC       Pacer - Court Research                                        177.20



 09/30/2016   PO        32274.00001 :Postage Charges for 09-30-16                       2.62
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
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                                         648 Filed
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 09/30/2016   RE        ( 26 @0.20 PER PG)                                        5.20

 09/30/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 09/30/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 09/30/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 09/30/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 09/30/2016   RE2       SCAN/COPY ( 6 @0.10 PER PG)                               0.60

 09/30/2016   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90

 09/30/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                               0.30

 09/30/2016   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70

 09/30/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 09/30/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 09/30/2016   RE2       SCAN/COPY ( 13 @0.10 PER PG)                              1.30

 09/30/2016   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70

 09/30/2016   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70

 09/30/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                               0.90

 09/30/2016   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90

 09/30/2016   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90



 09/30/2016   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90



 09/30/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40



 09/30/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40



 09/30/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                               0.30
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 09/30/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 09/30/2016   RE2       SCAN/COPY ( 13 @0.10 PER PG)                              1.30

 09/30/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 09/30/2016   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90

 09/30/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 09/30/2016   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90

 09/30/2016   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90

 09/30/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 09/30/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                               0.30

 09/30/2016   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90

 09/30/2016   RE2       SCAN/COPY ( 10 @0.10 PER PG)                              1.00

 09/30/2016   RE2       SCAN/COPY ( 26 @0.10 PER PG)                              2.60

 09/30/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 09/30/2016   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70

 09/30/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 09/30/2016   RE2       SCAN/COPY ( 13 @0.10 PER PG)                              1.30

 09/30/2016   RE2       SCAN/COPY ( 13 @0.10 PER PG)                              1.30



 09/30/2016   RE2       SCAN/COPY ( 13 @0.10 PER PG)                              1.30



 09/30/2016   RE2       SCAN/COPY ( 15 @0.10 PER PG)                              1.50



 09/30/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                               0.90



 09/30/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40
     Case
     Case 1:16-bk-12255-GM
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 09/30/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

   Total Expenses for this Matter                                            $430.31
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
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                                                       Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                                          Invoice 114542
32274     00001                                                                                         September 30, 2016




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 09/30/2016

Total Fees                                                                                                             $70,136.00
Chargeable costs and disbursements                                                                                           $430.31
Total Due on Current Invoice.....................                                                                      $70,566.31


Outstanding Balance from prior Invoices as of 09/30/2016       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed          Balance Due




Total Amount Due on Current and Prior Invoices                                                                         $70,566.31
      Case
      Case 1:16-bk-12255-GM
           1:16-bk-12255-GM    Doc
                               Doc 797
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    October 31, 2016
JVR                                                                 Invoice 114911
                                                                    Client   32274
                                                                    Matter   00001
                                                                             JVR
RE: Yashouafar

___________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 10/31/2016
                 FEES                                                $98,085.50
                 EXPENSES                                             $7,280.89
                 TOTAL CURRENT CHARGES                              $105,366.39

                 BALANCE FORWARD                                     $70,566.31
                 TOTAL BALANCE DUE                                  $175,932.70
       Case
       Case 1:16-bk-12255-GM
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Gottlieb, David K - Yashouafar                                                             Invoice 114911
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 Summary of Services by Task Code
 Task Code             Description                                                Hours                         Amount

 AA                    Asset Analysis/Recovery[B120]                               24.30                  $24,699.50
 AD                    Asset Disposition [B130]                                     9.90                       $8,808.50
 AP                    Appeals [B430]                                               0.50                        $497.50
 BL                    Bankruptcy Litigation [L430]                                45.70                  $30,971.50
 CA                    Case Administration [B110]                                  19.60                  $14,410.00
 CO                    Claims Admin/Objections[B310]                                1.50                       $1,492.50
 FF                    Financial Filings [B110]                                     2.80                       $1,714.00
 FN                    Financing [B230]                                             2.00                       $1,990.00
 LN                    Litigation (Non-Bankruptcy)                                  1.70                       $1,490.50
 RP                    Retention of Prof. [B160]                                    7.30                       $4,237.50
 RPO                   Ret. of Prof./Other                                          8.00                       $2,600.00
 SL                    Stay Litigation [B140]                                       5.10                       $5,074.50
 TI                    Tax Issues [B240]                                            0.10                         $99.50
                                                                                  128.50                  $98,085.50

 Summary of Services by Professional
 ID          Name                                      Title              Rate             Hours                Amount

 BDD         Dassa, Beth D.                            Paralegal         325.00            30.70              $9,977.50
 GFB         Brandt, Gina F.                           Counsel           725.00             2.60              $1,885.00
 HCK         Kevane, Henry C.                          Partner           925.00             0.50               $462.50
 JVR         Richards, Jeremy V.                       Partner           995.00            61.20         $60,894.00
 JWL         Lucas, John W.                            Partner           675.00            26.70         $18,022.50
 PJJ         Jeffries, Patricia J.                     Paralegal         325.00             0.90               $292.50
 RJG         Gruber, Richard J.                        Counsel           975.00             1.20              $1,170.00
 RMP         Pachulski, Richard M.                     Partner          1145.00             4.70              $5,381.50
                                                                                       128.50             $98,085.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
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 Summary of Expenses
Description                                                                                       Amount

Conference Call [E105]                                                                             $33.93



Federal Express [E108]                                                                             $33.98



Incoming Faxes [E104]                                                                               $0.60



Legal Vision Atty Mess Service                                                                    $455.00



Pacer - Court Research                                                                            $244.30



Postage [E108]                                                                                    $827.88



Reproduction Expense [E101]                                                                      $4,957.60



Reproduction/ Scan Copy                                                                           $402.60



Research [E106]                                                                                   $159.00



Travel Expense [E110]                                                                              $16.00



Transcript [E116]                                                                                 $150.00



                                                                                                 $7,280.89
     Case
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     Case
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                                                                                          Hours           Rate        Amount
  Asset Analysis/Recovery[B120]
09/16/2016    RMP     AA        Various telephone conferences with D. Gottlieb and         2.80      1145.00         $3,206.00
                                conference with J. Richards and review pleadings on
                                new matter.
09/19/2016    RMP     AA        Various telephone conferences with D. Gottlieb,            1.90      1145.00         $2,175.50
                                conferences with J. Richards and review various
                                pleadings.
10/02/2016    JVR     AA        Review and respond to e-mail from B. Davidoff re           0.10       995.00           $99.50
                                distributions from non-debtors.
10/03/2016    JVR     AA        Review e-mail from D. Caniff re 910 N. Rexford Dr.         0.30       995.00          $298.50
                                (.1); Draft response to same (.2).
10/03/2016    JVR     AA        Review S. Yashouafar residential lease.                    0.10       995.00           $99.50
10/04/2016    JVR     AA        Review testimony of M. Yashouafar re ownership of          0.50       995.00          $497.50
                                910 N. Rexford.
10/04/2016    JVR     AA        Review pleadings relating to reassignment of alleged       0.40       995.00          $398.00
                                transfer of API and ECP stock and stipulations and
                                orders regarding related appeals.
10/04/2016    JVR     AA        Telephone D. Coniff re ownership of houses.                0.50       995.00          $497.50
10/05/2016    JVR     AA        Draft outline of discovery re ownership of houses.         0.40       995.00          $398.00
10/05/2016    JVR     AA        Analyze title to residences and pre-petition transfers.    1.30       995.00         $1,293.50
10/06/2016    JVR     AA        Review documents relating to Debtors' ownership            1.60       995.00         $1,592.00
                                interest in Sky Las Vegas (1.3); Draft e-mail to J.
                                Melassinos re same (.3).
10/06/2016    JVR     AA        Draft information request to both debtors.                 0.30       995.00          $298.50
10/06/2016    JVR     AA        Review trust documents and settlement documents            0.40       995.00          $398.00
                                forwarded by Debtors.
10/07/2016    JVR     AA        Draft e-mail to B. Davidoff and M. Goodfriend re           0.10       995.00           $99.50
                                freezing of distributions from sale of Las Vegas
                                property.
10/10/2016    JVR     AA        Review documents and pleadings re asset transfers.         1.70       995.00         $1,691.50
10/11/2016    JVR     AA        Review and respond to e-mail from J. Melissinos re         0.20       995.00          $199.00
                                payment of Greenberg Glusker retainer.
10/11/2016    JVR     AA        Review financial statements for related entities and       0.60       995.00          $597.00
                                S. Yashouafar 2014 tax returns.
10/13/2016    JVR     AA        Conference with J. Lucas re recovery of Rexford            0.30       995.00          $298.50
                                house.
10/13/2016    JVR     AA        Review documents produced by debtors.                      1.60       995.00         $1,592.00
10/13/2016    JVR     AA        Analysis re ultimate beneficial ownership of               0.90       995.00          $895.50
                                Oklahoma building.
10/14/2016    JVR     AA        Review documents produced by Debtors.                      1.20       995.00         $1,194.00
     Case
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          1:16-bk-12255-GM            Doc
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                                                                                       Hours           Rate        Amount
10/17/2016    JVR     AA        Research and analysis re title and chain and title      2.30       995.00         $2,288.50
                                (Rexford and Chalette homes).
10/18/2016    JVR     AA        Review documents re ownership of Rexford house.         0.20       995.00          $199.00
10/18/2016    JVR     AA        Telephone B. Davidoff and L. Ball re settlement of      0.80       995.00          $796.00
                                Oklahoma claims.
10/19/2016    RJG     AA        A little research and consideration of joint            1.20       975.00         $1,170.00
                                obligor/anti-deficiency issue, and exchange
                                messages with J Richards re same.
10/21/2016    JVR     AA        Revise stipulations re disposition of Sky LV funds.     0.20       995.00          $199.00
10/21/2016    JVR     AA        Review SY/MY pre-petition bank account                  0.30       995.00          $298.50
                                statements.
10/26/2016    JVR     AA        Revise stipulation re disposition of funds (Sky LV).    0.20       995.00          $199.00
10/26/2016    JVR     AA        Revise motion to abandon interests in ECP LP and        1.40       995.00         $1,393.00
                                draft ex parte application for order shortening time
                                re same.
10/31/2016    JWL     AA        Arrange for final execution and filing of Sky Las       0.50       675.00          $337.50
                                Vegas distribution stip; prepare order for same and
                                upload.
                                                                                       24.30                   $24,699.50

  Asset Disposition [B130]
10/04/2016    BDD     AD        Emails to J. Lucas and J. Richards re order             0.20       325.00           $65.00
                                shortening time on Ch. 11 Trustee's Motion to
                                Provide Waiver of Redemption Rights and Consent
                                to Sale
10/04/2016    JWL     AD        Work on waiver motion and related service issues.       2.00       675.00         $1,350.00
10/07/2016    JVR     AD        Telephone J. Melissinos, M. Yashouafar, B.              0.50       995.00          $497.50
                                Davidoff and M. Goodfriend re sale/recapitalizing
                                ECP.
10/08/2016    JVR     AD        Telephone D. Coniff re sale of ECP.                     0.50       995.00          $497.50
10/11/2016    JVR     AD        Telephone J. Melissinos and P. Barnett re sale of       0.20       995.00          $199.00
                                Sky LV retail condominiums.
10/13/2016    JVR     AD        Revise consent and waiver (Oklahoma sale).              0.10       995.00           $99.50
10/13/2016    JVR     AD        Draft stipulation re disposition of net proceeds of     0.40       995.00          $398.00
                                sale (Sky Las Vegas).
10/13/2016    JVR     AD        Revise stipulation re Sky Las Vegas proceeds.           0.20       995.00          $199.00
10/13/2016    JVR     AD        Revise order approving consent and waiver               0.20       995.00          $199.00
                                (Oklahoma).
10/13/2016    JVR     AD        Revise stipulation re Sky Las Vegas proceeds.           0.10       995.00           $99.50
10/13/2016    BDD     AD        Review Local Rules re objection to/approval of          0.40       325.00          $130.00
                                orders; emails to J. Richards re same (re Order
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
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                                                                                      Hours           Rate        Amount
                                Granting Trustee's Motion for Authorization to
                                Provide Waiver of Redemption Rights and Consent
                                to SAle)
10/21/2016    JVR     AD        Review contract for purchase and sale (ECP).           0.30       995.00          $298.50
10/23/2016    JVR     AD        Revise motion to abandon interests in ECP.             0.40       995.00          $398.00
10/24/2016    JVR     AD        Telephone D. Coniff and J. Simon re sale of ECP        0.40       995.00          $398.00
                                building.
10/24/2016    JVR     AD        Review receiver's ex parte application for order       0.30       995.00          $298.50
                                approving sale of ECP.
10/24/2016    JVR     AD        Telephone G. Markow re sale of ECP.                    0.20       995.00          $199.00
10/27/2016    JVR     AD        Attend hearing in District Court re sale of ECP.       3.50       995.00         $3,482.50
                                                                                       9.90                      $8,808.50

  Appeals [B430]
10/26/2016    JVR     AP        Review debtors' oppositions to ex parte application    0.20       995.00          $199.00
                                to sell ECP.
10/27/2016    JVR     AP        Telephone D. Gottlieb re sale of ECP.                  0.30       995.00          $298.50
                                                                                       0.50                       $497.50

  Bankruptcy Litigation [L430]
10/03/2016    PJJ     BL        Research service of officer for Pacific Western        0.20       325.00           $65.00
                                Bank.
10/03/2016    JWL     BL        Research and prepare 2004 applications relating to     5.00       675.00         $3,375.00
                                Rexford and Chalet properties.
10/04/2016    JVR     BL        Conference with J. Lucas re Pacific Western            0.10       995.00           $99.50
                                discovery.
10/04/2016    JWL     BL        Research and draft 2004 applications relating to       3.10       675.00         $2,092.50
                                Rexford and Chalet properties.
10/05/2016    JWL     BL        Work on 2004 applications for Rexford and Chalet       2.20       675.00         $1,485.00
                                properties.
10/06/2016    JVR     BL        Draft stipulation and order to continue 543 motion.    0.20       995.00          $199.00
10/06/2016    JWL     BL        Research and draft 2004 application relating to        4.60       675.00         $3,105.00
                                Debtors and related parties.
10/07/2016    BDD     BL        Email to G. Downing re Scheduling Order (Gao           0.10       325.00           $32.50
                                adversary)
10/10/2016    JVR     BL        Prepare for hearing on motion to approve Waiver        0.30       995.00          $298.50
                                and Consent (Oklahoma building).
10/10/2016    JVR     BL        Telephone A. McDow re Consent & Waiver                 0.40       995.00          $398.00
                                (Oklahoma).
10/11/2016    JVR     BL        Attend hearing on motion to approve Consent &          3.40       995.00         $3,383.00
                                Waiver Agreement.
     Case
     Case 1:16-bk-12255-GM
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                                                                                       Hours           Rate        Amount
10/11/2016    JVR     BL        Draft order on motion approving Waiver & Consent        0.20       995.00          $199.00
                                Agreement.
10/11/2016    JVR     BL        Review e-mail from A. McDow re order approving          0.20       995.00          $199.00
                                waiver and consent and draft response to same.
10/13/2016    JWL     BL        Research and draft 2004 application relating to         5.00       675.00         $3,375.00
                                Rexford and Chalette properties.
10/14/2016    JVR     BL        Prepare for 341(a) examination.                         1.30       995.00         $1,293.50
10/18/2016    JWL     BL        Call with J. Richards regarding avoiding transfer of    0.30       675.00          $202.50
                                residences.
10/21/2016    JVR     BL        Draft 2004 application (Rexford/Chalette                3.60       995.00         $3,582.00
                                properties).
10/23/2016    JVR     BL        Revise 2004 motion (Rexford and Chalette                1.30       995.00         $1,293.50
                                properties).
10/24/2016    JVR     BL        Revise 2004 motion.                                     0.30       995.00          $298.50
10/24/2016    JVR     BL        Conference with B. Dassa re 2004 motion.                0.30       995.00          $298.50
10/24/2016    BDD     BL        Email to J. Richards re 2004 application                0.10       325.00           $32.50
10/24/2016    BDD     BL        Conference with J. Richards re 2004 motion re           0.20       325.00           $65.00
                                examination and production of docs from multiple
                                parties
10/25/2016    BDD     BL        Review/revise 2004 motion; email to J. Richards re      1.10       325.00          $357.50
                                same
10/25/2016    BDD     BL        Work on orders compelling production of docs (incl      3.50       325.00         $1,137.50
                                docs to be produced) and examinations of witnesses
                                (exhibits to 2004 Motion)
10/25/2016    BDD     BL        Further revisions to 2002 Motion per conference         0.70       325.00          $227.50
                                with J. Richards; email to M. Kulick re same
10/26/2016    BDD     BL        Preparation of Decl of D. Gottlieb ISO 2004 Motion;     1.00       325.00          $325.00
                                emails (several) to J. Richards re same
10/26/2016    BDD     BL        Preparation of Notice of 2004 Motion; email to J.       0.70       325.00          $227.50
                                Richards re same
10/26/2016    BDD     BL        Email to M. Kulick re exhibits to 2004 Motion           0.10       325.00           $32.50
10/26/2016    BDD     BL        Email to M. Kulick re Gottlieb Decl ISO 2004            0.10       325.00           $32.50
                                Motion
10/26/2016    BDD     BL        Email to J. Richards re 2004 Motion, 8 exhibits,        0.10       325.00           $32.50
                                notice and declaration
10/26/2016    BDD     BL        Email to J. Richards re Parinaz Yashouafar 2004         0.10       325.00           $32.50
                                exam/request to produce documents
10/26/2016    BDD     BL        Edits to 8 exhibits re inclusion of P. Yashouafar in    0.40       325.00          $130.00
                                identification of parties
10/26/2016    BDD     BL        Email to J. Richards re J. Richards decl ISO 2004       0.10       325.00           $32.50
                                Motion
     Case
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                                                                                         Hours           Rate        Amount
10/26/2016    BDD     BL        Revisions to 2004 motion re inclusion of P.               0.30       325.00           $97.50
                                Yashouafar among parties to be examined/produce
                                documents; email to J. Richards re same
10/27/2016    JVR     BL        Revise 2004 motion and exhibits.                          0.60       995.00          $597.00
10/27/2016    BDD     BL        Email to J. Richards re exhibits to 2004 motion           0.10       325.00           $32.50
10/27/2016    BDD     BL        Preparation of order (exhibit to 2004 motion) re          0.40       325.00          $130.00
                                Parinaz Yashouafar; email to J. Richards re same
10/31/2016    JWL     BL        Draft and revise 2004 application for Chalette and        2.50       675.00         $1,687.50
                                Rexford properties.
10/31/2016    BDD     BL        Email to J. Lucas re declaration ISO 2002 Motion          0.10       325.00           $32.50
10/31/2016    BDD     BL        Preparation of Decl of J. Lucas ISO 2002 Motion           1.10       325.00          $357.50
10/31/2016    BDD     BL        Email to J. Lucas re intro to decl ISO 2002 Motion        0.10       325.00           $32.50
10/31/2016    BDD     BL        Email to J. Richards re J. Lucas declaration              0.10       325.00           $32.50
10/31/2016    BDD     BL        Email to J. Lucas re draft declaration                    0.10       325.00           $32.50
                                                                                         45.70                   $30,971.50

  Case Administration [B110]
10/03/2016    BDD     CA        Review NEF requests re John Lucas; emails to John         0.30       325.00           $97.50
                                Lucas re same
10/04/2016    JVR     CA        Telephone J. Melissinos re production of documents.       0.30       995.00          $298.50
10/04/2016    BDD     CA        Email to M. Kulick re Lucas NEFs                          0.10       325.00           $32.50
10/04/2016    BDD     CA        Email to J. RIchards re motion for order limiting         0.10       325.00           $32.50
                                notice
10/05/2016    JVR     CA        Telephone D. Gottlieb re miscellaneous case issues.       0.20       995.00          $199.00
10/05/2016    JVR     CA        Telephone B. Davidoff re miscellaneous issues.            0.60       995.00          $597.00
10/05/2016    BDD     CA        Preparation of Motion to Limit Notice; Decl of D.         2.30       325.00          $747.50
                                Gottlieb ISO Motion, and Order re same; email to J.
                                Richards re same
10/07/2016    JVR     CA        Telephone D. Gottlieb re miscellaneous issues.            0.40       995.00          $398.00
10/10/2016    JVR     CA        Telephone H. David re settlement of Abselet claims.       0.50       995.00          $497.50
10/10/2016    BDD     CA        Review docket re critical dates; update critical dates    1.00       325.00          $325.00
                                memos; emails to J. Dulberg and M. DesJardien re
                                same
10/11/2016    JVR     CA        Telephone conferences with D. Gottlieb re                 0.80       995.00          $796.00
                                miscellaneous case issues.
10/11/2016    BDD     CA        Preparation of Motion to Limit Notice re M.               1.50       325.00          $487.50
                                Yashouafar; edits to Motion to Limit Notice re S.
                                Yashouafar; emails to J. Richards and M. Kulick re
                                same
     Case
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Gottlieb, David K - Yashouafar                                                                  Invoice 114911
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                                                                                        Hours           Rate        Amount
10/11/2016    BDD     CA        Attend to misc. calendaring matters with M.              0.30       325.00           $97.50
                                DesJardien
10/11/2016    BDD     CA        Email to D. Gottlieb re Motions to Limit Notice re S     0.10       325.00           $32.50
                                & M Yashouafar
10/11/2016    BDD     CA        Email to J. Richards re filed motions to limit notice    0.10       325.00           $32.50
10/17/2016    JVR     CA        Telephone M. Ross re Committee and 341(a)                0.30       995.00          $298.50
                                hearings.
10/17/2016    BDD     CA        Email to J. Richards order on motion for jt              0.10       325.00           $32.50
                                administration of cases
10/18/2016    JVR     CA        Telephone D. Gottlieb re 341(a) hearing.                 0.50       995.00          $497.50
10/18/2016    JVR     CA        Prepare outline for 341(a) examination (M.               0.90       995.00          $895.50
                                Yashouafar).
10/18/2016    BDD     CA        Call with M. Ross re Yashouafars 341a meetings           0.10       325.00           $32.50
10/18/2016    BDD     CA        Attend to misc. calendaring matters with M.              0.20       325.00           $65.00
                                DesJardien
10/18/2016    BDD     CA        Call with Dr. E. Ben David (creditor) re filing of       0.40       325.00          $130.00
                                request for special notice; email to Dr. Ben David re
                                same; email to J. Richards re same
10/18/2016    BDD     CA        Emails to M. Kulick re Decl Re No Opp to Jt.             0.20       325.00           $65.00
                                Admin Motions/lodging order re same
10/18/2016    BDD     CA        Preparation of declarations re no opposition to jt       0.40       325.00          $130.00
                                admin motions (S. Yashouafar and M. Yashouafar)
10/18/2016    BDD     CA        Email to J. Richards re entered jt admin order           0.10       325.00           $32.50
10/19/2016    JVR     CA        Telephone D. Gottlieb re 341(a) hearing (M.              0.40       995.00          $398.00
                                Yashouafar).
10/19/2016    JVR     CA        Attend 341(a) hearing (M. Yashouafar).                   3.50       995.00         $3,482.50
10/21/2016    JVR     CA        Review and respond to e-mail from J. Melissinos re       0.10       995.00           $99.50
                                budget.
10/21/2016    JVR     CA        Draft motion to abandon interests in ECP.                1.80       995.00         $1,791.00
10/23/2016    JVR     CA        Revise conversion motion.                                0.10       995.00           $99.50
10/24/2016    JVR     CA        Revise motion to abandon interests in Encino             0.30       995.00          $298.50
                                Corporate Plaza L.P.
10/24/2016    JVR     CA        Revise motions to abandon/convert.                       0.30       995.00          $298.50
10/24/2016    BDD     CA        Attend to misc. calendaring matters with M.              0.20       325.00           $65.00
                                DesJardien
10/26/2016    JVR     CA        Telephone M. Baum and A. Jablon (counsel for S.          0.40       995.00          $398.00
                                Barlava) re case status.
10/27/2016    JVR     CA        Telephone D. Coniff re case status.                      0.30       995.00          $298.50
10/27/2016    JVR     CA        Telephone M. Ross re committee selection.                0.30       995.00          $298.50
10/27/2016    BDD     CA        Email to J. Richards re motion to convert case           0.10       325.00           $32.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
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                                     Main Document
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                                                                                     19.60                  $14,410.00

  Claims Admin/Objections[B310]
10/06/2016    JVR     CO        Review schedules; Statements; Documents relating      1.30       995.00         $1,293.50
                                to petitioning creditor claims.
10/10/2016    JVR     CO        Telephone P. Lavi re Edmond Lavi claim.               0.20       995.00          $199.00
                                                                                      1.50                      $1,492.50

  Financial Filings [B110]
10/03/2016    JVR     FF        Review Debtors' schedules and statements.             0.70       995.00          $696.50
10/04/2016    BDD     FF        Email to J. Richards re filed Schedules/SOFAs         0.10       325.00           $32.50
10/04/2016    BDD     FF        Email to J. Richards re M. Yashouafar                 0.10       325.00           $32.50
                                Schedules/SOFAs
10/04/2016    BDD     FF        Review docket re M. Yashouafar filed                  0.10       325.00           $32.50
                                schedules/sofas
10/10/2016    JVR     FF        Review revised schedules and statements (S.           0.40       995.00          $398.00
                                Yashouafar).
10/10/2016    BDD     FF        Meeting with J. Richards re documents to be           0.10       325.00           $32.50
                                produced/info requested from Yashouafars
10/10/2016    BDD     FF        Preparation of chart re documents to be produced      1.10       325.00          $357.50
                                and information requested; email to J. Richards re
                                same
10/10/2016    BDD     FF        Email to J. Richards re financial documents to be     0.10       325.00           $32.50
                                produced
10/24/2016    JVR     FF        Prepare insert for MOR.                               0.10       995.00           $99.50
                                                                                      2.80                      $1,714.00

  Financing [B230]
10/21/2016    JVR     FN        Conference with M. Yashouafar, J. Melissinos, I.      0.90       995.00          $895.50
                                Hertzel and D. Gottlieb re refinancing of property
                                (ECP).
10/21/2016    JVR     FN        Telephone conference with D. Gottlieb re ECP          0.30       995.00          $298.50
                                refinancing.
10/24/2016    JVR     FN        Telephone J. Melissinos, B. Davidoff, J. Friedman     0.40       995.00          $398.00
                                and S. Biegenzhan re refinancing of ECP debt.
10/24/2016    JVR     FN        Telephone J. Melissinos and J. Friedman re            0.40       995.00          $398.00
                                refinancing of ECP debt.
                                                                                      2.00                      $1,990.00

  Litigation (Non-Bankruptcy)
10/10/2016    JVR     LN        Review Carla Ridge complaint against M.               0.20       995.00          $199.00
                                Yashouafar et al.
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
                                                               Entered 12/01/20
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                                      Main Document
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Gottlieb, David K - Yashouafar                                                                   Invoice 114911
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                                                                                         Hours           Rate        Amount
10/11/2016    JVR     LN        Review e-mail from J. Melissinos re                       0.20       995.00          $199.00
                                Barlava/Roosevelt Lofts litigation.
10/14/2016    JVR     LN        Review pleadings and discovery, Oklahoma                  1.00       995.00          $995.00
                                litigation.
10/17/2016    BDD     LN        Research Complaint re Yashouafar v. Carla Ridge;          0.30       325.00           $97.50
                                emails to J. Richards re same
                                                                                          1.70                      $1,490.50

  Retention of Prof. [B160]
10/03/2016    GFB     RP        Review email from John Lucas regarding conflicts          0.40       725.00          $290.00
                                check, draft response, review reply, and respond
                                thereto; draft email to Aaron Bonn regarding same,
                                and review response; review further email from Mr.
                                Lucas regarding same, and draft response; further
                                emails with Mr. Bonn regarding same.
10/04/2016    GFB     RP        Conflicts Check: Review and analyze results; draft        1.70       725.00         $1,232.50
                                emails to James Stang, Richard Pachulski, Andy
                                Caine, Laura Davis Jones, Ira Kharasch, Jeremy
                                Richards, and James O'Neill regarding same, review
                                responses and draft further replies.
10/04/2016    GFB     RP        Review emails from Laura Davis Jones, Nina Hong,          0.30       725.00          $217.50
                                James O'Neill regarding conflicts results; draft email
                                to John Lucas regarding status; update charts.
10/06/2016    GFB     RP        Review email from John Lucas regarding conflict           0.20       725.00          $145.00
                                results, and draft response; review emails from
                                Laura Davis Jones, Mr. Morris, and Mr. Lucas; draft
                                email to Mr. Morris regarding conflicts results,
                                review response, and draft further email to John
                                Lucas regarding same.
10/06/2016    BDD     RP        Edits to PSZJ retention application per conversation      0.50       325.00          $162.50
                                with J. Richards
10/10/2016    PJJ     RP        Prepare exhibits to retention applications.               0.70       325.00          $227.50
10/10/2016    BDD     RP        Email to J. Richards re PSZJ employment                   0.10       325.00           $32.50
                                applications
10/10/2016    BDD     RP        Email to J. Lucas re PSZJ employment applications         0.10       325.00           $32.50
10/10/2016    BDD     RP        Email to D. Gottlieb re PSZJ retention applications       0.10       325.00           $32.50
10/10/2016    JWL     RP        Revise retention application of PSZJ and arrange for      1.50       675.00         $1,012.50
                                filing.
10/11/2016    HCK     RP        Confer with J. Lucas re Debtor's employment of            0.50       925.00          $462.50
                                counsel, disclosures.
10/11/2016    BDD     RP        Numerous revisions to PSZJ retention                      1.10       325.00          $357.50
                                application/declaration; emails J. Richards and M.
                                Kulick re same
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
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                                                                                       Hours           Rate        Amount
10/11/2016    BDD     RP        Email to J. Richards re filed employment application    0.10       325.00           $32.50
                                for PSZJ
                                                                                        7.30                      $4,237.50

  Ret. of Prof./Other
10/06/2016    BDD     RPO       Email to J. Richards re Jeremiassen retention           0.10       325.00           $32.50
                                applicaton
10/06/2016    BDD     RPO       Email to T. Jeramiassen re BRG retention                0.10       325.00           $32.50
                                application
10/06/2016    BDD     RPO       Email to D. Golubchik re bios/listing agreement re      0.10       325.00           $32.50
                                Coldwell Banker retention application
10/11/2016    BDD     RPO       Numerous emails to/conferences with M. Kulick re        0.40       325.00          $130.00
                                PSZJ employment apps for both debtors
10/11/2016    BDD     RPO       Email to J. Richards re Application to Employ           0.10       325.00           $32.50
                                Coldwell Banker as RE broker re sale of 1916 Los
                                Padres Drive, Rowland Heights, CA
10/19/2016    BDD     RPO       Email to J. Richards re BRG employment                  0.10       325.00           $32.50
                                application
10/24/2016    BDD     RPO       Email to J. Richards re BRG employment                  0.10       325.00           $32.50
                                application
10/24/2016    BDD     RPO       Review/revise BRG employment application;               1.30       325.00          $422.50
                                multiple emails to T. Jeramiassen re same; emails to
                                J. Richards re same
10/24/2016    BDD     RPO       Email to M. Kulick re Application to Employ BRG         0.10       325.00           $32.50
                                as accountants
10/25/2016    BDD     RPO       Email to T. Jeramiassen re BRG employment               0.10       325.00           $32.50
                                application
10/25/2016    BDD     RPO       Email to T. Jeramiassen re BRG employment               0.10       325.00           $32.50
                                application
10/25/2016    BDD     RPO       Revisions to BRG employment application/notice;         0.30       325.00           $97.50
                                email to D. Gottlieb re finalized employment
                                application
10/25/2016    BDD     RPO       Email to T. Jeramiassen re BRG filed employment         0.10       325.00           $32.50
                                application/notice
10/25/2016    BDD     RPO       Email to M. Kulick re Yashouafar employment             0.10       325.00           $32.50
                                application/notice
10/25/2016    BDD     RPO       Email to M. Kulick re App/Notice to employ BRG          0.10       325.00           $32.50
                                as accountants
10/26/2016    BDD     RPO       Continue working on exhibits/doc production             4.80       325.00         $1,560.00
                                requests (8) for 2002 Motion; email to M. Kulick re
                                same
                                                                                        8.00                      $2,600.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
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                                                                                     Hours           Rate        Amount
  Stay Litigation [B140]
10/24/2016    JVR     SL        Review S. Yashouafar supplemental opposition to       0.10       995.00           $99.50
                                Abselet section 543 motion.
10/24/2016    JVR     SL        Review M. Yashouafar supplemental opposition to       0.20       995.00          $199.00
                                543 motion.
10/25/2016    JVR     SL        Attend hearing on Abselet 543 motion.                 4.00       995.00         $3,980.00
10/25/2016    JVR     SL        Telephone D. Gottlieb re 543 hearing.                 0.30       995.00          $298.50
10/26/2016    JVR     SL        Review Pakravan motion for relief from stay.          0.20       995.00          $199.00
10/26/2016    JVR     SL        Attend telephonic hearing re form of order (543       0.30       995.00          $298.50
                                motion).
                                                                                      5.10                      $5,074.50

  Tax Issues [B240]
10/10/2016    JVR     TI        Review e-mail from T. Jeremiassen re tax liability    0.10       995.00           $99.50
                                (ECP sale/foreclosure).
                                                                                      0.10                        $99.50

 TOTAL SERVICES FOR THIS MATTER:                                                                            $98,085.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
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Expenses
 09/19/2016   TE        Travel Expense [E110] Los Angeles Mall Parking Fee, JVR      16.00

 09/21/2016   CC        Conference Call [E105] AT&T Conference Call, JVR              8.20

 09/22/2016   CC        Conference Call [E105] AT&T Conference Call, JVR              5.29

 09/26/2016   CC        Conference Call [E105] AT&T Conference Call, JVR              2.19

 09/26/2016   CC        Conference Call [E105] AT&T Conference Call, JVR              4.20

 09/28/2016   CC        Conference Call [E105] AT&T Conference Call, JVR              8.77

 09/28/2016   CC        Conference Call [E105] AT&T Conference Call, JVR              5.28

 09/28/2016   FE        32274.00001 FedEx Charges for 09-28-16                       12.42

 10/02/2016   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                  1.80

 10/02/2016   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                  4.60

 10/02/2016   RE2       SCAN/COPY ( 63 @0.10 PER PG)                                  6.30

 10/03/2016   FE        32274.00001 FedEx Charges for 10-03-16                       10.78

 10/03/2016   PO        32274.00001 :Postage Charges for 10-03-16                     9.30

 10/03/2016   PO        32274.00001 :Postage Charges for 10-03-16                   343.52

 10/03/2016   RE        ( 13 @0.20 PER PG)                                            2.60

 10/03/2016   RE        ( 452 @0.20 PER PG)                                          90.40



 10/03/2016   RE        ( 791 @0.20 PER PG)                                         158.20



 10/03/2016   RE        ( 791 @0.20 PER PG)                                         158.20



 10/03/2016   RE        ( 1356 @0.20 PER PG)                                        271.20



 10/03/2016   RE        ( 3024 @0.20 PER PG)                                        604.80
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
                                                   01/08/19 Entered
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                                    Main Document
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 10/03/2016   RE        ( 3869 @0.20 PER PG)                                    773.80

 10/03/2016   RE        ( 3955 @0.20 PER PG)                                    791.00

 10/03/2016   RE2       SCAN/COPY ( 35 @0.10 PER PG)                              3.50

 10/03/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 10/03/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                               0.90

 10/03/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 10/03/2016   RE2       SCAN/COPY ( 13 @0.10 PER PG)                              1.30

 10/03/2016   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70

 10/03/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 10/03/2016   RE2       SCAN/COPY ( 13 @0.10 PER PG)                              1.30

 10/03/2016   RE2       SCAN/COPY ( 35 @0.10 PER PG)                              3.50

 10/03/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 10/03/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 10/03/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 10/03/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                               0.90

 10/03/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 10/03/2016   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70



 10/03/2016   RE2       SCAN/COPY ( 35 @0.10 PER PG)                              3.50



 10/03/2016   RE2       SCAN/COPY ( 43 @0.10 PER PG)                              4.30



 10/03/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20



 10/03/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
                                                                       01/08/19 18:29:18
                                                                                15:53:32     Desc
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                                     Main Document
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 10/03/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 10/04/2016   FE        32274.00001 FedEx Charges for 10-04-16                    10.78

 10/04/2016   PO        32274.00001 :Postage Charges for 10-04-16                123.74

 10/04/2016   RE        ( 20 @0.20 PER PG)                                         4.00

 10/04/2016   RE        ( 226 @0.20 PER PG)                                       45.20

 10/04/2016   RE        ( 226 @0.20 PER PG)                                       45.20

 10/04/2016   RE        ( 678 @0.20 PER PG)                                      135.60

 10/04/2016   RE        ( 904 @0.20 PER PG)                                      180.80

 10/04/2016   RE        ( 1582 @0.20 PER PG)                                     316.40

 10/04/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 10/04/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 10/04/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 10/04/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 10/04/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 10/04/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 10/04/2016   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                0.70

 10/04/2016   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                0.70



 10/04/2016   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                0.70



 10/04/2016   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                0.70



 10/04/2016   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80



 10/04/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                0.90
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
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                                     Main Document
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 10/04/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                     0.90

 10/04/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20

 10/04/2016   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30

 10/04/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40

 10/04/2016   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                    1.80

 10/04/2016   RE2       SCAN/COPY ( 28 @0.10 PER PG)                                    2.80

 10/04/2016   RE2       SCAN/COPY ( 30 @0.10 PER PG)                                    3.00

 10/04/2016   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                    3.50

 10/04/2016   RE2       SCAN/COPY ( 56 @0.10 PER PG)                                    5.60

 10/05/2016   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50

 10/05/2016   RE2       SCAN/COPY ( 95 @0.10 PER PG)                                    9.50

 10/06/2016   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                    1.70

 10/07/2016   LV        Legal Vision Atty/Mess. Service- Inv. 44209, San Fernando      65.00
                        Bankruptcy Court, JVR

 10/07/2016   PO        32274.00001 :Postage Charges for 10-07-16                      77.63

 10/07/2016   PO        32274.00001 :Postage Charges for 10-07-16                       0.68

 10/07/2016   RE        ( 226 @0.20 PER PG)                                            45.20

 10/07/2016   RE        ( 904 @0.20 PER PG)                                           180.80



 10/07/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20



 10/07/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20



 10/07/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20



 10/07/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
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                                     Main Document
                                     Main Document    Page  435 of 750
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Gottlieb, David K - Yashouafar                                                 Invoice 114911
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 10/07/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 10/07/2016   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                0.70

 10/07/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                0.90

 10/07/2016   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10

 10/10/2016   PO        32274.00001 :Postage Charges for 10-10-16                 76.28

 10/10/2016   RE        ( 2 @0.20 PER PG)                                          0.40

 10/10/2016   RE        ( 3 @0.20 PER PG)                                          0.60

 10/10/2016   RE        ( 4 @0.20 PER PG)                                          0.80

 10/10/2016   RE        ( 5 @0.20 PER PG)                                          1.00

 10/10/2016   RE        ( 310 @0.20 PER PG)                                       62.00

 10/10/2016   RE        ( 452 @0.20 PER PG)                                       90.40

 10/10/2016   RE        ( 452 @0.20 PER PG)                                       90.40

 10/10/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 10/10/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 10/10/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 10/10/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 10/10/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                0.90



 10/10/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                0.90



 10/10/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                0.90



 10/10/2016   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10



 10/10/2016   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
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                                     Main Document
                                     Main Document    Page  436 of 750
                                                      Page 132 of 443

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 10/10/2016   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                    1.10

 10/10/2016   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                    1.10

 10/10/2016   RE2       SCAN/COPY ( 31 @0.10 PER PG)                                    3.10

 10/10/2016   RE2       SCAN/COPY ( 31 @0.10 PER PG)                                    3.10

 10/10/2016   RE2       SCAN/COPY ( 33 @0.10 PER PG)                                    3.30

 10/10/2016   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                    3.50

 10/11/2016   LV        Legal Vision Atty/Mess. Service- Inv. 44214, San Fernando      65.00
                        Bankruptcy Court, JVR

 10/11/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20

 10/11/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20

 10/11/2016   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60

 10/11/2016   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60

 10/11/2016   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                    1.10

 10/11/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20

 10/11/2016   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30

 10/11/2016   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30

 10/11/2016   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30

 10/11/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40



 10/11/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40



 10/11/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40



 10/11/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40



 10/11/2016   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                    1.80
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
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                                     Main Document
                                     Main Document    Page  437 of 750
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Gottlieb, David K - Yashouafar                                                      Invoice 114911
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 10/11/2016   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                    1.90

 10/11/2016   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00

 10/11/2016   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00

 10/11/2016   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00

 10/11/2016   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                    2.10

 10/11/2016   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                    2.20

 10/11/2016   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                    2.20

 10/11/2016   RE2       SCAN/COPY ( 23 @0.10 PER PG)                                    2.30

 10/11/2016   RE2       SCAN/COPY ( 23 @0.10 PER PG)                                    2.30

 10/11/2016   RE2       SCAN/COPY ( 23 @0.10 PER PG)                                    2.30

 10/11/2016   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                    2.40

 10/12/2016   LV        Legal Vision Atty/Mess. Service- Inv. 44221, San Fernando      65.00
                        Bankruptcy Court, B. Dassa

 10/12/2016   LV        Legal Vision Atty/Mess. Service- Inv. 44222, San Fernando      65.00
                        Bankruptcy Court, B. Dassa

 10/13/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30

 10/13/2016   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50

 10/13/2016   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50



 10/13/2016   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50



 10/13/2016   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50



 10/13/2016   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60



 10/13/2016   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                    3.50



 10/14/2016   LV        Legal Vision Atty/Mess. Service- Inv. 44260, San Fernando      65.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
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                                     Main Document
                                     Main Document    Page  438 of 750
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                        Bankruptcy Court, JVR

 10/14/2016   PO        32274.00001 :Postage Charges for 10-14-16                100.01

 10/14/2016   RE        ( 600 @0.20 PER PG)                                      120.00

 10/14/2016   RE        ( 600 @0.20 PER PG)                                      120.00

 10/14/2016   RE        ( 1512 @0.20 PER PG)                                     302.40

 10/14/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                0.90

 10/14/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                0.90

 10/14/2016   RE2       SCAN/COPY ( 10 @0.10 PER PG)                               1.00

 10/14/2016   RE2       SCAN/COPY ( 10 @0.10 PER PG)                               1.00

 10/14/2016   RE2       SCAN/COPY ( 10 @0.10 PER PG)                               1.00

 10/14/2016   RE2       SCAN/COPY ( 10 @0.10 PER PG)                               1.00

 10/14/2016   RE2       SCAN/COPY ( 19 @0.10 PER PG)                               1.90

 10/14/2016   RE2       SCAN/COPY ( 19 @0.10 PER PG)                               1.90

 10/14/2016   RE2       SCAN/COPY ( 28 @0.10 PER PG)                               2.80

 10/14/2016   RE2       SCAN/COPY ( 33 @0.10 PER PG)                               3.30

 10/14/2016   RE2       SCAN/COPY ( 33 @0.10 PER PG)                               3.30

 10/17/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20



 10/17/2016   RE2       SCAN/COPY ( 17 @0.10 PER PG)                               1.70



 10/17/2016   RE2       SCAN/COPY ( 19 @0.10 PER PG)                               1.90



 10/17/2016   RE2       SCAN/COPY ( 20 @0.10 PER PG)                               2.00



 10/17/2016   RE2       SCAN/COPY ( 20 @0.10 PER PG)                               2.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
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                                     Main Document
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 10/17/2016   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                    2.40

 10/18/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10

 10/18/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20

 10/18/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20

 10/18/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30

 10/18/2016   RE2       SCAN/COPY ( 23 @0.10 PER PG)                                    2.30

 10/18/2016   RE2       SCAN/COPY ( 23 @0.10 PER PG)                                    2.30

 10/18/2016   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                    2.40

 10/18/2016   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                    2.40

 10/18/2016   RS        Research [E106] Parasec, Inv. 100920201, P. Jeffries          159.00

 10/19/2016   LV        Legal Vision Atty/Mess. Service- Inv. 44348, San Fernando      65.00
                        Bankruptcy Court, BDD

 10/19/2016   TR        Transcript [E116] TSG Reporting, Inv. 101916-342498, JVR      150.00

 10/20/2016   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60

 10/20/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                     0.90

 10/20/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                     0.90

 10/21/2016   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                     0.80

 10/21/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                     0.90



 10/21/2016   RE2       SCAN/COPY ( 33 @0.10 PER PG)                                    3.30



 10/21/2016   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                    3.50



 10/21/2016   RE2       SCAN/COPY ( 36 @0.10 PER PG)                                    3.60



 10/21/2016   RE2       SCAN/COPY ( 36 @0.10 PER PG)                                    3.60
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
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                                                             Entered 12/01/20
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                                    Main Document
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 10/21/2016   RE2       SCAN/COPY ( 36 @0.10 PER PG)                              3.60

 10/21/2016   RE2       SCAN/COPY ( 47 @0.10 PER PG)                              4.70

 10/24/2016   RE        ( 19 @0.20 PER PG)                                        3.80

 10/24/2016   RE        ( 354 @0.20 PER PG)                                      70.80

 10/24/2016   RE        ( 388 @0.20 PER PG)                                      77.60

 10/24/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 10/24/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 10/24/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                               0.30

 10/24/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                               0.90

 10/24/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                               0.90

 10/24/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                               0.90

 10/24/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                               0.90

 10/24/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                               0.90

 10/24/2016   RE2       SCAN/COPY ( 10 @0.10 PER PG)                              1.00

 10/24/2016   RE2       SCAN/COPY ( 10 @0.10 PER PG)                              1.00

 10/24/2016   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10

 10/24/2016   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10



 10/24/2016   RE2       SCAN/COPY ( 13 @0.10 PER PG)                              1.30



 10/24/2016   RE2       SCAN/COPY ( 13 @0.10 PER PG)                              1.30



 10/24/2016   RE2       SCAN/COPY ( 16 @0.10 PER PG)                              1.60



 10/24/2016   RE2       SCAN/COPY ( 16 @0.10 PER PG)                              1.60
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
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                                     Main Document
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 10/24/2016   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                    1.70

 10/24/2016   RE2       SCAN/COPY ( 37 @0.10 PER PG)                                    3.70

 10/24/2016   RE2       SCAN/COPY ( 37 @0.10 PER PG)                                    3.70

 10/24/2016   RE2       SCAN/COPY ( 37 @0.10 PER PG)                                    3.70

 10/24/2016   RE2       SCAN/COPY ( 39 @0.10 PER PG)                                    3.90

 10/24/2016   RE2       SCAN/COPY ( 47 @0.10 PER PG)                                    4.70

 10/24/2016   RE2       SCAN/COPY ( 93 @0.10 PER PG)                                    9.30

 10/24/2016   RE2       SCAN/COPY ( 93 @0.10 PER PG)                                    9.30

 10/24/2016   RE2       SCAN/COPY ( 388 @0.10 PER PG)                                  38.80

 10/25/2016   LV        Legal Vision Atty/Mess. Service- Inv. 44462, San Fernando      65.00
                        Bankruptcy Court, BDD

 10/25/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20

 10/25/2016   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60

 10/25/2016   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                    2.40

 10/25/2016   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                    3.50

 10/25/2016   RE2       SCAN/COPY ( 36 @0.10 PER PG)                                    3.60

 10/25/2016   RE2       SCAN/COPY ( 50 @0.10 PER PG)                                    5.00

 10/25/2016   RE2       SCAN/COPY ( 110 @0.10 PER PG)                                  11.00



 10/26/2016   IF        Incoming Faxes [E104] PSZJ Incoming Fax Log                     0.60



 10/26/2016   RE        ( 9 @0.20 PER PG)                                               1.80



 10/26/2016   RE        ( 177 @0.20 PER PG)                                            35.40



 10/26/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
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                                    Main Document
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 10/26/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 10/26/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 10/26/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 10/26/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                               0.30

 10/26/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 10/26/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 10/26/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 10/26/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 10/26/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 10/26/2016   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50

 10/26/2016   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70

 10/26/2016   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70

 10/26/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                               0.90

 10/26/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                               0.90

 10/26/2016   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10

 10/26/2016   RE2       SCAN/COPY ( 13 @0.10 PER PG)                              1.30

 10/26/2016   RE2       SCAN/COPY ( 15 @0.10 PER PG)                              1.50



 10/26/2016   RE2       SCAN/COPY ( 16 @0.10 PER PG)                              1.60



 10/26/2016   RE2       SCAN/COPY ( 16 @0.10 PER PG)                              1.60



 10/26/2016   RE2       SCAN/COPY ( 16 @0.10 PER PG)                              1.60



 10/26/2016   RE2       SCAN/COPY ( 17 @0.10 PER PG)                              1.70
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
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                                          648 Filed
                                              Filed 12/01/20
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                                                              Entered 12/01/20
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 10/26/2016   RE2       SCAN/COPY ( 17 @0.10 PER PG)                               1.70

 10/26/2016   RE2       SCAN/COPY ( 25 @0.10 PER PG)                               2.50

 10/26/2016   RE2       SCAN/COPY ( 25 @0.10 PER PG)                               2.50

 10/26/2016   RE2       SCAN/COPY ( 73 @0.10 PER PG)                               7.30

 10/26/2016   RE2       SCAN/COPY ( 119 @0.10 PER PG)                             11.90

 10/27/2016   PO        32274.00001 :Postage Charges for 10-27-16                 96.72

 10/27/2016   RE        ( 1 @0.20 PER PG)                                          0.20

 10/27/2016   RE        ( 4 @0.20 PER PG)                                          0.80

 10/27/2016   RE        ( 5 @0.20 PER PG)                                          1.00

 10/27/2016   RE        ( 42 @0.20 PER PG)                                         8.40

 10/27/2016   RE        ( 416 @0.20 PER PG)                                       83.20

 10/27/2016   RE        ( 416 @0.20 PER PG)                                       83.20

 10/27/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 10/27/2016   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                0.70

 10/27/2016   RE2       SCAN/COPY ( 10 @0.10 PER PG)                               1.00

 10/27/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20

 10/27/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20



 10/27/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40



 10/27/2016   RE2       SCAN/COPY ( 15 @0.10 PER PG)                               1.50



 10/27/2016   RE2       SCAN/COPY ( 15 @0.10 PER PG)                               1.50



 10/27/2016   RE2       SCAN/COPY ( 15 @0.10 PER PG)                               1.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                 Invoice 114911
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 10/27/2016   RE2       SCAN/COPY ( 15 @0.10 PER PG)                               1.50

 10/27/2016   RE2       SCAN/COPY ( 16 @0.10 PER PG)                               1.60

 10/31/2016   PAC       Pacer - Court Research                                   244.30

 10/31/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40

 10/31/2016   RE2       SCAN/COPY ( 110 @0.10 PER PG)                             11.00

   Total Expenses for this Matter                                           $7,280.89
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
                                              Doc 797
                                                   648 Filed
                                                       Filed 12/01/20
                                                             01/08/19 Entered
                                                                       Entered 12/01/20
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                                              Main Document    Page  445 of 750
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Gottlieb, David K - Yashouafar                                                                          Invoice 114911
32274     00001                                                                                         October 31, 2016




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 10/31/2016

Total Fees                                                                                                             $98,085.50
Chargeable costs and disbursements                                                                                         $7,280.89
Total Due on Current Invoice.....................                                                                     $105,366.39


Outstanding Balance from prior Invoices as of 10/31/2016       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed          Balance Due


     114542                        09/30/2016                  $70,136.00                           $430.31            $70,566.31


Total Amount Due on Current and Prior Invoices                                                                        $175,932.70
      Case
      Case 1:16-bk-12255-GM
           1:16-bk-12255-GM    Doc
                               Doc 797
                                    648 Filed
                                        Filed 12/01/20
                                              01/08/19 Entered
                                                        Entered 12/01/20
                                                                 01/08/19 18:29:18
                                                                          15:53:32      Desc
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    November 30, 2016
JVR                                                                 Invoice 115117
                                                                    Client  32274
                                                                    Matter  00001
                                                                            JVR
RE: Yashouafar

___________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 11/30/2016
                 FEES                                                $87,345.00
                 EXPENSES                                             $8,776.62
                 TOTAL CURRENT CHARGES                               $96,121.62

                 BALANCE FORWARD                                    $175,932.70
                 TOTAL BALANCE DUE                                  $272,054.32
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM              Doc
                                          Doc 797
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 Summary of Services by Task Code
 Task Code            Description                                                Hours                    Amount

 AA                   Asset Analysis/Recovery[B120]                               40.70                 $31,749.50
 AD                   Asset Disposition [B130]                                     1.00                       $660.00
 BL                   Bankruptcy Litigation [L430]                                43.50                 $26,854.00
 CA                   Case Administration [B110]                                  28.70                 $23,262.50
 CO                   Claims Admin/Objections[B310]                                3.70                  $2,497.50
 CP                   Compensation Prof. [B160]                                    1.00                       $325.00
 FF                   Financial Filings [B110]                                     2.50                       $812.50
 PD                   Plan & Disclosure Stmt. [B320]                               0.10                        $99.50
 RPO                  Ret. of Prof./Other                                          1.50                       $487.50
 SL                   Stay Litigation [B140]                                       0.20                       $199.00
 TI                   Tax Issues [B240]                                            0.40                       $398.00
                                                                                 123.30                 $87,345.00

 Summary of Services by Professional
 ID          Name                                      Title             Rate             Hours               Amount

 AJK         Kornfeld, Alan J.                         Partner          995.00             0.90           $895.50
 BDD         Dassa, Beth D.                            Paralegal        325.00            23.00         $7,475.00
 DGP         Parker, Daryl G.                          Counsel          875.00             1.00           $875.00
 GIG         Glazer, Gabriel I.                        Partner          695.00             3.70         $2,571.50
 JJK         Kim, Jonathan J.                          Counsel          725.00            33.50        $24,287.50
 JVR         Richards, Jeremy V.                       Partner          995.00            30.90        $30,745.50
 JWL         Lucas, John W.                            Partner          675.00            24.40        $16,470.00
 LAF         Forrester, Leslie A.                      Other            350.00             1.00           $350.00
 MB          Bove, Maria A.                            Counsel          750.00             4.90         $3,675.00
                                                                                      123.30            $87,345.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
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 Summary of Expenses
Description                                                                                       Amount

Bloomberg                                                                                         $341.50



Conference Call [E105]                                                                             $35.00



Federal Express [E108]                                                                             $64.99



Filing Fee [E112]                                                                                 $191.00



Lexis/Nexis- Legal Research [E                                                                    $199.00



Legal Vision Atty Mess Service                                                                    $422.50



Outside Reproduction Expense                                                                 $2,159.35



Outside Services                                                                             $3,445.65



Pacer - Court Research                                                                            $219.40



Postage [E108]                                                                                    $196.44



Reproduction Expense [E101]                                                                       $766.00



Reproduction/ Scan Copy                                                                           $370.80
     Case
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                                    Doc 797
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 Summary of Expenses
Description                                                                                       Amount

Travel Expense [E110]                                                                              $32.00



Westlaw - Legal Research [E106                                                                    $332.99



                                                                                             $8,776.62
     Case
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                                      Doc 797
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                                                                                         Hours          Rate         Amount
  Asset Analysis/Recovery[B120]
11/01/2016    JVR     AA        Review title documents regarding Lancaster and            0.30       995.00          $298.50
                                Bellflower properties.
11/01/2016    JWL     AA        Revise and draft 2004 motion related to Rexford and       6.50       675.00      $4,387.50
                                Chalette properties and related pleadings.
11/02/2016    JVR     AA        Telephone asset investigator regarding asset              0.40       995.00          $398.00
                                searches.
11/03/2016    JVR     AA        Forward information to asset investigator.                0.70       995.00          $696.50
11/03/2016    JVR     AA        Prepare outline of questions for continued 341(a)         1.60       995.00      $1,592.00
                                hearing (MY).
11/03/2016    JVR     AA        Prepare outline of questions for 341(a) hearing (SY).     0.80       995.00          $796.00
11/17/2016    JWL     AA        Draft letter for PWB regarding retention of JCBL          0.50       675.00          $337.50
                                Trust funds.
11/18/2016    JVR     AA        Conference with G. Glazer re fraudulent transfer of       0.80       995.00          $796.00
                                homes.
11/21/2016    JJK     AA        Emails Richards, Kornfeld on foreclosure/FT related       1.40       725.00      $1,015.00
                                issues (0.5); conf. Kornfeld/Richards on same (0.9).
11/22/2016    JJK     AA        Emails Gruber, Richards on foreclosure/FT related         9.50       725.00      $6,887.50
                                issues (0.3); research foreclosure, FT, related issues
                                (9.2).
11/22/2016    JVR     AA        Conference with J. Lucas re Chalette and Rexford          0.80       995.00          $796.00
                                foreclosures.
11/23/2016    JJK     AA        Foreclosure, FT, related issues for Richards and          6.80       725.00      $4,930.00
                                review Chalette/Rexford materials.
11/23/2016    JVR     AA        Telephone third party re Citivest Financial Services,     0.70       995.00          $696.50
                                Inc. (.3); Telephone D. Gottlieb re same (.4).
11/24/2016    JVR     AA        Review court of appeals ruling (LACCD v. RLI).            0.20       995.00          $199.00
11/24/2016    JVR     AA        Research re setting aside Chalette/Rexford                2.30       995.00      $2,288.50
                                foreclosures.
11/27/2016    JVR     AA        Research re wrongful foreclosure                          0.30       995.00          $298.50
                                (Rexford/Chalette).
11/28/2016    JJK     AA        Emails Richards on foreclosure, FT, related issues.       0.20       725.00          $145.00
11/28/2016    JVR     AA        Research re validity of foreclosures                      0.30       995.00          $298.50
                                (Rexford/Chalette).
11/29/2016    JVR     AA        Telephone D. Gottlieb re Rexford property.                0.20       995.00          $199.00
11/29/2016    JVR     AA        Review research re validity of substitution of trustee    0.20       995.00          $199.00
                                (Rexford/Chalette).
11/30/2016    JJK     AA        Foreclosure, FT, related issues for Richards and          6.20       725.00      $4,495.00
                                review Chalette/Rexford materials, and email notes
                                to Richards.
                                                                                         40.70                  $31,749.50
     Case
     Case 1:16-bk-12255-GM
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                                      Doc 797
                                           648 Filed
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  Asset Disposition [B130]
11/01/2016    JVR     AD        Review sale order (ECP).                              0.10       995.00           $99.50
11/02/2016    JVR     AD        Telephone asset investigator regarding asset          0.20       995.00          $199.00
                                searches.
11/02/2016    JVR     AD        Telephone I. Landsberg regarding sale of hotel.       0.10       995.00           $99.50
11/16/2016    BDD     AD        Revisions to abandonment order; email to/call with    0.30       325.00           $97.50
                                J. Lucas re same
11/16/2016    BDD     AD        Email to M. Kulick re abandonment order               0.10       325.00           $32.50
11/21/2016    BDD     AD        Email to J. Lucas re abandonment order                0.10       325.00           $32.50
11/30/2016    JVR     AD        Telephone G. Markow re sale of ECP.                   0.10       995.00           $99.50
                                                                                      1.00                       $660.00

  Bankruptcy Litigation [L430]
11/01/2016    BDD     BL        Emails (several) to J. Richards re order on           0.20       325.00           $65.00
                                stipulation between trustee, debtors, JCBL Trust,
                                etc.
11/01/2016    BDD     BL        Email to J. Lucas re 2004 motion                      0.10       325.00           $32.50
11/01/2016    BDD     BL        Call with J. Lucas re 2004 Motion                     0.10       325.00           $32.50
11/01/2016    BDD     BL        Email to J. Lucas re Exhibits B&C to 2004 Motion      0.10       325.00           $32.50
11/01/2016    BDD     BL        Email to J. Lucas re Exhibit E to 2004 Motion         0.10       325.00           $32.50
11/01/2016    BDD     BL        Email to J. Lucas re Exhibit H to 2004 Motion         0.10       325.00           $32.50
11/01/2016    BDD     BL        Conference with J. Richards re discovery              0.10       325.00           $32.50
11/01/2016    BDD     BL        Email to J. Lucas re 2004 Motion                      0.10       325.00           $32.50
11/01/2016    BDD     BL        Create and email J. Richards blackline of 2004        0.20       325.00           $65.00
                                Motion
11/01/2016    BDD     BL        Email to J. Richards re J. Lucas Declaration ISO      0.10       325.00           $32.50
                                2004 Motion
11/01/2016    BDD     BL        Revisions to 2004 Motion per J. Richards              0.20       325.00           $65.00
                                comments; email to J. Richards re same
11/01/2016    BDD     BL        Email to J. Lucas re revised 2004 motion              0.10       325.00           $32.50
11/01/2016    BDD     BL        Email to J. Lucas re further revisions to 2002        0.10       325.00           $32.50
                                Motion and exhibits
11/02/2016    BDD     BL        Email to J. Lucas re 2004 Motion                      0.10       325.00           $32.50
11/02/2016    BDD     BL        Further revisions to 2004 Motion and 9 exhibits per   2.50       325.00          $812.50
                                J. Lucas and J. Richards comments
11/02/2016    BDD     BL        Email to J. Richards re service of 2004 Motion on     0.10       325.00           $32.50
                                committee members
11/02/2016    BDD     BL        Emails (several) to M. Kulick re service of 2004      0.20       325.00           $65.00
                                Motion
     Case
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                                     Doc 797
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                                                                                       Hours          Rate         Amount
11/02/2016    BDD     BL        Email to M. Kulick re revised exhibits to 2004          0.10       325.00           $32.50
                                Motion
11/02/2016    BDD     BL        Review local rules re notice requirements re 2004;      0.20       325.00           $65.00
                                email to J. Lucas re same
11/02/2016    BDD     BL        Email to J. Lucas re revised exhibits to 2004 motion    0.10       325.00           $32.50
11/02/2016    BDD     BL        Confer with M. Kulick re filing/serving 2004            0.30       325.00           $97.50
                                Motion, compilation of exhibits, etc.
11/02/2016    BDD     BL        Email to M. Kulick re Decl of J. Lucas ISO 2004         0.10       325.00           $32.50
                                Motion
11/02/2016    BDD     BL        Confer with J. Richards re subpoenas for 2004           0.20       325.00           $65.00
                                motion; email re same
11/03/2016    JVR     BL        Research re badges of fraud (transfer of homes).        0.40       995.00          $398.00
11/03/2016    JVR     BL        Conference with J. Lucas re discovery issues.           0.30       995.00          $298.50
11/03/2016    JWL     BL        Emails and calls with J. Richards regarding             1.50       675.00     $1,012.50
                                additional 2004 exams and control of non debtor
                                affiliates.
11/07/2016    BDD     BL        Email to J. Richards re Order on 2004 Motion            0.10       325.00           $32.50
11/07/2016    BDD     BL        Email to J. Richards re info sought from Coldwell       0.10       325.00           $32.50
                                Banker/Joyce Rey (re 2004 Motion)
11/08/2016    BDD     BL        Email to J. Richards re 2004 information requested      0.10       325.00           $32.50
                                from J. Rey/Coldwell Banker
11/09/2016    MB      BL        Telephone conference with J. Lucas re omni 2007         0.20       750.00          $150.00
                                motion.
11/09/2016    JWL     BL        Work on 2004 motion for Debtors' children and           0.80       675.00          $540.00
                                Illuion.
11/10/2016    MB      BL        Review family tree and sample 2004 motion; draft        2.40       750.00     $1,800.00
                                omni Rule 2004 motion.
11/10/2016    MB      BL        Telephone conference with J. Lucas re 2004 motion.      0.20       750.00          $150.00
11/10/2016    BDD     BL        Email to J. Richards re orders on 2004 examinations     0.10       325.00           $32.50
11/14/2016    MB      BL        Revise 2004 motion.                                     0.10       750.00           $75.00
11/14/2016    MB      BL        Draft 2004 document requests.                           2.00       750.00     $1,500.00
11/14/2016    BDD     BL        Call with chambers re 2004 orders                       0.20       325.00           $65.00
11/15/2016    BDD     BL        Email to J. Lucas re 2004 orders                        0.10       325.00           $32.50
11/15/2016    BDD     BL        Email to J. Richards re 2004 orders                     0.10       325.00           $32.50
11/15/2016    BDD     BL        Revise 9 2004 orders per J. Lucas request; emails       1.10       325.00          $357.50
                                to/calls with J. Lucas re same
11/15/2016    BDD     BL        Email to G. Downing re orders on 2004 motion            0.10       325.00           $32.50
11/15/2016    BDD     BL        Further revisions to 2004 orders                        0.20       325.00           $65.00
11/15/2016    BDD     BL        Email to M. Kulick re revised 2004 orders               0.10       325.00           $32.50
     Case
     Case 1:16-bk-12255-GM
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                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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                                                                                        Hours          Rate         Amount
11/15/2016    BDD     BL        Email to M. Kulick re 2004 Motion                        0.10       325.00           $32.50
11/15/2016    BDD     BL        Email to J. Lucas re revised 2004 orders                 0.10       325.00           $32.50
11/15/2016    JWL     BL        Revise 2004 orders for new production dates and          0.80       675.00          $540.00
                                depo dates (.8);
11/16/2016    BDD     BL        Attend to service of 2004 orders; confer with J.         0.80       325.00          $260.00
                                Lucas and J. Richards re same
11/16/2016    BDD     BL        Email to J. Lucas re 9 entered orders                    0.10       325.00           $32.50
11/16/2016    BDD     BL        Email to M. Kulick re service by mail of 2004 orders     0.20       325.00           $65.00
11/16/2016    BDD     BL        Email to J. Richards re order authorization              0.10       325.00           $32.50
                                production of document by Tri Center Corp
11/16/2016    JWL     BL        Revise motion for 2d 2004 application against            3.10       675.00     $2,092.50
                                Debtors' children and Illulian (1.3); revise 2004
                                order for 1st 2004 motion (1.0); research regarding
                                background for 2004 motion (.8);
11/17/2016    JVR     BL        Telephone J. Lucas re discovery issues.                  0.30       995.00          $298.50
11/17/2016    JWL     BL        Call with J. Richards regarding 2004 strategy.           0.50       675.00          $337.50
11/18/2016    GIG     BL        Call with J. Richards re fraudulent transfer issues      0.80       695.00          $556.00
11/18/2016    GIG     BL        Research re avoidance risks                              2.20       695.00     $1,529.00
11/18/2016    GIG     BL        Emails with J. Richards re avoidance issues              0.70       695.00          $486.50
11/18/2016    JJK     BL        Emails Richards on fraudulent transfer / foreclosure     0.50       725.00          $362.50
                                related issues.
11/21/2016    AJK     BL        Call with J. Richards and J. Kim re background.          0.90       995.00          $895.50
11/21/2016    JVR     BL        Conference with J. Kim and A. Kornfeld re litigation     0.10       995.00           $99.50
                                to recover homes.
11/21/2016    JWL     BL        Review regarding foreclosure process for Rexford         1.20       675.00          $810.00
                                property.
11/22/2016    JWL     BL        Call with J. Richards regarding review of the            0.80       675.00          $540.00
                                Rexford foreclosure process.
11/24/2016    LAF     BL        Litigation search.                                       0.50       350.00          $175.00
11/25/2016    LAF     BL        Litigation search.                                       0.50       350.00          $175.00
11/27/2016    JVR     BL        Review litigation searches (Citivest, Sandoval,          0.10       995.00           $99.50
                                Mazzarino).
11/28/2016    DGP     BL        Read and consider e-mails from Messrs. Richards          1.00       875.00          $875.00
                                and Lucas re possible invalidity of mortgage
                                foreclosure sale due to inaccurate statement of
                                amount due in notice of sale; legal research re same;
                                prepare e-mail to Messrs. Richards and Lucas re
                                same.
11/28/2016    JVR     BL        Review results of litigation search (Citivest).          0.20       995.00          $199.00
11/28/2016    JVR     BL        Conference with J. Lucas re discovery issues.            0.20       995.00          $199.00
     Case
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          1:16-bk-12255-GM            Doc
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                                                                                        Hours          Rate         Amount
11/29/2016    JJK     BL        Foreclosure, FT, related issues for Richards and         8.90       725.00      $6,452.50
                                review Chalette/Rexford materials.
11/29/2016    BDD     BL        Call with J. Lucas re Coldwell Banker document           0.10       325.00           $32.50
                                production
11/29/2016    BDD     BL        Email to S. Apellian at Coldwell Banker re               0.10       325.00           $32.50
                                document production
11/29/2016    BDD     BL        Call with J. Rey at Coldwell Banker re document          0.10       325.00           $32.50
                                production
11/29/2016    BDD     BL        Email to J. Lucas re status of Coldwell Banker           0.10       325.00           $32.50
                                document production
11/29/2016    BDD     BL        Email to J. Lucas re Coldwell Banker in-house            0.10       325.00           $32.50
                                counsel
11/29/2016    BDD     BL        Email to M. Hull re Coldwell Banker document             0.10       325.00           $32.50
                                production
11/29/2016    BDD     BL        Email to J. Richards re personal service of order re     0.10       325.00           $32.50
                                production of docs on P. Yashouafar, mother in law,
                                and J. Nourafshan
11/29/2016    JWL     BL        Calls with B. Dassa regarding 2004 document              0.60       675.00          $405.00
                                production and confirmation of service issues (.3);
                                call with K. Davis regarding trustee's defense of
                                Heller action (.3).
11/30/2016    BDD     BL        Email to J. Richards and J. Lucas re docs produced       0.10       325.00           $32.50
                                by Coldwell Banker
11/30/2016    BDD     BL        Begin reviewing docs produced by Coldwell Banker         0.20       325.00           $65.00
11/30/2016    BDD     BL        Coordinate personal and mail service of entered          1.30       325.00          $422.50
                                2004 orders; obtain various address information;
                                confer with J. Lucas and M. Kulick re same
11/30/2016    BDD     BL        Emails to J. Richards and J. Lucas re service of         0.20       325.00           $65.00
                                entered 2004 orders
                                                                                        43.50                  $26,854.00

  Case Administration [B110]
11/01/2016    JVR     CA        Telephone P. Lavi regarding case status.                 0.20       995.00          $199.00
11/01/2016    BDD     CA        Review docket re H. David NEFs; email to J.              0.20       325.00           $65.00
                                Richards re same
11/01/2016    BDD     CA        Email to H. David re NEF notifications                   0.10       325.00           $32.50
11/01/2016    BDD     CA        Review service list for 2004 motion; email to M.         0.20       325.00           $65.00
                                Kulick re same
11/01/2016    BDD     CA        Email to J. Richards re order limiting notice            0.10       325.00           $32.50
11/01/2016    BDD     CA        Email to M. Kulick re Order limiting notice              0.10       325.00           $32.50
11/01/2016    BDD     CA        Preparation of order limiting notice, decl of non opp    0.80       325.00          $260.00
                                and exhibits re same; email to J. Richards re same
     Case
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                                                                                         Hours          Rate         Amount
11/01/2016    BDD     CA        Email to M. Kulick re pleadings not filed in lead         0.10       325.00           $32.50
                                case
11/02/2016    JVR     CA        Prepare for continued M. Yashouafar 341 and S.            2.30       995.00     $2,288.50
                                Yashouafar 341 hearings.
11/02/2016    BDD     CA        Email to J. Richards re Order/Decl Non Opp re             0.10       325.00           $32.50
                                Motion for Order Limiting Notice
11/02/2016    BDD     CA        Email to J. Richards re appointment of committee          0.10       325.00           $32.50
11/02/2016    BDD     CA        Revisions to Decl of Non Opp re Order limiting            0.20       325.00           $65.00
                                scope of notice; email to M. Kulick re same
11/02/2016    BDD     CA        Email to M. Kulick re Decl of Non Opp/Order               0.10       325.00           $32.50
                                Limiting Scope of Notice
11/03/2016    JVR     CA        Telephone D. Gottlieb re case strategy.                   0.40       995.00          $398.00
11/04/2016    JVR     CA        Research and draft reply to oppositions to motion to      1.30       995.00     $1,293.50
                                abandon interests in ECP.
11/07/2016    JVR     CA        Review Committee's response to motion to abandon.         0.10       995.00           $99.50
11/07/2016    JVR     CA        Telephone A. McDow and D. Gottlieb re case                0.70       995.00          $696.50
                                overview.
11/07/2016    JVR     CA        Revise reply to opposition to motion to abandon.          0.20       995.00          $199.00
11/08/2016    JVR     CA        Attend continued 341(a) hearing (MY) and 341(a)           7.00       995.00     $6,965.00
                                hearing (SY).
11/09/2016    JVR     CA        Telephone D. Coniff re global settlement.                 0.50       995.00          $497.50
11/09/2016    JVR     CA        Telephone D. Coniff re settlement.                        0.30       995.00          $298.50
11/10/2016    BDD     CA        Review docket re critical dates; update critical dates    1.10       325.00          $357.50
                                memo; confer with M. DesJardien re calendaring
                                matters
11/10/2016    BDD     CA        Attend to misc. issues re mail service of documents       0.20       325.00           $65.00
11/10/2016    BDD     CA        Email to J. Richards re updated critical dates            0.10       325.00           $32.50
11/10/2016    BDD     CA        Email to J. Melissinos at Greenberg Glusker re            0.10       325.00           $32.50
                                service of pleadings
11/11/2016    BDD     CA        Email to G. Downing re 341(a) hearings                    0.10       325.00           $32.50
11/14/2016    JVR     CA        Prepare for hearing on motion to abandon ECP              1.30       995.00     $1,293.50
                                interests.
11/15/2016    JVR     CA        Attend hearing on motion to abandon interests in          4.00       995.00     $3,980.00
                                ECP.
11/15/2016    JWL     CA        Update work in progress report.                           1.00       675.00          $675.00
11/16/2016    BDD     CA        Attend to misc. calendaring matters                       0.30       325.00           $97.50
11/16/2016    BDD     CA        Emails to J. Richards and J. Lucas re M. Yashouafar       0.20       325.00           $65.00
                                341a
11/16/2016    BDD     CA        Email to G. Downing re M. Yashouafar 341a audio           0.10       325.00           $32.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
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Gottlieb, David K - Yashouafar                                                                Invoice 115117
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                                                                                      Hours          Rate         Amount
11/16/2016    JWL     CA        Draft order authorizing trustee's abandonment and      0.50       675.00          $337.50
                                arrange for sign-off.
11/17/2016    JWL     CA        Update date work in progress report.                   1.40       675.00          $945.00
11/18/2016    JVR     CA        Review and respond to e-mails re presentation of       0.10       995.00           $99.50
                                documents.
11/21/2016    BDD     CA        Email to G. Downing re M. Yashouafar 341a              0.10       325.00           $32.50
                                testimony
11/27/2016    JWL     CA        Draft stipulation to continue hearing on motion to     1.00       675.00          $675.00
                                convert.
11/28/2016    BDD     CA        Email to J. Lucas re Stip on Motion to Convert case    0.10       325.00           $32.50
11/28/2016    BDD     CA        Revisions to Stip on Motion to Continue Conversion     0.30       325.00           $97.50
                                hearing; email to J. Lucas re same
11/28/2016    BDD     CA        Coordinate filing/serving of Stip/lodgment of order    0.10       325.00           $32.50
                                with M. Kulick
11/28/2016    BDD     CA        Preparation of Order on Stipulation to Continue        0.40       325.00          $130.00
                                Motion to Convert Case; email to J. Lucas re same
11/28/2016    BDD     CA        Email to M. Kulick re order on stip to continue        0.10       325.00           $32.50
                                hearing on motion to convert case
11/28/2016    BDD     CA        Email to A. McDow re revised stip                      0.10       325.00           $32.50
11/28/2016    JWL     CA        Revise stipulation to continue conversion hearing      0.50       675.00          $337.50
                                and review order for the same.
11/29/2016    JVR     CA        Review and respond to e-mail from H. David re          0.10       995.00           $99.50
                                conversion.
11/29/2016    BDD     CA        Attend to misc. calendaring matters                    0.20       325.00           $65.00
11/30/2016    BDD     CA        Attend to misc. calendaring matters                    0.10       325.00           $32.50
                                                                                      28.70                  $23,262.50

  Claims Admin/Objections[B310]
11/16/2016    JWL     CO        Review exemptions and timeline for objections.         0.40       675.00          $270.00
11/21/2016    JWL     CO        Review debtors' exemptions and research regarding      3.30       675.00      $2,227.50
                                the same.
                                                                                       3.70                   $2,497.50

  Compensation Prof. [B160]
11/01/2016    BDD     CP        Email to J. Richards re PSZJ employment order          0.10       325.00           $32.50
11/01/2016    BDD     CP        Email to M. Kulick re PSZJ employment order            0.10       325.00           $32.50
11/01/2016    BDD     CP        Preparation of order re PSZJ employment, decl of       0.80       325.00          $260.00
                                non opp, and exhibits re same; email to J. Richards
                                re same
                                                                                       1.00                       $325.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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  Financial Filings [B110]
11/03/2016    BDD     FF        Email to J. Richards re Yashouafar                     0.10       325.00           $32.50
                                Schedules/Statements
11/03/2016    BDD     FF        Review/compile schedules/statement of financial        0.90       325.00          $292.50
                                affairs re S & M Yashouafar (including amendments
                                re same); email to J. Richards and E. Beyer re same
11/03/2016    BDD     FF        Conference with J. Richards re M & S Yashouafar        0.20       325.00           $65.00
                                Schedules/Statements of Financial Affairs
11/16/2016    BDD     FF        Review S. & M. Yashouafar exemptions; email to J.      0.30       325.00           $97.50
                                Lucas re same
11/30/2016    BDD     FF        Email to J. Lucas re debtor exemptions; call with J.   0.20       325.00           $65.00
                                Lucas re same
11/30/2016    BDD     FF        Preparation of Stip to continue Deadline to Respond    0.80       325.00          $260.00
                                to Debtors' claim exemptions; emails (several) to J.
                                Lucas re same
                                                                                       2.50                       $812.50

  Plan & Disclosure Stmt. [B320]
11/03/2016    JVR     PD        Draft e-mail to B. Davidoff re plan.                   0.10       995.00           $99.50
                                                                                       0.10                        $99.50

  Ret. of Prof./Other
11/10/2016    BDD     RPO       Preparation of Order and Dec Non Opp re BRG            0.60       325.00          $195.00
                                Employment; email to J. Richards re same
11/14/2016    BDD     RPO       Email to M. Kulick re Dec Non Opp/Order re BRG         0.10       325.00           $32.50
                                employment
11/22/2016    BDD     RPO       Email to J. Richards re S. VanHorn retention           0.10       325.00           $32.50
                                application (auctioneer)
11/28/2016    BDD     RPO       Email to J. Richards re VanHorn retention              0.10       325.00           $32.50
                                application
11/28/2016    BDD     RPO       Email to J. Richards re VanHorn employment             0.10       325.00           $32.50
                                application
11/28/2016    BDD     RPO       Begin working on application to employ VanHorn         0.50       325.00          $162.50
                                (auctioneer)
                                                                                       1.50                       $487.50

  Stay Litigation [B140]
11/11/2016    JVR     SL        Review motion to reconsider relief from stay (ECP);    0.20       995.00          $199.00
                                Telephone P. Kirsh, J. Robinson and R. Osman re
                                same.
                                                                                       0.20                       $199.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
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  Tax Issues [B240]
11/03/2016    JVR     TI        Review opposition to motion to abandon ECP   0.40       995.00          $398.00
                                partnership interests.
                                                                             0.40                       $398.00

 TOTAL SERVICES FOR THIS MATTER:                                                                 $87,345.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
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Expenses
 09/23/2016   OR        Outside Reproduction Expense [E102] Legal Vision            2,159.35
                        Consulting Group, Inv. 44206, L. Sneed

 10/19/2016   TE        Travel Expense [E110] Modern Parking Fee, JVR                   8.00

 10/26/2016   CC        Conference Call [E105] CourtCall, November 1 2016              35.00
                        through November 30 2016, JVR

 10/26/2016   FE        32274.00001 FedEx Charges for 10-26-16                         12.08

 10/26/2016   FF        Filing Fee [E112] USBC Bankruptcy Court, JVR                  176.00

 10/26/2016   FF        Filing Fee [E112] USBC Bankruptcy Court, JVR                   15.00

 10/27/2016   FE        32274.00001 FedEx Charges for 10-27-16                          8.44

 10/27/2016   TE        Travel Expense [E110] Los Angeles Mall Parking Fee, JVR        16.00

 11/01/2016   LV        Legal Vision Atty/Mess. Service- Inv. 44555, San Fernando      65.00
                        Bankruptcy Court, B. Dassa

 11/01/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10

 11/01/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20

 11/01/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20

 11/01/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30

 11/01/2016   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50

 11/01/2016   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60



 11/01/2016   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                    1.00



 11/01/2016   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                    4.20



 11/01/2016   RE2       SCAN/COPY ( 99 @0.10 PER PG)                                    9.90



 11/02/2016   LV        Legal Vision Atty/Mess. Service- Inv. 44557, San Fernando      65.00
                        Bankruptcy Court, B. Dassa
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
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 11/02/2016   LV        Legal Vision Atty/Mess. Service- Inv. 44558, San Fernando      65.00
                        Bankruptcy Court, B. Dassa

 11/02/2016   PO        32274.00001 :Postage Charges for 11-02-16                      55.36

 11/02/2016   RE        ( 112 @0.20 PER PG)                                            22.40

 11/02/2016   RE        ( 987 @0.20 PER PG)                                           197.40

 11/02/2016   RE        ( 1269 @0.20 PER PG)                                          253.80

 11/02/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10

 11/02/2016   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                    4.60

 11/02/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40

 11/02/2016   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                    2.90

 11/02/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20

 11/02/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40

 11/02/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40

 11/02/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10

 11/02/2016   RE2       SCAN/COPY ( 141 @0.10 PER PG)                                  14.10

 11/02/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20

 11/02/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40



 11/02/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                     0.40



 11/02/2016   RE2       SCAN/COPY ( 45 @0.10 PER PG)                                    4.50



 11/02/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10



 11/02/2016   RE2       SCAN/COPY ( 141 @0.10 PER PG)                                  14.10



 11/02/2016   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                     0.70
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
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                                         648 Filed
                                             Filed 12/01/20
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 11/02/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                              1.40

 11/02/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20

 11/02/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20

 11/02/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20

 11/02/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20

 11/02/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 11/02/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                              1.40

 11/02/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20

 11/02/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20

 11/02/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20

 11/02/2016   RE2       SCAN/COPY ( 45 @0.10 PER PG)                              4.50

 11/02/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 11/02/2016   RE2       SCAN/COPY ( 39 @0.10 PER PG)                              3.90

 11/02/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20

 11/02/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20

 11/02/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20



 11/02/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40



 11/03/2016   RE2       SCAN/COPY ( 63 @0.10 PER PG)                              6.30



 11/03/2016   RE2       SCAN/COPY ( 20 @0.10 PER PG)                              2.00



 11/03/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                              1.40



 11/03/2016   RE2       SCAN/COPY ( 18 @0.10 PER PG)                              1.80
     Case
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 11/03/2016   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                    1.80

 11/03/2016   RE2       SCAN/COPY ( 63 @0.10 PER PG)                                    6.30

 11/03/2016   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                    4.60

 11/03/2016   RE2       SCAN/COPY ( 39 @0.10 PER PG)                                    3.90

 11/03/2016   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                    4.60

 11/03/2016   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                    4.60

 11/03/2016   RE2       SCAN/COPY ( 63 @0.10 PER PG)                                    6.30

 11/03/2016   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                    2.40

 11/03/2016   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50

 11/06/2016   TE        Travel Expense [E110] Modern Parking Fee, JVR                   8.00

 11/07/2016   LN        32274.00001 Lexis Charges for 11-07-16                          2.00

 11/07/2016   RE        ( 29 @0.20 PER PG)                                              5.80

 11/07/2016   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50

 11/07/2016   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50

 11/07/2016   RE2       SCAN/COPY ( 49 @0.10 PER PG)                                    4.90

 11/08/2016   LV        Legal Vision Atty/Mess. Service- Inv. 44667, San Fernando      97.50
                        Bankruptcy Court, JVR



 11/08/2016   PO        32274.00001 :Postage Charges for 11-08-16                     141.08



 11/08/2016   RE        ( 5 @0.20 PER PG)                                               1.00



 11/08/2016   RE        ( 10 @0.20 PER PG)                                              2.00



 11/08/2016   RE        ( 520 @0.20 PER PG)                                           104.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
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                                         648 Filed
                                             Filed 12/01/20
                                                   01/08/19 Entered
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 11/08/2016   RE        ( 520 @0.20 PER PG)                                     104.00

 11/08/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                              1.40

 11/08/2016   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50

 11/11/2016   FE        32274.00001 FedEx Charges for 11-11-16                   10.67

 11/11/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                              1.40

 11/11/2016   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90

 11/11/2016   RE2       SCAN/COPY ( 15 @0.10 PER PG)                              1.50

 11/11/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 11/11/2016   RE2       SCAN/COPY ( 24 @0.10 PER PG)                              2.40

 11/11/2016   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90

 11/11/2016   RE2       SCAN/COPY ( 182 @0.10 PER PG)                            18.20

 11/11/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                              1.40

 11/11/2016   RE2       SCAN/COPY ( 24 @0.10 PER PG)                              2.40

 11/11/2016   RE2       SCAN/COPY ( 219 @0.10 PER PG)                            21.90

 11/11/2016   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50

 11/11/2016   RE2       SCAN/COPY ( 56 @0.10 PER PG)                              5.60

 11/11/2016   RE2       SCAN/COPY ( 131 @0.10 PER PG)                            13.10



 11/11/2016   RE2       SCAN/COPY ( 30 @0.10 PER PG)                              3.00



 11/11/2016   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70



 11/11/2016   RE2       SCAN/COPY ( 119 @0.10 PER PG)                            11.90



 11/11/2016   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
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                                          648 Filed
                                              Filed 12/01/20
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 11/11/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20

 11/14/2016   OS        TransWest Investigations, Inv. 70787, JVR                   3,445.65

 11/14/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20

 11/14/2016   RE2       SCAN/COPY ( 45 @0.10 PER PG)                                    4.50

 11/14/2016   RE2       SCAN/COPY ( 45 @0.10 PER PG)                                    4.50

 11/14/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20

 11/15/2016   LV        Legal Vision Atty/Mess. Service- Inv. 44753, San Fernando      65.00
                        Bankruptcy Court, B. Dassa

 11/15/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20

 11/15/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20

 11/15/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20

 11/15/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20

 11/15/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20

 11/15/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20

 11/15/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40

 11/15/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20

 11/15/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20

 11/15/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40



 11/15/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20



 11/15/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40



 11/15/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20



 11/15/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
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32274     00001                                                                November 30, 2016

 11/15/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20

 11/15/2016   RE2       SCAN/COPY ( 24 @0.10 PER PG)                               2.40

 11/15/2016   RE2       SCAN/COPY ( 57 @0.10 PER PG)                               5.70

 11/15/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40

 11/15/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40

 11/15/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40

 11/15/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40

 11/15/2016   RE2       SCAN/COPY ( 89 @0.10 PER PG)                               8.90

 11/15/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 11/15/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 11/16/2016   FE        32274.00001 FedEx Charges for 11-16-16                    10.81

 11/16/2016   FE        32274.00001 FedEx Charges for 11-16-16                     8.46

 11/16/2016   FE        32274.00001 FedEx Charges for 11-16-16                    14.53

 11/16/2016   RE2       SCAN/COPY ( 71 @0.10 PER PG)                               7.10

 11/16/2016   RE2       SCAN/COPY ( 67 @0.10 PER PG)                               6.70

 11/16/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 11/16/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30



 11/16/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20



 11/16/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20



 11/16/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20



 11/17/2016   LN        32274.00001 Lexis Charges for 11-17-16                    79.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                Invoice 115117
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 11/18/2016   RE        ( 8 @0.20 PER PG)                                         1.60

 11/18/2016   RE        ( 10 @0.20 PER PG)                                        2.00

 11/18/2016   RE        ( 12 @0.20 PER PG)                                        2.40

 11/18/2016   RE        ( 20 @0.20 PER PG)                                        4.00

 11/18/2016   RE        ( 40 @0.20 PER PG)                                        8.00

 11/18/2016   RE        ( 52 @0.20 PER PG)                                       10.40

 11/18/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 11/21/2016   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90

 11/21/2016   RE2       SCAN/COPY ( 46 @0.10 PER PG)                              4.60

 11/21/2016   RE2       SCAN/COPY ( 63 @0.10 PER PG)                              6.30

 11/21/2016   RE2       SCAN/COPY ( 18 @0.10 PER PG)                              1.80

 11/21/2016   RE2       SCAN/COPY ( 31 @0.10 PER PG)                              3.10

 11/21/2016   RE2       SCAN/COPY ( 35 @0.10 PER PG)                              3.50

 11/23/2016   RE2       SCAN/COPY ( 43 @0.10 PER PG)                              4.30

 11/23/2016   RE2       SCAN/COPY ( 69 @0.10 PER PG)                              6.90

 11/24/2016   RE2       SCAN/COPY ( 42 @0.10 PER PG)                              4.20

 11/24/2016   RE2       SCAN/COPY ( 13 @0.10 PER PG)                              1.30



 11/26/2016   BB        32274.00001 Bloomberg Charges for 11-26-16                9.80



 11/27/2016   RE2       SCAN/COPY ( 52 @0.10 PER PG)                              5.20



 11/27/2016   RE2       SCAN/COPY ( 18 @0.10 PER PG)                              1.80



 11/28/2016   BB        32274.00001 Bloomberg Charges for 11-28-16               25.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
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                                                              Entered 12/01/20
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Gottlieb, David K - Yashouafar                                                      Invoice 115117
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 11/28/2016   BB        32274.00001 Bloomberg Charges for 11-28-16                      0.30

 11/28/2016   BB        32274.00001 Bloomberg Charges for 11-28-16                      0.20

 11/28/2016   BB        32274.00001 Bloomberg Charges for 11-28-16                      0.20

 11/28/2016   RE        ( 104 @0.20 PER PG)                                            20.80

 11/28/2016   RE        ( 104 @0.20 PER PG)                                            20.80

 11/28/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20

 11/28/2016   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50

 11/28/2016   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60

 11/28/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10

 11/29/2016   LV        Legal Vision Atty/Mess. Service- Inv. 44888, San Fernando      65.00
                        Bankruptcy Court, B. Dassa

 11/29/2016   WL        32274.00001 Westlaw Charges for 11-29-16                      332.99

 11/30/2016   BB        32274.00001 Bloomberg Charges for 11-30-16                    166.00

 11/30/2016   BB        32274.00001 Bloomberg Charges for 11-30-16                    140.00

 11/30/2016   LN        32274.00001 Lexis Charges for 11-30-16                        118.00

 11/30/2016   PAC       Pacer - Court Research                                        219.40

 11/30/2016   RE        ( 14 @0.20 PER PG)                                              2.80

 11/30/2016   RE        ( 14 @0.20 PER PG)                                              2.80



 11/30/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40



 11/30/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40



 11/30/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40



 11/30/2016   RE2       SCAN/COPY ( 28 @0.10 PER PG)                                    2.80
     Case
     Case 1:16-bk-12255-GM
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32274     00001                                                               November 30, 2016

 11/30/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20

 11/30/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                              1.40

 11/30/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                              1.40

 11/30/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20

 11/30/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20

 11/30/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20

 11/30/2016   RE2       SCAN/COPY ( 28 @0.10 PER PG)                              2.80

 11/30/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                              1.40

 11/30/2016   RE2       SCAN/COPY ( 14 @0.10 PER PG)                              1.40

   Total Expenses for this Matter                                          $8,776.62
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
                                              Doc 797
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                                                       Filed 12/01/20
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                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 11/30/2016

Total Fees                                                                                                            $87,345.00
Chargeable costs and disbursements                                                                                     $8,776.62
Total Due on Current Invoice.....................                                                                     $96,121.62


Outstanding Balance from prior Invoices as of 11/30/2016       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed         Balance Due


     114542                        09/30/2016                  $70,136.00                           $430.31           $70,566.31
     114911                        10/31/2016                  $98,085.50                          $7,280.89         $105,366.39


Total Amount Due on Current and Prior Invoices                                                                       $272,054.32
      Case
      Case 1:16-bk-12255-GM
           1:16-bk-12255-GM    Doc
                               Doc 797
                                    648 Filed
                                        Filed 12/01/20
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                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    December 31, 2016
JVR                                                                 Invoice 115185
                                                                    Client  32274
                                                                    Matter  00001
                                                                            JVR
RE: Yashouafar

___________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 12/31/2016
                 FEES                                                $73,344.00
                 EXPENSES                                             $2,031.97
                 TOTAL CURRENT CHARGES                               $75,375.97

                 BALANCE FORWARD                                    $272,054.32
                 TOTAL BALANCE DUE                                  $347,430.29
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM              Doc
                                          Doc 797
                                               648 Filed
                                                   Filed 12/01/20
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 Summary of Services by Task Code
 Task Code              Description                                              Hours                        Amount

 AA                     Asset Analysis/Recovery[B120]                              2.90                   $2,885.50
 AD                     Asset Disposition [B130]                                   6.30                   $4,508.50
 BL                     Bankruptcy Litigation [L430]                              83.10                  $57,585.50
 CA                     Case Administration [B110]                                 3.60                   $2,883.00
 CO                     Claims Admin/Objections[B310]                              0.70                       $536.50
 FF                     Financial Filings [B110]                                   1.30                       $422.50
 LN                     Litigation (Non-Bankruptcy)                                3.70                   $1,202.50
 RPO                    Ret. of Prof./Other                                        9.80                   $3,185.00
 SL                     Stay Litigation [B140]                                     0.20                       $135.00
                                                                                 111.60                  $73,344.00

 Summary of Services by Professional
 ID           Name                                      Title            Rate             Hours               Amount

 BDD          Dassa, Beth D.                            Paralegal       325.00            19.10          $6,207.50
 JJK          Kim, Jonathan J.                          Counsel         725.00            51.70         $37,482.50
 JVR          Richards, Jeremy V.                       Partner         995.00             7.70          $7,661.50
 JWL          Lucas, John W.                            Partner         675.00            32.10         $21,667.50
 PJJ          Jeffries, Patricia J.                     Paralegal       325.00             1.00           $325.00
                                                                                      111.60             $73,344.00




 Summary of Expenses
Description                                                                                                   Amount

Bloomberg                                                                                                     $370.00



Conference Call [E105]                                                                                          $3.99



CourtLink                                                                                                       $1.56
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                Invoice 115185
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 Summary of Expenses
Description                                                                                       Amount


Federal Express [E108]                                                                             $18.28



Lexis/Nexis- Legal Research [E                                                                    $720.00



Legal Vision Atty Mess Service                                                                    $508.00



Pacer - Court Research                                                                             $69.90



Postage [E108]                                                                                      $5.34



Reproduction Expense [E101]                                                                        $82.20



Reproduction/ Scan Copy                                                                           $134.70



Westlaw - Legal Research [E106                                                                    $118.00



                                                                                              $2,031.97
     Case
     Case 1:16-bk-12255-GM
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Gottlieb, David K - Yashouafar                                                                 Invoice 115185
32274     00001                                                                                December 31, 2016


                                                                                       Hours          Rate         Amount
  Asset Analysis/Recovery[B120]
12/01/2016    JVR     AA        Research defects in Rexford/Chalette foreclosures.      1.20       995.00      $1,194.00
12/04/2016    JVR     AA        Review and respond to e-mail from J. Kim re             0.20       995.00          $199.00
                                attaching Rexford/Chalette foreclosures.
12/07/2016    JVR     AA        Review draft Citivest 2004 application.                 0.20       995.00          $199.00
12/12/2016    JVR     AA        Review research re setting aside Rexford/Chalette       0.30       995.00          $298.50
                                foreclosures.
12/16/2016    JVR     AA        Telephone J. Lucas re Rexford foreclosure and           0.30       995.00          $298.50
                                discovery issues.
12/19/2016    JVR     AA        Telephone J. Braun re RLI excess funds.                 0.30       995.00          $298.50
12/20/2016    JVR     AA        Telephone H. David re interests in RLI.                 0.20       995.00          $199.00
12/22/2016    JVR     AA        Telephone H. David re interests in RLI.                 0.20       995.00          $199.00
                                                                                        2.90                   $2,885.50

  Asset Disposition [B130]
12/01/2016    JVR     AD        Telephone G. Markow re appeals from ECP sale            0.30       995.00          $298.50
                                order (.2); Review notices of appeal and telephone
                                G. Markow re same (.1).
12/01/2016    JWL     AD        Research regarding debtor standing to appeal sale       1.50       675.00      $1,012.50
                                order.
12/02/2016    JVR     AD        Telephone G. Markow re ECP sale (.2); Review            0.50       995.00          $497.50
                                draft pleading directed by Judge Walton (.2); Revise
                                notice to withdraw pending appeals (.1).
12/02/2016    JWL     AD        Research regarding appeal of ECP sale order and         4.00       675.00      $2,700.00
                                research and draft response to District Court minute
                                order.
                                                                                        6.30                   $4,508.50

  Bankruptcy Litigation [L430]
12/01/2016    JJK     BL        Emails Richards on foreclosure related issues and       5.00       725.00      $3,625.00
                                research on same.
12/01/2016    JJK     BL        Emails Richards on foreclosure related issues and       5.30       725.00      $3,842.50
                                research on same.
12/01/2016    BDD     BL        Confer with attorney service re status of personal      0.40       325.00          $130.00
                                service of 2004 orders; emails to J. Richards and J.
                                Lucas re same
12/01/2016    BDD     BL        Email to J. Richards and J. Lucas re D. McCarthy        0.10       325.00           $32.50
                                acceptance of service of 2004 orders
12/01/2016    BDD     BL        Email to J. Richards and J. Lucas re service of 2004    0.10       325.00           $32.50
                                order on P. Nourafshan
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                                  Invoice 115185
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                                                                                        Hours          Rate         Amount
12/01/2016    BDD     BL        Email to J. Richards re service of 2004 order on J.      0.10       325.00           $32.50
                                Nourafshan
12/02/2016    JJK     BL        Emails Richards on foreclosure related issues and        5.20       725.00      $3,770.00
                                research on same.
12/04/2016    JJK     BL        Emails Richards on foreclosure related issues.           0.20       725.00          $145.00
12/05/2016    JJK     BL        Research foreclosure/sale/title related issues and       1.40       725.00      $1,015.00
                                emails Richards on same.
12/06/2016    JJK     BL        Research foreclosure/sale/title related issues and       5.00       725.00      $3,625.00
                                emails Lucas, Richards on same.
12/06/2016    JJK     BL        Research foreclosure/sale/title related issues and       3.30       725.00      $2,392.50
                                emails Lucas, Richards on same.
12/06/2016    BDD     BL        Call with J. Lucas re J. Richards Dec ISO 2004           0.20       325.00           $65.00
                                motion; email re same
12/06/2016    JWL     BL        Draft 2004 motion relating to Citivest Financial, E.     5.00       675.00      $3,375.00
                                Mazzarino, and R.M. Sandoval.
12/07/2016    JJK     BL        Emails Lucas, Richards on 2004 matters (0.4);            4.10       725.00      $2,972.50
                                review docs/record and emails Lucas on 2004 scope
                                (2.2); review draft 2004 and further review of docs
                                and emails on same (1.5).
12/07/2016    BDD     BL        Confer with M. Kulick and attorney service re            0.50       325.00          $162.50
                                proofs of service re 2004 orders; review proofs of
                                service re same; email to M. Kulick re same
12/07/2016    BDD     BL        Email to J. Richards and J. Lucas re completed           0.10       325.00           $32.50
                                service of 2004 order on Fieldbrook
12/07/2016    JWL     BL        Draft and revise 2004 motion relating to Citivest.       3.30       675.00      $2,227.50
12/08/2016    JJK     BL        Emails Richards on 2004, case matters.                   0.20       725.00          $145.00
12/08/2016    JJK     BL        Research foreclosure/sale/title related issues.         10.50       725.00      $7,612.50
12/08/2016    BDD     BL        Research re RM Sandoval re 2004 motion; emails           0.80       325.00          $260.00
                                to/calls with J. Lucas re same
12/08/2016    JWL     BL        Draft Citivest 2004 and calls with targets of motion     1.60       675.00      $1,080.00
                                (1.4); emails with D. Macarthy regarding Elkwood
                                et al 2004 motion depositions (.2);
12/09/2016    JJK     BL        Research foreclosure/sale/title related issues and       3.60       725.00      $2,610.00
                                emails Richards on same.
12/11/2016    JJK     BL        Research foreclosure/sale/title related issues and       5.00       725.00      $3,625.00
                                emails Richards on same.
12/12/2016    JJK     BL        Research potential causes of action issues and emails    1.90       725.00      $1,377.50
                                Richards on same.
12/13/2016    JJK     BL        Research causes of action matters and emails             0.30       725.00          $217.50
                                Richards.
12/14/2016    JJK     BL        Emails Richards on FT matters.                           0.70       725.00          $507.50
12/14/2016    BDD     BL        Email to J. Richards re Pacific Western Bank             0.10       325.00           $32.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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                                                                                        Hours          Rate         Amount
                                production
12/14/2016    BDD     BL        Email to J. Richards and J. Lucas re docs to be          0.10       325.00           $32.50
                                produced pursuant to 2004 orders
12/14/2016    BDD     BL        Email to J. Lucas re docs produced by Coldwell           0.10       325.00           $32.50
                                Banker
12/14/2016    BDD     BL        Email to J. Richards re updated info for 2004 exams      0.10       325.00           $32.50
12/15/2016    BDD     BL        Email to J. Lucas re Citivest 2004 exam                  0.10       325.00           $32.50
12/15/2016    BDD     BL        Coordinate filing/serving of Citivest 2004               0.20       325.00           $65.00
                                exam/order; emails to M. Kulick re same; email to J.
                                Lucas re same
12/15/2016    BDD     BL        Email to J. Lucas re Citivest 2004                       0.10       325.00           $32.50
12/15/2016    JWL     BL        Respond to calls and emails regarding Citivest 2004      3.50       675.00      $2,362.50
                                motion (.8); review PWB document production
                                (2.7).
12/16/2016    JWL     BL        Review PWB document production.                          4.50       675.00      $3,037.50
12/19/2016    JVR     BL        Review document produced by Pacific Western              0.70       995.00          $696.50
                                Bank.
12/19/2016    JVR     BL        Conference with J. Lucas re Rexford/Challette            0.70       995.00          $696.50
                                recoveries.
12/19/2016    PJJ     BL        Upload Citivest 2004 order.                              0.20       325.00           $65.00
12/19/2016    PJJ     BL        Draft motion to extend time to file                      0.80       325.00          $260.00
                                nondischargeability complaint.
12/19/2016    JWL     BL        Address open issues relating to document production      3.70       675.00      $2,497.50
                                for first 2004 motion, including review PWB
                                documents and calls with J. Richards regarding
                                same.
12/21/2016    BDD     BL        Email to J. Lucas re additional production by PWB        0.10       325.00           $32.50
12/21/2016    BDD     BL        Email to J. Lucas re PWB production                      0.10       325.00           $32.50
12/21/2016    JWL     BL        Review PWB document production.                          2.30       675.00      $1,552.50
12/22/2016    BDD     BL        Email to M. Kulick re document production                0.10       325.00           $32.50
12/22/2016    JWL     BL        Call with J. Richards regarding Rexford related          0.50       675.00          $337.50
                                discovery and email to debtors regarding informal
                                document request.
12/23/2016    JWL     BL        Review PWB second production of documents.               1.20       675.00          $810.00
                                                                                        83.10                  $57,585.50

  Case Administration [B110]
12/01/2016    BDD     CA        Attend to misc. calendaring matters re emergency         0.30       325.00           $97.50
                                district court hearing on 12/1; emails to J. Richards
                                re same
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                                   Invoice 115185
32274     00001                                                                                  December 31, 2016


                                                                                         Hours          Rate         Amount
12/01/2016    BDD     CA        Email to M. DesJardien re 12/1 calendaring matters        0.10       325.00           $32.50
12/05/2016    JWL     CA        Follow up call with K. Davis regarding pending            0.30       675.00          $202.50
                                actions against debtors and whether trustee intends
                                to hire counsel.
12/06/2016    BDD     CA        Attend to misc. calendaring matters; email to J.          0.20       325.00           $65.00
                                Lucas re same
12/08/2016    BDD     CA        Attend to misc. calendaring matters; email to J.          0.30       325.00           $97.50
                                Richards re same
12/16/2016    JVR     CA        Telephone J. Lucas re miscellaneous case                  0.20       995.00          $199.00
                                administration issues.
12/16/2016    JVR     CA        Draft e-mail to M. Goodfriend/M. Sharf re                 0.20       995.00          $199.00
                                outstanding information requests.
12/21/2016    JVR     CA        Meeting at Trustee's office with D. Gottlieb and M.       2.00       995.00      $1,990.00
                                Sharf re case status/settlement options.
                                                                                          3.60                   $2,883.00

  Claims Admin/Objections[B310]
12/19/2016    JWL     CO        Review Barlava non-dischargeability complaint.            0.50       675.00          $337.50
12/20/2016    JVR     CO        Telephone A. LeVeque re Paradise spa claims.              0.20       995.00          $199.00
                                                                                          0.70                       $536.50

  Financial Filings [B110]
12/01/2016    BDD     FF        Revise stipulation to extend deadline for Trustee to      0.30       325.00           $97.50
                                object to debtors' claimed exemptions; email to J.
                                Lucas re same
12/01/2016    BDD     FF        Preparation of order on Stip to Extend Deadline for       0.50       325.00          $162.50
                                Trustee to object to Debtors' claimed exemptions;
                                emails to J. Lucas re same
12/01/2016    BDD     FF        Email to B. Davidoff and M. Goodfriend re                 0.10       325.00           $32.50
                                stipulation/order to extend deadline for Trustee to
                                object to Debtors' claimed exemptions
12/01/2016    BDD     FF        Email to J. Lucase re stip/order re extending             0.10       325.00           $32.50
                                deadline for trustee to object to Debtors' claim
                                exemptions
12/02/2016    BDD     FF        Email to J. Lucas re stip/order re extension of time      0.10       325.00           $32.50
                                for Trustee to object to Debtors' claimed exemptions
12/05/2016    BDD     FF        Email to J. Lucas re stip/order to extend deadline for    0.20       325.00           $65.00
                                Trustee to object to Debtors' claimed exemptions;
                                email to M. Kulick re same; conference with M.
                                DesJardien re same
                                                                                          1.30                       $422.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
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Gottlieb, David K - Yashouafar                                                                    Invoice 115185
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                                                                                          Hours          Rate         Amount
  Litigation (Non-Bankruptcy)
12/01/2016    BDD     LN        Email to J. Richards re Dist Court Minute Order re         0.10       325.00           $32.50
                                12/1 hearing (Abselet v. Alliance Lending Group)
12/01/2016    BDD     LN        Preparation of Notice of Withdrawal of Appeal re           0.40       325.00          $130.00
                                Abselet v. Alliance (USDC); email to J. Richards re
                                same
12/01/2016    BDD     LN        Preparation of Not of Withdrawal of Appeal for             0.30       325.00           $97.50
                                filing in BK court (Abselet v. Alliance; USDC);
                                email to J. Richards re same
12/02/2016    BDD     LN        Call with J. Lucas re Notices of Hearing re Abselet        0.20       325.00           $65.00
                                v. Alliance (12/1 hearing in USDC)
12/02/2016    BDD     LN        Preparation of Notices of Hearing for filing in            0.90       325.00          $292.50
                                USDC and USBC (Abselet v. Alliance; USDC);
                                emails (several) to J. Lucas re same
12/02/2016    BDD     LN        Work on draft response to receiver's emerg                 0.90       325.00          $292.50
                                application for relief to be filed in USDC; email to J.
                                Lucas re same; emails to J. Richards and J. Lucas re
                                same (several)
12/02/2016    BDD     LN        Email to J. Lucas re response to be filed in BK court      0.10       325.00           $32.50
12/02/2016    BDD     LN        Email to G. Downing re response to receiver's emerg        0.10       325.00           $32.50
                                application for relief (to be filed in BK court)
12/02/2016    BDD     LN        Revisions to response to receiver's emerg application      0.20       325.00           $65.00
                                for relief to be filed in USDC per J. Richards
                                comments
12/02/2016    BDD     LN        Email to J. Lucas re service list for USDC response        0.10       325.00           $32.50
                                to receiver's emerg application for relief
12/02/2016    BDD     LN        Email to J. Lucas re finalized notice of withdrawal,       0.10       325.00           $32.50
                                responses for BK and USDC court; and notices for
                                BK and USDC court
12/02/2016    BDD     LN        Emails to/calls with M. Kulick re USDC and BK              0.30       325.00           $97.50
                                court filings
                                                                                           3.70                   $1,202.50

  Ret. of Prof./Other
12/05/2016    BDD     RPO       Continue working on application to employ Van              0.70       325.00          $227.50
                                Horn as auctioneer; email/call to J. Richards re same
12/05/2016    BDD     RPO       Email to S. Van Horn re employment application (re         0.10       325.00           $32.50
                                sale of personal property in BH and Encino
                                residences)
12/05/2016    BDD     RPO       Email to J. RIchards re Van Horn retention                 0.10       325.00           $32.50
                                application re sale of property at Encino and Beverly
                                Hills residences
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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                                                                                         Hours          Rate         Amount
12/06/2016    BDD     RPO       Email to S. VanHorn re retention application              0.10       325.00           $32.50
12/06/2016    BDD     RPO       Work on VanHorn retention application and review          3.90       325.00      $1,267.50
                                auctioneer bonding requirements re same; Decl of S.
                                Van Horn and D. Gottlieb in support thereof; email
                                to/call with J. Richards re same
12/07/2016    BDD     RPO       Email to J. Lucas re application to employ Van Horn       0.10       325.00           $32.50
                                Auctions re sale of personal property at BH and
                                Encino properties
12/07/2016    BDD     RPO       Email to J. Richards re S. Van Horn email related to      0.10       325.00           $32.50
                                potential sale of property at auction
12/12/2016    BDD     RPO       Email to J. Richards re app to employ B. Friedman         0.10       325.00           $32.50
                                (new application)
12/14/2016    BDD     RPO       Call with J. Lucas re auctioneer retention application    0.10       325.00           $32.50
12/14/2016    BDD     RPO       Email to J. Lucas re app to employ Van Horn               0.10       325.00           $32.50
                                Auctions
12/19/2016    BDD     RPO       Email to J. Richards re personal property evaluation      0.10       325.00           $32.50
                                at Encino and Beverly Hills homes
12/19/2016    BDD     RPO       Conference with J. Lucas re Van Horn retention            0.80       325.00          $260.00
                                application; revisions to application re same
12/21/2016    BDD     RPO       Preparation of application to employ Coldwell             3.40       325.00      $1,105.00
                                Banker as real estate broker to sell unimproved land
                                in Lancaster, CA; Decls of W. Friedman and D.
                                Gottlieb re same; email to J. Richards re same
12/22/2016    BDD     RPO       Email to J. Richards re app to employ Coldwell            0.10       325.00           $32.50
                                Banker
                                                                                          9.80                   $3,185.00

  Stay Litigation [B140]
12/08/2016    JWL     SL        Review motion for stay relief regarding BMW and           0.20       675.00          $135.00
                                discuss with trustee regading course of action.
                                                                                          0.20                       $135.00

 TOTAL SERVICES FOR THIS MATTER:                                                                               $73,344.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
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Expenses
 11/07/2016   CC        Conference Call [E105] AT&T Conference Call, JVR               3.99

 12/01/2016   LV        Legal Vision Atty/Mess. Service- Inv. 44937, Delivery to     100.50
                        Jack Nourafshan, B. Dassa

 12/01/2016   LV        Legal Vision Atty/Mess. Service- Inv. 44938, Delivery to      82.50
                        Parvin Nourfashan, B. Dassa

 12/01/2016   RE2       SCAN/COPY ( 33 @0.10 PER PG)                                   3.30

 12/01/2016   RE2       SCAN/COPY ( 33 @0.10 PER PG)                                   3.30

 12/01/2016   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                   2.90

 12/02/2016   FE        32274.00001 FedEx Charges for 12-02-16                         8.46

 12/02/2016   LV        Legal Vision Atty/Mess. Service- Inv. 44961, Los Angeles      82.50
                        District Court, B. Dassa

 12/02/2016   LV        Legal Vision Atty/Mess. Service- Inv. 44962, Delivery to      82.50
                        Parvinaz Yashouafar, B. Dassa

 12/02/2016   PO        32274.00001 :Postage Charges for 12-02-16                      5.34

 12/02/2016   RE        ( 64 @0.20 PER PG)                                            12.80

 12/02/2016   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                   1.00

 12/02/2016   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                    0.80

 12/02/2016   RE2       SCAN/COPY ( 50 @0.10 PER PG)                                   5.00

 12/02/2016   RE2       SCAN/COPY ( 40 @0.10 PER PG)                                   4.00



 12/02/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                    0.30



 12/02/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                   1.20



 12/02/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                   1.20



 12/02/2016   RE2       SCAN/COPY ( 33 @0.10 PER PG)                                   3.30
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 12/02/2016   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                     0.80

 12/02/2016   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                     0.80

 12/02/2016   RE2       SCAN/COPY ( 40 @0.10 PER PG)                                    4.00

 12/05/2016   FE        32274.00001 FedEx Charges for 12-05-16                          9.82

 12/05/2016   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                    2.40

 12/06/2016   LV        Legal Vision Atty/Mess. Service- Inv. 44984, San Fernando      65.00
                        Bankruptcy Court, B. Dassa

 12/06/2016   LV        Legal Vision Atty/Mess. Service- Inv. 44988, Delivery to       30.00
                        Jeremy Richards, JVR

 12/06/2016   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50

 12/06/2016   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                    1.00

 12/06/2016   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50

 12/06/2016   RE2       SCAN/COPY ( 27 @0.10 PER PG)                                    2.70

 12/06/2016   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60

 12/06/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                     0.90

 12/06/2016   RE2       SCAN/COPY ( 28 @0.10 PER PG)                                    2.80

 12/08/2016   BB        32274.00001 Bloomberg Charges for 12-08-16                    152.00

 12/08/2016   BB        32274.00001 Bloomberg Charges for 12-08-16                    218.00



 12/09/2016   LN        32274.00001 Lexis Charges for 12-09-16                        720.00



 12/14/2016   CL        32274.00001 Courtlink for 12/14/2016 (Orig: $6.60 @             0.52
                        %0.03359362)



 12/14/2016   CL        32274.00001 Courtlink for 12/14/2016 (Orig: $6.60 @             0.52
                        %0.03359362)
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 12/14/2016   RE        ( 27 @0.20 PER PG)                                              5.40

 12/14/2016   RE2       SCAN/COPY ( 57 @0.10 PER PG)                                    5.70

 12/14/2016   RE2       SCAN/COPY ( 57 @0.10 PER PG)                                    5.70

 12/14/2016   RE2       SCAN/COPY ( 57 @0.10 PER PG)                                    5.70

 12/14/2016   RE2       SCAN/COPY ( 57 @0.10 PER PG)                                    5.70

 12/14/2016   RE2       SCAN/COPY ( 57 @0.10 PER PG)                                    5.70

 12/14/2016   RE2       SCAN/COPY ( 57 @0.10 PER PG)                                    5.70

 12/15/2016   RE        ( 320 @0.20 PER PG)                                            64.00

 12/15/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                     0.90

 12/15/2016   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                    3.20

 12/15/2016   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                    3.20

 12/15/2016   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                    1.80

 12/15/2016   RE2       SCAN/COPY ( 33 @0.10 PER PG)                                    3.30

 12/15/2016   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                    1.80

 12/16/2016   LV        Legal Vision Atty/Mess. Service- Inv. 45207, San Fernando      65.00
                        Bankruptcy Court, M. Kulick

 12/16/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10

 12/16/2016   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20



 12/16/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10



 12/16/2016   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60



 12/16/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20



 12/16/2016   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                     0.90
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     Case 1:16-bk-12255-GM
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Gottlieb, David K - Yashouafar                                                 Invoice 115185
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 12/16/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 12/16/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 12/16/2016   RE2       SCAN/COPY ( 35 @0.10 PER PG)                               3.50

 12/16/2016   RE2       SCAN/COPY ( 74 @0.10 PER PG)                               7.40

 12/16/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 12/16/2016   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 12/16/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 12/16/2016   RE2       SCAN/COPY ( 37 @0.10 PER PG)                               3.70

 12/16/2016   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 12/16/2016   RE2       SCAN/COPY ( 28 @0.10 PER PG)                               2.80

 12/16/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 12/16/2016   RE2       SCAN/COPY ( 52 @0.10 PER PG)                               5.20

 12/16/2016   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60

 12/16/2016   RE2       SCAN/COPY ( 80 @0.10 PER PG)                               8.00

 12/16/2016   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 12/16/2016   RE2       SCAN/COPY ( 25 @0.10 PER PG)                               2.50

 12/16/2016   RE2       SCAN/COPY ( 10 @0.10 PER PG)                               1.00



 12/16/2016   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20



 12/17/2016   RE2       SCAN/COPY ( 15 @0.10 PER PG)                               1.50



 12/19/2016   WL        32274.00001 Westlaw Charges for 12-19-16                 118.00



 12/21/2016   CL        32274.00001 Courtlink for 12/21/2016 (Orig: $6.60 @        0.52
                        %0.03359362)
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
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Gottlieb, David K - Yashouafar                                                 Invoice 115185
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 12/22/2016   RE2       SCAN/COPY ( 17 @0.10 PER PG)                               1.70

 12/31/2016   PAC       Pacer - Court Research                                    69.90

   Total Expenses for this Matter                                           $2,031.97
     Case
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          1:16-bk-12255-GM                    Doc
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Gottlieb, David K - Yashouafar                                                                          Invoice 115185
32274     00001                                                                                         December 31, 2016




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 12/31/2016

Total Fees                                                                                                             $73,344.00
Chargeable costs and disbursements                                                                                      $2,031.97
Total Due on Current Invoice.....................                                                                      $75,375.97


Outstanding Balance from prior Invoices as of 12/31/2016       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed         Balance Due


     114542                        09/30/2016                  $70,136.00                           $430.31            $70,566.31
     114911                        10/31/2016                  $98,085.50                          $7,280.89         $105,366.39
     115117                        11/30/2016                  $87,345.00                          $8,776.62           $96,121.62


Total Amount Due on Current and Prior Invoices                                                                       $347,430.29
      Case
      Case 1:16-bk-12255-GM
           1:16-bk-12255-GM    Doc
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    January 31, 2017
JVR                                                                 Invoice 115643
                                                                    Client   32274
                                                                    Matter   00001
                                                                             JVR
RE: Yashouafar

___________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 01/31/2017
                 FEES                                                $54,361.00
                 EXPENSES                                             $2,260.63
                 TOTAL CURRENT CHARGES                               $56,621.63

                 BALANCE FORWARD                                    $347,430.29
                 TOTAL BALANCE DUE                                  $404,051.92
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM              Doc
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                                               648 Filed
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Gottlieb, David K - Yashouafar                                                           Invoice 115643
32274     00001                                                                          January 31, 2017




 Summary of Services by Task Code
 Task Code              Description                                              Hours                        Amount

 AA                     Asset Analysis/Recovery[B120]                            19.20                      $19,545.00
 AD                     Asset Disposition [B130]                                  0.90                        $922.50
 AP                     Appeals [B430]                                            0.10                        $102.50
 BL                     Bankruptcy Litigation [L430]                             16.90                      $10,776.50
 CA                     Case Administration [B110]                                5.80                       $5,421.50
 CO                     Claims Admin/Objections[B310]                            15.10                      $13,893.50
 RP                     Retention of Prof. [B160]                                 2.10                       $1,459.50
 RPO                    Ret. of Prof./Other                                       6.40                       $2,240.00
                                                                                 66.50                      $54,361.00

 Summary of Services by Professional
 ID           Name                                      Title            Rate             Hours               Amount

 BDD          Dassa, Beth D.                            Paralegal       350.00             9.80             $3,430.00
 HCK          Kevane, Henry C.                          Partner         950.00             2.50             $2,375.00
 JVR          Richards, Jeremy V.                       Partner        1025.00            33.20         $34,030.00
 JWL          Lucas, John W.                            Partner         695.00            20.80         $14,456.00
 PJJ          Jeffries, Patricia J.                     Paralegal       350.00             0.20               $70.00
                                                                                         66.50              $54,361.00




 Summary of Expenses
Description                                                                                                   Amount

Conference Call [E105]                                                                                          $2.42



CourtLink                                                                                                       $1.76



Federal Express [E108]                                                                                          $8.68
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
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 Summary of Expenses
Description                                                                                       Amount

Pacer - Court Research                                                                             $87.80



Postage [E108]                                                                                      $0.47



Reproduction Expense [E101]                                                                        $35.60



Reproduction/ Scan Copy                                                                            $51.90



Westlaw - Legal Research [E106                                                                   $2,072.00



                                                                                                 $2,260.63
     Case
     Case 1:16-bk-12255-GM
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Gottlieb, David K - Yashouafar                                                                   Invoice 115643
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                                                                                         Hours           Rate         Amount
  Asset Analysis/Recovery[B120]
01/10/2017    JVR     AA        Telephone D. Gottlieb re recovery of homes.               0.40      1025.00           $410.00
01/10/2017    JVR     AA        Analysis of liens and potential recoveries from           0.70      1025.00           $717.50
                                residences.
01/11/2017    JVR     AA        Research title and liens (Rexford property).              1.30      1025.00          $1,332.50
01/11/2017    JVR     AA        Draft e-mail to D. Gottlieb re Rexford recovery.          0.20      1025.00           $205.00
01/12/2017    JVR     AA        Review trustee sale guaranties (Rexford and               0.30      1025.00           $307.50
                                Chalette) re title issues.
01/17/2017    JVR     AA        Conference with J. Levinson: effect on junior liens       0.30      1025.00           $307.50
                                of setting aside residence foreclosure sales.
01/18/2017    JVR     AA        Telephone A. Jablon re RLI residual funds.                0.30      1025.00           $307.50
01/20/2017    JVR     AA        Research and analysis re Abselet levy on RLI and          4.40      1025.00          $4,510.00
                                APII stock (4.0); Draft e-mails to client (.2); and L.
                                Swerdlow (.2) re same.
01/23/2017    JVR     AA        Review documents and pleadings re validity of             2.30      1025.00          $2,357.50
                                Abselet foreclosures.
01/23/2017    JVR     AA        Telephone conference with L. Swerdlow re API/RLI          0.30      1025.00           $307.50
                                stock certificates.
01/24/2017    JVR     AA        Telephone D. Gottlieb re avoidance of Abselet liens.      0.40      1025.00           $410.00
01/24/2017    JVR     AA        Review documents re perfection of Abselet liens.          0.60      1025.00           $615.00
01/25/2017    JVR     AA        Telephone J. Oberman re issuance of APII stock.           0.40      1025.00           $410.00
01/25/2017    JVR     AA        Conference with J. Lucas re Challette/Rexford             0.60      1025.00           $615.00
                                foreclosures and Abselet lien positions.
01/25/2017    JVR     AA        Research re date of issuance of APII stock and            2.30      1025.00          $2,357.50
                                Abselet lien perfection issues.
01/25/2017    JVR     AA        Draft e-mail to N. Fathi re APII stock certificates.      0.20      1025.00           $205.00
01/25/2017    PJJ     AA        Run UCC Search on Debtors.                                0.20       350.00            $70.00
01/27/2017    JVR     AA        Conference with J. Lucas re validity of Abselet           0.40      1025.00           $410.00
                                liens.
01/27/2017    JVR     AA        Research re perfection of Abselet liens.                  2.00      1025.00          $2,050.00
01/30/2017    JVR     AA        Telephone D. Gottlieb re Abselet liens and related        0.50      1025.00           $512.50
                                settlement issues.
01/30/2017    JVR     AA        Telephone K. Davis re RLI stock foreclosure.              0.10      1025.00           $102.50
01/30/2017    JVR     AA        Telephone K. Davis re APII stock foreclosure.             0.40      1025.00           $410.00
01/31/2017    JVR     AA        Research re Abselet foreclosure on APII stock.            0.60      1025.00           $615.00
                                                                                         19.20                      $19,545.00
     Case
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Gottlieb, David K - Yashouafar                                                                 Invoice 115643
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                                                                                       Hours           Rate        Amount
  Asset Disposition [B130]
01/06/2017    JVR     AD        Review documents and correspondence re closing of       0.20      1025.00          $205.00
                                Oklahoma City property.
01/09/2017    JVR     AD        Conference with J. Lucas re discovery regarding         0.40      1025.00          $410.00
                                foreclosure of debtor's residences.
01/09/2017    JVR     AD        Telephone B. Friedman re sale of Lancaster              0.10      1025.00          $102.50
                                property.
01/09/2017    JVR     AD        Review order and closing statement re Oklahoma          0.20      1025.00          $205.00
                                sale.
                                                                                        0.90                       $922.50

  Appeals [B430]
01/06/2017    JVR     AP        Review and respond to e-mail from M. Ross re            0.10      1025.00          $102.50
                                pending appeals (Roosevelt Loft case).
                                                                                        0.10                       $102.50

  Bankruptcy Litigation [L430]
01/03/2017    BDD     BL        Email to J. Lucas re Citivest 2004 docs                 0.10       350.00           $35.00
01/04/2017    BDD     BL        Email to J. Lucas re Citivest production                0.10       350.00           $35.00
01/05/2017    BDD     BL        Review/organize Citivest document production;           1.20       350.00          $420.00
                                email to J. Lucas re same
01/05/2017    JWL     BL        Review Citivest document production and call with       2.00       695.00         $1,390.00
                                counsel regarding the production.
01/06/2017    JVR     BL        Review debtors' oppositions to motions to withdraw      0.20      1025.00          $205.00
                                reference re Abselet non-dischargeability complaint.
01/09/2017    BDD     BL        Conference with/email to J. Lucas re Elkwood,           0.20       350.00           $70.00
                                Fieldbrook, etc. production
01/09/2017    JWL     BL        Call with J. Richards regarding review of 2004          1.50       695.00         $1,042.50
                                document productions (.5); review Citivest
                                document productions (.5); follow up regarding
                                Reliable document production (.5);
01/10/2017    BDD     BL        Call with J. Lucas re Fieldbrook, Elkwood etc           0.10       350.00           $35.00
                                discovery
01/10/2017    BDD     BL        Review Fieldbrook, Elkwood discovery received           0.80       350.00          $280.00
                                from D. McCarthy
01/10/2017    BDD     BL        Email to M. Kulick re Fieldbrook, Elkwood, etc.         0.10       350.00           $35.00
                                discovery
01/10/2017    BDD     BL        Email to J. Lucas re doc production to be sent to M.    0.10       350.00           $35.00
                                Sharf
01/10/2017    JWL     BL        Follow up with Citivest production with counsel         2.20       695.00         $1,529.00
                                (.2); review production for the same (.3); review
     Case
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          1:16-bk-12255-GM            Doc
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                                                                                         Hours           Rate         Amount
                                Reliable discovery (1.5); discuss same with J.
                                Richards (.2);
01/11/2017    BDD     BL        Email to J. Lucas re docs sent to Mark Scharf             0.10       350.00            $35.00
01/11/2017    JWL     BL        Review Citivest document production.                      0.50       695.00           $347.50
01/17/2017    BDD     BL        Email to M. Sharf re PWB docs; call with M. Kulick        0.20       350.00            $70.00
                                re same
01/19/2017    JWL     BL        Review emails from Citivest and respond to Citivest       1.30       695.00           $903.50
                                regarding deficient production.
01/20/2017    JWL     BL        Review PWB and Citivest document productions              1.50       695.00          $1,042.50
                                and emails to the same regarding scope of
                                production.
01/25/2017    JWL     BL        Call with J. Richards regarding RLI and APII stock        2.40       695.00          $1,668.00
                                levies and strategy regarding discovery (.7); review
                                document productions relating to Rexford
                                foreclosure (.8); discuss stock perfection issues with
                                H. Kevane (.9).
01/27/2017    JWL     BL        Call with J. Richards regarding APII stock issuance       2.10       695.00          $1,459.50
                                and means to encumber such property (.6); research
                                regarding the same (1.5).
01/30/2017    JWL     BL        Respond to question from J. Richards regarding            0.20       695.00           $139.00
                                Reliable and Elkwood document review.
                                                                                         16.90                      $10,776.50

  Case Administration [B110]
01/12/2017    JVR     CA        Telephone D. Gottlieb re overall case strategy.           0.50      1025.00           $512.50
01/12/2017    JVR     CA        Telephone H. David re case status.                        0.40      1025.00           $410.00
01/13/2017    JVR     CA        Telephone A. McDow re case status.                        0.40      1025.00           $410.00
01/17/2017    JVR     CA        Prepare for meeting with counsel to H. Abselet re         1.40      1025.00          $1,435.00
                                case overview/strategy.
01/19/2017    BDD     CA        Attend to misc. calendaring matters                       0.40       350.00           $140.00
01/20/2017    JWL     CA        Review email from J. Richards regarding case              0.20       695.00           $139.00
                                strategy issues.
01/25/2017    HCK     CA        Confer with J. Lucas re certificated securities lien      0.80       950.00           $760.00
                                perfection and judgment issues.
01/27/2017    HCK     CA        Meeting with J. Lucas and confer with J. Richards re      0.60       950.00           $570.00
                                JLPP / execution lien.
01/27/2017    HCK     CA        Follow-up with J. Lucas re securities levy.               0.30       950.00           $285.00
01/31/2017    HCK     CA        Memos to / from J. Richards re stock certificate levy     0.80       950.00           $760.00
                                and confer with J. Lucas re same, review Cal. Corp.
                                Code and follow-up re same.
                                                                                          5.80                       $5,421.50
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                                                                                        Hours           Rate         Amount
  Claims Admin/Objections[B310]
01/04/2017    JWL     CO        Review schedules and summary of appraisal and            1.40       695.00           $973.00
                                email to client regarding challenging debtors'
                                exemptions.
01/10/2017    JVR     CO        Review US Bank claim and draft e-mail to K.              0.20      1025.00           $205.00
                                Owens re same.
01/13/2017    JVR     CO        Review Barlava non-dischargeability complaint.           0.30      1025.00           $307.50
01/17/2017    JWL     CO        Research regarding avoidability of foreclosure and       2.90       695.00          $2,015.50
                                effect on related liens.
01/18/2017    JVR     CO        Meeting with D. Coniff, J. Simon, D. Gottlieb and        7.00      1025.00          $7,175.00
                                A. McDow re settlement of Abselet claims.
01/18/2017    JWL     CO        Respond to creditor inquires (.3); follow up with        0.50       695.00           $347.50
                                Citivest regarding production (.2).
01/19/2017    JVR     CO        Review pleadings and documents re Abselet                2.40      1025.00          $2,460.00
                                foreclosure on APII and RLI stock.
01/19/2017    JVR     CO        Telephone J. Simon re validity of Abselet                0.20      1025.00           $205.00
                                liens/foreclosure.
01/24/2017    JVR     CO        Review settlement proposal from H. Abselet/S.            0.20      1025.00           $205.00
                                Abselet.
                                                                                        15.10                      $13,893.50

  Retention of Prof. [B160]
01/04/2017    JWL     RP        Review Coldwell Bank retention application, revise,      0.50       695.00           $347.50
                                and discuss same with B. Dassa.
01/24/2017    JWL     RP        Revise application to retain Coldwell Banker.            1.40       695.00           $973.00
01/26/2017    JWL     RP        Revise Coldwell retention application and                0.20       695.00           $139.00
                                supporting declarations relating to Lancaster
                                properties.
                                                                                         2.10                       $1,459.50

  Ret. of Prof./Other
01/04/2017    BDD     RPO       Email to/call with J. Lucas re App; to Employ            0.20       350.00            $70.00
                                Coldwell Banker re sale of Lancaster properties
01/04/2017    BDD     RPO       Email to B. Friedman re retention application re sale    0.10       350.00            $35.00
                                of Lancaster properties
01/04/2017    BDD     RPO       Revisions to app to employ Coldwell Banker re sale       0.50       350.00           $175.00
                                of Lancaster properties
01/07/2017    BDD     RPO       Email to J. Richards re App to Employ Coldwell           0.10       350.00            $35.00
                                Banker re sale of Lancaster properties
01/09/2017    BDD     RPO       Email to J. Richards re Lancaster properties to sell     0.10       350.00            $35.00
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                                                                                         Hours           Rate       Amount
01/17/2017    BDD     RPO       Email to J. Lucas re Coldwell Banker retention            0.10       350.00          $35.00
                                application (re sale of Lancaster properties)
01/17/2017    BDD     RPO       Email to B. Friedman re listing agreement for sale of     0.10       350.00          $35.00
                                Lancaster properties
01/18/2017    BDD     RPO       Call with B. Friedman re Coldwell Banker listing          0.20       350.00          $70.00
                                agreement (re sale of Lancaster properties)
01/18/2017    BDD     RPO       Email to B. Friedman re retention application             0.10       350.00          $35.00
01/18/2017    BDD     RPO       Email to J. Lucas re Coldwell Banker retention            0.10       350.00          $35.00
                                application
01/19/2017    BDD     RPO       Email to B. Friedman re Coldwell employment               0.10       350.00          $35.00
                                application
01/23/2017    BDD     RPO       Email to J. Lucas re Coldwell/BHHS employment             0.10       350.00          $35.00
                                application to sell Lancaster vacant land
01/23/2017    BDD     RPO       Conference with J. Richards re Coldwell                   0.30       350.00         $105.00
                                Banker/BHHS listing agreement for sale of
                                Lancaster vacant land; email to B. Friedman re same
01/23/2017    BDD     RPO       Revisions to Coldwell Banker retention application        0.80       350.00         $280.00
                                (addition of co-listing agent); email to J. Lucas re
                                same
01/24/2017    BDD     RPO       Email to J. Lucas re 4th piece of vacant land for sale    0.10       350.00          $35.00
                                in Lancaster
01/24/2017    BDD     RPO       Review documentation re vacant land for sale in           0.20       350.00          $70.00
                                Lancaster; email to B. Friedman re same
01/24/2017    BDD     RPO       Email to B. Friedman re 4th piece of vacant land in       0.10       350.00          $35.00
                                Lancaster to be sold
01/24/2017    BDD     RPO       Email to J. Lucas re Coldwell Banker/BHHS Troth           0.10       350.00          $35.00
                                co-employment re sale of Lancaster properties
01/24/2017    BDD     RPO       Email to J. Lucas re additional piece of vacant land      0.10       350.00          $35.00
                                to be sold in Lancaster
01/24/2017    BDD     RPO       Email to J. Lucas re property descriptions                0.10       350.00          $35.00
                                (Lancaster)
01/24/2017    BDD     RPO       Email to M. Kulick re 4 parcels of vacant Lancaster       0.10       350.00          $35.00
                                land
01/26/2017    BDD     RPO       Revisions to Coldwell Banker application to include       2.10       350.00         $735.00
                                BHHS Troth as co-broker; revisions to B. Friedman
                                re same; preparation of M. Troth declaration re
                                same; preparation of D. Gottlieb re same; email to J.
                                Lucas re same
01/26/2017    BDD     RPO       Email to B. Friedman re Application to retain             0.10       350.00          $35.00
                                Coldwell/BHHS Troth as co-brokers to market/sell 4
                                pieces of vacant land in Lancaster (and decs of B.
                                Friedman, M. Troth and D. Gottlieb re same)
01/27/2017    BDD     RPO       Email to B. Friedman re Application to retain             0.10       350.00          $35.00
                                Coldwell/BHHS as co-realtors to market/sell vacant
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                                                                                   Hours           Rate        Amount
                                land in Lancaster
01/31/2017    BDD     RPO       Call with J. Richards and B. Friedman re sale of    0.20       350.00           $70.00
                                vacant Lancaster land
01/31/2017    BDD     RPO       Email to B. Friedman re employment application      0.10       350.00           $35.00
01/31/2017    BDD     RPO       Email to J. Lucas re Coldwell/THHS employment re    0.10       350.00           $35.00
                                sale of vacant land in Lancaster
                                                                                    6.40                      $2,240.00

 TOTAL SERVICES FOR THIS MATTER:                                                                          $54,361.00
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Expenses
 12/12/2016   CC        Conference Call [E105] AT&T Conference Call, JVR           2.42

 12/14/2016   CL        CourtLink, M. Kulick                                       0.58

 12/14/2016   CL        CourtLink, M. Kulick                                       0.60

 12/21/2016   CL        CourtLink, M. Kulick                                       0.58

 01/05/2017   RE        ( 1 @0.20 PER PG)                                          0.20

 01/05/2017   RE2       SCAN/COPY ( 18 @0.10 PER PG)                               1.80

 01/09/2017   RE2       SCAN/COPY ( 17 @0.10 PER PG)                               1.70

 01/10/2017   PO        32274.00001 :Postage Charges for 01-10-17                  0.47

 01/10/2017   RE        ( 75 @0.20 PER PG)                                        15.00

 01/11/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 01/12/2017   RE2       SCAN/COPY ( 17 @0.10 PER PG)                               1.70

 01/12/2017   RE2       SCAN/COPY ( 21 @0.10 PER PG)                               2.10

 01/17/2017   WL        32274.00001 Westlaw Charges for 01-17-17               2,072.00

 01/18/2017   FE        32274.00001 FedEx Charges for 01-18-17                     8.68

 01/19/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 01/19/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10



 01/19/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10



 01/19/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20



 01/19/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20



 01/19/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
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 01/19/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 01/19/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

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 01/19/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 01/19/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

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 01/19/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 01/19/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 01/19/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 01/19/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                               0.30

 01/19/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                               0.30

 01/19/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                               0.30

 01/19/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 01/19/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 01/19/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50

 01/19/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                              1.30

 01/19/2017   RE2       SCAN/COPY ( 15 @0.10 PER PG)                              1.50



 01/19/2017   RE2       SCAN/COPY ( 25 @0.10 PER PG)                              2.50



 01/19/2017   RE2       SCAN/COPY ( 26 @0.10 PER PG)                              2.60



 01/19/2017   RE2       SCAN/COPY ( 28 @0.10 PER PG)                              2.80



 01/19/2017   RE2       SCAN/COPY ( 31 @0.10 PER PG)                              3.10
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 01/23/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10

 01/23/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20

 01/23/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40

 01/23/2017   RE2       SCAN/COPY ( 43 @0.10 PER PG)                               4.30

 01/24/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20

 01/24/2017   RE2       SCAN/COPY ( 45 @0.10 PER PG)                               4.50

 01/25/2017   RE        ( 98 @0.20 PER PG)                                        19.60

 01/25/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 01/25/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10

 01/25/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20

 01/25/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40

 01/25/2017   RE2       SCAN/COPY ( 17 @0.10 PER PG)                               1.70

 01/25/2017   RE2       SCAN/COPY ( 42 @0.10 PER PG)                               4.20

 01/26/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20

 01/30/2017   RE        ( 4 @0.20 PER PG)                                          0.80

 01/31/2017   PAC       Pacer - Court Research                                    87.80

   Total Expenses for this Matter                                           $2,260.63
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
                                              Doc 797
                                                   648 Filed
                                                       Filed 12/01/20
                                                             01/08/19 Entered
                                                                       Entered 12/01/20
                                                                                01/08/19 18:29:18
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                                              Main Document
                                              Main Document    Page  497 of 750
                                                               Page 193 of 443

Pachulski Stang Ziehl & Jones LLP                                                                       Page: 13
Gottlieb, David K - Yashouafar                                                                          Invoice 115643
32274     00001                                                                                         January 31, 2017




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 01/31/2017

Total Fees                                                                                                                 $54,361.00
Chargeable costs and disbursements                                                                                          $2,260.63
Total Due on Current Invoice.....................                                                                          $56,621.63


Outstanding Balance from prior Invoices as of 01/31/2017       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed          Balance Due


     114542                        09/30/2016                  $70,136.00                           $430.31                $70,566.31
     114911                        10/31/2016                  $98,085.50                          $7,280.89           $105,366.39
     115117                        11/30/2016                  $87,345.00                          $8,776.62               $96,121.62
     115185                        12/31/2016                  $73,344.00                          $2,031.97               $75,375.97


Total Amount Due on Current and Prior Invoices                                                                         $404,051.92
      Case
      Case 1:16-bk-12255-GM
           1:16-bk-12255-GM    Doc
                               Doc 797
                                    648 Filed
                                        Filed 12/01/20
                                              01/08/19 Entered
                                                        Entered 12/01/20
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                               Main Document    Page  498 of 750
                                                Page 194 of 443

                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    February 28, 2017
JVR                                                                 Invoice 115896
                                                                    Client   32274
                                                                    Matter   00001
                                                                             JVR
RE: Yashouafar

___________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 02/28/2017
                 FEES                                                $50,737.50
                 EXPENSES                                               $803.31
                 TOTAL CURRENT CHARGES                               $51,540.81

                 BALANCE FORWARD                                    $404,051.92
                 TOTAL BALANCE DUE                                  $455,592.73
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM            Doc
                                        Doc 797
                                             648 Filed
                                                 Filed 12/01/20
                                                       01/08/19 Entered
                                                                 Entered 12/01/20
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                                        Main Document
                                        Main Document    Page  499 of 750
                                                         Page 195 of 443

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Gottlieb, David K - Yashouafar                                                         Invoice 115896
32274     00001                                                                        February 28, 2017




 Summary of Services by Task Code
 Task Code             Description                                             Hours                        Amount

 AA                    Asset Analysis/Recovery[B120]                           32.30                   $32,705.00
 BL                    Bankruptcy Litigation [L430]                            12.60                       $8,548.50
 CA                    Case Administration [B110]                               5.50                       $5,000.00
 CO                    Claims Admin/Objections[B310]                            4.60                       $4,484.00
                                                                               55.00                   $50,737.50

 Summary of Services by Professional
 ID           Name                                     Title           Rate             Hours               Amount

 BDD          Dassa, Beth D.                           Paralegal      350.00             1.40              $490.00
 DJB          Barton, David J.                         Partner        950.00             1.00              $950.00
 HCK          Kevane, Henry C.                         Partner        950.00             0.90              $855.00
 JVR          Richards, Jeremy V.                      Partner       1025.00            37.90         $38,847.50
 JWL          Lucas, John W.                           Partner        695.00            13.00          $9,035.00
 KHB          Brown, Kenneth H.                        Partner        895.00             0.50              $447.50
 LAF          Forrester, Leslie A.                     Other          375.00             0.30              $112.50
                                                                                       55.00           $50,737.50




 Summary of Expenses
Description                                                                                                 Amount

Federal Express [E108]                                                                                        $8.77



Lexis/Nexis- Legal Research [E                                                                               $92.00



Legal Vision Atty Mess Service                                                                               $65.00



Pacer - Court Research                                                                                       $14.40
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
                                                   01/08/19 Entered
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                                    Main Document
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Gottlieb, David K - Yashouafar                                                Invoice 115896
32274     00001                                                               February 28, 2017


 Summary of Expenses
Description                                                                                       Amount


Postage [E108]                                                                                      $5.74



Reproduction Expense [E101]                                                                         $5.20



Reproduction/ Scan Copy                                                                           $117.20



Westlaw - Legal Research [E106                                                                    $495.00



                                                                                                  $803.31
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
                                                               Entered 12/01/20
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                                      Main Document
                                      Main Document    Page  501 of 750
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Pachulski Stang Ziehl & Jones LLP                                                                Page:     4
Gottlieb, David K - Yashouafar                                                                   Invoice 115896
32274     00001                                                                                  February 28, 2017


                                                                                         Hours           Rate         Amount
  Asset Analysis/Recovery[B120]
01/26/2017    LAF     AA        Obtain corporate documents.                               0.30       375.00           $112.50
01/31/2017    DJB     AA        Analysis of need for share certificate.                   1.00       950.00           $950.00
02/06/2017    JVR     AA        Review Abselet levy and lien perfection issues.           0.40      1025.00           $410.00
02/06/2017    JVR     AA        Conferences with J. Lucas re Abselet lien perfection      1.40      1025.00          $1,435.00
                                issues (.4); Research re same (.7); Draft e-mail to
                                client re same (.3)
02/07/2017    HCK     AA        Memos to / from J. Lucas re execution / strong arm        0.90       950.00           $855.00
                                powers and research files and follow-up with J.
                                Richards, confer with J. Lucas.
02/07/2017    JVR     AA        Telephone D. Gottlieb re settlement options               0.70      1025.00           $717.50
                                (Abselet).
02/07/2017    JVR     AA        Research re issues relating to Abselet levy.              0.40      1025.00           $410.00
02/07/2017    JVR     AA        Telephone D. Gottlieb, J. Lucas, A. McDow re              0.80      1025.00           $820.00
                                Abselet settlement issues.
02/08/2017    JVR     AA        Research avoidance of Rexford/Chalette foreclosure        0.30      1025.00           $307.50
                                sales.
02/09/2017    JVR     AA        Telephone A. Kim, J. Simon, D. Coniff, D. Gottlieb        1.00      1025.00          $1,025.00
                                and A. McDow re Abselet levy on APII/RLI stock
                                (.6); Telephone D. Gottlieb re same.
02/09/2017    JVR     AA        Factual research re certification of APII stock.          1.80      1025.00          $1,845.00
02/09/2017    JVR     AA        Draft e-mail to N. Fathi re turnover of documents         0.20      1025.00           $205.00
                                and records.
02/10/2017    JVR     AA        Research "sham foreclosure" issues.                       0.40      1025.00           $410.00
02/14/2017    JVR     AA        Draft e-mail to M. Sharf re outstanding document          0.20      1025.00           $205.00
                                requests.
02/14/2017    JVR     AA        Conference with J. Lucas re Abselet litigation issues.    0.40      1025.00           $410.00
02/15/2017    JVR     AA        Conference with J. Lucas re structuring Abselet           1.20      1025.00          $1,230.00
                                settlement.
02/15/2017    JVR     AA        Review transcript of Oklahoma proceedings re              0.40      1025.00           $410.00
                                motion to expunge liens/status of Neman title to
                                Oklahoma property.
02/16/2017    JVR     AA        Telephone D. Gottlieb re Abselet lien issues.             0.50      1025.00           $512.50
02/16/2017    JVR     AA        Review additional documents produced by debtor re         2.60      1025.00          $2,665.00
                                perfection of Abselet liens in APII stock.
02/16/2017    JVR     AA        Research survival of junior liens upon avoidance of       1.30      1025.00          $1,332.50
                                foreclosure sale.
02/21/2017    JVR     AA        Research priority of avoided foreclosure sale over        6.00      1025.00          $6,150.00
                                junior lienholders.
02/22/2017    KHB     AA        Confer with J Richards re impact of fraudulent            0.50       895.00           $447.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
                                                               Entered 12/01/20
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                                      Main Document    Page  502 of 750
                                                       Page 198 of 443

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Gottlieb, David K - Yashouafar                                                                    Invoice 115896
32274     00001                                                                                   February 28, 2017


                                                                                          Hours           Rate         Amount
                                transfer action on junior lien holder.
02/22/2017    JVR     AA        Research re setting aside foreclosures (Chalette and       3.10      1025.00          $3,177.50
                                Rexford).
02/23/2017    JVR     AA        Conference with K. Brown re lien priority issues           0.40      1025.00           $410.00
                                (avoided foreclosures sale).
02/23/2017    JVR     AA        Complete research on lien priority issues (houses)         5.20      1025.00          $5,330.00
                                and draft memo to client re same.
02/23/2017    JVR     AA        Telephone D. Gottlieb re Abselet liens/settlement          0.30      1025.00           $307.50
                                issues.
02/23/2017    JVR     AA        Draft e-mail to J. Simon re settlement (Abselet).          0.60      1025.00           $615.00
                                                                                          32.30                   $32,705.00

  Bankruptcy Litigation [L430]
02/06/2017    JWL     BL        Research and analysis regarding APII and RLI stock         2.70       695.00          $1,876.50
                                and any liens thereon.
02/07/2017    JWL     BL        Respond to inquries from J. Richards regarding             1.30       695.00           $903.50
                                charging liens and RLI stock (.5); call with creditors'
                                committee counsel regarding Abselet claims (.8);
02/13/2017    JVR     BL        Review MY and SY objections to Abselet 2004                0.10      1025.00           $102.50
                                applications.
02/13/2017    BDD     BL        Call with/email to J. Lucas re McCarthy document           0.20       350.00            $70.00
                                production
02/13/2017    BDD     BL        Call with J. Lucas re Trustee's response to Abselet's      0.30       350.00           $105.00
                                motion for 2004 examination of J & P Nourafshan;
                                coordinate filing service of pleading re same; email
                                to M. Kulick re same
02/13/2017    BDD     BL        Email to M. Kulick re 2004 response                        0.10       350.00            $35.00
02/13/2017    BDD     BL        Email to J. Lucas re filed response to Abselet's           0.10       350.00            $35.00
                                motion for 2004 exam of J. & P. Nourafshan
02/13/2017    JWL     BL        Prepare reply to Sina 2004 motion and debtors'             1.00       695.00           $695.00
                                objection regarding privilege defense.
02/15/2017    JWL     BL        Review latest production by Reliable in response to        1.70       695.00          $1,181.50
                                Rexford related 2004 (.5); call with J. Richards
                                regarding claims related to recovery of Rexford
                                property (1.2).
02/16/2017    JWL     BL        Research regarding encumbering of APII and RLI             2.10       695.00          $1,459.50
                                stock (.5) and foreclosure of Rexford home (1.6)
02/21/2017    JWL     BL        Document review relating to Citivest document              0.60       695.00           $417.00
                                production (.6);
02/22/2017    JWL     BL        Review documents relating to Reliable production           1.30       695.00           $903.50
                                and lack thereof (.7); review email to Abselet
                                regarding settlement offer (.3); call with J. Richards
                                regarding same (.3).
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
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                                                       Page 199 of 443

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Gottlieb, David K - Yashouafar                                                                   Invoice 115896
32274     00001                                                                                  February 28, 2017


                                                                                         Hours          Rate          Amount
02/27/2017    JWL     BL        Calls with J. Richards regarding Rexford discovery        1.10       695.00           $764.50
                                and litigation strategy (.5); review documents for the
                                same (.6)
                                                                                         12.60                       $8,548.50

  Case Administration [B110]
02/03/2017    JWL     CA        Review Abselet 2004 motion regarding Rexford and          0.50       695.00           $347.50
                                Challet foreclosures.
02/13/2017    JVR     CA        Revise answers to 1/17 MOR questionnaire.                 0.10      1025.00           $102.50
02/13/2017    JVR     CA        Draft e-mails to Debtors' counsel re document             0.20      1025.00           $205.00
                                requests.
02/14/2017    BDD     CA        Preparation of notice of change of address for            0.30       350.00           $105.00
                                creditor; email to G. Greenwood re same
02/22/2017    BDD     CA        Attend to misc. calendaring matters; email to J.          0.30       350.00           $105.00
                                Richards re same
02/23/2017    BDD     CA        Email to M. DesJardien re misc. calendaring matters       0.10       350.00            $35.00
02/28/2017    JVR     CA        Attend meeting at Debtors' offices with M.                4.00      1025.00          $4,100.00
                                Yashouafar, M. Sharf and D. Gottlieb re documents,
                                litigation and settlement issues.
                                                                                          5.50                       $5,000.00

  Claims Admin/Objections[B310]
02/08/2017    JVR     CO        Telephone Abselet, J. Simon, D. Coniff and D.             1.00      1025.00          $1,025.00
                                Gottlieb re settlement (.8); Telephone D. Gottlieb re
                                same (.2).
02/13/2017    JVR     CO        Review revised Abselet settlement offer (.2);             0.30      1025.00           $307.50
                                Telephone D. Gottlieb re same (.1).
02/14/2017    JVR     CO        Telephone A. Jablon re Barlava claims.                    0.40      1025.00           $410.00
02/14/2017    JWL     CO        Review settlement offer email from Abselet and            0.70       695.00           $486.50
                                send response to J. Richards for review.
02/15/2017    JVR     CO        Telephone D. Gottlieb and A. McDow re Abselet             1.10      1025.00          $1,127.50
                                settlement.
02/24/2017    JVR     CO        Revise documents provided by Debtor re Barlava            0.80      1025.00           $820.00
                                disputes.
02/28/2017    JVR     CO        Review Abselet judgment and research entitlement          0.30      1025.00           $307.50
                                to judgment enforcement fees.
                                                                                          4.60                       $4,484.00

 TOTAL SERVICES FOR THIS MATTER:                                                                               $50,737.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
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Gottlieb, David K - Yashouafar                                                  Invoice 115896
32274     00001                                                                 February 28, 2017



Expenses
 02/13/2017   FE        32274.00001 FedEx Charges for 02-13-17                      8.77

 02/13/2017   LV        Legal Vision Atty/Mess. Service- Inv. 45916, From San      65.00
                        Fernando Bankruptcy Court, BDD

 02/13/2017   PO        32274.00001 :Postage Charges for 02-13-17                   1.38

 02/13/2017   RE        ( 24 @0.20 PER PG)                                          4.80

 02/13/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                1.20

 02/13/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                 0.60

 02/13/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                 0.10

 02/13/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                 0.60

 02/13/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                 0.60

 02/13/2017   WL        32274.00001 Westlaw Charges for 02-13-17                   99.00

 02/15/2017   RE        ( 1 @0.20 PER PG)                                           0.20

 02/15/2017   RE        ( 1 @0.20 PER PG)                                           0.20

 02/16/2017   RE2       SCAN/COPY ( 63 @0.10 PER PG)                                6.30

 02/16/2017   RE2       SCAN/COPY ( 25 @0.10 PER PG)                                2.50

 02/16/2017   WL        32274.00001 Westlaw Charges for 02-16-17                  396.00

 02/21/2017   LN        32274.00001 Lexis Charges for 02-21-17                     12.00



 02/21/2017   PO        32274.00001 :Postage Charges for 02-21-17                   4.36



 02/21/2017   RE2       SCAN/COPY ( 53 @0.10 PER PG)                                5.30



 02/21/2017   RE2       SCAN/COPY ( 85 @0.10 PER PG)                                8.50



 02/22/2017   LN        32274.00001 Lexis Charges for 02-22-17                     38.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
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                                     Main Document    Page  505 of 750
                                                      Page 201 of 443

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Gottlieb, David K - Yashouafar                                                 Invoice 115896
32274     00001                                                                February 28, 2017


 02/22/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 02/22/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 02/22/2017   RE2       SCAN/COPY ( 163 @0.10 PER PG)                             16.30

 02/23/2017   LN        32274.00001 Lexis Charges for 02-23-17                    42.00

 02/23/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 02/23/2017   RE2       SCAN/COPY ( 28 @0.10 PER PG)                               2.80

 02/23/2017   RE2       SCAN/COPY ( 705 @0.10 PER PG)                             70.50

 02/28/2017   PAC       Pacer - Court Research                                    14.40

   Total Expenses for this Matter                                             $803.31
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
                                              Doc 797
                                                   648 Filed
                                                       Filed 12/01/20
                                                             01/08/19 Entered
                                                                       Entered 12/01/20
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                                                                                         15:53:32                     Desc
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                                              Main Document    Page  506 of 750
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Gottlieb, David K - Yashouafar                                                                          Invoice 115896
32274     00001                                                                                         February 28, 2017




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 02/28/2017

Total Fees                                                                                                              $50,737.50
Chargeable costs and disbursements                                                                                          $803.31
Total Due on Current Invoice.....................                                                                       $51,540.81


Outstanding Balance from prior Invoices as of 02/28/2017       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed          Balance Due


     114542                        09/30/2016                  $70,136.00                           $430.31             $70,566.31
     114911                        10/31/2016                  $98,085.50                          $7,280.89          $105,366.39
     115117                        11/30/2016                  $87,345.00                          $8,776.62            $96,121.62
     115185                        12/31/2016                  $73,344.00                          $2,031.97            $75,375.97
     115643                        01/31/2017                  $54,361.00                          $2,260.63            $56,621.63


Total Amount Due on Current and Prior Invoices                                                                        $455,592.73
      Case
      Case 1:16-bk-12255-GM
           1:16-bk-12255-GM    Doc
                               Doc 797
                                    648 Filed
                                        Filed 12/01/20
                                              01/08/19 Entered
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    March 31, 2017
JVR                                                                 Invoice 116150
                                                                    Client   32274
                                                                    Matter   00001
                                                                             JVR
RE: Yashouafar

___________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 03/31/2017
                 FEES                                                $51,677.50
                 EXPENSES                                             $4,962.17
                 TOTAL CURRENT CHARGES                               $56,639.67

                 BALANCE FORWARD                                    $455,592.73
                 TOTAL BALANCE DUE                                  $512,232.40
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM               Doc
                                           Doc 797
                                                648 Filed
                                                    Filed 12/01/20
                                                          01/08/19 Entered
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Gottlieb, David K - Yashouafar                                                            Invoice 116150
32274     00001                                                                           March 31, 2017




 Summary of Services by Task Code
 Task Code              Description                                               Hours                       Amount

 AA                     Asset Analysis/Recovery[B120]                             10.20                    $10,455.00
 BL                     Bankruptcy Litigation [L430]                              42.10                    $30,747.50
 CA                     Case Administration [B110]                                 8.40                      $6,405.00
 CO                     Claims Admin/Objections[B310]                              1.20                      $1,230.00
 LN                     Litigation (Non-Bankruptcy)                                2.50                      $2,427.50
 PD                     Plan & Disclosure Stmt. [B320]                             0.30                       $307.50
 RFS                    Relief from Stay                                           0.30                       $105.00
                                                                                  65.00                    $51,677.50

 Summary of Services by Professional
 ID           Name                                       Title            Rate             Hours              Amount

 BDD          Dassa, Beth D.                             Paralegal       350.00            15.00            $5,250.00
 JVR          Richards, Jeremy V.                        Partner        1025.00            35.70           $36,592.50
 JWL          Lucas, John W.                             Partner         695.00            14.00            $9,730.00
 PJJ          Jeffries, Patricia J.                      Paralegal       350.00             0.30             $105.00
                                                                                          65.00            $51,677.50




 Summary of Expenses
Description                                                                                                   Amount

Bloomberg                                                                                                     $102.60



Conference Call [E105]                                                                                         $41.77



Federal Express [E108]                                                                                         $78.22



Filing Fee [E112]                                                                                              $50.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
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 Summary of Expenses
Description                                                                                     Amount


Lexis/Nexis- Legal Research [E                                                                    $1.62



Outside Services                                                                                $626.10



Pacer - Court Research                                                                          $219.90



Postage [E108]                                                                                   $21.34



Reproduction Expense [E101]                                                                     $178.00



Reproduction/ Scan Copy                                                                         $679.00



Research [E106]                                                                                 $133.50



Westlaw - Legal Research [E106                                                                 $2,830.12



                                                                                               $4,962.17
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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                                                                                         Hours          Rate        Amount
  Asset Analysis/Recovery[B120]
03/01/2017    JVR     AA        Factual research re Barlava claims to Oklahoma            6.00      1025.00        $6,150.00
                                property proceeds.
03/03/2017    JVR     AA        Draft e-mail to J. Simon re APII issues.                  0.20      1025.00         $205.00
03/17/2017    JVR     AA        Review settlement analysis from J. Simon (.2);            1.00      1025.00        $1,025.00
                                Research same (.8).
03/20/2017    JVR     AA        Telephone D. Gottlieb re Abselet claims.                  0.40      1025.00         $410.00
03/22/2017    JVR     AA        Telephone A. McDow re Abselet settlement issues.          0.30      1025.00         $307.50
03/22/2017    JVR     AA        Draft e-mail to J. Simon re settlement of Abselet         0.30      1025.00         $307.50
                                claims.
03/23/2017    JVR     AA        Telephone A. Jablon re distribution of RLI funds.         0.20      1025.00         $205.00
03/29/2017    JVR     AA        Telephone conference with J. Nourmand regarding           0.70      1025.00         $717.50
                                RLI stock issues.
03/30/2017    JVR     AA        Review documents and pleadings regarding Barlava          0.60      1025.00         $615.00
                                sale of interests in RLI.
03/31/2017    JVR     AA        Review e-mails from J. Simon re notice of                 0.20      1025.00         $205.00
                                foreclosure to S. Abselet and research re same.
03/31/2017    JVR     AA        Telephone A. Jablon re status of RLI funds.               0.20      1025.00         $205.00
03/31/2017    JVR     AA        Review e-mail from M. Sharf re status of                  0.10      1025.00         $102.50
                                Yashouafar / Barlava RLI settlement.
                                                                                         10.20                    $10,455.00

  Bankruptcy Litigation [L430]
03/02/2017    BDD     BL        Email to J. Richards re OKC lawsuits/depositions          0.10       350.00          $35.00
03/02/2017    JWL     BL        Prepare electronic protocol for the imaging of            1.50       695.00        $1,042.50
                                debtors' computer info.
03/03/2017    JVR     BL        Draft complaint to avoid and recover APII and RLI         1.30      1025.00        $1,332.50
                                stock.
03/06/2017    JVR     BL        Draft complaint to set aside stock sales (APII / RLI).    2.30      1025.00        $2,357.50
03/06/2017    BDD     BL        Meeting with J. Richards re Oklahoma building             0.20       350.00          $70.00
                                issues between Yashouafar, Bar Lavas and Neimans
03/06/2017    BDD     BL        Email to M. Kulick re OKC lawsuits/depositions            0.10       350.00          $35.00
03/06/2017    BDD     BL        Email to J. Richards re summary judgment motions          0.10       350.00          $35.00
03/06/2017    BDD     BL        Email to M. Kulick re OKC Lawsuits/Motions for            0.40       350.00         $140.00
                                Summary Judgment
03/06/2017    JWL     BL        Draft computer forensic agreement for the collection      1.00       695.00         $695.00
                                of info from debtors.
03/07/2017    JVR     BL        Draft and prepare complaint to set aside Abselet          1.20      1025.00        $1,230.00
                                APII/RLI stock foreclosures.
     Case
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                                                                                        Hours          Rate       Amount
03/07/2017    JVR     BL        Draft motion for summary judgment re APII/RLI            2.40      1025.00       $2,460.00
                                Stock foreclosure and supporting declarations.
03/07/2017    JVR     BL        Prepare for T. Guerrero deposition.                      0.60      1025.00        $615.00
03/07/2017    BDD     BL        Begin review of depo transcripts re                      2.70       350.00        $945.00
                                ownership/transfer of ownership of First National
                                Center (OK)
03/07/2017    BDD     BL        Assemble docs for A. McDow for flash drive; email        0.50       350.00        $175.00
                                to J. Richards and A. McDow re same; confer with
                                M. Kulick and IT re same
03/07/2017    BDD     BL        Email to A. McDow re FedEx of flash drive                0.10       350.00         $35.00
03/08/2017    JVR     BL        Draft motion for summary judgment (Abselet stock         1.60      1025.00       $1,640.00
                                foreclosures).
03/08/2017    BDD     BL        Continue reviewing deposition transcripts re transfer    3.00       350.00       $1,050.00
                                of OKC property (First National Center); email to J.
                                Richards re same
03/08/2017    BDD     BL        Research Thelma Guerrero location information;           0.90       350.00        $315.00
                                confer with/email J. Lucas re same
03/09/2017    BDD     BL        Email to/call with E. Beyer re search for Thelma         0.40       350.00        $140.00
                                Guerrero; email to J. Richards and J. Lucas re same
03/09/2017    BDD     BL        Email to J. Richards re Ed Beyer                         0.10       350.00         $35.00
03/15/2017    BDD     BL        Research for J. Richards re City of Tucson v.            0.20       350.00         $70.00
                                Farness; email to J. Richards re same
03/17/2017    JVR     BL        Revise motion for summary judgment (Abselet stock        0.30      1025.00        $307.50
                                foreclosures).
03/20/2017    JVR     BL        Revise motion for summary judgment (Abselet).            0.20      1025.00        $205.00
03/20/2017    JVR     BL        Conference with J. Lucas re Nourafshan deposition.       0.20      1025.00        $205.00
03/20/2017    BDD     BL        Email to J. Richards re summarizing                      0.10       350.00         $35.00
                                MSJs/depositions
03/20/2017    BDD     BL        Email to J. Richards and J. Lucas re Ed Beyer report     0.10       350.00         $35.00
                                re T. Guerrero
03/20/2017    JWL     BL        Prepare deposition materials for J. Nourafshan           3.50       695.00       $2,432.50
                                examination.
03/21/2017    BDD     BL        Coordinate court reporter, etc. for depo of Jack         0.30       350.00        $105.00
                                Nourafshan on 4/13; emails J. Lucas and J. Richards
                                re same
03/23/2017    JVR     BL        Prepare exhibits to declarations in support of motion    0.30      1025.00        $307.50
                                for summary judgment (Abselet lien avoidance).
03/23/2017    JVR     BL        Draft e-mails to K. Davis, W. Kessler and K.             0.30      1025.00        $307.50
                                Oberman re declarations in support of motion for
                                summary judgment (Abselet).
03/23/2017    JWL     BL        Work on document review for J. Nourafshan                3.00       695.00       $2,085.00
                                deposition.
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
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                                                                                       Hours          Rate        Amount
03/27/2017    JVR     BL        Review notice filed by H. Abselet in Oklahoma           0.10      1025.00         $102.50
                                action.
03/27/2017    JVR     BL        Review tentative ruling (Abselet APII motions for       0.20      1025.00         $205.00
                                2004 examination).
03/27/2017    JVR     BL        Telephone K. Davis re APII stock certification.         0.20      1025.00         $205.00
03/28/2017    JVR     BL        Attend hearings on discovery motions.                   4.00      1025.00        $4,100.00
03/28/2017    BDD     BL        Continue summarizing depositions/MSJs                   2.10       350.00         $735.00
03/28/2017    JWL     BL        Prepare J. Nourafshan deposition documents.             2.00       695.00        $1,390.00
03/30/2017    BDD     BL        Continue reviewing/summarizing depos/MSJs               1.60       350.00         $560.00
03/31/2017    JVR     BL        Prepare for Nourafshan deposition.                      2.60      1025.00        $2,665.00
03/31/2017    JVR     BL        Review Abselet motion to withdraw reference             0.30      1025.00         $307.50
                                (adversary proceeding).
                                                                                       42.10                    $30,747.50

  Case Administration [B110]
03/02/2017    PJJ     CA        Research pro hac vice application for J. Richards in    0.30       350.00         $105.00
                                WD OK.
03/02/2017    JVR     CA        Conference with J. Lucas re case strategy.              0.30      1025.00         $307.50
03/02/2017    JVR     CA        Draft statement to Oklahoma Court re status of          1.60      1025.00        $1,640.00
                                bankruptcy cases.
03/02/2017    JVR     CA        Telephone D. Gottlieb re case strategy.                 0.70      1025.00         $717.50
03/03/2017    JVR     CA        Revise Oklahoma pleading re impact of bankruptcy        0.50      1025.00         $512.50
                                on disputes relating to net proceeds of FNC sale.
03/06/2017    JVR     CA        Draft stipulation to further continue motion to         0.20      1025.00         $205.00
                                convert.
03/15/2017    JVR     CA        Telephone G. Markow re payment of ECP receiver          0.10      1025.00         $102.50
                                fees.
03/20/2017    BDD     CA        Review docket re status conference; email to J.         0.30       350.00         $105.00
                                Richards re joint status conf report due 3/21
03/20/2017    BDD     CA        Email to J. Lucas re status conference                  0.10       350.00          $35.00
03/20/2017    BDD     CA        Email to G. Downing re Yashouafar 341a meetings         0.10       350.00          $35.00
03/21/2017    JVR     CA        Revise status conference report.                        0.20      1025.00         $205.00
03/21/2017    BDD     CA        Revisions to status report; email to/confer with J.     0.20       350.00          $70.00
                                Lucas re same; email to M. Kulick re same
03/21/2017    JWL     CA        Draft case status report for April hearing.             3.00       695.00        $2,085.00
03/23/2017    BDD     CA        Attend to misc. calendaring matters (re motion to       0.20       350.00          $70.00
                                convert case to ch. 7); email to J. Richards re same
03/28/2017    BDD     CA        Preparation of Notice of Continued Status               0.30       350.00         $105.00
                                Conference; email to/conf with J. Richards re same
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
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                                                                                         Hours          Rate       Amount
03/28/2017    BDD     CA        Email to M. Kulick re Notice of Continued Status          0.10       350.00         $35.00
                                Conference
03/29/2017    BDD     CA        Email to J. Lucas re Notice of Continuance of Status      0.10       350.00         $35.00
                                Conference
03/29/2017    BDD     CA        Attend to misc. calendaring matters                       0.10       350.00         $35.00
                                                                                          8.40                    $6,405.00

  Claims Admin/Objections[B310]
03/28/2017    JVR     CO        Meeting with J. Simon regarding settlement (Abselet       1.00      1025.00       $1,025.00
                                claims).
03/28/2017    JVR     CO        Telephone conference with D. Gottlieb regarding           0.20      1025.00        $205.00
                                Abselet claims.
                                                                                          1.20                    $1,230.00

  Litigation (Non-Bankruptcy)
03/02/2017    JVR     LN        Review pleadings filed in Oklahoma action re              2.30      1025.00       $2,357.50
                                parties' positions; issues framed; evidence presented;
                                and court rulings.
03/30/2017    BDD     LN        Confer with L. Forrester re First Amended                 0.20       350.00         $70.00
                                Complaint re Yashouafar v. Carla Ridge (Sup. Ct.
                                case); emails to J. Richards and L. Forrester re same
                                                                                          2.50                    $2,427.50

  Plan & Disclosure Stmt. [B320]
03/08/2017    JVR     PD        Telephone M. Sharf re plan.                               0.30      1025.00        $307.50
                                                                                          0.30                     $307.50

  Relief from Stay
03/15/2017    BDD     RFS       Research Order on Abselet relief from stay motion;        0.30       350.00        $105.00
                                email to J. Richards re same
                                                                                          0.30                     $105.00

 TOTAL SERVICES FOR THIS MATTER:                                                                               $51,677.50
     Case
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Expenses
 11/07/2016   RS        Research [E106] Cl@s Information Services, Inv.           27.50
                        289629-0000, P. Jeffries

 01/30/2017   RS        Research [E106] Cl@s Information Services, Inv.           24.00
                        296106-44552, P. Jeffries

 02/03/2017   RS        Research [E106] Cl@s Information Services, Inv.           82.00
                        296301-44551, L. Forrester

 02/07/2017   CC        Conference Call [E105] AT&T Conference Call, JVR           6.47

 02/08/2017   CC        Conference Call [E105] AT&T Conference Call, JVR           7.85

 02/09/2017   CC        Conference Call [E105] AT&T Conference Call, JVR           8.23

 02/15/2017   CC        Conference Call [E105] AT&T Conference Call, JVR          19.22

 03/01/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20

 03/01/2017   RE2       SCAN/COPY ( 183 @0.10 PER PG)                             18.30

 03/01/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 03/02/2017   RE        ( 3 @0.20 PER PG)                                          0.60

 03/02/2017   RE2       SCAN/COPY ( 27 @0.10 PER PG)                               2.70

 03/02/2017   RE2       SCAN/COPY ( 31 @0.10 PER PG)                               3.10

 03/02/2017   RE2       SCAN/COPY ( 36 @0.10 PER PG)                               3.60

 03/02/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40



 03/02/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20



 03/02/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50



 03/02/2017   RE2       SCAN/COPY ( 41 @0.10 PER PG)                               4.10



 03/02/2017   RE2       SCAN/COPY ( 28 @0.10 PER PG)                               2.80
     Case
     Case 1:16-bk-12255-GM
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 03/02/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                        0.20

 03/02/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                       1.30

 03/02/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                       1.10

 03/02/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                       1.40

 03/02/2017   RE2       SCAN/COPY ( 26 @0.10 PER PG)                                       2.60

 03/02/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                        0.60

 03/03/2017   FE        32274.00001 FedEx Charges for 03-03-17                            14.30

 03/03/2017   FF        Filing Fee [E112] Clerk of the Court, District Court for the      50.00
                        Western District of Oklahoma, JVR

 03/03/2017   PO        32274.00001 :Postage Charges for 03-03-17                          8.04

 03/03/2017   RE        ( 44 @0.20 PER PG)                                                 8.80

 03/03/2017   RE        ( 84 @0.20 PER PG)                                                16.80

 03/03/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                       1.30

 03/03/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                       1.10

 03/03/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                        0.10

 03/03/2017   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                        0.70

 03/03/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                        0.10

 03/06/2017   RE2       SCAN/COPY ( 211 @0.10 PER PG)                                     21.10



 03/06/2017   RE2       SCAN/COPY ( 149 @0.10 PER PG)                                     14.90



 03/06/2017   RE2       SCAN/COPY ( 37 @0.10 PER PG)                                       3.70



 03/06/2017   RE2       SCAN/COPY ( 30 @0.10 PER PG)                                       3.00



 03/06/2017   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                       2.00
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 03/06/2017   RE2       SCAN/COPY ( 63 @0.10 PER PG)                              6.30

 03/06/2017   RE2       SCAN/COPY ( 30 @0.10 PER PG)                              3.00

 03/06/2017   RE2       SCAN/COPY ( 156 @0.10 PER PG)                            15.60

 03/06/2017   RE2       SCAN/COPY ( 27 @0.10 PER PG)                              2.70

 03/06/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                              1.40

 03/06/2017   RE2       SCAN/COPY ( 171 @0.10 PER PG)                            17.10

 03/06/2017   RE2       SCAN/COPY ( 45 @0.10 PER PG)                              4.50

 03/06/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                              1.30

 03/06/2017   RE2       SCAN/COPY ( 57 @0.10 PER PG)                              5.70

 03/06/2017   RE2       SCAN/COPY ( 33 @0.10 PER PG)                              3.30

 03/06/2017   RE2       SCAN/COPY ( 289 @0.10 PER PG)                            28.90

 03/06/2017   RE2       SCAN/COPY ( 31 @0.10 PER PG)                              3.10

 03/06/2017   RE2       SCAN/COPY ( 9 @0.10 PER PG)                               0.90

 03/06/2017   RE2       SCAN/COPY ( 66 @0.10 PER PG)                              6.60

 03/06/2017   RE2       SCAN/COPY ( 255 @0.10 PER PG)                            25.50

 03/06/2017   RE2       SCAN/COPY ( 201 @0.10 PER PG)                            20.10

 03/06/2017   RE2       SCAN/COPY ( 135 @0.10 PER PG)                            13.50



 03/06/2017   RE2       SCAN/COPY ( 134 @0.10 PER PG)                            13.40



 03/06/2017   RE2       SCAN/COPY ( 165 @0.10 PER PG)                            16.50



 03/06/2017   RE2       SCAN/COPY ( 140 @0.10 PER PG)                            14.00



 03/06/2017   RE2       SCAN/COPY ( 30 @0.10 PER PG)                              3.00
     Case
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 03/06/2017   RE2       SCAN/COPY ( 189 @0.10 PER PG)                            18.90

 03/06/2017   RE2       SCAN/COPY ( 242 @0.10 PER PG)                            24.20

 03/06/2017   RE2       SCAN/COPY ( 24 @0.10 PER PG)                              2.40

 03/06/2017   RE2       SCAN/COPY ( 692 @0.10 PER PG)                            69.20

 03/06/2017   RE2       SCAN/COPY ( 183 @0.10 PER PG)                            18.30

 03/06/2017   RE2       SCAN/COPY ( 225 @0.10 PER PG)                            22.50

 03/06/2017   RE2       SCAN/COPY ( 26 @0.10 PER PG)                              2.60

 03/06/2017   RE2       SCAN/COPY ( 28 @0.10 PER PG)                              2.80

 03/06/2017   RE2       SCAN/COPY ( 33 @0.10 PER PG)                              3.30

 03/06/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10

 03/06/2017   RE2       SCAN/COPY ( 26 @0.10 PER PG)                              2.60

 03/06/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10

 03/06/2017   RE2       SCAN/COPY ( 31 @0.10 PER PG)                              3.10

 03/06/2017   RE2       SCAN/COPY ( 33 @0.10 PER PG)                              3.30

 03/06/2017   RE2       SCAN/COPY ( 46 @0.10 PER PG)                              4.60

 03/06/2017   RE2       SCAN/COPY ( 36 @0.10 PER PG)                              3.60

 03/06/2017   RE2       SCAN/COPY ( 48 @0.10 PER PG)                              4.80



 03/06/2017   RE2       SCAN/COPY ( 48 @0.10 PER PG)                              4.80



 03/06/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20



 03/07/2017   FE        32274.00001 FedEx Charges for 03-07-17                    8.79



 03/07/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
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32274     00001                                                               March 31, 2017


 03/07/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 03/07/2017   RE2       SCAN/COPY ( 9 @0.10 PER PG)                               0.90

 03/07/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50

 03/07/2017   RE2       SCAN/COPY ( 101 @0.10 PER PG)                            10.10

 03/07/2017   RE2       SCAN/COPY ( 17 @0.10 PER PG)                              1.70

 03/07/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10

 03/07/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50

 03/07/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50

 03/07/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 03/07/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10

 03/07/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10

 03/07/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20

 03/07/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50

 03/07/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50

 03/07/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 03/08/2017   FE        32274.00001 FedEx Charges for 03-08-17                    8.79

 03/08/2017   RE        ( 28 @0.20 PER PG)                                        5.60



 03/08/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20



 03/08/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50



 03/08/2017   RE2       SCAN/COPY ( 25 @0.10 PER PG)                              2.50



 03/08/2017   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
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32274     00001                                                                March 31, 2017


 03/08/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 03/08/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 03/08/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 03/08/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50

 03/08/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 03/08/2017   WL        32274.00001 Westlaw Charges for 03-08-17               1,069.25

 03/09/2017   RE2       SCAN/COPY ( 15 @0.10 PER PG)                               1.50

 03/09/2017   WL        32274.00001 Westlaw Charges for 03-09-17                   1.08

 03/14/2017   RE        ( 6 @0.20 PER PG)                                          1.20

 03/14/2017   RE2       SCAN/COPY ( 28 @0.10 PER PG)                               2.80

 03/14/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40

 03/14/2017   RE2       SCAN/COPY ( 36 @0.10 PER PG)                               3.60

 03/14/2017   RE2       SCAN/COPY ( 17 @0.10 PER PG)                               1.70

 03/15/2017   OS        TransWest Investigations, Inv. 70953, B. Dassa           626.10

 03/15/2017   WL        32274.00001 Westlaw Charges for 03-15-17                 631.45

 03/20/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 03/20/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20



 03/20/2017   RE2       SCAN/COPY ( 36 @0.10 PER PG)                               3.60



 03/20/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30



 03/20/2017   RE2       SCAN/COPY ( 29 @0.10 PER PG)                               2.90



 03/20/2017   RE2       SCAN/COPY ( 140 @0.10 PER PG)                             14.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
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 03/20/2017   RE2       SCAN/COPY ( 41 @0.10 PER PG)                               4.10

 03/21/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40

 03/21/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50

 03/21/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 03/21/2017   WL        32274.00001 Westlaw Charges for 03-21-17               1,049.05

 03/23/2017   LN        32274.00001 Lexis Charges for 03-23-17                     1.62

 03/23/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 03/23/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 03/23/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 03/23/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 03/23/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 03/23/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 03/23/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 03/23/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 03/23/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 03/23/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 03/23/2017   RE2       SCAN/COPY ( 20 @0.10 PER PG)                               2.00



 03/23/2017   RE2       SCAN/COPY ( 18 @0.10 PER PG)                               1.80



 03/23/2017   RE2       SCAN/COPY ( 17 @0.10 PER PG)                               1.70



 03/23/2017   RE2       SCAN/COPY ( 17 @0.10 PER PG)                               1.70



 03/23/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
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 03/23/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 03/23/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 03/23/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 03/23/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50

 03/23/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 03/23/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 03/23/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 03/23/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 03/23/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 03/23/2017   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                0.90

 03/24/2017   RE        ( 11 @0.20 PER PG)                                         2.20

 03/24/2017   RE        ( 170 @0.20 PER PG)                                       34.00

 03/24/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10

 03/24/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 03/24/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 03/24/2017   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                0.90

 03/24/2017   RE2       SCAN/COPY ( 170 @0.10 PER PG)                             17.00



 03/27/2017   PO        32274.00001 :Postage Charges for 03-27-17                 13.30



 03/27/2017   RE        ( 1 @0.20 PER PG)                                          0.20



 03/27/2017   RE        ( 4 @0.20 PER PG)                                          0.80



 03/27/2017   RE        ( 18 @0.20 PER PG)                                         3.60
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
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 03/27/2017   RE        ( 181 @0.20 PER PG)                                      36.20

 03/27/2017   RE        ( 340 @0.20 PER PG)                                      68.00

 03/27/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50

 03/27/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 03/27/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50

 03/27/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10

 03/27/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 03/27/2017   RE2       SCAN/COPY ( 47 @0.10 PER PG)                              4.70

 03/27/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 03/28/2017   FE        32274.00001 FedEx Charges for 03-28-17                   46.34

 03/28/2017   RE2       SCAN/COPY ( 108 @0.10 PER PG)                            10.80

 03/28/2017   RE2       SCAN/COPY ( 148 @0.10 PER PG)                            14.80

 03/28/2017   RE2       SCAN/COPY ( 51 @0.10 PER PG)                              5.10

 03/28/2017   RE2       SCAN/COPY ( 15 @0.10 PER PG)                              1.50

 03/28/2017   RE2       SCAN/COPY ( 25 @0.10 PER PG)                              2.50

 03/28/2017   RE2       SCAN/COPY ( 192 @0.10 PER PG)                            19.20

 03/28/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                               0.80



 03/28/2017   RE2       SCAN/COPY ( 164 @0.10 PER PG)                            16.40



 03/29/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40



 03/30/2017   BB        32274.00001 Bloomberg Charges for 03-30-17               12.60



 03/30/2017   BB        32274.00001 Bloomberg Charges for 03-30-17               30.00
     Case
     Case 1:16-bk-12255-GM
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                                     Doc 797
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 03/30/2017   BB        32274.00001 Bloomberg Charges for 03-30-17                30.00

 03/30/2017   BB        32274.00001 Bloomberg Charges for 03-30-17                30.00

 03/30/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40

 03/30/2017   WL        32274.00001 Westlaw Charges for 03-30-17                  79.29

 03/31/2017   PAC       Pacer - Court Research                                   219.90

   Total Expenses for this Matter                                           $4,962.17
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
                                              Doc 797
                                                   648 Filed
                                                       Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                                          Invoice 116150
32274     00001                                                                                         March 31, 2017




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 03/31/2017

Total Fees                                                                                                                $51,677.50
Chargeable costs and disbursements                                                                                         $4,962.17
Total Due on Current Invoice.....................                                                                         $56,639.67


Outstanding Balance from prior Invoices as of 03/31/2017       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed         Balance Due


     114542                        09/30/2016                  $70,136.00                           $430.31               $70,566.31
     114911                        10/31/2016                  $98,085.50                          $7,280.89             $105,366.39
     115117                        11/30/2016                  $87,345.00                          $8,776.62              $96,121.62
     115185                        12/31/2016                  $73,344.00                          $2,031.97              $75,375.97
     115643                        01/31/2017                  $54,361.00                          $2,260.63              $56,621.63
     115896                        02/28/2017                  $50,737.50                           $803.31               $51,540.81


Total Amount Due on Current and Prior Invoices                                                                           $512,232.40
      Case
      Case 1:16-bk-12255-GM
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                               Doc 797
                                    648 Filed
                                        Filed 12/01/20
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    April 30, 2017
JVR                                                                 Invoice 116402
                                                                    Client    32274
                                                                    Matter    00001
                                                                              JVR
RE: Yashouafar

___________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 04/30/2017
                 FEES                                               $104,852.00
                 EXPENSES                                             $9,398.28
                 TOTAL CURRENT CHARGES                              $114,250.28

                 BALANCE FORWARD                                    $512,232.40
                 TOTAL BALANCE DUE                                  $626,482.68
       Case
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Gottlieb, David K - Yashouafar                                                           Invoice 116402
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 Summary of Services by Task Code
 Task Code              Description                                             Hours                        Amount

                                                                                 16.10                     $15,137.50
 AA                     Asset Analysis/Recovery[B120]                            13.30                     $13,632.50
 BL                     Bankruptcy Litigation [L430]                             87.10                     $66,762.50
 CA                     Case Administration [B110]                                1.10                       $925.00
 CO                     Claims Admin/Objections[B310]                             9.90                      $7,399.50
 GB                     General Business Advice [B410]                            1.00                       $995.00
                                                                                128.50                    $104,852.00

 Summary of Services by Professional
 ID           Name                                       Title          Rate             Hours               Amount

 BDD          Dassa, Beth D.                             Paralegal     350.00             2.90             $1,015.00
 JVR          Richards, Jeremy V.                        Partner      1025.00            54.40            $55,760.00
 JWL          Lucas, John W.                             Partner       695.00            65.10            $45,244.50
 LAF          Forrester, Leslie A.                       Other         375.00             2.10              $787.50
 PJJ          Jeffries, Patricia J.                      Paralegal     350.00             3.00             $1,050.00
 RJG          Gruber, Richard J.                         Counsel       995.00             1.00              $995.00
                                                                                     128.50               $104,852.00




 Summary of Expenses
Description                                                                                                  Amount

Bloomberg                                                                                                    $307.80



Delivery/Courier Service                                                                                      $56.00



Federal Express [E108]                                                                                        $52.28



Filing Fee [E112]                                                                                            $350.00
     Case
     Case 1:16-bk-12255-GM
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                                    Doc 797
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Gottlieb, David K - Yashouafar                                                Invoice 116402
32274     00001                                                               April 30, 2017


 Summary of Expenses
Description                                                                                      Amount



Lexis/Nexis- Legal Research [E                                                                   $782.95



Legal Vision Atty Mess Service                                                                   $470.50



Outside Services                                                                                 $655.40



Pacer - Court Research                                                                           $183.50



Reproduction Expense [E101]                                                                       $65.00



Reproduction/ Scan Copy                                                                          $360.20



Transcript [E116]                                                                               $1,642.60



Westlaw - Legal Research [E106                                                                  $4,472.05



                                                                                                $9,398.28
     Case
     Case 1:16-bk-12255-GM
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Gottlieb, David K - Yashouafar                                                                  Invoice 116402
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                                                                                        Hours           Rate        Amount



04/11/2017    LAF               Research re: Pending emergency hearing in CD Cal.        0.30       375.00          $112.50
04/17/2017    LAF               Real property search re: 910 N. Rexford.                 0.50       375.00          $187.50
04/18/2017    JVR               Attend hearing re distribution of RLI funds (4.0);       4.20      1025.00         $4,305.00
                                Telephone D. Gottlieb re same (.2).
04/18/2017    LAF               Research re: Abselet.                                    1.30       375.00          $487.50
04/19/2017    JVR               Review documents, pleadings and analyze Barlava          5.80      1025.00         $5,945.00
                                claims to Roosevelt Lofts and Oklahoma proceeds.
04/20/2017    JVR               Attend meetings with M. Sharf, M. Yashouafar and         4.00      1025.00         $4,100.00
                                D. Gottlieb at Trustee's office re Barlava claims,
                                plan, Abselet issues/settlement.
                                                                                        16.10                     $15,137.50

  Asset Analysis/Recovery[B120]
04/08/2017    JVR     AA        Review email from J. Simon regarding validity of         0.20      1025.00          $205.00
                                levy/sale of APII and RLI stock.
04/08/2017    JVR     AA        Review authorities cited by Abselet regarding            0.20      1025.00          $205.00
                                unavoidability of stock sales.
04/10/2017    JVR     AA        Draft email to J. Simon regarding merits of action to    0.30      1025.00          $307.50
                                avoid stock foreclosures.
04/11/2017    JVR     AA        Research regarding assignment of Chalette deed of        0.30      1025.00          $307.50
                                trust.
04/13/2017    JVR     AA        Prepare outline of possible Abselet settlement           0.80      1025.00          $820.00
                                structure.
04/18/2017    JVR     AA        Telephone D. Neale re Barlava/RLI interests.             0.20      1025.00          $205.00
04/18/2017    JVR     AA        Telephone B. Young and J. Oh re RLI plan issues.         0.50      1025.00          $512.50
04/18/2017    JVR     AA        Research re sale of Barlava/RLI interests to             2.30      1025.00         $2,357.50
                                Yashouafar.
04/24/2017    JVR     AA        Research validity of Abselet recorded abstracts of       3.20      1025.00         $3,280.00
                                judgment.
04/25/2017    JVR     AA        Research re effect of assignment of Chalette note        1.30      1025.00         $1,332.50
                                and deed of trust on Rexford/Chalette foreclosures.
04/25/2017    JVR     AA        Telephone A. McDow re Rexford/Chalette recovery.         0.30      1025.00          $307.50
04/25/2017    JVR     AA        Review documents re RLI reserve disbursements.           1.30      1025.00         $1,332.50
04/25/2017    JVR     AA        Research perfection of Abselet judgment liens.           0.70      1025.00          $717.50
04/25/2017    JVR     AA        Telephone J. Nourmand re RLI / RL Reserve issues.        0.70      1025.00          $717.50
04/25/2017    JVR     AA        Draft settlement proposal to D. McCarthy re              0.40      1025.00          $410.00
                                Rexford/Chalette fraudulent transfers.
04/26/2017    JVR     AA        Review tenancy in common agreements re Figueroa          0.30      1025.00          $307.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
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32274     00001                                                                                 April 30, 2017


                                                                                        Hours           Rate        Amount
                                Plaza.
04/27/2017    JVR     AA        Draft e-mail to numerous parties re RLI shareholder      0.30      1025.00          $307.50
                                meeting.
                                                                                        13.30                     $13,632.50

  Bankruptcy Litigation [L430]
04/01/2017    JVR     BL        Draft opposition to Abselet motion to withdraw           0.80      1025.00          $820.00
                                reference.
04/03/2017    JWL     BL        Review motion to withdraw reference and revise           1.30       695.00          $903.50
                                objection to the same.
04/06/2017    BDD     BL        Email to J. Lucas re Nourafshan production to David      0.30       350.00          $105.00
                                firm; call re same
04/06/2017    BDD     BL        Email to M. Kulick re Elkwood Fieldbrook and             0.10       350.00           $35.00
                                Rexford & Chalette productions
04/06/2017    BDD     BL        Email to P. Giep re docs to produce to David firm        0.10       350.00           $35.00
04/06/2017    BDD     BL        Email to J. Lucas re returning of Citivest docs to       0.10       350.00           $35.00
                                Mazzarino
04/06/2017    JWL     BL        Review Abselet response to Trustee's objection to        1.30       695.00          $903.50
                                motion to withdraw reference (.4); emails and
                                research regarding Nourafshan 2004 examination
                                (.9).
04/07/2017    JWL     BL        Review Yashouafar documents to prepare for               0.50       695.00          $347.50
                                Nourafshan deposition.
04/08/2017    JVR     BL        Review Abselet reply to opposition to motion to          0.20      1025.00          $205.00
                                withdraw reference (stock sale avoidance litigation).
04/10/2017    JVR     BL        Conference with J. Lucas regarding Elkwood               0.40      1025.00          $410.00
                                adversary complaint.
04/10/2017    JVR     BL        Prepare for J. Nourafshan deposition.                    1.30      1025.00         $1,332.50
04/10/2017    JWL     BL        Research regarding Rexford avoidance complaint ();       7.10       695.00         $4,934.50
                                discussions with J. Richards regarding same (.8);
                                draft and revise Rexford avoidance complaint ().
04/11/2017    JVR     BL        Prepare for J. Nourafshan deposition.                    3.40      1025.00         $3,485.00
04/11/2017    JVR     BL        Conference with J. Lucas regarding                       0.50      1025.00          $512.50
                                Elkwood/Fieldbrook.
04/11/2017    BDD     BL        Email to J. Richards re MSJs/depo transcripts re         0.10       350.00           $35.00
                                Massoud, Neiman and Barlava
04/11/2017    BDD     BL        Email to J. Richards re Nourafshan depo                  0.10       350.00           $35.00
04/11/2017    JWL     BL        Draft complaint against Elkwood, Fieldbrook and          7.20       695.00         $5,004.00
                                others regarding avoidance of Rexford property
                                transfer (3.1); research regarding the avoidance
                                issues relating to defective foreclosures (2.3);
                                discuss same with J. Richards (.5); respond to J.
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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                                      Main Document    Page  530 of 750
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                                                                                         Hours           Rate        Amount
                                Richards regarding preparations for Nourafshan
                                deposition (1.3).
04/12/2017    JVR     BL        Research re assignment of Chalette deed of trust and      0.80      1025.00         $820.00
                                note (.4); Prepare for deposition of J. Nourafshan
                                (.4).
04/12/2017    JVR     BL        Revise Kessler declaration (APII Stock MSJ).              0.20      1025.00         $205.00
04/12/2017    BDD     BL        Email to J. Richards re J. Nourafshan deposition          0.10       350.00           $35.00
04/12/2017    BDD     BL        Review Citivest production; email to/confer with M.       0.20       350.00           $70.00
                                Kulick re same
04/12/2017    BDD     BL        Call with J. Lucas re return of Citivest docs to Scott    0.10       350.00           $35.00
                                Wyman
04/12/2017    BDD     BL        Attend to rescheduling matters re Nourafshan              0.40       350.00          $140.00
                                deposition; emails to J. Richards re same
04/12/2017    BDD     BL        Email to D. Hinojosa re 4/14 deposition of J.             0.10       350.00           $35.00
                                Nourafshan
04/12/2017    BDD     BL        Email to TSG re J. Nourafshan depo on 4/14; call to       0.60       350.00          $210.00
                                TSG re same
04/12/2017    JWL     BL        Prepare for deposition of J. Nourafshan (.8); draft       6.80       695.00        $4,726.00
                                complaint regarding avoidance of Rexford
                                foreclosure (4.5); research regarding the same (1.5).
04/13/2017    JVR     BL        Prepare for Nourafshan deposition.                        0.80      1025.00         $820.00
04/13/2017    BDD     BL        Email to J. Richards re J. Nourafshan 4/14 depo           0.10       350.00           $35.00
04/13/2017    JWL     BL        Research regarding setting aside foreclosure sale         2.30       695.00        $1,598.50
                                (1.3); draft complaint regarding same (1.0).
04/14/2017    JVR     BL        Deposition to J. Nourafshan.                              6.00      1025.00        $6,150.00
04/14/2017    JVR     BL        Conference with J. Lucas re recovery of Rexford           0.50      1025.00         $512.50
                                property.
04/14/2017    JWL     BL        Research regarding statute of limitations to avoid        2.50       695.00        $1,737.50
                                foreclosure (.1.5); research regarding sealing
                                complaint.
04/17/2017    JVR     BL        Review research re statute of limitations (Elkbrook       0.30      1025.00         $307.50
                                action).
04/17/2017    BDD     BL        Email to J. Richards re J. Nourafshan depo on 4/14        0.10       350.00           $35.00
04/17/2017    JWL     BL        Research and draft complaint regarding Rexford            4.10       695.00        $2,849.50
                                Home foreclosure.
04/18/2017    BDD     BL        Email to J. Richards re Nourafshan depo transcript        0.10       350.00           $35.00
04/18/2017    JWL     BL        Search for Massoud email for purpose of obtaining         3.50       695.00        $2,432.50
                                documents (.5); research Rexford avoidance
                                complaint issues (1.0); draft complaint (2.0).
04/19/2017    JWL     BL        Research regarding Rexford Complaint and draft the        2.20       695.00        $1,529.00
                                same.
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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                                      Main Document    Page  531 of 750
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                                                                                         Hours           Rate        Amount
04/20/2017    JVR     BL        Review draft complaint to set aside Rexford               0.90      1025.00         $922.50
                                foreclosure (.3); Conference with J. Lucas re same
                                (.6).
04/20/2017    JVR     BL        Review transcript of J. Nourafshan deposition.            0.80      1025.00         $820.00
04/20/2017    BDD     BL        Email to J. Richards re J. Nourafshan transcript          0.10       350.00           $35.00
04/20/2017    BDD     BL        Email to J. Richards re T. Guerrero information           0.10       350.00           $35.00
                                received from TransWest Investigations (report)
04/20/2017    JWL     BL        Calls with J. Richards regarding changes to Rexford       5.60       695.00        $3,892.00
                                complaint and draft and revise the same.
04/21/2017    JVR     BL        Review Elkwood/Fieldbrook complaint.                      0.80      1025.00         $820.00
04/21/2017    JWL     BL        Revise Rexford complaint.                                 2.50       695.00        $1,737.50
04/24/2017    JVR     BL        Revise Elkwood/Fieldbrook complaint.                      0.20      1025.00         $205.00
04/24/2017    JWL     BL        Revise Rexford complaint to include additional            5.00       695.00        $3,475.00
                                counts regarding Chalette transfers (.8); prepare
                                complaint without quiet title count (1.0); research
                                regarding claims in complaint (2.2); prepare notice
                                of lis pendens and coordinate with recordation
                                agency (1.0);
04/25/2017    JWL     BL        Research regarding Rexford complaint (.4); arrange        1.40       695.00          $973.00
                                for filing of complaint and recordation of lis pendens
                                (1.0);
04/26/2017    JVR     BL        Review record re chronology of events                     1.40      1025.00        $1,435.00
                                (Rexford/Chalette foreclosures).
04/26/2017    JWL     BL        Review objection to motion to withdraw reference          1.20       695.00          $834.00
                                and address supplemental objection; provide service
                                copies.
04/26/2017    JWL     BL        Research regarding assignment of notes and deeds of       0.50       695.00          $347.50
                                trust.
04/26/2017    JWL     BL        Arrange for service of complaint and summons of           0.50       695.00          $347.50
                                Rexford adversary proceeding.
04/27/2017    JVR     BL        Review and analyze Abselet motion to dismiss              1.30      1025.00        $1,332.50
                                adversary complaint (APII / RLI stock).
04/27/2017    JVR     BL        Conference with J. Lucas re Abselet motion to             0.30      1025.00         $307.50
                                dismiss.
04/27/2017    JWL     BL        Research regarding avoidability of failed execution       2.50       695.00        $1,737.50
                                of stock (2.0) and calls with J. Richards regarding
                                same (.5)
04/28/2017    JVR     BL        Conference with S. Lucas regarding opposition to          0.40      1025.00         $410.00
                                Abselet motion to dismiss.
04/28/2017    JVR     BL        Review opposition to reply to Abselet motion to           0.50      1025.00         $512.50
                                withdraw adversary proceeding.
04/28/2017    JWL     BL        Research regarding extent of trustee powers under         4.50       695.00        $3,127.50
                                544(a).
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
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                                                                                      87.10                     $66,762.50

  Case Administration [B110]
04/18/2017    JVR     CA        Telephone J. Nourmand re miscellaneous case status     0.80      1025.00          $820.00
                                issues.
04/26/2017    PJJ     CA        Research local rules re response deadlines.            0.20       350.00           $70.00
04/26/2017    BDD     CA        Email to M. Kulick re master creditor matrix           0.10       350.00           $35.00
                                                                                       1.10                       $925.00

  Claims Admin/Objections[B310]
04/12/2017    JVR     CO        Telephone D. Gottlieb re Abselet settlement issues.    0.50      1025.00          $512.50
04/14/2017    JVR     CO        Draft e-mail to D. Coniff re settlement.               0.30      1025.00          $307.50
04/17/2017    JVR     CO        Telephone D. Gottlieb re Abselet claims.               0.30      1025.00          $307.50
04/17/2017    JVR     CO        Draft e-mail to D. Coniff re settlement structure.     0.30      1025.00          $307.50
04/17/2017    JVR     CO        Telephone A. McDow re Abselet claim.                   0.50      1025.00          $512.50
04/21/2017    JVR     CO        Review Abselet settlement proposal (.1); Draft         0.20      1025.00          $205.00
                                e-mail to D. Coniff with questions re same (.1).
04/21/2017    JVR     CO        Conference with J. Lucas re Abselet/Elkwood claim      0.20      1025.00          $205.00
                                issues.
04/21/2017    JVR     CO        Telephone H. David and D. Coniff re Abselet claim      0.70      1025.00          $717.50
                                issues.
04/21/2017    JVR     CO        Telephone D. Gottlieb re Abselet claims.               0.30      1025.00          $307.50
04/21/2017    PJJ     CO        Draft claims bar date motion.                          2.80       350.00          $980.00
04/24/2017    JWL     CO        Revise bar date motion for both debtor cases.          1.30       695.00          $903.50
04/26/2017    JWL     CO        Revise and arrange for filing of bar date motion.      1.30       695.00          $903.50
04/27/2017    JVR     CO        Review documents relating to claim of Sina Abselet.    0.30      1025.00          $307.50
04/27/2017    JVR     CO        Conference with J. Nourmand re miscellaneous           0.20      1025.00          $205.00
                                claims issues.
04/27/2017    JVR     CO        Draft e-mail to H. David and D. Coniff re              0.10      1025.00          $102.50
                                settlement.
04/27/2017    JVR     CO        Research re documentation of loan (S. Abselet).        0.40      1025.00          $410.00
04/27/2017    JVR     CO        Review DMARC proof of claim.                           0.20      1025.00          $205.00
                                                                                       9.90                      $7,399.50

  General Business Advice [B410]
04/24/2017    RJG     GB        Work with J Lucas and J Richards on review of          1.00       995.00          $995.00
                                certain foreclosure issues.
                                                                                       1.00                       $995.00
     Case
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          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
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 TOTAL SERVICES FOR THIS MATTER:                                                          $104,852.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
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Expenses
 03/22/2017   LV        Legal Vision Atty/Mess. Service- Inv. 46460, USBC,             65.00
                        Woodland Hills Bankruptcy Court, B. Dassa

 03/24/2017   LV        Legal Vision Atty/Mess. Service- Inv. 46497, USBC, San         65.00
                        Fernando Bankruptcy Court, JVR

 03/27/2017   LV        Legal Vision Atty/Mess. Service- Inv. 46498, USBC, San         65.00
                        Fernandp Bankruptcy Court, JVR

 03/29/2017   LV        Legal Vision Atty/Mess. Service- Inv. 46544, USBC. San         65.00
                        Fernando Bankruptcy Court, JVR

 03/29/2017   LV        Legal Vision Atty/Mess. Service- Inv. 46555, USBC, Santa       65.00
                        Ana Bankruptcy Court, B. Dassa

 03/30/2017   LV        Legal Vision Atty/Mess. Service- Inv. 46556, Pick up from      67.50
                        Renne Johnson, JVR

 04/03/2017   FE        32274.00001 FedEx Charges for 04-03-17                          8.57

 04/03/2017   FE        32274.00001 FedEx Charges for 04-03-17                          8.57

 04/03/2017   LV        Legal Vision Atty/Mess. Service- Inv. 46656, Los Angeles       55.00
                        District Court, JVR

 04/03/2017   RE        ( 6 @0.20 PER PG)                                               1.20

 04/03/2017   RE        ( 7 @0.20 PER PG)                                               1.40

 04/03/2017   RE        ( 8 @0.20 PER PG)                                               1.60

 04/03/2017   RE        ( 20 @0.20 PER PG)                                              4.00

 04/03/2017   RE        ( 36 @0.20 PER PG)                                              7.20



 04/03/2017   RE        ( 40 @0.20 PER PG)                                              8.00



 04/03/2017   RE2       SCAN/COPY ( 36 @0.10 PER PG)                                    3.60



 04/03/2017   RE2       SCAN/COPY ( 54 @0.10 PER PG)                                    5.40
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
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 04/03/2017   RE2       SCAN/COPY ( 54 @0.10 PER PG)                               5.40

 04/03/2017   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                0.70

 04/06/2017   FE        32274.00001 FedEx Charges for 04-06-17                     8.70

 04/06/2017   WL        32274.00001 Westlaw Charges for 04-06-17                 453.91

 04/07/2017   DC        Delivery/ Courier Service [E107]                          27.00

 04/07/2017   DC        Delivery/ Courier Service [E107]                           6.50

 04/07/2017   FE        32274.00001 FedEx Charges for 04-07-17                    13.22

 04/07/2017   FE        32274.00001 FedEx Charges for 04-07-17                    13.22

 04/08/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20

 04/10/2017   DC        Delivery/ Courier Service [E107]                          22.50

 04/10/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40

 04/10/2017   RE2       SCAN/COPY ( 15 @0.10 PER PG)                               1.50

 04/11/2017   BB        32274.00001 Bloomberg Charges for 04-11-17                 0.60

 04/11/2017   BB        32274.00001 Bloomberg Charges for 04-11-17                 0.60

 04/11/2017   BB        32274.00001 Bloomberg Charges for 04-11-17                30.00

 04/11/2017   BB        32274.00001 Bloomberg Charges for 04-11-17                30.00

 04/11/2017   BB        32274.00001 Bloomberg Charges for 04-11-17                30.00



 04/11/2017   BB        32274.00001 Bloomberg Charges for 04-11-17                30.00



 04/11/2017   BB        32274.00001 Bloomberg Charges for 04-11-17                30.00



 04/11/2017   BB        32274.00001 Bloomberg Charges for 04-11-17                 6.00



 04/11/2017   BB        32274.00001 Bloomberg Charges for 04-11-17                30.00
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     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
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 04/11/2017   BB        32274.00001 Bloomberg Charges for 04-11-17                     0.60

 04/11/2017   BB        32274.00001 Bloomberg Charges for 04-11-17                    30.00

 04/11/2017   BB        32274.00001 Bloomberg Charges for 04-11-17                    30.00

 04/11/2017   BB        32274.00001 Bloomberg Charges for 04-11-17                    30.00

 04/11/2017   RE        ( 4 @0.20 PER PG)                                              0.80

 04/11/2017   RE        ( 12 @0.20 PER PG)                                             2.40

 04/11/2017   RE        ( 56 @0.20 PER PG)                                            11.20

 04/11/2017   RE        ( 136 @0.20 PER PG)                                           27.20

 04/11/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                    0.30

 04/11/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                    0.60

 04/11/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                   1.40

 04/11/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                   1.40

 04/11/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                   1.40

 04/12/2017   LV        Legal Vision Atty/Mess. Service- Inv. 46789, Delivery to      23.00
                        Scott Wyman

 04/12/2017   WL        32274.00001 Westlaw Charges for 04-12-17                     789.52

 04/14/2017   LN        32274.00001 Lexis Charges for 04-14-17                         1.62

 04/14/2017   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                   1.70



 04/14/2017   TR        Transcript [E116] TSG Reporting, inv. 041417-467244, JVR   1,642.60



 04/14/2017   WL        32274.00001 Westlaw Charges for 04-14-17                     272.34



 04/17/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                   1.10



 04/17/2017   WL        32274.00001 Westlaw Charges for 04-17-17                   1,076.46
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
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 04/18/2017   BB        32274.00001 Bloomberg Charges for 04-18-17                30.00

 04/18/2017   RE2       SCAN/COPY ( 46 @0.10 PER PG)                               4.60

 04/18/2017   RE2       SCAN/COPY ( 62 @0.10 PER PG)                               6.20

 04/19/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20

 04/19/2017   RE2       SCAN/COPY ( 15 @0.10 PER PG)                               1.50

 04/19/2017   RE2       SCAN/COPY ( 15 @0.10 PER PG)                               1.50

 04/19/2017   RE2       SCAN/COPY ( 18 @0.10 PER PG)                               1.80

 04/19/2017   RE2       SCAN/COPY ( 21 @0.10 PER PG)                               2.10

 04/19/2017   RE2       SCAN/COPY ( 36 @0.10 PER PG)                               3.60

 04/19/2017   RE2       SCAN/COPY ( 70 @0.10 PER PG)                               7.00

 04/19/2017   RE2       SCAN/COPY ( 131 @0.10 PER PG)                             13.10

 04/19/2017   RE2       SCAN/COPY ( 333 @0.10 PER PG)                             33.30

 04/20/2017   OS        TransWest Investigations, Inv. 71018, B. Dassa           655.40

 04/20/2017   RE2       SCAN/COPY ( 71 @0.10 PER PG)                               7.10

 04/21/2017   RE2       SCAN/COPY ( 25 @0.10 PER PG)                               2.50

 04/21/2017   RE2       SCAN/COPY ( 26 @0.10 PER PG)                               2.60

 04/21/2017   RE2       SCAN/COPY ( 31 @0.10 PER PG)                               3.10



 04/24/2017   LN        32274.00001 Lexis Charges for 04-24-17                     1.61



 04/24/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20



 04/24/2017   RE2       SCAN/COPY ( 16 @0.10 PER PG)                               1.60



 04/25/2017   LN        32274.00001 Lexis Charges for 04-25-17                     3.24
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
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                                         648 Filed
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 04/25/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 04/25/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 04/25/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                               0.30

 04/25/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10

 04/25/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10

 04/25/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10

 04/25/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10

 04/25/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20

 04/25/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                              1.30

 04/25/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                              1.30

 04/25/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                              1.30

 04/25/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                              1.40

 04/25/2017   RE2       SCAN/COPY ( 17 @0.10 PER PG)                              1.70

 04/25/2017   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90

 04/25/2017   RE2       SCAN/COPY ( 20 @0.10 PER PG)                              2.00

 04/25/2017   RE2       SCAN/COPY ( 22 @0.10 PER PG)                              2.20

 04/25/2017   RE2       SCAN/COPY ( 27 @0.10 PER PG)                              2.70



 04/25/2017   RE2       SCAN/COPY ( 39 @0.10 PER PG)                              3.90



 04/25/2017   RE2       SCAN/COPY ( 48 @0.10 PER PG)                              4.80



 04/25/2017   RE2       SCAN/COPY ( 69 @0.10 PER PG)                              6.90



 04/26/2017   FF        Filing Fee [E112] USBC, Bankrutpcy Court, JWL           350.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                Invoice 116402
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 04/26/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 04/26/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 04/26/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 04/26/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 04/26/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 04/26/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 04/26/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 04/26/2017   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70

 04/26/2017   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70

 04/26/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                               0.80

 04/26/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                               0.80

 04/26/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20

 04/26/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20

 04/26/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                              1.40

 04/26/2017   RE2       SCAN/COPY ( 17 @0.10 PER PG)                              1.70

 04/26/2017   RE2       SCAN/COPY ( 30 @0.10 PER PG)                              3.00

 04/26/2017   RE2       SCAN/COPY ( 31 @0.10 PER PG)                              3.10



 04/26/2017   RE2       SCAN/COPY ( 35 @0.10 PER PG)                              3.50



 04/26/2017   RE2       SCAN/COPY ( 40 @0.10 PER PG)                              4.00



 04/26/2017   RE2       SCAN/COPY ( 44 @0.10 PER PG)                              4.40



 04/26/2017   RE2       SCAN/COPY ( 44 @0.10 PER PG)                              4.40
     Case
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          1:16-bk-12255-GM           Doc
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 04/26/2017   RE2       SCAN/COPY ( 46 @0.10 PER PG)                               4.60

 04/26/2017   RE2       SCAN/COPY ( 48 @0.10 PER PG)                               4.80

 04/26/2017   RE2       SCAN/COPY ( 48 @0.10 PER PG)                               4.80

 04/26/2017   RE2       SCAN/COPY ( 63 @0.10 PER PG)                               6.30

 04/26/2017   RE2       SCAN/COPY ( 88 @0.10 PER PG)                               8.80

 04/26/2017   RE2       SCAN/COPY ( 88 @0.10 PER PG)                               8.80

 04/26/2017   RE2       SCAN/COPY ( 132 @0.10 PER PG)                             13.20

 04/26/2017   RE2       SCAN/COPY ( 528 @0.10 PER PG)                             52.80

 04/27/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10

 04/27/2017   RE2       SCAN/COPY ( 16 @0.10 PER PG)                               1.60

 04/27/2017   RE2       SCAN/COPY ( 18 @0.10 PER PG)                               1.80

 04/27/2017   RE2       SCAN/COPY ( 20 @0.10 PER PG)                               2.00

 04/27/2017   RE2       SCAN/COPY ( 21 @0.10 PER PG)                               2.10

 04/27/2017   RE2       SCAN/COPY ( 24 @0.10 PER PG)                               2.40

 04/27/2017   RE2       SCAN/COPY ( 27 @0.10 PER PG)                               2.70

 04/27/2017   RE2       SCAN/COPY ( 29 @0.10 PER PG)                               2.90

 04/27/2017   WL        32274.00001 Westlaw Charges for 04-27-17               1,335.13



 04/28/2017   LN        32274.00001 Lexis Charges for 04-28-17                   776.48



 04/28/2017   RE2       SCAN/COPY ( 15 @0.10 PER PG)                               1.50



 04/28/2017   RE2       SCAN/COPY ( 23 @0.10 PER PG)                               2.30



 04/28/2017   RE2       SCAN/COPY ( 443 @0.10 PER PG)                             44.30
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
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 04/28/2017   WL        32274.00001 Westlaw Charges for 04-28-17                 544.69

 04/30/2017   PAC       Pacer - Court Research                                   183.50

   Total Expenses for this Matter                                           $9,398.28
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
                                              Doc 797
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Gottlieb, David K - Yashouafar                                                                          Invoice 116402
32274     00001                                                                                         April 30, 2017




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 04/30/2017

Total Fees                                                                                                               $104,852.00
Chargeable costs and disbursements                                                                                         $9,398.28
Total Due on Current Invoice.....................                                                                        $114,250.28


Outstanding Balance from prior Invoices as of 04/30/2017       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed             Balance Due


     114542                        09/30/2016                  $70,136.00                           $430.31               $70,566.31
     114911                        10/31/2016                  $98,085.50                          $7,280.89             $105,366.39
     115117                        11/30/2016                  $87,345.00                          $8,776.62              $96,121.62
     115185                        12/31/2016                  $73,344.00                          $2,031.97              $75,375.97
     115643                        01/31/2017                  $54,361.00                          $2,260.63              $56,621.63
     115896                        02/28/2017                  $50,737.50                           $803.31               $51,540.81
     116150                        03/31/2017                  $51,677.50                          $4,962.17              $56,639.67


Total Amount Due on Current and Prior Invoices                                                                           $626,482.68
      Case
      Case 1:16-bk-12255-GM
           1:16-bk-12255-GM    Doc
                               Doc 797
                                    648 Filed
                                        Filed 12/01/20
                                              01/08/19 Entered
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    May 31, 2017
JVR                                                                 Invoice 116665
                                                                    Client   32274
                                                                    Matter   00001
                                                                             JVR
RE: Yashouafar

___________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 05/31/2017
                 FEES                                               $100,431.00
                 EXPENSES                                            $10,790.05
                 TOTAL CURRENT CHARGES                              $111,221.05

                 BALANCE FORWARD                                    $626,482.68
                 TOTAL BALANCE DUE                                  $737,703.73
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM             Doc
                                         Doc 797
                                              648 Filed
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Gottlieb, David K - Yashouafar                                                           Invoice 116665
32274     00001                                                                          May 31, 2017




 Summary of Services by Task Code
 Task Code             Description                                              Hours                        Amount

 AA                    Asset Analysis/Recovery[B120]                             15.40                     $15,785.00
 BL                    Bankruptcy Litigation [L430]                              79.00                     $61,942.00
 CA                    Case Administration [B110]                                14.90                     $13,375.00
 CO                    Claims Admin/Objections[B310]                              8.60                      $8,311.00
 FF                    Financial Filings [B110]                                   0.30                       $105.00
 LN                    Litigation (Non-Bankruptcy)                                0.90                       $327.50
 SL                    Stay Litigation [B140]                                     0.70                       $585.50
                                                                                119.80                    $100,431.00

 Summary of Services by Professional
 ID           Name                                     Title            Rate             Hours               Amount

 BDD          Dassa, Beth D.                           Paralegal       350.00             6.20             $2,170.00
 HCK          Kevane, Henry C.                         Partner         950.00             0.20              $190.00
 JVR          Richards, Jeremy V.                      Partner        1025.00            58.60            $60,065.00
 JWL          Lucas, John W.                           Partner         695.00            53.90            $37,460.50
 KHB          Brown, Kenneth H.                        Partner         895.00             0.40              $358.00
 LAF          Forrester, Leslie A.                     Other           375.00             0.50              $187.50
                                                                                     119.80               $100,431.00




 Summary of Expenses
Description                                                                                                  Amount

Air Fare [E110]                                                                                            $1,196.51



Bloomberg                                                                                                     $73.20



Conference Call [E105]                                                                                           $8.03
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                Invoice 116665
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 Summary of Expenses
Description                                                                                       Amount

CourtLink                                                                                          $17.21



Federal Express [E108]                                                                            $169.59



Lexis/Nexis- Legal Research [E                                                                    $232.85



Legal Vision Atty Mess Service                                                                    $390.00



Outside Services                                                                                $4,674.60



Pacer - Court Research                                                                            $154.50



Postage [E108]                                                                                    $239.55



Reproduction Expense [E101]                                                                       $608.60



Reproduction/ Scan Copy                                                                           $423.50



Travel Expense [E110]                                                                              $50.00



Westlaw - Legal Research [E106                                                                  $2,551.91



                                                                                                $10,790.05
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
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32274     00001                                                               May 31, 2017
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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                                      Main Document    Page  547 of 750
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                                                                                         Hours           Rate        Amount
  Asset Analysis/Recovery[B120]
05/01/2017    JVR     AA        Research regarding perfection of Abselet and              0.90      1025.00          $922.50
                                DMARC judgment liens.
05/03/2017    JVR     AA        Review documents and evidence re set aside of             3.30      1025.00         $3,382.50
                                Abselet ownership of APII and RLI stock, and sale
                                of Barlava's interests to the Debtors.
05/03/2017    JVR     AA        Research set aside of Rexford foreclosure under           3.10      1025.00         $3,177.50
                                state law.
05/04/2017    JVR     AA        Review e-mail re distribution of RLI funds.               0.10      1025.00          $102.50
05/05/2017    JVR     AA        Draft e-mail to client re strategies pertaining to RL     0.10      1025.00          $102.50
                                reserves.
05/05/2017    JVR     AA        Research re validity of Elkwood foreclosure on            1.50      1025.00         $1,537.50
                                Rexford.
05/05/2017    JVR     AA        Research re ability of estate to block marshaling by a    0.70      1025.00          $717.50
                                junior secured creditor.
05/05/2017    JVR     AA        Research re Barlava sale of interests in RLI and          0.40      1025.00          $410.00
                                assertion of mediation pending.
05/05/2017    JVR     AA        Research re disposition of RL Reserve funds.              0.60      1025.00          $615.00
05/05/2017    JVR     AA        Telephone J. Nourmand re RLI issues.                      0.50      1025.00          $512.50
05/08/2017    JVR     AA        Review documents re buyout of Barlava interests in        0.60      1025.00          $615.00
                                RLI.
05/09/2017    JVR     AA        Telephone J. Nourmand re RLI issues.                      0.20      1025.00          $205.00
05/09/2017    JVR     AA        Research Barlava Family agreement to sell interests       1.40      1025.00         $1,435.00
                                in RLI.
05/10/2017    JVR     AA        Draft e-mail to J. Lucas re revocation of JCBL Trust.     0.20      1025.00          $205.00
05/10/2017    JVR     AA        Review documents provided by M. Yashouafar re             0.30      1025.00          $307.50
                                cash transfers.
05/10/2017    JVR     AA        Research re Rexford value.                                0.30      1025.00          $307.50
05/11/2017    JVR     AA        Review pleadings in Oklahoma litigation.                  0.60      1025.00          $615.00
05/12/2017    JVR     AA        Research re funds put to P. Pournazarian from Sky         0.30      1025.00          $307.50
                                LV sale.
05/13/2017    JVR     AA        Review and respond to e-mail from H. David re             0.10      1025.00          $102.50
                                JCBL Trust.
05/19/2017    JVR     AA        Revise pleading to be filed in connection with            0.20      1025.00          $205.00
                                7/11/17 status conference (Roosevelt Lofts).
                                                                                         15.40                     $15,785.00

  Bankruptcy Litigation [L430]
05/01/2017    JVR     BL        Prepare for Abselet motion to withdraw reference          0.70      1025.00          $717.50
                                regarding adversary proceeding.
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
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Gottlieb, David K - Yashouafar                                                                  Invoice 116665
32274     00001                                                                                 May 31, 2017


                                                                                        Hours           Rate        Amount
05/01/2017    JWL     BL        Research regarding trustee estoppel issues and           2.20       695.00        $1,529.00
                                execution against stock.
05/02/2017    JVR     BL        Prepare for status conference "meet & confer"            0.30      1025.00         $307.50
                                (Abselet adversary proceeding).
05/02/2017    JWL     BL        Work on research opposition to motion to dismiss         0.70       695.00          $486.50
                                RLI stock complaint.
05/03/2017    JVR     BL        Telephone J Simon re status conference "meet &           0.40      1025.00         $410.00
                                confer".
05/03/2017    JVR     BL        Conference with J. Lucas re opposition to motion to      0.10      1025.00         $102.50
                                dismiss Abselet adversary complaint.
05/03/2017    JVR     BL        Draft joint status conference report (Abselet).          0.20      1025.00         $205.00
05/03/2017    JWL     BL        Review J. Nourafshan transcript to prepare               0.50       695.00          $347.50
                                additional questions for Abselet deposition.
05/03/2017    JWL     BL        Research and draft objection to motion to dismiss        5.60       695.00        $3,892.00
                                RLI stock complaint.
05/04/2017    JWL     BL        Research regarding opposition to motion to dismiss       6.40       695.00        $4,448.00
                                RLI Stock complaint and draft the same.
05/05/2017    JVR     BL        Draft 2004 application (Levene Neale).                   1.20      1025.00        $1,230.00
05/05/2017    JVR     BL        Conference with J. Lucas re Elkwood complaint            0.80      1025.00         $820.00
                                amendments.
05/05/2017    JVR     BL        Revise Levene Neale 2004 motion.                         0.30      1025.00         $307.50
05/05/2017    JVR     BL        Review response to Elkwood settlement offer.             0.10      1025.00         $102.50
05/05/2017    JWL     BL        Research regarding Abselet motion to disimss (1.5);      3.50       695.00        $2,432.50
                                draft opposition to the same (1.0); review settlement
                                offer from J. Nourafshan (.2); revise Rexford
                                complaint against Nourafshan (.3); calls with J.
                                Richards regarding same (.5).
05/08/2017    JVR     BL        Revise opposition to motion to dismiss (Abselet).        3.00      1025.00        $3,075.00
05/08/2017    JVR     BL        Conference with J. Lucas re amendments to                0.40      1025.00         $410.00
                                Elkwood complaint.
05/08/2017    JVR     BL        Revise opposition to motion to dismiss (Abselet          0.30      1025.00         $307.50
                                litigation).
05/08/2017    JVR     BL        Review Nourafshan transcript re outstanding              0.30      1025.00         $307.50
                                documents.
05/08/2017    JVR     BL        Revise FAC (Elkwood).                                    1.40      1025.00        $1,435.00
05/08/2017    BDD     BL        Email to J. Richards re Nourafshan depo exhibits         0.10       350.00           $35.00
05/08/2017    BDD     BL        Email to M. Kulick re Nourafshan depo exhibits           0.10       350.00           $35.00
05/08/2017    BDD     BL        Review Nourafshan depo exhibits and email J.             0.30       350.00          $105.00
                                Mickelsen re same
05/08/2017    BDD     BL        Email to J. Richards re Nourafshan depo transcript       0.10       350.00           $35.00
                                and additional documents to be searched for
     Case
     Case 1:16-bk-12255-GM
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                                                                                         Hours           Rate        Amount
05/08/2017    BDD     BL        Email to M. Kulick re exhibits to J. Nourafshan depo      0.10       350.00           $35.00
                                transcript
05/08/2017    BDD     BL        Conference with J. Richards re additional docs            0.10       350.00           $35.00
                                requested by J. Mickelsen (re Nourafshan depo
                                exhibits)
05/08/2017    BDD     BL        Review docs provided by J. Richards re additional         0.80       350.00          $280.00
                                info requested by J. Mickelsen; emails to J. Richards
                                and J. Mickelsen re same
05/08/2017    JWL     BL        Research and revsie amended Rexford/Chalette              8.00       695.00        $5,560.00
                                complaint (3.5); research regarding splitting
                                obligations relating to promissory note, mortgages
                                and deeds of trust (3.7); calls with J. Richards
                                regardng same (.8).
05/09/2017    HCK     BL        Confer with J. Lucas re avoidance of foreclosure          0.20       950.00          $190.00
                                sale.
05/09/2017    JVR     BL        Revise motion for 2004 order (Levene Neale).              0.10      1025.00         $102.50
05/09/2017    JVR     BL        Revise Elkwood/Fieldbrook complaint.                      2.60      1025.00        $2,665.00
05/09/2017    JVR     BL        Revise Elkwood complaint.                                 0.70      1025.00         $717.50
05/09/2017    JVR     BL        Research re opposition to motion to dismiss               0.40      1025.00         $410.00
                                (Abselet).
05/09/2017    KHB     BL        Confer with John Lucas re fraudulent transfer issues.     0.20       895.00          $179.00
05/09/2017    KHB     BL        Emails with J. Richards re mediation issues.              0.20       895.00          $179.00
05/09/2017    BDD     BL        Email to J. Richards re allocation of loan re Chalette    0.10       350.00           $35.00
                                and Rexford
05/09/2017    BDD     BL        Review and summarize Nourafshan depo transcript           1.20       350.00          $420.00
                                re Chalette/Rexford loans; email to J. Richards re
                                same
05/09/2017    JWL     BL        Research regarding standard for recovery of avoided       3.20       695.00        $2,224.00
                                transactions.
05/10/2017    JVR     BL        Revise First Amended Complaint (Elkwood)                  0.30      1025.00         $307.50
05/10/2017    JVR     BL        Revise opposition to motion to dismiss (Abselet).         3.00      1025.00        $3,075.00
05/10/2017    JWL     BL        Research regarding avoidance of trust that was made       4.10       695.00        $2,849.50
                                irrevocable.
05/11/2017    JVR     BL        Revise opposition to motion to dismiss Abselet            0.50      1025.00         $512.50
                                adversary complaint.
05/11/2017    BDD     BL        Review J. Nourafshan depo transcript re additional        0.70       350.00          $245.00
                                documents requested by J. Richards; email J.
                                Richards re same
05/11/2017    JWL     BL        Draft complaint to determine interest in JCBL trust       2.60       695.00        $1,807.00
                                and avoid the same.
05/12/2017    JVR     BL        Revise complaint to revoke JCBL Trust.                    0.90      1025.00         $922.50
05/12/2017    JVR     BL        Revise complaint to revoke JCBL Trust.                    0.10      1025.00         $102.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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                                      Main Document    Page  550 of 750
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                                                                                      Hours           Rate        Amount
05/12/2017    JVR     BL        Revise opposition to motion to dismiss (Abselet).      0.60      1025.00         $615.00
05/12/2017    JWL     BL        Research regarding objection to motion to dismiss      3.00       695.00        $2,085.00
                                RLI complaint and revise the same.
05/12/2017    JWL     BL        Review and revise and file complaint regarding         2.50       695.00        $1,737.50
                                JCBL trust.
05/15/2017    JVR     BL        Revise opposition to motion to dismiss Abselet         0.20      1025.00         $205.00
                                adversary proceeding.
05/15/2017    JVR     BL        Draft Proposed Statement of Decision (Motion to        2.30      1025.00        $2,357.50
                                Withdraw Reference - Abselet).
05/15/2017    JWL     BL        Review emails and documents regarding transfers        1.00       695.00          $695.00
                                out of JCBL trust by J. Yashouafar and review
                                deposition transcript for the same (.8) review
                                statement of decision and sanctions response
                                regarding action withdrawn by Abselet (.2).
05/16/2017    JVR     BL        Revise statement of decision (Abselet motion to        0.60      1025.00         $615.00
                                withdraw).
05/16/2017    JVR     BL        Revise Statement of Decision (Abselet motion to        0.20      1025.00         $205.00
                                withdraw reference).
05/16/2017    JVR     BL        Draft RJN in support of opposition to Abselet          0.30      1025.00         $307.50
                                motion to dismiss adversary proceeding.
05/16/2017    JWL     BL        Review and revise Abselet mediation statement (.8);    1.20       695.00          $834.00
                                review and revise withdrawal of reference pleadings
                                (.4);
05/17/2017    JVR     BL        Review proposed statement of decision (Abselet) -      0.10      1025.00         $102.50
                                motion to withdraw reference.
05/18/2017    JVR     BL        Draft pleading to be filed in connection with          1.50      1025.00        $1,537.50
                                Roosevelt Loft 7/11/17 status conference.
05/18/2017    JWL     BL        Review deposition transcript from Abselet exam of      1.00       695.00          $695.00
                                Jack Nourafshan.
05/19/2017    JVR     BL        Conference with J. Lucas re Rexford/Chalette           0.20      1025.00         $205.00
                                litigation.
05/19/2017    JVR     BL        Conferences with J. Lucas re Nourafshan testimony      0.30      1025.00         $307.50
                                (Abselet deposition) and additional document
                                production.
05/19/2017    BDD     BL        Email to J. Richards re documents produced by          0.10       350.00           $35.00
                                Reliable Properties
05/19/2017    BDD     BL        Email M. Kulick re documents produced by Reliable      0.10       350.00           $35.00
                                Properties
05/19/2017    JWL     BL        Review J. Nourafshan depo conducted by Abselet         4.20       695.00        $2,919.00
                                and summary for J. Richards (2.0); review J.
                                Nourafshan supplemental production of documents
                                and discuss same with J. Richards (2.2)
05/31/2017    JVR     BL        Prepare for hearing on motion to withdraw reference    0.50      1025.00         $512.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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                                      Main Document    Page  551 of 750
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                                                                                         Hours           Rate        Amount
                                (Abselet).
                                                                                         79.00                     $61,942.00

  Case Administration [B110]
05/01/2017    JVR     CA        Review request of M. Yashouafar to consolidate            0.10      1025.00          $102.50
                                district court mediations.
05/01/2017    JVR     CA        Review Abselet request for status conference              0.20      1025.00          $205.00
                                (Oklahoma proceedings).
05/02/2017    JVR     CA        Telephone M. Goodfriend re mediation issues.              0.20      1025.00          $205.00
05/02/2017    BDD     CA        Attend to misc. calendaring matters                       0.20       350.00           $70.00
05/04/2017    JVR     CA        Draft motion for leave to appear at Oklahoma status       3.70      1025.00         $3,792.50
                                conference without local counsel.
05/11/2017    JVR     CA        Conference with J. Lucas re case status.                  0.30      1025.00          $307.50
05/11/2017    JVR     CA        Telephone D. Gottlieb re case status.                     0.30      1025.00          $307.50
05/11/2017    JVR     CA        Revise Second Status Report.                              0.20      1025.00          $205.00
05/11/2017    JWL     CA        Prepare status report for trustee's status conference.    3.20       695.00         $2,224.00
05/12/2017    JVR     CA        Revise status report.                                     0.30      1025.00          $307.50
05/12/2017    JWL     CA        Prepare notice of withdrawal for conversion motion.       0.30       695.00          $208.50
05/15/2017    JVR     CA        Draft response to OSC re contempt (District Court).       0.60      1025.00          $615.00
05/15/2017    BDD     CA        Email to J. Lucas re status conference report             0.10       350.00           $35.00
05/15/2017    BDD     CA        Emails to J. Lucas and M. Kulick re Notice of             0.20       350.00           $70.00
                                Withdrawal re Motion to Convert Case to Chapter 7
05/15/2017    BDD     CA        Review docket re status conference hearing; email J.      0.20       350.00           $70.00
                                Lucas re same
05/16/2017    JVR     CA        Revise response to OSC re contempt (District              0.10      1025.00          $102.50
                                Court).
05/16/2017    BDD     CA        Attend to misc. calendaring matters re Elkwood            0.10       350.00           $35.00
                                adversary
05/16/2017    BDD     CA        Attend to misc. calendaring matters (lead case)           0.20       350.00           $70.00
05/22/2017    BDD     CA        Attend to misc. calendaring matters; email J. Lucas       0.10       350.00           $35.00
                                re same
05/25/2017    JVR     CA        Prepare for status conference.                            0.20      1025.00          $205.00
05/26/2017    JVR     CA        Review tentative rulings (5/30/17).                       0.10      1025.00          $102.50
05/30/2017    JVR     CA        Attend case status conference.                            4.00      1025.00         $4,100.00
                                                                                         14.90                     $13,375.00

  Claims Admin/Objections[B310]
05/02/2017    JVR     CO        Research validity of DMARC judgment lien.                 1.30      1025.00         $1,332.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                                 Invoice 116665
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                                                                                       Hours           Rate        Amount
05/02/2017    JVR     CO        Research re basis of DMARC claims.                      0.90      1025.00         $922.50
05/02/2017    BDD     CO        Email to/call with J. Lucas re bar date notice/order    0.20       350.00           $70.00
05/02/2017    BDD     CO        Email to M. Kulick re bar date notice/order             0.10       350.00           $35.00
05/02/2017    JWL     CO        Call with chambers regarding entry of bar date and      0.30       695.00          $208.50
                                arrange for service.
05/05/2017    JVR     CO        Draft e-mails to client and H. David re mediation of    0.10      1025.00         $102.50
                                Abselet claims.
05/09/2017    JVR     CO        Telephone D. Gottlieb re Abselet mediation.             0.10      1025.00         $102.50
05/12/2017    JVR     CO        Draft mediation brief (Abselet).                        1.70      1025.00        $1,742.50
05/12/2017    BDD     CO        Call with H. BenDavid re proof of claim; email J.       0.20       350.00           $70.00
                                Richards re same
05/12/2017    BDD     CO        Email to M. Kulick re claims bar date                   0.10       350.00           $35.00
05/15/2017    JVR     CO        Revise mediation brief (Abselet).                       1.20      1025.00        $1,230.00
05/15/2017    JVR     CO        Revise mediation brief (Abselet).                       0.40      1025.00         $410.00
05/16/2017    JVR     CO        Revise mediation brief (Abselet).                       0.10      1025.00         $102.50
05/16/2017    JVR     CO        Revise mediation brief.                                 0.20      1025.00         $205.00
05/18/2017    JVR     CO        Draft e-mails to Judge Goldberg and H. David re         0.30      1025.00         $307.50
                                mediation.
05/22/2017    JVR     CO        Review and respond to e-mail from N. David re           0.20      1025.00         $205.00
                                mediation.
05/22/2017    JVR     CO        Revise list of mediation items (Abselet).               0.10      1025.00         $102.50
05/23/2017    JVR     CO        Review documents relating to claim of S. Abselet.       0.20      1025.00         $205.00
05/26/2017    JVR     CO        Review Abselet mediation brief.                         0.40      1025.00         $410.00
05/30/2017    JVR     CO        Prepare for mediation (Abselet claims).                 0.50      1025.00         $512.50
                                                                                        8.60                     $8,311.00

  Financial Filings [B110]
05/09/2017    BDD     FF        Email to J. Richards re Massoud and Solyman's           0.10       350.00           $35.00
                                schedules
05/17/2017    BDD     FF        Email to J. Nourmand re Solyman and Massoud BK          0.10       350.00           $35.00
                                schedules
05/17/2017    BDD     FF        Conference with M. Kulick re Solyman and                0.10       350.00           $35.00
                                Massoud BK Schedules
                                                                                        0.30                      $105.00

  Litigation (Non-Bankruptcy)
05/02/2017    LAF     LN        Legal research re: LA Superior court action.            0.50       375.00          $187.50
05/03/2017    BDD     LN        Research USDC rules for West Dist of OK; email to       0.40       350.00          $140.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
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                                          648 Filed
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                                                                                   Hours           Rate        Amount
                                J. Richards re same
                                                                                    0.90                       $327.50

  Stay Litigation [B140]
05/01/2017    JVR     SL        Review motion for relief from stay (Paradise Spa    0.20      1025.00          $205.00
                                Owners Association class action).
05/11/2017    JWL     SL        Review Paradise SPA stay relief motion and proof    0.40       695.00          $278.00
                                of claim and respond to questions posed by
                                Massoud's counsel.
05/16/2017    JVR     SL        Review Debtors' opposition to relief from stay      0.10      1025.00          $102.50
                                motion (Paradise Spa).
                                                                                    0.70                       $585.50

 TOTAL SERVICES FOR THIS MATTER:                                                                          $100,431.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
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Expenses
 05/11/2007   LV        Legal Vision Atty/Mess. Service- Inv. 47198, San Fernando       65.00
                        Bankruptcy Court, JVR

 04/13/2017   CC        Conference Call [E105] AT&T Conference Call, JVR                 3.56

 04/21/2017   CC        Conference Call [E105] AT&T Conference Call, JVR                 4.47

 04/26/2017   FE        32274.00001 FedEx Charges for 04-26-17                          13.35

 04/26/2017   PO        Postage [E108] SF Mail Log                                       2.80

 04/26/2017   PO        Postage [E108] SF Mail Log                                      30.94

 05/01/2017   WL        32274.00001 Westlaw Charges for 05-01-17                       386.65

 05/02/2017   BB        32274.00001 Bloomberg Charges for 05-02-17                      12.20

 05/02/2017   BB        32274.00001 Bloomberg Charges for 05-02-17                       1.00

 05/02/2017   BB        32274.00001 Bloomberg Charges for 05-02-17                      30.00

 05/02/2017   BB        32274.00001 Bloomberg Charges for 05-02-17                      30.00

 05/02/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                      0.10

 05/02/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                      0.10

 05/02/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                      0.10

 05/02/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                      0.50

 05/02/2017   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                     1.60



 05/02/2017   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                     2.20



 05/02/2017   RE2       SCAN/COPY ( 23 @0.10 PER PG)                                     2.30



 05/02/2017   RE2       SCAN/COPY ( 23 @0.10 PER PG)                                     2.30



 05/03/2017   LV        Legal Vision Atty/Mess. Service- Inv. 47065, San Fernanado      65.00
                        Bankruptcy Court, BDD
     Case
     Case 1:16-bk-12255-GM
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 05/03/2017   PO        32274.00001 :Postage Charges for 05-03-17                163.48

 05/03/2017   RE        ( 500 @0.20 PER PG)                                      100.00

 05/03/2017   RE        ( 1250 @0.20 PER PG)                                     250.00

 05/03/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 05/03/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 05/03/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 05/03/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 05/03/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40

 05/03/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40

 05/03/2017   RE2       SCAN/COPY ( 15 @0.10 PER PG)                               1.50

 05/03/2017   RE2       SCAN/COPY ( 22 @0.10 PER PG)                               2.20

 05/03/2017   RE2       SCAN/COPY ( 25 @0.10 PER PG)                               2.50

 05/03/2017   RE2       SCAN/COPY ( 29 @0.10 PER PG)                               2.90

 05/03/2017   RE2       SCAN/COPY ( 39 @0.10 PER PG)                               3.90

 05/03/2017   WL        32274.00001 Westlaw Charges for 05-03-17                 231.99

 05/04/2017   CL        32274.00001 Courtlink charges for 5/4/2017                15.83

 05/04/2017   CL        32274.00001 Courtlink charges for 5/4/2017                 0.47



 05/04/2017   CL        32274.00001 Courtlink charges for 5/4/2017                 0.42



 05/04/2017   CL        32274.00001 Courtlink charges for 5/4/2017                 0.49



 05/04/2017   FE        32274.00001 FedEx Charges for 05-04-17                     8.77



 05/04/2017   LN        32274.00001 Lexis Charges for 05-04-17                    81.40
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
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 05/04/2017   LV        Legal Vision Atty/Mess. Service- Inv. 47069, San Fernanado      65.00
                        Bankruptcy Court, JVR

 05/04/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                      0.10

 05/04/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                      0.10

 05/04/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                      0.30

 05/04/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                      0.30

 05/04/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                      0.40

 05/04/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                      0.40

 05/04/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                      0.40

 05/04/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                      0.40

 05/04/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                      0.40

 05/04/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                      0.40

 05/04/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                      0.50

 05/04/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                      0.50

 05/04/2017   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                      0.70

 05/04/2017   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                      0.70

 05/04/2017   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                     1.00

 05/04/2017   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                     1.00



 05/04/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                     1.10



 05/04/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                     1.10



 05/04/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                     1.10



 05/04/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                     1.10
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 05/04/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20

 05/04/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 05/04/2017   RE2       SCAN/COPY ( 16 @0.10 PER PG)                               1.60

 05/04/2017   RE2       SCAN/COPY ( 17 @0.10 PER PG)                               1.70

 05/04/2017   RE2       SCAN/COPY ( 17 @0.10 PER PG)                               1.70

 05/04/2017   RE2       SCAN/COPY ( 23 @0.10 PER PG)                               2.30

 05/04/2017   RE2       SCAN/COPY ( 23 @0.10 PER PG)                               2.30

 05/04/2017   RE2       SCAN/COPY ( 41 @0.10 PER PG)                               4.10

 05/04/2017   RE2       SCAN/COPY ( 106 @0.10 PER PG)                             10.60

 05/04/2017   WL        32274.00001 Westlaw Charges for 05-04-17                 154.66

 05/05/2017   LN        32274.00001 Lexis Charges for 05-05-17                    20.11

 05/05/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 05/05/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 05/05/2017   RE2       SCAN/COPY ( 10 @0.10 PER PG)                               1.00

 05/05/2017   RE2       SCAN/COPY ( 10 @0.10 PER PG)                               1.00

 05/05/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 05/05/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40



 05/05/2017   RE2       SCAN/COPY ( 15 @0.10 PER PG)                               1.50



 05/05/2017   RE2       SCAN/COPY ( 15 @0.10 PER PG)                               1.50



 05/05/2017   RE2       SCAN/COPY ( 16 @0.10 PER PG)                               1.60



 05/05/2017   RE2       SCAN/COPY ( 21 @0.10 PER PG)                               2.10
     Case
     Case 1:16-bk-12255-GM
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 05/05/2017   RE2       SCAN/COPY ( 25 @0.10 PER PG)                              2.50

 05/05/2017   RE2       SCAN/COPY ( 26 @0.10 PER PG)                              2.60

 05/05/2017   RE2       SCAN/COPY ( 30 @0.10 PER PG)                              3.00

 05/05/2017   RE2       SCAN/COPY ( 134 @0.10 PER PG)                            13.40

 05/08/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 05/08/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 05/08/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                               0.30

 05/08/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50

 05/08/2017   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70

 05/08/2017   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70

 05/08/2017   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70

 05/08/2017   RE2       SCAN/COPY ( 10 @0.10 PER PG)                              1.00

 05/08/2017   RE2       SCAN/COPY ( 10 @0.10 PER PG)                              1.00

 05/08/2017   RE2       SCAN/COPY ( 10 @0.10 PER PG)                              1.00

 05/08/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10

 05/08/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10

 05/08/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20



 05/08/2017   RE2       SCAN/COPY ( 25 @0.10 PER PG)                              2.50



 05/08/2017   RE2       SCAN/COPY ( 25 @0.10 PER PG)                              2.50



 05/08/2017   RE2       SCAN/COPY ( 30 @0.10 PER PG)                              3.00



 05/08/2017   RE2       SCAN/COPY ( 30 @0.10 PER PG)                              3.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
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                                     Main Document
                                     Main Document    Page  559 of 750
                                                      Page 255 of 443

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Gottlieb, David K - Yashouafar                                                      Invoice 116665
32274     00001                                                                     May 31, 2017


 05/08/2017   RE2       SCAN/COPY ( 36 @0.10 PER PG)                                    3.60

 05/08/2017   RE2       SCAN/COPY ( 71 @0.10 PER PG)                                    7.10

 05/08/2017   RE2       SCAN/COPY ( 170 @0.10 PER PG)                                  17.00

 05/09/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                     0.40

 05/09/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50

 05/09/2017   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                    1.00

 05/09/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20

 05/09/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20

 05/09/2017   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                    1.80

 05/09/2017   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                    1.80

 05/09/2017   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                    2.40

 05/09/2017   RE2       SCAN/COPY ( 211 @0.10 PER PG)                                  21.10

 05/09/2017   WL        32274.00001 Westlaw Charges for 05-09-17                      154.66

 05/10/2017   LN        32274.00001 Lexis Charges for 05-10-17                          0.65

 05/10/2017   LN        32274.00001 Lexis Charges for 05-10-17                        128.74

 05/10/2017   LV        Legal Vision Atty/Mess. Service- Inv. 47197, San Fernando      65.00
                        Bankruptcy Court, JVR

 05/10/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10



 05/10/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20



 05/10/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20



 05/10/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60



 05/10/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
                                                                       01/08/19 18:29:18
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Gottlieb, David K - Yashouafar                                                      Invoice 116665
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 05/10/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30

 05/10/2017   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                    1.70

 05/10/2017   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00

 05/10/2017   RE2       SCAN/COPY ( 27 @0.10 PER PG)                                    2.70

 05/10/2017   RE2       SCAN/COPY ( 28 @0.10 PER PG)                                    2.80

 05/10/2017   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                    2.90

 05/10/2017   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                    2.90

 05/10/2017   RE2       SCAN/COPY ( 44 @0.10 PER PG)                                    4.40

 05/10/2017   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                    4.60

 05/10/2017   RE2       SCAN/COPY ( 59 @0.10 PER PG)                                    5.90

 05/10/2017   WL        32274.00001 Westlaw Charges for 05-10-17                    1,082.63

 05/11/2017   AF        Air Fare [E110] Delta Air, Tkt. 0068620981560, From OCK       573.31
                        to ATL, JVR.

 05/11/2017   AF        Air Fare [E110] United Air, Tkt. 0166620981554, From          623.20
                        LAX to OKC, JVR.

 05/11/2017   LN        32274.00001 Lexis Charges for 05-11-17                          1.30

 05/11/2017   LV        Legal Vision Atty/Mess. Service- Inv. 47199, San Fernando      65.00
                        Bankruptcy Court, JVR

 05/11/2017   PO        32274.00001 :Postage Charges for 05-11-17                      29.12



 05/11/2017   PO        32274.00001 :Postage Charges for 05-11-17                      10.72



 05/11/2017   RE        ( 49 @0.20 PER PG)                                              9.80



 05/11/2017   RE        ( 208 @0.20 PER PG)                                            41.60



 05/11/2017   RE        ( 784 @0.20 PER PG)                                           156.80
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
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                                                                                15:53:32        Desc
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                                     Main Document
                                     Main Document    Page  561 of 750
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32274     00001                                                                May 31, 2017

 05/11/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 05/11/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 05/11/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 05/11/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50

 05/11/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80

 05/11/2017   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                0.90

 05/11/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10

 05/11/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10

 05/11/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10

 05/11/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10

 05/11/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10

 05/11/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 05/11/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 05/11/2017   RE2       SCAN/COPY ( 18 @0.10 PER PG)                               1.80

 05/11/2017   RE2       SCAN/COPY ( 38 @0.10 PER PG)                               3.80

 05/11/2017   RE2       SCAN/COPY ( 49 @0.10 PER PG)                               4.90

 05/11/2017   RE2       SCAN/COPY ( 49 @0.10 PER PG)                               4.90



 05/11/2017   TE        Travel Expense [E110] Travel Agency Service Fee, JVR      50.00



 05/11/2017   WL        32274.00001 Westlaw Charges for 05-11-17                  77.33



 05/12/2017   RE        ( 6 @0.20 PER PG)                                          1.20



 05/12/2017   RE        ( 7 @0.20 PER PG)                                          1.40
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
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                                     Main Document
                                     Main Document    Page  562 of 750
                                                      Page 258 of 443

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Gottlieb, David K - Yashouafar                                                 Invoice 116665
32274     00001                                                                May 31, 2017


 05/12/2017   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                0.90

 05/12/2017   RE2       SCAN/COPY ( 10 @0.10 PER PG)                               1.00

 05/12/2017   RE2       SCAN/COPY ( 10 @0.10 PER PG)                               1.00

 05/12/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 05/12/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 05/12/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 05/12/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 05/12/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 05/12/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40

 05/12/2017   WL        32274.00001 Westlaw Charges for 05-12-17                 463.99

 05/15/2017   LN        32274.00001 Lexis Charges for 05-15-17                     0.65

 05/15/2017   OS        TransWest Investigations, Inc. (JVR)                     479.60

 05/15/2017   RE        ( 4 @0.20 PER PG)                                          0.80

 05/15/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 05/15/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60

 05/15/2017   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                0.90

 05/15/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10



 05/15/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10



 05/15/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10



 05/15/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10



 05/15/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
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                                     Main Document
                                     Main Document    Page  563 of 750
                                                      Page 259 of 443

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32274     00001                                                                     May 31, 2017


 05/15/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20

 05/15/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30

 05/15/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30

 05/15/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30

 05/15/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30

 05/15/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30

 05/15/2017   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                    1.60

 05/15/2017   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00

 05/15/2017   RE2       SCAN/COPY ( 90 @0.10 PER PG)                                    9.00

 05/15/2017   RE2       SCAN/COPY ( 161 @0.10 PER PG)                                  16.10

 05/16/2017   FE        32274.00001 FedEx Charges for 05-16-17                         57.34

 05/16/2017   FE        32274.00001 FedEx Charges for 05-16-17                         11.05

 05/16/2017   FE        32274.00001 FedEx Charges for 05-16-17                         11.05

 05/16/2017   FE        32274.00001 FedEx Charges for 05-16-17                         11.05

 05/16/2017   FE        32274.00001 FedEx Charges for 05-16-17                         11.05

 05/16/2017   LV        Legal Vision Atty/Mess. Service- Inv. 47219, San Fernando      65.00
                        Bankruptcy Court, BDD

 05/16/2017   RE        ( 20 @0.20 PER PG)                                              4.00



 05/16/2017   RE        ( 215 @0.20 PER PG)                                            43.00



 05/16/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                     0.40



 05/16/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                     0.40



 05/16/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                     0.40
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
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                                     Main Document
                                     Main Document    Page  564 of 750
                                                      Page 260 of 443

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Gottlieb, David K - Yashouafar                                                 Invoice 116665
32274     00001                                                                May 31, 2017

 05/16/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 05/16/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 05/16/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60

 05/16/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60

 05/16/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60

 05/16/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60

 05/16/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60

 05/16/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80

 05/16/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80

 05/16/2017   RE2       SCAN/COPY ( 10 @0.10 PER PG)                               1.00

 05/16/2017   RE2       SCAN/COPY ( 10 @0.10 PER PG)                               1.00

 05/16/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 05/16/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 05/16/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 05/16/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 05/16/2017   RE2       SCAN/COPY ( 16 @0.10 PER PG)                               1.60

 05/16/2017   RE2       SCAN/COPY ( 20 @0.10 PER PG)                               2.00



 05/16/2017   RE2       SCAN/COPY ( 231 @0.10 PER PG)                             23.10



 05/17/2017   PO        32274.00001 :Postage Charges for 05-17-17                  0.46



 05/17/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40



 05/18/2017   OS        Judicate West (JVR)                                    4,195.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
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                                                              Entered 12/01/20
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                                     Main Document    Page  565 of 750
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Gottlieb, David K - Yashouafar                                                 Invoice 116665
32274     00001                                                                May 31, 2017


 05/18/2017   RE2       SCAN/COPY ( 24 @0.10 PER PG)                               2.40

 05/18/2017   RE2       SCAN/COPY ( 36 @0.10 PER PG)                               3.60

 05/18/2017   RE2       SCAN/COPY ( 46 @0.10 PER PG)                               4.60

 05/18/2017   RE2       SCAN/COPY ( 119 @0.10 PER PG)                             11.90

 05/19/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 05/19/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 05/19/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 05/19/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 05/19/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 05/19/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 05/26/2017   FE        32274.00001 FedEx Charges for 05-26-17                    32.71

 05/26/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20

 05/26/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 05/26/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 05/26/2017   RE2       SCAN/COPY ( 20 @0.10 PER PG)                               2.00

 05/26/2017   RE2       SCAN/COPY ( 29 @0.10 PER PG)                               2.90

 05/26/2017   RE2       SCAN/COPY ( 101 @0.10 PER PG)                             10.10



 05/26/2017   RE2       SCAN/COPY ( 170 @0.10 PER PG)                             17.00



 05/30/2017   FE        32274.00001 FedEx Charges for 05-30-17                    13.22



 05/30/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80



 05/31/2017   PAC       Pacer - Court Research                                   154.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
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                                    Main Document
                                    Main Document    Page  566 of 750
                                                     Page 262 of 443

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Gottlieb, David K - Yashouafar                                                 Invoice 116665
32274     00001                                                                May 31, 2017


 05/31/2017   PO        Postage [E108] SF Mail Log                                 2.03

 05/31/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 05/31/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 05/31/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80

 05/31/2017   RE2       SCAN/COPY ( 20 @0.10 PER PG)                               2.00

 05/31/2017   RE2       SCAN/COPY ( 44 @0.10 PER PG)                               4.40

 05/31/2017   RE2       SCAN/COPY ( 49 @0.10 PER PG)                               4.90

 05/31/2017   RE2       SCAN/COPY ( 170 @0.10 PER PG)                             17.00

   Total Expenses for this Matter                                          $10,790.05
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
                                              Doc 797
                                                   648 Filed
                                                       Filed 12/01/20
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                                              Main Document
                                              Main Document    Page  567 of 750
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Gottlieb, David K - Yashouafar                                                                          Invoice 116665
32274     00001                                                                                         May 31, 2017




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 05/31/2017

Total Fees                                                                                                               $100,431.00
Chargeable costs and disbursements                                                                                        $10,790.05
Total Due on Current Invoice.....................                                                                        $111,221.05


Outstanding Balance from prior Invoices as of 05/31/2017       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed             Balance Due


     114542                        09/30/2016                  $70,136.00                           $430.31               $70,566.31
     114911                        10/31/2016                  $98,085.50                          $7,280.89             $105,366.39
     115117                        11/30/2016                  $87,345.00                          $8,776.62              $96,121.62
     115185                        12/31/2016                  $73,344.00                          $2,031.97              $75,375.97
     115643                        01/31/2017                  $54,361.00                          $2,260.63              $56,621.63
     115896                        02/28/2017                  $50,737.50                           $803.31               $51,540.81
     116150                        03/31/2017                  $51,677.50                          $4,962.17              $56,639.67
     116402                        04/30/2017                 $104,852.00                          $9,398.28             $114,250.28


Total Amount Due on Current and Prior Invoices                                                                           $737,703.73
      Case
      Case 1:16-bk-12255-GM
           1:16-bk-12255-GM    Doc
                               Doc 797
                                    648 Filed
                                        Filed 12/01/20
                                              01/08/19 Entered
                                                        Entered 12/01/20
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                               Main Document    Page  568 of 750
                                                Page 264 of 443

                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    June 30, 2017
JVR                                                                 Invoice 116970
                                                                    Client    32274
                                                                    Matter    00001
                                                                              JVR
RE: Yashouafar

___________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 06/30/2017
                 FEES                                                $47,800.00
                 EXPENSES                                             $3,522.61
                 TOTAL CURRENT CHARGES                               $51,322.61

                 BALANCE FORWARD                                    $737,703.73
                 TOTAL BALANCE DUE                                  $789,026.34
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM           Doc
                                       Doc 797
                                            648 Filed
                                                Filed 12/01/20
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                                       Main Document
                                       Main Document    Page  569 of 750
                                                        Page 265 of 443

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Gottlieb, David K - Yashouafar                                                        Invoice 116970
32274     00001                                                                       June 30, 2017




 Summary of Services by Task Code
 Task Code            Description                                             Hours                       Amount

 AA                   Asset Analysis/Recovery[B120]                            1.40                      $1,435.00
 BL                   Bankruptcy Litigation [L430]                            35.10                     $29,535.00
 CA                   Case Administration [B110]                               0.20                        $70.00
 CO                   Claims Admin/Objections[B310]                           13.30                     $13,632.50
 SE                   Settlement                                               4.50                      $3,127.50
                                                                              54.50                     $47,800.00

 Summary of Services by Professional
 ID           Name                                    Title           Rate             Hours              Amount

 BDD          Dassa, Beth D.                          Paralegal      350.00             0.70             $245.00
 JVR          Richards, Jeremy V.                     Partner       1025.00            30.80           $31,570.00
 JWL          Lucas, John W.                          Partner        695.00            23.00           $15,985.00
                                                                                      54.50             $47,800.00




 Summary of Expenses
Description                                                                                               Amount

Working Meals [E111]                                                                                      $287.74



Federal Express [E108]                                                                                     $78.81



Filing Fee [E112]                                                                                          $40.00



Guest Parking [E124]                                                                                      $120.00



Lexis/Nexis- Legal Research [E                                                                            $137.56
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
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                                    Main Document
                                    Main Document    Page  570 of 750
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Gottlieb, David K - Yashouafar                                                Invoice 116970
32274     00001                                                               June 30, 2017


 Summary of Expenses
Description                                                                                      Amount

Legal Vision Atty Mess Service                                                                    $55.00



Outside Services                                                                                $2,606.10



Pacer - Court Research                                                                            $64.30



Reproduction Expense [E101]                                                                       $28.80



Reproduction/ Scan Copy                                                                          $104.30



                                                                                                $3,522.61
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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                                      Main Document    Page  571 of 750
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Gottlieb, David K - Yashouafar                                                                 Invoice 116970
32274     00001                                                                                June 30, 2017


                                                                                       Hours           Rate        Amount
  Asset Analysis/Recovery[B120]
06/08/2017    JVR     AA        Telephone A. Kim re RLI/Barlava issues.                 0.50      1025.00         $512.50
06/08/2017    JVR     AA        Draft e-mail to H. David re APII/Barlava issues.        0.10      1025.00         $102.50
06/08/2017    JVR     AA        Review operative complaint by Figueroa Tower I, II      0.60      1025.00         $615.00
                                and III against US Bank et al.
06/13/2017    JVR     AA        Telephone J. Nourmand re RLI funds.                     0.20      1025.00         $205.00
                                                                                        1.40                     $1,435.00

  Bankruptcy Litigation [L430]
06/01/2017    JVR     BL        Review e-mail from J. Simon re Rexford discovery.       0.10      1025.00         $102.50
06/01/2017    JVR     BL        Review draft common interest agreement (Abselet).       0.10      1025.00         $102.50
06/01/2017    JWL     BL        Review Ed Mazzarino deposition and send notes to        2.30       695.00        $1,598.50
                                J. Richards.
06/05/2017    JVR     BL        Prepare for hearing on motion to withdraw reference     1.30      1025.00        $1,332.50
                                (Abselet litigation).
06/05/2017    JVR     BL        Attend hearing on motion to withdraw reference.         3.00      1025.00        $3,075.00
06/06/2017    JVR     BL        Review order withdrawing reference (Abselet             0.20      1025.00         $205.00
                                litigation).
06/08/2017    JVR     BL        Draft memo to H. David and A. Kim re RLI/APII           1.40      1025.00        $1,435.00
                                litigation issues (common interests).
06/09/2017    JVR     BL        Conference with J. Lucas re motion to approve           0.30      1025.00         $307.50
                                Abselet compromise.
06/09/2017    JWL     BL        Prepare draft of status report for Elkwood adversary    0.50       695.00          $347.50
                                proceeding.
06/12/2017    JVR     BL        Conference with J. Lucas re status.                     0.20      1025.00         $205.00
06/12/2017    JVR     BL        Participate telephonically in status conference in      0.30      1025.00         $307.50
                                Oklahoma action.
06/12/2017    JWL     BL        Review Elkwood motion to dismiss.                       1.50       695.00        $1,042.50
06/13/2017    JVR     BL        Review motion to dismiss Elkwood/Fieldbrook             0.50      1025.00         $512.50
                                complaint.
06/13/2017    JVR     BL        Conference with J. Lucas re Elkwood/Fieldbrook          0.40      1025.00         $410.00
                                motion to dismiss.
06/13/2017    JVR     BL        Review documents produced by Levene Neale               0.30      1025.00         $307.50
                                pursuant to 2004 order.
06/13/2017    JWL     BL        Call with J. Richards regarding objection to            3.00       695.00        $2,085.00
                                Elkwood motion to dismiss (.4); review motion to
                                dismiss elkwood complaint and research objection
                                thereto (2.6).
06/14/2017    JWL     BL        Research and draft opposition to Elkwood motion to      5.70       695.00        $3,961.50
                                dismiss.
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
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                                                       Page 268 of 443

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Gottlieb, David K - Yashouafar                                                                  Invoice 116970
32274     00001                                                                                 June 30, 2017


                                                                                        Hours           Rate        Amount
06/15/2017    JWL     BL        Research and draft opposition to Elkwood motion to       4.00       695.00         $2,780.00
                                dismiss (3.7) and discuss same with J. Richards (.3).
06/16/2017    JVR     BL        Draft stipulation, declaration and order to continue.    1.00      1025.00         $1,025.00
06/16/2017    JWL     BL        Research and draft opposition to Elkwood motion to       1.00       695.00          $695.00
                                dismiss.
06/18/2017    JWL     BL        Prepare stipulation to continue Elkwood status           0.50       695.00          $347.50
                                conference.
06/19/2017    BDD     BL        Coordinate filing of Stip/Order continuing ststus        0.30       350.00          $105.00
                                conference (Elkwood/Fieldbrook); calls with J.
                                Lucas and S. Lee re same
06/19/2017    BDD     BL        Email D. McCarthy re stip to continue status             0.10       350.00           $35.00
                                conference (Elkwood/Fieldbrook adversary)
06/19/2017    BDD     BL        Email S. Lee re Stip/Order continuing status             0.10       350.00           $35.00
                                conference (Ellkwood/Fieldbrook adversary)
06/27/2017    JVR     BL        Review e-mail re T. Guerrero.                            0.10      1025.00          $102.50
06/28/2017    JVR     BL        Revise draft opposition to motion to dismiss             2.30      1025.00         $2,357.50
                                (Elkwood/Fieldbrook).
06/29/2017    JVR     BL        Draft opposition to motion to dismiss                    4.30      1025.00         $4,407.50
                                (Elkwood/Fieldbrook complaint).
06/30/2017    JVR     BL        Revise opposition to motion to dismiss (Elkwood).        0.30      1025.00          $307.50
                                                                                        35.10                     $29,535.00

  Case Administration [B110]
06/13/2017    BDD     CA        Email J. Lucas re calendaring matters                    0.10       350.00           $35.00
06/14/2017    BDD     CA        Attend to misc. calendaring matters                      0.10       350.00           $35.00
                                                                                         0.20                        $70.00

  Claims Admin/Objections[B310]
06/02/2017    JVR     CO        Telephone Judge Goldberg re mediation.                   0.70      1025.00          $717.50
06/03/2017    JVR     CO        Attend Abselet mediation.                                0.90      1025.00          $922.50
06/04/2017    JVR     CO        Telephone Judge Goldberg re Abselet mediation.           0.40      1025.00          $410.00
06/04/2017    JVR     CO        Draft e-mail to D. Gottlieb re Abselet settlement        0.30      1025.00          $307.50
                                options.
06/05/2017    JVR     CO        Telephone D. Gottlieb re Abselet claim settlement.       0.40      1025.00          $410.00
06/05/2017    JVR     CO        Prepare analysis of Abselet claim likely outcomes        1.40      1025.00         $1,435.00
                                for Trustee.
06/06/2017    JVR     CO        Telephone H. David re settlement issues.                 0.30      1025.00          $307.50
06/06/2017    JVR     CO        Telephone D. Gottlieb re Abselet settlement issues.      0.30      1025.00          $307.50
06/06/2017    JVR     CO        Telephone A. McDow re Abselet settlement.                0.20      1025.00          $205.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
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Gottlieb, David K - Yashouafar                                                                  Invoice 116970
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                                                                                        Hours           Rate        Amount
06/06/2017    JVR     CO        Telephone H. David re settlement.                        0.10      1025.00          $102.50
06/06/2017    JVR     CO        Analyze settlement options (Abselet).                    1.30      1025.00         $1,332.50
06/06/2017    JVR     CO        Telephone A. McDow re Abselet claims.                    0.20      1025.00          $205.00
06/06/2017    JVR     CO        Telephone H. David re settlement issues.                 0.20      1025.00          $205.00
06/07/2017    JVR     CO        Telephone H. David re Abselet settlement.                0.20      1025.00          $205.00
06/07/2017    JVR     CO        Telephone D. Gottlieb re Abselet settlement.             0.20      1025.00          $205.00
06/07/2017    JVR     CO        Telephone H. David re Abselet Settlement (.2);           0.30      1025.00          $307.50
                                Telephone D. Gottlieb re same (.1).
06/08/2017    JVR     CO        Draft portion of 9019 motion (Abselet).                  1.10      1025.00         $1,127.50
06/12/2017    JVR     CO        Review draft settlement agreement and approval           1.30      1025.00         $1,332.50
                                order (Abselet).
06/15/2017    JVR     CO        Draft e-mail to H. David with comments on                0.70      1025.00          $717.50
                                settlement agreement and approval order.
06/17/2017    JVR     CO        Review e-mail from H. David re settlement issues         0.30      1025.00          $307.50
                                (.1); Draft response (.2).
06/26/2017    JVR     CO        Review revised settlement agreement (Abselet).           0.50      1025.00          $512.50
06/27/2017    JVR     CO        Telephone A. McDow re Abselet settlement                 0.40      1025.00          $410.00
                                agreement.
06/28/2017    JVR     CO        Review e-mail from H. David re settlement (.1);          0.20      1025.00          $205.00
                                Draft e-mail to D. Gottlieb re same (.1).
06/28/2017    JVR     CO        Telephone D. Gottlieb re Abselet settlement issues       0.40      1025.00          $410.00
                                (.2); Draft e-mail to H. David re same (.2).
06/30/2017    JVR     CO        Telephone H. David, D. Coniff and I. Abselet re          0.50      1025.00          $512.50
                                settlement agreement.
06/30/2017    JVR     CO        Telephone D. Gottlieb re Abselet settlement              0.40      1025.00          $410.00
                                agreement.
06/30/2017    JVR     CO        Telephone H. David re Abselet settlement.                0.10      1025.00          $102.50
                                                                                        13.30                     $13,632.50

  Settlement
06/09/2017    JWL     SE        Prepare draft of settlement motion for Abselet claim.    1.50       695.00         $1,042.50
06/12/2017    JWL     SE        Draft Abselet settlement motion.                         3.00       695.00         $2,085.00
                                                                                         4.50                      $3,127.50

 TOTAL SERVICES FOR THIS MATTER:                                                                               $47,800.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
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Gottlieb, David K - Yashouafar                                                     Invoice 116970
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Expenses
 06/02/2017   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                   1.90

 06/03/2017   BM        Business Meal [E111] Clementine, Working Meal, 10            287.74
                        people, JVR

 06/03/2017   GP        Guest Parking [E124] 10100 Santa Monica Guest Parking,       120.00
                        JVR

 06/05/2017   RE2       SCAN/COPY ( 25 @0.10 PER PG)                                   2.50

 06/06/2017   FE        32274.00001 FedEx Charges for 06-06-17                         8.75

 06/06/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                    0.40

 06/06/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                    0.40

 06/06/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                    0.40

 06/06/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                    0.40

 06/06/2017   RE2       SCAN/COPY ( 40 @0.10 PER PG)                                   4.00

 06/08/2017   FF        Filing Fee [E112] Los Angeles Superior Court, G. Downing      40.00

 06/08/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                    0.30

 06/08/2017   RE2       SCAN/COPY ( 26 @0.10 PER PG)                                   2.60

 06/08/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                    0.30

 06/08/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                    0.30

 06/08/2017   RE2       SCAN/COPY ( 185 @0.10 PER PG)                                 18.50



 06/08/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                    0.40



 06/08/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                    0.80



 06/08/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                    0.60



 06/08/2017   RE2       SCAN/COPY ( 40 @0.10 PER PG)                                   4.00
     Case
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Gottlieb, David K - Yashouafar                                                 Invoice 116970
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 06/08/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 06/08/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 06/09/2017   RE        ( 112 @0.20 PER PG)                                       22.40

 06/09/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60

 06/09/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60

 06/12/2017   RE2       SCAN/COPY ( 16 @0.10 PER PG)                               1.60

 06/12/2017   RE2       SCAN/COPY ( 45 @0.10 PER PG)                               4.50

 06/13/2017   RE2       SCAN/COPY ( 49 @0.10 PER PG)                               4.90

 06/13/2017   RE2       SCAN/COPY ( 61 @0.10 PER PG)                               6.10

 06/13/2017   RE2       SCAN/COPY ( 36 @0.10 PER PG)                               3.60

 06/13/2017   RE2       SCAN/COPY ( 45 @0.10 PER PG)                               4.50

 06/13/2017   RE2       SCAN/COPY ( 36 @0.10 PER PG)                               3.60

 06/13/2017   RE2       SCAN/COPY ( 38 @0.10 PER PG)                               3.80

 06/13/2017   RE2       SCAN/COPY ( 45 @0.10 PER PG)                               4.50

 06/14/2017   LN        32274.00001 Lexis Charges for 06-14-17                   113.46

 06/14/2017   OS        Judicate West, Inv. 418017, JVR                        2,120.00

 06/14/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40



 06/14/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30



 06/14/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80



 06/15/2017   LN        32274.00001 Lexis Charges for 06-15-17                     5.71



 06/15/2017   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                0.90
     Case
     Case 1:16-bk-12255-GM
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 06/16/2017   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                   1.50

 06/16/2017   RE2       SCAN/COPY ( 52 @0.10 PER PG)                                   5.20

 06/19/2017   FE        32274.00001 FedEx Charges for 06-19-17                         8.51

 06/20/2017   FE        32274.00001 FedEx Charges for 06-20-17                         8.51

 06/20/2017   FE        32274.00001 FedEx Charges for 06-20-17                         8.51

 06/20/2017   LV        Legal Vision Atty/Mess. Service- Inv. 47711, Los Angeles      55.00
                        District Court, JVR

 06/20/2017   RE        ( 32 @0.20 PER PG)                                             6.40

 06/20/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                    0.60

 06/20/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                    0.40

 06/20/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                    0.60

 06/20/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20

 06/20/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                    0.50

 06/20/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                    0.40

 06/20/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20

 06/20/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20

 06/20/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                    0.80

 06/20/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20



 06/21/2017   OS        Transwest, Inv. 71131, JVR                                   486.10



 06/23/2017   FE        Federal Express [E108]                                        44.53



 06/26/2017   LN        Lexis/Nexis- Legal Research [E106] RMS                        15.85



 06/28/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                   1.30
     Case
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Gottlieb, David K - Yashouafar                                                 Invoice 116970
32274     00001                                                                June 30, 2017

 06/29/2017   LN        32274.00001 Lexis Charges for 06-29-17                     2.54

 06/29/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 06/29/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 06/29/2017   RE2       SCAN/COPY ( 22 @0.10 PER PG)                               2.20

 06/29/2017   RE2       SCAN/COPY ( 25 @0.10 PER PG)                               2.50

 06/29/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 06/30/2017   PAC       Pacer - Court Research                                    64.30

 06/30/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 06/30/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

   Total Expenses for this Matter                                           $3,522.61
     Case
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32274     00001                                                                                          June 30, 2017




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 06/30/2017

Total Fees                                                                                                                 $47,800.00
Chargeable costs and disbursements                                                                                          $3,522.61
Total Due on Current Invoice.....................                                                                          $51,322.61


Outstanding Balance from prior Invoices as of 06/30/2017       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed              Balance Due


     114542                        09/30/2016                  $70,136.00                            $430.31               $70,566.31
     114911                        10/31/2016                  $98,085.50                           $7,280.89             $105,366.39
     115117                        11/30/2016                  $87,345.00                           $8,776.62              $96,121.62
     115185                        12/31/2016                  $73,344.00                           $2,031.97              $75,375.97
     115643                        01/31/2017                  $54,361.00                           $2,260.63              $56,621.63
     115896                        02/28/2017                  $50,737.50                            $803.31               $51,540.81
     116150                        03/31/2017                  $51,677.50                           $4,962.17              $56,639.67
     116402                        04/30/2017                 $104,852.00                           $9,398.28             $114,250.28
     116665                        05/31/2017                 $100,431.00                          $10,790.05             $111,221.05


Total Amount Due on Current and Prior Invoices                                                                            $789,026.34
      Case
      Case 1:16-bk-12255-GM
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    July 31, 2017
JVR                                                                 Invoice 117273
                                                                    Client    32274
                                                                    Matter    00001
                                                                              JVR
RE: Yashouafar

___________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 07/31/2017
                 FEES                                                $52,383.00
                 EXPENSES                                              $297.68
                 TOTAL CURRENT CHARGES                               $52,680.68

                 BALANCE FORWARD                                    $789,026.34
                 TOTAL BALANCE DUE                                  $841,707.02
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM            Doc
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Gottlieb, David K - Yashouafar                                                         Invoice 117273
32274     00001                                                                        July 31, 2017




 Summary of Services by Task Code
 Task Code             Description                                             Hours                       Amount

 AA                    Asset Analysis/Recovery[B120]                            0.40                       $410.00
 BL                    Bankruptcy Litigation [L430]                            26.40                     $18,516.00
 CA                    Case Administration [B110]                               6.10                      $5,816.00
 CO                    Claims Admin/Objections[B310]                            7.10                      $7,277.50
 SE                    Settlement                                              29.30                     $20,363.50
                                                                               69.30                     $52,383.00

 Summary of Services by Professional
 ID           Name                                     Title           Rate             Hours              Amount

 BDD          Dassa, Beth D.                           Paralegal      350.00             0.50             $175.00
 JVR          Richards, Jeremy V.                      Partner       1025.00            13.60           $13,940.00
 JWL          Lucas, John W.                           Partner        695.00            54.90           $38,155.50
 LAF          Forrester, Leslie A.                     Other          375.00             0.30             $112.50
                                                                                       69.30             $52,383.00




 Summary of Expenses
Description                                                                                                Amount

Lexis/Nexis- Legal Research [E                                                                             $143.68



Legal Vision Atty Mess Service                                                                              $65.00



Pacer - Court Research                                                                                      $27.80



Reproduction/ Scan Copy                                                                                     $61.20



                                                                                                           $297.68
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
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Gottlieb, David K - Yashouafar                                                Invoice 117273
32274     00001                                                               July 31, 2017
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                                  Invoice 117273
32274     00001                                                                                 July 31, 2017


                                                                                        Hours           Rate        Amount
  Asset Analysis/Recovery[B120]
07/11/2017    JVR     AA        Research ownership of JCBL trust.                        0.40      1025.00          $410.00
                                                                                         0.40                       $410.00

  Bankruptcy Litigation [L430]
07/05/2017    JVR     BL        Revise opposition to Elkwood/Fieldbrook motion to        0.20      1025.00          $205.00
                                dismiss.
07/05/2017    JWL     BL        Research regarding Elkwood motion to dismiss and         6.00       695.00         $4,170.00
                                revise opposition pleading (5.5) and discuss same
                                with J. Richards (.5).
07/06/2017    LAF     BL        Legal resarch re: Foreclosure without ability to         0.30       375.00          $112.50
                                enforce note.
07/09/2017    JWL     BL        Revise Rexford opposition to Motion to Dismiss in        1.50       695.00         $1,042.50
                                response to H. David comments.
07/10/2017    JVR     BL        Revise opposition to motion to dismiss                   0.40      1025.00          $410.00
                                (Elkwood/Fieldbrook)
07/10/2017    JWL     BL        Revise opposition to Elkwood motion to dismiss           2.20       695.00         $1,529.00
                                (.7); review answer to JCBL trust complaint and
                                summarize for J. Richards (.8); prepare status report
                                for JCBL proceeding (.7).
07/11/2017    JVR     BL        Conference with J. Lucas re status conference report     0.20      1025.00          $205.00
                                (JCBL Trust (.1); Review documents re same (.1).
07/11/2017    JWL     BL        Call with counsel to JCBL trust regarding meet and       5.00       695.00         $3,475.00
                                confer and status conference (.2); prepare status
                                conference report for the same (.8); research
                                regarding JCBL asset and property of the estate
                                (1.0); prepare 9019 motion for Abselet settlement
                                (3.0)
07/13/2017    JWL     BL        Draft and revise 9019 Abselet settlement motion;         3.50       695.00         $2,432.50
                                comment on settlement agreement.
07/18/2017    JWL     BL        Review Elkwood reply regarding opposition to             0.50       695.00          $347.50
                                motion to dismiss.
07/19/2017    JWL     BL        Research regarding reply by Elkwood to opposition        6.00       695.00         $4,170.00
                                to motion to dismiss and prepare memo for the
                                same.
07/31/2017    JWL     BL        Emails and calls regarding JCBL trust issues             0.30       695.00          $208.50
                                regarding resolution.
07/31/2017    JWL     BL        Prepare stipulation regarding status report of           0.30       695.00          $208.50
                                Elkwood adversary proceeding.
                                                                                        26.40                     $18,516.00
     Case
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          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                                Invoice 117273
32274     00001                                                                               July 31, 2017


                                                                                      Hours           Rate        Amount
  Case Administration [B110]
07/12/2017    JVR     CA        Review Committee's opposition to motions to            0.10      1025.00         $102.50
                                convert.
07/12/2017    JWL     CA        Review committee opposition to motion to covert        0.30       695.00          $208.50
                                case to chapter 7.
07/19/2017    BDD     CA        Attend to misc. calendaring matters; email J. Lucas    0.20       350.00           $70.00
                                and M. DesJardien re same
07/20/2017    JVR     CA        Telephone D. Gottlieb and R. Clementson re case        0.50      1025.00         $512.50
                                status/conversion motion.
07/24/2017    JVR     CA        Telephone A. McDow re motion to convert cases          0.30      1025.00         $307.50
                                (.1); Review tentative ruling (.1); Telephone D.
                                Gottlieb re same (.1).
07/25/2017    JVR     CA        Attend hearing on motion to convert.                   4.00      1025.00        $4,100.00
07/25/2017    JVR     CA        Draft notice to abandon post-petition earnings.        0.30      1025.00         $307.50
07/26/2017    JVR     CA        Revise abandonment notice.                             0.10      1025.00         $102.50
07/26/2017    BDD     CA        Attend to misc. calendaring matters; email J.          0.20       350.00           $70.00
                                Richards re same
07/26/2017    BDD     CA        Email J. Richards re misc. calendaring matters         0.10       350.00           $35.00
                                                                                       6.10                     $5,816.00

  Claims Admin/Objections[B310]
07/03/2017    JVR     CO        Draft e-mail to H. David and D. Coniff re comments     1.00      1025.00        $1,025.00
                                to settlement agreement and order.
07/03/2017    JVR     CO        Telephone H. David and D. Coniff re settlement         1.00      1025.00        $1,025.00
                                agreement and order.
07/05/2017    JVR     CO        Revise Abselet settlement agreement.                   1.60      1025.00        $1,640.00
07/05/2017    JVR     CO        Revise settlement agreement (Abselet).                 0.30      1025.00         $307.50
07/06/2017    JVR     CO        Draft insert to 9019 motion (Abselet settlement).      0.40      1025.00         $410.00
07/10/2017    JVR     CO        Review Abselet settlement agreement and order          0.30      1025.00         $307.50
                                revisions.
07/25/2017    JVR     CO        Conference with J. Lucas re settlement agreement.      0.20      1025.00         $205.00
07/26/2017    JVR     CO        Conference with J. Lucas re settlement draft           0.20      1025.00         $205.00
                                (Abselet).
07/27/2017    JVR     CO        Review revised settlement agreement (Abselet).         0.20      1025.00         $205.00
07/28/2017    JVR     CO        Review settlement agreement (Abselet).                 0.30      1025.00         $307.50
07/28/2017    JVR     CO        Telephone H. David, D. Coniff and J. Lucas re          1.10      1025.00        $1,127.50
                                settlement agreement (Abselet).
07/29/2017    JVR     CO        Review revised Abselet settlement agreement.           0.40      1025.00         $410.00
07/29/2017    JVR     CO        Review Abselet settlement order.                       0.10      1025.00         $102.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
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Gottlieb, David K - Yashouafar                                                                 Invoice 117273
32274     00001                                                                                July 31, 2017


                                                                                        7.10                      $7,277.50

  Settlement
07/07/2017    JWL     SE        Draft 9019 motion for Abselet settlement.               2.50       695.00         $1,737.50
07/24/2017    JWL     SE        Review and revise settlement agreement regarding        6.30       695.00         $4,378.50
                                Abselet claims.
07/25/2017    JWL     SE        Review and revise settlement agreement and              6.80       695.00         $4,726.00
                                proposed order regarding Abselet claims (6.5);
                                discuss same with J. Richards (.3).
07/26/2017    JWL     SE        Prepare response to Abselet regarding changes to        2.00       695.00         $1,390.00
                                settlement agreement (1.7); call with J. Richards
                                regarding same (.3).
07/27/2017    JWL     SE        Review email from Abselet regarding changes to          2.00       695.00         $1,390.00
                                settlement agreement; prepare responses and revise
                                settlement agreement.
07/28/2017    JWL     SE        Prepare for and respond to questions about              1.80       695.00         $1,251.00
                                settlement with Abselet (.3); participate on
                                settlement call with Abselets (1.5).
07/29/2017    JWL     SE        Review change by Abselet to settlement agreement;       1.20       695.00          $834.00
                                make changes and send back to Abselet.
07/30/2017    JWL     SE        Review further changes to settlement agreement by       1.50       695.00         $1,042.50
                                Abselet and email to J. Richards regarding same (5);
                                revise approval order for the same (1.0).
07/31/2017    JWL     SE        Revise settlement agreement regarding Abselet;          5.20       695.00         $3,614.00
                                revise approval order regarding same; prepare
                                Gottlieb declaration in support of settlement.
                                                                                       29.30                     $20,363.50

 TOTAL SERVICES FOR THIS MATTER:                                                                            $52,383.00
     Case
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                                              Filed 12/01/20
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Expenses
 07/05/2017   LN        32274.00001 Lexis Charges for 07-05-17                         37.59

 07/05/2017   LN        32274.00001 Lexis Charges for 07-05-17                         52.46

 07/05/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10

 07/05/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                     0.80

 07/05/2017   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                    2.40

 07/05/2017   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                    2.40

 07/05/2017   RE2       SCAN/COPY ( 25 @0.10 PER PG)                                    2.50

 07/05/2017   RE2       SCAN/COPY ( 48 @0.10 PER PG)                                    4.80

 07/06/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30

 07/06/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                     0.80

 07/06/2017   RE2       SCAN/COPY ( 26 @0.10 PER PG)                                    2.60

 07/10/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60

 07/10/2017   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                    1.60

 07/10/2017   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00

 07/10/2017   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00

 07/10/2017   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00



 07/10/2017   RE2       SCAN/COPY ( 30 @0.10 PER PG)                                    3.00



 07/11/2017   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                    1.90



 07/11/2017   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                    1.90



 07/12/2017   LV        Legal Vision Atty/Mess. Service- Inv. 48018, San Fernando      65.00
                        Bankruptcy Court, JVR
     Case
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 07/12/2017   RE2       SCAN/COPY ( 15 @0.10 PER PG)                               1.50

 07/13/2017   RE2       SCAN/COPY ( 18 @0.10 PER PG)                               1.80

 07/18/2017   RE2       SCAN/COPY ( 37 @0.10 PER PG)                               3.70

 07/18/2017   RE2       SCAN/COPY ( 37 @0.10 PER PG)                               3.70

 07/19/2017   LN        32274.00001 Lexis Charges for 07-19-17                    53.63

 07/24/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20

 07/24/2017   RE2       SCAN/COPY ( 35 @0.10 PER PG)                               3.50

 07/24/2017   RE2       SCAN/COPY ( 35 @0.10 PER PG)                               3.50

 07/25/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50

 07/25/2017   RE2       SCAN/COPY ( 29 @0.10 PER PG)                               2.90

 07/26/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50

 07/26/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60

 07/27/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 07/27/2017   RE2       SCAN/COPY ( 29 @0.10 PER PG)                               2.90

 07/28/2017   RE2       SCAN/COPY ( 29 @0.10 PER PG)                               2.90

 07/31/2017   PAC       Pacer - Court Research                                    27.80

   Total Expenses for this Matter                                             $297.68
     Case
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                                                   648 Filed
                                                       Filed 12/01/20
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32274     00001                                                                                          July 31, 2017




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 07/31/2017

Total Fees                                                                                                                 $52,383.00
Chargeable costs and disbursements                                                                                            $297.68
Total Due on Current Invoice.....................                                                                          $52,680.68


Outstanding Balance from prior Invoices as of 07/31/2017       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed              Balance Due


     114542                        09/30/2016                  $70,136.00                            $430.31               $70,566.31
     114911                        10/31/2016                  $98,085.50                           $7,280.89             $105,366.39
     115117                        11/30/2016                  $87,345.00                           $8,776.62              $96,121.62
     115185                        12/31/2016                  $73,344.00                           $2,031.97              $75,375.97
     115643                        01/31/2017                  $54,361.00                           $2,260.63              $56,621.63
     115896                        02/28/2017                  $50,737.50                            $803.31               $51,540.81
     116150                        03/31/2017                  $51,677.50                           $4,962.17              $56,639.67
     116402                        04/30/2017                 $104,852.00                           $9,398.28             $114,250.28
     116665                        05/31/2017                 $100,431.00                          $10,790.05             $111,221.05
     116970                        06/30/2017                  $47,800.00                           $3,522.61              $51,322.61


Total Amount Due on Current and Prior Invoices                                                                            $841,707.02
      Case
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                               Doc 797
                                    648 Filed
                                        Filed 12/01/20
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                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    August 31, 2017
JVR                                                                 Invoice 117433
                                                                    Client   32274
                                                                    Matter   00001
                                                                             JVR
RE: Yashouafar

___________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 08/31/2017
                 FEES                                                $92,699.00
                 EXPENSES                                             $3,787.46
                 TOTAL CURRENT CHARGES                               $96,486.46

                 BALANCE FORWARD                                    $841,707.02
                 TOTAL BALANCE DUE                                  $938,193.48
       Case
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 Summary of Services by Task Code
 Task Code             Description                                              Hours                        Amount

 AA                    Asset Analysis/Recovery[B120]                              0.50                       $317.50
 BL                    Bankruptcy Litigation [L430]                              88.50                     $72,434.00
 CA                    Case Administration [B110]                                 1.40                       $557.50
 CO                    Claims Admin/Objections[B310]                             15.30                     $11,920.50
 FF                    Financial Filings [B110]                                   0.10                       $102.50
 SE                    Settlement                                                10.60                      $7,367.00
                                                                                116.40                     $92,699.00

 Summary of Services by Professional
 ID           Name                                     Title            Rate             Hours               Amount

 BDD          Dassa, Beth D.                           Paralegal       350.00             1.30              $455.00
 GSG          Greenwood, Gail S.                       Counsel         725.00            11.90             $8,627.50
 JVR          Richards, Jeremy V.                      Partner        1025.00            36.70         $37,617.50
 JWL          Lucas, John W.                           Partner         695.00            65.70         $45,661.50
 LAF          Forrester, Leslie A.                     Other           375.00             0.30              $112.50
 SWG          Golden, Steven W.                        Associate       450.00             0.50              $225.00
                                                                                     116.40                $92,699.00




 Summary of Expenses
Description                                                                                                  Amount

Attorney Service [E107]                                                                                      $576.00



Conference Call [E105]                                                                                       $169.66



CourtLink                                                                                                      $2.22



Federal Express [E108]                                                                                        $39.92
     Case
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                                             Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                Invoice 117433
32274     00001                                                               August 31, 2017


 Summary of Expenses
Description                                                                                      Amount



Lexis/Nexis- Legal Research [E                                                                   $274.84



Legal Vision Atty Mess Service                                                                   $130.00



Outside Services                                                                                $1,758.10



Pacer - Court Research                                                                            $89.40



Postage [E108]                                                                                   $164.12



Reproduction Expense [E101]                                                                      $414.80



Reproduction/ Scan Copy                                                                          $168.40



                                                                                                $3,787.46
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
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32274     00001                                                                                August 31, 2017


                                                                                       Hours           Rate       Amount
  Asset Analysis/Recovery[B120]
08/18/2017    LAF     AA        Real estate ownership search.                           0.30       375.00         $112.50
08/21/2017    JVR     AA        Review Levene Neale statement re interpleader of        0.10      1025.00         $102.50
                                RLI funds.
08/21/2017    JVR     AA        Review Debtors' insurance trust documents.              0.10      1025.00         $102.50
                                                                                        0.50                      $317.50

  Bankruptcy Litigation [L430]
08/02/2017    JWL     BL        Call with P. Yashouafar counsel regarding JCBL          0.20       695.00         $139.00
                                trust litigation.
08/07/2017    JVR     BL        Prepare for hearing on motion to dismiss (Elkwood       3.30      1025.00        $3,382.50
                                complaint).
08/07/2017    JWL     BL        Respond to questions from J. Richards regarding         2.80       695.00        $1,946.00
                                Elkwood litigation and research regarding same.
08/08/2017    JVR     BL        Prepare for hearing on motion to dismiss (Elkwood).     5.80      1025.00        $5,945.00
08/08/2017    JWL     BL        Research regarding Elkwood motion to dismiss in         3.00       695.00        $2,085.00
                                response to question of J. Richards.
08/09/2017    JVR     BL        Prepare for hearing on motion to dismiss                0.70      1025.00         $717.50
                                Elkwood/Fieldbrook complaint.
08/09/2017    JWL     BL        Research regarding 9019 objections and responses.       1.00       695.00         $695.00
08/11/2017    JVR     BL        Prepare for hearing on motion to dismiss (Elkwood       0.30      1025.00         $307.50
                                adversary).
08/11/2017    JWL     BL        Prepare reply to Settlement objections (Abselet) and    2.20       695.00        $1,529.00
                                calls with J. Richards regarding same.
08/14/2017    GSG     BL        Confer with J. Lucas re background and disputed         0.80       725.00         $580.00
                                issues.
08/14/2017    GSG     BL        Research / review cases re evidence supporting 9019     3.40       725.00        $2,465.00
                                motion.
08/14/2017    GSG     BL        Draft response to evidentiary objections re 9019        6.90       725.00        $5,002.50
                                motion.
08/14/2017    JWL     BL        Meeting with G. Greenwood regarding evidentiary         8.30       695.00        $5,768.50
                                objections to Abselet settlement (.8); research and
                                prepare response to settlement objections (7.5).
08/14/2017    SWG     BL        Research for reply brief.                               0.50       450.00         $225.00
08/15/2017    GSG     BL        Revise evidentiary objection response re 9019           0.80       725.00         $580.00
                                motion.
08/15/2017    JWL     BL        Research and draft response to settlement objections    6.50       695.00        $4,517.50
                                (3.8); calls with H. David regarding responses (.5);
                                review response to evidentiary objections (1.5);
                                prepare stipulation extending status conference for
                                APII District Court litigation (.7).
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
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Gottlieb, David K - Yashouafar                                                                 Invoice 117433
32274     00001                                                                                August 31, 2017


                                                                                       Hours           Rate       Amount
08/21/2017    JVR     BL        Prepare for 8/22 hearings.                              3.80      1025.00        $3,895.00
08/21/2017    JVR     BL        Conference with J. Lucas re 8/22 hearings.              0.30      1025.00         $307.50
08/21/2017    JWL     BL        Prepare amended Elkwood complaint (1.7); prepare        4.30       695.00        $2,988.50
                                for hearing on settlement and motion to dismiss
                                Elkwood complaint (.6); locate Sky LV sale
                                proceeds (.3); review court's tenative regarding
                                settlement and motion to dismiss (.8); call with J.
                                Richards regarding same (.4); email to committee
                                counsel regarding abandonment issues (.5).
08/22/2017    JVR     BL        Attend hearing on motion to convert/approve             4.50      1025.00        $4,612.50
                                Abselet settlement
08/22/2017    JWL     BL        Attend hearing on settlement and motion to dismiss      3.50       695.00        $2,432.50
                                complaint (1.5); prepare notice of 9019 per court's
                                directive (1.0); and work on service list (1.0);
08/23/2017    JVR     BL        Review draft Second Amended Complaint                   0.20      1025.00         $205.00
                                (Fieldbrook/Elkwood).
08/23/2017    JVR     BL        Draft email to H. David regarding Rexford/Chalette      0.20      1025.00         $205.00
                                litigation.
08/23/2017    JWL     BL        Revise Elkwood complaint to add claims and clarify      0.60       695.00         $417.00
                                defendants.
08/24/2017    JVR     BL        Prepare for hearing on motion to dismiss                3.20      1025.00        $3,280.00
                                (Fieldbrook/Elkwood).
08/28/2017    JVR     BL        Prepare for hearing on motion to dismiss                1.20      1025.00        $1,230.00
                                (Fieldbrook/Elkwood).
08/28/2017    JVR     BL        Attend hearing on motion to dismiss                     4.50      1025.00        $4,612.50
                                (Fieldbrook/Elkwood).
08/28/2017    JVR     BL        Prepare for hearing on motion to dismiss                2.30      1025.00        $2,357.50
                                (Elkwood/Fieldbrook).
08/28/2017    JWL     BL        Attend telephonically Elkwood motion to dismiss         2.80       695.00        $1,946.00
                                hearing (2.3); follow up with J. Richards regarding
                                open issues for the same (.5).
08/29/2017    JVR     BL        Research legal issues raised during oral argument re    0.40      1025.00         $410.00
                                motion to dismiss (Fieldbrook/Elkwood).
08/29/2017    JWL     BL        Research regarding effect of tendering deed after       6.00       695.00        $4,170.00
                                foreclosure sale (2.0); work on JCBL summary
                                judgment motion (.5); prepare motion to amend
                                Elkwood complaint and declaration in support (3.5).
08/30/2017    JVR     BL        Review draft motion to amend complaint                  0.10      1025.00         $102.50
                                (Elkwood/Fieldbrook).
08/31/2017    JVR     BL        Research re validity of Elkwood and Fieldbrook          1.60      1025.00        $1,640.00
                                foreclosures.
08/31/2017    JWL     BL        Revise motion for leave to amend Elkwood                2.50       695.00        $1,737.50
                                complaint (1.2); research regarding foreclosure
                                issues (1.0).
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
                                                               Entered 12/01/20
                                                                        01/08/19 18:29:18
                                                                                 15:53:32                    Desc
                                                                                                             Desc
                                      Main Document
                                      Main Document    Page  593 of 750
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Gottlieb, David K - Yashouafar                                                                  Invoice 117433
32274     00001                                                                                 August 31, 2017


                                                                                        88.50                     $72,434.00

  Case Administration [B110]
08/01/2017    BDD     CA        Attend to misc. calendaring matters                      0.10       350.00           $35.00
08/01/2017    BDD     CA        Email M. Kulick re service of docs                       0.10       350.00           $35.00
08/21/2017    BDD     CA        Attend to misc. calendaring matters                      0.20       350.00           $70.00
08/22/2017    BDD     CA        Review master service lists; confer with J. Lucas and    0.60       350.00          $210.00
                                M. Kulick re same; compare/contrast lists
08/22/2017    BDD     CA        Review motions to limit notice/service lists for both    0.20       350.00           $70.00
                                Yashouafar matters; email J. Lucas re same
08/22/2017    BDD     CA        Email J. Lucas re service lists as updated by the        0.10       350.00           $35.00
                                court
08/23/2017    JVR     CA        Revise notice to Oklahoma District Cort regarding        0.10      1025.00          $102.50
                                status of Abselet settlement.
                                                                                         1.40                       $557.50

  Claims Admin/Objections[B310]
08/09/2017    JVR     CO        Review objections to motion to approve Abselet           1.40      1025.00         $1,435.00
                                plan (.8); Respond to e-mail from E. Israel re
                                settlement issues (.3); Draft summary of settlement
                                objections (.3).
08/09/2017    JVR     CO        Review e-mail from H. David re objections to             0.10      1025.00          $102.50
                                settlement motion.
08/09/2017    JVR     CO        Draft response to E. Israel re questions regarding       0.60      1025.00          $615.00
                                Abselet settlement.
08/10/2017    JVR     CO        Revise e-mail to E. Israel re Abselet settlement.        0.10      1025.00          $102.50
08/10/2017    JVR     CO        Review documents re Sina Abselet claims.                 0.40      1025.00          $410.00
08/10/2017    JVR     CO        Conference with J. Lucas re objections re Abselet        0.30      1025.00          $307.50
                                settlement.
08/12/2017    JVR     CO        Review Barlava objections to Abselet settlement          0.60      1025.00          $615.00
                                (.4); Draft e-mail to client re same (.2).
08/16/2017    JWL     CO        Review M. Yashouafar amendment to schedules              5.60       695.00         $3,892.00
                                (.5); research and memo regarding effect of
                                exemption on insurance policy (5.1).
08/17/2017    JWL     CO        Reivew Massoud amendment to schedules B and C            2.00       695.00         $1,390.00
                                (.5); research regarding exemptions of insurance
                                policies and spendthrift trusts (1.5).
08/18/2017    JWL     CO        Review Massoud trust and insurance policies (1.3);       3.50       695.00         $2,432.50
                                review case law regarding insurance policies,
                                exemptions therefor, and exclusions of spendthrift
                                trusts (2.2).
08/21/2017    JVR     CO        Review revisions to Abselet settlement agreement         0.20      1025.00          $205.00
                                and order.
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
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                                      Main Document
                                      Main Document    Page  594 of 750
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Gottlieb, David K - Yashouafar                                                                   Invoice 117433
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                                                                                         Hours           Rate        Amount
08/21/2017    JVR     CO        Telephone H. Weg re Abselet settlement.                   0.10      1025.00          $102.50
08/23/2017    JVR     CO        Review revisions to settlement approval order             0.10      1025.00          $102.50
                                (Abselet).
08/30/2017    JWL     CO        Call with K. Meek regarding reservation of rights         0.30       695.00          $208.50
                                under settlement order. (Abselet)
                                                                                         15.30                     $11,920.50

  Financial Filings [B110]
08/30/2017    JVR     FF        Revise MOR questionnaire answers.                         0.10      1025.00          $102.50
                                                                                          0.10                       $102.50

  Settlement
08/01/2017    JWL     SE        Revise assignment agreement for p'ship interests          4.00       695.00         $2,780.00
                                (.8); review and revise settlement agreement and
                                order for purposes of filing (1.7); arrange for filing
                                and service of 9019 motion (1.5);
08/10/2017    JWL     SE        Review settlement objections (1.0); call with J.          3.00       695.00         $2,085.00
                                Richards regarding same (.5); prepare reply to
                                settlement objections (1.5).
08/16/2017    JWL     SE        Call with H. David regarding form of settlement           0.50       695.00          $347.50
                                order.
08/17/2017    JWL     SE        Review revised settlement agreement per H. David          0.50       695.00          $347.50
                                (.5);
08/18/2017    JWL     SE        Prepare notice of filing blackline of settlement and      0.50       695.00          $347.50
                                order.
08/23/2017    JWL     SE        Revise supplemental notice regarding continued            2.10       695.00         $1,459.50
                                hearing on settlement (.8); prepare notice of
                                amendment to settlement agreement (.5); arrange for
                                filing and service of the foregoing (.8);
                                                                                         10.60                      $7,367.00

 TOTAL SERVICES FOR THIS MATTER:                                                                                $92,699.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
                                                                       01/08/19 18:29:18
                                                                                15:53:32      Desc
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                                     Main Document
                                     Main Document    Page  595 of 750
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Expenses
 07/28/2017   CC        Conference Call [E105] AT&T Conference Call, JVR             9.66

 08/01/2017   AS        Attorney Service [E107] Transwest Investigations, Inv.     576.00
                        71188, JVR

 08/01/2017   CL        32274.00001 Courtlink charges for 08/01/2017                 0.53

 08/01/2017   CL        32274.00001 Courtlink charges for 08/01/2017                 0.29

 08/01/2017   CL        32274.00001 Courtlink charges for 08/01/2017                 0.29

 08/01/2017   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                 1.50

 08/01/2017   RE2       SCAN/COPY ( 71 @0.10 PER PG)                                 7.10

 08/02/2017   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                 1.90

 08/02/2017   RE2       SCAN/COPY ( 37 @0.10 PER PG)                                 3.70

 08/02/2017   RE2       SCAN/COPY ( 44 @0.10 PER PG)                                 4.40

 08/02/2017   RE2       SCAN/COPY ( 45 @0.10 PER PG)                                 4.50

 08/02/2017   RE2       SCAN/COPY ( 49 @0.10 PER PG)                                 4.90

 08/03/2017   FE        32274.00001 FedEx Charges for 08-03-17                      13.22

 08/03/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                  0.30

 08/03/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                  0.30

 08/03/2017   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                 1.50



 08/03/2017   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                 1.50



 08/03/2017   RE2       SCAN/COPY ( 71 @0.10 PER PG)                                 7.10



 08/03/2017   RE2       SCAN/COPY ( 71 @0.10 PER PG)                                 7.10



 08/04/2017   PO        32274.00001 :Postage Charges for 08-04-17                   53.82
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
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                                     Main Document
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 08/04/2017   RE        ( 274 @0.20 PER PG)                                            54.80

 08/04/2017   RE        ( 315 @0.20 PER PG)                                            63.00

 08/04/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50

 08/04/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50

 08/04/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60

 08/04/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                    1.10

 08/07/2017   LN        32274.00001 Lexis Charges for 08-07-17                         11.56

 08/07/2017   LV        Legal Vision Atty/Mess. Service- Inv. 48485, San Fernando      65.00
                        Bankruptcy Court, JVR

 08/07/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                     0.80

 08/07/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                    1.10

 08/07/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20

 08/07/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30

 08/07/2017   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00

 08/07/2017   RE2       SCAN/COPY ( 25 @0.10 PER PG)                                    2.50

 08/07/2017   RE2       SCAN/COPY ( 36 @0.10 PER PG)                                    3.60

 08/08/2017   LN        32274.00001 Lexis Charges for 08-08-17                         44.59

 08/08/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30



 08/08/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                     0.40



 08/08/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                     0.40



 08/08/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50



 08/08/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                    1.10
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
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                                     Main Document
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                                                      Page 293 of 443

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 08/08/2017   RE2       SCAN/COPY ( 21 @0.10 PER PG)                               2.10

 08/08/2017   RE2       SCAN/COPY ( 23 @0.10 PER PG)                               2.30

 08/08/2017   RE2       SCAN/COPY ( 71 @0.10 PER PG)                               7.10

 08/09/2017   LN        32274.00001 Lexis Charges for 08-09-17                     7.07

 08/09/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 08/09/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 08/09/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 08/09/2017   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                0.70

 08/09/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80

 08/09/2017   RE2       SCAN/COPY ( 71 @0.10 PER PG)                               7.10

 08/10/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80

 08/10/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80

 08/10/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10

 08/10/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10

 08/11/2017   LN        32274.00001 Lexis Charges for 08-11-17                     0.27

 08/14/2017   LN        32274.00001 Lexis Charges for 08-14-17                     1.76

 08/14/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10



 08/14/2017   RE2       SCAN/COPY ( 30 @0.10 PER PG)                               3.00



 08/15/2017   FE        32274.00001 FedEx Charges for 08-15-17                    13.35



 08/15/2017   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                0.70



 08/15/2017   RE2       SCAN/COPY ( 35 @0.10 PER PG)                               3.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
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                                     Main Document
                                     Main Document    Page  598 of 750
                                                      Page 294 of 443

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Gottlieb, David K - Yashouafar                                                 Invoice 117433
32274     00001                                                                August 31, 2017


 08/16/2017   CL        32274.00001 Courtlink charges for 08/16/2017               0.53

 08/16/2017   CL        32274.00001 Courtlink charges for 08/16/2017               0.29

 08/16/2017   CL        32274.00001 Courtlink charges for 08/16/2017               0.29

 08/16/2017   LN        32274.00001 Lexis Charges for 08-16-17                    47.57

 08/17/2017   LN        32274.00001 Lexis Charges for 08-17-17                    33.02

 08/17/2017   PO        Postage [E108] SF Mail Log                                 1.76

 08/17/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 08/17/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20

 08/17/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20

 08/17/2017   RE2       SCAN/COPY ( 29 @0.10 PER PG)                               2.90

 08/18/2017   FE        32274.00001 FedEx Charges for 08-18-17                    13.35

 08/18/2017   LN        32274.00001 Lexis Charges for 08-18-17                    95.69

 08/18/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 08/18/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 08/18/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 08/18/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 08/18/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30



 08/18/2017   RE2       SCAN/COPY ( 42 @0.10 PER PG)                               4.20



 08/21/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10



 08/21/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10



 08/21/2017   RE2       SCAN/COPY ( 21 @0.10 PER PG)                               2.10
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
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                                     Main Document
                                     Main Document    Page  599 of 750
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 08/21/2017   RE2       SCAN/COPY ( 26 @0.10 PER PG)                                    2.60

 08/21/2017   RE2       SCAN/COPY ( 27 @0.10 PER PG)                                    2.70

 08/21/2017   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                    3.20

 08/21/2017   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                    3.20

 08/21/2017   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                    3.50

 08/21/2017   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                    4.20

 08/21/2017   RE2       SCAN/COPY ( 51 @0.10 PER PG)                                    5.10

 08/22/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20

 08/22/2017   RE2       SCAN/COPY ( 31 @0.10 PER PG)                                    3.10

 08/22/2017   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                    4.60

 08/22/2017   RE2       SCAN/COPY ( 63 @0.10 PER PG)                                    6.30

 08/23/2017   LV        Legal Vision Atty/Mess. Service- Inv. 48676, San Fernando      65.00
                        Bankruptcy Court, JWL

 08/23/2017   PO        32274.00001 :Postage Charges for 08-23-17                     108.54

 08/23/2017   RE        ( 1485 @0.20 PER PG)                                          297.00

 08/23/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30

 08/23/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30

 08/23/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                     0.40



 08/23/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50



 08/23/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60



 08/23/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20



 08/23/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
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                                     Main Document
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 08/24/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                        0.80

 08/24/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                        0.80

 08/24/2017   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                        0.90

 08/24/2017   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                       1.00

 08/24/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                       1.10

 08/25/2017   OS        Transwest Investigations, Inv. 71244, JVR                      1,758.10

 08/25/2017   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                        0.90

 08/25/2017   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                       1.00

 08/25/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                       1.30

 08/28/2017   CC        Conference Call [E105] Court Call, August 1, 2017 through         72.50
                        August 31, 2017, JWL

 08/29/2017   LN        32274.00001 Lexis Charges for 08-29-17                            33.31

 08/29/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                       1.30

 08/29/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                        0.80

 08/31/2017   CC        Conference Call [E105] Court Call, August 1, 2017 through         87.50
                        August 31, 2017, JWL

 08/31/2017   PAC       Pacer - Court Research                                            89.40

 08/31/2017   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                       2.20



 08/31/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                       1.40



   Total Expenses for this Matter                                                   $3,787.46
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
                                              Doc 797
                                                   648 Filed
                                                       Filed 12/01/20
                                                             01/08/19 Entered
                                                                       Entered 12/01/20
                                                                                01/08/19 18:29:18
                                                                                         15:53:32                     Desc
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                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 08/31/2017

Total Fees                                                                                                                 $92,699.00
Chargeable costs and disbursements                                                                                          $3,787.46
Total Due on Current Invoice.....................                                                                          $96,486.46


Outstanding Balance from prior Invoices as of 08/31/2017       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed           Balance Due


     114542                        09/30/2016                  $70,136.00                            $430.31               $70,566.31
     114911                        10/31/2016                  $98,085.50                           $7,280.89          $105,366.39
     115117                        11/30/2016                  $87,345.00                           $8,776.62              $96,121.62
     115185                        12/31/2016                  $73,344.00                           $2,031.97              $75,375.97
     115643                        01/31/2017                  $54,361.00                           $2,260.63              $56,621.63
     115896                        02/28/2017                  $50,737.50                            $803.31               $51,540.81
     116150                        03/31/2017                  $51,677.50                           $4,962.17              $56,639.67
     116402                        04/30/2017                 $104,852.00                           $9,398.28          $114,250.28
     116665                        05/31/2017                 $100,431.00                          $10,790.05          $111,221.05
     116970                        06/30/2017                  $47,800.00                           $3,522.61              $51,322.61
     117273                        07/31/2017                  $52,383.00                            $297.68               $52,680.68


Total Amount Due on Current and Prior Invoices                                                                         $938,193.48
      Case
      Case 1:16-bk-12255-GM
           1:16-bk-12255-GM    Doc
                               Doc 797
                                    648 Filed
                                        Filed 12/01/20
                                              01/08/19 Entered
                                                        Entered 12/01/20
                                                                 01/08/19 18:29:18
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                               Main Document    Page  602 of 750
                                                Page 298 of 443

                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    September 30, 2017
JVR                                                                 Invoice 117636
                                                                    Client  32274
                                                                    Matter  00001
                                                                            JVR
RE: Yashouafar

___________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 09/30/2017
                 FEES                                                $28,052.50
                 EXPENSES                                               $749.05
                 TOTAL CURRENT CHARGES                               $28,801.55

                 BALANCE FORWARD                                    $936,996.97
                 TOTAL BALANCE DUE                                  $965,798.52
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM            Doc
                                        Doc 797
                                             648 Filed
                                                 Filed 12/01/20
                                                       01/08/19 Entered
                                                                 Entered 12/01/20
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                                        Main Document
                                        Main Document    Page  603 of 750
                                                         Page 299 of 443

Pachulski Stang Ziehl & Jones LLP                                                      Page:     2
Gottlieb, David K - Yashouafar                                                         Invoice 117636
32274     00001                                                                        September 30, 2017




 Summary of Services by Task Code
 Task Code             Description                                             Hours                    Amount

 AA                    Asset Analysis/Recovery[B120]                            0.20                        $205.00
 BL                    Bankruptcy Litigation [L430]                            31.40                  $23,347.00
 CA                    Case Administration [B110]                               5.40                   $3,783.00
 CO                    Claims Admin/Objections[B310]                            0.70                        $717.50
                                                                               37.70                  $28,052.50

 Summary of Services by Professional
 ID           Name                                     Title           Rate             Hours               Amount

 BDD          Dassa, Beth D.                           Paralegal      350.00             0.20               $70.00
 JVR          Richards, Jeremy V.                      Partner       1025.00             9.60         $9,840.00
 JWL          Lucas, John W.                           Partner        695.00            24.00        $16,680.00
 LAF          Forrester, Leslie A.                     Other          375.00             3.90         $1,462.50
                                                                                       37.70          $28,052.50




 Summary of Expenses
Description                                                                                                 Amount

CourtLink                                                                                                     $3.75



Federal Express [E108]                                                                                       $13.32



Lexis/Nexis- Legal Research [E                                                                              $285.80



Legal Vision Atty Mess Service                                                                              $120.00



Pacer - Court Research                                                                                       $51.20
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
                                                   01/08/19 Entered
                                                             Entered 12/01/20
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                                    Main Document
                                    Main Document    Page  604 of 750
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Pachulski Stang Ziehl & Jones LLP                                             Page:     3
Gottlieb, David K - Yashouafar                                                Invoice 117636
32274     00001                                                               September 30, 2017


 Summary of Expenses
Description                                                                                        Amount

Postage [E108]                                                                                      $14.18



Reproduction/ Scan Copy                                                                            $260.80



                                                                                                   $749.05
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
                                                               Entered 12/01/20
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                                      Main Document
                                      Main Document    Page  605 of 750
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Pachulski Stang Ziehl & Jones LLP                                                                 Page:     4
Gottlieb, David K - Yashouafar                                                                    Invoice 117636
32274     00001                                                                                   September 30, 2017


                                                                                          Hours          Rate          Amount
  Asset Analysis/Recovery[B120]
09/08/2017    JVR     AA        Telephone A. Kim re RLI mediation.                         0.20      1025.00           $205.00
                                                                                           0.20                        $205.00

  Bankruptcy Litigation [L430]
09/01/2017    JVR     BL        Conference with J. Lucas re Elkwood/Fieldbrook             0.30      1025.00           $307.50
                                claims.
09/01/2017    JWL     BL        Research regarding potential amendment to                  1.10       695.00           $764.50
                                Elkwood complaint (.8); call with J. Richards
                                regarding same (.3).
09/06/2017    JWL     BL        Research regarding enforcement of Elkwood quiet            4.00       695.00      $2,780.00
                                title claim.
09/07/2017    JWL     BL        Research regarding Elkwood foreclosure claims.             1.50       695.00      $1,042.50
09/11/2017    JWL     BL        Prepare stipulation to continue filing status report in    0.80       695.00           $556.00
                                Abselet state court action (.8);
09/14/2017    JWL     BL        Revise motion to compel debtors to turnover                0.50       695.00           $347.50
                                documents to the trustee.
09/15/2017    JVR     BL        Prepare for continued hearing (Abselet settlement).        0.40      1025.00           $410.00
09/18/2017    JVR     BL        Prepare for 9/19/17 hearings; Draft order approving        1.20      1025.00      $1,230.00
                                abandonment of assets.
09/19/2017    JVR     BL        Attend hearing on motions to dismiss and approve           4.00      1025.00      $4,100.00
                                Abselet settlement.
09/21/2017    JWL     BL        Research regarding property rights and fraudulent          5.40       695.00      $3,753.00
                                transfer issues for JCBL trust complaint.
09/22/2017    LAF     BL        Legal resarch re: Fraudulent transfer & making a           0.50       375.00           $187.50
                                revocable trust irrevocable.
09/25/2017    LAF     BL        Legal resarch re: Fraudulent transfer & amending           0.30       375.00           $112.50
                                revocable trust to make it irrevocable.
09/27/2017    LAF     BL        Legal research re: Amending trust from revocable to        3.10       375.00      $1,162.50
                                irrevocable & fraudulent transfer liability.
09/28/2017    JVR     BL        Review opinion re motion to dismiss                        2.20      1025.00      $2,255.00
                                Elkwood/Fieldbrook complaint (1.4); Conference
                                with J. Lucas re amending complaint (.3); Telephone
                                H. David re same (.5).
09/28/2017    JVR     BL        Review outstanding issues re Elkwood/Fieldbrook            0.30      1025.00           $307.50
                                discovery.
09/28/2017    JWL     BL        Review court's decision regarding motion to dismiss        5.80       695.00      $4,031.00
                                Elkwood complaint; call with J. Richards regarding
                                same; review complaint in response to court
                                decision.
                                                                                          31.40                  $23,347.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
                                                               Entered 12/01/20
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                                      Main Document    Page  606 of 750
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Pachulski Stang Ziehl & Jones LLP                                                              Page:     5
Gottlieb, David K - Yashouafar                                                                 Invoice 117636
32274     00001                                                                                September 30, 2017


  Case Administration [B110]
09/05/2017    JWL     CA        Draft third case status report.                         1.50       695.00      $1,042.50
09/11/2017    JWL     CA        Prepare motion to compel production of info from        1.50       695.00      $1,042.50
                                debtors so that trustee can administer the cases.
09/12/2017    JWL     CA        Prepare email to committee regarding exemption          0.40       695.00           $278.00
                                and disclosure of whole life insurance policies.
09/12/2017    JWL     CA        Draft motion to compel to debtors to turnover info to   1.00       695.00           $695.00
                                trustee for case admin.
09/14/2017    JWL     CA        Call with B. Naso regarding monetizing whole life       0.50       695.00           $347.50
                                policies of the Debtors.
09/20/2017    JVR     CA        Draft status report (Trustee v. Abselet - District      0.30      1025.00           $307.50
                                Court).
09/26/2017    BDD     CA        Email M. Desjardien re calendaring matters              0.10       350.00            $35.00
09/28/2017    BDD     CA        Attend to misc. calendaring matters                     0.10       350.00            $35.00
                                                                                        5.40                   $3,783.00

  Claims Admin/Objections[B310]
09/05/2017    JVR     CO        Review and respond to e-mails re comments to            0.40      1025.00           $410.00
                                proposed form of order (Abselet settlement).
09/05/2017    JVR     CO        Telephone H. Weg re form of approval order              0.10      1025.00           $102.50
                                (Abselet).
09/07/2017    JVR     CO        Telephone K. Meeks re approval order (Abselet           0.10      1025.00           $102.50
                                settlement).
09/08/2017    JVR     CO        Review proposed orders re Abselet settlement.           0.10      1025.00           $102.50
                                                                                        0.70                        $717.50

 TOTAL SERVICES FOR THIS MATTER:                                                                            $28,052.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
                                                                       01/08/19 18:29:18
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                                     Main Document
                                     Main Document    Page  607 of 750
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Pachulski Stang Ziehl & Jones LLP                                              Page:     6
Gottlieb, David K - Yashouafar                                                 Invoice 117636
32274     00001                                                                September 30, 2017



Expenses
 08/14/2017   LN        32274.00001 Lexis Charges for 08-14-17                    13.19

 08/15/2017   LN        32274.00001 Lexis Charges for 08-15-17                     0.27

 09/01/2017   LN        32274.00001 Lexis Charges for 09-01-17                     0.52

 09/05/2017   CL        32274.00001 Courtlink charges for 9/5/2017                 0.81

 09/05/2017   CL        32274.00001 Courtlink charges for 9/5/2017                 0.44

 09/05/2017   CL        32274.00001 Courtlink charges for 9/5/2017                 0.44

 09/05/2017   CL        32274.00001 Courtlink charges for 9/5/2017                 0.81

 09/06/2017   FE        32274.00001 FedEx Charges for 09-06-17                    13.32

 09/06/2017   LN        32274.00001 Lexis Charges for 09-06-17                     9.17

 09/06/2017   PO        Postage [E108] SF Mail Log                                11.04

 09/06/2017   RE2       SCAN/COPY ( 24 @0.10 PER PG)                               2.40

 09/06/2017   RE2       SCAN/COPY ( 24 @0.10 PER PG)                               2.40

 09/06/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80

 09/06/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              190.00

 09/06/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80

 09/06/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10



 09/06/2017   RE2       SCAN/COPY ( 192 @0.10 PER PG)                             19.20



 09/06/2017   RE2       SCAN/COPY ( 15 @0.10 PER PG)                               1.50



 09/06/2017   RE2       SCAN/COPY ( 15 @0.10 PER PG)                               1.50



 09/06/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
                                                                       01/08/19 18:29:18
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                                     Main Document
                                     Main Document    Page  608 of 750
                                                      Page 304 of 443

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Gottlieb, David K - Yashouafar                                                     Invoice 117636
32274     00001                                                                    September 30, 2017

 09/07/2017   PO        32274.00001 :Postage Charges for 09-07-17                      0.46

 09/11/2017   PO        Postage [E108] SF Mail Log                                     1.76

 09/11/2017   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                   1.60

 09/11/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                   1.20

 09/12/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                   1.40

 09/14/2017   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                   2.10

 09/15/2017   RE2       SCAN/COPY ( 23 @0.10 PER PG)                                   2.30

 09/18/2017   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                   1.90

 09/18/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20

 09/18/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20

 09/18/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                    0.30

 09/18/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                   1.10

 09/18/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20

 09/18/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                    0.30

 09/19/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20

 09/20/2017   LV        Legal Vision Atty/Mess. Service- Inv. 49067, Los Angeles      55.00
                        District Court, JVR

 09/20/2017   PO        32274.00001 :Postage Charges for 09-20-17                      0.92



 09/20/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                    0.50



 09/21/2017   LN        32274.00001 Lexis Charges for 09-21-17                       105.58



 09/22/2017   LN        32274.00001 Lexis Charges for 09-22-17                        11.14



 09/22/2017   LN        32274.00001 Lexis Charges for 09-22-17                        10.61
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
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                                     Main Document
                                     Main Document    Page  609 of 750
                                                      Page 305 of 443

Pachulski Stang Ziehl & Jones LLP                                                    Page:     8
Gottlieb, David K - Yashouafar                                                       Invoice 117636
32274     00001                                                                      September 30, 2017

 09/25/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                      0.20

 09/26/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                      0.20

 09/26/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                      0.20

 09/26/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                      0.40

 09/27/2017   CL        32274.00001 Courtlink charges for 9/27/2017                      0.43

 09/27/2017   CL        32274.00001 Courtlink charges for 9/27/2017                      0.38

 09/27/2017   CL        32274.00001 Courtlink charges for 9/27/2017                      0.44

 09/27/2017   LN        32274.00001 Lexis Charges for 09-27-17                         135.32

 09/27/2017   LV        Legal Vision Atty/Mess. Service- Inv. 49151, San Fernando       65.00
                        Bankruptcy Court, JVR

 09/27/2017   RE2       SCAN/COPY ( 83 @0.10 PER PG)                                     8.30

 09/27/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                      0.40

 09/27/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                      0.40

 09/28/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                      0.60

 09/28/2017   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                      0.60

 09/28/2017   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                     4.60

 09/28/2017   RE2       SCAN/COPY ( 49 @0.10 PER PG)                                     4.90

 09/28/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                     1.10



 09/28/2017   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                     4.60



 09/30/2017   PAC       Pacer - Court Research                                          51.20



   Total Expenses for this Matter                                                   $749.05
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
                                              Doc 797
                                                   648 Filed
                                                       Filed 12/01/20
                                                             01/08/19 Entered
                                                                       Entered 12/01/20
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                                              Main Document
                                              Main Document    Page  610 of 750
                                                               Page 306 of 443

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Gottlieb, David K - Yashouafar                                                                           Invoice 117636
32274     00001                                                                                          September 30, 2017




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 09/30/2017

Total Fees                                                                                                              $28,052.50
Chargeable costs and disbursements                                                                                            $749.05
Total Due on Current Invoice.....................                                                                       $28,801.55


Outstanding Balance from prior Invoices as of 09/30/2017       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed           Balance Due


     114542                        09/30/2016                  $70,136.00                            $430.31            $70,566.31
     114911                        10/31/2016                  $98,085.50                           $7,280.89          $105,366.39
     115117                        11/30/2016                  $87,345.00                           $8,776.62           $96,121.62
     115185                        12/31/2016                  $73,344.00                           $2,031.97           $75,375.97
     115643                        01/31/2017                  $54,361.00                           $2,260.63           $56,621.63
     115896                        02/28/2017                  $50,737.50                            $803.31            $51,540.81
     116150                        03/31/2017                  $51,677.50                           $4,962.17           $56,639.67
     116402                        04/30/2017                 $104,852.00                           $9,398.28          $114,250.28
     116665                        05/31/2017                 $100,431.00                          $10,790.05          $110,024.54
     116970                        06/30/2017                  $47,800.00                           $3,522.61           $51,322.61
     117273                        07/31/2017                  $52,383.00                            $297.68            $52,680.68
     117433                        08/31/2017                  $92,699.00                           $3,787.46           $96,486.46


Total Amount Due on Current and Prior Invoices                                                                         $965,798.52
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM     Doc
                               Doc 797
                                    648 Filed
                                        Filed 12/01/20
                                              01/08/19 Entered
                                                        Entered 12/01/20
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                               Main Document
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                                                Page 307 of 443

                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    October 31, 2017
D. Gottlieb & Associates                                            Invoice 117926
17000 Ventura Blvd #300                                             Client   32274
Encino, CA 91316                                                    Matter   00001
                                                                             JVR
RE: Yashouafar

___________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 10/31/2017
                 FEES                                                $30,300.50
                 EXPENSES                                             $1,696.72
                 TOTAL CURRENT CHARGES                               $31,997.22

                 BALANCE FORWARD                                    $965,798.52
                 TOTAL BALANCE DUE                                  $997,795.74
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM           Doc
                                       Doc 797
                                            648 Filed
                                                Filed 12/01/20
                                                      01/08/19 Entered
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                                       Main Document
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                                                        Page 308 of 443

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Gottlieb, David K - Yashouafar                                                        Invoice 117926
32274     00001                                                                       October 31, 2017




 Summary of Services by Task Code
 Task Code            Description                                             Hours                        Amount

 BL                   Bankruptcy Litigation [L430]                            41.60                  $29,788.00
 LN                   Litigation (Non-Bankruptcy)                              0.50                        $512.50
                                                                              42.10                  $30,300.50

 Summary of Services by Professional
 ID           Name                                   Title            Rate             Hours               Amount

 BDD          Dassa, Beth D.                         Paralegal       350.00             2.10              $735.00
 JJK          Kim, Jonathan J.                       Counsel         750.00            23.70        $17,775.00
 JVR          Richards, Jeremy V.                    Partner        1025.00             1.40             $1,435.00
 JWL          Lucas, John W.                         Partner         695.00            14.90        $10,355.50
                                                                                      42.10          $30,300.50




 Summary of Expenses
Description                                                                                                Amount

Conference Call [E105]                                                                                      $35.00



Lexis/Nexis- Legal Research [E                                                                             $169.32



Legal Vision Atty Mess Service                                                                              $65.00



Outside Services                                                                                         $1,024.00



Pacer - Court Research                                                                                      $45.30



Postage [E108]                                                                                              $41.70
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
                                                   01/08/19 Entered
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                                    Main Document
                                    Main Document    Page  613 of 750
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Gottlieb, David K - Yashouafar                                                Invoice 117926
32274     00001                                                               October 31, 2017


 Summary of Expenses
Description                                                                                       Amount



Reproduction Expense [E101]                                                                       $285.00



Reproduction/ Scan Copy                                                                            $31.40



                                                                                                 $1,696.72
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
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                                      Main Document
                                      Main Document    Page  614 of 750
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Pachulski Stang Ziehl & Jones LLP                                                              Page:     4
Gottlieb, David K - Yashouafar                                                                 Invoice 117926
32274     00001                                                                                October 31, 2017


                                                                                       Hours           Rate        Amount
  Bankruptcy Litigation [L430]
10/02/2017    JWL     BL        Work on scheduling of status conferences for            0.50       695.00          $347.50
                                Elkwood action.
10/03/2017    BDD     BL        Email J. Lucas re Chase 2004 exam                       0.10       350.00           $35.00
10/03/2017    BDD     BL        Review service of Chase 2004 exam; email J. Lucas       0.10       350.00           $35.00
                                re same
10/03/2017    BDD     BL        Email M. Kulick re service of Chase 2004 motion         0.10       350.00           $35.00
10/03/2017    JWL     BL        Revise complaint in response to court's order           2.70       695.00         $1,876.50
                                regarding motion to dismiss.
10/04/2017    JVR     BL        Review draft amended complaint                          0.70      1025.00          $717.50
                                (Elkwood/Fieldbrook).
10/04/2017    JWL     BL        Revise Elkwood complaint in response to court's         3.60       695.00         $2,502.00
                                order for motion to dismiss.
10/05/2017    JVR     BL        Review revised Second Amended Complaint.                0.20      1025.00          $205.00
10/05/2017    JWL     BL        Revise Elkwood complaint in response to motion to       0.50       695.00          $347.50
                                dismiss.
10/06/2017    JWL     BL        Revise Elkwood complaint in response to comments        2.00       695.00         $1,390.00
                                from Abselets.
10/09/2017    JWL     BL        Revise second amended Elkwood complaint.                0.50       695.00          $347.50
10/10/2017    JWL     BL        Prepare stipulation and order regarding dismissal of    1.10       695.00          $764.50
                                action regarding avoidance of RLI stock execution.
10/13/2017    BDD     BL        Email J. Lucas re Elkwood 2nd amended complaint         0.10       350.00           $35.00
10/13/2017    JWL     BL        Prepare and collect info for serving second amended     0.50       695.00          $347.50
                                complaint.
10/17/2017    BDD     BL        Review service list re 2nd Amended Complaint to         0.20       350.00           $70.00
                                Quiet Title of the Rexford Home, et al.; email M.
                                Kulick re same
10/17/2017    BDD     BL        Email J. Lucas re service of Elkwood - 2nd              0.10       350.00           $35.00
                                Amended Complaint
10/17/2017    JWL     BL        Prepare for and attend hearing on motion to             1.00       695.00          $695.00
                                withdraw of counsel in JCBL action and status
                                conference.
10/18/2017    BDD     BL        Preparation of POS re 2nd amended complaint re          0.30       350.00          $105.00
                                Elkwood; email J. Lucas re same
10/18/2017    BDD     BL        Revisions to POS re Elkwood 2nd amended                 0.20       350.00           $70.00
                                complaint per J. Lucas comments
10/18/2017    BDD     BL        Email J. Lucas re additional information for service    0.10       350.00           $35.00
                                of registered agents re Elkwood 2nd Amended
                                Complaint re Rexford
10/18/2017    BDD     BL        Revisions to service list for 2nd amended complaint;    0.10       350.00           $35.00
                                email J. Lucas re same
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
                                                               Entered 12/01/20
                                                                        01/08/19 18:29:18
                                                                                 15:53:32                      Desc
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                                      Main Document
                                      Main Document    Page  615 of 750
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Gottlieb, David K - Yashouafar                                                                  Invoice 117926
32274     00001                                                                                 October 31, 2017


                                                                                        Hours           Rate        Amount
10/18/2017    BDD     BL        Email J. Lucas re filing/service of Elkwood 2nd          0.10       350.00           $35.00
                                amended complaint
10/18/2017    BDD     BL        Preparation of adv cover sheet re 2nd amended            0.20       350.00           $70.00
                                complaint (Elkwood); email J. Lucas re same
10/18/2017    BDD     BL        Email M. Kulick re 2nd amended complaint                 0.10       350.00           $35.00
                                (Elkwood)
10/18/2017    BDD     BL        Email M. Kulick re service of Complaint                  0.10       350.00           $35.00
10/18/2017    BDD     BL        Call with J. Lucas re 2nd Amended Complaint              0.20       350.00           $70.00
                                (Elkwood); email M. Kulick re same
10/18/2017    JWL     BL        Collect info and calls with B. Dassa regarding filing    1.00       695.00          $695.00
                                and service of second amended Elkwood complaint.
10/23/2017    JJK     BL        Emails/call Lucas on mtn. for summ. judgment re:         0.80       750.00          $600.00
                                trust (0.3); review docs (0.5).
10/23/2017    JWL     BL        Call with J. Kim regarding JCBL trust summary            0.50       695.00          $347.50
                                judgment motion.
10/24/2017    JJK     BL        Research and prepare notes for mtn. summary              4.40       750.00         $3,300.00
                                judgment re: Trust.
10/25/2017    JJK     BL        Research for mtn. for summ. judgment re: Trust.          5.50       750.00         $4,125.00
10/25/2017    JWL     BL        Respond to defendants named in Elkwood action.           1.00       695.00          $695.00
10/26/2017    JJK     BL        Research for mtn. for summ. judgment re: Trust           2.00       750.00         $1,500.00
                                adversary proceeding.
10/26/2017    JJK     BL        Research for mtn. for summ. judgment re: Trust           1.90       750.00         $1,425.00
                                adversary proceeding.
10/27/2017    JJK     BL        Research for mtn. for summ. judgment re: Trust           1.10       750.00          $825.00
                                adversary proceeding.
10/30/2017    JJK     BL        Prepare mtn for summary judgment re: Trust, and          4.10       750.00         $3,075.00
                                related doc review and research.
10/31/2017    JJK     BL        Prepare mtn for summary judgment re: Trust, and          3.90       750.00         $2,925.00
                                related doc review and research.
                                                                                        41.60                   $29,788.00

  Litigation (Non-Bankruptcy)
10/11/2017    JVR     LN        Review rulings on motions for summary judgment           0.50      1025.00          $512.50
                                (Oklahoma litigation).
                                                                                         0.50                       $512.50

 TOTAL SERVICES FOR THIS MATTER:                                                                               $30,300.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
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                                                                                                  Desc
                                     Main Document
                                     Main Document    Page  616 of 750
                                                      Page 312 of 443

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Gottlieb, David K - Yashouafar                                                      Invoice 117926
32274     00001                                                                     October 31, 2017



Expenses
 10/04/2017   LN        32274.00001 Lexis Charges for 10-04-17                         29.21

 10/04/2017   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                    3.50

 10/05/2017   RE2       SCAN/COPY ( 36 @0.10 PER PG)                                    3.60

 10/06/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30

 10/10/2017   OS        Transwest Investigations, Inv. 71294, JVR                   1,024.00

 10/10/2017   PO        Postage [E108] SF Postage                                       1.34

 10/10/2017   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00

 10/11/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40

 10/11/2017   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50

 10/17/2017   PO        Postage [E108] SF Postage                                       0.46

 10/18/2017   PO        32274.00001 :Postage Charges for 10-18-17                      39.90

 10/18/2017   RE        ( 1425 @0.20 PER PG)                                          285.00

 10/18/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30

 10/18/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10

 10/18/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10

 10/18/2017   RE2       SCAN/COPY ( 92 @0.10 PER PG)                                    9.20



 10/18/2017   RE2       SCAN/COPY ( 92 @0.10 PER PG)                                    9.20



 10/19/2017   LV        Legal Vision Atty/Mess. Service- Inv. 49470, San Fernando      65.00
                        Bankruptcy Court, BDD



 10/23/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20



 10/24/2017   CC        Conference Call [E105] Courtcall, October 1, 2017 through      35.00
                        October 31, 2017, JWL
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
                                                                       01/08/19 18:29:18
                                                                                15:53:32     Desc
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                                     Main Document
                                     Main Document    Page  617 of 750
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Gottlieb, David K - Yashouafar                                                 Invoice 117926
32274     00001                                                                October 31, 2017



 10/24/2017   LN        32274.00001 Lexis Charges for 10-24-17                    80.20

 10/25/2017   LN        32274.00001 Lexis Charges for 10-25-17                    59.91

 10/31/2017   PAC       Pacer - Court Research                                    45.30

   Total Expenses for this Matter                                           $1,696.72
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
                                              Doc 797
                                                   648 Filed
                                                       Filed 12/01/20
                                                             01/08/19 Entered
                                                                       Entered 12/01/20
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                                              Main Document
                                              Main Document    Page  618 of 750
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Gottlieb, David K - Yashouafar                                                                           Invoice 117926
32274     00001                                                                                          October 31, 2017




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 10/31/2017

Total Fees                                                                                                              $30,300.50
Chargeable costs and disbursements                                                                                          $1,696.72
Total Due on Current Invoice.....................                                                                       $31,997.22


Outstanding Balance from prior Invoices as of 10/31/2017       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed           Balance Due


     114542                        09/30/2016                  $70,136.00                            $430.31            $70,566.31
     114911                        10/31/2016                  $98,085.50                           $7,280.89          $105,366.39
     115117                        11/30/2016                  $87,345.00                           $8,776.62           $96,121.62
     115185                        12/31/2016                  $73,344.00                           $2,031.97           $75,375.97
     115643                        01/31/2017                  $54,361.00                           $2,260.63           $56,621.63
     115896                        02/28/2017                  $50,737.50                            $803.31            $51,540.81
     116150                        03/31/2017                  $51,677.50                           $4,962.17           $56,639.67
     116402                        04/30/2017                 $104,852.00                           $9,398.28          $114,250.28
     116665                        05/31/2017                 $100,431.00                          $10,790.05          $110,024.54
     116970                        06/30/2017                  $47,800.00                           $3,522.61           $51,322.61
     117273                        07/31/2017                  $52,383.00                            $297.68            $52,680.68
     117433                        08/31/2017                  $92,699.00                           $3,787.46           $96,486.46
     117636                        09/30/2017                  $28,052.50                            $749.05            $28,801.55


Total Amount Due on Current and Prior Invoices                                                                         $997,795.74
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM     Doc
                               Doc 797
                                    648 Filed
                                        Filed 12/01/20
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                                                        Entered 12/01/20
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     November 30, 2017
D. Gottlieb & Associates                                             Invoice 118035
17000 Ventura Blvd #300                                              Client  32274
Encino, CA 91316                                                     Matter  00001
                                                                             JVR
RE: Yashouafar

___________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 11/30/2017
                 FEES                                                 $32,397.00
                 EXPENSES                                              $3,966.33
                 TOTAL CURRENT CHARGES                                $36,363.33

                 BALANCE FORWARD                                     $997,795.74
                 TOTAL BALANCE DUE                                  $1,034,159.07
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM           Doc
                                       Doc 797
                                            648 Filed
                                                Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                        Invoice 118035
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 Summary of Services by Task Code
 Task Code            Description                                             Hours                   Amount

 AA                   Asset Analysis/Recovery[B120]                            0.30                       $307.50
 BL                   Bankruptcy Litigation [L430]                            42.80                 $32,054.50
 CA                   Case Administration [B110]                               0.10                        $35.00
                                                                              43.20                 $32,397.00

 Summary of Services by Professional
 ID           Name                                    Title           Rate             Hours              Amount

 BDD          Dassa, Beth D.                          Paralegal      350.00             0.20              $70.00
 JJK          Kim, Jonathan J.                        Counsel        750.00            36.00       $27,000.00
 JVR          Richards, Jeremy V.                     Partner       1025.00             1.40        $1,435.00
 JWL          Lucas, John W.                          Partner        695.00             5.60        $3,892.00
                                                                                      43.20         $32,397.00




 Summary of Expenses
Description                                                                                               Amount

Federal Express [E108]                                                                                    $62.78



Filing Fee [E112]                                                                                         $38.00



Pacer - Court Research                                                                                    $12.90



Postage [E108]                                                                                            $48.79



Reproduction Expense [E101]                                                                               $66.40
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
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 Summary of Expenses
Description                                                                                       Amount
Reproduction/ Scan Copy                                                                           $206.60



Transcript [E116]                                                                            $3,530.86



                                                                                             $3,966.33
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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                                      Main Document
                                      Main Document    Page  622 of 750
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Gottlieb, David K - Yashouafar                                                                   Invoice 118035
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                                                                                         Hours          Rate         Amount
  Asset Analysis/Recovery[B120]
11/02/2017    JVR     AA        Telephone D. Gottlieb re transfer of funds.               0.10      1025.00          $102.50
11/03/2017    JVR     AA        Review e-mails from A. Kim re Barlava (RLI)               0.20      1025.00          $205.00
                                settlement.
                                                                                          0.30                       $307.50

  Bankruptcy Litigation [L430]
11/01/2017    JJK     BL        Prepare summ. judgment motion re: JCBL trust and          6.40       750.00     $4,800.00
                                related review, analysis, research.
11/02/2017    JJK     BL        Prepare summ. judgmt. motion re: JCBL trust,              4.80       750.00     $3,600.00
                                declarations, statements of facts/law; related
                                research, analysis.
11/06/2017    JVR     BL        Telephone D. Coniff and H. David re                       0.70      1025.00          $717.50
                                Rexford/Chalette litigaiton.
11/06/2017    JWL     BL        Calls with chambers regarding Elkwood complaint           0.90       695.00          $625.50
                                and service of new summons; emails with counsel
                                regarding same.
11/08/2017    BDD     BL        Email J. Lucas re status report (Elkwood adv)             0.10       350.00           $35.00
11/08/2017    JWL     BL        Review and execute stipulation extend Elkwood             0.20       695.00          $139.00
                                time to answer amended complaint.
11/14/2017    JWL     BL        Draft and send letter to party in Elkwood action          0.50       695.00          $347.50
                                regarding service.
11/15/2017    JJK     BL        Revise summ. judgment motion, decs and related            5.50       750.00     $4,125.00
                                docs; related research (re: JCBL trust).
11/16/2017    JJK     BL        Revise summ. judgment motion and related filings,         7.20       750.00     $5,400.00
                                and additional research/review.
11/16/2017    JWL     BL        Prepare and execute request for notice relating to        0.70       695.00          $486.50
                                Rexford home.
11/19/2017    JWL     BL        Respond to question of J. Richards regarding 2004         0.80       695.00          $556.00
                                orders relating to T. Guerro.
11/20/2017    JJK     BL        Emails Lucas on summ judgment motion matters;             3.00       750.00     $2,250.00
                                research/revise motion and revise statement of facts /
                                conclusions of law.
11/20/2017    JWL     BL        Draft subpoena for T. Guerreo regarding Elkwood           1.00       695.00          $695.00
                                litigation.
11/21/2017    JJK     BL        Revise summ. judgement motion and related filings         3.60       750.00     $2,700.00
                                and email to Lucas/Richards.
11/27/2017    JJK     BL        Emails Richards/Lucas on SJM (re: JCBL trust) and         0.50       750.00          $375.00
                                review materials from Lucas.
11/27/2017    JVR     BL        Review motion for summary judgment (JCBL Trust            0.40      1025.00          $410.00
                                litigation).
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
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Gottlieb, David K - Yashouafar                                                                 Invoice 118035
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                                                                                       Hours          Rate         Amount
11/27/2017    JWL     BL        Revise motion to compel turnover of debtor info.        1.00       695.00          $695.00
11/28/2017    JJK     BL        Emails Gottlieb on tax issues (0.3) re: JCBL trust.     0.30       750.00          $225.00
11/28/2017    JWL     BL        Update motion to compel production of info from         0.50       695.00          $347.50
                                debtors.
11/29/2017    JJK     BL        Research for SJM (re: JCBL trust); email BRG re:        2.60       750.00      $1,950.00
                                conf. call; revise declarations and statement of
                                undisputed facts.
11/30/2017    JJK     BL        Conf. call Gottlieb/BRG on tax issues (re: JCBL         2.10       750.00      $1,575.00
                                trust) (0.5); emails Richards on same (0.2); prepare
                                notes on same and incorporate into SJM (1.4).
                                                                                       42.80                  $32,054.50

  Case Administration [B110]
11/07/2017    BDD     CA        Attend to misc. calendaring matters; email J. Lucas     0.10       350.00           $35.00
                                re same
                                                                                        0.10                        $35.00

 TOTAL SERVICES FOR THIS MATTER:                                                                             $32,397.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
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                                     Main Document    Page  624 of 750
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Gottlieb, David K - Yashouafar                                                 Invoice 118035
32274     00001                                                                November 30, 2017



Expenses
 11/02/2017   RE2       SCAN/COPY ( 45 @0.10 PER PG)                               4.50

 11/07/2017   FE        32274.00001 FedEx Charges for 11-07-17                    13.45

 11/07/2017   PO        Postage [E108] SF Postage                                 45.92

 11/07/2017   RE2       SCAN/COPY ( 1472 @0.10 PER PG)                           147.20

 11/07/2017   RE2       SCAN/COPY ( 48 @0.10 PER PG)                               4.80

 11/07/2017   RE2       SCAN/COPY ( 64 @0.10 PER PG)                               6.40

 11/15/2017   RE2       SCAN/COPY ( 26 @0.10 PER PG)                               2.60

 11/15/2017   RE2       SCAN/COPY ( 71 @0.10 PER PG)                               7.10

 11/16/2017   FE        32274.00001 FedEx Charges for 11-16-17                    13.45

 11/16/2017   FF        Filing Fee [E112] Certification Fee, JWL (SF-PC)          38.00

 11/17/2017   RE        ( 329 @0.20 PER PG)                                       65.80

 11/17/2017   RE2       SCAN/COPY ( 95 @0.10 PER PG)                               9.50

 11/17/2017   RE2       SCAN/COPY ( 136 @0.10 PER PG)                             13.60

 11/17/2017   RE2       SCAN/COPY ( 48 @0.10 PER PG)                               4.80

 11/20/2017   FE        32274.00001 FedEx Charges for 11-20-17                    22.89

 11/20/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10



 11/20/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30



 11/20/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20



 11/21/2017   RE        ( 3 @0.20 PER PG)                                          0.60



 11/21/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
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Gottlieb, David K - Yashouafar                                                          Invoice 118035
32274     00001                                                                         November 30, 2017

 11/27/2017   PO        Postage [E108] SF Mail Log                                           2.87

 11/27/2017   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                         2.20

 11/28/2017   FE        32274.00001 FedEx Charges for 11-28-17                              12.99

 11/28/2017   TR        Transcript [E116] Transwest Investigations, Inv. 71359, JVR      3,530.86

 11/29/2017   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                         2.20

 11/30/2017   PAC       Pacer - Court Research                                              12.90

   Total Expenses for this Matter                                                     $3,966.33
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
                                              Doc 797
                                                   648 Filed
                                                       Filed 12/01/20
                                                             01/08/19 Entered
                                                                       Entered 12/01/20
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                                              Main Document
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Gottlieb, David K - Yashouafar                                                                           Invoice 118035
32274     00001                                                                                          November 30, 2017




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 11/30/2017

Total Fees                                                                                                             $32,397.00
Chargeable costs and disbursements                                                                                      $3,966.33
Total Due on Current Invoice.....................                                                                      $36,363.33


Outstanding Balance from prior Invoices as of 11/30/2017       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed          Balance Due


     114542                        09/30/2016                  $70,136.00                            $430.31           $70,566.31
     114911                        10/31/2016                  $98,085.50                           $7,280.89         $105,366.39
     115117                        11/30/2016                  $87,345.00                           $8,776.62          $96,121.62
     115185                        12/31/2016                  $73,344.00                           $2,031.97          $75,375.97
     115643                        01/31/2017                  $54,361.00                           $2,260.63          $56,621.63
     115896                        02/28/2017                  $50,737.50                            $803.31           $51,540.81
     116150                        03/31/2017                  $51,677.50                           $4,962.17          $56,639.67
     116402                        04/30/2017                 $104,852.00                           $9,398.28         $114,250.28
     116665                        05/31/2017                 $100,431.00                          $10,790.05         $110,024.54
     116970                        06/30/2017                  $47,800.00                           $3,522.61          $51,322.61
     117273                        07/31/2017                  $52,383.00                            $297.68           $52,680.68
     117433                        08/31/2017                  $92,699.00                           $3,787.46          $96,486.46
     117636                        09/30/2017                  $28,052.50                            $749.05           $28,801.55
     117926                        10/31/2017                  $30,300.50                           $1,696.72          $31,997.22


Total Amount Due on Current and Prior Invoices                                                                       $1,034,159.07
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM     Doc
                               Doc 797
                                    648 Filed
                                        Filed 12/01/20
                                              01/08/19 Entered
                                                        Entered 12/01/20
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                               Main Document
                               Main Document    Page  627 of 750
                                                Page 323 of 443

                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     December 31, 2017
D. Gottlieb & Associates                                             Invoice 118167
17000 Ventura Blvd #300                                              Client  32274
Encino, CA 91316                                                     Matter  00001
                                                                             JVR
RE: Yashouafar

___________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 12/31/2017
                 FEES                                                 $57,147.50
                 EXPENSES                                              $1,632.63
                 TOTAL CURRENT CHARGES                                $58,780.13

                 BALANCE FORWARD                                    $1,034,159.07
                 TOTAL BALANCE DUE                                  $1,092,939.20
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM              Doc
                                          Doc 797
                                               648 Filed
                                                   Filed 12/01/20
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                                          Main Document
                                          Main Document    Page  628 of 750
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Gottlieb, David K - Yashouafar                                                           Invoice 118167
32274     00001                                                                          December 31, 2017




 Summary of Services by Task Code
 Task Code              Description                                              Hours                       Amount

 AA                     Asset Analysis/Recovery[B120]                             0.10                       $102.50
 BL                     Bankruptcy Litigation [L430]                             77.00                  $54,953.00
 CA                     Case Administration [B110]                                0.70                       $452.00
 CO                     Claims Admin/Objections[B310]                             2.80                   $1,500.00
 FF                     Financial Filings [B110]                                  0.40                       $140.00
                                                                                 81.00                  $57,147.50

 Summary of Services by Professional
 ID           Name                                      Title            Rate             Hours              Amount

 BDD          Dassa, Beth D.                            Paralegal       350.00             2.60          $910.00
 HCK          Kevane, Henry C.                          Partner         950.00             2.50         $2,375.00
 JHR          Rosell, Jason H.                          Counsel         575.00             8.20         $4,715.00
 JJK          Kim, Jonathan J.                          Counsel         750.00            25.60        $19,200.00
 JVR          Richards, Jeremy V.                       Partner        1025.00             2.80         $2,870.00
 JWL          Lucas, John W.                            Partner         695.00            38.30        $26,618.50
 KHB          Brown, Kenneth H.                         Partner         895.00             0.20          $179.00
 PJJ          Jeffries, Patricia J.                     Paralegal       350.00             0.80          $280.00
                                                                                         81.00          $57,147.50




 Summary of Expenses
Description                                                                                                  Amount

Conference Call [E105]                                                                                         $3.60



CourtLink                                                                                                      $0.83



Federal Express [E108]                                                                                        $40.67
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
                                                   01/08/19 Entered
                                                             Entered 12/01/20
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                                    Main Document
                                    Main Document    Page  629 of 750
                                                     Page 325 of 443

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Gottlieb, David K - Yashouafar                                                Invoice 118167
32274     00001                                                               December 31, 2017


 Summary of Expenses
Description                                                                                       Amount

Incoming Faxes [E104]                                                                               $0.40



Lexis/Nexis- Legal Research [E                                                                    $678.43



Legal Vision Atty Mess Service                                                                     $23.00



Pacer - Court Research                                                                             $49.40



Postage [E108]                                                                                     $64.80



Reproduction Expense [E101]                                                                       $631.00



Reproduction/ Scan Copy                                                                           $140.50



                                                                                              $1,632.63
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
                                                               Entered 12/01/20
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                                      Main Document
                                      Main Document    Page  630 of 750
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Gottlieb, David K - Yashouafar                                                                    Invoice 118167
32274     00001                                                                                   December 31, 2017


                                                                                          Hours          Rate         Amount
  Asset Analysis/Recovery[B120]
12/05/2017    JVR     AA        Review settlement agreement (Abselet) re Abselet           0.10      1025.00          $102.50
                                foreclosure rights.
                                                                                           0.10                       $102.50

  Bankruptcy Litigation [L430]
12/01/2017    JJK     BL        Revise declarations, statement of facts/conclusions        5.40       750.00      $4,050.00
                                of law, other documents re: voidance of JCBL trust.
12/01/2017    JWL     BL        Prepare stipulations disclaiming any interest in the       1.00       695.00          $695.00
                                Rexford and Chalette home for Citivest and Quality
                                Loan.
12/04/2017    JJK     BL        Revise declarations, statement of facts/conclusions        6.90       750.00      $5,175.00
                                of law, other documents re: JCBL action; emails
                                Richards on same; review/revise summ. judgment
                                motion.
12/04/2017    JVR     BL        Prepare for Guerrero deposition.                           0.90      1025.00          $922.50
12/04/2017    PJJ     BL        Draft notice of deposition.                                0.30       350.00          $105.00
12/04/2017    JWL     BL        Work on motion to compel turnover of info to               1.00       695.00          $695.00
                                trustee (.5); collect and send PWB note purchase
                                agreement and amendment to JVR (.3); work on
                                service info for JCBL trust summary judgment
                                motion (.2).
12/05/2017    KHB     BL        Confer with J. Lucas re rule 54(b) Judgement.              0.20       895.00          $179.00
12/05/2017    JJK     BL        Emails Lucas, Richards on summ. judgment issues            0.70       750.00          $525.00
                                re: JCBL trust.
12/05/2017    JVR     BL        Review revised motion for summary judgment                 0.20      1025.00          $205.00
                                (JCBL trust litigation).
12/05/2017    JWL     BL        Draft stipulated judgments relating to Elkwood             0.70       695.00          $486.50
                                matter for Citivest.
12/06/2017    JJK     BL        Revise BRG declaration and prepare exhibits (0.7);         3.20       750.00      $2,400.00
                                emails Richards on exhibits issues (0.2); revise
                                JCBL avoidance pleadings and prepare exhibits
                                (2.3).
12/06/2017    BDD     BL        Email J. Richards re T. Guerrero deposition                0.10       350.00           $35.00
12/06/2017    BDD     BL        Email G. Downing re T. Guerrero deposition                 0.10       350.00           $35.00
12/06/2017    BDD     BL        Email J. Lucas re T. Guerrero depo on 2/1                  0.10       350.00           $35.00
12/06/2017    BDD     BL        Email M. Kulick re T. Guerrero depo                        0.10       350.00           $35.00
12/06/2017    JWL     BL        Respond to Elkwood counsel regarding Guerrero              1.80       695.00      $1,251.00
                                deposition (.3); prepare stipulation to continue status
                                conference (.5); review Abselet answer to the
                                amended complaint (.1.0).
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
                                                               Entered 12/01/20
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                                      Main Document
                                      Main Document    Page  631 of 750
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Gottlieb, David K - Yashouafar                                                                   Invoice 118167
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                                                                                         Hours          Rate         Amount
12/07/2017    JJK     BL        Emails Richards on JCBL pleadings (0.2); prepare          1.20       750.00          $900.00
                                exhibits including redactions (1.0).
12/07/2017    BDD     BL        Email J. Kim re review of proofs of claim                 0.10       350.00           $35.00
12/07/2017    JWL     BL        Review Elkwood motion to dismiss and research the         3.00       695.00      $2,085.00
                                same.
12/08/2017    HCK     BL        Confer with J. Lucas re transfer of mortgage note /       1.40       950.00      $1,330.00
                                foreclosure issues and research files / follow-up with
                                Mr. Lucas.
12/08/2017    HCK     BL        Further review files re mortgage notes.                   0.20       950.00          $190.00
12/08/2017    JJK     BL        Revise BRG declaration and emails Calder on same          2.70       750.00      $2,025.00
                                (0.5); revise SJM pleadings and related docs. and
                                emails Gottlieb/Richards on same and prepare docs
                                for service/filing next week (2.2).
12/08/2017    JVR     BL        Review motion to dismiss second amended                   0.80      1025.00          $820.00
                                complaint (Rexford/Chalette).
12/08/2017    JWL     BL        Research opposition regarding Elkwood motion to           3.00       695.00      $2,085.00
                                dismiss.
12/11/2017    JJK     BL        Emails Dassa on exhibits issues (0.1); call Calder on     2.30       750.00      $1,725.00
                                tax filings issues and emails to him on same (0.5);
                                coordinate Dassa on filing/service of JCBL action
                                pleadings and final review of pleadings and exhibits
                                and emails Richards and Gottlieb on same (1.7).
12/11/2017    JVR     BL        Review motion for summary judgment (JCBL trust).          0.20      1025.00          $205.00
12/11/2017    JVR     BL        Conference with J. Lucas re motion to dismiss             0.20      1025.00          $205.00
                                (Rexford litigation).
12/11/2017    JWL     BL        Research regarding Elkwood motion to dismiss.             4.70       695.00      $3,266.50
12/12/2017    JJK     BL        Emails Richards on SJM filings (0.2); prepare filings     1.90       750.00      $1,425.00
                                for service/filing and emails Gottlieb, Dassa on same
                                and final revisions (1.7).
12/12/2017    PJJ     BL        Draft deposition notice.                                  0.50       350.00          $175.00
12/12/2017    BDD     BL        Email J. Lucas re calendaring matters (re Elkwood)        0.10       350.00           $35.00
12/12/2017    JWL     BL        Research regarding opposition to Elkwood motion to        5.80       695.00      $4,031.00
                                dismiss.
12/12/2017    JHR     BL        Conference with J. Lucas re: research on promissory       0.50       575.00          $287.50
                                notes
12/12/2017    JHR     BL        Research re: promissory notes                             4.50       575.00      $2,587.50
12/12/2017    JHR     BL        Research re: promissory notes                             1.50       575.00          $862.50
12/13/2017    HCK     BL        Confer with J. Lucas (various) re mortgage note           0.60       950.00          $570.00
                                assignment and use of parol evidence.
12/13/2017    HCK     BL        Review working files re probative value of parol          0.20       950.00          $190.00
                                evidence.
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
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                                                                                       Hours          Rate         Amount
12/13/2017    JVR     BL        Review research re Elkwood/Fieldbrook motion to         0.20      1025.00          $205.00
                                dismiss.
12/13/2017    JWL     BL        Research regarding Elkwood motion to dismiss.           3.50       695.00      $2,432.50
12/13/2017    JHR     BL        Research re: parol evidence                             1.70       575.00          $977.50
12/14/2017    HCK     BL        Confer with J. Lucas re parol evidence analysis.        0.10       950.00           $95.00
12/14/2017    JWL     BL        Work on researching and opposition to Elkwood           3.00       695.00      $2,085.00
                                motion to dismiss.
12/15/2017    JVR     BL        Conference with J. Lucas re miscellaneous litigation    0.20      1025.00          $205.00
                                issues.
12/15/2017    JWL     BL        Call with Abselt's counsel regarding motion to          2.40       695.00      $1,668.00
                                dismiss (.7); review J. Nourafshan deposition
                                transcripts (1.0); call with J. Richards regarding
                                motion to compel (.5); call with Chase counsel
                                regarding Elkwood action (.2).
12/20/2017    JWL     BL        Review and prepare objection to Elkwood motion to       1.50       695.00      $1,042.50
                                dismiss.
12/26/2017    JWL     BL        Research and draft opposition to Elkwood motion to      4.00       695.00      $2,780.00
                                dismiss.
12/27/2017    JWL     BL        Call with counsel to P. Yahouafar and drafting          0.80       695.00          $556.00
                                stipulation regarding continuance of hearing on
                                summary judgment motion (.5); review notice
                                regarding motion to withdrawal reference and
                                continuance of motion to dismiss Elkwood action
                                (.3).
12/28/2017    JWL     BL        Draft stipulation to continue Elkwood motion to         0.50       695.00          $347.50
                                dismiss.
12/28/2017    JWL     BL        Review complaint of Abselet for quiet title and         1.00       695.00          $695.00
                                prepare form answer.
                                                                                       77.00                  $54,953.00

  Case Administration [B110]
12/11/2017    JWL     CA        Revise motion to compel info to turnover from           0.40       695.00          $278.00
                                debtors for trustee.
12/13/2017    BDD     CA        Attend to misc. calendaring matters                     0.10       350.00           $35.00
12/22/2017    JWL     CA        Call with M.Yashouafar counsel regarding turnover       0.20       695.00          $139.00
                                of information.
                                                                                        0.70                       $452.00

  Claims Admin/Objections[B310]
12/05/2017    JJK     CO        Emails Richards on POC review/amounts (0.5); call       1.30       750.00          $975.00
                                Dassa on POC review (0.1); review POCs (0.3);
                                review tax return docs. (0.4).
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
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                                     Main Document
                                     Main Document    Page  633 of 750
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32274     00001                                                                             December 31, 2017


                                                                                    Hours          Rate         Amount
12/11/2017    BDD     CO        Email J. Kim re summary judgment and research re     0.10       350.00           $35.00
                                proofs of claim
12/11/2017    BDD     CO        Review POCs identified in summary judgment           0.40       350.00          $140.00
                                motion; email to/call with J. Kim re same
12/11/2017    BDD     CO        Email J. Kim re notice of hearing on summary         0.10       350.00           $35.00
                                judgment motion
12/11/2017    BDD     CO        Review exhibits to summary judgment motion;          0.20       350.00           $70.00
                                email J. Kim re same
12/11/2017    BDD     CO        Email J. Kim re edits to summary judgment exhibit    0.10       350.00           $35.00
                                re 341a transcript
12/11/2017    BDD     CO        Email M. Kulick re various claim identified in       0.10       350.00           $35.00
                                summary judgment motion
12/12/2017    BDD     CO        Email J. Kim re timing of filing summary judgment    0.10       350.00           $35.00
                                motion
12/12/2017    BDD     CO        Work with N. Brown re filing/serving of summary      0.20       350.00           $70.00
                                judgment motion
12/12/2017    BDD     CO        Email J. Kim re filing of summary judgment motion    0.10       350.00           $35.00
12/12/2017    BDD     CO        Email J. Kim and N. Brown re summary judgment        0.10       350.00           $35.00
                                motion
                                                                                     2.80                   $1,500.00

  Financial Filings [B110]
12/05/2017    BDD     FF        Review M. Yashouafar schedules re secured claims;    0.30       350.00          $105.00
                                email to/conf with J. Kim re same
12/05/2017    BDD     FF        Email J. Kim re P. Yashouafar as co-debtor on        0.10       350.00           $35.00
                                secured loan with Mercedes Benz
                                                                                     0.40                       $140.00

 TOTAL SERVICES FOR THIS MATTER:                                                                          $57,147.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
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Expenses
 11/21/2017   LV        Legal Vision Atty/Mess. Service- Inv. 49905, Delivery to      23.00
                        Transwest, JVR

 11/30/2017   CC        Conference Call [E105] AT&T Conference Call, JJK               3.60

 12/04/2017   RE        ( 12 @0.20 PER PG)                                             2.40

 12/04/2017   RE        ( 24 @0.20 PER PG)                                             4.80

 12/04/2017   RE        ( 4 @0.20 PER PG)                                              0.80

 12/04/2017   RE        ( 24 @0.20 PER PG)                                             4.80

 12/04/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                   1.40

 12/04/2017   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                   1.40

 12/05/2017   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                   2.40

 12/07/2017   RE2       SCAN/COPY ( 44 @0.10 PER PG)                                   4.40

 12/07/2017   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                   4.60

 12/08/2017   LN        32274.00001 Lexis Charges for 12-08-17                        55.82

 12/08/2017   LN        32274.00001 Lexis Charges for 12-08-17                       139.03

 12/08/2017   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                   2.00

 12/08/2017   RE2       SCAN/COPY ( 44 @0.10 PER PG)                                   4.40

 12/08/2017   RE2       SCAN/COPY ( 92 @0.10 PER PG)                                   9.20



 12/09/2017   LN        32274.00001 Lexis Charges for 12-09-17                         0.73



 12/11/2017   LN        32274.00001 Lexis Charges for 12-11-17                         3.26



 12/11/2017   LN        32274.00001 Lexis Charges for 12-11-17                        74.15



 12/11/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                    0.10
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
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                                     Main Document    Page  635 of 750
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32274     00001                                                                December 31, 2017


 12/11/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50

 12/11/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50

 12/11/2017   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                0.70

 12/11/2017   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                0.70

 12/11/2017   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                0.70

 12/11/2017   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                0.70

 12/11/2017   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                0.70

 12/11/2017   RE2       SCAN/COPY ( 16 @0.10 PER PG)                               1.60

 12/11/2017   RE2       SCAN/COPY ( 18 @0.10 PER PG)                               1.80

 12/11/2017   RE2       SCAN/COPY ( 24 @0.10 PER PG)                               2.40

 12/11/2017   RE2       SCAN/COPY ( 25 @0.10 PER PG)                               2.50

 12/11/2017   RE2       SCAN/COPY ( 27 @0.10 PER PG)                               2.70

 12/11/2017   RE2       SCAN/COPY ( 38 @0.10 PER PG)                               3.80

 12/11/2017   RE2       SCAN/COPY ( 39 @0.10 PER PG)                               3.90

 12/11/2017   RE2       SCAN/COPY ( 43 @0.10 PER PG)                               4.30

 12/11/2017   RE2       SCAN/COPY ( 45 @0.10 PER PG)                               4.50

 12/11/2017   RE2       SCAN/COPY ( 46 @0.10 PER PG)                               4.60



 12/11/2017   RE2       SCAN/COPY ( 58 @0.10 PER PG)                               5.80



 12/11/2017   RE2       SCAN/COPY ( 69 @0.10 PER PG)                               6.90



 12/12/2017   CL        Courtlink charges                                          0.44



 12/12/2017   CL        Courtlink charges                                          0.39



 12/12/2017   FE        32274.00001 FedEx Charges for 12-12-17                    13.65
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
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                                                              Entered 12/01/20
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                                     Main Document
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 12/12/2017   IF        Incoming Faxes [E104] PSZJ Incoming Mail Log               0.40

 12/12/2017   LN        32274.00001 Lexis Charges for 12-12-17                    36.96

 12/12/2017   LN        32274.00001 Lexis Charges for 12-12-17                    64.35

 12/12/2017   PO        32274.00001 :Postage Charges for 12-12-17                 64.80

 12/12/2017   RE        ( 5 @0.20 PER PG)                                          1.00

 12/12/2017   RE        ( 81 @0.20 PER PG)                                        16.20

 12/12/2017   RE        ( 703 @0.20 PER PG)                                      140.60

 12/12/2017   RE        ( 1052 @0.20 PER PG)                                     210.40

 12/12/2017   RE        ( 1250 @0.20 PER PG)                                     250.00

 12/12/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 12/12/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 12/12/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 12/12/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 12/12/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 12/12/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 12/12/2017   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10



 12/12/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20



 12/12/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30



 12/12/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30



 12/12/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30



 12/12/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
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                                     Main Document
                                     Main Document    Page  637 of 750
                                                      Page 333 of 443

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Gottlieb, David K - Yashouafar                                                 Invoice 118167
32274     00001                                                                December 31, 2017



 12/12/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50

 12/12/2017   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                0.70

 12/12/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80

 12/12/2017   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                0.90

 12/12/2017   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10

 12/12/2017   RE2       SCAN/COPY ( 16 @0.10 PER PG)                               1.60

 12/12/2017   RE2       SCAN/COPY ( 28 @0.10 PER PG)                               2.80

 12/12/2017   RE2       SCAN/COPY ( 249 @0.10 PER PG)                             24.90

 12/13/2017   LN        32274.00001 Lexis Charges for 12-13-17                   127.22

 12/13/2017   LN        32274.00001 Lexis Charges for 12-13-17                    61.57

 12/13/2017   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 12/13/2017   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 12/13/2017   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 12/13/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50

 12/13/2017   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50

 12/13/2017   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80

 12/13/2017   RE2       SCAN/COPY ( 10 @0.10 PER PG)                               1.00



 12/13/2017   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20



 12/13/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30



 12/13/2017   RE2       SCAN/COPY ( 15 @0.10 PER PG)                               1.50



 12/13/2017   RE2       SCAN/COPY ( 17 @0.10 PER PG)                               1.70
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
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Gottlieb, David K - Yashouafar                                                 Invoice 118167
32274     00001                                                                December 31, 2017

 12/13/2017   RE2       SCAN/COPY ( 25 @0.10 PER PG)                               2.50

 12/13/2017   RE2       SCAN/COPY ( 28 @0.10 PER PG)                               2.80

 12/14/2017   FE        32274.00001 FedEx Charges for 12-14-17                    13.51

 12/14/2017   LN        32274.00001 Lexis Charges for 12-14-17                    37.71

 12/14/2017   LN        32274.00001 Lexis Charges for 12-14-17                    47.17

 12/14/2017   RE2       SCAN/COPY ( 13 @0.10 PER PG)                               1.30

 12/15/2017   LN        32274.00001 Lexis Charges for 12-15-17                    28.64

 12/18/2017   FE        32274.00001 FedEx Charges for 12-18-17                    13.51

 12/26/2017   LN        32274.00001 Lexis Charges for 12-26-17                     0.36

 12/26/2017   RE2       SCAN/COPY ( 44 @0.10 PER PG)                               4.40

 12/27/2017   LN        32274.00001 Lexis Charges for 12-27-17                     1.46

 12/28/2017   RE2       SCAN/COPY ( 20 @0.10 PER PG)                               2.00

 12/28/2017   RE2       SCAN/COPY ( 34 @0.10 PER PG)                               3.40

 12/31/2017   PAC       Pacer - Court Research                                    49.40

   Total Expenses for this Matter                                           $1,632.63
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
                                              Doc 797
                                                   648 Filed
                                                       Filed 12/01/20
                                                             01/08/19 Entered
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                                              Main Document
                                              Main Document    Page  639 of 750
                                                               Page 335 of 443

Pachulski Stang Ziehl & Jones LLP                                                                        Page: 13
Gottlieb, David K - Yashouafar                                                                           Invoice 118167
32274     00001                                                                                          December 31, 2017




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 12/31/2017

Total Fees                                                                                                              $57,147.50
Chargeable costs and disbursements                                                                                       $1,632.63
Total Due on Current Invoice.....................                                                                       $58,780.13


Outstanding Balance from prior Invoices as of 12/31/2017       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed          Balance Due


     114542                        09/30/2016                  $70,136.00                            $430.31            $70,566.31
     114911                        10/31/2016                  $98,085.50                           $7,280.89         $105,366.39
     115117                        11/30/2016                  $87,345.00                           $8,776.62           $96,121.62
     115185                        12/31/2016                  $73,344.00                           $2,031.97           $75,375.97
     115643                        01/31/2017                  $54,361.00                           $2,260.63           $56,621.63
     115896                        02/28/2017                  $50,737.50                            $803.31            $51,540.81
     116150                        03/31/2017                  $51,677.50                           $4,962.17           $56,639.67
     116402                        04/30/2017                 $104,852.00                           $9,398.28         $114,250.28
     116665                        05/31/2017                 $100,431.00                          $10,790.05         $110,024.54
     116970                        06/30/2017                  $47,800.00                           $3,522.61           $51,322.61
     117273                        07/31/2017                  $52,383.00                            $297.68            $52,680.68
     117433                        08/31/2017                  $92,699.00                           $3,787.46           $96,486.46
     117636                        09/30/2017                  $28,052.50                            $749.05            $28,801.55
     117926                        10/31/2017                  $30,300.50                           $1,696.72           $31,997.22
     118035                        11/30/2017                  $32,397.00                           $3,966.33           $36,363.33


Total Amount Due on Current and Prior Invoices                                                                       $1,092,939.20
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM     Doc
                               Doc 797
                                    648 Filed
                                        Filed 12/01/20
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                               Main Document    Page  640 of 750
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     January 31, 2018
D. Gottlieb & Associates                                             Invoice 118515
17000 Ventura Blvd #300                                              Client   32274
Encino, CA 91316                                                     Matter   00001
                                                                              JVR
RE: Yashouafar

___________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 01/31/2018
                 FEES                                                 $67,197.50
                 EXPENSES                                                $848.65
                 TOTAL CURRENT CHARGES                                $68,046.15

                 BALANCE FORWARD                                    $1,092,939.20
                 TOTAL BALANCE DUE                                  $1,160,985.35
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM              Doc
                                          Doc 797
                                               648 Filed
                                                   Filed 12/01/20
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Pachulski Stang Ziehl & Jones LLP                                                        Page:     2
Gottlieb, David K - Yashouafar                                                           Invoice 118515
32274     00001                                                                          January 31, 2018




 Summary of Services by Task Code
 Task Code              Description                                              Hours                        Amount

 BL                     Bankruptcy Litigation [L430]                             87.30                      $65,570.00
 CA                     Case Administration [B110]                                2.30                       $1,522.50
 SL                     Stay Litigation [B140]                                    0.10                        $105.00
                                                                                 89.70                      $67,197.50

 Summary of Services by Professional
 ID           Name                                     Title             Rate             Hours               Amount

 BDD          Dassa, Beth D.                           Paralegal        375.00             1.20              $450.00
 JJK          Kim, Jonathan J.                         Counsel          775.00            24.80         $19,220.00
 JVR          Richards, Jeremy V.                      Partner         1050.00             5.00             $5,250.00
 JWL          Lucas, John W.                           Partner          725.00            57.90         $41,977.50
 PJJ          Jeffries, Patricia J.                    Paralegal        375.00             0.80              $300.00
                                                                                         89.70              $67,197.50




 Summary of Expenses
Description                                                                                                   Amount

Federal Express [E108]                                                                                         $52.83



Lexis/Nexis- Legal Research [E                                                                                $401.31



Pacer - Court Research                                                                                         $78.90



Postage [E108]                                                                                                 $26.31



Reproduction Expense [E101]                                                                                   $224.60
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
                                                   01/08/19 Entered
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Gottlieb, David K - Yashouafar                                                Invoice 118515
32274     00001                                                               January 31, 2018


 Summary of Expenses
Description                                                                                      Amount

Reproduction/ Scan Copy                                                                          $64.70



                                                                                                 $848.65
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                                    Invoice 118515
32274     00001                                                                                   January 31, 2018


                                                                                          Hours           Rate        Amount
  Bankruptcy Litigation [L430]
01/02/2018    JWL     BL        Prepare answer to Abselet foreclosure complaint and        4.50       725.00         $3,262.50
                                discuss same with J. Richards (3.8); work on
                                objection to Elkwood motion to dismiss (.7).
01/03/2018    JWL     BL        Review joint statement regarding withdraw of ref.          2.00       725.00         $1,450.00
                                motion by Abselet; call with Abselet counsel
                                regarding same; work on objection to motion to
                                dismiss Elkwood complaint;
01/05/2018    JWL     BL        Call with H. David regarding conference with               1.50       725.00         $1,087.50
                                Defendants; call with whole parties.
01/08/2018    JWL     BL        Call with H. David regarding meeting with D.               2.00       725.00         $1,450.00
                                McCarthy regarding Elkwood status conference (.3);
                                respond to H. David regarding status report (1.2);
                                work on response to Elkwood motion to dismiss (.5);
01/09/2018    JWL     BL        Draft interested party disclosure for Abselet              5.60       725.00         $4,060.00
                                Elkwood action (.5); research and draft objection to
                                Elkwood motion to dismiss (
01/10/2018    JWL     BL        Review joint status report for Abselet/Elkwood             2.50       725.00         $1,812.50
                                litigation (.5); research and draft objection to
                                Elkwood motion to dismiss (2.0);
01/11/2018    JVR     BL        Conference with J. Lucas re Elkwood/Fieldbrook             0.40      1050.00          $420.00
                                motion to dismiss.
01/11/2018    JWL     BL        Research and draft opposition to Elkwood motion to         7.00       725.00         $5,075.00
                                dismiss.
01/12/2018    JVR     BL        Review draft opposition to motion to dismiss Second        0.40      1050.00          $420.00
                                Amended Complaint (Elkwood/Fieldbrook).
01/12/2018    JVR     BL        Review Elkwood/Fieldbrook opposition to motion to          0.30      1050.00          $315.00
                                withdraw reference of adversary proceeding.
01/12/2018    JWL     BL        Research and draft opposition to Elkwood motion to         4.50       725.00         $3,262.50
                                dismiss (3.0); review and research cases cited in
                                Elkwood motion to dismiss filed in district court
                                action as it relate to bankruptcy action (1.5).
01/16/2018    JWL     BL        Research and draft objection to Elkwood motion to          4.20       725.00         $3,045.00
                                dismiss.
01/17/2018    JWL     BL        Research and draft objection to Elkwood motion to          4.00       725.00         $2,900.00
                                dismiss.
01/18/2018    JVR     BL        Conference with J. Lucas re Elkwood/Fieldbrook             0.20      1050.00          $210.00
                                litigation.
01/18/2018    BDD     BL        Email M. Kulick re T. Guerrero deposition                  0.10       375.00           $37.50
01/18/2018    BDD     BL        Attend to calendaring matters in Gottlieb v.               0.20       375.00           $75.00
                                Elkwood and Sbselet v. Yashouafar
01/18/2018    JWL     BL        Research and draft objection to Elkwood motion to          3.00       725.00         $2,175.00
                                dismiss (1.7); discuss same with J. Richards (.2); call
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
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                                      Main Document    Page  644 of 750
                                                       Page 340 of 443

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Gottlieb, David K - Yashouafar                                                                   Invoice 118515
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                                                                                         Hours           Rate        Amount
                                with H. David regarding strategy (1.1);
01/19/2018    JWL     BL        Research and draft objection to Elkwood motion to         3.80       725.00         $2,755.00
                                dismiss (2.3); review and respond to objection to
                                withdraw reference for the Elkwood action (.6);
                                review and respond to motion to dismiss District
                                Court Elkwood action (.9).
01/22/2018    JVR     BL        Review revised opposition to motion to dismiss            0.20      1050.00          $210.00
                                (Elkwood/Fieldbrook).
01/22/2018    JWL     BL        Review and comment on Abselet objections and              0.70       725.00          $507.50
                                replies to withdraw reference, motion to stay and
                                motion to dismiss the district court actions (.7);
01/23/2018    JJK     BL        Emails Lucas on Def's opp to SJM and review their         0.50       775.00          $387.50
                                papers.
01/23/2018    JWL     BL        Draft stipulation regarding Quality Loans                 0.50       725.00          $362.50
                                participation in the Elkwood proceeding.
01/24/2018    JWL     BL        Work on filing of Quality Loan stipulation regarding      0.50       725.00          $362.50
                                status in Elkwood adversary proceeding (.2); call
                                with H. David regarding treatment of Chase in
                                Elkwood action (.3);
01/24/2018    JJK     BL        Research for reply in support of SJM.                     5.50       775.00         $4,262.50
01/24/2018    JJK     BL        Research for reply in support of SJM.                     4.50       775.00         $3,487.50
01/25/2018    JJK     BL        Emails Richards on our reply in support of SJM            4.20       775.00         $3,255.00
                                (0.5); review their pleadings and analyze and
                                research related issues and prepare reply.
01/25/2018    JVR     BL        Prepare for Guerrero deposition.                          1.00      1050.00         $1,050.00
01/25/2018    JWL     BL        Review communications of T. Guerrero for                  1.20       725.00          $870.00
                                deposition preparation.
01/26/2018    JJK     BL        Research/prepare reply in support of SJM and              5.20       775.00         $4,030.00
                                related documents and emails Richards on same.
01/26/2018    JJK     BL        Review evid. matters re: SJM.                             0.20       775.00          $155.00
01/26/2018    JVR     BL        Prepare for Guerrero deposition.                          1.60      1050.00         $1,680.00
01/26/2018    JWL     BL        Prepare intro for objection to Elkwood motion to          2.80       725.00         $2,030.00
                                dismiss and other clean up.
01/29/2018    JJK     BL        Emails Richards on reply in support of SJM and            3.70       775.00         $2,867.50
                                evid. objections; prepare evid. objections and related
                                research; revise reply and emails Richards and
                                Gottlieb on pleadings.
01/29/2018    JVR     BL        Review revised opposition to motion to dismiss            0.10      1050.00          $105.00
                                (Elkwood litigation).
01/29/2018    JVR     BL        Review draft reply to opposition to motion for            0.10      1050.00          $105.00
                                summary judgment (JCBL Trust).
01/29/2018    PJJ     BL        Draft Request for Judicial Notice in support of           0.80       375.00          $300.00
                                Summary Judgment Motion.
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
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Gottlieb, David K - Yashouafar                                                                  Invoice 118515
32274     00001                                                                                 January 31, 2018


                                                                                        Hours           Rate         Amount
01/29/2018    BDD     BL        Email J. Lucas re T. Guerrero deposition on 2/1          0.10       375.00            $37.50
01/29/2018    BDD     BL        Email G. Downing re T. Guerrero depo                     0.10       375.00            $37.50
01/29/2018    JWL     BL        Review produce info for emails from Elkwood              3.00       725.00          $2,175.00
                                parties (1.0); review objection filed by Abselet
                                regarding Elkwood motion to dismiss district court
                                action (1.0); review same regarding motion to stay
                                (.5) and withdraw reference (.5); revise objection to
                                Elkwood motion to dismiss (.5);
01/30/2018    JJK     BL        Final review/revisions and coordinate filing/service     1.00       775.00           $775.00
                                of reply in support of SJM and evid. objections.
01/30/2018    BDD     BL        Email M. Kulick re Guerrero depo (2/1)                   0.10       375.00            $37.50
01/30/2018    JWL     BL        Prepare for T. Guerrero deposition (.5); call with       3.10       725.00          $2,247.50
                                counsel to Chase regarding dismissing Elkwood
                                action (.3); draft stipulation dismissing Elkwood
                                action with Chase (.7); revise objection to Elkwood
                                motion to dismss (1.6).
01/31/2018    JVR     BL        Prepare for Guerrero deposition.                         0.40      1050.00           $420.00
                                                                                        87.30                      $65,570.00

  Case Administration [B110]
01/03/2018    BDD     CA        Email J. Lucas re Elkwood calendaring                    0.10       375.00            $37.50
01/08/2018    BDD     CA        Call with J. Lucas re calendaring matters; email M.      0.20       375.00            $75.00
                                DesJardien re same
01/08/2018    BDD     CA        Attend to misc. calendaring matters                      0.10       375.00            $37.50
01/12/2018    BDD     CA        Email J. Lucas re calendaring matters                    0.10       375.00            $37.50
01/16/2018    JVR     CA        Telephone D. Gottlieb re UST fees (.1); Draft e-mail     0.20      1050.00           $210.00
                                to T. Ferris re same (.1).
01/16/2018    JWL     CA        Prepare case status report and file.                     1.50       725.00          $1,087.50
01/17/2018    BDD     CA        Call with J. Lucas re calendaring matters                0.10       375.00            $37.50
                                                                                         2.30                       $1,522.50

  Stay Litigation [B140]
01/12/2018    JVR     SL        Review and respond to e-mail from E. Ghanooni re         0.10      1050.00           $105.00
                                relief from stay request (Lancaster property).
                                                                                         0.10                        $105.00

 TOTAL SERVICES FOR THIS MATTER:                                                                               $67,197.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                 Invoice 118515
32274     00001                                                                January 31, 2018



Expenses
 12/28/2017   FE        32274.00001 FedEx Charges for 12-28-17                    13.55

 01/03/2018   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20

 01/03/2018   RE2       SCAN/COPY ( 34 @0.10 PER PG)                               3.40

 01/04/2018   PO        Postage [E108] SF Mail Log                                10.05

 01/04/2018   RE2       SCAN/COPY ( 150 @0.10 PER PG)                             15.00

 01/04/2018   RE2       SCAN/COPY ( 15 @0.10 PER PG)                               1.50

 01/08/2018   LN        32274.00001 Lexis Charges for 01-08-18                     0.21

 01/09/2018   LN        32274.00001 Lexis Charges for 01-09-18                     0.21

 01/11/2018   LN        32274.00001 Lexis Charges for 01-11-18                    86.50

 01/12/2018   RE2       SCAN/COPY ( 35 @0.10 PER PG)                               3.50

 01/12/2018   RE2       SCAN/COPY ( 34 @0.10 PER PG)                               3.40

 01/12/2018   RE2       SCAN/COPY ( 23 @0.10 PER PG)                               2.30

 01/16/2018   FE        32274.00001 FedEx Charges for 01-16-18                    14.17

 01/16/2018   LN        32274.00001 Lexis Charges for 01-16-18                    19.22

 01/16/2018   PO        Postage [E108] SF Mail Log                                 7.36

 01/16/2018   RE2       SCAN/COPY ( 120 @0.10 PER PG)                             12.00



 01/16/2018   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40



 01/16/2018   RE2       SCAN/COPY ( 24 @0.10 PER PG)                               2.40



 01/17/2018   LN        32274.00001 Lexis Charges for 01-17-18                     9.09



 01/18/2018   LN        32274.00001 Lexis Charges for 01-18-18                    42.72
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
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32274     00001                                                                January 31, 2018

 01/19/2018   LN        32274.00001 Lexis Charges for 01-19-18                    52.65

 01/22/2018   RE2       SCAN/COPY ( 26 @0.10 PER PG)                               2.60

 01/24/2018   FE        32274.00001 FedEx Charges for 01-24-18                    14.17

 01/24/2018   LN        32274.00001 Lexis Charges for 01-24-18                     8.87

 01/24/2018   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 01/24/2018   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 01/24/2018   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50

 01/24/2018   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 01/24/2018   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 01/25/2018   LN        32274.00001 Lexis Charges for 01-25-18                   130.43

 01/25/2018   RE        ( 214 @0.20 PER PG)                                       42.80

 01/26/2018   LN        32274.00001 Lexis Charges for 01-26-18                    51.41

 01/29/2018   RE        ( 669 @0.20 PER PG)                                      133.80

 01/29/2018   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40

 01/29/2018   RE2       SCAN/COPY ( 29 @0.10 PER PG)                               2.90

 01/29/2018   RE2       SCAN/COPY ( 27 @0.10 PER PG)                               2.70

 01/29/2018   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                0.70



 01/29/2018   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40



 01/30/2018   FE        32274.00001 FedEx Charges for 01-30-18                    10.94



 01/30/2018   PO        32274.00001 :Postage Charges for 01-30-18                  8.90



 01/30/2018   RE        ( 240 @0.20 PER PG)                                       48.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
                                                                       01/08/19 18:29:18
                                                                                15:53:32     Desc
                                                                                             Desc
                                     Main Document
                                     Main Document    Page  648 of 750
                                                      Page 344 of 443

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Gottlieb, David K - Yashouafar                                                 Invoice 118515
32274     00001                                                                January 31, 2018


 01/30/2018   RE2       SCAN/COPY ( 32 @0.10 PER PG)                               3.20

 01/30/2018   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 01/30/2018   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50

 01/30/2018   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60

 01/30/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 01/30/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 01/30/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 01/30/2018   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60

 01/30/2018   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                0.70

 01/30/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 01/31/2018   PAC       Pacer - Court Research                                    78.90

   Total Expenses for this Matter                                             $848.65
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
                                              Doc 797
                                                   648 Filed
                                                       Filed 12/01/20
                                                             01/08/19 Entered
                                                                       Entered 12/01/20
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                                                                                         15:53:32                      Desc
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                                              Main Document
                                              Main Document    Page  649 of 750
                                                               Page 345 of 443

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Gottlieb, David K - Yashouafar                                                                           Invoice 118515
32274     00001                                                                                          January 31, 2018




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 01/31/2018

Total Fees                                                                                                                  $67,197.50
Chargeable costs and disbursements                                                                                            $848.65
Total Due on Current Invoice.....................                                                                           $68,046.15


Outstanding Balance from prior Invoices as of 01/31/2018       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed           Balance Due


     114542                        09/30/2016                  $70,136.00                            $430.31                $70,566.31
     114911                        10/31/2016                  $98,085.50                           $7,280.89           $105,366.39
     115117                        11/30/2016                  $87,345.00                           $8,776.62               $96,121.62
     115185                        12/31/2016                  $73,344.00                           $2,031.97               $75,375.97
     115643                        01/31/2017                  $54,361.00                           $2,260.63               $56,621.63
     115896                        02/28/2017                  $50,737.50                            $803.31                $51,540.81
     116150                        03/31/2017                  $51,677.50                           $4,962.17               $56,639.67
     116402                        04/30/2017                 $104,852.00                           $9,398.28           $114,250.28
     116665                        05/31/2017                 $100,431.00                          $10,790.05           $110,024.54
     116970                        06/30/2017                  $47,800.00                           $3,522.61               $51,322.61
     117273                        07/31/2017                  $52,383.00                            $297.68                $52,680.68
     117433                        08/31/2017                  $92,699.00                           $3,787.46               $96,486.46
     117636                        09/30/2017                  $28,052.50                            $749.05                $28,801.55
     117926                        10/31/2017                  $30,300.50                           $1,696.72               $31,997.22
     118035                        11/30/2017                  $32,397.00                           $3,966.33               $36,363.33
     118167                        12/31/2017                  $57,147.50                           $1,632.63               $58,780.13


Total Amount Due on Current and Prior Invoices                                                                        $1,160,985.35
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM     Doc
                               Doc 797
                                    648 Filed
                                        Filed 12/01/20
                                              01/08/19 Entered
                                                        Entered 12/01/20
                                                                 01/08/19 18:29:18
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                               Main Document
                               Main Document    Page  650 of 750
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     February 28, 2018
D. Gottlieb & Associates                                             Invoice 118713
17000 Ventura Blvd #300                                              Client   32274
Encino, CA 91316                                                     Matter   00001
                                                                              JVR
RE: Yashouafar

___________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 02/28/2018
                 FEES                                                 $45,600.00
                 EXPENSES                                                $342.55
                 TOTAL CURRENT CHARGES                                $45,942.55

                 BALANCE FORWARD                                    $1,160,985.35
                 TOTAL BALANCE DUE                                  $1,206,927.90
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM           Doc
                                       Doc 797
                                            648 Filed
                                                Filed 12/01/20
                                                      01/08/19 Entered
                                                                Entered 12/01/20
                                                                         01/08/19 18:29:18
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                                       Main Document
                                       Main Document    Page  651 of 750
                                                        Page 347 of 443

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Gottlieb, David K - Yashouafar                                                        Invoice 118713
32274     00001                                                                       February 28, 2018




 Summary of Services by Task Code
 Task Code            Description                                             Hours                       Amount

 BL                   Bankruptcy Litigation [L430]                            53.20                   $45,172.50
 CA                   Case Administration [B110]                               0.60                       $427.50
                                                                              53.80                   $45,600.00

 Summary of Services by Professional
 ID           Name                                   Title            Rate             Hours              Amount

 BDD          Dassa, Beth D.                         Paralegal       375.00             0.70              $262.50
 JJK          Kim, Jonathan J.                       Counsel         775.00             6.80          $5,270.00
 JVR          Richards, Jeremy V.                    Partner        1050.00            20.00         $21,000.00
 JWL          Lucas, John W.                         Partner         725.00            26.30         $19,067.50
                                                                                      53.80           $45,600.00




 Summary of Expenses
Description                                                                                               Amount

Conference Call [E105]                                                                                     $50.00



Federal Express [E108]                                                                                     $14.24



Lexis/Nexis- Legal Research [E                                                                             $49.12



Pacer - Court Research                                                                                     $49.60



Postage [E108]                                                                                             $13.19



Reproduction/ Scan Copy                                                                                   $129.20
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
                                                   01/08/19 Entered
                                                             Entered 12/01/20
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                                    Main Document
                                    Main Document    Page  652 of 750
                                                     Page 348 of 443

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Gottlieb, David K - Yashouafar                                                Invoice 118713
32274     00001                                                               February 28, 2018


 Summary of Expenses
Description                                                                                       Amount



Research [E106]                                                                                   $37.20



                                                                                                  $342.55
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
                                                               Entered 12/01/20
                                                                        01/08/19 18:29:18
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                                      Main Document
                                      Main Document    Page  653 of 750
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Gottlieb, David K - Yashouafar                                                                    Invoice 118713
32274     00001                                                                                   February 28, 2018


                                                                                          Hours           Rate         Amount
  Bankruptcy Litigation [L430]
02/01/2018    JVR     BL        Participate in deposition of T. Guerrero (3.0);            4.00      1050.00          $4,200.00
                                Conference with H. David re litigation strategy
                                (1.0).
02/01/2018    JWL     BL        Revise opposition to motion to dismiss by Elkwood.         0.50       725.00           $362.50
02/02/2018    JWL     BL        Revise objection to Elkwood motion to dismiss.             1.50       725.00          $1,087.50
02/06/2018    JWL     BL        Review T. Guerrero deposition transcript.                  2.00       725.00          $1,450.00
02/07/2018    JJK     BL        Emails Richards on Massoud dec. issues; call clerk;        0.90       775.00           $697.50
                                related research; emails Defendant's counsel on
                                same.
02/07/2018    BDD     BL        Email J. Richard re T. Guerrero deposition transcript      0.10       375.00            $37.50
02/07/2018    JWL     BL        Review and respond to questions from H. David              0.20       725.00           $145.00
                                regarding alternative theories of recovery.
02/08/2018    BDD     BL        Emails to J. Richards and TSG Reporting re T.              0.20       375.00            $75.00
                                Guerrero original deposition transcript
02/08/2018    BDD     BL        Email D. McCarthy re T. Guerrero original                  0.10       375.00            $37.50
                                deposition transcript
02/09/2018    JWL     BL        Review 341 hearing transcript to prepare for JCBL          1.00       725.00           $725.00
                                summary judgment motion.
02/11/2018    JJK     BL        Emails Lucas, Richards on Court's tentative on SJ          0.50       775.00           $387.50
                                motion, and review tentative.
02/12/2018    JJK     BL        Emails Richards on SJM hearing issues (0.5); review        4.50       775.00          $3,487.50
                                Madison and other entity docs and numerous emails
                                Richards on addit. evidence for hearing; research
                                and review of addit. evidence.
02/12/2018    JVR     BL        Prepare for hearing on motion for summary                  2.00      1050.00          $2,100.00
                                judgment (JCBL Trust).
02/12/2018    JVR     BL        Review district court order staying Abselet quiet title    0.20      1050.00           $210.00
                                action and denying Abselet motion to withdraw
                                reference.
02/12/2018    JVR     BL        Prepare for and attend hearing on motion for               1.70      1050.00          $1,785.00
                                summary judgment (1.5); Draft e-mail to H. David
                                and client re same (.2).
02/12/2018    JWL     BL        Respond to factual question of J. Richards regarding       1.50       725.00          $1,087.50
                                JCBL summary judgment motion (.5); review FNC
                                discovery related request and respond (1.0);
02/13/2018    JJK     BL        Emails Richards on hearing and related issues re:          0.80       775.00           $620.00
                                SJM motion against Parinaz.
02/14/2018    JJK     BL        Emails Richards on potential settlement with Parinaz       0.10       775.00            $77.50
                                re: SJM.
02/14/2018    JVR     BL        Telephone D. Mongan re potential settlement.               0.10      1050.00           $105.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
                                                               Entered 12/01/20
                                                                        01/08/19 18:29:18
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                                      Main Document
                                      Main Document    Page  654 of 750
                                                       Page 350 of 443

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Gottlieb, David K - Yashouafar                                                                Invoice 118713
32274     00001                                                                               February 28, 2018


                                                                                      Hours           Rate         Amount
02/15/2018    JWL     BL        Review Elkwood reply regarding motion to dismiss       2.00       725.00          $1,450.00
                                and prepare rebuttal.
02/16/2018    JVR     BL        Conference with J. Lucas re motion to dismiss.         0.40      1050.00           $420.00
02/16/2018    JWL     BL        Review and research and draft rebuttal to Elkwood      2.70       725.00          $1,957.50
                                reply for the motion to dismiss.
02/20/2018    JVR     BL        Review joint privilege memo from Abselet counsel       0.20      1050.00           $210.00
                                re Elkwood/Fieldbrook litigation.
02/20/2018    JWL     BL        Research and prepare rebuttal for Elkwood motion       5.40       725.00          $3,915.00
                                to dismiss.
02/21/2018    JVR     BL        Prepare for hearing on motion to dismiss Second        2.00      1050.00          $2,100.00
                                Amended Complaint (Elkwood/Fieldbrook).
02/21/2018    JWL     BL        Research and draft rebuttal for hearing on Elkwood     2.30       725.00          $1,667.50
                                motion to dismiss.
02/22/2018    JWL     BL        Work on rebuttal for Elkwood motion to dismiss.        2.00       725.00          $1,450.00
02/23/2018    JVR     BL        Prepare for hearing on motion to dismiss (Elkwood      0.30      1050.00           $315.00
                                litigation).
02/23/2018    JWL     BL        Work on rebuttal to Elkwood motion to dismiss.         1.00       725.00           $725.00
02/26/2018    JVR     BL        Prepare for hearing on motion to dismiss complaint     4.00      1050.00          $4,200.00
                                (Elkwood/Fieldbrook) (3.6); Review tentative ruling
                                (.4).
02/26/2018    JWL     BL        Review court's tentative regarding Elkwood motion      1.00       725.00           $725.00
                                to dismiss and prepare responses for the same.
02/27/2018    JVR     BL        Attend hearing on motion to dismiss                    4.50      1050.00          $4,725.00
                                (Elkwood/Fieldbrook).
02/27/2018    JVR     BL        Draft e-mail to client re litigation status/issues     0.30      1050.00           $315.00
                                (Elkwood/Fieldbrook).
02/27/2018    JWL     BL        Revise complaint for Elkwood action in response to     1.70       725.00          $1,232.50
                                Court's ruling.
02/28/2018    JWL     BL        Revise Elkwood complaint in response to court          1.50       725.00          $1,087.50
                                ruling and review title papers.
                                                                                      53.20                   $45,172.50

  Case Administration [B110]
02/01/2018    JVR     CA        Telephone S. Aron re case status.                      0.20      1050.00           $210.00
02/01/2018    BDD     CA        Email J. Lucas re calendaring matters                  0.10       375.00            $37.50
02/01/2018    BDD     CA        Attend to misc. calendaring matters                    0.10       375.00            $37.50
02/07/2018    JVR     CA        Telephone J. Hood re case status.                      0.10      1050.00           $105.00
02/13/2018    BDD     CA        Attend to misc. calendaring matters; email J. Lucas    0.10       375.00            $37.50
                                re same
                                                                                       0.60                        $427.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
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                                    Main Document
                                    Main Document    Page  655 of 750
                                                     Page 351 of 443

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32274     00001                                                               February 28, 2018


 TOTAL SERVICES FOR THIS MATTER:                                                            $45,600.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
                                                                       01/08/19 18:29:18
                                                                                15:53:32     Desc
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                                     Main Document
                                     Main Document    Page  656 of 750
                                                      Page 352 of 443

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Gottlieb, David K - Yashouafar                                                 Invoice 118713
32274     00001                                                                February 28, 2018



Expenses
 02/06/2018   FE        32274.00001 FedEx Charges for 02-06-18                    14.24

 02/06/2018   PO        Postage [E108] SF Mail Log                                10.25

 02/06/2018   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40

 02/06/2018   RE2       SCAN/COPY ( 49 @0.10 PER PG)                               4.90

 02/06/2018   RE2       SCAN/COPY ( 70 @0.10 PER PG)                               7.00

 02/06/2018   RE2       SCAN/COPY ( 245 @0.10 PER PG)                             24.50

 02/06/2018   RS        Research [E106] Pacer Research, JWL                       37.20

 02/08/2018   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 02/08/2018   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 02/08/2018   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50

 02/08/2018   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60

 02/08/2018   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60

 02/08/2018   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                0.70

 02/08/2018   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80

 02/08/2018   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                0.90

 02/08/2018   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10



 02/08/2018   RE2       SCAN/COPY ( 249 @0.10 PER PG)                             24.90



 02/12/2018   RE2       SCAN/COPY ( 20 @0.10 PER PG)                               2.00



 02/12/2018   RE2       SCAN/COPY ( 34 @0.10 PER PG)                               3.40



 02/15/2018   CC        Conference Call [E105] CourtCall 2/1/2018 through         50.00
                        2/28/2018, JVR
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
                                                                       01/08/19 18:29:18
                                                                                15:53:32     Desc
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                                     Main Document
                                     Main Document    Page  657 of 750
                                                      Page 353 of 443

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Gottlieb, David K - Yashouafar                                                 Invoice 118713
32274     00001                                                                February 28, 2018


 02/15/2018   PO        Postage [E108]                                             0.68

 02/15/2018   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60

 02/15/2018   RE2       SCAN/COPY ( 17 @0.10 PER PG)                               1.70

 02/15/2018   RE2       SCAN/COPY ( 44 @0.10 PER PG)                               4.40

 02/15/2018   RE2       SCAN/COPY ( 61 @0.10 PER PG)                               6.10

 02/16/2018   LN        32274.00001 Lexis Charges for 02-16-18                     7.26

 02/16/2018   LN        32274.00001 Lexis Charges for 02-16-18                     6.75

 02/16/2018   PO        Postage [E108]                                             2.26

 02/16/2018   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40

 02/16/2018   RE2       SCAN/COPY ( 49 @0.10 PER PG)                               4.90

 02/16/2018   RE2       SCAN/COPY ( 51 @0.10 PER PG)                               5.10

 02/18/2018   RE2       SCAN/COPY ( 20 @0.10 PER PG)                               2.00

 02/20/2018   LN        32274.00001 Lexis Charges for 02-20-18                    13.68

 02/21/2018   LN        32274.00001 Lexis Charges for 02-21-18                     8.08

 02/21/2018   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20

 02/21/2018   RE2       SCAN/COPY ( 15 @0.10 PER PG)                               1.50

 02/21/2018   RE2       SCAN/COPY ( 23 @0.10 PER PG)                               2.30



 02/21/2018   RE2       SCAN/COPY ( 68 @0.10 PER PG)                               6.80



 02/23/2018   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60



 02/26/2018   LN        32274.00001 Lexis Charges for 02-26-18                    13.35



 02/26/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10



 02/26/2018   RE2       SCAN/COPY ( 28 @0.10 PER PG)                               2.80
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
                                                                       01/08/19 18:29:18
                                                                                15:53:32     Desc
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                                     Main Document
                                     Main Document    Page  658 of 750
                                                      Page 354 of 443

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Gottlieb, David K - Yashouafar                                                 Invoice 118713
32274     00001                                                                February 28, 2018



 02/26/2018   RE2       SCAN/COPY ( 46 @0.10 PER PG)                               4.60

 02/26/2018   RE2       SCAN/COPY ( 92 @0.10 PER PG)                               9.20

 02/28/2018   PAC       Pacer - Court Research                                    49.60

   Total Expenses for this Matter                                             $342.55
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
                                              Doc 797
                                                   648 Filed
                                                       Filed 12/01/20
                                                             01/08/19 Entered
                                                                       Entered 12/01/20
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                                              Main Document    Page  659 of 750
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Gottlieb, David K - Yashouafar                                                                           Invoice 118713
32274     00001                                                                                          February 28, 2018




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 02/28/2018

Total Fees                                                                                                               $45,600.00
Chargeable costs and disbursements                                                                                           $342.55
Total Due on Current Invoice.....................                                                                        $45,942.55


Outstanding Balance from prior Invoices as of 02/28/2018       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed           Balance Due


     114542                        09/30/2016                  $70,136.00                            $430.31             $70,566.31
     114911                        10/31/2016                  $98,085.50                           $7,280.89          $105,366.39
     115117                        11/30/2016                  $87,345.00                           $8,776.62            $96,121.62
     115185                        12/31/2016                  $73,344.00                           $2,031.97            $75,375.97
     115643                        01/31/2017                  $54,361.00                           $2,260.63            $56,621.63
     115896                        02/28/2017                  $50,737.50                            $803.31             $51,540.81
     116150                        03/31/2017                  $51,677.50                           $4,962.17            $56,639.67
     116402                        04/30/2017                 $104,852.00                           $9,398.28          $114,250.28
     116665                        05/31/2017                 $100,431.00                          $10,790.05          $110,024.54
     116970                        06/30/2017                  $47,800.00                           $3,522.61            $51,322.61
     117273                        07/31/2017                  $52,383.00                            $297.68             $52,680.68
     117433                        08/31/2017                  $92,699.00                           $3,787.46            $96,486.46
     117636                        09/30/2017                  $28,052.50                            $749.05             $28,801.55
     117926                        10/31/2017                  $30,300.50                           $1,696.72            $31,997.22
     118035                        11/30/2017                  $32,397.00                           $3,966.33            $36,363.33
     118167                        12/31/2017                  $57,147.50                           $1,632.63            $58,780.13
     118515                        01/31/2018                  $67,197.50                            $848.65             $68,046.15


Total Amount Due on Current and Prior Invoices                                                                        $1,206,927.90
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM     Doc
                               Doc 797
                                    648 Filed
                                        Filed 12/01/20
                                              01/08/19 Entered
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                               Main Document    Page  660 of 750
                                                Page 356 of 443

                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     March 31, 2018
D. Gottlieb & Associates                                             Invoice 119250
17000 Ventura Blvd #300                                              Client   32274
Encino, CA 91316                                                     Matter   00001
                                                                              JVR
RE: Yashouafar

___________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 03/31/2018
                 FEES                                                  $8,041.00
                 EXPENSES                                              $5,316.35
                 TOTAL CURRENT CHARGES                                $13,357.35

                 BALANCE FORWARD                                    $1,206,927.90
                 TOTAL BALANCE DUE                                  $1,220,285.25
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM             Doc
                                         Doc 797
                                              648 Filed
                                                  Filed 12/01/20
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                                         Main Document    Page  661 of 750
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Pachulski Stang Ziehl & Jones LLP                                                       Page:     2
Gottlieb, David K - Yashouafar                                                          Invoice 119250
32274     00001                                                                         March 31, 2018




 Summary of Services by Task Code
 Task Code             Description                                              Hours                      Amount

 BL                    Bankruptcy Litigation [L430]                              8.30                     $6,048.50
 CA                    Case Administration [B110]                                1.20                      $800.00
 RP                    Retention of Prof. [B160]                                 0.10                      $105.00
 SE                    Settlement                                                1.50                     $1,087.50
                                                                                11.10                     $8,041.00

 Summary of Services by Professional
 ID           Name                                    Title             Rate             Hours             Amount

 BDD          Dassa, Beth D.                          Paralegal        375.00             0.20             $75.00
 JVR          Richards, Jeremy V.                     Partner         1050.00             0.50            $525.00
 JWL          Lucas, John W.                          Partner          725.00            10.10           $7,322.50
 LAF          Forrester, Leslie A.                    Other            395.00             0.30            $118.50
                                                                                        11.10             $8,041.00




 Summary of Expenses
Description                                                                                                Amount

Bloomberg                                                                                                   $30.00



Federal Express [E108]                                                                                      $14.11



Lexis/Nexis- Legal Research [E                                                                              $12.15



Outside Services                                                                                         $5,000.00



Pacer - Court Research                                                                                      $19.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
                                                   01/08/19 Entered
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Gottlieb, David K - Yashouafar                                                Invoice 119250
32274     00001                                                               March 31, 2018


 Summary of Expenses
Description                                                                                     Amount

Postage [E108]                                                                                    $5.99



Reproduction/ Scan Copy                                                                         $234.60



                                                                                               $5,316.35
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
                                                               Entered 12/01/20
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Pachulski Stang Ziehl & Jones LLP                                                             Page:     4
Gottlieb, David K - Yashouafar                                                                Invoice 119250
32274     00001                                                                               March 31, 2018


                                                                                      Hours          Rate       Amount
  Bankruptcy Litigation [L430]
03/01/2018    LAF     BL        Research re: Corporate address.                        0.30       395.00        $118.50
03/01/2018    JWL     BL        Revise Elkwood complaint and send out for              1.00       725.00        $725.00
                                comments.
03/02/2018    JWL     BL        Work on service list and certificate of service for    1.90       725.00       $1,377.50
                                third amended complaint.
03/05/2018    JVR     BL        Review Court's memorandum re motion to dismiss         0.20      1050.00        $210.00
                                SAC (Elkwood).
03/05/2018    JWL     BL        Finalize and file third amended Elkwood complaint      1.00       725.00        $725.00
                                and arrange for service.
03/05/2018    JWL     BL        Draft stipulation to stay adversary proceeding of      0.70       725.00        $507.50
                                JCBL litigation.
03/07/2018    JVR     BL        Telephone C. Lipsey re 910 Rexford appraisal.          0.10      1050.00        $105.00
03/12/2018    JWL     BL        Draft settlement agreement resolving JCBL              2.10       725.00       $1,522.50
                                litigation.
03/13/2018    JWL     BL        Call with State Street regarding third amended         0.30       725.00        $217.50
                                complaint.
03/14/2018    JWL     BL        Review and respond to deposition stipulation           0.60       725.00        $435.00
                                between Abselet and Yashouafars (.4); call with
                                PWB counsel regarding deposition of Rene Garcia
                                (.2).
03/19/2018    JVR     BL        Review retention agreement re appraiser (Elkwood       0.10      1050.00        $105.00
                                litigation).
                                                                                       8.30                    $6,048.50

  Case Administration [B110]
03/06/2018    BDD     CA        Attend to misc. calendaring matters                    0.20       375.00         $75.00
03/29/2018    JWL     CA        Revise Zokai stay relief stipulation.                  0.80       725.00        $580.00
03/30/2018    JWL     CA        Review Zokai order and arrange for execution of        0.20       725.00        $145.00
                                stipulation.
                                                                                       1.20                     $800.00

  Retention of Prof. [B160]
03/20/2018    JVR     RP        Review appraiser retention agreement.                  0.10      1050.00        $105.00
                                                                                       0.10                     $105.00

  Settlement
03/15/2018    JWL     SE        Work on JCBL settlement motion.                        1.00       725.00        $725.00
03/16/2018    JWL     SE        Work on JCBL settlement and motion.                    0.50       725.00        $362.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
                                                   01/08/19 Entered
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Pachulski Stang Ziehl & Jones LLP                                                 Page:     5
Gottlieb, David K - Yashouafar                                                    Invoice 119250
32274     00001                                                                   March 31, 2018


                                                                           1.50                     $1,087.50

 TOTAL SERVICES FOR THIS MATTER:                                                                   $8,041.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
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Pachulski Stang Ziehl & Jones LLP                                              Page:     6
Gottlieb, David K - Yashouafar                                                 Invoice 119250
32274     00001                                                                March 31, 2018



Expenses
 03/01/2018   BB        32274.00001 Bloomberg Charges for 03-01-18                30.00

 03/05/2018   FE        32274.00001 FedEx Charges for 03-05-18                    14.11

 03/05/2018   PO        Postage [E108]                                             2.89

 03/05/2018   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                0.70

 03/05/2018   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60

 03/05/2018   RE2       SCAN/COPY ( 92 @0.10 PER PG)                               9.20

 03/05/2018   RE2       SCAN/COPY ( 147 @0.10 PER PG)                             14.70

 03/05/2018   RE2       SCAN/COPY ( 84 @0.10 PER PG)                               8.40

 03/05/2018   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 03/05/2018   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 03/05/2018   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 03/05/2018   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60

 03/05/2018   RE2       SCAN/COPY ( 42 @0.10 PER PG)                               4.20

 03/05/2018   RE2       SCAN/COPY ( 1932 @0.10 PER PG)                           193.20

 03/06/2018   LN        32274.00001 Lexis Charges for 03-06-18                    12.15

 03/06/2018   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40



 03/12/2018   PO        Postage [E108] SF Postage                                  3.10



 03/14/2018   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50



 03/20/2018   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40



 03/20/2018   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
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                                              Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                 Invoice 119250
32274     00001                                                                March 31, 2018

 03/21/2018   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40

 03/26/2018   OS        Lipsey Appraisal Service, JVR                          5,000.00

 03/31/2018   PAC       Pacer - Court Research                                    19.50

   Total Expenses for this Matter                                           $5,316.35
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
                                              Doc 797
                                                   648 Filed
                                                       Filed 12/01/20
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Pachulski Stang Ziehl & Jones LLP                                                                        Page:     8
Gottlieb, David K - Yashouafar                                                                           Invoice 119250
32274     00001                                                                                          March 31, 2018




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 03/31/2018

Total Fees                                                                                                                  $8,041.00
Chargeable costs and disbursements                                                                                          $5,316.35
Total Due on Current Invoice.....................                                                                          $13,357.35


Outstanding Balance from prior Invoices as of 03/31/2018       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed          Balance Due


     114542                        09/30/2016                  $70,136.00                            $430.31               $70,566.31
     114911                        10/31/2016                  $98,085.50                           $7,280.89             $105,366.39
     115117                        11/30/2016                  $87,345.00                           $8,776.62              $96,121.62
     115185                        12/31/2016                  $73,344.00                           $2,031.97              $75,375.97
     115643                        01/31/2017                  $54,361.00                           $2,260.63              $56,621.63
     115896                        02/28/2017                  $50,737.50                            $803.31               $51,540.81
     116150                        03/31/2017                  $51,677.50                           $4,962.17              $56,639.67
     116402                        04/30/2017                 $104,852.00                           $9,398.28             $114,250.28
     116665                        05/31/2017                 $100,431.00                          $10,790.05             $110,024.54
     116970                        06/30/2017                  $47,800.00                           $3,522.61              $51,322.61
     117273                        07/31/2017                  $52,383.00                            $297.68               $52,680.68
     117433                        08/31/2017                  $92,699.00                           $3,787.46              $96,486.46
     117636                        09/30/2017                  $28,052.50                            $749.05               $28,801.55
     117926                        10/31/2017                  $30,300.50                           $1,696.72              $31,997.22
     118035                        11/30/2017                  $32,397.00                           $3,966.33              $36,363.33
     118167                        12/31/2017                  $57,147.50                           $1,632.63              $58,780.13
     118515                        01/31/2018                  $67,197.50                            $848.65               $68,046.15
     118713                        02/28/2018                  $45,600.00                            $342.55               $45,942.55


Total Amount Due on Current and Prior Invoices                                                                       $1,220,285.25
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM     Doc
                               Doc 797
                                    648 Filed
                                        Filed 12/01/20
                                              01/08/19 Entered
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     April 30, 2018
D. Gottlieb & Associates                                             Invoice 119446
17000 Ventura Blvd #300                                              Client    32274
Encino, CA 91316                                                     Matter    00001
                                                                               JVR
RE: Yashouafar

___________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 04/30/2018
                 FEES                                                  $7,267.50
                 EXPENSES                                                $980.08
                 TOTAL CURRENT CHARGES                                 $8,247.58

                 BALANCE FORWARD                                    $1,220,285.25
                 TOTAL BALANCE DUE                                  $1,228,532.83
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM           Doc
                                       Doc 797
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                                                Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                        Invoice 119446
32274     00001                                                                       April 30, 2018




 Summary of Services by Task Code
 Task Code            Description                                             Hours                       Amount

 BL                   Bankruptcy Litigation [L430]                             9.70                      $7,267.50
                                                                               9.70                      $7,267.50

 Summary of Services by Professional
 ID           Name                                   Title            Rate            Hours               Amount

 JVR          Richards, Jeremy V.                    Partner        1050.00            0.60              $630.00
 JWL          Lucas, John W.                         Partner         725.00            8.90             $6,452.50
 KHB          Brown, Kenneth H.                      Partner         925.00            0.20              $185.00
                                                                                      9.70               $7,267.50




 Summary of Expenses
Description                                                                                               Amount

Federal Express [E108]                                                                                     $24.33



Pacer - Court Research                                                                                        $3.20



Reproduction/ Scan Copy                                                                                    $65.10



Transcript [E116]                                                                                         $887.45



                                                                                                          $980.08
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
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Gottlieb, David K - Yashouafar                                                                   Invoice 119446
32274     00001                                                                                  April 30, 2018


                                                                                         Hours           Rate        Amount
  Bankruptcy Litigation [L430]
04/09/2018    JWL     BL        Review JCBL decision and settlement and call with         1.00       725.00          $725.00
                                counsel regarding same (.5); prepare status report for
                                Elkwood proceeding (.5).
04/10/2018    JVR     BL        Review research re right to jury trial (Elkwood           0.10      1050.00          $105.00
                                litigation).
04/10/2018    JVR     BL        Review Memorandum of Decision (JCBL summary               0.20      1050.00          $210.00
                                judgment motion).
04/10/2018    JVR     BL        Review Elkwood/Fieldbrook answers.                        0.20      1050.00          $210.00
04/10/2018    JVR     BL        Conference with J. Lucas re Elkwood discovery.            0.10      1050.00          $105.00
04/10/2018    JWL     BL        Review Answer to Elkwood complaint and                    1.30       725.00          $942.50
                                counterclaim.
04/11/2018    KHB     BL        Telephone call with John Lucas.                           0.20       925.00          $185.00
04/11/2018    JWL     BL        Draft status conf. report for Elkwood action (.7);        3.30       725.00        $2,392.50
                                draft answer to Elkwood counter claim (1.8);
                                research jury trial issues (.8);
04/12/2018    JWL     BL        Revise answer to Elkwood counterclaim (.5); revise        1.00       725.00          $725.00
                                status report for Elkwood (.5);
04/16/2018    JWL     BL        Work on joint status report for Elkwood (.5);             0.50       725.00          $362.50
04/17/2018    JWL     BL        Work on preparation for summary judgment motion           0.50       725.00          $362.50
                                for Elkwood action.
04/20/2018    JWL     BL        Attend Rule 26(f) conf. with Elkwood and Abselet          0.50       725.00          $362.50
                                parties.
04/23/2018    JWL     BL        Call with J. Richards regarding Elkwood conference        0.20       725.00          $145.00
                                and status report.
04/30/2018    JWL     BL        Respond to questions of J. Richards regarding JCBL        0.60       725.00          $435.00
                                issues (.3); arrange for discovery in Elkwood (.3).
                                                                                          9.70                     $7,267.50

 TOTAL SERVICES FOR THIS MATTER:                                                                                  $7,267.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                        Invoice 119446
32274     00001                                                                       April 30, 2018



Expenses
 04/09/2018   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                      1.20

 04/09/2018   RE2       SCAN/COPY ( 25 @0.10 PER PG)                                      2.50

 04/10/2018   FE        32274.00001 FedEx Charges for 04-10-18                           24.33

 04/10/2018   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                      2.10

 04/10/2018   RE2       SCAN/COPY ( 25 @0.10 PER PG)                                      2.50

 04/11/2018   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                       0.50

 04/18/2018   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                       0.50

 04/18/2018   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                       0.90

 04/18/2018   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                      1.90

 04/18/2018   RE2       SCAN/COPY ( 49 @0.10 PER PG)                                      4.90

 04/18/2018   RE2       SCAN/COPY ( 249 @0.10 PER PG)                                    24.90

 04/24/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                       0.10

 04/24/2018   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                       0.30

 04/24/2018   RE2       SCAN/COPY ( 130 @0.10 PER PG)                                    13.00

 04/25/2018   TR        Transcript [E116] TSG Reporting, Inc., Inv. 020118-621057,      887.45
                        JVR

 04/27/2018   RE2       SCAN/COPY ( 70 @0.10 PER PG)                                      7.00



 04/30/2018   PAC       Pacer - Court Research                                            3.20



 04/30/2018   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                      1.30



 04/30/2018   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                      1.50



   Total Expenses for this Matter                                                    $980.08
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
                                              Doc 797
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Gottlieb, David K - Yashouafar                                                                           Invoice 119446
32274     00001                                                                                          April 30, 2018




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 04/30/2018

Total Fees                                                                                                                  $7,267.50
Chargeable costs and disbursements                                                                                            $980.08
Total Due on Current Invoice.....................                                                                           $8,247.58


Outstanding Balance from prior Invoices as of 04/30/2018       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed              Balance Due


     114542                        09/30/2016                  $70,136.00                            $430.31               $70,566.31
     114911                        10/31/2016                  $98,085.50                           $7,280.89             $105,366.39
     115117                        11/30/2016                  $87,345.00                           $8,776.62              $96,121.62
     115185                        12/31/2016                  $73,344.00                           $2,031.97              $75,375.97
     115643                        01/31/2017                  $54,361.00                           $2,260.63              $56,621.63
     115896                        02/28/2017                  $50,737.50                            $803.31               $51,540.81
     116150                        03/31/2017                  $51,677.50                           $4,962.17              $56,639.67
     116402                        04/30/2017                 $104,852.00                           $9,398.28             $114,250.28
     116665                        05/31/2017                 $100,431.00                          $10,790.05             $110,024.54
     116970                        06/30/2017                  $47,800.00                           $3,522.61              $51,322.61
     117273                        07/31/2017                  $52,383.00                            $297.68               $52,680.68
     117433                        08/31/2017                  $92,699.00                           $3,787.46              $96,486.46
     117636                        09/30/2017                  $28,052.50                            $749.05               $28,801.55
     117926                        10/31/2017                  $30,300.50                           $1,696.72              $31,997.22
     118035                        11/30/2017                  $32,397.00                           $3,966.33              $36,363.33
     118167                        12/31/2017                  $57,147.50                           $1,632.63              $58,780.13
     118515                        01/31/2018                  $67,197.50                            $848.65               $68,046.15
     118713                        02/28/2018                  $45,600.00                            $342.55               $45,942.55
     119250                        03/31/2018                   $8,041.00                           $5,316.35              $13,357.35
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
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Gottlieb, David K - Yashouafar                                                Invoice 119446
32274     00001                                                               April 30, 2018

Total Amount Due on Current and Prior Invoices                                             $1,228,532.83
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM     Doc
                               Doc 797
                                    648 Filed
                                        Filed 12/01/20
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                               Main Document    Page  674 of 750
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     May 31, 2018
D. Gottlieb & Associates                                             Invoice 119720
17000 Ventura Blvd #300                                              Client   32274
Encino, CA 91316                                                     Matter   00001
                                                                              JVR
RE: Yashouafar

___________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 05/31/2018
                 FEES                                                 $58,867.50
                 EXPENSES                                              $1,062.74
                 TOTAL CURRENT CHARGES                                $59,930.24

                 BALANCE FORWARD                                    $1,228,532.83
                 TOTAL BALANCE DUE                                  $1,288,463.07
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM             Doc
                                         Doc 797
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Gottlieb, David K - Yashouafar                                                          Invoice 119720
32274     00001                                                                         May 31, 2018




 Summary of Services by Task Code
 Task Code             Description                                              Hours                       Amount

 BL                    Bankruptcy Litigation [L430]                             33.80                     $26,427.50
 CA                    Case Administration [B110]                                0.50                       $187.50
 SL                    Stay Litigation [B140]                                   39.40                     $32,252.50
                                                                                73.70                     $58,867.50

 Summary of Services by Professional
 ID           Name                                    Title             Rate             Hours              Amount

 BDD          Dassa, Beth D.                          Paralegal        375.00             0.50             $187.50
 HCK          Kevane, Henry C.                        Partner          975.00             2.40            $2,340.00
 JJK          Kim, Jonathan J.                        Counsel          775.00             3.40            $2,635.00
 JVR          Richards, Jeremy V.                     Partner         1050.00            15.40           $16,170.00
 JWL          Lucas, John W.                          Partner          725.00            51.50           $37,337.50
 LAF          Forrester, Leslie A.                    Other            395.00             0.50             $197.50
                                                                                        73.70             $58,867.50




 Summary of Expenses
Description                                                                                                 Amount

Bloomberg                                                                                                   $120.40



Conference Call [E105]                                                                                          $2.64



CourtLink                                                                                                       $1.03



Federal Express [E108]                                                                                       $54.84



Lexis/Nexis- Legal Research [E                                                                              $580.13
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
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                                             Filed 12/01/20
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Pachulski Stang Ziehl & Jones LLP                                             Page:     3
Gottlieb, David K - Yashouafar                                                Invoice 119720
32274     00001                                                               May 31, 2018


 Summary of Expenses
Description                                                                                      Amount



Legal Vision Atty Mess Service                                                                    $65.00



Pacer - Court Research                                                                           $132.40



Postage [E108]                                                                                        $4.70



Reproduction Expense [E101]                                                                       $14.00



Reproduction/ Scan Copy                                                                           $87.60



                                                                                                $1,062.74
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
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                                      Main Document    Page  677 of 750
                                                       Page 373 of 443

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Gottlieb, David K - Yashouafar                                                                 Invoice 119720
32274     00001                                                                                May 31, 2018


                                                                                       Hours           Rate        Amount
  Bankruptcy Litigation [L430]
05/01/2018    JVR     BL        Attend hearing re status conference (Elkwood            3.10      1050.00        $3,255.00
                                adversary proceeding) (.3); Draft e-mail to J. Lucas
                                re same (.1).
05/01/2018    JWL     BL        Work on initial disclosures for Elkwood proceeding.     0.60       725.00          $435.00
05/02/2018    JWL     BL        Work on initial disclosures for Elkwood action (1.8)    2.50       725.00        $1,812.50
                                and arrange for production of documents to Elkwood
                                counsel (.7).
05/03/2018    JWL     BL        Revise and draft initial disclosures for Elkwood        1.30       725.00          $942.50
                                litigation.
05/04/2018    JWL     BL        Prepare discovery, status conference, and summary       2.70       725.00        $1,957.50
                                judgment scheduling order for Elkwood adversary
                                proceeding (.7); update and circulate plaintiff's
                                initial disclosures (1.0); work on strategy for
                                Elkwood witnesses (1.0).
05/07/2018    JWL     BL        Research and draft motion and facts for Elkwood         3.70       725.00        $2,682.50
                                summary judgment motion.
05/08/2018    JWL     BL        Research and draft summary judgment motion in           1.50       725.00        $1,087.50
                                Elkwood proceeding.
05/10/2018    JVR     BL        Conference with J. Lucas re Elkwood discovery.          0.20      1050.00         $210.00
05/10/2018    JWL     BL        Review interrogatories in Elkwood (.3); review          2.00       725.00        $1,450.00
                                document production for the same (.3); research and
                                draft summary judgment motion in Elkwood (1.4).
05/14/2018    JVR     BL        Conference with J. Lucas re Elkwood motion for          0.30      1050.00         $315.00
                                relief from stay.
05/16/2018    HCK     BL        Confer with J. Lucas re Trustee quiet title / BFP       0.80       975.00          $780.00
                                defenses and Sections 323 / 558 of Bankruptcy
                                Code, review files.
05/16/2018    JJK     BL        Emails Lucas re: Yashaoufar stip. and review same.      0.20       775.00          $155.00
05/17/2018    HCK     BL        Confer with J. Lucas re Trustee quiet title and stay    0.70       975.00          $682.50
                                relief to reform note assignment.
05/17/2018    HCK     BL        Further confer with J. Lucas and call with J.           0.60       975.00          $585.00
                                Richards re stay relief / trustee quiet title.
05/17/2018    JJK     BL        Review JCBL Trust settlement issues and emails          1.10       775.00          $852.50
                                Richards on same, and review related docs.
05/18/2018    HCK     BL        Confer with J. Lucas re opposition to reformation       0.10       975.00           $97.50
                                stay relief.
05/18/2018    JJK     BL        Consider JCBL payment issues and emails Mongan          1.00       775.00          $775.00
                                on same; call him on same.
05/21/2018    JJK     BL        Emails Richards on JCBL payment/settlement issues       0.90       775.00          $697.50
                                (0.2); prepare order on same and emails Richards
                                and Mongan on same (0.7).
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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                                      Main Document    Page  678 of 750
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Gottlieb, David K - Yashouafar                                                                Invoice 119720
32274     00001                                                                               May 31, 2018


                                                                                      Hours           Rate        Amount
05/22/2018    JVR     BL        Respond to e-mail from H. David re deposition of       0.10      1050.00          $105.00
                                Massoud Yashouafar (Elkwood litigation).
05/22/2018    JWL     BL        Prepare response for Elkwood document request and      2.00       725.00         $1,450.00
                                review documents for production.
05/23/2018    JWL     BL        Review documents for production for Elkwood            1.60       725.00         $1,160.00
                                discovery request.
05/29/2018    JWL     BL        Prepare responses to Elkwood interrogatories.          3.20       725.00         $2,320.00
05/30/2018    JJK     BL        Emails Mongan, Richards on revisions to JCBL           0.10       775.00           $77.50
                                order.
05/30/2018    JWL     BL        Prepare interrogatory responses to Elkwood (.9) and    3.40       725.00         $2,465.00
                                document production (.4); research and draft
                                summary judgment motion (2.1);
05/31/2018    JJK     BL        Emails Mongan on JCBL order.                           0.10       775.00           $77.50
                                                                                      33.80                     $26,427.50

  Case Administration [B110]
05/03/2018    BDD     CA        Attend to misc. calendaring matters                    0.20       375.00           $75.00
05/03/2018    BDD     CA        Email J. Lucas re calendaring matters                  0.10       375.00           $37.50
05/14/2018    BDD     CA        Attend to misc. calendaring matters                    0.10       375.00           $37.50
05/15/2018    BDD     CA        Email J. Lucas re calendaring matters                  0.10       375.00           $37.50
                                                                                       0.50                       $187.50

  Stay Litigation [B140]
05/14/2018    JVR     SL        Review Elkwood/Fieldbrook motion for relief from       0.60      1050.00          $630.00
                                stay (.4); Draft e-mail to J. Lucas re same (.2).
05/14/2018    JWL     SL        Research and draft objection to Elkwood stay relief    2.50       725.00         $1,812.50
                                motion.
05/15/2018    JWL     SL        Research and draft objection to Elkwood stay relief    6.20       725.00         $4,495.00
                                motion.
05/16/2018    JWL     SL        Research and draft objection to Elkwood stay relief    6.00       725.00         $4,350.00
                                motion.
05/17/2018    HCK     SL        Confer with J. Lucas re reformation S/L and Section    0.20       975.00          $195.00
                                108 extension.
05/17/2018    JVR     SL        Review draft opposition to Elkwood relief from stay    2.70      1050.00         $2,835.00
                                (.4); Research issues re same (2.3).
05/17/2018    JWL     SL        Research and draft response to Elkwood stay relief     5.50       725.00         $3,987.50
                                motion.
05/18/2018    JVR     SL        Research and revise opposition to relief from stay     3.50      1050.00         $3,675.00
                                motion (Elkwood).
05/18/2018    LAF     SL        Legal resarch re: CA statute of limitations.           0.50       395.00          $197.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
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                                              Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                                 Invoice 119720
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                                                                                       Hours           Rate        Amount
05/18/2018    JWL     SL        Research and draft objection to El\kwood stay relief    4.50       725.00         $3,262.50
                                motion.
05/21/2018    JVR     SL        Revise opposition to motion for relief from stay        1.40      1050.00         $1,470.00
                                (Elkwood/Fieldbrook).
05/21/2018    JWL     SL        Review revised objection to Elkwood stay relief         1.50       725.00         $1,087.50
                                motion and research for the same.
05/22/2018    JVR     SL        Revise opposition to motion for relief from stay        0.40      1050.00          $420.00
                                (Elkwood).
05/30/2018    JVR     SL        Review reply to opposition to motion for relief from    2.70      1050.00         $2,835.00
                                stay (.7); Prepare for hearing (2.0).
05/30/2018    JVR     SL        Prepare for relief from stay hearing (Elkwood).         0.40      1050.00          $420.00
05/30/2018    JWL     SL        Review response of Elkwood to stay relief objection     0.80       725.00          $580.00
                                and research the same.
                                                                                       39.40                     $32,252.50

 TOTAL SERVICES FOR THIS MATTER:                                                                              $58,867.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
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                                     Main Document    Page  680 of 750
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Gottlieb, David K - Yashouafar                                                 Invoice 119720
32274     00001                                                                May 31, 2018



Expenses
 04/20/2018   CC        Conference Call [E105] AT&T Conference Call, JWL           2.64

 05/01/2018   FE        32274.00001 FedEx Charges for 05-01-18                    13.71

 05/01/2018   FE        32274.00001 FedEx Charges for 05-01-18                    13.71

 05/02/2018   FE        32274.00001 FedEx Charges for 05-02-18                    13.71

 05/02/2018   FE        32274.00001 FedEx Charges for 05-02-18                    13.71

 05/04/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 05/04/2018   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30

 05/14/2018   LN        32274.00001 Lexis Charges for 05-14-18                    27.19

 05/14/2018   RE2       SCAN/COPY ( 37 @0.10 PER PG)                               3.70

 05/14/2018   RE2       SCAN/COPY ( 43 @0.10 PER PG)                               4.30

 05/14/2018   RE2       SCAN/COPY ( 71 @0.10 PER PG)                               7.10

 05/14/2018   RE2       SCAN/COPY ( 210 @0.10 PER PG)                             21.00

 05/15/2018   LN        32274.00001 Lexis Charges for 05-15-18                    16.08

 05/16/2018   LN        32274.00001 Lexis Charges for 05-16-18                   138.96

 05/17/2018   LN        32274.00001 Lexis Charges for 05-17-18                   126.98

 05/17/2018   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10



 05/17/2018   RE2       SCAN/COPY ( 22 @0.10 PER PG)                               2.20



 05/18/2018   BB        32274.00001 Bloomberg Charges for 05-18-18                30.00



 05/18/2018   BB        32274.00001 Bloomberg Charges for 05-18-18                 0.20



 05/18/2018   BB        32274.00001 Bloomberg Charges for 05-18-18                30.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
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                                     Main Document    Page  681 of 750
                                                      Page 377 of 443

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Gottlieb, David K - Yashouafar                                                      Invoice 119720
32274     00001                                                                     May 31, 2018

 05/18/2018   BB        32274.00001 Bloomberg Charges for 05-18-18                      0.20

 05/18/2018   BB        32274.00001 Bloomberg Charges for 05-18-18                     30.00

 05/18/2018   BB        32274.00001 Bloomberg Charges for 05-18-18                     30.00

 05/18/2018   CL        Courtlink charges                                               1.03

 05/18/2018   LN        32274.00001 Lexis Charges for 05-18-18                         54.05

 05/18/2018   LN        32274.00001 Lexis Charges for 05-18-18                        147.74

 05/18/2018   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                    1.10

 05/18/2018   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                    1.10

 05/18/2018   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                    1.10

 05/18/2018   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                    1.10

 05/22/2018   LV        Legal Vision Atty/Mess. Service- Inv #01918, San Fernando      65.00
                        Bankruptcy Court, JVR/GLD

 05/22/2018   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                     0.80

 05/22/2018   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                    1.00

 05/22/2018   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20

 05/22/2018   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20

 05/22/2018   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20

 05/29/2018   LN        32274.00001 Lexis Charges for 05-29-18                         69.13



 05/30/2018   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                     0.90



 05/30/2018   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                    2.10



 05/30/2018   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                    2.10



 05/30/2018   RE2       SCAN/COPY ( 23 @0.10 PER PG)                                    2.30
     Case
     Case 1:16-bk-12255-GM
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Gottlieb, David K - Yashouafar                                                 Invoice 119720
32274     00001                                                                May 31, 2018

 05/30/2018   RE2       SCAN/COPY ( 25 @0.10 PER PG)                               2.50

 05/30/2018   RE2       SCAN/COPY ( 25 @0.10 PER PG)                               2.50

 05/30/2018   RE2       SCAN/COPY ( 44 @0.10 PER PG)                               4.40

 05/30/2018   RE2       SCAN/COPY ( 210 @0.10 PER PG)                             21.00

 05/31/2018   PAC       Pacer - Court Research                                   132.40

 05/31/2018   PO        32274.00001 :Postage Charges for 05-31-18                  4.70

 05/31/2018   RE        ( 70 @0.20 PER PG)                                        14.00

 05/31/2018   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

   Total Expenses for this Matter                                           $1,062.74
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
                                              Doc 797
                                                   648 Filed
                                                       Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                                           Invoice 119720
32274     00001                                                                                          May 31, 2018




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 05/31/2018

Total Fees                                                                                                                 $58,867.50
Chargeable costs and disbursements                                                                                          $1,062.74
Total Due on Current Invoice.....................                                                                          $59,930.24


Outstanding Balance from prior Invoices as of 05/31/2018       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed              Balance Due


     114542                        09/30/2016                  $70,136.00                            $430.31               $70,566.31
     114911                        10/31/2016                  $98,085.50                           $7,280.89             $105,366.39
     115117                        11/30/2016                  $87,345.00                           $8,776.62              $96,121.62
     115185                        12/31/2016                  $73,344.00                           $2,031.97              $75,375.97
     115643                        01/31/2017                  $54,361.00                           $2,260.63              $56,621.63
     115896                        02/28/2017                  $50,737.50                            $803.31               $51,540.81
     116150                        03/31/2017                  $51,677.50                           $4,962.17              $56,639.67
     116402                        04/30/2017                 $104,852.00                           $9,398.28             $114,250.28
     116665                        05/31/2017                 $100,431.00                          $10,790.05             $110,024.54
     116970                        06/30/2017                  $47,800.00                           $3,522.61              $51,322.61
     117273                        07/31/2017                  $52,383.00                            $297.68               $52,680.68
     117433                        08/31/2017                  $92,699.00                           $3,787.46              $96,486.46
     117636                        09/30/2017                  $28,052.50                            $749.05               $28,801.55
     117926                        10/31/2017                  $30,300.50                           $1,696.72              $31,997.22
     118035                        11/30/2017                  $32,397.00                           $3,966.33              $36,363.33
     118167                        12/31/2017                  $57,147.50                           $1,632.63              $58,780.13
     118515                        01/31/2018                  $67,197.50                            $848.65               $68,046.15
     118713                        02/28/2018                  $45,600.00                            $342.55               $45,942.55
     119250                        03/31/2018                   $8,041.00                           $5,316.35              $13,357.35
     119446                        04/30/2018                   $7,267.50                            $980.08                $8,247.58
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
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Total Amount Due on Current and Prior Invoices                                             $1,288,463.07
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM     Doc
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     June 30, 2018
D. Gottlieb & Associates                                             Invoice 119921
17000 Ventura Blvd #300                                              Client    32274
Encino, CA 91316                                                     Matter    00001
                                                                               JVR
RE: Yashouafar

___________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 06/30/2018
                 FEES                                                 $72,507.50
                 EXPENSES                                                $685.06
                 TOTAL CURRENT CHARGES                                $73,192.56

                 BALANCE FORWARD                                    $1,288,463.07
                 TOTAL BALANCE DUE                                  $1,361,655.63
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM            Doc
                                        Doc 797
                                             648 Filed
                                                 Filed 12/01/20
                                                       01/08/19 Entered
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Pachulski Stang Ziehl & Jones LLP                                                      Page:     2
Gottlieb, David K - Yashouafar                                                         Invoice 119921
32274     00001                                                                        June 30, 2018




 Summary of Services by Task Code
 Task Code            Description                                              Hours                       Amount

 BL                   Bankruptcy Litigation [L430]                             86.10                     $66,532.50
 SL                   Stay Litigation [B140]                                    6.00                      $5,975.00
                                                                               92.10                     $72,507.50

 Summary of Services by Professional
 ID           Name                                   Title             Rate             Hours              Amount

 BDD          Dassa, Beth D.                         Paralegal        375.00             5.20            $1,950.00
 HCK          Kevane, Henry C.                       Partner          975.00             0.40             $390.00
 JJK          Kim, Jonathan J.                       Counsel          775.00            42.50           $32,937.50
 JVR          Richards, Jeremy V.                    Partner         1050.00            16.40           $17,220.00
 JWL          Lucas, John W.                         Partner          725.00            27.60           $20,010.00
                                                                                       92.10             $72,507.50




 Summary of Expenses
Description                                                                                                Amount

CourtLink                                                                                                   $30.44



Federal Express [E108]                                                                                      $23.17



Lexis/Nexis- Legal Research [E                                                                             $229.34



Legal Vision Atty Mess Service                                                                              $95.00



Pacer - Court Research                                                                                      $23.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
                                                   01/08/19 Entered
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Pachulski Stang Ziehl & Jones LLP                                             Page:     3
Gottlieb, David K - Yashouafar                                                Invoice 119921
32274     00001                                                               June 30, 2018


 Summary of Expenses
Description                                                                                      Amount
Postage [E108]                                                                                    $22.71



Reproduction Expense [E101]                                                                       $78.60



Reproduction/ Scan Copy                                                                          $182.80



                                                                                                 $685.06
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                                Invoice 119921
32274     00001                                                                               June 30, 2018


                                                                                      Hours           Rate        Amount
  Bankruptcy Litigation [L430]
05/31/2018    JJK     BL        Emails Mongan, Richards, and coordinate                0.20       775.00          $155.00
                                lodging/service of JCBL proposed order.
06/05/2018    JWL     BL        Call with J. Richards regarding research for           0.50       725.00          $362.50
                                summary judgment motion for Elkwood.
06/05/2018    JVR     BL        Conference with J. Lucas re motion for summary         0.30      1050.00          $315.00
                                judgment (Elkwood/Fieldbrook).
06/06/2018    JJK     BL        Elkwood -- Conf. Richards on BFP/DOT issues            1.20       775.00          $930.00
                                (1.0); consider issues (0.2).
06/06/2018    JVR     BL        Conference with J. Kim re Elkwood/Fieldbrook           0.80      1050.00          $840.00
                                constructive notice arguments (Motion for Summary
                                Judgment).
06/06/2018    JVR     BL        Review documents re M. Yashouafar deposition.          0.30      1050.00          $315.00
06/06/2018    BDD     BL        Email J. Richards re project re PWB document           0.10       375.00           $37.50
                                production
06/06/2018    BDD     BL        Confer with J. Richards re PWB doc review              0.10       375.00           $37.50
06/07/2018    JJK     BL        Research on BFP/DOT issues (Elkwood).                  2.40       775.00         $1,860.00
06/07/2018    JWL     BL        Review case from H. David regarding avoiding liens     0.50       725.00          $362.50
                                and respond.
06/08/2018    JJK     BL        Research constructive notice, BFP issues and emails    5.70       775.00         $4,417.50
                                Richards on same.
06/11/2018    JJK     BL        Call Chambers re: JCBL order, emails Richards on       0.20       775.00          $155.00
                                same, email Mongan on same.
06/11/2018    JJK     BL        Elkwood - research re BFP/DOT matters.                 3.40       775.00         $2,635.00
06/11/2018    BDD     BL        Begin PWB doc review                                   2.20       375.00          $825.00
06/11/2018    JWL     BL        Draft and serve Massoud deposition notice.             1.00       725.00          $725.00
06/12/2018    JJK     BL        Elkwood- Research re BFP/DOT matters.                 13.90       775.00        $10,772.50
06/12/2018    JJK     BL        Emails Mongan, Lucas on bank wire / payment            0.10       775.00           $77.50
                                issues.
06/12/2018    BDD     BL        Email J. Richards re PWB document production           0.10       375.00           $37.50
06/12/2018    BDD     BL        Continue PWB document review; email J. Richards        2.10       375.00          $787.50
                                re same
06/12/2018    BDD     BL        Review docs re H. David request; email H. David re     0.20       375.00           $75.00
                                same
06/13/2018    JJK     BL        Research re BFP/DOT matters - Elkwood.                 0.40       775.00          $310.00
06/13/2018    JWL     BL        Call with Pacific Western Bank regarding form of       0.70       725.00          $507.50
                                order for turnover of JCBL funds; revise order for
                                the same; call with J. Kim regarding same.
06/14/2018    JJK     BL        Emails Lucas, coordinate filing/service of amended     0.20       775.00          $155.00
                                JCBL order.
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
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Gottlieb, David K - Yashouafar                                                              Invoice 119921
32274     00001                                                                             June 30, 2018


                                                                                    Hours           Rate        Amount
06/14/2018    JJK     BL        Elkwood- Research on BFP/DOT issues.                 2.20       775.00         $1,705.00
06/14/2018    JJK     BL        Elkwood- Research on BFP issues.                     3.30       775.00         $2,557.50
06/14/2018    JWL     BL        Research and draft Elkwood summary judgment          1.70       725.00         $1,232.50
                                motion.
06/15/2018    JJK     BL        Elkwood- Research re: BFP matters and email notes    8.40       775.00         $6,510.00
                                Lucas, Richards on same.
06/15/2018    BDD     BL        Email J. Richards re PWB doc production              0.10       375.00           $37.50
06/18/2018    BDD     BL        Work on PWB doc production per J. Richards           0.20       375.00           $75.00
                                request
06/18/2018    BDD     BL        Further revisions re PWB document production         0.10       375.00           $37.50
06/18/2018    JWL     BL        Prepare for Massoud deposition (.5); research and    4.70       725.00         $3,407.50
                                draft summary judgment motion in Elkwood (4.2).
06/19/2018    JWL     BL        Research and draft motion for summary judgment in    3.00       725.00         $2,175.00
                                Elkwood action.
06/19/2018    JWL     BL        Review documents produced by Massoud in relation     2.00       725.00         $1,450.00
                                to Elkwood action and deposition.
06/20/2018    JWL     BL        Research and draft summary judgment motion for       3.70       725.00         $2,682.50
                                Elkwood action.
06/21/2018    HCK     BL        Confer with J. Lucas re MSJ on quiet title and       0.40       975.00          $390.00
                                affirmative defenses.
06/21/2018    JWL     BL        Research and draft summary judgment motion in        7.30       725.00         $5,292.50
                                Elkwood.
06/22/2018    JVR     BL        Review draft motion for summary judgment             0.40      1050.00          $420.00
                                (Elkwood).
06/22/2018    JVR     BL        Prepare for M. Yashouafar deposition (Elkwood        2.30      1050.00         $2,415.00
                                litigation).
06/22/2018    JWL     BL        Research regarding Elkwood summary judgment          1.50       725.00         $1,087.50
                                motion and revising the same in response to
                                questions from J. Richards.
06/23/2018    JVR     BL        Prepare for deposition of M. Yashouafar (Elkwood     0.50      1050.00          $525.00
                                litigation).
06/23/2018    JVR     BL        Review revisions to motion for summary judgment      0.30      1050.00          $315.00
                                (Elkwood litigation).
06/25/2018    JVR     BL        Attend deposition of M. Yashouafar (Elkwood          6.50      1050.00         $6,825.00
                                litigation).
06/27/2018    JJK     BL        Emails Mongan, Pacific Bank counsel re JCBL          0.10       775.00           $77.50
                                payment.
06/28/2018    JJK     BL        Emails bank counsel, Mongan, Richards, Gottlieb's    0.80       775.00          $620.00
                                office re: JCBL payment.
                                                                                    86.10                     $66,532.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
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Gottlieb, David K - Yashouafar                                                                Invoice 119921
32274     00001                                                                               June 30, 2018


                                                                                      Hours           Rate        Amount
  Stay Litigation [B140]
06/04/2018    JVR     SL        Prepare for relief from stay hearing (1.4); Review     2.00      1050.00        $2,100.00
                                and analyze tentative ruling (.6).
06/04/2018    JWL     SL        Review tentative decision regarding Elkwood stay       1.00       725.00          $725.00
                                relief motion, prepare J. Richards for hearing, and
                                discuss same with J. Richards.
06/05/2018    JVR     SL        Attend hearing on motion for relief from stay          3.00      1050.00        $3,150.00
                                (Elkwood).
                                                                                       6.00                     $5,975.00

 TOTAL SERVICES FOR THIS MATTER:                                                                             $72,507.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
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Gottlieb, David K - Yashouafar                                                      Invoice 119921
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Expenses
 05/31/2018   FE        32274.00001 FedEx Charges for 05-31-18                          9.33

 06/05/2018   FE        32274.00001 FedEx Charges for 06-05-18                         13.84

 06/05/2018   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50

 06/05/2018   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                     0.90

 06/05/2018   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                     0.90

 06/05/2018   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50

 06/05/2018   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50

 06/05/2018   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20

 06/05/2018   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                     0.90

 06/06/2018   LV        Legal Vision Atty/Mess. Service- Inv. 02135, San Fernando      65.00
                        Bankruptcy Court, JVR

 06/06/2018   RE        ( 21 @0.20 PER PG)                                              4.20

 06/07/2018   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40

 06/08/2018   RE        ( 117 @0.20 PER PG)                                            23.40

 06/11/2018   LN        32274.00001 Lexis Charges for 06-11-18                        127.64

 06/11/2018   PO        Postage [E108]                                                 13.31

 06/11/2018   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30



 06/11/2018   RE2       SCAN/COPY ( 110 @0.10 PER PG)                                  11.00



 06/11/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10



 06/12/2018   LN        32274.00001 Lexis Charges for 06-12-18                         35.97



 06/12/2018   PO        32274.00001 :Postage Charges for 06-12-18                       4.70
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
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Gottlieb, David K - Yashouafar                                                 Invoice 119921
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 06/12/2018   RE        ( 40 @0.20 PER PG)                                         8.00

 06/12/2018   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60

 06/12/2018   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                0.70

 06/13/2018   LN        32274.00001 Lexis Charges for 06-13-18                     0.51

 06/14/2018   LN        32274.00001 Lexis Charges for 06-14-18                     2.82

 06/14/2018   LN        32274.00001 Lexis Charges for 06-14-18                    22.21

 06/14/2018   RE2       SCAN/COPY ( 80 @0.10 PER PG)                               8.00

 06/15/2018   LN        32274.00001 Lexis Charges for 06-15-18                     3.06

 06/18/2018   LN        32274.00001 Lexis Charges for 06-18-18                    12.90

 06/19/2018   LN        32274.00001 Lexis Charges for 06-19-18                    24.23

 06/19/2018   LV        Legal Vision Atty/Mess. Service- Inv. 02271, JVR          30.00

 06/19/2018   RE2       SCAN/COPY ( 843 @0.10 PER PG)                             84.30

 06/20/2018   RE        ( 5 @0.20 PER PG)                                          1.00

 06/20/2018   RE        ( 60 @0.20 PER PG)                                        12.00

 06/20/2018   RE        ( 120 @0.20 PER PG)                                       24.00

 06/20/2018   RE2       SCAN/COPY ( 19 @0.10 PER PG)                               1.90

 06/20/2018   RE2       SCAN/COPY ( 19 @0.10 PER PG)                               1.90



 06/20/2018   RE2       SCAN/COPY ( 19 @0.10 PER PG)                               1.90



 06/20/2018   RE2       SCAN/COPY ( 19 @0.10 PER PG)                               1.90



 06/20/2018   RE2       SCAN/COPY ( 19 @0.10 PER PG)                               1.90



 06/20/2018   RE2       SCAN/COPY ( 19 @0.10 PER PG)                               1.90



 06/20/2018   RE2       SCAN/COPY ( 19 @0.10 PER PG)                               1.90
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     Case 1:16-bk-12255-GM
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 06/20/2018   RE2       SCAN/COPY ( 18 @0.10 PER PG)                              1.80

 06/20/2018   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90

 06/20/2018   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90

 06/20/2018   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90

 06/20/2018   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90

 06/20/2018   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90

 06/20/2018   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90

 06/20/2018   RE2       SCAN/COPY ( 9 @0.10 PER PG)                               0.90

 06/20/2018   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90

 06/20/2018   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90

 06/20/2018   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90

 06/20/2018   RE2       SCAN/COPY ( 24 @0.10 PER PG)                              2.40

 06/20/2018   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90

 06/20/2018   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90

 06/20/2018   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90

 06/20/2018   RE2       SCAN/COPY ( 19 @0.10 PER PG)                              1.90



 06/21/2018   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20



 06/21/2018   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50



 06/21/2018   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20



 06/21/2018   RE2       SCAN/COPY ( 44 @0.10 PER PG)                              4.40



 06/21/2018   RE2       SCAN/COPY ( 23 @0.10 PER PG)                              2.30
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
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32274     00001                                                                June 30, 2018



 06/23/2018   RE2       SCAN/COPY ( 31 @0.10 PER PG)                               3.10

 06/23/2018   RE2       SCAN/COPY ( 31 @0.10 PER PG)                               3.10

 06/25/2018   RE2       SCAN/COPY ( 25 @0.10 PER PG)                               2.50

 06/25/2018   RE2       SCAN/COPY ( 55 @0.10 PER PG)                               5.50

 06/25/2018   RE2       SCAN/COPY ( 10 @0.10 PER PG)                               1.00

 06/25/2018   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10

 06/26/2018   CL        Courtlink charges                                          0.71

 06/26/2018   CL        Courtlink charges                                          0.79

 06/26/2018   CL        Courtlink charges                                         26.48

 06/26/2018   CL        Courtlink charges                                          0.82

 06/26/2018   CL        Courtlink charges                                          0.82

 06/26/2018   CL        Courtlink charges                                          0.82

 06/28/2018   PO        32274.00001 :Postage Charges for 06-28-18                  4.70

 06/28/2018   RE        ( 30 @0.20 PER PG)                                         6.00

 06/30/2018   PAC       Pacer - Court Research                                    23.00

   Total Expenses for this Matter                                             $685.06
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
                                              Doc 797
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Gottlieb, David K - Yashouafar                                                                           Invoice 119921
32274     00001                                                                                          June 30, 2018




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 06/30/2018

Total Fees                                                                                                                 $72,507.50
Chargeable costs and disbursements                                                                                            $685.06
Total Due on Current Invoice.....................                                                                          $73,192.56


Outstanding Balance from prior Invoices as of 06/30/2018       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed              Balance Due


     114542                        09/30/2016                  $70,136.00                            $430.31               $70,566.31
     114911                        10/31/2016                  $98,085.50                           $7,280.89             $105,366.39
     115117                        11/30/2016                  $87,345.00                           $8,776.62              $96,121.62
     115185                        12/31/2016                  $73,344.00                           $2,031.97              $75,375.97
     115643                        01/31/2017                  $54,361.00                           $2,260.63              $56,621.63
     115896                        02/28/2017                  $50,737.50                            $803.31               $51,540.81
     116150                        03/31/2017                  $51,677.50                           $4,962.17              $56,639.67
     116402                        04/30/2017                 $104,852.00                           $9,398.28             $114,250.28
     116665                        05/31/2017                 $100,431.00                          $10,790.05             $110,024.54
     116970                        06/30/2017                  $47,800.00                           $3,522.61              $51,322.61
     117273                        07/31/2017                  $52,383.00                            $297.68               $52,680.68
     117433                        08/31/2017                  $92,699.00                           $3,787.46              $96,486.46
     117636                        09/30/2017                  $28,052.50                            $749.05               $28,801.55
     117926                        10/31/2017                  $30,300.50                           $1,696.72              $31,997.22
     118035                        11/30/2017                  $32,397.00                           $3,966.33              $36,363.33
     118167                        12/31/2017                  $57,147.50                           $1,632.63              $58,780.13
     118515                        01/31/2018                  $67,197.50                            $848.65               $68,046.15
     118713                        02/28/2018                  $45,600.00                            $342.55               $45,942.55
     119250                        03/31/2018                   $8,041.00                           $5,316.35              $13,357.35
     119446                        04/30/2018                   $7,267.50                            $980.08                $8,247.58
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
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Gottlieb, David K - Yashouafar                                                  Invoice 119921
32274     00001                                                                 June 30, 2018

    119720                   05/31/2018             $58,867.50             $1,062.74              $59,930.24


Total Amount Due on Current and Prior Invoices                                               $1,361,655.63
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM     Doc
                               Doc 797
                                    648 Filed
                                        Filed 12/01/20
                                              01/08/19 Entered
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                               Main Document    Page  697 of 750
                                                Page 393 of 443

                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     July 31, 2018
D. Gottlieb & Associates                                             Invoice 120014
17000 Ventura Blvd #300                                              Client    32274
Encino, CA 91316                                                     Matter    00001
                                                                               JVR
RE: Yashouafar

___________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 07/31/2018
                 FEES                                                 $20,406.00
                 EXPENSES                                              $1,651.37
                 TOTAL CURRENT CHARGES                                $22,057.37

                 BALANCE FORWARD                                    $1,361,655.63
                 TOTAL BALANCE DUE                                  $1,383,713.00
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM            Doc
                                        Doc 797
                                             648 Filed
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                                        Main Document    Page  698 of 750
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Pachulski Stang Ziehl & Jones LLP                                                      Page:     2
Gottlieb, David K - Yashouafar                                                         Invoice 120014
32274     00001                                                                        July 31, 2018




 Summary of Services by Task Code
 Task Code             Description                                             Hours                       Amount

 BL                    Bankruptcy Litigation [L430]                            26.60                     $19,656.00
 CA                    Case Administration [B110]                               0.60                       $225.00
 LN                    Litigation (Non-Bankruptcy)                              0.50                       $525.00
                                                                               27.70                     $20,406.00

 Summary of Services by Professional
 ID           Name                                    Title            Rate             Hours              Amount

 BDD          Dassa, Beth D.                          Paralegal       375.00             0.60             $225.00
 JJK          Kim, Jonathan J.                        Counsel         775.00             2.90            $2,247.50
 JVR          Richards, Jeremy V.                     Partner        1050.00             2.90            $3,045.00
 JWL          Lucas, John W.                          Partner         725.00            19.30           $13,992.50
 KHB          Brown, Kenneth H.                       Partner         925.00             0.20             $185.00
 LAF          Forrester, Leslie A.                    Other           395.00             1.80             $711.00
                                                                                       27.70             $20,406.00




 Summary of Expenses
Description                                                                                                Amount

Conference Call [E105]                                                                                         $3.77



Federal Express [E108]                                                                                      $23.60



Pacer - Court Research                                                                                      $21.90



Postage [E108]                                                                                              $33.10



Reproduction Expense [E101]                                                                                 $70.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
                                                   01/08/19 Entered
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Pachulski Stang Ziehl & Jones LLP                                             Page:     3
Gottlieb, David K - Yashouafar                                                Invoice 120014
32274     00001                                                               July 31, 2018


 Summary of Expenses
Description                                                                                      Amount



Reproduction/ Scan Copy                                                                          $269.00



Transcript [E116]                                                                               $1,230.00



                                                                                                $1,651.37
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
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Pachulski Stang Ziehl & Jones LLP                                                              Page:     4
Gottlieb, David K - Yashouafar                                                                 Invoice 120014
32274     00001                                                                                July 31, 2018


                                                                                       Hours           Rate        Amount
  Bankruptcy Litigation [L430]
07/02/2018    LAF     BL        Legal research re: Interpretation of contract in        0.80       395.00          $316.00
                                California.
07/02/2018    LAF     BL        Legal resarch re: California procedure re responding    1.00       395.00          $395.00
                                to affirmative defense in summary judgment answer.
07/02/2018    JWL     BL        Research, draft and revise Elkwood summary              2.80       725.00         $2,030.00
                                judgment motion.
07/02/2018    JJK     BL        Emails Richards re Abselet settlement treatment of      0.60       775.00          $465.00
                                JCBL funds and review settlement form.
07/03/2018    JWL     BL        Research and draft summary judgment motion in           3.50       725.00         $2,537.50
                                Elkwood.
07/05/2018    JJK     BL        Emails Richards on JCBL settlement/pro rata             0.80       775.00          $620.00
                                calculations.
07/05/2018    JWL     BL        Draft summary judgment motion in Elkwood.               2.00       725.00         $1,450.00
07/06/2018    JVR     BL        Review final draft of motion for summary judgment       0.40      1050.00          $420.00
                                (Elkwood).
07/06/2018    JWL     BL        Call with Abselet counsel regarding motion to           1.50       725.00         $1,087.50
                                amend in Elkwood (.5); research and draft summary
                                judgment motion in Elkwood (1.0).
07/08/2018    JJK     BL        Review SJ motion re: Elkwood.                           0.50       775.00          $387.50
07/09/2018    JWL     BL        Revise and finalize Elkwood summary judgment            1.50       725.00         $1,087.50
                                motion.
07/10/2018    JVR     BL        Review transcript of deposition (Massoud                0.50      1050.00          $525.00
                                Yashouafar) - Elkwood litigation.
07/23/2018    JJK     BL        Review defendants' cross-motion.                        0.50       775.00          $387.50
07/24/2018    JJK     BL        Review Debtors' cross-motion re Elkwood.                0.50       775.00          $387.50
07/24/2018    JVR     BL        Review Elkwood motion for summary judgment.             0.90      1050.00          $945.00
07/24/2018    JWL     BL        Review Elkwood summary judgment motion and              1.00       725.00          $725.00
                                begin outlining objection.
07/30/2018    JWL     BL        Research and review objection to Elkwood summary        3.00       725.00         $2,175.00
                                judgment motion.
07/31/2018    JVR     BL        Conference with J. Lucas re opposition to Elkwood       0.30      1050.00          $315.00
                                MSJ.
07/31/2018    JVR     BL        Telephone C. Lipsey re 910 N. Rexford appraisal.        0.30      1050.00          $315.00
07/31/2018    KHB     BL        Confer with J. Lucas re evidenuiary objection to        0.20       925.00          $185.00
                                cross motion for summary judgment.
07/31/2018    JWL     BL        Research regarding objection to Elkwood summary         4.00       725.00         $2,900.00
                                judgment motion.
                                                                                       26.60                     $19,656.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
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                                                      Page 397 of 443

Pachulski Stang Ziehl & Jones LLP                                                             Page:     5
Gottlieb, David K - Yashouafar                                                                Invoice 120014
32274     00001                                                                               July 31, 2018


                                                                                      Hours           Rate        Amount
  Case Administration [B110]
07/09/2018    BDD     CA        Attend to misc. calendaring matters; email J. Lucas    0.20       375.00          $75.00
                                and M. DesJardien re same
07/23/2018    BDD     CA        Attend to misc. calendaring matters; email J. Lucas    0.20       375.00          $75.00
                                re same
07/23/2018    BDD     CA        Email J. Richards re calendaring matters               0.10       375.00          $37.50
07/24/2018    BDD     CA        Attend to misc. calendaring matters                    0.10       375.00          $37.50
                                                                                       0.60                      $225.00

  Litigation (Non-Bankruptcy)
07/30/2018    JVR     LN        Review trial brief (API Oklahoma litigation).          0.20      1050.00         $210.00
07/31/2018    JVR     LN        Telephone conference with D. Coniff and H. David       0.30      1050.00         $315.00
                                re Oklahoma litigation/mediation/trial.
                                                                                       0.50                      $525.00

 TOTAL SERVICES FOR THIS MATTER:                                                                             $20,406.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
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Pachulski Stang Ziehl & Jones LLP                                              Page:     6
Gottlieb, David K - Yashouafar                                                 Invoice 120014
32274     00001                                                                July 31, 2018



Expenses
 06/13/2018   CC        Conference Call [E105] AT&T Conference Call, JWL           3.77

 06/14/2018   FE        Federal Express [E108]                                     9.29

 07/02/2018   RE2       SCAN/COPY ( 53 @0.10 PER PG)                               5.30

 07/02/2018   RE2       SCAN/COPY ( 32 @0.10 PER PG)                               3.20

 07/02/2018   RE2       SCAN/COPY ( 23 @0.10 PER PG)                               2.30

 07/03/2018   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40

 07/06/2018   RE2       SCAN/COPY ( 82 @0.10 PER PG)                               8.20

 07/06/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 07/09/2018   FE        Federal Express [E108]                                    14.31

 07/09/2018   PO        Postage [E108]                                            33.10

 07/09/2018   RE        ( 16 @0.20 PER PG)                                         3.20

 07/09/2018   RE        ( 8 @0.20 PER PG)                                          1.60

 07/09/2018   RE        ( 20 @0.20 PER PG)                                         4.00

 07/09/2018   RE        ( 72 @0.20 PER PG)                                        14.40

 07/09/2018   RE        ( 52 @0.20 PER PG)                                        10.40

 07/09/2018   RE        ( 10 @0.20 PER PG)                                         2.00



 07/09/2018   RE        ( 10 @0.20 PER PG)                                         2.00



 07/09/2018   RE        ( 8 @0.20 PER PG)                                          1.60



 07/09/2018   RE        ( 20 @0.20 PER PG)                                         4.00



 07/09/2018   RE        ( 26 @0.20 PER PG)                                         5.20
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
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Gottlieb, David K - Yashouafar                                                     Invoice 120014
32274     00001                                                                    July 31, 2018

 07/09/2018   RE        ( 6 @0.20 PER PG)                                              1.20

 07/09/2018   RE        ( 14 @0.20 PER PG)                                             2.80

 07/09/2018   RE2       SCAN/COPY ( 130 @0.10 PER PG)                                 13.00

 07/09/2018   RE2       SCAN/COPY ( 68 @0.10 PER PG)                                   6.80

 07/09/2018   RE2       SCAN/COPY ( 500 @0.10 PER PG)                                 50.00

 07/09/2018   RE2       SCAN/COPY ( 50 @0.10 PER PG)                                   5.00

 07/09/2018   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                   1.30

 07/09/2018   RE2       SCAN/COPY ( 680 @0.10 PER PG)                                 68.00

 07/09/2018   RE2       SCAN/COPY ( 100 @0.10 PER PG)                                 10.00

 07/09/2018   RE2       SCAN/COPY ( 26 @0.10 PER PG)                                   2.60

 07/09/2018   RE2       SCAN/COPY ( 136 @0.10 PER PG)                                 13.60

 07/11/2018   TR        Transcript [E116] TSG Reporting, Inv. 062518-653024, JVR   1,230.00

 07/12/2018   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                   1.30

 07/12/2018   RE2       SCAN/COPY ( 68 @0.10 PER PG)                                   6.80

 07/12/2018   RE2       SCAN/COPY ( 50 @0.10 PER PG)                                   5.00

 07/21/2018   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                   2.90

 07/24/2018   RE        ( 64 @0.20 PER PG)                                            12.80



 07/24/2018   RE2       SCAN/COPY ( 44 @0.10 PER PG)                                   4.40



 07/24/2018   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                   1.40



 07/24/2018   RE2       SCAN/COPY ( 48 @0.10 PER PG)                                   4.80



 07/24/2018   RE2       SCAN/COPY ( 478 @0.10 PER PG)                                 47.80
     Case
     Case 1:16-bk-12255-GM
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Pachulski Stang Ziehl & Jones LLP                                              Page:     8
Gottlieb, David K - Yashouafar                                                 Invoice 120014
32274     00001                                                                July 31, 2018


 07/28/2018   RE2       SCAN/COPY ( 17 @0.10 PER PG)                               1.70

 07/30/2018   RE        ( 24 @0.20 PER PG)                                         4.80

 07/30/2018   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60

 07/30/2018   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60

 07/31/2018   PAC       Pacer - Court Research                                    21.90

 07/31/2018   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                0.90

   Total Expenses for this Matter                                           $1,651.37
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
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Pachulski Stang Ziehl & Jones LLP                                                                        Page:     9
Gottlieb, David K - Yashouafar                                                                           Invoice 120014
32274     00001                                                                                          July 31, 2018




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 07/31/2018

Total Fees                                                                                                                 $20,406.00
Chargeable costs and disbursements                                                                                          $1,651.37
Total Due on Current Invoice.....................                                                                          $22,057.37


Outstanding Balance from prior Invoices as of 07/31/2018       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed              Balance Due


     114542                        09/30/2016                  $70,136.00                            $430.31               $70,566.31
     114911                        10/31/2016                  $98,085.50                           $7,280.89             $105,366.39
     115117                        11/30/2016                  $87,345.00                           $8,776.62              $96,121.62
     115185                        12/31/2016                  $73,344.00                           $2,031.97              $75,375.97
     115643                        01/31/2017                  $54,361.00                           $2,260.63              $56,621.63
     115896                        02/28/2017                  $50,737.50                            $803.31               $51,540.81
     116150                        03/31/2017                  $51,677.50                           $4,962.17              $56,639.67
     116402                        04/30/2017                 $104,852.00                           $9,398.28             $114,250.28
     116665                        05/31/2017                 $100,431.00                          $10,790.05             $110,024.54
     116970                        06/30/2017                  $47,800.00                           $3,522.61              $51,322.61
     117273                        07/31/2017                  $52,383.00                            $297.68               $52,680.68
     117433                        08/31/2017                  $92,699.00                           $3,787.46              $96,486.46
     117636                        09/30/2017                  $28,052.50                            $749.05               $28,801.55
     117926                        10/31/2017                  $30,300.50                           $1,696.72              $31,997.22
     118035                        11/30/2017                  $32,397.00                           $3,966.33              $36,363.33
     118167                        12/31/2017                  $57,147.50                           $1,632.63              $58,780.13
     118515                        01/31/2018                  $67,197.50                            $848.65               $68,046.15
     118713                        02/28/2018                  $45,600.00                            $342.55               $45,942.55
     119250                        03/31/2018                   $8,041.00                           $5,316.35              $13,357.35
     119446                        04/30/2018                   $7,267.50                            $980.08                $8,247.58
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
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Gottlieb, David K - Yashouafar                                                  Invoice 120014
32274     00001                                                                 July 31, 2018

    119720                   05/31/2018             $58,867.50             $1,062.74              $59,930.24
    119921                   06/30/2018             $72,507.50              $685.06               $73,192.56


Total Amount Due on Current and Prior Invoices                                               $1,383,713.00
     Case
     Case 1:16-bk-12255-GM
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     August 31, 2018
D. Gottlieb & Associates                                             Invoice 120291
17000 Ventura Blvd #300                                              Client   32274
Encino, CA 91316                                                     Matter   00001
                                                                              JVR
RE: Yashouafar

___________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 08/31/2018
                 FEES                                                 $64,740.00
                 EXPENSES                                                $822.28
                 TOTAL CURRENT CHARGES                                $65,562.28

                 BALANCE FORWARD                                    $1,383,713.00
                 TOTAL BALANCE DUE                                  $1,449,275.28
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM           Doc
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Gottlieb, David K - Yashouafar                                                        Invoice 120291
32274     00001                                                                       August 31, 2018




 Summary of Services by Task Code
 Task Code            Description                                             Hours                       Amount

 AA                   Asset Analysis/Recovery[B120]                            0.50                       $525.00
 BL                   Bankruptcy Litigation [L430]                            85.80                     $64,140.00
 CA                   Case Administration [B110]                               0.20                        $75.00
                                                                              86.50                     $64,740.00

 Summary of Services by Professional
 ID           Name                                    Title           Rate             Hours              Amount

 BDD          Dassa, Beth D.                          Paralegal      375.00             1.30             $487.50
 JJK          Kim, Jonathan J.                        Counsel        775.00            17.80        $13,795.00
 JVR          Richards, Jeremy V.                     Partner       1050.00             4.90            $5,145.00
 JWL          Lucas, John W.                          Partner        725.00            62.50        $45,312.50
                                                                                      86.50             $64,740.00




 Summary of Expenses
Description                                                                                               Amount

Federal Express [E108]                                                                                     $14.31



Lexis/Nexis- Legal Research [E                                                                            $405.27



Pacer - Court Research                                                                                     $54.40



Postage [E108]                                                                                             $30.50



Reproduction Expense [E101]                                                                                $18.40
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
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Gottlieb, David K - Yashouafar                                                Invoice 120291
32274     00001                                                               August 31, 2018


 Summary of Expenses
Description                                                                                     Amount
Reproduction/ Scan Copy                                                                         $264.60



Transcript [E116]                                                                                $34.80



                                                                                                $822.28
     Case
     Case 1:16-bk-12255-GM
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Gottlieb, David K - Yashouafar                                                                  Invoice 120291
32274     00001                                                                                 August 31, 2018


                                                                                        Hours           Rate       Amount
  Asset Analysis/Recovery[B120]
08/13/2018    JVR     AA        Telephone H. David re settlement of Oklahoma             0.10      1050.00         $105.00
                                claims.
08/13/2018    JVR     AA        Telephone H. David and D. Coniff re Oklahoma             0.30      1050.00         $315.00
                                mediation status.
08/28/2018    JVR     AA        Review APII settlement agreement.                        0.10      1050.00         $105.00
                                                                                         0.50                      $525.00

  Bankruptcy Litigation [L430]
08/01/2018    JWL     BL        Review Elkwood summary judgment motion and               2.60       725.00        $1,885.00
                                research objection.
08/03/2018    JWL     BL        Research regarding objection to Elkwood summary          5.50       725.00        $3,987.50
                                judgment motion.
08/10/2018    JJK     BL        Call with Lucas on research issues re: Elkwood           0.30       775.00         $232.50
                                related litigation.
08/10/2018    JJK     BL        Research for Elkwood related litigation.                 8.90       775.00        $6,897.50
08/10/2018    JWL     BL        Research and drafting objection to Elkwood               1.50       725.00        $1,087.50
                                summary judgment motion; discuss same with J.
                                Kim regarding research.
08/12/2018    JVR     BL        Review Defendant's amended counterclaim                  0.10      1050.00         $105.00
                                (Elkwood litigation).
08/13/2018    JJK     BL        Research for Elkwood litigation.                         8.50       775.00        $6,587.50
08/13/2018    JWL     BL        Prepare answer to Elkwood counter claims.                2.60       725.00        $1,885.00
08/14/2018    JWL     BL        Prepare answer to Elkwood crossclaims.                   0.90       725.00         $652.50
08/15/2018    JJK     BL        Emails Lucas on Elkwood litigation research.             0.10       775.00          $77.50
08/15/2018    JWL     BL        Research and draft objection to Elkwood summary          3.80       725.00        $2,755.00
                                judgment motion.
08/16/2018    JVR     BL        Review documents and e-mails from J. Lucas re            0.20      1050.00         $210.00
                                Fieldbrook "loan participation" (Elkwood litigation).
08/16/2018    JWL     BL        Research and draft objection to Elkwood summary          3.50       725.00        $2,537.50
                                judgment motion.
08/17/2018    JVR     BL        Review e-mail form H. David re "assignment" of           0.20      1050.00         $210.00
                                note and deed of trust (.1); Date e-mail in response
                                (Elkwood litigation (.1).
08/17/2018    JWL     BL        Research and draft objection to Elkwood summary          7.50       725.00        $5,437.50
                                judgment motion.
08/20/2018    JVR     BL        Review Abselet draft opposition and Elkwood MSJ.         0.30      1050.00         $315.00
08/20/2018    JVR     BL        Conference with J. Lucas re cross motions for            0.60      1050.00         $630.00
                                summary judgment (Elkwood).
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
                                                               Entered 12/01/20
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                                      Main Document
                                      Main Document    Page  711 of 750
                                                       Page 407 of 443

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Gottlieb, David K - Yashouafar                                                               Invoice 120291
32274     00001                                                                              August 31, 2018


                                                                                     Hours           Rate        Amount
08/20/2018    JVR     BL        Prepare for hearing on cross motions for summary      0.80      1050.00          $840.00
                                judgment (Elkwood).
08/20/2018    JWL     BL        Research and draft objection to Elkwood summary       7.00       725.00         $5,075.00
                                judgment motion.
08/21/2018    JWL     BL        Review and comment on Abselet objection to            2.50       725.00         $1,812.50
                                Elkwood summary judgment motion; research and
                                draft objection to Elkwood summary judgment
                                motion.
08/22/2018    JWL     BL        Draft and research objection to Elkwood summary       4.10       725.00         $2,972.50
                                judgment motion.
08/23/2018    BDD     BL        Confer with J. Lucas and M. Kulick re Statement of    0.30       375.00          $112.50
                                Uncontroverted Facts (Gottlieb v. Elkwood)
08/23/2018    BDD     BL        Emails J. Lucas re Statement of Uncontroverted        0.20       375.00           $75.00
                                Facts (Gottlieb v. Elkwood)
08/23/2018    JWL     BL        Call with H. David regarding objection to Elkwood     2.00       725.00         $1,450.00
                                summary judgment motion and research regarding
                                same and draft objection.
08/24/2018    JWL     BL        Research, revise objection to Elkwood summary         2.00       725.00         $1,450.00
                                judgment motion and discussion with H. David
                                regarding same.
08/27/2018    JVR     BL        Conference with J. Lucas re opposition to Elkwood     0.40      1050.00          $420.00
                                MSJ.
08/27/2018    JVR     BL        Review revised opposition to Elkwood MSJ.             0.30      1050.00          $315.00
08/27/2018    JWL     BL        Research and revise objection to Elkwood summary      5.50       725.00         $3,987.50
                                judgment motion.
08/28/2018    JWL     BL        Finalize objection to Elkwood summary judgment        4.00       725.00         $2,900.00
                                motion and related pleadings.
08/28/2018    JVR     BL        Review revised opposition to Elkwood MSJ.             0.30      1050.00          $315.00
08/29/2018    JVR     BL        Review Elkwood opposition to Trustee's MSJ (.9);      1.20      1050.00         $1,260.00
                                Draft e-mail to client re same (.3).
08/29/2018    BDD     BL        Review J. Nourafshan 2004 exam; email J. Richards     0.50       375.00          $187.50
                                re same
08/29/2018    BDD     BL        Email J. Richards re J. Nourafshan depo               0.10       375.00           $37.50
08/29/2018    JWL     BL        Research and prepare reply to Elkwood's objection     4.50       725.00         $3,262.50
                                to summary judgment motion.
08/31/2018    JWL     BL        Research and draft reply to Elkwood objection to      3.00       725.00         $2,175.00
                                summary judgment motion.
                                                                                     85.80                     $64,140.00

  Case Administration [B110]
08/29/2018    BDD     CA        Attend to misc calendaring matters (.10); email J.    0.20       375.00           $75.00
                                Lucas re same (.10)
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
                                                   01/08/19 Entered
                                                             Entered 12/01/20
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                                    Main Document
                                    Main Document    Page  712 of 750
                                                     Page 408 of 443

Pachulski Stang Ziehl & Jones LLP                                                 Page:     6
Gottlieb, David K - Yashouafar                                                    Invoice 120291
32274     00001                                                                   August 31, 2018

                                                                           0.20                     $75.00

 TOTAL SERVICES FOR THIS MATTER:                                                               $64,740.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
                                                                       01/08/19 18:29:18
                                                                                15:53:32     Desc
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                                     Main Document
                                     Main Document    Page  713 of 750
                                                      Page 409 of 443

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Gottlieb, David K - Yashouafar                                                  Invoice 120291
32274     00001                                                                 August 31, 2018



Expenses
 07/25/2018   TR        Transcript [E116] Echo Reporting, Inc. Inv. 32060, G.      34.80
                        Downing

 08/01/2018   LN        32274.00001 Lexis Charges for 08-01-18                     12.72

 08/01/2018   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                1.10

 08/07/2018   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                3.50

 08/10/2018   LN        32274.00001 Lexis Charges for 08-10-18                     61.22

 08/11/2018   LN        32274.00001 Lexis Charges for 08-11-18                      2.24

 08/12/2018   RE2       SCAN/COPY ( 35 @0.10 PER PG)                                3.50

 08/13/2018   LN        32274.00001 Lexis Charges for 08-13-18                    143.77

 08/14/2018   LN        32274.00001 Lexis Charges for 08-14-18                     18.24

 08/15/2018   LN        32274.00001 Lexis Charges for 08-15-18                     15.28

 08/16/2018   LN        32274.00001 Lexis Charges for 08-16-18                      0.64

 08/17/2018   LN        32274.00001 Lexis Charges for 08-17-18                      0.96

 08/20/2018   LN        32274.00001 Lexis Charges for 08-20-18                     42.33

 08/21/2018   FE        32274.00001 FedEx Charges for 08-21-18                     14.31

 08/21/2018   PO        Postage [E108] SF Mail                                     12.10

 08/21/2018   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                1.10



 08/21/2018   RE2       SCAN/COPY ( 110 @0.10 PER PG)                              11.00



 08/22/2018   LN        32274.00001 Lexis Charges for 08-22-18                      0.32



 08/23/2018   LN        32274.00001 Lexis Charges for 08-23-18                     25.77



 08/23/2018   RE        ( 70 @0.20 PER PG)                                         14.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
                                                   01/08/19 Entered
                                                             Entered 12/01/20
                                                                      01/08/19 18:29:18
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                                    Main Document
                                    Main Document    Page  714 of 750
                                                     Page 410 of 443

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Gottlieb, David K - Yashouafar                                                Invoice 120291
32274     00001                                                               August 31, 2018


 08/23/2018   RE2       SCAN/COPY ( 30 @0.10 PER PG)                              3.00

 08/23/2018   RE2       SCAN/COPY ( 42 @0.10 PER PG)                              4.20

 08/23/2018   RE2       SCAN/COPY ( 32 @0.10 PER PG)                              3.20

 08/23/2018   RE2       SCAN/COPY ( 42 @0.10 PER PG)                              4.20

 08/23/2018   RE2       SCAN/COPY ( 32 @0.10 PER PG)                              3.20

 08/23/2018   RE2       SCAN/COPY ( 42 @0.10 PER PG)                              4.20

 08/23/2018   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10

 08/23/2018   RE2       SCAN/COPY ( 112 @0.10 PER PG)                            11.20

 08/23/2018   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10

 08/23/2018   RE2       SCAN/COPY ( 30 @0.10 PER PG)                              3.00

 08/23/2018   RE2       SCAN/COPY ( 112 @0.10 PER PG)                            11.20

 08/23/2018   RE2       SCAN/COPY ( 6 @0.10 PER PG)                               0.60

 08/23/2018   RE2       SCAN/COPY ( 32 @0.10 PER PG)                              3.20

 08/23/2018   RE2       SCAN/COPY ( 30 @0.10 PER PG)                              3.00

 08/23/2018   RE2       SCAN/COPY ( 42 @0.10 PER PG)                              4.20

 08/23/2018   RE2       SCAN/COPY ( 35 @0.10 PER PG)                              3.50

 08/23/2018   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10



 08/23/2018   RE2       SCAN/COPY ( 32 @0.10 PER PG)                              3.20



 08/23/2018   RE2       SCAN/COPY ( 112 @0.10 PER PG)                            11.20



 08/23/2018   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10



 08/23/2018   RE2       SCAN/COPY ( 30 @0.10 PER PG)                              3.00



 08/23/2018   RE2       SCAN/COPY ( 112 @0.10 PER PG)                            11.20
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
                                                                       01/08/19 18:29:18
                                                                                15:53:32    Desc
                                                                                            Desc
                                     Main Document
                                     Main Document    Page  715 of 750
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Gottlieb, David K - Yashouafar                                                 Invoice 120291
32274     00001                                                                August 31, 2018



 08/23/2018   RE2       SCAN/COPY ( 35 @0.10 PER PG)                               3.50

 08/23/2018   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60

 08/28/2018   RE2       SCAN/COPY ( 30 @0.10 PER PG)                               3.00

 08/28/2018   RE2       SCAN/COPY ( 42 @0.10 PER PG)                               4.20

 08/28/2018   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20

 08/28/2018   RE2       SCAN/COPY ( 112 @0.10 PER PG)                             11.20

 08/28/2018   RE2       SCAN/COPY ( 30 @0.10 PER PG)                               3.00

 08/28/2018   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10

 08/28/2018   RE2       SCAN/COPY ( 30 @0.10 PER PG)                               3.00

 08/29/2018   LN        32274.00001 Lexis Charges for 08-29-18                    81.78

 08/29/2018   PO        Postage [E108] SF Mail                                    18.40

 08/29/2018   RE        ( 22 @0.20 PER PG)                                         4.40

 08/29/2018   RE2       SCAN/COPY ( 18 @0.10 PER PG)                               1.80

 08/29/2018   RE2       SCAN/COPY ( 14 @0.10 PER PG)                               1.40

 08/29/2018   RE2       SCAN/COPY ( 218 @0.10 PER PG)                             21.80

 08/29/2018   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20



 08/29/2018   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50



 08/29/2018   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30



 08/29/2018   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20



 08/29/2018   RE2       SCAN/COPY ( 110 @0.10 PER PG)                             11.00



 08/29/2018   RE2       SCAN/COPY ( 300 @0.10 PER PG)                             30.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
                                                              Entered 12/01/20
                                                                       01/08/19 18:29:18
                                                                                15:53:32    Desc
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                                     Main Document
                                     Main Document    Page  716 of 750
                                                      Page 412 of 443

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Gottlieb, David K - Yashouafar                                                 Invoice 120291
32274     00001                                                                August 31, 2018



 08/29/2018   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20

 08/29/2018   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50

 08/29/2018   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50

 08/29/2018   RE2       SCAN/COPY ( 93 @0.10 PER PG)                               9.30

 08/29/2018   RE2       SCAN/COPY ( 30 @0.10 PER PG)                               3.00

 08/29/2018   RE2       SCAN/COPY ( 218 @0.10 PER PG)                             21.80

 08/29/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10

 08/29/2018   RE2       SCAN/COPY ( 56 @0.10 PER PG)                               5.60

 08/29/2018   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10

 08/29/2018   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50

 08/29/2018   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                0.90

 08/29/2018   RE2       SCAN/COPY ( 80 @0.10 PER PG)                               8.00

 08/31/2018   PAC       Pacer - Court Research                                    54.40

   Total Expenses for this Matter                                             $822.28
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
                                              Doc 797
                                                   648 Filed
                                                       Filed 12/01/20
                                                             01/08/19 Entered
                                                                       Entered 12/01/20
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                                              Main Document    Page  717 of 750
                                                               Page 413 of 443

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Gottlieb, David K - Yashouafar                                                                           Invoice 120291
32274     00001                                                                                          August 31, 2018




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 08/31/2018

Total Fees                                                                                                                 $64,740.00
Chargeable costs and disbursements                                                                                           $822.28
Total Due on Current Invoice.....................                                                                          $65,562.28


Outstanding Balance from prior Invoices as of 08/31/2018       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed           Balance Due


     114542                        09/30/2016                  $70,136.00                            $430.31               $70,566.31
     114911                        10/31/2016                  $98,085.50                           $7,280.89          $105,366.39
     115117                        11/30/2016                  $87,345.00                           $8,776.62              $96,121.62
     115185                        12/31/2016                  $73,344.00                           $2,031.97              $75,375.97
     115643                        01/31/2017                  $54,361.00                           $2,260.63              $56,621.63
     115896                        02/28/2017                  $50,737.50                            $803.31               $51,540.81
     116150                        03/31/2017                  $51,677.50                           $4,962.17              $56,639.67
     116402                        04/30/2017                 $104,852.00                           $9,398.28          $114,250.28
     116665                        05/31/2017                 $100,431.00                          $10,790.05          $110,024.54
     116970                        06/30/2017                  $47,800.00                           $3,522.61              $51,322.61
     117273                        07/31/2017                  $52,383.00                            $297.68               $52,680.68
     117433                        08/31/2017                  $92,699.00                           $3,787.46              $96,486.46
     117636                        09/30/2017                  $28,052.50                            $749.05               $28,801.55
     117926                        10/31/2017                  $30,300.50                           $1,696.72              $31,997.22
     118035                        11/30/2017                  $32,397.00                           $3,966.33              $36,363.33
     118167                        12/31/2017                  $57,147.50                           $1,632.63              $58,780.13
     118515                        01/31/2018                  $67,197.50                            $848.65               $68,046.15
     118713                        02/28/2018                  $45,600.00                            $342.55               $45,942.55
     119250                        03/31/2018                   $8,041.00                           $5,316.35              $13,357.35
     119446                        04/30/2018                   $7,267.50                            $980.08                $8,247.58
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
                                                    01/08/19 Entered
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                                     Main Document    Page  718 of 750
                                                      Page 414 of 443

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Gottlieb, David K - Yashouafar                                                  Invoice 120291
32274     00001                                                                 August 31, 2018

    119720                   05/31/2018             $58,867.50             $1,062.74              $59,930.24
    119921                   06/30/2018             $72,507.50              $685.06               $73,192.56
    120014                   07/31/2018             $20,406.00             $1,651.37              $22,057.37


Total Amount Due on Current and Prior Invoices                                              $1,449,275.28
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM     Doc
                               Doc 797
                                    648 Filed
                                        Filed 12/01/20
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                               Main Document
                               Main Document    Page  719 of 750
                                                Page 415 of 443

                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     September 30, 2018
D. Gottlieb & Associates                                             Invoice 120437
17000 Ventura Blvd #300                                              Client  32274
Encino, CA 91316                                                     Matter  00001
                                                                             JVR
RE: Yashouafar

___________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 09/30/2018
                 FEES                                                  $9,917.50
                 EXPENSES                                                $880.04
                 TOTAL CURRENT CHARGES                                $10,797.54

                 BALANCE FORWARD                                    $1,449,275.28
                 TOTAL BALANCE DUE                                  $1,460,072.82
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM           Doc
                                       Doc 797
                                            648 Filed
                                                Filed 12/01/20
                                                      01/08/19 Entered
                                                                Entered 12/01/20
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                                       Main Document    Page  720 of 750
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Gottlieb, David K - Yashouafar                                                        Invoice 120437
32274     00001                                                                       September 30, 2018




 Summary of Services by Task Code
 Task Code            Description                                             Hours                    Amount

 BL                   Bankruptcy Litigation [L430]                            10.10                   $7,635.00
 CA                   Case Administration [B110]                               1.40                   $1,010.00
 CP                   Compensation Prof. [B160]                                1.90                   $1,272.50
                                                                              13.40                   $9,917.50

 Summary of Services by Professional
 ID           Name                                   Title            Rate             Hours               Amount

 BDD          Dassa, Beth D.                         Paralegal       375.00             1.00           $375.00
 JVR          Richards, Jeremy V.                    Partner        1050.00             1.70         $1,785.00
 JWL          Lucas, John W.                         Partner         725.00            10.70         $7,757.50
                                                                                      13.40           $9,917.50




 Summary of Expenses
Description                                                                                                Amount

Auto Travel Expense [E109]                                                                                 $36.46



Conference Call [E105]                                                                                      $6.88



Federal Express [E108]                                                                                     $52.70



Legal Vision Atty Mess Service                                                                             $65.00



Pacer - Court Research                                                                                     $24.00



Postage [E108]                                                                                             $24.70
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
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                                    Main Document
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Gottlieb, David K - Yashouafar                                                Invoice 120437
32274     00001                                                               September 30, 2018


 Summary of Expenses
Description                                                                                        Amount



Reproduction Expense [E101]                                                                        $345.60



Reproduction/ Scan Copy                                                                            $324.70



                                                                                                   $880.04
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
                                                               Entered 12/01/20
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                                      Main Document
                                      Main Document    Page  722 of 750
                                                       Page 418 of 443

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Gottlieb, David K - Yashouafar                                                                   Invoice 120437
32274     00001                                                                                  September 30, 2018


                                                                                         Hours          Rate          Amount
  Bankruptcy Litigation [L430]
09/02/2018    JWL     BL        Revise reply to Elkwood objection to summary              2.20       725.00      $1,595.00
                                judgment motion.
09/03/2018    JWL     BL        Revise reply to Elkwood objection to summary              0.50       725.00           $362.50
                                judgment motion.
09/04/2018    JWL     BL        Revise reply to summary judgment objection;               1.50       725.00      $1,087.50
                                prepare J. Richards declaration for Nourafshan
                                transcript; and file pleading (1.0); review and
                                comment on Abselet answer to Elkwood cross
                                claims (.5).
09/10/2018    JWL     BL        Review Abselet counterclaims.                             1.00       725.00           $725.00
09/12/2018    JWL     BL        Call with Abselet's counsel regarding PWB and             0.30       725.00           $217.50
                                depositions.
09/14/2018    JVR     BL        Review draft appraisal (910 N. Rexford, as of 2/15).      0.40      1050.00           $420.00
09/18/2018    JWL     BL        Call with J. Richards regarding Elkwood strategy.         0.50       725.00           $362.50
09/19/2018    JVR     BL        Review Abselet counter-claim (Elkwood litigation).        0.30      1050.00           $315.00
09/20/2018    JVR     BL        Review comments of H. David re draft appraisal            0.10      1050.00           $105.00
                                (Rexford).
09/21/2018    JVR     BL        Prepare for hearing on motion and cross motion for        0.50      1050.00           $525.00
                                summary judgment (Elkwood).
09/26/2018    JVR     BL        Telephone C. Lipsey re appraisals (Rexford).              0.20      1050.00           $210.00
09/27/2018    JWL     BL        Research regarding enforcement of deeds of trust          2.10       725.00      $1,522.50
                                without underlying right (1.1); response to litigation
                                status report demands (.5); draft PWB custodian
                                declaration for produced PWB documents (.5).
09/27/2018    BDD     BL        Review VFR re PWB productions and declaration of          0.50       375.00           $187.50
                                custodian of records (.30); emails J. Lucas and M.
                                Kulick re same (.20)
                                                                                         10.10                   $7,635.00

  Case Administration [B110]
09/12/2018    JWL     CA        Follow up with appraiser for Rexford property.            0.30       725.00           $217.50
09/13/2018    JWL     CA        Review Abselet settlement agreement for purposes          0.70       725.00           $507.50
                                of waterfall allocation among parties.
09/18/2018    JVR     CA        Conference with J. Lucas re miscellaneous case            0.20      1050.00           $210.00
                                management issues.
09/27/2018    BDD     CA        Email J. Lucas re calendaring matters                     0.10       375.00            $37.50
09/27/2018    BDD     CA        Email M. DesJardien re calendaring matters                0.10       375.00            $37.50
                                                                                          1.40                   $1,010.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
                                      Doc 797
                                           648 Filed
                                               Filed 12/01/20
                                                     01/08/19 Entered
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                                      Main Document    Page  723 of 750
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Gottlieb, David K - Yashouafar                                                                Invoice 120437
32274     00001                                                                               September 30, 2018


                                                                                      Hours          Rate          Amount
  Compensation Prof. [B160]
09/14/2018    BDD     CP        Email J. Lucas re PSZJ fee application                 0.10       375.00            $37.50
09/14/2018    JWL     CP        Work on interim fee application materials.             0.50       725.00           $362.50
09/17/2018    BDD     CP        Email J. Lucas re PSZJ fee application                 0.10       375.00            $37.50
09/18/2018    BDD     CP        Call with/email to J. Lucas re PSZJ fee application    0.10       375.00            $37.50
09/18/2018    JWL     CP        Work on first interim fee application.                 0.70       725.00           $507.50
09/20/2018    JWL     CP        Work on back up for first interim fee application.     0.40       725.00           $290.00
                                                                                       1.90                   $1,272.50

 TOTAL SERVICES FOR THIS MATTER:                                                                            $9,917.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
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                                     Main Document    Page  724 of 750
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Gottlieb, David K - Yashouafar                                                      Invoice 120437
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Expenses
 08/13/2018   CC        Conference Call [E105] AT&T Conference Call, JVR                6.88

 08/16/2018   AT        Auto Travel Expense [E109] Uber Transportation Services,       19.50
                        JWL

 08/20/2018   AT        Auto Travel Expense [E109] Uber Transportation Services,       16.96
                        JWL

 08/29/2018   LV        Legal Vision Atty/Mess. Service- Inv. 03005, San Fernando      65.00
                        Bankruptcy Court, M. Kulick

 09/04/2018   FE        32274.00001 FedEx Charges for 09-04-18                         38.19

 09/04/2018   PO        Postage [E108] SF Mail                                         24.70

 09/04/2018   RE        ( 4 @0.20 PER PG)                                               0.80

 09/04/2018   RE        ( 4 @0.20 PER PG)                                               0.80

 09/04/2018   RE        ( 8 @0.20 PER PG)                                               1.60

 09/04/2018   RE        ( 10 @0.20 PER PG)                                              2.00

 09/04/2018   RE        ( 6 @0.20 PER PG)                                               1.20

 09/04/2018   RE        ( 16 @0.20 PER PG)                                              3.20

 09/04/2018   RE        ( 60 @0.20 PER PG)                                             12.00

 09/04/2018   RE        ( 224 @0.20 PER PG)                                            44.80

 09/04/2018   RE        ( 136 @0.20 PER PG)                                            27.20



 09/04/2018   RE        ( 68 @0.20 PER PG)                                             13.60



 09/04/2018   RE        ( 90 @0.20 PER PG)                                             18.00



 09/04/2018   RE        ( 14 @0.20 PER PG)                                              2.80



 09/04/2018   RE        ( 20 @0.20 PER PG)                                              4.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
                                                   01/08/19 Entered
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Pachulski Stang Ziehl & Jones LLP                                             Page:     7
Gottlieb, David K - Yashouafar                                                Invoice 120437
32274     00001                                                               September 30, 2018


 09/04/2018   RE        ( 60 @0.20 PER PG)                                       12.00

 09/04/2018   RE        ( 44 @0.20 PER PG)                                        8.80

 09/04/2018   RE        ( 64 @0.20 PER PG)                                       12.80

 09/04/2018   RE        ( 84 @0.20 PER PG)                                       16.80

 09/04/2018   RE        ( 10 @0.20 PER PG)                                        2.00

 09/04/2018   RE        ( 74 @0.20 PER PG)                                       14.80

 09/04/2018   RE        ( 67 @0.20 PER PG)                                       13.40

 09/04/2018   RE        ( 8 @0.20 PER PG)                                         1.60

 09/04/2018   RE        ( 20 @0.20 PER PG)                                        4.00

 09/04/2018   RE        ( 14 @0.20 PER PG)                                        2.80

 09/04/2018   RE        ( 52 @0.20 PER PG)                                       10.40

 09/04/2018   RE        ( 16 @0.20 PER PG)                                        3.20

 09/04/2018   RE        ( 10 @0.20 PER PG)                                        2.00

 09/04/2018   RE        ( 20 @0.20 PER PG)                                        4.00

 09/04/2018   RE        ( 36 @0.20 PER PG)                                        7.20

 09/04/2018   RE        ( 4 @0.20 PER PG)                                         0.80

 09/04/2018   RE        ( 28 @0.20 PER PG)                                        5.60



 09/04/2018   RE        ( 10 @0.20 PER PG)                                        2.00



 09/04/2018   RE        ( 16 @0.20 PER PG)                                        3.20



 09/04/2018   RE        ( 9 @0.20 PER PG)                                         1.80



 09/04/2018   RE        ( 6 @0.20 PER PG)                                         1.20



 09/04/2018   RE        ( 10 @0.20 PER PG)                                        2.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
                                                   01/08/19 Entered
                                                             Entered 12/01/20
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                                    Main Document
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Gottlieb, David K - Yashouafar                                                Invoice 120437
32274     00001                                                               September 30, 2018



 09/04/2018   RE        ( 8 @0.20 PER PG)                                         1.60

 09/04/2018   RE        ( 14 @0.20 PER PG)                                        2.80

 09/04/2018   RE        ( 112 @0.20 PER PG)                                      22.40

 09/04/2018   RE        ( 4 @0.20 PER PG)                                         0.80

 09/04/2018   RE        ( 22 @0.20 PER PG)                                        4.40

 09/04/2018   RE        ( 186 @0.20 PER PG)                                      37.20

 09/04/2018   RE        ( 60 @0.20 PER PG)                                       12.00

 09/04/2018   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 09/04/2018   RE2       SCAN/COPY ( 11 @0.10 PER PG)                              1.10

 09/04/2018   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 09/04/2018   RE2       SCAN/COPY ( 239 @0.10 PER PG)                            23.90

 09/04/2018   RE2       SCAN/COPY ( 148 @0.10 PER PG)                            14.80

 09/04/2018   RE2       SCAN/COPY ( 8 @0.10 PER PG)                               0.80

 09/04/2018   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 09/04/2018   RE2       SCAN/COPY ( 68 @0.10 PER PG)                              6.80

 09/04/2018   RE2       SCAN/COPY ( 30 @0.10 PER PG)                              3.00



 09/04/2018   RE2       SCAN/COPY ( 18 @0.10 PER PG)                              1.80



 09/04/2018   RE2       SCAN/COPY ( 760 @0.10 PER PG)                            76.00



 09/04/2018   RE2       SCAN/COPY ( 90 @0.10 PER PG)                              9.00



 09/04/2018   RE2       SCAN/COPY ( 67 @0.10 PER PG)                              6.70



 09/04/2018   RE2       SCAN/COPY ( 50 @0.10 PER PG)                              5.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
                                    Doc 797
                                         648 Filed
                                             Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                Invoice 120437
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 09/04/2018   RE2       SCAN/COPY ( 13 @0.10 PER PG)                              1.30

 09/04/2018   RE2       SCAN/COPY ( 56 @0.10 PER PG)                              5.60

 09/04/2018   RE2       SCAN/COPY ( 8 @0.10 PER PG)                               0.80

 09/04/2018   RE2       SCAN/COPY ( 30 @0.10 PER PG)                              3.00

 09/04/2018   RE2       SCAN/COPY ( 42 @0.10 PER PG)                              4.20

 09/04/2018   RE2       SCAN/COPY ( 112 @0.10 PER PG)                            11.20

 09/04/2018   RE2       SCAN/COPY ( 9 @0.10 PER PG)                               0.90

 09/04/2018   RE2       SCAN/COPY ( 76 @0.10 PER PG)                              7.60

 09/04/2018   RE2       SCAN/COPY ( 30 @0.10 PER PG)                              3.00

 09/04/2018   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 09/04/2018   RE2       SCAN/COPY ( 18 @0.10 PER PG)                              1.80

 09/04/2018   RE2       SCAN/COPY ( 22 @0.10 PER PG)                              2.20

 09/04/2018   RE2       SCAN/COPY ( 32 @0.10 PER PG)                              3.20

 09/04/2018   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 09/04/2018   RE2       SCAN/COPY ( 22 @0.10 PER PG)                              2.20

 09/04/2018   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 09/04/2018   RE2       SCAN/COPY ( 12 @0.10 PER PG)                              1.20



 09/04/2018   RE2       SCAN/COPY ( 45 @0.10 PER PG)                              4.50



 09/12/2018   RE2       SCAN/COPY ( 76 @0.10 PER PG)                              7.60



 09/12/2018   RE2       SCAN/COPY ( 26 @0.10 PER PG)                              2.60



 09/12/2018   RE2       SCAN/COPY ( 41 @0.10 PER PG)                              4.10
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                 Invoice 120437
32274     00001                                                                September 30, 2018

 09/12/2018   RE2       SCAN/COPY ( 45 @0.10 PER PG)                               4.50

 09/13/2018   FE        32274.00001 FedEx Charges for 09-13-18                    14.51

 09/13/2018   RE2       SCAN/COPY ( 71 @0.10 PER PG)                               7.10

 09/14/2018   RE2       SCAN/COPY ( 114 @0.10 PER PG)                             11.40

 09/14/2018   RE2       SCAN/COPY ( 346 @0.10 PER PG)                             34.60

 09/14/2018   RE2       SCAN/COPY ( 114 @0.10 PER PG)                             11.40

 09/14/2018   RE2       SCAN/COPY ( 346 @0.10 PER PG)                             34.60

 09/20/2018   RE2       SCAN/COPY ( 23 @0.10 PER PG)                               2.30

 09/27/2018   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                0.50

 09/30/2018   PAC       Pacer - Court Research                                    24.00

   Total Expenses for this Matter                                             $880.04
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
                                              Doc 797
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                                                       Filed 12/01/20
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32274     00001                                                                                          September 30, 2018




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 09/30/2018

Total Fees                                                                                                               $9,917.50
Chargeable costs and disbursements                                                                                            $880.04
Total Due on Current Invoice.....................                                                                       $10,797.54


Outstanding Balance from prior Invoices as of 09/30/2018       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed           Balance Due


     114542                        09/30/2016                  $70,136.00                            $430.31            $70,566.31
     114911                        10/31/2016                  $98,085.50                           $7,280.89          $105,366.39
     115117                        11/30/2016                  $87,345.00                           $8,776.62           $96,121.62
     115185                        12/31/2016                  $73,344.00                           $2,031.97           $75,375.97
     115643                        01/31/2017                  $54,361.00                           $2,260.63           $56,621.63
     115896                        02/28/2017                  $50,737.50                            $803.31            $51,540.81
     116150                        03/31/2017                  $51,677.50                           $4,962.17           $56,639.67
     116402                        04/30/2017                 $104,852.00                           $9,398.28          $114,250.28
     116665                        05/31/2017                 $100,431.00                          $10,790.05          $110,024.54
     116970                        06/30/2017                  $47,800.00                           $3,522.61           $51,322.61
     117273                        07/31/2017                  $52,383.00                            $297.68            $52,680.68
     117433                        08/31/2017                  $92,699.00                           $3,787.46           $96,486.46
     117636                        09/30/2017                  $28,052.50                            $749.05            $28,801.55
     117926                        10/31/2017                  $30,300.50                           $1,696.72           $31,997.22
     118035                        11/30/2017                  $32,397.00                           $3,966.33           $36,363.33
     118167                        12/31/2017                  $57,147.50                           $1,632.63           $58,780.13
     118515                        01/31/2018                  $67,197.50                            $848.65            $68,046.15
     118713                        02/28/2018                  $45,600.00                            $342.55            $45,942.55
     119250                        03/31/2018                   $8,041.00                           $5,316.35           $13,357.35
     119446                        04/30/2018                   $7,267.50                            $980.08             $8,247.58
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
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32274     00001                                                                 September 30, 2018

    119720                   05/31/2018             $58,867.50             $1,062.74           $59,930.24
    119921                   06/30/2018             $72,507.50              $685.06            $73,192.56
    120014                   07/31/2018             $20,406.00             $1,651.37           $22,057.37
    120291                   08/31/2018             $64,740.00              $822.28            $65,562.28


Total Amount Due on Current and Prior Invoices                                              $1,460,072.82
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM     Doc
                               Doc 797
                                    648 Filed
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     October 31, 2018
D. Gottlieb & Associates                                             Invoice 120645
17000 Ventura Blvd #300                                              Client   32274
Encino, CA 91316                                                     Matter   00001
                                                                              JVR
RE: Yashouafar

___________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 10/31/2018
                 FEES                                                  $9,515.00
                 EXPENSES                                                 $28.80
                 TOTAL CURRENT CHARGES                                 $9,543.80

                 BALANCE FORWARD                                    $1,460,072.82
                 TOTAL BALANCE DUE                                  $1,469,616.62
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM           Doc
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Gottlieb, David K - Yashouafar                                                        Invoice 120645
32274     00001                                                                       October 31, 2018




 Summary of Services by Task Code
 Task Code            Description                                             Hours                        Amount

 AA                   Asset Analysis/Recovery[B120]                            0.20                        $210.00
 BL                   Bankruptcy Litigation [L430]                             7.10                       $6,545.00
 CA                   Case Administration [B110]                               0.40                        $150.00
 SE                   Settlement                                               3.60                       $2,610.00
                                                                              11.30                       $9,515.00

 Summary of Services by Professional
 ID           Name                                    Title           Rate             Hours               Amount

 BDD          Dassa, Beth D.                          Paralegal      375.00             0.40              $150.00
 JVR          Richards, Jeremy V.                     Partner       1050.00             4.50             $4,725.00
 JWL          Lucas, John W.                          Partner        725.00             6.40             $4,640.00
                                                                                      11.30               $9,515.00




 Summary of Expenses
Description                                                                                                Amount

Pacer - Court Research                                                                                       $0.50



Reproduction/ Scan Copy                                                                                     $28.30



                                                                                                            $28.80
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM            Doc
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                                           648 Filed
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Gottlieb, David K - Yashouafar                                                                Invoice 120645
32274     00001                                                                               October 31, 2018


                                                                                      Hours           Rate        Amount
  Asset Analysis/Recovery[B120]
10/24/2018    JVR     AA        Conference with J. Lucas re Abselet settlement         0.20      1050.00          $210.00
                                distributions.
                                                                                       0.20                       $210.00

  Bankruptcy Litigation [L430]
10/03/2018    JVR     BL        Review defendant's motion to dismiss Abselet           0.20      1050.00          $210.00
                                complaint.
10/03/2018    JWL     BL        Review Elkwood motion to dismiss regarding             1.50       725.00         $1,087.50
                                Abselet claims and emails with J. Richards
                                regarding the same.
10/04/2018    JWL     BL        Review Elkwood's pleadings relating to motions to      1.00       725.00          $725.00
                                dismiss for purposes of summary judgment motion.
10/10/2018    JVR     BL        Prepare for status conference (Elkwood litigation).    0.20      1050.00          $210.00
10/10/2018    JVR     BL        Attend status conference (Elkwood litigation)          3.00      1050.00         $3,150.00
10/12/2018    JWL     BL        Review draft of district court status report.          0.30       725.00          $217.50
10/23/2018    JVR     BL        Review revised appraisal (Rexford).                    0.30      1050.00          $315.00
10/24/2018    JVR     BL        Prepare for hearing on cross motions for summary       0.30      1050.00          $315.00
                                judgment.
10/31/2018    JVR     BL        Review draft Rexford appraisal (10/18).                0.30      1050.00          $315.00
                                                                                       7.10                      $6,545.00

  Case Administration [B110]
10/01/2018    BDD     CA        Attend to misc. calendaring matters                    0.10       375.00           $37.50
10/01/2018    BDD     CA        Email J. Lucas re calendaring matters                  0.10       375.00           $37.50
10/10/2018    BDD     CA        Attend to misc. calendaring matters; email J. Lucas    0.20       375.00           $75.00
                                re same
                                                                                       0.40                       $150.00

  Settlement
10/23/2018    JWL     SE        Calls and emails regarding flow of proceeds under      0.50       725.00          $362.50
                                settlement agreement.
10/24/2018    JWL     SE        Work on response to waterfall application.             1.50       725.00         $1,087.50
10/25/2018    JWL     SE        Work on waterfall analysis.                            1.60       725.00         $1,160.00
                                                                                       3.60                      $2,610.00

 TOTAL SERVICES FOR THIS MATTER:                                                                             $9,515.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
                                     Doc 797
                                          648 Filed
                                              Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                 Invoice 120645
32274     00001                                                                October 31, 2018



Expenses
 10/03/2018   RE2       SCAN/COPY ( 43 @0.10 PER PG)                               4.30

 10/23/2018   RE2       SCAN/COPY ( 72 @0.10 PER PG)                               7.20

 10/24/2018   RE2       SCAN/COPY ( 23 @0.10 PER PG)                               2.30

 10/29/2018   RE2       SCAN/COPY ( 72 @0.10 PER PG)                               7.20

 10/31/2018   PAC       Pacer - Court Research                                     0.50

 10/31/2018   RE2       SCAN/COPY ( 73 @0.10 PER PG)                               7.30

   Total Expenses for this Matter                                              $28.80
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM                    Doc
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                                                       Filed 12/01/20
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Gottlieb, David K - Yashouafar                                                                           Invoice 120645
32274     00001                                                                                          October 31, 2018




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 10/31/2018

Total Fees                                                                                                                  $9,515.00
Chargeable costs and disbursements                                                                                            $28.80
Total Due on Current Invoice.....................                                                                           $9,543.80


Outstanding Balance from prior Invoices as of 10/31/2018       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed           Balance Due


     114542                        09/30/2016                  $70,136.00                            $430.31            $70,566.31
     114911                        10/31/2016                  $98,085.50                           $7,280.89          $105,366.39
     115117                        11/30/2016                  $87,345.00                           $8,776.62           $96,121.62
     115185                        12/31/2016                  $73,344.00                           $2,031.97           $75,375.97
     115643                        01/31/2017                  $54,361.00                           $2,260.63           $56,621.63
     115896                        02/28/2017                  $50,737.50                            $803.31            $51,540.81
     116150                        03/31/2017                  $51,677.50                           $4,962.17           $56,639.67
     116402                        04/30/2017                 $104,852.00                           $9,398.28          $114,250.28
     116665                        05/31/2017                 $100,431.00                          $10,790.05          $110,024.54
     116970                        06/30/2017                  $47,800.00                           $3,522.61           $51,322.61
     117273                        07/31/2017                  $52,383.00                            $297.68            $52,680.68
     117433                        08/31/2017                  $92,699.00                           $3,787.46           $96,486.46
     117636                        09/30/2017                  $28,052.50                            $749.05            $28,801.55
     117926                        10/31/2017                  $30,300.50                           $1,696.72           $31,997.22
     118035                        11/30/2017                  $32,397.00                           $3,966.33           $36,363.33
     118167                        12/31/2017                  $57,147.50                           $1,632.63           $58,780.13
     118515                        01/31/2018                  $67,197.50                            $848.65            $68,046.15
     118713                        02/28/2018                  $45,600.00                            $342.55            $45,942.55
     119250                        03/31/2018                   $8,041.00                           $5,316.35           $13,357.35
     119446                        04/30/2018                   $7,267.50                            $980.08                $8,247.58
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
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Pachulski Stang Ziehl & Jones LLP                                               Page:     6
Gottlieb, David K - Yashouafar                                                  Invoice 120645
32274     00001                                                                 October 31, 2018

    119720                   05/31/2018             $58,867.50             $1,062.74           $59,930.24
    119921                   06/30/2018             $72,507.50              $685.06            $73,192.56
    120014                   07/31/2018             $20,406.00             $1,651.37           $22,057.37
    120291                   08/31/2018             $64,740.00              $822.28            $65,562.28
    120437                   09/30/2018              $9,917.50              $880.04            $10,797.54


Total Amount Due on Current and Prior Invoices                                               $1,469,616.62
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM     Doc
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                              Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     November 30, 2018
D. Gottlieb & Associates                                             Invoice 120779
17000 Ventura Blvd #300                                              Client  32274
Encino, CA 91316                                                     Matter  00001
                                                                             JVR
RE: Yashouafar

___________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 11/30/2018
                 FEES                                                  $8,775.00
                 EXPENSES                                                 $51.60
                 TOTAL CURRENT CHARGES                                 $8,826.60

                 BALANCE FORWARD                                    $1,469,616.62
                 TOTAL BALANCE DUE                                  $1,478,443.22
       Case
       Case 1:16-bk-12255-GM
            1:16-bk-12255-GM           Doc
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Gottlieb, David K - Yashouafar                                                        Invoice 120779
32274     00001                                                                       November 30, 2018




 Summary of Services by Task Code
 Task Code            Description                                             Hours                   Amount

 AA                   Asset Analysis/Recovery[B120]                            1.40                  $1,470.00
 BL                   Bankruptcy Litigation [L430]                             4.30                  $3,605.00
 CA                   Case Administration [B110]                               0.20                        $75.00
 SE                   Settlement                                               5.00                  $3,625.00
                                                                              10.90                  $8,775.00

 Summary of Services by Professional
 ID           Name                                    Title           Rate             Hours              Amount

 BDD          Dassa, Beth D.                          Paralegal      375.00             0.20              $75.00
 JVR          Richards, Jeremy V.                     Partner       1050.00             2.90        $3,045.00
 JWL          Lucas, John W.                          Partner        725.00             7.80        $5,655.00
                                                                                      10.90          $8,775.00




 Summary of Expenses
Description                                                                                               Amount

Pacer - Court Research                                                                                    $22.60



Reproduction/ Scan Copy                                                                                   $29.00



                                                                                                           $51.60
     Case
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Gottlieb, David K - Yashouafar                                                                Invoice 120779
32274     00001                                                                               November 30, 2018


                                                                                      Hours          Rate         Amount
  Asset Analysis/Recovery[B120]
11/12/2018    JVR     AA        Review and respond to e-mails re accounting for        0.20      1050.00          $210.00
                                settlement funds.
11/19/2018    JVR     AA        Conference with J. Lucas re accounting for             0.30      1050.00          $315.00
                                settlement funds (.2); Draft e-mail to H. David re
                                same (.1).
11/20/2018    JVR     AA        Review accounting materials re settlement.             0.50      1050.00          $525.00
11/20/2018    JVR     AA        Telephone T. Jeremiassen re settlement fund            0.20      1050.00          $210.00
                                accounting.
11/20/2018    JVR     AA        Draft e-mail to T. Jeremiassen re settlement final     0.20      1050.00          $210.00
                                accounting.
                                                                                       1.40                  $1,470.00

  Bankruptcy Litigation [L430]
11/01/2018    JVR     BL        Review appraisal revisions.                            0.10      1050.00          $105.00
11/07/2018    JVR     BL        Prepare for hearing on summary judgment motions.       0.60      1050.00          $630.00
11/08/2018    JVR     BL        Prepare for hearing on motions for summary             0.60      1050.00          $630.00
                                judgment.
11/09/2018    JVR     BL        Draft outline of oral argument (Elkwood                0.20      1050.00          $210.00
                                cross-motions).
11/09/2018    JWL     BL        Review Elkwood reply to Abselet objection to           2.00       725.00     $1,450.00
                                motion to dismiss and send summary to J. Richards.
11/15/2018    JWL     BL        Prepare copies of document production for T. Ortiz.    0.80       725.00          $580.00
                                                                                       4.30                  $3,605.00

  Case Administration [B110]
11/08/2018    BDD     CA        Email J. Lucas re calendaring matters                  0.10       375.00           $37.50
11/08/2018    BDD     CA        Attend to misc. calendaring matters                    0.10       375.00           $37.50
                                                                                       0.20                        $75.00

  Settlement
11/12/2018    JWL     SE        Review accounting details regarding waterfall and      1.00       725.00          $725.00
                                distributions for Abselet settlement.
11/13/2018    JWL     SE        Call with J. Richards regarding accounting from        0.20       725.00          $145.00
                                Abselets regarding waterfall and distribution of
                                funds.
11/16/2018    JWL     SE        Review Abselet accounting info and prepare             2.00       725.00     $1,450.00
                                responses to D. Conniff regarding same.
11/26/2018    JWL     SE        Review accounting info from Abselet.                   0.70       725.00          $507.50
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM           Doc
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Pachulski Stang Ziehl & Jones LLP                                                   Page:     4
Gottlieb, David K - Yashouafar                                                      Invoice 120779
32274     00001                                                                     November 30, 2018


                                                                            Hours          Rate         Amount
11/28/2018    JWL     SE        Call with T. Jeremiason regarding Abselet    1.10       725.00          $797.50
                                accounting.
                                                                             5.00                  $3,625.00

 TOTAL SERVICES FOR THIS MATTER:                                                                  $8,775.00
     Case
     Case 1:16-bk-12255-GM
          1:16-bk-12255-GM          Doc
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Gottlieb, David K - Yashouafar                                                Invoice 120779
32274     00001                                                               November 30, 2018



Expenses
 11/01/2018   RE2       SCAN/COPY ( 73 @0.10 PER PG)                              7.30

 11/08/2018   RE2       SCAN/COPY ( 47 @0.10 PER PG)                              4.70

 11/19/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 11/19/2018   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 11/19/2018   RE2       SCAN/COPY ( 3 @0.10 PER PG)                               0.30

 11/19/2018   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70

 11/19/2018   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50

 11/19/2018   RE2       SCAN/COPY ( 3 @0.10 PER PG)                               0.30

 11/19/2018   RE2       SCAN/COPY ( 3 @0.10 PER PG)                               0.30

 11/19/2018   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70

 11/19/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 11/19/2018   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 11/19/2018   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 11/19/2018   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 11/19/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 11/19/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10



 11/19/2018   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20



 11/19/2018   RE2       SCAN/COPY ( 5 @0.10 PER PG)                               0.50



 11/19/2018   RE2       SCAN/COPY ( 6 @0.10 PER PG)                               0.60



 11/19/2018   RE2       SCAN/COPY ( 10 @0.10 PER PG)                              1.00
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Gottlieb, David K - Yashouafar                                                Invoice 120779
32274     00001                                                               November 30, 2018

 11/19/2018   RE2       SCAN/COPY ( 4 @0.10 PER PG)                               0.40

 11/19/2018   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70

 11/19/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 11/19/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 11/19/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 11/19/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 11/19/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 11/19/2018   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 11/19/2018   RE2       SCAN/COPY ( 6 @0.10 PER PG)                               0.60

 11/19/2018   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 11/19/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 11/19/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10

 11/19/2018   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 11/19/2018   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 11/19/2018   RE2       SCAN/COPY ( 7 @0.10 PER PG)                               0.70

 11/19/2018   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20

 11/19/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10



 11/19/2018   RE2       SCAN/COPY ( 1 @0.10 PER PG)                               0.10



 11/19/2018   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20



 11/19/2018   RE2       SCAN/COPY ( 2 @0.10 PER PG)                               0.20



 11/21/2018   RE2       SCAN/COPY ( 58 @0.10 PER PG)                              5.80
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Gottlieb, David K - Yashouafar                                                 Invoice 120779
32274     00001                                                                November 30, 2018


 11/30/2018   PAC       Pacer - Court Research                                    22.60

   Total Expenses for this Matter                                              $51.60
     Case
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Gottlieb, David K - Yashouafar                                                                           Invoice 120779
32274     00001                                                                                          November 30, 2018




                                                    REMITTANCE ADVICE
                                    Please include this Remittance Advice with your payment



For current services rendered through 11/30/2018

Total Fees                                                                                                              $8,775.00
Chargeable costs and disbursements                                                                                           $51.60
Total Due on Current Invoice.....................                                                                       $8,826.60


Outstanding Balance from prior Invoices as of 11/30/2018       (May not reflect recent payments)

Invoice Number                    Invoice Date                  Fees Billed                  Expenses Billed          Balance Due


     114542                        09/30/2016                  $70,136.00                            $430.31           $70,566.31
     114911                        10/31/2016                  $98,085.50                           $7,280.89         $105,366.39
     115117                        11/30/2016                  $87,345.00                           $8,776.62          $96,121.62
     115185                        12/31/2016                  $73,344.00                           $2,031.97          $75,375.97
     115643                        01/31/2017                  $54,361.00                           $2,260.63          $56,621.63
     115896                        02/28/2017                  $50,737.50                            $803.31           $51,540.81
     116150                        03/31/2017                  $51,677.50                           $4,962.17          $56,639.67
     116402                        04/30/2017                 $104,852.00                           $9,398.28         $114,250.28
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     116970                        06/30/2017                  $47,800.00                           $3,522.61          $51,322.61
     117273                        07/31/2017                  $52,383.00                            $297.68           $52,680.68
     117433                        08/31/2017                  $92,699.00                           $3,787.46          $96,486.46
     117636                        09/30/2017                  $28,052.50                            $749.05           $28,801.55
     117926                        10/31/2017                  $30,300.50                           $1,696.72          $31,997.22
     118035                        11/30/2017                  $32,397.00                           $3,966.33          $36,363.33
     118167                        12/31/2017                  $57,147.50                           $1,632.63          $58,780.13
     118515                        01/31/2018                  $67,197.50                            $848.65           $68,046.15
     118713                        02/28/2018                  $45,600.00                            $342.55           $45,942.55
     119250                        03/31/2018                   $8,041.00                           $5,316.35          $13,357.35
     119446                        04/30/2018                   $7,267.50                            $980.08            $8,247.58
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Gottlieb, David K - Yashouafar                                                  Invoice 120779
32274     00001                                                                 November 30, 2018

    119720                   05/31/2018             $58,867.50             $1,062.74          $59,930.24
    119921                   06/30/2018             $72,507.50              $685.06           $73,192.56
    120014                   07/31/2018             $20,406.00             $1,651.37          $22,057.37
    120291                   08/31/2018             $64,740.00              $822.28           $65,562.28
    120437                   09/30/2018              $9,917.50              $880.04           $10,797.54
    120645                   10/31/2018              $9,515.00               $28.80            $9,543.80


Total Amount Due on Current and Prior Invoices                                              $1,478,443.22
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                                                                  Page 442 of 443
                                               PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): FIRST APPLICATION OF PACHULSKI STANG
ZIEHL & JONES LLP FOR INTERIM ALLOWANCE AND PAYMENT OF COMPENSATION AND REIMBURSEMENT
OF EXPENSES AS COUNSEL TO DAVID K. GOTTLIEB, CHAPTER 11 TRUSTEE; DECLARATION OF JEREMY V.
RICHARDS will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
January 8, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                        Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) January 8, 2019, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Office of the United States Trustee                                Accountants and Financial Advisors to the Chapter 11 Trustee
915 Wilshire Blvd, Suite 1850                                      Vernon L. Calder, CPA
Los Angeles, CA 90017                                              Berkeley Research Group
                                                                   2029 Century Park East, Suite 1250
                                                                   Los Angeles, CA 90067

                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) January 8, 2019, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA PERSONAL DELIVERY
The Honorable Geraldine Mund
United States Bankruptcy Court
21041 Burbank Blvd., Suite 312, Courtroom 303,
Woodland Hills, CA 91367


                                                                         Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 January 8, 2019                MYRA KULICK                                                      /s/ Myra Kulick
 Date                           Printed Name                                                     Signature


This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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              1:16-bk-12255-GM                   Doc
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                                                 Main Document    Page  747 of 750
                                                                  Page 443 of 443
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

         Timothy C Aires tca@arlawyers.com, mdkhan@arlawyers.com
         Bret D. Allen ca.ecf@bretallen.com, bankruptcy@theallenlawfirm.com
         Simon Aron saron@wrslawyers.com
         Larry G Ball lball@hallestill.com, gjohnson@hallestill.com
         William H Brownstein Brownsteinlaw.bill@gmail.com
         Carol Chow carol.chow@ffslaw.com, easter.santamaria@ffslaw.com
         Henry S David hdavid@davidfirm.com, 8163836420@filings.docketbird.com
         Brian L Davidoff bdavidoff@greenbergglusker.com,
          calendar@greenbergglusker.com;jking@greenbergglusker.com
         Michael T Delaney mdelaney@bakerlaw.com
         Fahim Farivar ffarivar@foley.com, amcdow@foley.com;scvasquez@foley.com;scvasquez@foley.com
         Todd S Garan ch11ecf@aldridgepite.com, TSG@ecf.inforuptcy.com;tgaran@aldridgepite.com
         Marian Garza ecfnotices@ascensioncapitalgroup.com
         Thomas M Geher tmg@jmbm.com, bt@jmbm.com;fc3@jmbm.com;tmg@ecf.inforuptcy.com
         Eliza Ghanooni eliza@ghanoonilaw.com, monicabedia@ghanoonilaw.com
         Mark E Goodfriend markgoodfriend@yahoo.com, monica.yoohanna@gmail.com
         David Keith Gottlieb (TR) dkgtrustee@dkgallc.com,
          dgottlieb@iq7technology.com,rjohnson@dkgallc.com,akuras@dkgallc.com
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June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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          Case 1:16-bk-12255-GM                  Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                                    Desc
                                                Main Document    Page 748 of 750
                                               PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                      10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): SECOND AND FINAL APPLICATION OF
PACHULSKI STANG ZIEHL & JONES LLP FOR INTERIM ALLOWANCE AND PAYMENT OF
COMPENSATION AND REIMBURSEMENT OF EXPENSES AS COUNSEL TO DAVID K.
GOTTLIEB, CHAPTER 7 TRUSTEE; DECLARATION OF JEREMY V. RICHARDS will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
December 1, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                        Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) December 1, 2020, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

VIA U.S. MAIL
The Honorable Geraldine Mund
United States Bankruptcy Court
21041 Burbank Blvd., Suite 312, Courtroom 303
Woodland Hills, CA 91367


                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ____________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



                                                                         Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

   December 1, 2020                         Rolanda L. Mori                                      /s/ Rolanda L. Mori
   Date                                     Printed Name                                         Signature




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         Case 1:16-bk-12255-GM                   Doc 797 Filed 12/01/20 Entered 12/01/20 18:29:18                                    Desc
                                                 Main Document   Page 749 of 750
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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                                                  Main Document   Page 750 of 750
2. SERVED BY UNITED STATES MAIL:

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             4633 White Oak Place                                      12730 Montana Ave.
             Encino, CA 91316                                          Los Angeles, CA 90049



                                                          REQUEST FOR NOTICE LIST

 Attorneys for U.S. Bank National Association, as Trustee, as          Attorneys for U.S. Bank National Association, as Trustee, as
 successor-in-interest to Bank of America, National Association, as    successor-in-interest to Bank of America, National Association,
 successor by merger to LaSalle Bank National Association, as          as successor by merger to LaSalle Bank National Association, as
 Trustee for the Registered Holders of CD 2006-CD3 Commercial          Trustee for the Registered Holders of CD 2006-CD3 Commercial
 Mortgage Pass-Through Certificates                                    Mortgage Pass-Through Certificates
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 Jennifer L. Nassiri                                                   VENABLE LLP
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                                                                       Tarzana, CA 91356
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 Ascension Capital Group                                               4515 Santa Fe Avenue
 Account: XXXXX4721                                                    Dept. APS
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 Irving, TX 75016

 BMW Financial Services
 Customer Service Center
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 Dublin OH 43016-0306




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